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STATE OF MINNESOTA                                                         DISTRICT COURT

COUNTY OF HENNEPIN                                           FOURTH JUDICIAL DISTRICT

                                                                       Case Type: Other Civil


RESIDENTIAL FUNDING COMPANY,                                    Court File No. 27-CV-14-3609
LLC,                                                                        Judge Bernhardson

                               Plaintiff,              PLAINTIFF’S FIRST AMENDED
                                                              COMPLAINT
v.

HOME LOAN CENTER, INC.,

                               Defendant.


            Plaintiff Residential Funding Company, LLC f/k/a Residential Funding

Corporation (“RFC” or “Plaintiff”), by and through its attorneys, alleges for its First

Amended Complaint against defendant Home Loan Center, Inc. (“Defendant” or

“HLC”), as follows:

                                    NATURE OF ACTION

            1.   This case arises in substantial part from the billions of dollars in liabilities

and losses incurred by Plaintiff RFC in and pursuant to its chapter 11 bankruptcy case in

the United States Bankruptcy Court for the Southern District of New York (Case No. 12-

12020 (MG)). Those liabilities and losses, in turn, arose from defective residential

mortgage loans sold to RFC by mortgage loan sellers, including Defendant HLC, who are

legally and contractually responsible for the liabilities and losses caused by the poor

quality of the mortgage loans in question.



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            2.   Plaintiff RFC was, at times prior to its bankruptcy in May 2012, in the

business of acquiring and securitizing residential mortgage loans.

            3.   RFC’s business model was built on acquiring loans from “correspondent

lenders,” such as Defendant HLC, and distributing those loans by either pooling them

together with other similar mortgage loans to sell into residential mortgage-backed

securitization (“RMBS”) trusts, or selling them to whole loan purchasers.

            4.   Over the course of the parties’ relationship, HLC sold over 6,200 mortgage

loans, with an original principal balance in excess of $600 million, to RFC.

            5.   Critical to RFC’s business success was the quality of the loans it purchased.

To that end, RFC required its correspondent lenders, including HLC, to abide by stringent

loan-level contractual representations and warranties designed to protect RFC from the

risks of borrower fraud, appraisal fraud, failure to comply with state and federal law, and

other credit and compliance factors that could negatively impact the performance and

value of the loans it purchased.

            6.   Over the course of RFC’s business relationship with Defendant HLC, RFC

identified loans that contained material defects violating one or more of HLC’s

contractual representations and warranties, and HLC in many cases acknowledged those

material defects by repurchasing the loans or otherwise compensating RFC for the

defects. To the extent HLC repurchased certain individual loans from RFC, RFC is not

seeking to again recover the repurchase price as to those loans. However, many defective

loans sold to RFC by HLC remain unresolved. Moreover, HLC repurchase of certain

loans did not compensate RFC for all the liabilities and losses that RFC incurred due to


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HLC’s sale of defective loans to RFC. The parties’ Agreement entitles RFC to recovery

of the additional liabilities and losses it incurred due to HLC’s breaches.

            7.    Ultimately, due in significant part to the failure of correspondent lenders,

including HLC, to honor their contractual representations and warranties, RFC was sued

by numerous counterparties and investors in its RMBS, based on allegations that the

loans contained numerous defects and were rife with fraud and compliance problems.

            8.    By the time RFC and certain of its affiliates (collectively, the “Debtors”)

filed for bankruptcy in May 2012, RFC was facing over two dozen lawsuits around the

country, all alleging that the loans RFC had securitized were defective, as well as claims

by investors in hundreds of its RMBS seeking tens of billions of dollars in damages based

on loan-level problems.

            9.    During the bankruptcy proceeding, hundreds of proofs of claim were filed

by dozens of claimants, including investors alleging securities fraud claims, class action

plaintiffs, monoline insurers, RMBS holders and indenture trustees acting at their

direction claiming breaches of representations and warranties, whole loan investors, and

non-debtor co-defendants (such as underwriters of the RMBS offerings). Collectively,

these claims alleged tens of billions of dollars of damages stemming from defective

loans, including those sold to RFC by HLC.

            10.   Following a lengthy and intensive mediation presided over by sitting

bankruptcy judge James M. Peck, and related proceedings, RFC was able to resolve its

RMBS-related liabilities for over $10 billion of allowed claims in its bankruptcy case.

This agreed resolution of RFC’s RMBS-related liabilities was set forth in a global


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settlement, which formed the cornerstone of a liquidating chapter 11 plan for RFC and its

affiliated Debtors.      On December 11, 2013, after a five-day confirmation trial, the

Bankruptcy Court approved the global settlement, finding it to be fair and reasonable and

in the best interests of each of the Debtors, and confirmed the chapter 11 plan.

            11.   Defendant HLC is contractually obligated to indemnify RFC for all

liabilities and losses incurred by RFC as a result of breaches of Defendant’s

representations and warranties.

            12.   Accordingly, RFC brings this action for breach of contract, and for

indemnification of all liabilities and losses RFC has incurred due to Defendant’s breaches

of its representations and warranties.

                                          PARTIES

            13.   Plaintiff RFC is a Delaware limited liability company with its principal

place of business in Minneapolis, Minnesota. RFC was formerly known as Residential

Funding Corporation.        When this case was commenced, RFC was a wholly owned

subsidiary of GMAC-RFC Holding Company, LLC, a Delaware limited liability

company. GMAC-RFC Holding Company, LLC was a wholly owned subsidiary of

Residential Capital, LLC, a Delaware limited liability company. Residential Capital,

LLC was a wholly owned subsidiary of GMAC Mortgage Group LLC, a Delaware

limited liability company, which in turn was a wholly owned subsidiary of Ally

Financial, Inc., a Delaware corporation with its principal place of business in Michigan.

Pursuant to the Second Amended Joint Chapter 11 Plan Proposed by Residential Capital,

LLC, et. al. and the Official Committee of Unsecured Creditors, Case No. 12-12020


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(MG) (Bankr. S.D.N.Y.) [D.I. 6065-1] (the “Plan”), on December 17, 2013, GMAC-RFC

Holding Company, LLC’s interest in RFC was cancelled and the ResCap Liquidating

Trust (the “Trust”) succeeded to all of RFC’s rights and interests under RFC’s Agreement

with HLC, and now controls RFC. 1

            14.    Defendant Home Loan Center, Inc. is a California corporation with its

principal place of business at 11115 Rushmore Drive, Charlotte, NC 28277.

                                  JURISDICTION AND VENUE

            15.    This Court has personal jurisdiction over the Defendant because the

Defendant transacted business in Minnesota and committed acts in Minnesota causing

injury to RFC.

            16.    Venue is proper in this Court pursuant to Minn. Stat. § 542.09 because the

cause of action arose, in part, in Hennepin County, the agreements at issue were to be

performed in part or entirely in Hennepin County, and because the parties have

contractually agreed that Minnesota State Court is an appropriate venue. Plaintiff also

believes that venue is appropriate in the United States Bankruptcy Court for the Southern

District of New York because these claims relate to the bankruptcy proceedings involving

Residential Funding Company, LLC already pending in that court at Case No. 12-12020

(MG).




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            The Trust is organized pursuant to the Delaware Statutory Trust Act.


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                                 FACTUAL BACKGROUND

The Agreement Between RFC and HLC

            17.   Over the course of the parties’ relationship, HLC sold over 6,200 mortgage

loans to RFC pursuant to the Seller Contract attached as Exhibit A (the “Contract”).

            18.   The Contract incorporates into its terms and conditions the RFC Client

Guide, exemplary excerpts of which are attached as Exhibit B-1 through B-15 (the

“Client Guide”). (The complete versions of the Client Guide are known to the parties and

too voluminous to attach in their entirety; the omitted portions of the Client Guides do

not affect the obligations set forth in this Amended Complaint.) The Contract and Client

Guide collectively form the parties’ Agreement, and set the standards to which HLC’s

loans sold to RFC were expected to adhere.

            19.   A preliminary list of the loans sold by HLC to RFC pursuant to the

Agreement, and subsequently securitized by RFC, is attached hereto as Exhibit C. The

original principal balance of these loans exceeds $600 million.

            20.   As a correspondent lender, HLC had the initial responsibility for collecting

information from the borrower, verifying its accuracy, and underwriting the loan. HLC

had primary responsibility for all aspects of the underwriting of the loan, and it was

understood between the parties that RFC would generally not be re-underwriting the loan.

It was HLC, or others from whom HLC purchased mortgages, that actually closed the

loans with the borrowers.

            21.   As HLC was well aware, once the loans were sold to RFC, RFC pooled

groups of loans with similar characteristics, and the pool of loans would be sold into a


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special-purpose securitization Trust. The pool of loans formed the collateral underlying

the Trust’s mortgage-backed securities, which were in turn sold to investors.

            22.   As HLC was also well aware, RFC from time to time sold pools of loans to

whole loan investors.

            23.   HLC knew of RFC’s intention to securitize and/or sell the loans.

Specifically, Defendant HLC acknowledged, in the Client Guide, that it “recognize[d]

that it is [RFC’s] intent to securitize some or all of the Loans sold to [RFC],” and agreed

to provide RFC with “all such information … as may be reasonably requested by [RFC]

for inclusion in a prospectus or private placement memorandum published in connection

with such securitization,” including all information necessary to comply with the

disclosures required by Regulation AB (governing asset-backed securities) and other

applicable federal securities laws. (See Client Guide at A202(II); 206(D).)

            24.   Pursuant to the Agreement, Defendant HLC made a number of

representations and warranties with respect to the loans, including, but not limited to, the

following:

                  a. Defendant’s “origination and servicing of the Loans have been legal,
                     proper, prudent and customary and have conformed to the highest
                     standards of the residential mortgage origination and servicing
                     business.” (Client Guide A201(K).)

                  b. Defendant “will comply with all provisions of this Client Guide and the
                     Program Documents, and will promptly notify GMAC-RFC of any
                     occurrence, act, or omission regarding [Defendant], the Loan, the
                     Mortgaged Property or the Mortgagor of which [Defendant] has
                     knowledge, which … may materially affect [Defendant], the Loan, the
                     Mortgaged Property or the Mortgagor.” (Client Guide A201(M).)




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             c. “All information relating to each Loan delivered and sold to GMAC-
                RFC is true, complete and accurate and there are no omissions of
                material facts. All data provided by the Client to GMAC-RFC relating
                to any Loan, whether in electronic format, or otherwise, is true and
                complete and accurately reflects the information in the related Loan
                file.” (Client Guide A202(A).)

             d. “All Loan Documents, Funding Documents and Final Documents are
                genuine, have been completed, duly and properly executed, are in
                recordable form and delivered in the form and manner specified in this
                Client Guide,” and “[a]ll originals and copies of such documents and all
                other documents, materials, and other information required to be
                submitted to GMAC-RFC have been so submitted, and are complete
                and accurate.” (Client Guide A202(D).)

             e. “All Loan Documents, Funding Documents and Final Documents and
                all other documents describing or otherwise relating thereto are in
                compliance with all local and State laws, regulations and orders.”
                (Client Guide A202(D).)

             f. “There is no default, breach, violation or event of acceleration existing
                under any Note or Security Instrument transferred to GMAC-RFC, and
                no event exists which, with notice and the expiration of any grace or
                cure period, would constitute a default, breach, violation or event of
                acceleration, and no such default, breach, violation or event of
                acceleration has been waived by [Defendant] or any other entity
                involved in originating or servicing the Loan.” (Client Guide A202(G).)

             g. “[E]ach Loan has been originated, closed, and transferred in compliance
                with all applicable local, State and federal laws and regulations,
                including, but not limited to, the Real Estate Settlement Procedures Act,
                the Fair Credit Reporting Act, the Equal Credit Opportunity Act, the
                Truth-in-Lending Act, the Fair Housing Act, and the National Flood
                Insurance Act. This warranty is made by [Defendant] with respect to
                each GMAC-RFC Loan Application taken and processed for each Loan
                and with respect to each Loan made by the [Defendant] or any other
                entity.” (Client Guide A202(I).)

             h. “No Loan is a … loan considered a ‘high-cost,’ covered, ‘high-risk,’
                ‘predatory’ or any other similar designation under any State or local law
                in effect at the time of the closing of the loan if the law imposes greater
                restrictions or additional legal liability for residential mortgage loans
                with high interest rates, points and/or fees.”               (Client Guide
                A202(J)(1)(d).)


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                  i. “[N]o circumstances exist involving the Loan Documents, the
                     Mortgaged Premises or the Borrower’s credit standing that could: (i)
                     cause private institutional investors to regard the Loan as an
                     unacceptable investment, (ii) cause the Loan to become delinquent, or
                     (iii) adversely affect the Value or marketability of the Mortgaged
                     Premises or the Loan.” (Client Guide A202(Q).)

                  j. “The Loan is of investment quality, has been prudently originated and
                     has been underwritten in compliance with all requirements of this Client
                     Guide.” (Client Guide A202(T).)

                  k. “For each Loan for which an appraisal is required or obtained under this
                     Client Guide, the appraisal was made by an appraiser who meets the
                     minimum qualifications for appraisers as specified in this Client Guide.”
                     (Client Guide A202(T).)

                  l. “For each Loan, as of the Funding Date, the market Value of the
                     Mortgaged Premises is at least equal to the appraised value stated on the
                     Loan appraisal, or if an Automated Valuation Model (AVM) is
                     permitted, the Value on the AVM, except to the extent that the market
                     Value of the Mortgaged Premises is lower … due to the effect of any
                     toxic materials or other environmental hazards of which neither the
                     appraiser nor the [Defendant] has actual knowledge of reasonable
                     grounds to suspect.” (Client Guide A202(T).)

                  m. “No fraud or misrepresentation by the Borrower or by the [Defendant],
                     broker, correspondent, appraiser or any independent contractor retained
                     by the [Defendant], broker, correspondent, appraiser or any employee of
                     any of the foregoing occurred with respect to or in connection with the
                     origination or underwriting of any Loan and all information and
                     documents provided to GMAC-RFC in connection with the Loan are
                     complete and accurate.” (Client Guide A202(KK).)

            25.   These representations and warranties were material terms in RFC’s

agreement to acquire the mortgage loans from HLC. HLC’s contractual warranty of the

quality of the loans was important because RFC in turn sold these loans to RMBS trusts

and whole loan purchasers, making its own representations and warranties to the trusts

and investors. If any of HLC’s representations and warranties turned out to be false, RFC

could have exposure to these third parties, and thus RFC required contractual protection


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from HLC under which RFC would have recourse for its liabilities and losses on account

of defective loans.

            26.   Pursuant to the Client Guide, HLC’s failure to comply with its

representations and warranties or any of the other requirements, terms or conditions of

the Client Guide constitutes an “Event of Default,” as does its failure to provide RFC

with true, accurate and complete information in a timely manner. (See Client Guide

A208.)

            27.   Similarly, it is an “Event of Default” if a “[b]orrower or any other person or

entity involved in the loan transaction or its underwriting or documentation (including

any appraiser, broker, third-party originator, credit reporting agency, or other provider of

underwriting information) has made any false representation and/or has failed to provide

information that is true, complete and accurate in connection with” the loan transaction,

regardless of whether HLC knew of the misrepresentation or incorrect information. (See

Client Guide A208.)

            28.   HLC expressly agreed that RFC was permitted to exercise any remedy

“allowed by law or in equity” in connection with such Events of Default.            (See Client

Guide A209.) Moreover, the Client Guide specified that RFC’s exercise of one or more

remedies in connection with a particular Event of Default “will not prevent it from

exercising … [o]ne or more other remedies in connection with the same Event of

Default,” or “[a]ny other rights which it may have at law or in equity.” (Id.) RFC’s

remedies expressly survived the sale of the loans and the termination of the ongoing

business relationship between RFC and HLC. (Id. at A209(C).)


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            29.   The Client Guide further specified the remedies available to RFC in case of

an Event of Default, including a breach of any loan-level representation or warranty. The

available remedies included, but were expressly not limited to, repurchase of the

defective loan, substitution of another loan for the defective one, or indemnification

against liabilities resulting from such breaches. (See Client Guide A210.) The Client

Guide expressly stated that RFC was “not required to demand repurchase within any

particular period of time, and may elect not to require immediate repurchase.” (Id.)

Further indemnification remedies are set forth in Sections A202 and A212 of the Client

Guide. Section A209 of the Client Guide, in turn, makes clear that all of these remedies

are non-exclusive and cumulative.

            30.   Moreover, RFC alone retained the sole discretion to declare an Event of

Default, and to choose what remedy or remedies to pursue. Nothing in the Agreement

required RFC to provide HLC with notice and an opportunity to cure the defects, to make

a repurchase demand, or in any way restricted RFC from pursuing recovery for materially

defective loans at any time. In fact, the United States Court of Appeals for the Eighth

Circuit recently confirmed that, under the Client Guide, RFC has the sole discretion to

declare an Event of Default, and correspondent lenders such as HLC have contractually

bargained away any right to challenge RFC’s determination regarding such an Event of

Default. See Residential Funding Co., LLC v. Terrace Mortg. Co., 725 F.3d 910 (8th Cir.

2013).

            31.   The repurchase provision required HLC to compensate RFC for defective

loans according to a formula specified in the Client Guide that is based on the original


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principal balance of the loan. If RFC determined that repurchase was not appropriate,

HLC would nonetheless contractually be obligated to pay RFC “all losses, costs and

expenses incurred by [RFC] and/or the loan’s servicer as a result of an Event of Default,”

including “all reasonable attorneys’ fees and other costs and expenses incurred in

connection with enforcement efforts undertaken.” (See Client Guide A210.)

            32.   Under the terms of the Agreement, HLC is obligated to repurchase loans

and/or pay RFC the repurchase price even if the loan has already been foreclosed upon.

(See Client Guide A210(B).)

            33.   Defendant HLC also expressly agreed to broad indemnification provisions,

including the following:

                  [Defendant] shall indemnify GMAC-RFC from all losses, damages,
                  penalties, fines, forfeitures, court costs and reasonable attorneys’
                  fees, judgments, and any other costs, fees and expenses …
                  includ[ing], without limitation, liabilities arising from (i) any act or
                  failure to act, (ii) any breach of warranty, obligation or
                  representation contained in the Client Guide, (iii) any claim,
                  demand, defense or assertion against or involving GMAC-RFC
                  based on or resulting from such breach, (iv) any breach of any
                  representation, warranty or obligation made by GMAC-RFC in
                  reliance upon any warranty, obligation or representation made by
                  [Defendant] contained by the Client Contract and (v) any untrue
                  statement of a material fact, omission to state a material fact, or false
                  or misleading information provided by the [Defendant] in
                  information required under Regulation AB or any successor
                  regulation.

                  In addition, [Defendant] shall indemnify GMAC-RFC against any
                  and all losses, damages, penalties, fines, forfeitures, judgments, and
                  any other costs, fees and expenses (including court costs and
                  reasonable attorneys’ fees) incurred by GMAC-RFC in connection
                  with any litigation or governmental proceeding that alleges any
                  violation of local, State or federal law by [Defendant], or any of its



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                  agents, or any originator or broker in connection with the origination
                  or servicing of a Loan.

(Client Guide A212.) HLC further agreed:

                  to indemnify and hold GMAC-RFC harmless from and against any
                  loss, damage, penalty, fine, forfeiture, court cost, reasonable
                  attorneys’ fees, judgment, cost, fee, expense or liability incurred by
                  GMAC-RFC as a result of any material misstatement in or omission
                  from any information provided by [Defendant] to GMAC-RFC; or
                  from any claim, demand, defense or assertion against or involving
                  GMAC-RFC based on or grounded upon, or resulting from such
                  misstatement or omission or a breach of any representation, warranty
                  or obligation made by GMAC-RFC in reliance upon such
                  misstatement or omission.

(Client Guide A202.) The Client Guide also entitles RFC to recover all court

costs, attorney’s fees and any other costs, fees and expenses incurred by RFC in

enforcing the Agreement or Client Guide.

            34.   Additionally, prior to the commencement of this lawsuit, HLC conceded

that certain of its loans sold to RFC were materially defective. In that regard, HLC has

already paid substantial sums to RFC to cover those defects. In this action, RFC is not

seeking to recover again on those sums.

            35.   RFC at all times performed all of its obligations to HLC, if any, under the

Agreement, and all conditions precedent to the relief sought in this action, if any, have

been satisfied.




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Defendant Materially Breached Numerous Loan-Level Representations and
Warranties.

            36.   As noted above, the loans RFC acquired from HLC and other

correspondent lenders were sold, either into RMBS trusts that issued certificates to

outside investors, or in “whole loan” portfolios to other mortgage companies and banks.

            37.   The loans HLC sold RFC were eventually deposited in over 150 RMBS

Trusts. When RFC sold the loans, it passed on a more limited set of representations and

warranties to the Trusts, and, as required by SEC regulations, disclosed pertinent

information about the loans to investors in the RMBS. In making those representations

and warranties, RFC relied on information provided to it by HLC and other

correspondent lenders. That information in many cases violated HLC’s representations

and warranties to RFC.

            38.   HLC materially breached its extensive contractual representations and

warranties by delivering loans that were not originated or underwritten in accordance

with the requirements of the Agreement; did not meet the representations and warranties

made as to those loans; and/or failed to comply with applicable state and federal law.

            39.   Over time, many of the loans sold to RFC by HLC defaulted or became

seriously delinquent. Many of the loans HLC sold RFC and RFC securitized eventually

sustained losses, collectively totaling over $80 million, exposing RFC to claims from

investors, monoline insurers, and others.

            40.   These delinquency and default rates far exceed what would normally be

expected in a given population of mortgage loans.



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            41.   Internal reviews conducted by RFC determined that dozens of the loans

sold to RFC by HLC violated the Client Guide and/or other representations or warranties

made by HLC, resulting in an Event of Default under the Agreement.

            42.   The types of defects varied, but included income misrepresentation,

employment         misrepresentation,   owner    occupancy    misrepresentations,   appraisal

misrepresentations or inaccuracies, undisclosed debt, and missing or inaccurate

documents, among others. Additional material defects are likely contained throughout

the loan population sold to RFC by HLC. Indeed, a number of the loans defaulted very

shortly after origination (constituting Early Payment Defaults or EPDs), which is widely

recognized in the industry as often signaling fraud or other problems in the origination

and underwriting of the loans.

            43.   By way of example, the following loans sold to RFC by HLC were

identified as having significant and material defects violating the Client Guide

representations and warranties:

                  a. Loan ID #9724107 (included in securitization 2005-HI1) – The
                     borrower on this $35,000 loan misrepresented his/her employment by
                     misrepresenting the prior position to show continuity in the same line of
                     work. The employment verification documents were signed by the
                     same person, yet the signatures are different. Moreover, the employer
                     address could not be found in public records, and is over 600 miles
                     away from the borrower. This misrepresentation of employment
                     rendered the loan in material breach of applicable representations and
                     warranties and unacceptable under RFC’s standards.

                  b. Loan ID # 11088383 – The borrower on this loan provided two different
                     social security numbers with the loan application. The application,
                     credit report, and W-9 used one number, but the borrower’s picture ID
                     and state defense ID reflected a different number. No explanation was
                     provided. In addition, the loan was originated as a first lien Goal Loan,


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                but the final title policy included an exception for a $33,735 mortgage
                that was not paid off at closing, putting this loan in a second lien
                position. The loan materially breached representations and warranties
                made by HLC and was therefore deemed unacceptable under RFC
                standards.

             c. Loan ID # 11133457 (included in securitization 2007-HAS1) – The
                borrower on this $25,000 second lien loan defaulted shortly after the
                loan was originated, which is often a sign of fraud or other underwriting
                problems. In fact, the borrower materially misrepresented his/her
                income, which breached the representations and warranties, rendering
                this loan unacceptable under RFC standards. HLC acknowledged this
                deficiency by ultimately repurchasing the loan.

             d. Loan ID # 11009137 - This loan was ineligible for the applicable loan
                program for which it was underwritten. The borrower’s prior mortgage
                history shows that the borrower made 4 late payments on its prior
                mortgage during the last 12 months, whereas the guidelines require that
                no late payments are made. This loan materially breached the
                representations and warranties made by HLC and was therefore deemed
                unacceptable under RFC standards.

             e. Loan ID # 11298849 – The borrower on this loan materially
                misrepresented his/her income or employment. The misrepresentation of
                income/employment was a material breach of the applicable
                representations and warranties, rendering the loan unacceptable under
                RFC standards.

             f. Loan ID # 10114439 – The property related to this $100,000 loan had a
                valuation of $657,000, which exceeded the maximum property value of
                $500,000 allowed under the program guidelines. The loan therefore
                contained a material breach rendering the loan unacceptable under
                RFC’s standards.

             g. Loan ID # 10984775 – The borrower on this loan misrepresented his/her
                income as $7,900 per month, which upon reverification, was actually
                $3,300 per month. When actual income was used, the debt-to-income
                ratio increased to 103%, which was unacceptable to under the applicable
                program. The misrepresentation of income was a breach of the
                representations and warranties, rendering the loan unacceptable under
                RFC’s standards.




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            44.   The above examples are not intended to be an exhaustive list of the loans

sold by HLC to RFC that contained material breaches of representations and warranties.

Rather, these loans represent a sampling of the material defects found in the loans HLC

sold to RFC. Many more of the loans sold to RFC by HLC contained material defects

that violated the representations and warranties HLC made in the Agreement. While

HLC has, over the parties’ course of dealing, repurchased some individual loans (thereby

acknowledging it sold defective loans to RFC), it has in no way fully compensated RFC

for the breaches of representations and warranties, liabilities, or losses stemming from the

universe of defective loans HLC sold to RFC over time.

            45.   As detailed below, these defects constituted material breaches of

Defendant’s representations and warranties, contributing to RFC’s exposure to billions of

dollars in liability and tens of millions of dollars in legal expenses.

RFC’s Liabilities and Losses Stemming from Defendant’s Breaches.

            46.   As a direct result of Defendant HLC’s breaches, RFC has incurred

obligations, liabilities, damages, and losses for which it is entitled to recovery from HLC.

            47.   First, RFC has incurred billions of dollars in liabilities and losses stemming

from defective loans, including those sold to RFC by HLC.

            48.   In addition, RFC has expended tens of millions of dollars litigating the

quality of the loans sold to it by HLC and others in extensive federal and state court

litigation in which plaintiffs claimed the loans were rife with borrower or originator

fraud, or failed to comply with applicable state and/or federal law.




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            49.   Beginning in 2008 and continuing until RFC filed for bankruptcy protection

on May 14, 2012, RFC faced a growing number of claims and dozens of lawsuits

stemming from the defective loans sold to it by HLC and others.

            50.   For example, the RFC-sponsored RMBS offerings containing loans sold to

RFC by HLC included a number of RMBS that became the subject of more than a dozen

lawsuits brought by investors and other participants in the securitizations, alleging that as

many as 98% of the loans contained in the RMBS offerings were defective in one or

more ways.

            51.   RFC ordinarily received a limited number of repurchase demands,

primarily from whole loan investors.

            52.   However, in early 2008, MBIA Insurance Corp., a bond insurer that issued

insurance policies guaranteeing the performance of certain mortgage-backed securities

issued by RFC, began questioning the quality of large numbers of loans in the

securitizations it had insured.

            53.   MBIA hired a team to begin reviewing loan files, and in May 2008, based

on the less-stringent representations and warranties RFC had made to MBIA, demanded

that RFC repurchase many allegedly defective loans. A number of the loans subject to

these repurchase requests were loans HLC sold to RFC and RFC pooled in the

securitization trusts for which MBIA issued financial guaranty insurance policies.

            54.   Although RFC aggressively defended the claims made by MBIA wherever

possible, RFC ultimately acknowledged that, even on the basis of representations and

warranties that were less stringent than those HLC made to RFC, RFC was obligated to


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repurchase at least 24% of the loans MBIA claimed were defective.           These loans

included, by way of example only, the following loans sold to RFC by HLC:

             a. Loan ID # 10984155 (included in securitization 2007-HSA1): This
                $95,000 second lien loan did not meet the program requirements in that
                the maximum combined loan-to-value ratio under the program was
                80%, whereas the combined loan-to-value ratio for the subject loan was
                95%. RFC’s internal quality audit personnel agreed with MBIA’s
                determination that the loan contained an unacceptable material breach of
                representations and warranties, and repurchased the loan from the
                securitization trust in August 2008 for approximately $110,000.00.

             b. Loan ID # 11279767 (included in securitization 2007-HSA1): The
                amount loaned to the borrower for this $200,000 second lien loan
                exceeded the program guidelines. The combined loan-to-value ratio
                also exceed program guidelines. RFC’s internal quality audit personnel
                agreed with MBIA’s determination that the loan contained an
                unacceptable material breach of representations and warranties, and
                repurchased the loan from the securitization trust in September 2008 for
                approximately $233,000.

             c. Loan ID # 11013861 (included in securitization 2007-HSA1): This
                $30,000 second lien loan did not meet the program requirements in that
                the maximum combined loan-to-value ratio exceeded the ratio allowed
                under the program. RFC’s internal quality audit personnel agreed with
                MBIA’s determination that the loan contained an unacceptable material
                breach of representations and warranties, and repurchased the loan from
                the securitization trust in August 2008 for approximately $30,000.

             d. Loan ID # 11368433 (included in securitization 2007-HSA3): HLC
                used an automated valuation model to value the property for this second
                lien loan, whereas loan approval required full appraisal. The automated
                valuation of $430,000 did not support the appraisal $250,000 conducted
                after the loan was originated. RFC’s internal quality audit personnel
                agreed with MBIA’s determination that the loan contained unacceptable
                material breaches of representations and warranties, and repurchased the
                loan from the securitization trust in August 2008 for approximately
                $170,000.

             e. Loan ID # 10714167 (included in securitization 2006-HSA5): The
                borrower on this $10,000 second lien loan grossly overstated his/her
                income on the loan application. When actual earnings are applied, the
                debt-to-income ratio exceeded 150%, which was a violation under the


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                     applicable program. RFC’s internal quality audit personnel agreed with
                     MBIA’s determination that the loan contained unacceptable material
                     breaches of representations and warranties, and repurchased the loan
                     from the securitization trust in August 2008 for approximately $12,000.

            55.   In total, RFC repurchased over $1.1 million worth of loans sold to it by

HLC as a result of MBIA’s repurchase demands.

            56.   MBIA continued its review and continued to find many defective loans,

ultimately resulting in protracted and costly litigation, as described below.

            57.   Other purchasers or investors in loans HLC sold to RFC and RFC sold to

those purchasers or investors also identified defects in the HLC loans and demanded that

RFC repurchase them. These entities included Aurora Loan Services, Bank of America,

CitiMortgage, Countrywide, E*Trade, Goldman Sachs, and others.                  In total, RFC

repurchased over $3.5 million of HLC loans as a result of these investors’ repurchase

demands.

            58.   Beginning in October 2008, RFC was sued in literally dozens of lawsuits

stemming from allegedly defective mortgage loans, including those sold to it by HLC.

            59.   The first of these lawsuits was filed by bond insurer MBIA in October

2008. The MBIA lawsuit covered five RFC second-lien securitizations that included

thousands of mortgage loans. For the first time, RFC learned that MBIA’s analysis had

concluded that over 80% of the loans in the pools it insured were defective.

            60.   The MBIA lawsuit specifically attacked RFC’s RMBS offerings 2006-

HSA4, 2006-HSA5, and 2007-HSA1, HSA2 and HSA3, all of which (as shown in

Exhibit C) contained numerous HLC loans.



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            61.   Indeed, as part of the MBIA litigation, MBIA hired an expert to review

again a sampling of loans across the five securitizations involved in the MBIA v.

Residential Funding Company, LLC case. Even in a relatively small sample of loans

reviewed, MBIA’s expert identified 254 loans originated by HLC that materially

breached the weaker representations that RFC had provided to MBIA. Examples of the

material breaches MBIA asserted were 85 cases where HLC sold loans where a borrower

lied about income, 93 cases where a borrower’s debt to income ratio exceeded the limits

in the relevant underwriting guidelines, and 90 cases with improper appraisals. MBIA

asserted many of these 254 loans contained multiple breaches of the applicable

representation and warranties.

            62.   The MBIA lawsuit was followed shortly by a class action suit filed by the

New Jersey Carpenters pension funds.

            63.   The New Jersey Carpenters’ lawsuit purported to cover 59 mortgage-

backed securities offerings issued through RFC’s RALI shelf in 2006 and 2007, which

consisted of first-lien Alt-A loans. These securitizations were identified by names that

included the letters “QA,” “QH,” “QO,” and “QS.” As shown in Exhibit C, hundreds of

HLC loans were included in the offerings that were the subject of the New Jersey

Carpenters’ lawsuit.

            64.   The New Jersey Carpenters’ complaint alleged that 38% of the mortgage

loans underlying the securitizations were in delinquency, default, foreclosure or

repossession when New Jersey Carpenters filed its class action complaint, and that much

of RFC’s mortgage loan data “was inaccurate due to the inflated appraisal values,


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inaccurate LTV ratios, borrower income inflation, and the other facets of defective

underwriting” described throughout the Complaint. (NJ Carpenters First Am. Compl. ¶¶

9, 110 in New Jersey Carpenters et al. v. Residential Capital, LLC et al. Case No. 08-cv-

08781 (HB) (S.D.N.Y.).) Of course, that data was provided to RFC—and represented

and warranted to be accurate—by HLC and other correspondent lenders.

            65.    Similarly, the Federal Housing Finance Authority, as conservator for

Freddie Mac, filed suit against RFC in 2011, seeking to recover losses stemming from

loan defects in numerous RMBS offerings that contained dozens of HLC loans, including

RALI offerings 2006-QO4, 2006-QO5, 2006-QO8, and 2006-QO9.

            66.    Numerous other lawsuits followed on through RFC’s bankruptcy filing in

2012, including over fifteen lawsuits brought by private investors in its RMBS securities,

and more than a dozen lawsuits brought by monoline insurers.

            67.    All of these lawsuits alleged that the loans RFC sold into RMBS

securitizations were defective in a variety of ways, including borrower fraud, missing or

inaccurate        documentation,   fraudulent   or   inflated   appraisals,   misrepresentations

concerning owner-occupancy, or failure to comply with applicable state and federal law.

            68.    Collectively, these lawsuits involved more than one hundred RMBS

securitizations, and a combined original principal balance of more than $100 billion.

            69.    Across the dozens of securitizations involved in these lawsuits, HLC was

responsible for over 4,700 of the loans.

            70.    As of May 2012, RFC had already repurchased millions of dollars worth of

defective loans from its RMBS securitizations and from whole loan purchasers, either at


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the request of a bond insurer or trustee, or because RFC itself discovered a defect and

affirmatively took steps to repurchase the loan. As described in more detail above, these

included numerous loans sold to RFC by HLC.

            71.   In May 2012, RFC and certain of its affiliates—partly because of the

enormous exposure stemming from the pending mortgage-related lawsuits described

above—filed for Chapter 11 bankruptcy protection in the Bankruptcy Court for the

Southern District of New York.

            72.   In connection with the bankruptcy proceeding, hundreds of proofs of claim

were filed by investors in RMBS, monoline insurers, whole loan purchasers, indenture

trustees, and an array of co-defendants in the above-described loan-related litigation.

These proofs of claim, many of which mirrored the litigation filed prior to the

bankruptcy, sought damages in the tens of billions of dollars, all stemming from allegedly

defective mortgage loans, including those sold to RFC by HLC. By way of example, the

following represents a small sampling of the hundreds of proofs of claim filed on the

basis of defective loans:

                  a. The indenture trustees for each of the RFC-sponsored securitizations
                     (Deutsche Bank, Bank of New York, U.S. Bank, HSBC Bank, Law
                     Trust and Wells Fargo, and Wells Fargo) collectively filed more than
                     two dozen proofs of claim at the direction of two substantial groups of
                     institutional investors. The institutional investors collectively asserted
                     that loan-level defects (including in the loans sold to RFC by HLC and
                     securitized) were responsible for more than $19.5 billion in repurchase
                     obligations.

                  b. AIG, an investor in over 25 Debtor-sponsored securitizations (a number
                     of which included HLC loans), filed five proofs of claim totaling in
                     excess of $2.6 billion, based on the allegation that the loans were



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                     defective. The proofs of claim were based in part on analyses of the
                     individual loan-level data for these loans.

                  c. Allstate, an investor in 25 Debtor-sponsored securitizations (a number
                     of which included HLC loans), filed 20 proofs of claim based on the
                     allegation that the loans were defective. The proofs of claim were based
                     in part on analyses of the individual loan-level data for these loans.

                  d. John Hancock, an investor in over 50 Debtor-sponsored securitizations
                     (a number of which included HLC loans), filed 43 proofs of claim
                     asserting similar allegations.

                  e. MBIA, a monoline insurer that issued financial guaranty insurance on a
                     number of RFC-sponsored securitizations that included HLC loans,
                     filed six proofs of claim seeking approximately $2.2 billion in damages
                     based on alleged defects contained in the loans, a number of which (as
                     described above) MBIA had individually reviewed.

                  f. FGIC, a monoline insurer that issued financial guaranty insurance on a
                     number of RFC-sponsored securitizations that included HLC loans,
                     filed three proofs of claim seeking approximately $1.85 billion in
                     damages based on alleged defects contained in the loans, a number of
                     which FGIC had individually reviewed.

            73.   Many whole loan purchasers also filed proofs of claim in the bankruptcy

proceedings, collectively seeking millions of dollars in recovery.

            74.   These proofs of claim, lawsuits, and demands all alleged, among other

things, that the securitized or purchased loans were defective, improperly underwritten,

and breached representations and warranties made by RFC to investors, purchasers, and

other contractual parties. Those representations and warranties were, in most cases,

identical to or less stringent than those that RFC had received from HLC, and on which

RFC had relied.

            75.   The Debtors initially proposed to settle portions of their RMBS-related

liabilities for an aggregate $8.7 billion allowed claim in the bankruptcy case.



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Subsequently, after protracted litigation over the reasonableness and propriety of that

settlement, the Bankruptcy Court appointed the Hon. James M. Peck, a United States

Bankruptcy Judge for the Southern District of New York, to serve as a mediator and to

attempt to achieve a negotiated resolution of the Debtors’ RMBS-related liabilities and of

other disputed issues in the chapter 11 cases. A lengthy mediation process ensued,

which, together with related proceedings, resulted in a global settlement that, among

other things, provided for the resolution of all of the Debtors’ RMBS-related liabilities

for more than $10 billion in allowed claims granted to the various RMBS trusts,

monoline insurers, FHFA, securities law claimants, and others.

            76.   The Bankruptcy Court for the Southern District of New York ultimately

approved the global settlement, including the $10 billion-plus settlement of RMBS-

related liabilities, finding it to be fair and reasonable and in the best interests of each of

the Debtors, and confirmed the Plan. (See Case No. 12-12020-MG, Doc. 6066 (Findings

of Fact) (Glenn, J.), at ¶¶ 98 to 176.) RFC filed this suit on December 16, 2013, after

RFC’s RMBS-related liabilities became fixed through confirmation of the Plan. The Plan

became effective on December 17, 2013. Pursuant to the Plan, the Trust succeeded to all

of RFC’s rights and interests, including its litigation claims against HLC.

            77.   Pursuant to its express contractual obligations, HLC is obligated to

compensate RFC for the portion of global settlement associated with its breaches of

representations and warranties, as well as for the portion of RFC’s other liabilities and

losses (including the tens of millions of dollars that RFC has paid in attorneys’ fees to




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defend against, negotiate, and ultimately settle claims relating to allegedly defective

loans) associated with those breaches.

                                      COUNT ONE
                                 (BREACH OF CONTRACT)

            78.   RFC realleges each and every allegation set forth in Paragraphs 1 through

77, above, as if fully rewritten herein.

            79.   RFC and Defendant HLC entered into a valid and enforceable Agreement

pursuant to which RFC acquired over 6,200 mortgage loans from HLC.

            80.   Pursuant to the parties’ Agreement, HLC made representations and

warranties to RFC regarding the quality and characteristics of the mortgage loans

Defendant sold to RFC.

            81.   RFC complied with all conditions precedent, if any, and all of its

obligations under the Agreement.

            82.   Defendant materially breached its representations and warranties to RFC

inasmuch as the mortgage loans materially did not comply with the representations and

warranties.

            83.   Defendant’s material breaches constitute Events of Default under the

Agreement.

            84.   RFC has suffered loss, harm, and financial exposure directly attributable to

Defendant’s material breaches, including liabilities and losses stemming from the

defective loans, as well as attorneys’ fees, litigation-related expenses, and other costs

associated with both defending dozens of lawsuits and proofs of claim filed against RFC



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stemming in part from materially defective loans sold to RFC by Defendant, and fees and

costs incurred in prosecuting this action.

            85.   Accordingly, RFC is entitled to compensation in an amount to be proven at

trial, which exceeds $75,000, together with an award of attorneys’ fees, interest, and

costs.

                                        COUNT TWO
                                    (INDEMNIFICATION)

            86.   RFC realleges each and every allegation set forth in Paragraphs 1 through

85, above, as if fully rewritten herein.

            87.   RFC has incurred substantial liabilities, losses and damages arising from

and relating to material defects in the mortgage loans HLC sold to RFC, including over

$10 billion in allowed claims approved by the United States Bankruptcy Court for the

Southern District of New York, as well as tens of millions of dollars in attorneys’ fees,

litigation-related expenses, and other costs associated with defending dozens of lawsuits

and proofs of claim filed against RFC stemming in part from materially defective loans

sold to RFC by HLC.

            88.   Defendant expressly agreed to indemnify RFC for the liabilities, losses and

damages, including attorneys’ fees and costs, which RFC has incurred.

            89.   Accordingly, RFC is entitled to indemnification in excess of $75,000 and in

an amount to be proven at trial, and an award of attorneys’ fees, interest, and costs.




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            WHEREFORE, RFC demands judgment in its favor and against Defendant as

follows:

            (A)   On Count One (Breach of Contract), contractual repurchase compensation

and/or damages in excess of $75,000 and in an amount to be proven at trial, and an award

of attorneys’ fees, interest, and costs; and

            (B)   On Count Two (Indemnification), a declaratory judgment that Defendant is

responsible to indemnify RFC against liabilities, losses, expenses and/or other damages

paid or to be paid in settlements or otherwise stemming from Defendant’s conduct, an

order for damages sufficient to reimburse RFC’s liabilities, losses, costs and expenses

caused by Defendant’s actions in excess of $75,000 and in an amount to be proven at

trial, and an award of attorneys’ fees, interest, and costs; and

            (C)   All such further relief, as the Court deems necessary or proper.

Dated: May 13, 2014                            FELHABER LARSON

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                                  ACKNOWLEDGMENT

            The undersigned hereby acknowledges that costs, disbursements and reasonable

attorney and witness fees may be awarded pursuant to Minn. Stat. §549.211, subdivision

3, to the party against whom the allegations in this pleading are asserted.



                                             s/Jessica J. Nelson
                                           Jessica J. Nelson




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Representations,
 Warranties and
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          A201
          Specific Representations, Warranties and Covenants Concerning Client
          (A) Due Organization; Good Standing; Licensing
          Client and, t o Client ’s knowledge, Client ’s Guarant or, if applicable, is and shall cont inue t o be
          duly or ganized, validly exist ing, and in good st anding under t he laws of t he Unit ed St at es or
          under t he laws of t he j urisdict ion in which it was incor por at ed or organized, as applicable,
          and has and shall cont inue t o m aint ain all licenses, regist rat ions, and cer t ificat ions necessar y
          t o carr y on it s business as now being conduct ed, and is and will cont inue t o be licensed,
          qualified, and in good st anding in each St at e wher e a Mort gaged Propert y is locat ed if t he
          law s of such St at e require licensing or qualificat ion in order t o conduct business of t he t ype
          conduct ed by Client and, in any event , Client is and will rem ain in com pliance wit h t he laws
          of any such St at e, and is and w ill r em ain in good st anding wit h federal aut hor it ies, t o t he
          ex t ent necessary t o ensure t he enforceabilit y of t he relat ed Loan. Client has disclosed t he
          final w rit t en report s, act ions and/ or sanct ions of any and all reviews, inv est igat ion,
          ex am inat ions, audit s, act ions and/ or sanct ions t hat hav e been undert ak en and/ or im posed,
          w it hin t w o years prior t o t he dat e of t he Client Cont r act , by any feder al or St at e agency or
          inst rum ent alit y wit h respect t o eit her t he lending or relat ed financial operat ions of Client , or
          t he abilit y of Client t o perform in accordance wit h t he Program Docum ent s t erm s. Each of t he
          represent at ions and warr ant ies m ade by Client in it s Client Applicat ion is t rue, accurat e, and
          com plet e, and is deem ed t o be rem ade in it s ent iret y, as of t he dat e of t he Client Cont ract ,
          and as of each Funding Date.

          (B) Authority
          Client has and will m aint ain t he full corporat e, part nership or lim it ed liabilit y com pany power
          and aut horit y t o execut e and deliver t he Program Docum ent s and t o perform t he t erm s of
          t his Client Guide. The execut ion, delivery , and perfor m ance of t he Program Docum ent s and
          t he perfor m ance of t he t erm s of t his Client Guide by Client , and t he consum m at ion of t he
          t ransact ions cont em plat ed, have been duly and validly aut horized. The Program Docum ent s
          and t his Client Guide evidence Client ’s legal valid, binding, and enforceable obligat ions. All
          requisit e corpor at e, part nership or lim it ed liabilit y com pany act ion has been t aken by Client
          t o m ake t he Program Docum ent s and t he t erm s of t his Client Guide valid and binding upon
          Client and enforceable in accordance w it h t heir respect iv e t erm s.

          (C) Ordinary Course of Business
          The consum m at ion of t he t r ansact ions cont em plat ed by t he Program Docum ent s and t he
          Client Guide t erm s are in Client ’s ordinary cour se of business, and t he t ransfer, assignm ent ,
          and conv ey ance of t he Mort gage Not es and t he Mort gages by Client , pursuant t o t he
          Program Docum ent s and t he Client Guide t erm s are not subj ect t o t he bulk t ransfer law s or
          any sim ilar st at ut or y prov isions in effect in any applicable j urisdict ion.
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                                                                                                      Representations,
                                                                                                      Warranties and
                                                                                                      Covenants
(D) No Conflicts
Neit her t he execut ion and deliver y of t he Program Docum ent s, t he acquisit ion and/ or m ak ing
of t he Loans by Client , t he sale of t he Loans t o GMAC- RFC or t he t ransact ions cont em plat ed
t hereby or pursuant t o t his Client Guide, nor t he fulfillm ent of or com pliance wit h t he
Program Docum ent s t erm s and condit ions, will conflict wit h or result in a breach of any of t he
t erm s, condit ions, or provisions of Client 's art icles of incorporat ion, chart er, by- laws,
part nership agreem ent , or ot her or ganizat ional docum ent , or of any legal rest rict ion or
regulat ory direct ive or any agreem ent or inst rum ent t o which Client is now a part y or by
which it is bound, or const it ut e a default or result in an accelerat ion under any of t he
foregoing, or result in t he violat ion of any law, rule, regulat ion, order, j udgm ent , or decr ee t o
which Client , or any of it s proper t y is subj ect , or im pair t he abilit y of GMAC- RFC t o realize on
any of t he Loans, or im pair t he Value of any of t he Loans.

(E) Ability to Perform
Client has t he abilit y t o perfor m each and every obligat ion of and/ or sat isfy each and every
requir em ent im posed on, Client pursuant t o t he Program Docum ent s and t his Client Guide,
and no offset , count erclaim , or defense exist s t o t he full perfor m ance by Client of t he
requir em ent s of Program Docum ent s and t his Client Guide.

(F) No Litigation Pending
Ther e is no act ion, suit , pr oceeding, inquiry, review, audit , or invest igat ion pending or
t hr eat ened against Client t hat , eit her in any one inst ance or in t he aggregat e, m ay result in
any m at erial adverse change in t he business, operat ions, financial condit ion, propert ies, or
asset s of Client , or in any m at erial liabilit y on t he part of Client , or which would draw int o
quest ion t he validit y or enforceabilit y of any of t he Program Docum ent s, t his Client Guide, or
t he Loans or of any act ion t aken or t o be t aken in connect ion wit h Client ’s obligat ions
cont em plat ed in any of t he Program Docum ent s or t his Client Guide, or which would be likely
t o im pair m at erially Client ’s abilit y t o perform under t he t erm s of t he Pr ogram Docum ent s or
t his Client Guide.

(G) No Consent Required
No consent , approval, aut hor it y, or or der of any court or governm ent al agency or body is
requir ed for t he execut ion and perform ance by Client of, or com pliance by Client wit h, any of
t he Program Docum ent s or t his Client Guide, t he sale of any of t he Loans, or t he
consum m at ion of any of t he t ransact ions cont em plat ed by any of t he Purchase Docum ent s,
or, if required, such uncondit ional approval has been obt ained prior t o t he relat ed Funding
Date.

(H) No Untrue Information
Neit her t he Program Docum ent s, t he Client Applicat ion, t his Client Guide, nor any st at em ent ,
report , or ot her docum ent furnished or t o be furnished by Client pursuant t o t he Program
Docum ent s or t his Client Guide, cont ains any unt r ue st at em ent of m at er ial fact or om it s t o
st at e a m at erial fact necessary t o m ak e t he st at em ent s cont ained t herein not m isleading.
Client m eet s GMAC- RFC’s Eligibilit y St andards, and shall t ak e all st eps necessary t o cont inue
t o m eet such Eligibilit y St andards.
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Representations,
 Warranties and
      Covenants
          (I) Securities Law
          The Client r epr esent s t hat t he Loans ar e not “ secur it ies” under any federal or St at e secur it ies
          law s or any rules or regulat ions t hereunder and t hat t he t ransact ions cont em plat ed by t his
          Client Guide do not require regist rat ion under, and are not subj ect t o, any federal or St at e
          securit ies laws or any rules or regulat ions t hereunder.

          (J) No Accrued Liabilities
          Ex cept as m ay be ot herw ise disclosed by Client t o GMAC- RFC and acknowledged by GMAC-
          RFC in writ ing prior t o t he dat e of t he Client Cont ract , t her e are no accr ued liabilit ies of
          Client , w it h r espect t o any of t he Loans, or cir cum st ances under w hich any such accr ued
          liabilit ies will arise against GMAC- RFC, as successor t o Client ’s int erest s in and t o t he Loans,
          wit h respect t o any act ion or failure t o act by Client occurr ing on or prior t o t he Funding
          Date.

          (K) Origination, Servicing
          Client ’s or iginat ion and servicing of t he Loans hav e been legal, proper , prudent , and
          cust om ary and have conform ed t o t he highest st andards of t he resident ial m ort gage
          or iginat ion and servicing business.

          (L) Compliance With Laws
          Client has com plied wit h, and has not violat ed any law, ordinance, requirem ent , regulat ion,
          rule, or or der applicable t o it s business or pr opert ies, t he v iolat ion of w hich m ight adversely
          affect t he operat ions or financial condit ions of Client , or t he abilit y of Client t o consum m at e
          t he t ransact ions cont em plat ed by t he Program Docum ent s and t his Client Guide.

          (M)Compliance With Program Documents and Client Guide
          Client will com ply wit h all provisions of t his Client Guide and t he Program Docum ent s, and
          will prom pt ly not ify GMAC- RFC of any occurrence, act , or om ission regarding Client , t he
          Loan, t he Mort gaged Proper t y or t he Mort gagor of which Client has know ledge, which
          occurr ence, act , or om ission m ay m at erially affect Client , t he Loan, t he Mort gaged Proper t y,
          or t he Mort gagor.

          (N) No Defenses Against GMAC-RFC
          The Client has no j udgm ent , court or der, claim , count erclaim , defense, right of set - off or
          sim ilar right against GMAC- RFC.
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                                                                                                    Representations,
                                                                                                    Warranties and
                                                                                                    Covenants

A202
Specific Representations, Warranties and Covenants Concerning Individual Loans
For all Loans, t he Client represent s, warrant s and covenant s t o GMAC- RFC as follows:

(A) Loans Are Eligible; Accuracy Of Information
Each of t he Loans delivered and sold t o GMAC- RFC m eet s t he applicable program t erm s and
cr it eria set fort h in t his Client Guide. All inform at ion relat ing t o each Loan delivered and sold
t o GMAC- RFC is t rue, com plet e and accurat e and t here are no om issions of m at erial fact s. All
dat a provided by t he Client t o GMAC- RFC relat ing t o any Loan, whet her in elect ronic for m at ,
or ot herwise, is t rue and com plet e and accurat ely reflect s t he inform at ion in t he relat ed Loan
file.

(B) Compliance With Warranties
The Client is in com pliance wit h, and has t aken all necessar y act ion t o ensure t hat each Loan
is in com pliance wit h all represent at ions, warrant ies and requirem ent s cont ained in t his
Client Guide.

(C) Loan Provisions
The prov isions of t he Loan have not been im paired, waived, alt ered or m odified in any
respect , unless approved in w rit ing by GMAC- RFC. The issuer of any relat ed PMI Policy and
t he t it le insurer have approved t he subst ance of any such waiver, alt erat ion, or m odificat ion
t o t he ext ent required by t he respect ive policies. No Mort gagor has been released, in w hole
or in par t .

(D) Documents
All Loan Documents, Funding Documents and Final Documents are genuine, have been
com plet ed, duly and pr operly execut ed, are in recordable form and delivered in t he form and
m anner specified in t his Client Guide, and each Loan is t he Mort gagor ’s legal, valid and
binding obligat ion enfor ceable in accor dance wit h it s t er m s. All or iginals and copies of such
docum ent s and all ot her docum ent s, m at erials, and ot her inform at ion required t o be
subm it t ed t o GMAC- RFC have been so subm it t ed, and are com plet e and accurat e. All Loan
Docum ent s, Funding Documents, Final Docum ent s and all ot her docum ent s describing or
ot herwise relat ing t her et o are in com pliance wit h all applicable local and St at e laws,
regulat ions and orders.
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     Client Guide
Representations,
 Warranties and
      Covenants
          (E) Ownership; Transfer
          The Client has good t it le t o and is t he sole owner of, each Loan deliver ed and sold t o GMAC-
          RFC. Except for t he secur it y int er est of a war ehouse lender, which securit y int er est Client has
          disclosed t o GMAC- RFC in w rit ing, t he assignm ent of t he Loan by t he Client validly t ransfers
          such Loan t o GMAC- RFC fr ee and clear of any pledge, lien or securit y int erest or ot her
          encum brance.
          For each Loan r egist er ed w it h MERS, t he Client represent s t hat ( a) if t he Security
          Instrument relat ing t o such Loan ident ifies MERS as t he or iginal m ort gagee of record, such
          Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is giv en t o MERS solely as
          nom inee for t he Client and it s successor s and assigns and t hat such Secur it y I nst r um ent has
          been properly execut ed, acknowledged, delivered and recorded in all places necessary t o
          perfect t he securit y int erest on t he Mortgaged Premises in fav or of MERS, solely as
          nom inee for t he Client and it s successors and assigns; or ( b) if t he Loan is regist ered w it h
          MERS, and MERS is not t he or iginal m ort gagee of record, an assignm ent t o MERS has been
          prepared, duly ex ecut ed and recorded and t he chain of assignm ent s is com plet e and
          recorded from t he original m ort gagee t o MERS. Client furt her represent s t hat it has com plied
          w it h all rules and procedures of MERS for it s assignm ent of t he Securit y I nst rum ent t o
          GMAC- RFC, including, am ong ot her t hings, t hat t he Client has confirm ed t he t ransfer on
          MERS t o GMAC- RFC.

          (F) Disbursements; No Payoffs or Future Advancements
          Each Loan has been closed and fully disbur sed, except as perm it t ed in t he Escrow Account
          for Postponed Improvements/Repairs Sect ion of t his Client Guide. There are no payoffs,
          assum pt ions or insurance claim s pending on any Loan or pert aining t o t he Mortgaged
          Premises and t he Borr ow er m ay not exercise any opt ion under any of t he Loan
          Documents t o borr ow addit ional funds secured t hereby from t he Client or any ot her person
          or ent it y wit hout t he Not eholder’s consent .
          Addit ionally, t he Client warrant s t hat t he Client has not m ade arrangem ent s wit h any
          Borrower for any pay m ent forbearance or fut ure refinancing wit h respect t o any Loan.

          (G) No Default
          Ther e is no default , breach, violat ion or event of accelerat ion exist ing under any Not e or
          Security Instrument t ransferred t o GMAC- RFC, and no event exist s which, wit h not ice and
          t he expirat ion of any grace or cure period, w ould const it ut e a default , breach, violat ion or
          event of accelerat ion, and no such default , breach, v iolat ion or event of accelerat ion has
          been waived by t he Client or by any ot her ent it y involved in originat ing or servicing t he Loan.

          (H) No Defenses
          Except as provided in a buydow n or subsidy agreem ent , if any, m eet ing t he requirem ent s set
          fort h in t his Client Guide, t he Borr ow er ( including any part y secondarily liable under t he
          Loan Documents) has no right of set - off, defense, count erclaim or right of rescission t o any
          Loan Docum ent .
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    GMAC-RFC                                                                                        Page 2A.7
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                                                                                                    Client Guide
                                                                                                    Representations,
                                                                                                    Warranties and
                                                                                                    Covenants
(I) Compliance with Law
The sale and t ransfer of each Loan t o GMAC- RFC does not violat e any applicable St at e laws.
To t he ext ent t hat any applicable St at e law places any r est rict ions on t he t ransfer of any
Loan, t he Client has not ified GMAC- RFC in w rit ing of t hat rest rict ion and any relat ed St at e
licensing or regist rat ion requirem ent s.
The Security Instrument has been proper ly execut ed, acknowledged, delivered and
recorded in all places necessary t o perfect t he securit y int erest in t he Mortgaged Premises
in favor of t he Client and it s successors and assigns. I f a Loan is regist ered w it h MERS, and
MERS is ident ified on t he Securit y I nst rum ent as t he or iginal m ort gagee of record, Client
represent s t hat such Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is giv en t o
MERS solely as nom inee for t he Client and it s successors and assigns. I f t he Loan is
regist ered w it h MERS, and MERS is not t he or iginal m ort gagee of record, Client repr esent s
t hat an assignm ent t o MERS has been prepared, duly execut ed and recorded and t he chain of
assignm ent s is com plet e and recorded fr om t he original m ort gagee t o MERS and Client
furt her represent s t hat it has com plied w it h all rules and procedures of MERS for it s
assignm ent of t he Securit y I nst rum ent t o GMAC- RFC, including, am ong ot her t hings, t hat
Client has confir m ed t he t ransfer on MERS t o GMAC- RFC.
Each GMAC- RFC Loan Applicat ion ( Fannie Mae 1003/ Freddie Mac Form 65) was t aken from
t he Borrow er and processed for each Loan, and each Loan has been originat ed, closed, and
t ransferred in com pliance wit h all applicable local, St at e and federal laws and regulat ions
including, but not lim it ed t o, t he Real Est at e Set t lem ent Procedur es Act , t he Fair Credit
Report ing Act , t he Equal Credit Opport unit y Act , t he Trut h- in- Lending Act , t he Fair Housing
Act , and t he Nat ional Flood I nsurance Act . This warrant y is m ade by t he Client w it h respect
t o each GMAC- RFC Loan Applicat ion t aken and processed for each Loan and wit h respect t o
each Loan m ade by t he Client or any ot her ent it y.

(J) Responsible Lending Representations, Warranties and Covenants
Client m akes t he r esponsible lending represent at ions, warr ant ies and covenant s set out
below . These represent at ions, w arr ant ies and cov enant s are in addit ion t o, and not in
subst it ut ion for, Client ’s represent at ions, w arr ant ies and covenant s, m ade elsew here in t his
Client Guide. All Loans m ust com ply wit h all applicable federal, St at e, and local laws. All
Loans m ust be originat ed and ser viced according t o GMAC- RFC st andards cont ained in t his
Client Guide.
    (1) Certain “High Cost” Loans Prohibited
         No Loan is a Discontinued Loan. I n general, a Discont inued Loan is:
         • A Loan subj ect t o HOEPA/ Sect ion 32;
         • A purchase m oney Loan on a consum er ’s principal residence t hat exceeds t he
           “ point s and fees” or APR t riggers of HOEPA and Sect ion 32;
         • An open- end line of credit on a consum er ’s pr incipal residence t hat exceeds t he
           “ point s and fees” or APR t riggers of HOEPA and Sect ion 32; or
         • A Loan w it h t erm s t hat t rigger high- cost m ort gage law s or regulat ions in cert ain
           St at es, count ies or cit ies regardless of whet her t he or iginat or qualifies for an
           exem pt ion.
         See Chapter 2B, Discont inued Loans, for t he com plet e definit ion of Discontinued
         Loans.
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              (2) Prohibited Terms and Practices on all Loans sold to GMAC-RFC
                    A Loan m ay not violat e any of t he following prohibit ed t erm s and pract ices:
                    ( a) No financing of pre- paid insurance product s. No Loan finances single prem ium
                         cr edit life, credit disabilit y , credit unem ploym ent , or any ot her pre- paid life or
                         healt h insurance, direct ly or indirect ly.
                    ( b) Prepaym ent penalt ies. A Loan m ay not provide for a penalt y for pay ing all or
                         part of t he principal before t he dat e on which t he principal is due except as set
                         fort h in t his paragr aph and ot herwise allowed by applicable federal, St at e, and
                         local law.
                            • The penalt y m ay be enforced for only t he first fiv e years following
                              consum m at ion;
                            • The penalt y does not exceed 6 m ont hs of int erest on t he am ount prepaid or
                              6% of t he am ount prepaid; and
                            • The prepaym ent penalt y does not becom e due upon default
                    ( c) Report ing t o cr edit bureaus. Client or it s Servicer m ust report t o a nat ionally
                         recognized consum er credit report ing agency at least quart erly t he favorable
                         and unfavorable paym ent hist ory inform at ion of Borrower on paym ent s due t o
                         Client on a Loan for t he period during which Client holds or services t he Loan.
                         This paragraph shall not prevent Client or it s Serv icer fr om not report ing specific
                         paym ent hist ory inform at ion in t he ev ent of a resolved or unresolved disput e
                         wit h Borrower and shall not apply t o Loans held or serviced by Client for less
                         t han 90 days.
                    ( d) I ncreased int erest rat e. A Loan m ay not prov ide for an incr ease in t he int erest
                         rat e aft er default .

          (K) Title Insurance
          A policy of t it le insurance, in t he form and am ount required by t his Client Guide, is effect ive
          as of t he day t he Security Instrument is recorded, is valid and binding, is in conform ance
          wit h all agency guidelines and rem ains in full force and effect , unless t he Mortgaged
          Premises are locat ed in t he St at e of I owa and a Tit le Guarant y Cert ificat e issued by t he
          I ow a Tit le Guarant y Div ision of t he I ow a Finance Aut hor it y has been prov ided as described in
          Tit le Guarant y Cer t ificat e I n I owa below.

          (L) Title Guaranty Certificate In Iowa
          As t o each Loan secured by Mortgaged Premises locat ed in t he St at e of I owa, and if an
          Am erican Land Tit le Associat ion ( ALTA) Loan policy of t it le insurance has not been provided,
          a Tit le Guar ant y Cert ificat e issued by t he I owa Tit le Guarant y Division of t he I owa Finance
          Aut horit y, in t he form and am ount required by t his Client Guide, duly deliver ed and effect ive
          as of t he closing of each such Loan, is valid and binding, and rem ains in full force and effect .
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                                                                                                   Covenants
(M)Valid First Liens
Each Security Instrument t ransferred t o GMAC- RFC, unless prov ided for ot herw ise in a
given Loan Program, const it ut es a valid first lien on t he Mortgaged Premises subj ect only
t o t he m inor im pedim ent s described in t he Title Insurance Sect ion of t his Client Guide, and
such im pedim ent s do not adversely affect t he Value, use, enj oy m ent or m arket abilit y of t he
Mort gaged Prem ises. Each Securit y I nst rum ent and all relat ed docum ent s ( including, wit hout
lim it at ion, releases of prior Securit y I nst rum ent s, assum pt ion agreem ent s, assignm ent s,
am endm ent s, pow ers of at t orney, and m odificat ion, ext ension and consolidat ion
agreem ent s) t hat are required t o be recorded or filed under applicable law in order t o
preserve in favor of GMAC- RFC t he validit y and enforceabilit y of t he Securit y I nst rum ent and
t he liens cr eat ed t hereby, have been duly recorded in all appropriat e recording offices, and
all associat ed recording fees or t axes m ust be paid.

(N) No Encroachments By Adjoining Properties; Improvements
No im provem ent s by adj oining propert ies encr oach upon t he Mortgaged Premises in any
respect so as t o affect t he Value or m arket abilit y of t he Mort gaged Prem ises. No
im provem ent locat ed on or being part of t he Mort gaged Propert y is in violat ion of any
applicable zoning law or regulat ion.

(O) Survey
All im pr ovem ent s w hich w ere considered in det erm ining t he appraised Value of t he
Mortgaged Premises lie w holly w it hin it s boundaries and t he building rest rict ion lines of t he
Mort gaged Prem ises, or t he policy of t it le insurance insures against loss or dam age by reason
of any violat ion, var iat ion, encr oachm ent or adverse circum st ance t hat eit her is disclosed or
would have been disclosed by an accurat e survey.

(P) No Liens
Ther e are no delinquent t ax or delinquent assessm ent liens against t he Mortgaged
Premises, and t her e are no m echanic’s liens or claim s for wor k, labor or m at er ial or any
ot her liens affect ing t he Mort gaged Prem ises, which are or m ay be a lien prior t o, or equal
w it h, t he lien of t he Security Instrument assigned t o GMAC- RFC, except t hose liens t hat
are insured against by t he policy of t it le insurance or Tit le Guarant y Cert ificat e issued by t he
I owa Tit le Guarant y Division.

(Q) No Adverse Circumstances
The Mortgaged Premises are fr ee of dam age and in good repair, and no not ice of
condem nat ion has been given wit h respect t heret o, and no circum st ances exist involving t he
Loan Documents, t he Mortgaged Premises or t he Borrower ’s cr edit st anding t hat could:
( i) cause privat e inst it ut ional invest ors t o regard t he Loan as an unaccept able invest m ent ,
( ii) cause t he Loan t o becom e delinquent , or ( iii) adversely affect t he Value or m arket abilit y
of t he Mort gaged Prem ises or t he Loan. The Client warrant s t hat it neit her has act ual
knowledge of t he presence of, nor reasonable grounds t o suspect t he pr esence of, any t oxic
m at erials or ot her environm ent al hazards on, in or t hat could affect any of t he Mortgaged
Premises. The Client warrant s com pliance wit h local, St at e or federal law or regulat ion
designed t o prot ect t he healt h and safet y of t he occupant s of t he propert y.
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          (R) Casualty Insurance
          The im pr ovem ent s upon t he Mortgaged Premises are insur ed against loss by fir e and ot her
          hazards as required by t his Client Guide, including flood insurance if required under t he
          Nat ional Flood I nsurance Act of 1968, as am ended. The Security Instrument requires t he
          Borrow er t o m aint ain such casualt y insurance at t he Borrow er’s ex pense, or on t he
          Borrow er ’s failure t o do so, aut horizes t he holder of t he Securit y I nst rum ent t o obt ain and
          m aint ain such insurance at t he Borrow er ’s expense and t o seek reim bursem ent fr om t he
          Borrower. Each casualt y policy is t he insurer ’s valid and binding obligat ion, is in full force and
          effect , and w ill be in full force and effect , t o GMAC- RFC’s benefit upon t he consum m at ion of
          t he t ransact ions cont em plat ed by t he Program Docum ent s and t his Client Guide. The Loan
          t erm s perm it t he m aint enance of an escrow account t o pay t he prem ium s for t he above
          m ent ioned insurance, and t he Client has not w aived t he requir em ent of such escr ow account
          unless perm it t ed by GMAC- RFC or required by applicable law.

          (S) Primary Mortgage Insurance
          I f required by t his Client Guide, pr im ar y m ort gage insurance has been obt ained, t he
          prem ium has been paid, and t he m ort gage insurance coverage is in full force and effect
          m eet ing t he requirem ent s of t his Client Guide.

          (T) Underwriting; Appraisal; Appraiser
          The Loan is of invest m ent qualit y, has been prudent ly or iginat ed and has been under writ t en
          in com pliance wit h all requirem ent s of t his Client Guide.
          The appraisal was m ade by an appraiser w ho m eet s t he m inim um qualificat ions for
          appraisers as specified in t his Client Guide. As of t he Funding Date, t he m arket Value of t he
          Mortgaged Premises is at least equal t o t he appraised Value st at ed on t he Loan appraisal
          except t o t he ext ent t hat t he m arket Value of t he Mort gaged Prem ises is lower t han t he
          appraised Value due t o t he effect of any t oxic m at erials or ot her environm ent al hazards of
          w hich neit her t he appraiser nor t he Client has act ual know ledge or reasonable grounds t o
          suspect .

          (U) Enforceability; Enforcement Provisions
          Each Not e and Security Instrument const it ut es a legal, valid and binding obligat ion of t he
          Borrower enforceable in accordance wit h it s t erm s except as lim it ed by bank rupt cy,
          insolvency or ot her sim ilar law s affect ing generally t he enforcem ent of cr edit ors’ right s.
          Each Securit y I nst r um ent cont ains cust om ary and enfor ceable pr ovisions which r ender t he
          right s and rem edies of t he holder adequat e t o realize t he benefit s of t he securit y against t he
          Mortgaged Premises, including: ( i) in t he case of a Securit y I nst r um ent designat ed as a
          deed of t rust , by t r ust ee's sale, ( ii) by sum m ary foreclosur e, if available under applicable
          law; and ( iii) ot herwise by foreclosure, and t here are no hom est ead or ot her exem pt ions or
          dow er, court esy or ot her right s or int erest s available t o t he Borr ower or t he Borr ower ’s
          spouse, sur vivors or est at e or any ot her per son or ent it y t hat w ould, or could, int erfere w it h
          such right t o sell at a t rust ee’s sale or t o foreclose. The Securit y I nst rum ent and any riders t o
          t he Securit y I nst rum ent m ust be signed by any person wit h an act ual or pot ent ial int erest in
          t he propert y. Tit le holders have an act ual int erest in t he propert y and m ust sign t he Securit y
          I nst rum ent and riders. Non- Borrow ing spouses w ho are not in t it le m ay hav e an act ual or
          pot ent ial int erest in t he propert y under St at e law and m ay be required t o sign t he Securit y
          I nst rum ent and rider in som e St at es in order for t he holder of t he Securit y I nst rum ent t o
          obt ain, prot ect and enforce it s lien. The Client w ill obt ain t he signat ur e of t he non- Borr ow ing
          spouse on t he Security Instrument and riders or ot her docum ent at ion, as allowed by law,
          if such signat ur e is necessary t o prot ect t he int erest of t he holder of t he Securit y I nst rum ent .
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                                                                                                       Covenants
(V) Holder-In-Due-Course
The Client is t he owner and holder- in- due- cour se of each Not e and is nam ed as m ort gagee/
beneficiary or assignee under each Security Instrument, and all Loan Documents
requir ing execut ion have been appr opriat ely execut ed, w it nessed or not arized by t he persons
whose nam es appear as signat or ies and wit nesses, or, as appr opr iat e, not aries w ho
const it ut e t he valid and binding legal obligat ion of t he Borrow er, enforceable in accordance
w it h t heir respect ive t erm s. Not w it hst anding t he foregoing, w it h respect t o adj ust able- rat e
m ort gage Loans ( ARMs) , t he Client represent s and warrant s t hat t her e are no claim s t o t he
Not e on t he part of any person or defenses of any part y t o t he Not e ot her t han t hose t hat
validly could be raised against a holder- in- due- course.

(W)Trustee Designated
Wit h respect t o each Security Instrument t hat is a deed of t rust , a t rust ee duly qualified
under applicable law t o serve as such is proper ly nam ed, designat ed and serving.

(X) No Fees Due Trustee
Except in connect ion w it h a t rust ee’s sale aft er default by t he Borrow er, no fees or expenses
are payable by t he Client or GMAC- RFC t o t he t rust ee under any Security Instrument t hat
is a deed of t rust .

(Y) Execution Of Documents
All agreem ent s, cont ract s, assignm ent s, endor sem ent s and issuances of checks or draft s,
repor t s, Loan Documents or ot her papers relat ed t o a Loan t hat are required by t his Client
Guide t o be execut ed by t he Client have been proper ly execut ed by an officer on behalf of
t he Client pursuant t o a duly adopt ed Resolut ion of Board of Direct or s.

(Z) Leaseholds
Where perm it t ed by t he applicable Loan Program, each Mortgaged Premises involving a
Leasehold est at e com plies w it h t he applicable Leasehold warrant ies set fort h in t his Client
Guide.

(AA) Condominiums; Planned Unit Developments (PUDs)
Each Mortgaged Premises t hat is a unit in a condom inium or PUD com plies wit h t he
applicable condom inium or PUD warrant ies set fort h in t his Client Guide.

(BB) Compliance By Others
When a person or ent it y: ( i) originat es a Loan on behalf of a Client , ( ii) originat es a Loan on
it s own behalf and sells it t o a Client , or ( iii) perform s any act for a Client which t he Client is
requir ed t o perfor m under t his Client Guide, t he Client warrant s t hat such person or ent it y
has com plied wit h all requirem ent s of t his Client Guide wit h respect t o all such Loans and
act s.

(CC) Client Contract Warranties
The represent at ions and w arrant ies m ade at t he t im e of t he Client ’s execut ion of t he Client
Cont ract m ust r em ain t r ue, cor r ect and com plet e.
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          (DD) Client And Originators
          The Client eit her is an inst it ut ion insured by FDIC which is superv ised and ex am ined by a
          federal or St at e aut hor it y, or is a HUD approved m ort gagee, and w as so at t he t im e t he Loan
          was or iginat ed. The Loan eit her was: ( i) closed in t he nam e of t he Client , ( ii) closed in t he
          nam e of anot her ent it y t hat eit her is an inst it ut ion insured by FDI C and supervised and
          ex am ined by a federal or St at e aut horit y, or is a HUD approved m ort gagee, and was so at
          t he t im e t he Loan w as or iginat ed ( t he Client or such ot her ent it y shall be called t he
          “ originat or ” ) , or ( iii) closed in t he nam e of a Loan br oker under t he circum st ances described
          in t he following sent ence: I f t he Loan was or iginat ed t hr ough a Loan br oker, t he or iginat or
          approved t he Loan prior t o funding by t he Loan broker and t he originat or acquired t he Loan
          fr om t he Loan broker cont em poraneously w it h t he or iginat ion t hereof.
          I f t he Client sells Loans t o GMAC- RFC w hich are regist er ed wit h MERS or as t o w hich MERS is
          t he m ort gagee on t he Security Instrument, t he Client is a m em ber of MERS, in good
          st anding and curr ent in paym ent of all fees and assessm ent s im posed by MERS.

          (EE) No Impairment Of Insurance
          No act ion, error, om ission, m isrepresent at ion, negligence, fraud or sim ilar occurr ence in
          respect of a Loan has t aken place on t he part of any person, including, wit hout lim it at ion, t he
          Borrower, any appraiser, any builder or developer or any part y involved in t he originat ion of
          t he Loan or in t he applicat ion of any insurance in relat ion t o such Loan t hat m ight result in a
          denial, cont est ing, failure or im pairm ent of full and t im ely coverage under any insurance
          policies required t o be obt ained or any pool insurance policy covering such Loan.

          (FF)Temporary Buydowns
          Where perm it t ed by t he applicable Loan Program, each Temporary Buydown Loan
          deliver ed t o GMAC- RFC was ent ered int o pursuant t o a buydown agreem ent w hich com plies
          wit h t he Temporary Buydowns Sect ion of t his Client Guide.

          (GG) Primary Mortgage Insurance Cancellation
          The Client has disclosed in writ ing t o t he Borr ower t he t erm s and condit ions t hat m ust be
          m et pr ior t o t he pr im ary m ort gage insurance being eligible for cancellat ion. A copy of t his
          disclosure has been ret ained in t he Loan file as a perm anent record.

          (HH) No Deficiency In Escrow Deposits or Payments
          The Loan has been serviced by t he Client and any predecessor Servicer in accordance w it h
          t he t erm s of t he m ort gage Not e and all applicable law. Wit h respect t o escr ow deposit s and
          escr ow pay m ent s, if any, all such pay m ent s are in t he possession of, or under t he cont rol of,
          t he Client , and t here ex ist s no deficiency in connect ion t herew it h for w hich cust om ary
          arrangem ent s for repaym ent t hereof have not been m ade. No escrow deposit s, escrow
          paym ent s or ot her charges or paym ent s due t he Client have been capit alized under any
          m ort gage or relat ed m ort gage Not e.
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(II) Loan Securitization
The Client recognizes t hat it is GMAC- RFC’s int ent t o secur it ize som e or all of t he Loans sold
t o GMAC- RFC by t he Client . The Client agrees t o prov ide GMAC- RFC wit h all such inform at ion
concer ning t he Client generally and, if applicable, t he Client ’s serv icing ex perience, as m ay
be reasonably request ed by GMAC- RFC for inclusion in a prospect us or privat e placem ent
m em orandum published in connect ion w it h such securit izat ion.
I n addit ion, t he Client will cooperat e in a sim ilar m anner wit h GMAC- RFC in connect ion wit h
any whole Loan sale or ot her disposit ion of any Loan sold t o GMAC- RFC by t he Client . The
Client agrees t o indem nify and hold GMAC- RFC harm less fr om and against any loss, dam age,
penalt y, fine, forfeit ure, court cost , reasonable at t orneys’ fees, j udgm ent , cost , fee, ex pense
or liabilit y incurred by GMAC- RFC as a result of any m at erial m isst at em ent in or om ission
fr om any inform at ion pr ovided by t he Client t o GMAC- RFC; or fr om any claim , dem and,
defense or assert ion against or involving GMAC- RFC based on or grounded upon, or result ing
fr om such m isst at em ent or om ission or a br each of any repr esent at ion, warrant y or
obligat ion m ade by GMAC- RFC in reliance upon such m isst at em ent or om ission.
The Client furt her agrees t o cooperat e fully w it h GMAC- RFC, rat ing agencies, at t orneys, bond
insur ers, purchasers of Loans or any ot her part ies t hat m ay be involved in t he sale or
securit izat ion of any Loan, including, wit hout lim it at ion, all cooperat ion as m ay be necessary
in or der t o accom m odat e due diligence act iv it y.

(JJ) Non-Solicitation
The Client has not solicit ed or prov ided inform at ion t o anot her part y for t he pur pose of
solicit ing, and covenant s and agrees t hat it will not solicit or prov ide inform at ion t o anot her
part y for t he purpose of solicit ing, t he refinance of any Loan. The t erm “ solicit ” as used
her ein shall m ean a direct r equest or offer t o refinance a ser vicing r eleased Loan, and shall
not include general solicit at ions, advert isem ent s or prom ot ions direct ed t o t he public at
large.

(KK) No Fraud Or Misrepresentation
No fr aud or m isrepresent at ion by t he Borrower or by t he Client , broker, corr espondent ,
appraiser or any independent cont ract or ret ained by t he Client , brok er , corr espondent ,
appraiser or any em ployee of any of t he foregoing occurred w it h respect t o or in connect ion
wit h t he or iginat ion or underw rit ing of any Loan and all inform at ion and docum ent s provided
t o GMAC- RFC in connect ion wit h t he Loan are com plet e and accurat e.
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          A206
          Integrity of Information
          The Client is responsible for cr edit and propert y underwrit ing regardless of whet her t he
          inform at ion was provided by t he Client , an ent it y relat ed t o t he Client or designat ed by t he
          Client t o perform t he funct ion. This includes credit inform at ion, appraisals, or ot her
          docum ent s/ inform at ion used in t he Loan's evaluat ion.
          The Client should t ake all st eps necessary t o ensure t hat each Loan sold t o GMAC- RFC has
          been prudent ly or iginat ed and underwrit t en, and t hat all inform at ion supplied by, on behalf
          of, or concer ning t he Borr ower is t rue, accurat e and com plet e. The Client should ensure t hat
          int erest ed part ies are sufficient ly independent from t he Loan t ransact ion and t hat adequat e
          or ganizat ional cont rols are in place t o ensure t he independence, validit y and reliabilit y of t he
          Loan infor m at ion.
          I n addit ion, t he Client should im plem ent prudent pract ices w hen relying on designat ed
          agent s ( such as escr ow com panies, t it le com panies, et c.) in order t o ensure t hat t hey com ply
          wit h it s inst ruct ions and t hat t he int egrit y of t he Loan t ransact ion has been m aint ained.

          A207
          Third-Party Originators
          When relying on t he act ions or serv ices of t hird- part y originat or s, t he Client should est ablish
          qualificat ion and eligibilit y st andards. The Client should consider t he funct ions being
          perform ed by t he t hir d- part y originat or in est ablishing t hese st andards. These st andards
          should be rev iewed periodically t o ensure ongoing eligibilit y by t he t hird- part y or iginat or.
          The Client is encouraged t o include t he following it em s in form ulat ing it s qualificat ion and
          eligibilit y st andards and procedures:
               ( 1) Rev iew per sonnel r esum es and r eferences of m anagem ent and Loan or iginat ion st aff
                    ( Loan officers, pr ocessors, under wr it ers, closer s, et c.)
               ( 2) Est ablish m inim um net wort h requirem ent s and evaluat e t he financial viabilit y of t he
                    firm on an ongoing basis
               ( 3) Est ablish m inim um requirem ent s for errors and om issions insurance and fidelit y
                    bond coverage and m onit or ongoing com pliance w it h t hese st andards
               ( 4) Docum ent t he relat ionship w it h a cont ract ual agreem ent t hat cont ains specific
                    warrant ies relat ed t o each part y’s responsibilit ies, as well as recour se right s in t he
                    event of warrant y v iolat ions
               ( 5) Rev iew t he perfor m ance of Loans or iginat ed by t hird part ies t o evaluat e t rends or
                    pat t erns of Delinquency
          The Client should include a represent at ive, random sam ple of t hir d- part y Loans in t he qualit y
          cont rol pr ogram t hrough bot h pr e- and post- closing qualit y cont rol audit s t o ensure t he
          qualit y of Loan inform at ion.
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A208
Events of Default
Any one or m ore of t he follow ing event s const it ut e an Event of Default:
    ( 1) The Client has not com plied w it h one or m ore of t he requirem ent s ( including any
         requir em ent out lined in t he Eligibilit y St andards Chapt er of t his Client Guide) , t erm s
         or condit ions out lined in t his Client Guide or one of t he disqualificat ion, suspension
         or inact ivat ion event s set fort h in t he Disqualification Suspension or
         Inactivation Sect ion has occurr ed or occur s.
    ( 2) The Client has br eached any agreem ent out lined or incor porat ed by r efer ence in t he
         Client Cont ract or any ot her agreem ent bet ween t he Client and GMAC- RFC.
    ( 3) The Client breaches any of t he represent at ions, warrant ies or covenant s set fort h in
         t his Client Guide, fails t o perform it s obligat ions under t his Client Guide or t he
         Program Docum ent s, m akes one or m ore m isleading represent at ions, warrant ies or
         covenant s t o GMAC- RFC, or as failed t o pr ovide GMAC- RFC w it h inform at ion t hat is
         t rue, com plet e and accurat e.
    ( 4) The Bor rower or any ot her person or ent it y involved in t he Loan t ransact ion or in it s
         underwrit ing or docum ent at ion ( including any appraiser, broker, t hird- part y
         or iginat or, cr edit report ing agency, or ot her provider of under writ ing inform at ion)
         has m ade any false repr esent at ion and/ or has failed t o pr ovide inform at ion t hat is
         t rue, com plet e and accurat e in connect ion w it h such t ransact ion, w het her or not t he
         Client was a par t y t o or had knowledge of such m isr epr esent at ion or incor rect
         inform at ion.
    ( 5) Occurr ence of an Event of Servicer Default wit h respect t o any Loans serviced by
         t he Client .
    ( 6) Term inat ion of ser vicing for cause is a basis for t he Client ’s im m ediat e
         disqualificat ion or suspension. Act ion t aken by GMAC- RFC t o t erm inat e servicing
         m ay be m erged wit h an act ion t o disqualify , suspend or inact iv at e t he Client .
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          A209
          Remedies of GMAC-RFC
          (A) Non-Exclusive, Cumulative Remedies
          GMAC- RFC m ay exer cise any rem edy out lined in t his Client Guide or as allow ed by law or in
          equit y. GMAC- RFC’s exer cise of one or m ore r em edies in connect ion wit h a part icular Event
          of Default will not prevent it from exercising:
               • One or m or e ot her r em edies in connect ion wit h t he sam e Event of Default
               • Any ot her right s w hich it m ay have at law or in equit y

          (B) Waiver Of Defaults
          GMAC- RFC m ay w aiv e any default by Client in t he perform ance of Client ’s obligat ions
          hereunder and it s consequences, but only by a writ t en waiver specifying t he nat ure and
          t er m s of such waiv er . No such waiv er shall ext end t o any subsequent or ot her default or
          im pair any right consequent t heret o, nor shall any delay by GMAC- RFC in exercising, or
          failure t o ex er cise, any right arising fr om such default affect or im pair GMAC- RFC’s right s as
          t o such default or any subsequent default .

          (C) Survival of Remedies
          GMAC- RFC’s rem edies for breach of t he represent at ions, w arr ant ies and cov enant s shall
          surv ive t he sale and delivery of t he Loan t o GMAC- RFC and funding of t he relat ed purchase
          price by GMAC- RFC, and will cont inue in full force and effect for t he rem aining life of t he
          Loans, not wit hst anding any t erm inat ion of t his Client Guide and t he relat ed Funding
          Documents, or any rest rict ive or qualified endorsem ent on any m ort gage Note or
          assignm ent of m ort gage or Loan approval or ot her ex am inat ion of or failur e t o exam ine any
          relat ed m ort gage Loan file by GMAC- RFC.
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A210
Repurchase
(A) Repurchase Obligations
I f GMAC- RFC det erm ines t hat an Event of Default has occurr ed wit h r espect t o a specific
Loan, t he Client agrees t o repurchase t he Loan and it s servicing ( if t he Loan was sold
serv icing released) w it hin 30 day s of receiving a repurchase let t er or ot her writ t en
not ificat ion from GMAC- RFC.
I f t he Client discovers an Event of Default , it should give GMAC- RFC prom pt writ t en not ice.
Such not ice should include a w rit t en descr ipt ion of t he Event of Default . Upon receipt of t his
not ice, GMAC- RFC will rev iew t hese m at erials and any addit ional inform at ion or
docum ent at ion t hat t he Client believes m ay influence GMAC- RFC’s decision t o require
repurchase. I f GMAC- RFC decides t o require repurchase, t he Client shall repurchase t he Loan
and t he servicing ( if t he Loan was sold servicing released) wit hin 30 days aft er GMAC- RFC’s
decision is com m unicat ed t o Client in writ ing.
To expedit e t he w iring of funds t o GMAC- RFC, t he Client should com plet e t he servicing
t ransfer inst ruct ion form provided by GMAC- RFC. GMAC- RFC will send t he form t o t he Client
along w it h t he not ificat ion of repurchase.
GMAC- RFC is not required t o dem and repurchase wit hin any part icular period of t im e, and
m ay elect not t o require im m ediat e repurchase. However, any delay in m ak ing t his dem and
does not const it ut e a waiver by GMAC- RFC of any of it s right s or rem edies.
Where GMAC- RFC det erm ines t hat repurchase of a Loan and/ or t he servicing is not
appropriat e, t he Client shall pay GMAC- RFC all losses, cost s and ex penses incur red by GMAC-
RFC and/ or t he Loan’s Servicer as a r esult of an Event of Default. This includes all
reasonable at t orneys’ fees and ot her cost s and ex penses incurred in connect ion w it h
enfor cem ent effor t s under t aken.
Upon t he Client ’s sat isfact ion of it s repurchase obligat ion, GMAC- RFC will endorse t he Not e
ev idencing t he Loan in blank and will deliver it and ot her pert inent Loan Documents t o t he
Client . I f GMAC- RFC acquired t it le t o any of t he real propert y securing t he Loan pursuant t o a
foreclosure sale and has not disposed of such proper t y, it w ill t ransfer such propert y t o t he
Client on a “ quit claim ” basis or, if required by St at e law, a “ war rant y deed” basis. However,
if GMAC- RFC has disposed of t he real pr opert y securing t he Loan, t he Loan Docum ent s will
not be ret urned t o t he Client unless request ed.
I f t he Client is also t he Servicer of a Loan repurchased by reason of t he occurr ence of an
Event of Default , GMAC- RFC w ill not reim burse t he Client for any principal, int erest or ot her
advances m ade by t he Client wit h respect t o t hat Loan.
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          (B) Repurchase Price of First Mortgage Programs
          I n t he event t he Client is obligat ed t o repurchase a Loan t he Client m ust pay t o GMAC- RFC a
          repurchase price equal t o t he sum of:
               • The act ual principal balance of t he Loan at t he t im e of repurchase ( if t he Client sold t he
                 Loan t o GMAC- RFC at a discount or a prem ium , t he repurchase price above will be
                 adj ust ed t o reflect t he act ual principal balance m inus t he discount percent age
                 m ult iplied by t he act ual principal balance, or plus t he prem ium percent age m ult iplied
                 by t he act ual principal balance, as appropriat e, including t hat price paid for Servicing
                 Rights) , plus
               • All accrued and unpaid int erest on t he Loan t hrough t he last day of t he m ont h of t he
                 dat e of repurchase; plus
               • All int erest , principal and ot her advances m ade t o invest ors and all out of pocket cost s
                 and ex penses of any k ind incurred by GMAC- RFC and/ or t he prim ary Servicer in
                 connect ion w it h t he Loan, including, but not lim it ed t o, advances for t axes or
                 insurance, and r epair, for eclosur e and insurance cost s and reasonable at t or ney s’ fees;
                 plus
               • The am ount of t he buyout fee as calculat ed in t he Buyouts and Extensions Sect ion
                 of t his Client Guide; plus
               • I n t he event t hat GMAC- RFC or any of it s Affiliates is required t o repurchase t he Loan
                 fr om any subsequent assignee, t hen any addit ional am ount as m ay be required t o
                 m ake t he repurchase price t hat t he Client is obligat ed t o pay hereunder equal t o t he
                 repurchase price t hat GMAC- RFC or it s Affiliat e is required t o pay t o such subsequent
                 assignee; m inus
               • The net am ount of any pr oceeds realized by t he owner of t he Loan upon t he final
                 liquidat ion of t he Loan or t he Mortgaged Premises t o an unrelat ed t hird part y.
          The Designated Servicer will ret urn t o t he Client any escr ow funds, unapplied funds and
          prepaid principal and int erest inst allm ent s.
          GMAC- RFC m ay dem and t hat a Client repurchase, and Client m ust repur chase, a Loan aft er
          foreclosure even if t he full am ount of it s out st anding debt w as bid on by or on behalf of t he
          Loan’s owner t o acquir e t he Mortgaged Premises at t he for eclosur e sale. I n t he event t he
          Client is obligat ed t o repurchase a Loan aft er foreclosure, t he repurchase price shall be
          calculat ed using t he form ula above, however Scheduled Principal Balance shall be
          subst it ut ed for t he act ual principal balance.
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(C) Repurchase Price of Home Equity Loan Program
I n t he event t he Client is obligat ed t o repurchase a Hom e Equit y Loan, t he Client m ust , upon
repurchase, serv ice such Hom e Equit y Loan. The repur chase price for such Hom e Equit y Loan
shall be equal t o t he sum of:
    • The unpaid principal balance of t he Hom e Equit y Loan
    • All accrued and unpaid int erest on t he Hom e Equit y Loan
    • The am ount of all fees and/ or purchase prem ium paid, if any, t o t he Client by GMAC-
      RFC for or iginat ion of t he Hom e Equit y Loan
    • All fees paid t o any Servicer or sub- ser vicer of a Hom e Equit y Loan by reason of t he
      t erm inat ion of t hat Servicer ’s or Sub- Serv icer ’s right t o service t hat Hom e Equit y Loan
    • All cost s incurred or paid by GMAC- RFC or any Servicer in collect ing or enforcing t he
      Hom e Equit y Loan, including, w it hout lim it at ion, int erest or ot her cost s paid t o bring or
      m aint ain a pr ior lien curr ent or up t o dat e, cost s t o insure or pay delinquent t axes,
      at t or neys’ fees, court cost s, appraisal and t it le expenses and ot her sim ilar cost s or
      ex penses ( collect ively, “ Foreclosure Expenses” )
    • Any addit ional am ount GMAC- RFC or any of it s Affiliates is required t o pay t o
      repurchase t he Hom e Equit y Loan from a subsequent assignee
I n lieu of repurchasing a Hom e Equit y Loan t hat has not yet been foreclosed and accept ing
t he ser vicing of such Hom e Equit y Loan, GMAC- RFC m ay in it s sole discret ion allow Client t o
pay t o GMAC- RFC t he Est im at ed Loss ( as defined below) . Est im at ed Loss, as it relat es t o
each Hom e Equit y Loan subj ect t o repurchase, shall equal t he product of:
120% m ult iplied by t he result of:
    • Repurchase price as calculat ed above, plus
    • Accrued int erest on t he Hom e Equit y Loan t hrough t he dat e GMAC- RFC est im at es t hat
      t he Hom e Equit y Loan w ill be fully liquidat ed ( which in t he case of a foreclosur e, shall
      m ean t he dat e t hat GMAC- RFC est im at es t hat t he Mortgaged Premises will be sold t o
      a t hird part y and which in any ot her case m eans t he dat e t hat GMAC- RFC est im at es
      t hat all collect ion effort s on t he Hom e Equit y Loan will be abandoned) and est im at ed
      foreclosure and ot her enfor cem ent expenses for t he ent ire collect ion process, less
    • Am ount by which t he current m arket Value of t he Mortgaged Premises as
      det erm ined by GMAC- RFC using valuat ion services prov ided by an independent t hird
      part y exceeds t he current out st anding am ount of indebt edness secured by t he
      Mort gaged Prem ises t hat is senior t o t he Hom e Equit y Loan.
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          (D) Repurchase Price of a Servicing Released Loan
          I n t he event t he Client repurchases a Loan for w hich t he servicing has also been sold t o
          GMAC- RFC, t he Client w ill also be requir ed t o repurchase t he serv icing. I f t he repurchase of
          t he servicing of t he Loan is for any reason ot her t han a breach of t he Delinquency Payoff/
          Liquidat ion warrant y cont ained in t he Servicing Released Chapter 8, t he Client m ust pay t o
          GMAC- RFC a repurchase price equal t o t he original Servicing Premium percent age
          m ult iplied by t he act ual unpaid principal balance at t he t im e of repurchase.
          I n no event how ever, w ill t he required repurchase Serv icing Prem ium be great er t han t he
          or iginal Servicing Prem ium paid t o t he Client .
          The Designated Servicer will ret urn t o t he Client any escrow funds, Temporary Buydown
          funds, unapplied funds and pr epaid principal and int erest inst allm ent s. The Client w ill be
          requir ed t o reim burse t he Designat ed Serv icer for any delinquent principal and int erest
          advances, and any escr ow advances and foreclosure expenses t hey have m ade and not
          recovered on a r epurchased Loan.

          (E) Repurchase as a Result of Conversion
          The Client ( or, if t he Client has t ransferred servicing of t he Loans, t he Servicer) shall
          repurchase a Loan w hich has conver t ed fr om an ARM t o a fixed- rat e m ort gage. The Serv icer
          m ust subm it t he ARM Conversion Not ificat ion Report no less t han 15 day s pr ior t o t he
          conversion dat e.
          I f t he Client or Servicer repurchases a convert ed Loan and subsequent ly resells t hat
          convert ed Loan t o GMAC- RFC, all t he Client ’s repr esent at ions and warrant ies wit h respect t o
          t hat Loan shall survive such repurchase and resale. I n addit ion, t he Client shall be subj ect t o
          all right s and rem edies ( including repurchase) available t o GMAC- RFC as a result of any
          m isr epresent at ion or breach of w arrant y w it h respect t o t hat Loan prior t o conversion.
          The Client shall also subm it t he m odificat ion agreem ent if request ed by GMAC- RFC or it s
          assigns.
          Aft er it s receipt of t he Loan funds, GMAC- RFC will endorse t he Not e t o t he part y which
          repurchased t he Loan. The Loan w ill t hen be assigned t o such part y, and all cr edit
          docum ent at ion will be ret urned. Failure t o subm it t he ARM Conversion Not ificat ion Report in
          a t im ely m anner m ay delay t he receipt of t he endorsed Not e and ot her legal docum ent s.
          The Servicer shall subm it a Payoff/ Liquidat ion Report and w ire t ransfer Loan funds t o t he
          GMAC- RFC Loan Accounting Department no lat er t han t he last Business Day prior t o t he
          conversion dat e. The Serv icer m ust rem it int erest for t he ent ire m ont h preceding t he
          conversion dat e. The Client shall at t ach a copy of t he ARM Conver sion Not ificat ion Report .
          I f t he appropriat e am ount is not wired on t im e, GMAC- RFC will charge a lat e paym ent fee.
          This fee will equal t he am ount due m ult iplied by t he “ Prime Rate” plus 3% m ult iplied by t he
          num ber of days over due div ided by 365. The t erm “ Prim e Rat e” shall m ean t he highest
          quot ed Prim e Rat e print ed in The Wall Street Journal in it s regular colum n “ Money Rat es” on
          t he first Business Day of t he m ont h in w hich t he paym ent was due and not paid. I f t he
          Prim e Rat e is not available, GMAC- RFC will det erm ine a com parable rat e.
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(F) Substitution
I nst ead of requiring t he Client t o repurchase a Loan as pr ovided above, GMAC- RFC, at it s
discret ion, m ay allow t he Client t o subst it ut e anot her Loan sat isfact ory t o GMAC- RFC in place
of t he original Loan, w it hin 10 day s of not ificat ion by GMAC- RFC, unless ot herwise not ified. I f
t he subst it ut ed Loan cont ains t erm s differ ent from t hose of t he Loan t hat it is replacing, a
purchase price adj ust m ent will be calculat ed by GMAC- RFC based on m arket changes and
Loan charact erist ics. Every Loan subst it ut ed will be subj ect t o all agreem ent s, t erm s,
condit ions, represent at ions and warrant ies in t his Client Guide as of t he Substitution Date.
I n t he event a Loan is eligible for purchase by GMAC- RFC but t he serv icing is ineligible for
purchase by GMAC- RFC, t he Loan will be purchased and t he sale of servicing denied. GMAC-
RFC will not allow t he Client t o subst it ut e anot her servicing released Loan.

(G) Cost Of Transfer Fees Due To Repurchase
The Client agrees t hat , if it is required t o repurchase a Loan and t he relat ed Serv icing, it will
pay all docum ent ary st am p t axes, recording fees, t ransfer t axes and all ot her expenses
payable in connect ion wit h t he repurchase and will indem nify and hold harm less GMAC- RFC
and t he Designated Servicer against all losses, cost s and expenses, including at t orney
fees, result ing fr om such required repurchases or t he breach giving rise heret o.

(H) Notice and Appeal
The Client m ay appeal GMAC- RFC’s decision by prov iding any addit ional inform at ion or
docum ent at ion it believes m ay affect GMAC- RFC’s det erm inat ion.
Send all not ificat ions and appeals t o:
      GMAC- RFC
      One Meridian Cr ossing
      Suit e 100
      Minneapolis, MN 55423
      At t ent ion: Repurchase Managem ent
Such infor m at ion and docum ent at ion m ust be received wit hin 30 day s aft er t he Client ’s
receipt of a repurchase let t er or sim ilar writ t en not ificat ion from GMAC- RFC. GMAC- RFC will
review all appeals and advise t he Client in writ ing of t he appeal decision. GMAC- RFC will in it s
sole discret ion det erm ine t he validit y of any appeal filed by t he Client . I f GMAC- RFC’s
decision rem ains firm following an appeal, t he Client shall repurchase t he Loan and it s
serv icing ( if t he Loan w as sold servicing released) wit hin 10 days of not ificat ion by GMAC-
RFC, in writ ing, t hat t he appeal has been denied.
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   ( 17) The Client or Servicer’s failure t o m aint ain a qualified Loan originat ion, servicing
         and qualit y cont rol st aff, an accept able ongoing qualit y cont rol program , adequat e
         facilit ies and writ t en policies and procedures t o ensure:
         • The invest m ent qualit y of Loans sold t o GMAC- RFC
         • The adequacy of t he serv icing of Loans purchased by GMAC- RFC OR
   ( 18) The failure of t he Client or t he Servicer t o m eet any t est as m ay be prescribed for
         eligibilit y,
   ( 19) The det erm inat ion by GMAC- RFC t hat a Client has not deliv ered an adequat e volum e
         of Loans t o GMAC- RFC.

A212
Indemnification
The Client shall indem nify GMAC- RFC from all losses, dam ages, penalt ies, fines, for feit ur es,
cour t cost s and r easonable at t orneys’ fees, j udgm ent s, and any ot her cost s, fees and
ex penses result ing from any Event of Default. This includes any act or failure t o act or any
breach of warrant y, obligat ion or represent at ion cont ained in t he Client Cont ract ; or from
any claim , dem and, defense or assert ion against or involv ing GMAC- RFC based on or
result ing from such breach or a breach of any represent at ion, warrant y or obligat ion m ade
by GMAC- RFC in reliance upon any warrant y, obligat ion or represent at ion m ade by t he Client
cont ained in t he Client Cont ract .
I n addit ion, Client shall indem nify GMAC- RFC against any and all losses, dam ages, penalt ies,
fines, forfeit ures, j udgm ent s, and any ot her cost s, fees and expenses ( including court cost s
and reasonable at t orneys’ fees) incurr ed by GMAC- RFC in connect ion wit h any lit igat ion or
gov er nm ent al pr oceeding t hat alleges any violat ion of local, St at e or federal law by Client , or
any of it s agent s, or any originat or or broker in connect ion wit h t he or iginat ion or servicing of
a Loan. Wit h r egar d t o legal fees or ot her ex penses incur red by or on behalf of GMAC- RFC in
connect ion w it h any such lit igat ion or governm ent al proceeding, Client shall reim burse
GMAC- RFC for such fees and ex penses. Reim bursem ent shall be m ade direct ly t o GMAC- RFC
w it hin t en days of receipt of a request for paym ent , w hich request shall include copies of t he
relev ant inv oices. Except for not ices for reim bursem ent , GMAC- RFC is not required t o give
Client not ice of any lit igat ion or gov ernm ent al proceeding t hat m ay t rigger indem nificat ion
obligat ions. Client shall inst ruct it s officers, direct or s and agent s ( including legal counsel) t o
cooperat e w it h GMAC- RFC in connect ion w it h t he defense of any lit igat ion or gov ernm ent al
proceeding involv ing a Loan. GMAC- RFC has t he right t o cont rol any lit igat ion or
gov ernm ent al proceeding relat ed t o a Loan, including but not lim it ed t o choosing defense
counsel and m ak ing set t lem ent decisions.
The Client also shall indem nify GMAC- RFC and hold it harm less against all cour t cost s,
at t orney’s fees and any ot her cost s, fees and expenses incurred by GMAC- RFC in enforcing
t he Client Cont ract . The obligat ions of t he Client under t his Sect ion shall surv ive t he
Delivery Date, t he Funding Date ( and each Substitution Date, if applicable) and t he
t er m inat ion of t he Client Cont ract and t he disqualificat ion, suspension or inact iv at ion of t he
Client .
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                             GMAC-RFC


1-04-G01                                                                   Effective: January 1, 2004



Client Guideline
Enclosed is t he Client Guideline. The purpose of t he Client Guideline is t o ident ify enhancem ent s,
clarificat ions and changes t o t he Client Guide and t o give not ice t hat t he Client Guide has been
am ended. All clarificat ions and changes are effect ive for Com m it m ent s t aken on or aft er January 1,
2004, unless ot herw ise not ed.

The act ual enhancem ent s, clarificat ions and changes can be found in t he pages of t he Client Guide
indicat ed below. Resident ial Funding Corporat ion ( “ GMAC- RFC” ) is pleased t o announce t he follow ing
enhancem ent s, clarificat ions and changes:

Chapter 1, Introduction
    • Clarified Updat es and Am endm ent s sect ion ( Page 1.4)

Chapter 2A, Representations, Warranties and Covenants
    • Clarified Not ificat ion of Changes in Client St at us sect ion ( Page 2A.28)

Chapter 2B, Discontinued Loans
    • Added California covered Loans ( Page 2B.2) (Effective on Loans that close on or after
      January 1, 2004)
    • Am ended I llinois high risk Loans ( Page 2B.3)
    • Added Mary land covered Loans ( Page 2B.3) (Effective on Loans that close on or after
      January 1, 2004)
    • Added New Jersey hom e Loans ( Page 2B.4)
    • Added Sout h Carolina high- cost hom e Loans ( Page 2B.5)

Chapter 3, Loan Eligibility
    • Clarified hom e- seller guidelines for purchase m ort gage t ransact ions ( Pages 3.11, 3.15)
    • Updat ed incident al cash back on rat e/ t erm t ransact ions ( Page 3.12)
    • Clarified how GMAC- RFC det erm ine’s Value for Hom e Equit y program s ( Page 3.18)
    • Added requirem ent t hat AVMs m ust be dat ed wit hin 180 days of t he Not e ( Page 3.22)
    • Clarified requirem ent s for sm all condom inium proj ect s and condom inium conversion proj ect s
      ( Pages 3.38, 3.42, 3.45, 3.46)
    • Updat ed hazard insurance requirem ent s ( Page 3.48)
    • Moved m ort gage insurance requirem ent s from ot her sect ions of t he Client Guide t o Chapt er 3
      ( Page 3.51)



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          A201
          Specific Representations, Warranties and Covenants Concerning Client
          (A) Due Organization; Good Standing; Licensing
          Client and, t o Client ’s knowledge, Client ’s Guarant or, if applicable, is and shall cont inue t o be
          duly or ganized, validly exist ing, and in good st anding under t he laws of t he Unit ed St at es or
          under t he laws of t he j urisdict ion in which it was incor por at ed or organized, as applicable,
          and has and shall cont inue t o m aint ain all licenses, regist rat ions, and cer t ificat ions necessar y
          t o carr y on it s business as now being conduct ed, and is and will cont inue t o be licensed,
          qualified, and in good st anding in each St at e wher e a Mort gaged Propert y is locat ed if t he
          law s of such St at e require licensing or qualificat ion in order t o conduct business of t he t ype
          conduct ed by Client and, in any event , Client is and will rem ain in com pliance wit h t he laws
          of any such St at e, and is and w ill r em ain in good st anding wit h federal aut hor it ies, t o t he
          ex t ent necessary t o ensure t he enforceabilit y of t he relat ed Loan. Client has disclosed t he
          final w rit t en report s, act ions and/ or sanct ions of any and all reviews, inv est igat ion,
          ex am inat ions, audit s, act ions and/ or sanct ions t hat hav e been undert ak en and/ or im posed,
          w it hin t w o years prior t o t he dat e of t he Client Cont r act , by any feder al or St at e agency or
          inst rum ent alit y wit h respect t o eit her t he lending or relat ed financial operat ions of Client , or
          t he abilit y of Client t o perform in accordance wit h t he Program Docum ent s t erm s. Each of t he
          represent at ions and warr ant ies m ade by Client in it s Client Applicat ion is t rue, accurat e, and
          com plet e, and is deem ed t o be rem ade in it s ent iret y, as of t he dat e of t he Client Cont ract ,
          and as of each Funding Date.

          (B) Authority
          Client has and will m aint ain t he full corporat e, part nership or lim it ed liabilit y com pany power
          and aut horit y t o execut e and deliver t he Program Docum ent s and t o perform t he t erm s of
          t his Client Guide. The execut ion, delivery , and perfor m ance of t he Program Docum ent s and
          t he perfor m ance of t he t erm s of t his Client Guide by Client , and t he consum m at ion of t he
          t ransact ions cont em plat ed, have been duly and validly aut horized. The Program Docum ent s
          and t his Client Guide evidence Client ’s legal valid, binding, and enforceable obligat ions. All
          requisit e corpor at e, part nership or lim it ed liabilit y com pany act ion has been t aken by Client
          t o m ake t he Program Docum ent s and t he t erm s of t his Client Guide valid and binding upon
          Client and enforceable in accordance w it h t heir respect iv e t erm s.

          (C) Ordinary Course of Business
          The consum m at ion of t he t r ansact ions cont em plat ed by t he Program Docum ent s and t he
          Client Guide t erm s are in Client ’s ordinary cour se of business, and t he t ransfer, assignm ent ,
          and conv ey ance of t he Mort gage Not es and t he Mort gages by Client , pursuant t o t he
          Program Docum ent s and t he Client Guide t erm s are not subj ect t o t he bulk t ransfer law s or
          any sim ilar st at ut or y prov isions in effect in any applicable j urisdict ion.
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                                                                                                      Covenants
(D) No Conflicts
Neit her t he execut ion and deliver y of t he Program Docum ent s, t he acquisit ion and/ or m ak ing
of t he Loans by Client , t he sale of t he Loans t o GMAC- RFC or t he t ransact ions cont em plat ed
t hereby or pursuant t o t his Client Guide, nor t he fulfillm ent of or com pliance wit h t he
Program Docum ent s t erm s and condit ions, will conflict wit h or result in a breach of any of t he
t erm s, condit ions, or provisions of Client 's art icles of incorporat ion, chart er, by- laws,
part nership agreem ent , or ot her or ganizat ional docum ent , or of any legal rest rict ion or
regulat ory direct ive or any agreem ent or inst rum ent t o which Client is now a part y or by
which it is bound, or const it ut e a default or result in an accelerat ion under any of t he
foregoing, or result in t he violat ion of any law, rule, regulat ion, order, j udgm ent , or decr ee t o
which Client , or any of it s proper t y is subj ect , or im pair t he abilit y of GMAC- RFC t o realize on
any of t he Loans, or im pair t he Value of any of t he Loans.

(E) Ability to Perform
Client has t he abilit y t o perfor m each and every obligat ion of and/ or sat isfy each and every
requir em ent im posed on, Client pursuant t o t he Program Docum ent s and t his Client Guide,
and no offset , count erclaim , or defense exist s t o t he full perfor m ance by Client of t he
requir em ent s of Program Docum ent s and t his Client Guide.

(F) No Litigation Pending
Ther e is no act ion, suit , pr oceeding, inquiry, review, audit , or invest igat ion pending or
t hr eat ened against Client t hat , eit her in any one inst ance or in t he aggregat e, m ay result in
any m at erial adverse change in t he business, operat ions, financial condit ion, propert ies, or
asset s of Client , or in any m at erial liabilit y on t he part of Client , or which would draw int o
quest ion t he validit y or enforceabilit y of any of t he Program Docum ent s, t his Client Guide, or
t he Loans or of any act ion t aken or t o be t aken in connect ion wit h Client ’s obligat ions
cont em plat ed in any of t he Program Docum ent s or t his Client Guide, or which would be likely
t o im pair m at erially Client ’s abilit y t o perform under t he t erm s of t he Pr ogram Docum ent s or
t his Client Guide.

(G) No Consent Required
No consent , approval, aut hor it y, or or der of any court or governm ent al agency or body is
requir ed for t he execut ion and perform ance by Client of, or com pliance by Client wit h, any of
t he Program Docum ent s or t his Client Guide, t he sale of any of t he Loans, or t he
consum m at ion of any of t he t ransact ions cont em plat ed by any of t he Purchase Docum ent s,
or, if required, such uncondit ional approval has been obt ained prior t o t he relat ed Funding
Date.

(H) No Untrue Information
Neit her t he Program Docum ent s, t he Client Applicat ion, t his Client Guide, nor any st at em ent ,
report , or ot her docum ent furnished or t o be furnished by Client pursuant t o t he Program
Docum ent s or t his Client Guide, cont ains any unt r ue st at em ent of m at er ial fact or om it s t o
st at e a m at erial fact necessary t o m ak e t he st at em ent s cont ained t herein not m isleading.
Client m eet s GMAC- RFC’s Eligibilit y St andards, and shall t ak e all st eps necessary t o cont inue
t o m eet such Eligibilit y St andards.
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     Client Guide
Representations,
 Warranties and
      Covenants
          (I) Securities Law
          The Client r epr esent s t hat t he Loans ar e not “ secur it ies” under any federal or St at e secur it ies
          law s or any rules or regulat ions t hereunder and t hat t he t ransact ions cont em plat ed by t his
          Client Guide do not require regist rat ion under, and are not subj ect t o, any federal or St at e
          securit ies laws or any rules or regulat ions t hereunder.

          (J) No Accrued Liabilities
          Ex cept as m ay be ot herw ise disclosed by Client t o GMAC- RFC and acknowledged by GMAC-
          RFC in writ ing prior t o t he dat e of t he Client Cont ract , t her e are no accr ued liabilit ies of
          Client , w it h r espect t o any of t he Loans, or cir cum st ances under w hich any such accr ued
          liabilit ies will arise against GMAC- RFC, as successor t o Client ’s int erest s in and t o t he Loans,
          wit h respect t o any act ion or failure t o act by Client occurr ing on or prior t o t he Funding
          Date.

          (K) Origination, Servicing
          Client ’s or iginat ion and servicing of t he Loans hav e been legal, proper , prudent , and
          cust om ary and have conform ed t o t he highest st andards of t he resident ial m ort gage
          or iginat ion and servicing business.

          (L) Compliance With Laws
          Client has com plied wit h, and has not violat ed any law, ordinance, requirem ent , regulat ion,
          rule, or or der applicable t o it s business or pr opert ies, t he v iolat ion of w hich m ight adversely
          affect t he operat ions or financial condit ions of Client , or t he abilit y of Client t o consum m at e
          t he t ransact ions cont em plat ed by t he Program Docum ent s and t his Client Guide.

          (M)Compliance With Program Documents and Client Guide
          Client will com ply wit h all provisions of t his Client Guide and t he Program Docum ent s, and
          will prom pt ly not ify GMAC- RFC of any occurrence, act , or om ission regarding Client , t he
          Loan, t he Mort gaged Proper t y or t he Mort gagor of which Client has know ledge, which
          occurr ence, act , or om ission m ay m at erially affect Client , t he Loan, t he Mort gaged Proper t y,
          or t he Mort gagor.

          (N) No Defenses Against GMAC-RFC
          The Client has no j udgm ent , court or der, claim , count erclaim , defense, right of set - off or
          sim ilar right against GMAC- RFC.
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    GMAC-RFC                                                                                        Page 2A.5
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                                                                                                    Warranties and
                                                                                                    Covenants

A202
Specific Representations, Warranties and Covenants Concerning Individual Loans
For all Loans, t he Client represent s, warrant s and covenant s t o GMAC- RFC as follows:

(A) Loans Are Eligible; Accuracy Of Information
Each of t he Loans delivered and sold t o GMAC- RFC m eet s t he applicable program t erm s and
cr it eria set fort h in t his Client Guide. All inform at ion relat ing t o each Loan delivered and sold
t o GMAC- RFC is t rue, com plet e and accurat e and t here are no om issions of m at erial fact s. All
dat a provided by t he Client t o GMAC- RFC relat ing t o any Loan, whet her in elect ronic for m at ,
or ot herwise, is t rue and com plet e and accurat ely reflect s t he inform at ion in t he relat ed Loan
file.

(B) Compliance With Warranties
The Client is in com pliance wit h, and has t aken all necessar y act ion t o ensure t hat each Loan
is in com pliance wit h all represent at ions, warrant ies and requirem ent s cont ained in t his
Client Guide.

(C) Loan Provisions
The prov isions of t he Loan have not been im paired, waived, alt ered or m odified in any
respect , unless approved in w rit ing by GMAC- RFC. The issuer of any relat ed PMI Policy and
t he t it le insurer have approved t he subst ance of any such waiver, alt erat ion, or m odificat ion
t o t he ext ent required by t he respect ive policies. No Mort gagor has been released, in w hole
or in par t .

(D) Documents
All Loan Documents, Funding Documents and Final Documents are genuine, have been
com plet ed, duly and pr operly execut ed, are in recordable form and delivered in t he form and
m anner specified in t his Client Guide, and each Loan is t he Mort gagor ’s legal, valid and
binding obligat ion enfor ceable in accor dance wit h it s t er m s. All or iginals and copies of such
docum ent s and all ot her docum ent s, m at erials, and ot her inform at ion required t o be
subm it t ed t o GMAC- RFC have been so subm it t ed, and are com plet e and accurat e. All Loan
Docum ent s, Funding Documents, Final Docum ent s and all ot her docum ent s describing or
ot herwise relat ing t her et o are in com pliance wit h all applicable local and St at e laws,
regulat ions and orders.
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       Page 2A.6    GMAC-RFC
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     Client Guide
Representations,
 Warranties and
      Covenants
          (E) Ownership; Transfer
          The Client has good t it le t o and is t he sole owner of, each Loan deliver ed and sold t o GMAC-
          RFC. Except for t he secur it y int er est of a war ehouse lender, which securit y int er est Client has
          disclosed t o GMAC- RFC in w rit ing, t he assignm ent of t he Loan by t he Client validly t ransfers
          such Loan t o GMAC- RFC fr ee and clear of any pledge, lien or securit y int erest or ot her
          encum brance.
          For each Loan r egist er ed w it h MERS, t he Client represent s t hat ( a) if t he Security
          Instrument relat ing t o such Loan ident ifies MERS as t he or iginal m ort gagee of record, such
          Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is giv en t o MERS solely as
          nom inee for t he Client and it s successor s and assigns and t hat such Secur it y I nst r um ent has
          been properly execut ed, acknowledged, delivered and recorded in all places necessary t o
          perfect t he securit y int erest on t he Mortgaged Premises in fav or of MERS, solely as
          nom inee for t he Client and it s successors and assigns; or ( b) if t he Loan is regist ered w it h
          MERS, and MERS is not t he or iginal m ort gagee of record, an assignm ent t o MERS has been
          prepared, duly ex ecut ed and recorded and t he chain of assignm ent s is com plet e and
          recorded from t he original m ort gagee t o MERS. Client furt her represent s t hat it has com plied
          w it h all rules and procedures of MERS for it s assignm ent of t he Securit y I nst rum ent t o
          GMAC- RFC, including, am ong ot her t hings, t hat t he Client has confirm ed t he t ransfer on
          MERS t o GMAC- RFC.

          (F) Disbursements; No Payoffs or Future Advancements
          Each Loan has been closed and fully disbur sed, except as perm it t ed in t he Escrow Account
          for Postponed Improvements/Repairs Sect ion of t his Client Guide. There are no payoffs,
          assum pt ions or insurance claim s pending on any Loan or pert aining t o t he Mortgaged
          Premises and t he Borr ow er m ay not exer cise any opt ion under any of t he Loan Documents
          t o borr ow addit ional funds secured t hereby from t he Client or any ot her per son or ent it y
          w it hout t he Not eholder ’s consent .
          Addit ionally, t he Client warrant s t hat t he Client has not m ade arrangem ent s wit h any
          Borrower for any pay m ent forbearance or fut ure refinancing wit h respect t o any Loan.

          (G) No Default
          Ther e is no default , breach, violat ion or event of accelerat ion exist ing under any Not e or
          Security Instrument t ransferred t o GMAC- RFC, and no event exist s which, wit h not ice and
          t he expirat ion of any grace or cure period, w ould const it ut e a default , breach, violat ion or
          event of accelerat ion, and no such default , breach, v iolat ion or event of accelerat ion has
          been waived by t he Client or by any ot her ent it y involved in originat ing or servicing t he Loan.

          (H) No Defenses
          Except as provided in a buydow n or subsidy agreem ent , if any, m eet ing t he requirem ent s set
          fort h in t his Client Guide, t he Borr ow er ( including any part y secondarily liable under t he
          Loan Documents) has no right of set - off, defense, count erclaim or right of rescission t o any
          Loan Docum ent .
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    GMAC-RFC                                                                                        Page 2A.7
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                                                                                                    Client Guide
                                                                                                    Representations,
                                                                                                    Warranties and
                                                                                                    Covenants
(I) Compliance with Law
The sale and t ransfer of each Loan t o GMAC- RFC does not violat e any applicable St at e laws.
To t he ext ent t hat any applicable St at e law places any r est rict ions on t he t ransfer of any
Loan, t he Client has not ified GMAC- RFC in w rit ing of t hat rest rict ion and any relat ed St at e
licensing or regist rat ion requirem ent s.
The Security Instrument has been proper ly execut ed, acknowledged, delivered and
recorded in all places necessary t o perfect t he securit y int erest in t he Mortgaged Premises
in favor of t he Client and it s successors and assigns. I f a Loan is regist ered w it h MERS, and
MERS is ident ified on t he Securit y I nst rum ent as t he or iginal m ort gagee of record, Client
represent s t hat such Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is giv en t o
MERS solely as nom inee for t he Client and it s successors and assigns. I f t he Loan is
regist ered w it h MERS, and MERS is not t he or iginal m ort gagee of record, Client repr esent s
t hat an assignm ent t o MERS has been prepared, duly execut ed and recorded and t he chain of
assignm ent s is com plet e and recorded fr om t he original m ort gagee t o MERS and Client
furt her represent s t hat it has com plied w it h all rules and procedures of MERS for it s
assignm ent of t he Securit y I nst rum ent t o GMAC- RFC, including, am ong ot her t hings, t hat
Client has confir m ed t he t ransfer on MERS t o GMAC- RFC.
Each GMAC- RFC Loan Applicat ion ( Fannie Mae 1003/ Freddie Mac Form 65) was t aken from
t he Borrow er and processed for each Loan, and each Loan has been originat ed, closed, and
t ransferred in com pliance wit h all applicable local, St at e and federal laws and regulat ions
including, but not lim it ed t o, t he Real Est at e Set t lem ent Procedur es Act , t he Fair Credit
Report ing Act , t he Equal Credit Opport unit y Act , t he Trut h- in- Lending Act , t he Fair Housing
Act , and t he Nat ional Flood I nsurance Act . This warrant y is m ade by t he Client w it h respect
t o each GMAC- RFC Loan Applicat ion t aken and processed for each Loan and wit h respect t o
each Loan m ade by t he Client or any ot her ent it y.

(J) Responsible Lending Representations, Warranties and Covenants
Client m akes t he r esponsible lending represent at ions, warr ant ies and covenant s set out
below . These represent at ions, w arr ant ies and cov enant s are in addit ion t o, and not in
subst it ut ion for, Client ’s represent at ions, w arr ant ies and covenant s, m ade elsew here in t his
Client Guide. All Loans m ust com ply wit h all applicable federal, St at e, and local laws. All
Loans m ust be originat ed and ser viced according t o GMAC- RFC st andards cont ained in t his
Client Guide.
    (1) Certain “High Cost” Loans Prohibited
         No Loan is a Discontinued Loan. I n general, a Discont inued Loan is:
         • A Loan subj ect t o HOEPA/ Sect ion 32;
         • A purchase m oney Loan on a consum er ’s principal residence t hat exceeds t he
           “ point s and fees” or APR t riggers of HOEPA and Sect ion 32;
         • An open- end line of credit on a consum er ’s pr incipal residence t hat exceeds t he
           “ point s and fees” or APR t riggers of HOEPA and Sect ion 32; or
         • A Loan w it h t erm s t hat t rigger high- cost m ort gage law s or regulat ions in cert ain
           St at es, count ies or cit ies regardless of whet her t he or iginat or qualifies for an
           exem pt ion.
         See Chapter 2B, Discont inued Loans, for t he com plet e definit ion of Discontinued
         Loans.
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Representations,
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              (2) Prohibited Terms and Practices on all Loans sold to GMAC-RFC
                    A Loan m ay not violat e any of t he following prohibit ed t erm s and pract ices:
                    ( a) No financing of pre- paid insurance product s. No Loan finances single prem ium
                         cr edit life, credit disabilit y , credit unem ploym ent , or any ot her pre- paid life or
                         healt h insurance, direct ly or indirect ly.
                    ( b) Prepaym ent penalt ies. A Loan m ay not provide for a penalt y for pay ing all or
                         part of t he principal before t he dat e on which t he principal is due except as set
                         fort h in t his paragr aph and ot herwise allowed by applicable federal, St at e, and
                         local law.
                            • The penalt y m ay be enforced for only t he first fiv e years following
                              consum m at ion;
                            • The penalt y does not exceed 6 m ont hs of int erest on t he am ount prepaid or
                              6% of t he am ount prepaid; and
                            • The prepaym ent penalt y does not becom e due upon default
                    ( c) Report ing t o cr edit bureaus. Client or it s Servicer m ust report t o a nat ionally
                         recognized consum er credit report ing agency at least quart erly t he favorable
                         and unfavorable paym ent hist ory inform at ion of Borrower on paym ent s due t o
                         Client on a Loan for t he period during which Client holds or services t he Loan.
                         This paragraph shall not prevent Client or it s Serv icer fr om not report ing specific
                         paym ent hist ory inform at ion in t he ev ent of a resolved or unresolved disput e
                         wit h Borrower and shall not apply t o Loans held or serviced by Client for less
                         t han 90 days.
                    ( d) I ncreased int erest rat e. A Loan m ay not prov ide for an incr ease in t he int erest
                         rat e aft er default .

          (K) Title Insurance
          A policy of t it le insurance, in t he form and am ount required by t his Client Guide, is effect ive
          as of t he day t he Security Instrument is recorded, is valid and binding, is in conform ance
          wit h all agency guidelines and rem ains in full force and effect , unless t he Mortgaged
          Premises are locat ed in t he St at e of I owa and a Tit le Guarant y Cert ificat e issued by t he
          I ow a Tit le Guarant y Div ision of t he I ow a Finance Aut hor it y has been prov ided as described in
          Tit le Guarant y Cer t ificat e I n I owa below.

          (L) Title Guaranty Certificate In Iowa
          As t o each Loan secured by Mortgaged Premises locat ed in t he St at e of I owa, and if an
          Am erican Land Tit le Associat ion ( ALTA) Loan policy of t it le insurance has not been provided,
          a Tit le Guar ant y Cert ificat e issued by t he I owa Tit le Guarant y Division of t he I owa Finance
          Aut horit y, in t he form and am ount required by t his Client Guide, duly deliver ed and effect ive
          as of t he closing of each such Loan, is valid and binding, and rem ains in full force and effect .
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                                                                                                       Client Guide
                                                                                                       Representations,
                                                                                                       Warranties and
                                                                                                       Covenants
(M)Valid First Liens
Each Security Instrument t ransferred t o GMAC- RFC, unless prov ided for ot herw ise in a
given Loan Program, const it ut es a valid first lien on t he Mortgaged Premises subj ect only
t o t he m inor im pedim ent s described in t he Title Insurance Sect ion of t his Client Guide, and
such im pedim ent s do not adversely affect t he Value, use, enj oy m ent or m arket abilit y of t he
Mort gaged Prem ises. Each Securit y I nst rum ent and all relat ed docum ent s ( including, wit hout
lim it at ion, releases of prior Securit y I nst rum ent s, assum pt ion agreem ent s, assignm ent s,
am endm ent s, pow ers of at t orney, and m odificat ion, ext ension and consolidat ion
agreem ent s) t hat are required t o be recorded or filed under applicable law in order t o
preserve in favor of GMAC- RFC t he validit y and enforceabilit y of t he Securit y I nst rum ent and
t he liens cr eat ed t hereby, have been duly recorded in all appr opriat e recording offices, and all
associat ed recording fees or t axes m ust be paid.

(N) No Encroachments By Adjoining Properties; Improvements
No im provem ent s by adj oining propert ies encr oach upon t he Mortgaged Premises in any
respect so as t o affect t he Value or m arket abilit y of t he Mort gaged Prem ises. No
im provem ent locat ed on or being part of t he Mort gaged Propert y is in violat ion of any
applicable zoning law or regulat ion.

(O) Survey
All im pr ovem ent s w hich w ere considered in det erm ining t he appraised Value of t he
Mortgaged Premises lie w holly w it hin it s boundaries and t he building rest rict ion lines of t he
Mort gaged Prem ises, or t he policy of t it le insurance insures against loss or dam age by reason
of any violat ion, var iat ion, encr oachm ent or adverse circum st ance t hat eit her is disclosed or
would have been disclosed by an accurat e survey.

(P) No Liens
Ther e are no delinquent t ax or delinquent assessm ent liens against t he Mortgaged
Premises, and t her e are no m echanic’s liens or claim s for wor k, labor or m at er ial or any
ot her liens affect ing t he Mort gaged Prem ises, which are or m ay be a lien prior t o, or equal
w it h, t he lien of t he Security Instrument assigned t o GMAC- RFC, except t hose liens t hat
are insured against by t he policy of t it le insurance or Tit le Guarant y Cert ificat e issued by t he
I owa Tit le Guarant y Division.

(Q) No Adverse Circumstances
The Mortgaged Premises are fr ee of dam age and in good repair, and no not ice of
condem nat ion has been given wit h respect t heret o, and no circum st ances exist involving t he
Loan Documents, t he Mortgaged Premises or t he Borrower ’s cr edit st anding t hat could:
( i) cause privat e inst it ut ional invest ors t o regard t he Loan as an unaccept able invest m ent , ( ii)
cause t he Loan t o becom e delinquent , or ( iii) adversely affect t he Value or m arket abilit y of
t he Mort gaged Prem ises or t he Loan. The Client warrant s t hat it neit her has act ual knowledge
of t he pr esence of, nor reasonable grounds t o suspect t he presence of, any t ox ic m at erials or
ot her environm ent al hazards on, in or t hat could affect any of t he Mortgaged Premises.
The Client warrant s com pliance wit h local, St at e or federal law or regulat ion designed t o
prot ect t he healt h and safet y of t he occupant s of t he propert y.
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      Covenants
          (R) Casualty Insurance
          The im pr ovem ent s upon t he Mortgaged Premises are insur ed against loss by fir e and ot her
          hazards as required by t his Client Guide, including flood insurance if required under t he
          Nat ional Flood I nsurance Act of 1968, as am ended. The Security Instrument requires t he
          Borrow er t o m aint ain such casualt y insurance at t he Borrow er’s ex pense, or on t he
          Borrow er ’s failure t o do so, aut horizes t he holder of t he Securit y I nst rum ent t o obt ain and
          m aint ain such insurance at t he Borrow er ’s expense and t o seek reim bursem ent fr om t he
          Borrower. Each casualt y policy is t he insurer ’s valid and binding obligat ion, is in full force and
          effect , and w ill be in full force and effect , t o GMAC- RFC’s benefit upon t he consum m at ion of
          t he t ransact ions cont em plat ed by t he Program Docum ent s and t his Client Guide. The Loan
          t erm s perm it t he m aint enance of an escrow account t o pay t he prem ium s for t he above
          m ent ioned insurance, and t he Client has not w aived t he requir em ent of such escr ow account
          unless perm it t ed by GMAC- RFC or required by applicable law.

          (S) Primary Mortgage Insurance
          I f required by t his Client Guide, pr im ar y m ort gage insurance has been obt ained, t he
          prem ium has been paid, and t he m ort gage insurance coverage is in full force and effect
          m eet ing t he requirem ent s of t his Client Guide.

          (T) Underwriting; Appraisal; Appraiser
          The Loan is of invest m ent qualit y, has been prudent ly or iginat ed and has been under writ t en
          in com pliance wit h all requirem ent s of t his Client Guide.
          The appraisal was m ade by an appraiser w ho m eet s t he m inim um qualificat ions for
          appraisers as specified in t his Client Guide. As of t he Funding Date, t he m arket Value of t he
          Mortgaged Premises is at least equal t o t he appraised Value st at ed on t he Loan appraisal
          except t o t he ext ent t hat t he m arket Value of t he Mort gaged Prem ises is lower t han t he
          appraised Value due t o t he effect of any t oxic m at erials or ot her environm ent al hazards of
          w hich neit her t he appraiser nor t he Client has act ual know ledge or reasonable grounds t o
          suspect .

          (U) Enforceability; Enforcement Provisions
          Each Not e and Security Instrument const it ut es a legal, valid and binding obligat ion of t he
          Borrower enforceable in accordance wit h it s t erm s except as lim it ed by bank rupt cy,
          insolvency or ot her sim ilar law s affect ing generally t he enforcem ent of cr edit ors’ right s.
          Each Securit y I nst r um ent cont ains cust om ary and enfor ceable pr ovisions which r ender t he
          right s and rem edies of t he holder adequat e t o realize t he benefit s of t he securit y against t he
          Mortgaged Premises, including: ( i) in t he case of a Securit y I nst r um ent designat ed as a
          deed of t rust , by t r ust ee's sale, ( ii) by sum m ary foreclosur e, if available under applicable
          law; and ( iii) ot herwise by foreclosure, and t here are no hom est ead or ot her exem pt ions or
          dow er, court esy or ot her right s or int erest s available t o t he Borr ower or t he Borr ower ’s
          spouse, sur vivors or est at e or any ot her per son or ent it y t hat w ould, or could, int erfere w it h
          such right t o sell at a t rust ee’s sale or t o foreclose. The Securit y I nst rum ent and any riders t o
          t he Securit y I nst rum ent m ust be signed by any person wit h an act ual or pot ent ial int erest in
          t he propert y. Tit le holders have an act ual int erest in t he propert y and m ust sign t he Securit y
          I nst rum ent and riders. Non- Borrow ing spouses w ho are not in t it le m ay hav e an act ual or
          pot ent ial int erest in t he propert y under St at e law and m ay be required t o sign t he Securit y
          I nst rum ent and rider in som e St at es in order for t he holder of t he Securit y I nst rum ent t o
          obt ain, prot ect and enforce it s lien. The Client w ill obt ain t he signat ur e of t he non- Borr ow ing
          spouse on t he Security Instrument and riders or ot her docum ent at ion, as allowed by law,
          if such signat ur e is necessary t o prot ect t he int erest of t he holder of t he Securit y I nst rum ent .
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(V) Holder-In-Due-Course
The Client is t he owner and holder- in- due- cour se of each Not e and is nam ed as m ort gagee/
beneficiary or assignee under each Security Instrument, and all Loan Documents
requir ing execut ion have been appr opriat ely execut ed, w it nessed or not arized by t he persons
whose nam es appear as signat or ies and wit nesses, or, as appr opr iat e, not aries w ho
const it ut e t he valid and binding legal obligat ion of t he Borrow er, enforceable in accordance
w it h t heir respect ive t erm s. Not w it hst anding t he foregoing, w it h respect t o adj ust able- rat e
m ort gage Loans ( ARMs) , t he Client represent s and warrant s t hat t her e are no claim s t o t he
Not e on t he part of any person or defenses of any part y t o t he Not e ot her t han t hose t hat
validly could be raised against a holder- in- due- course.

(W)Trustee Designated
Wit h respect t o each Security Instrument t hat is a deed of t rust , a t rust ee duly qualified
under applicable law t o serve as such is proper ly nam ed, designat ed and serving.

(X) No Fees Due Trustee
Except in connect ion w it h a t rust ee’s sale aft er default by t he Borrow er, no fees or expenses
are payable by t he Client or GMAC- RFC t o t he t rust ee under any Security Instrument t hat
is a deed of t rust .

(Y) Execution Of Documents
All agreem ent s, cont ract s, assignm ent s, endor sem ent s and issuances of checks or draft s,
repor t s, Loan Documents or ot her papers relat ed t o a Loan t hat are required by t his Client
Guide t o be execut ed by t he Client have been pr operly execut ed by an officer on behalf of t he
Client pursuant t o a duly adopt ed Resolut ion of Board of Direct ors.

(Z) Leaseholds
Where perm it t ed by t he applicable Loan Program, each Mortgaged Premises involving a
Leasehold est at e com plies w it h t he applicable Leasehold warrant ies set fort h in t his Client
Guide.

(AA) Condominiums; Planned Unit Developments (PUDs)
Each Mortgaged Premises t hat is a unit in a condom inium or PUD com plies wit h t he
applicable condom inium or PUD warrant ies set fort h in t his Client Guide.

(BB) Compliance By Others
When a person or ent it y: ( i) originat es a Loan on behalf of a Client , ( ii) originat es a Loan on
it s own behalf and sells it t o a Client , or ( iii) perform s any act for a Client which t he Client is
requir ed t o perfor m under t his Client Guide, t he Client warrant s t hat such person or ent it y
has com plied wit h all requirem ent s of t his Client Guide wit h respect t o all such Loans and
act s.

(CC) Client Contract Warranties
The represent at ions and w arrant ies m ade at t he t im e of t he Client ’s execut ion of t he Client
Cont ract m ust r em ain t r ue, cor r ect and com plet e.
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          (DD) Client And Originators
          The Client eit her is an inst it ut ion insured by FDIC which is superv ised and ex am ined by a
          federal or St at e aut hor it y, or is a HUD approved m ort gagee, and w as so at t he t im e t he Loan
          was or iginat ed. The Loan eit her was: ( i) closed in t he nam e of t he Client , ( ii) closed in t he
          nam e of anot her ent it y t hat eit her is an inst it ut ion insured by FDI C and supervised and
          ex am ined by a federal or St at e aut horit y, or is a HUD approved m ort gagee, and was so at
          t he t im e t he Loan w as or iginat ed ( t he Client or such ot her ent it y shall be called t he
          “ originat or ” ) , or ( iii) closed in t he nam e of a Loan br oker under t he circum st ances described
          in t he following sent ence: I f t he Loan was or iginat ed t hr ough a Loan br oker, t he or iginat or
          approved t he Loan prior t o funding by t he Loan broker and t he originat or acquired t he Loan
          fr om t he Loan broker cont em poraneously w it h t he or iginat ion t hereof.
          I f t he Client sells Loans t o GMAC- RFC w hich are regist er ed wit h MERS or as t o w hich MERS is
          t he m ort gagee on t he Security Instrument, t he Client is a m em ber of MERS, in good
          st anding and curr ent in paym ent of all fees and assessm ent s im posed by MERS.

          (EE) No Impairment Of Insurance
          No act ion, error, om ission, m isrepresent at ion, negligence, fraud or sim ilar occurr ence in
          respect of a Loan has t aken place on t he part of any person, including, wit hout lim it at ion, t he
          Borrower, any appraiser, any builder or developer or any part y involved in t he originat ion of
          t he Loan or in t he applicat ion of any insurance in relat ion t o such Loan t hat m ight result in a
          denial, cont est ing, failure or im pairm ent of full and t im ely coverage under any insurance
          policies required t o be obt ained or any pool insurance policy covering such Loan.

          (FF)Temporary Buydowns
          Where perm it t ed by t he applicable Loan Program, each Temporary Buydown Loan
          deliver ed t o GMAC- RFC was ent ered int o pursuant t o a buydown agreem ent w hich com plies
          wit h t he Temporary Buydowns Sect ion of t his Client Guide.

          (GG) Primary Mortgage Insurance Cancellation
          The Client has disclosed in writ ing t o t he Borr ower t he t erm s and condit ions t hat m ust be
          m et pr ior t o t he pr im ary m ort gage insurance being eligible for cancellat ion. A copy of t his
          disclosure has been ret ained in t he Loan file as a perm anent record.

          (HH) No Deficiency In Escrow Deposits or Payments
          The Loan has been serviced by t he Client and any predecessor Servicer in accordance w it h
          t he t erm s of t he m ort gage Not e and all applicable law. Wit h respect t o escr ow deposit s and
          escr ow pay m ent s, if any, all such pay m ent s are in t he possession of, or under t he cont rol of,
          t he Client , and t here ex ist s no deficiency in connect ion t herew it h for w hich cust om ary
          arrangem ent s for repaym ent t hereof have not been m ade. No escrow deposit s, escrow
          paym ent s or ot her charges or paym ent s due t he Client have been capit alized under any
          m ort gage or relat ed m ort gage Not e.
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(II) Loan Securitization
The Client recognizes t hat it is GMAC- RFC’s int ent t o secur it ize som e or all of t he Loans sold
t o GMAC- RFC by t he Client . The Client agrees t o prov ide GMAC- RFC wit h all such inform at ion
concer ning t he Client generally and, if applicable, t he Client ’s serv icing ex perience, as m ay
be reasonably request ed by GMAC- RFC for inclusion in a prospect us or privat e placem ent
m em orandum published in connect ion w it h such securit izat ion.
I n addit ion, t he Client will cooperat e in a sim ilar m anner wit h GMAC- RFC in connect ion wit h
any whole Loan sale or ot her disposit ion of any Loan sold t o GMAC- RFC by t he Client . The
Client agrees t o indem nify and hold GMAC- RFC harm less fr om and against any loss, dam age,
penalt y, fine, forfeit ure, court cost , reasonable at t orneys’ fees, j udgm ent , cost , fee, ex pense
or liabilit y incurred by GMAC- RFC as a result of any m at erial m isst at em ent in or om ission
fr om any inform at ion pr ovided by t he Client t o GMAC- RFC; or fr om any claim , dem and,
defense or assert ion against or involving GMAC- RFC based on or grounded upon, or result ing
fr om such m isst at em ent or om ission or a br each of any repr esent at ion, warrant y or
obligat ion m ade by GMAC- RFC in reliance upon such m isst at em ent or om ission.
The Client furt her agrees t o cooperat e fully w it h GMAC- RFC, rat ing agencies, at t orneys, bond
insur ers, purchasers of Loans or any ot her part ies t hat m ay be involved in t he sale or
securit izat ion of any Loan, including, wit hout lim it at ion, all cooperat ion as m ay be necessary
in or der t o accom m odat e due diligence act iv it y.

(JJ) Non-Solicitation
The Client has not solicit ed or prov ided inform at ion t o anot her part y for t he pur pose of
solicit ing, and covenant s and agrees t hat it will not solicit or prov ide inform at ion t o anot her
part y for t he purpose of solicit ing, t he refinance of any Loan. The t erm “ solicit ” as used
her ein shall m ean a direct r equest or offer t o refinance a ser vicing r eleased Loan, and shall
not include general solicit at ions, advert isem ent s or prom ot ions direct ed t o t he public at
large.

(KK) No Fraud Or Misrepresentation
No fr aud or m isrepresent at ion by t he Borrower or by t he Client , broker, corr espondent ,
appraiser or any independent cont ract or ret ained by t he Client , brok er , corr espondent ,
appraiser or any em ployee of any of t he foregoing occurred w it h respect t o or in connect ion
wit h t he or iginat ion or underw rit ing of any Loan and all inform at ion and docum ent s provided
t o GMAC- RFC in connect ion wit h t he Loan are com plet e and accurat e.
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          A206
          Integrity of Information
          The Client is responsible for cr edit and propert y underwrit ing regardless of whet her t he
          inform at ion was provided by t he Client , an ent it y relat ed t o t he Client or designat ed by t he
          Client t o perform t he funct ion. This includes credit inform at ion, appraisals, or ot her
          docum ent s/ inform at ion used in t he Loan's evaluat ion.
          The Client should t ake all st eps necessary t o ensure t hat each Loan sold t o GMAC- RFC has
          been prudent ly or iginat ed and underwrit t en, and t hat all inform at ion supplied by, on behalf
          of, or concer ning t he Borr ower is t rue, accurat e and com plet e. The Client should ensure t hat
          int erest ed part ies are sufficient ly independent from t he Loan t ransact ion and t hat adequat e
          or ganizat ional cont rols are in place t o ensure t he independence, validit y and reliabilit y of t he
          Loan infor m at ion.
          I n addit ion, t he Client should im plem ent prudent pract ices w hen relying on designat ed
          agent s ( such as escr ow com panies, t it le com panies, et c.) in order t o ensure t hat t hey com ply
          wit h it s inst ruct ions and t hat t he int egrit y of t he Loan t ransact ion has been m aint ained.

          A207
          Third-Party Originators
          When relying on t he act ions or serv ices of t hird- part y originat or s, t he Client should est ablish
          qualificat ion and eligibilit y st andards. The Client should consider t he funct ions being
          perform ed by t he t hir d- part y originat or in est ablishing t hese st andards. These st andards
          should be rev iewed periodically t o ensure ongoing eligibilit y by t he t hird- part y or iginat or.
          The Client is encouraged t o include t he following it em s in form ulat ing it s qualificat ion and
          eligibilit y st andards and procedures:
               ( 1) Rev iew per sonnel r esum es and r eferences of m anagem ent and Loan or iginat ion st aff
                    ( Loan officers, pr ocessors, under wr it ers, closer s, et c.)
               ( 2) Est ablish m inim um net wort h requirem ent s and evaluat e t he financial viabilit y of t he
                    firm on an ongoing basis
               ( 3) Est ablish m inim um requirem ent s for errors and om issions insurance and fidelit y
                    bond coverage and m onit or ongoing com pliance w it h t hese st andards
               ( 4) Docum ent t he relat ionship w it h a cont ract ual agreem ent t hat cont ains specific
                    warrant ies relat ed t o each part y’s responsibilit ies, as well as recour se right s in t he
                    event of warrant y v iolat ions
               ( 5) Rev iew t he perfor m ance of Loans or iginat ed by t hird part ies t o evaluat e t rends or
                    pat t erns of Delinquency
          The Client should include a represent at ive, random sam ple of t hir d- part y Loans in t he qualit y
          cont rol pr ogram t hrough bot h pr e- and post- closing qualit y cont rol audit s t o ensure t he
          qualit y of Loan inform at ion.
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A208
Events of Default
Any one or m ore of t he follow ing event s const it ut e an Event of Default:
    ( 1) The Client has not com plied w it h one or m ore of t he requirem ent s ( including any
         requir em ent out lined in t he Eligibilit y St andards Chapt er of t his Client Guide) , t erm s
         or condit ions out lined in t his Client Guide or one of t he disqualificat ion, suspension
         or inact ivat ion event s set fort h in t he Disqualification Suspension or
         Inactivation Sect ion has occurr ed or occur s.
    ( 2) The Client has br eached any agreem ent out lined or incor porat ed by r efer ence in t he
         Client Cont ract or any ot her agreem ent bet ween t he Client and GMAC- RFC.
    ( 3) The Client breaches any of t he represent at ions, warrant ies or covenant s set fort h in
         t his Client Guide, fails t o perform it s obligat ions under t his Client Guide or t he
         Program Docum ent s, m akes one or m ore m isleading represent at ions, warrant ies or
         covenant s t o GMAC- RFC, or as failed t o pr ovide GMAC- RFC w it h inform at ion t hat is
         t rue, com plet e and accurat e.
    ( 4) The Bor rower or any ot her person or ent it y involved in t he Loan t ransact ion or in it s
         underwrit ing or docum ent at ion ( including any appraiser, broker, t hird- part y
         or iginat or, cr edit report ing agency, or ot her provider of under writ ing inform at ion)
         has m ade any false repr esent at ion and/ or has failed t o pr ovide inform at ion t hat is
         t rue, com plet e and accurat e in connect ion w it h such t ransact ion, w het her or not t he
         Client was a par t y t o or had knowledge of such m isr epr esent at ion or incor rect
         inform at ion.
    ( 5) Occurr ence of an Event of Servicer Default wit h respect t o any Loans serviced by
         t he Client .
    ( 6) Term inat ion of ser vicing for cause is a basis for t he Client ’s im m ediat e
         disqualificat ion or suspension. Act ion t aken by GMAC- RFC t o t erm inat e servicing
         m ay be m erged wit h an act ion t o disqualify , suspend or inact iv at e t he Client .
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          A209
          Remedies of GMAC-RFC
          (A) Non-Exclusive, Cumulative Remedies
          GMAC- RFC m ay exer cise any rem edy out lined in t his Client Guide or as allow ed by law or in
          equit y. GMAC- RFC’s exer cise of one or m ore r em edies in connect ion wit h a part icular Event
          of Default will not prevent it from exercising:
               • One or m or e ot her r em edies in connect ion wit h t he sam e Event of Default
               • Any ot her right s w hich it m ay have at law or in equit y

          (B) Waiver Of Defaults
          GMAC- RFC m ay w aiv e any default by Client in t he perform ance of Client ’s obligat ions
          hereunder and it s consequences, but only by a writ t en waiver specifying t he nat ure and
          t er m s of such waiv er . No such waiv er shall ext end t o any subsequent or ot her default or
          im pair any right consequent t heret o, nor shall any delay by GMAC- RFC in exercising, or
          failure t o ex er cise, any right arising fr om such default affect or im pair GMAC- RFC’s right s as
          t o such default or any subsequent default .

          (C) Survival of Remedies
          GMAC- RFC’s rem edies for breach of t he represent at ions, w arr ant ies and cov enant s shall
          surv ive t he sale and delivery of t he Loan t o GMAC- RFC and funding of t he relat ed purchase
          price by GMAC- RFC, and will cont inue in full force and effect for t he rem aining life of t he
          Loans, not wit hst anding any t erm inat ion of t his Client Guide and t he relat ed Funding
          Documents, or any rest rict ive or qualified endorsem ent on any m ort gage Note or
          assignm ent of m ort gage or Loan approval or ot her ex am inat ion of or failur e t o exam ine any
          relat ed m ort gage Loan file by GMAC- RFC.
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A210
Repurchase
(A) Repurchase Obligations
I f GMAC- RFC det erm ines t hat an Event of Default has occurr ed wit h r espect t o a specific
Loan, t he Client agrees t o repurchase t he Loan and it s servicing ( if t he Loan was sold
serv icing released) w it hin 30 day s of receiving a repurchase let t er or ot her writ t en
not ificat ion from GMAC- RFC.
I f t he Client discovers an Event of Default , it should give GMAC- RFC prom pt writ t en not ice.
Such not ice should include a w rit t en descr ipt ion of t he Event of Default . Upon receipt of t his
not ice, GMAC- RFC will rev iew t hese m at erials and any addit ional inform at ion or
docum ent at ion t hat t he Client believes m ay influence GMAC- RFC’s decision t o require
repurchase. I f GMAC- RFC decides t o require repurchase, t he Client shall repurchase t he Loan
and t he servicing ( if t he Loan was sold servicing released) wit hin 30 days aft er GMAC- RFC’s
decision is com m unicat ed t o Client in writ ing.
To expedit e t he w iring of funds t o GMAC- RFC, t he Client should com plet e t he servicing
t ransfer inst ruct ion form provided by GMAC- RFC. GMAC- RFC will send t he form t o t he Client
along w it h t he not ificat ion of repurchase.
GMAC- RFC is not required t o dem and repurchase wit hin any part icular period of t im e, and
m ay elect not t o require im m ediat e repurchase. However, any delay in m ak ing t his dem and
does not const it ut e a waiver by GMAC- RFC of any of it s right s or rem edies.
Where GMAC- RFC det erm ines t hat repurchase of a Loan and/ or t he servicing is not
appropriat e, t he Client shall pay GMAC- RFC all losses, cost s and ex penses incur red by GMAC-
RFC and/ or t he Loan’s Servicer as a r esult of an Event of Default. This includes all
reasonable at t orneys’ fees and ot her cost s and ex penses incurred in connect ion w it h
enfor cem ent effor t s under t aken.
Upon t he Client ’s sat isfact ion of it s repurchase obligat ion, GMAC- RFC will endorse t he Not e
ev idencing t he Loan in blank and will deliver it and ot her pert inent Loan Documents t o t he
Client . I f GMAC- RFC acquired t it le t o any of t he real propert y securing t he Loan pursuant t o a
foreclosure sale and has not disposed of such proper t y, it w ill t ransfer such propert y t o t he
Client on a “ quit claim ” basis or, if required by St at e law, a “ war rant y deed” basis. However,
if GMAC- RFC has disposed of t he real pr opert y securing t he Loan, t he Loan Docum ent s will
not be ret urned t o t he Client unless request ed.
I f t he Client is also t he Servicer of a Loan repurchased by reason of t he occurr ence of an
Event of Default , GMAC- RFC w ill not reim burse t he Client for any principal, int erest or ot her
advances m ade by t he Client wit h respect t o t hat Loan.
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          (B) Repurchase Price of First Mortgage Programs
          I n t he event t he Client is obligat ed t o repurchase a Loan t he Client m ust pay t o GMAC- RFC a
          repurchase price equal t o t he sum of:
               • The act ual principal balance of t he Loan at t he t im e of repurchase ( if t he Client sold t he
                 Loan t o GMAC- RFC at a discount or a prem ium , t he repurchase price above will be
                 adj ust ed t o reflect t he act ual principal balance m inus t he discount percent age
                 m ult iplied by t he act ual principal balance, or plus t he prem ium percent age m ult iplied
                 by t he act ual principal balance, as appropriat e, including t hat price paid for Servicing
                 Rights) , plus
               • All accrued and unpaid int erest on t he Loan t hrough t he last day of t he m ont h of t he
                 dat e of repurchase; plus
               • All int erest , principal and ot her advances m ade t o invest ors and all out of pocket cost s
                 and ex penses of any k ind incurred by GMAC- RFC and/ or t he prim ary Servicer in
                 connect ion w it h t he Loan, including, but not lim it ed t o, advances for t axes or
                 insurance, and r epair, for eclosur e and insurance cost s and reasonable at t or ney s’ fees;
                 plus
               • The am ount of t he buyout fee as calculat ed in t he Buyouts and Extensions Sect ion of
                 t his Client Guide; plus
               • I n t he event t hat GMAC- RFC or any of it s Affiliates is required t o repurchase t he Loan
                 fr om any subsequent assignee, t hen any addit ional am ount as m ay be required t o
                 m ake t he repurchase price t hat t he Client is obligat ed t o pay hereunder equal t o t he
                 repurchase price t hat GMAC- RFC or it s Affiliat e is required t o pay t o such subsequent
                 assignee; m inus
               • The net am ount of any pr oceeds realized by t he owner of t he Loan upon t he final
                 liquidat ion of t he Loan or t he Mortgaged Premises t o an unrelat ed t hird part y.
          The Designated Servicer will ret urn t o t he Client any escr ow funds, unapplied funds and
          prepaid principal and int erest inst allm ent s.
          GMAC- RFC m ay dem and t hat a Client repurchase, and Client m ust repur chase, a Loan aft er
          foreclosure even if t he full am ount of it s out st anding debt w as bid on by or on behalf of t he
          Loan’s owner t o acquir e t he Mortgaged Premises at t he for eclosur e sale. I n t he event t he
          Client is obligat ed t o repurchase a Loan aft er foreclosure, t he repurchase price shall be
          calculat ed using t he form ula above, however Scheduled Principal Balance shall be
          subst it ut ed for t he act ual principal balance.
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(C) Repurchase Price of Home Equity Loan Program
I n t he event t he Client is obligat ed t o repurchase a Hom e Equit y Loan, t he Client m ust , upon
repurchase, serv ice such Hom e Equit y Loan. The repur chase price for such Hom e Equit y Loan
shall be equal t o t he sum of:
    • The unpaid principal balance of t he Hom e Equit y Loan
    • All accrued and unpaid int erest on t he Hom e Equit y Loan
    • The am ount of all fees and/ or purchase prem ium paid, if any, t o t he Client by GMAC-
      RFC for or iginat ion of t he Hom e Equit y Loan
    • All fees paid t o any Servicer or sub- ser vicer of a Hom e Equit y Loan by reason of t he
      t erm inat ion of t hat Servicer ’s or Sub- Serv icer ’s right t o service t hat Hom e Equit y Loan
    • All cost s incurred or paid by GMAC- RFC or any Servicer in collect ing or enforcing t he
      Hom e Equit y Loan, including, w it hout lim it at ion, int erest or ot her cost s paid t o bring or
      m aint ain a pr ior lien curr ent or up t o dat e, cost s t o insure or pay delinquent t axes,
      at t or neys’ fees, court cost s, appraisal and t it le expenses and ot her sim ilar cost s or
      ex penses ( collect ively, “ Foreclosure Expenses” )
    • Any addit ional am ount GMAC- RFC or any of it s Affiliates is required t o pay t o
      repurchase t he Hom e Equit y Loan from a subsequent assignee
I n lieu of repurchasing a Hom e Equit y Loan t hat has not yet been foreclosed and accept ing
t he ser vicing of such Hom e Equit y Loan, GMAC- RFC m ay in it s sole discret ion allow Client t o
pay t o GMAC- RFC t he Est im at ed Loss ( as defined below) . Est im at ed Loss, as it relat es t o
each Hom e Equit y Loan subj ect t o repurchase, shall equal t he product of:
120% m ult iplied by t he result of:
    • Repurchase price as calculat ed above, plus
    • Accrued int erest on t he Hom e Equit y Loan t hrough t he dat e GMAC- RFC est im at es t hat
      t he Hom e Equit y Loan w ill be fully liquidat ed ( which in t he case of a foreclosur e, shall
      m ean t he dat e t hat GMAC- RFC est im at es t hat t he Mortgaged Premises will be sold t o
      a t hird part y and which in any ot her case m eans t he dat e t hat GMAC- RFC est im at es
      t hat all collect ion effort s on t he Hom e Equit y Loan will be abandoned) and est im at ed
      foreclosure and ot her enfor cem ent expenses for t he ent ire collect ion process, less
    • Am ount by which t he current m arket Value of t he Mortgaged Premises as
      det erm ined by GMAC- RFC using valuat ion services prov ided by an independent t hird
      part y exceeds t he current out st anding am ount of indebt edness secured by t he
      Mort gaged Prem ises t hat is senior t o t he Hom e Equit y Loan.
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          (D) Repurchase Price of a Servicing Released Loan
          I n t he event t he Client repurchases a Loan for w hich t he servicing has also been sold t o
          GMAC- RFC, t he Client w ill also be requir ed t o repurchase t he serv icing. I f t he repurchase of
          t he servicing of t he Loan is for any reason ot her t han a breach of t he Delinquency Payoff/
          Liquidat ion warrant y cont ained in t he Servicing Released Chapter 8, t he Client m ust pay t o
          GMAC- RFC a repurchase price equal t o t he original Servicing Premium percent age
          m ult iplied by t he act ual unpaid principal balance at t he t im e of repurchase.
          I n no event how ever, w ill t he required repurchase Serv icing Prem ium be great er t han t he
          or iginal Servicing Prem ium paid t o t he Client .
          The Designated Servicer will ret urn t o t he Client any escrow funds, Temporary Buydown
          funds, unapplied funds and pr epaid principal and int erest inst allm ent s. The Client w ill be
          requir ed t o reim burse t he Designat ed Serv icer for any delinquent principal and int erest
          advances, and any escr ow advances and foreclosure expenses t hey have m ade and not
          recovered on a r epurchased Loan.

          (E) Repurchase as a Result of Conversion
          The Client ( or, if t he Client has t ransferred servicing of t he Loans, t he Servicer) shall
          repurchase a Loan w hich has conver t ed fr om an ARM t o a fixed- rat e m ort gage. The Serv icer
          m ust subm it t he ARM Conversion Not ificat ion Report no less t han 15 day s pr ior t o t he
          conversion dat e.
          I f t he Client or Servicer repurchases a convert ed Loan and subsequent ly resells t hat
          convert ed Loan t o GMAC- RFC, all t he Client ’s repr esent at ions and warrant ies wit h respect t o
          t hat Loan shall survive such repurchase and resale. I n addit ion, t he Client shall be subj ect t o
          all right s and rem edies ( including repurchase) available t o GMAC- RFC as a result of any
          m isr epresent at ion or breach of w arrant y w it h respect t o t hat Loan prior t o conversion.
          The Client shall also subm it t he m odificat ion agreem ent if request ed by GMAC- RFC or it s
          assigns.
          Aft er it s receipt of t he Loan funds, GMAC- RFC will endorse t he Not e t o t he part y which
          repurchased t he Loan. The Loan w ill t hen be assigned t o such part y, and all cr edit
          docum ent at ion will be ret urned. Failure t o subm it t he ARM Conversion Not ificat ion Report in
          a t im ely m anner m ay delay t he receipt of t he endorsed Not e and ot her legal docum ent s.
          The Servicer shall subm it a Payoff/ Liquidat ion Report and w ire t ransfer Loan funds t o t he
          GMAC- RFC Loan Accounting Department no lat er t han t he last Business Day prior t o t he
          conversion dat e. The Serv icer m ust rem it int erest for t he ent ire m ont h preceding t he
          conversion dat e. The Client shall at t ach a copy of t he ARM Conver sion Not ificat ion Report .
          I f t he appropriat e am ount is not wired on t im e, GMAC- RFC will charge a lat e paym ent fee.
          This fee will equal t he am ount due m ult iplied by t he “ Prime Rate” plus 3% m ult iplied by t he
          num ber of days over due div ided by 365. The t erm “ Prim e Rat e” shall m ean t he highest
          quot ed Prim e Rat e print ed in The Wall Street Journal in it s regular colum n “ Money Rat es” on
          t he first Business Day of t he m ont h in w hich t he paym ent was due and not paid. I f t he
          Prim e Rat e is not available, GMAC- RFC will det erm ine a com parable rat e.
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(F) Substitution
I nst ead of requiring t he Client t o repurchase a Loan as pr ovided above, GMAC- RFC, at it s
discret ion, m ay allow t he Client t o subst it ut e anot her Loan sat isfact ory t o GMAC- RFC in place
of t he original Loan, w it hin 10 day s of not ificat ion by GMAC- RFC, unless ot herwise not ified. I f
t he subst it ut ed Loan cont ains t erm s differ ent from t hose of t he Loan t hat it is replacing, a
purchase price adj ust m ent will be calculat ed by GMAC- RFC based on m arket changes and
Loan charact erist ics. Every Loan subst it ut ed will be subj ect t o all agreem ent s, t erm s,
condit ions, represent at ions and warrant ies in t his Client Guide as of t he Substitution Date.
I n t he event a Loan is eligible for purchase by GMAC- RFC but t he serv icing is ineligible for
purchase by GMAC- RFC, t he Loan will be purchased and t he sale of servicing denied. GMAC-
RFC will not allow t he Client t o subst it ut e anot her servicing released Loan.

(G) Cost Of Transfer Fees Due To Repurchase
The Client agrees t hat , if it is required t o repurchase a Loan and t he relat ed Serv icing, it will
pay all docum ent ary st am p t axes, recording fees, t ransfer t axes and all ot her expenses
payable in connect ion wit h t he repurchase and will indem nify and hold harm less GMAC- RFC
and t he Designated Servicer against all losses, cost s and expenses, including at t orney
fees, result ing fr om such required repurchases or t he breach giving rise heret o.

(H) Notice and Appeal
The Client m ay appeal GMAC- RFC’s decision by prov iding any addit ional inform at ion or
docum ent at ion it believes m ay affect GMAC- RFC’s det erm inat ion.
Send all not ificat ions and appeals t o:
      GMAC- RFC
      One Meridian Cr ossing
      Suit e 100
      Minneapolis, MN 55423
      At t ent ion: Repurchase Managem ent
Such infor m at ion and docum ent at ion m ust be received wit hin 30 day s aft er t he Client ’s
receipt of a repurchase let t er or sim ilar writ t en not ificat ion from GMAC- RFC. GMAC- RFC will
review all appeals and advise t he Client in writ ing of t he appeal decision. GMAC- RFC will in it s
sole discret ion det erm ine t he validit y of any appeal filed by t he Client . I f GMAC- RFC’s
decision rem ains firm following an appeal, t he Client shall repurchase t he Loan and it s
serv icing ( if t he Loan w as sold servicing released) wit hin 10 days of not ificat ion by GMAC-
RFC, in writ ing, t hat t he appeal has been denied.
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   ( 17) The Client or Servicer’s failure t o m aint ain a qualified Loan originat ion, servicing
         and qualit y cont rol st aff, an accept able ongoing qualit y cont rol program , adequat e
         facilit ies and writ t en policies and procedures t o ensure:
         • The invest m ent qualit y of Loans sold t o GMAC- RFC
         • The adequacy of t he serv icing of Loans purchased by GMAC- RFC OR
   ( 18) The failure of t he Client or t he Servicer t o m eet any t est as m ay be prescribed for
         eligibilit y,
   ( 19) The det erm inat ion by GMAC- RFC t hat a Client has not deliv ered an adequat e volum e
         of Loans t o GMAC- RFC.

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Indemnification
The Client shall indem nify GMAC- RFC from all losses, dam ages, penalt ies, fines, for feit ur es,
cour t cost s and r easonable at t orneys’ fees, j udgm ent s, and any ot her cost s, fees and
ex penses result ing from any Event of Default. This includes any act or failure t o act or any
breach of warrant y, obligat ion or represent at ion cont ained in t he Client Cont ract ; or from any
claim , dem and, defense or assert ion against or involving GMAC- RFC based on or result ing
fr om such br each or a br each of any repr esent at ion, warrant y or obligat ion m ade by GMAC-
RFC in reliance upon any warrant y, obligat ion or represent at ion m ade by t he Client cont ained
in t he Client Cont ract .
I n addit ion, Client shall indem nify GMAC- RFC against any and all losses, dam ages, penalt ies,
fines, forfeit ures, j udgm ent s, and any ot her cost s, fees and expenses ( including court cost s
and reasonable at t orneys’ fees) incurr ed by GMAC- RFC in connect ion wit h any lit igat ion or
gov er nm ent al pr oceeding t hat alleges any violat ion of local, St at e or federal law by Client , or
any of it s agent s, or any originat or or broker in connect ion wit h t he or iginat ion or servicing of
a Loan. Wit h r egar d t o legal fees or ot her ex penses incur red by or on behalf of GMAC- RFC in
connect ion w it h any such lit igat ion or governm ent al proceeding, Client shall reim burse
GMAC- RFC for such fees and ex penses. Reim bursem ent shall be m ade direct ly t o GMAC- RFC
w it hin t en days of receipt of a request for paym ent , w hich request shall include copies of t he
relev ant inv oices. Except for not ices for reim bursem ent , GMAC- RFC is not required t o give
Client not ice of any lit igat ion or gov ernm ent al proceeding t hat m ay t rigger indem nificat ion
obligat ions. Client shall inst ruct it s officers, direct or s and agent s ( including legal counsel) t o
cooperat e w it h GMAC- RFC in connect ion w it h t he defense of any lit igat ion or gov ernm ent al
proceeding involv ing a Loan. GMAC- RFC has t he right t o cont rol any lit igat ion or
gov ernm ent al proceeding relat ed t o a Loan, including but not lim it ed t o choosing defense
counsel and m ak ing set t lem ent decisions.
The Client also shall indem nify GMAC- RFC and hold it harm less against all cour t cost s,
at t orney’s fees and any ot her cost s, fees and expenses incurred by GMAC- RFC in enforcing
t he Client Cont ract . The obligat ions of t he Client under t his Sect ion shall surv ive t he
Delivery Date, t he Funding Date ( and each Substitution Date, if applicable) and t he
t er m inat ion of t he Client Cont ract and t he disqualificat ion, suspension or inact iv at ion of t he
Client .
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                              GMAC-RFC


1-04-G02                                                                       Effective: April 1, 2004



Client Guideline
Enclosed is t he Client Guideline. The purpose of t he Client Guideline is t o ident ify enhancem ent s,
clarificat ions and changes t o t he Client Guide and t o give not ice t hat t he Client Guide has been
am ended. All clarificat ions and changes are effect ive for Com m it m ent s t aken on or aft er April 1,
2004, unless ot herwise not ed.

The act ual enhancem ent s, clarificat ions and changes can be found in t he pages of t he Client Guide
indicat ed below.

Chapter 1, Introduction
    • Added opt ion t o em ail t o not ificat ion m et hods ( Pa ge 1 .3 )

Chapter 2, Client Eligibility
    • Revised language for Client Eligibilit y ( Pa ge 2 .2 )

Chapter 2A, Representations, Warranties and Covenants
    • Revised language for Loan Eligibilit y ( Pa ge 2 A.1 2 )
    • Added Exclusionary List t o Represent at ions, Warrant ies and Covenant s ( 2 A.1 3 )

Chapter 2B, Discontinued Loans
    • Delet ed New York Cit y High Cost Hom e Loan ( Pa ge 2 B.4 )

Chapter 3, Loan Eligibility
    • Clarified t rust requirem ent s ( Pa ge s 3 .7 , 3 .8 )
    • Added language referring t o Hom e Solut ion Program rest rict ions regarding incident al cash
      back ( Pa ge 3 .1 2 )
    • Clarified incident al cash back in a cash- out refinance m ort gage ( Pa ge 3 .1 3 )
    • Clarified ownership seasoning, pay hist ory docum ent at ion and addit ional rest rict ions for
      cont ract for deed/ land cont ract s ( Pa ge s 3 .1 4 )
    • Added addit ional rest rict ion t o lease wit h opt ion t o purchase t ransact ions (Pa ge 3 .1 5 )
    • Clarified Value of lot definit ion ( Pa ge 3 .1 8 )
    • Changed requirem ent for engineers report for sm all condom inium proj ect s having less t han 10
      st ories ( Pa ge 3 .4 6 )
    • Changed occupancy t ype for sit e condom inium s ( Pa ge 3 .4 6 )
    • Changed liabilit y insurance r equirem ent s for sm all condom inium pr oj ect s ( Pa ge 3 .5 6 )



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          A201
          Specific Representations, Warranties and Covenants Concerning Client
          ( A) D u e Or ga n iza t ion ; Good St a n ding; Lice n sin g
          Client and, t o Client ’s knowledge, Client ’s Guarant or, if applicable, is and shall cont inue t o be
          duly organized, validly exist ing, and in good st anding under t he laws of t he Unit ed St at es or
          under t he laws of t he j urisdict ion in which it was incorporat ed or organized, as applicable,
          and has and shall cont inue t o m aint ain all licenses, regist rat ions, and cert ificat ions necessary
          t o carry on it s business as now being conduct ed, and is and will cont inue t o be licensed,
          qualified, and in good st anding in each St at e where a Mort gaged Propert y is locat ed if t he
          laws of such St at e require licensing or qualificat ion in order t o conduct business of t he t ype
          conduct ed by Client and, in any event , Client is and will rem ain in com pliance wit h t he laws
          of any such St at e, and is and will rem ain in good st anding wit h federal aut horit ies, t o t he
          ext ent necessary t o ensure t he enforceabilit y of t he relat ed Loan. Client has disclosed t he
          final writ t en report s, act ions and/ or sanct ions of any and all reviews, invest igat ion,
          exam inat ions, audit s, act ions and/ or sanct ions t hat have been undert aken and/ or im posed,
          wit hin t wo years prior t o t he dat e of t he Client Cont ract , by any federal or St at e agency or
          inst rum ent alit y wit h respect t o eit her t he lending or relat ed financial operat ions of Client , or
          t he abilit y of Client t o perform in accordance wit h t he Program Docum ent s t erm s. Each of t he
          represent at ions and warrant ies m ade by Client in it s Client Applicat ion is t r ue, accurat e, and
          com plet e, and is deem ed t o be rem ade in it s ent iret y, as of t he dat e of t he Client Cont ract ,
          and as of each Fu n din g D a t e .

          ( B) Au t h or it y
          Client has and will m aint ain t he full corporat e, part nership or lim it ed liabilit y com pany power
          and aut horit y t o execut e and deliver t he Program Docum ent s and t o perform t he t erm s of
          t his Client Guide. The execut ion, delivery, and perform ance of t he Program Docum ent s and
          t he perform ance of t he t erm s of t his Client Guide by Client , and t he consum m at ion of t he
          t r ansact ions cont em plat ed, have been duly and validly aut horized. The Program Docum ent s
          and t his Client Guide evidence Client ’s legal valid, binding, and enforceable obligat ions. All
          requisit e corporat e, part nership or lim it ed liabilit y com pany act ion has been t aken by Client
          t o m ake t he Program Docum ent s and t he t erm s of t his Client Guide valid and binding upon
          Client and enforceable in accordance wit h t heir respect ive t er m s.

          ( C) Or din a r y Cou r se of Bu sin e ss
          The consum m at ion of t he t ransact ions cont em plat ed by t he Program Docum ent s and t he
          Client Guide t erm s are in Client ’s or dinary course of business, and t he t ransfer, assignm ent ,
          and conveyance of t he Mort gage Not es and t he Mort gages by Client , pur suant t o t he
          Program Docum ent s and t he Client Guide t erm s are not subj ect t o t he bulk t ransfer laws or
          any sim ilar st at ut ory provisions in effect in any applicable j urisdict ion.
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                                                                                                     Representations,
                                                                                                     Warranties and
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( D ) N o Con flict s
Neit her t he execut ion and delivery of t he Program Docum ent s, t he acquisit ion and/ or m aking
of t he Loans by Client , t he sale of t he Loans t o GMAC- RFC or t he t ransact ions cont em plat ed
t hereby or pursuant t o t his Client Guide, nor t he fulfillm ent of or com pliance wit h t he
Program Docum ent s t erm s and condit ions, will conflict wit h or result in a br each of any of t he
t erm s, condit ions, or provisions of Client 's art icles of incorporat ion, chart er, by- laws,
part nership agreem ent , or ot her organizat ional docum ent , or of any legal rest rict ion or
regulat ory direct ive or any agreem ent or inst r um ent t o which Client is now a part y or by
which it is bound, or const it ut e a default or result in an accelerat ion under any of t he
foregoing, or result in t he violat ion of any law, rule, regulat ion, order, j udgm ent , or decree t o
which Client , or any of it s propert y is subj ect , or im pair t he abilit y of GMAC- RFC t o realize on
any of t he Loans, or im pair t he Value of any of t he Loans.

( E) Abilit y t o Pe r for m
Client has t he abilit y t o perform each and every obligat ion of and/ or sat isfy each and ever y
requirem ent im posed on, Client pursuant t o t he Program Docum ent s and t his Client Guide,
and no offset , count erclaim , or defense exist s t o t he full perfor m ance by Client of t he
requirem ent s of Program Docum ent s and t his Client Guide.

( F) N o Lit iga t ion Pe n din g
There is no act ion, suit , proceeding, inquiry, review, audit , or invest igat ion pending or
t hreat ened against Client t hat , eit her in any one inst ance or in t he aggregat e, m ay r esult in
any m at erial adverse change in t he business, operat ions, financial condit ion, propert ies, or
asset s of Client , or in any m at erial liabilit y on t he part of Client , or which would draw int o
quest ion t he validit y or enforceabilit y of any of t he Program Docum ent s, t his Client Guide, or
t he Loans or of any act ion t aken or t o be t aken in connect ion wit h Client ’s obligat ions
cont em plat ed in any of t he Program Docum ent s or t his Client Guide, or which would be likely
t o im pair m at erially Client ’s abilit y t o perform under t he t erm s of t he Program Docum ent s or
t his Client Guide.

( G) N o Con se n t Re qu ir e d
No consent , approval, aut horit y, or order of any court or governm ent al agency or body is
required for t he execut ion and perfor m ance by Client of, or com pliance by Client wit h, any of
t he Program Docum ent s or t his Client Guide, t he sale of any of t he Loans, or t he
consum m at ion of any of t he t ransact ions cont em plat ed by any of t he Purchase Docum ent s,
or, if required, such uncondit ional approval has been obt ained pr ior t o t he relat ed Fu n din g
Date.

( H ) N o Un t r u e I n for m a t ion
Neit her t he Program Docum ent s, t he Client Applicat ion, t his Client Guide, nor any st at em ent ,
report , or ot her docum ent furnished or t o be furnished by Client pursuant t o t he Program
Docum ent s or t his Client Guide, cont ains any unt rue st at em ent of m at erial fact or om it s t o
st at e a m at erial fact necessary t o m ake t he st at em ent s cont ained t herein not m isleading.
Client m eet s GMAC- RFC’s Eligibilit y St andards, and shall t ake all st eps necessary t o cont inue
t o m eet such Eligibilit y St andards.
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          ( I ) Se cu r it ie s La w
          The Client represent s t hat t he Loans ar e not “ securit ies” under any federal or St at e securit ies
          laws or any rules or regulat ions t hereunder and t hat t he t ransact ions cont em plat ed by t his
          Client Guide do not require regist rat ion under, and are not subj ect t o, any federal or St at e
          securit ies laws or any rules or regulat ions t hereunder.

          ( J) N o Accr u e d Lia bilit ie s
          Except as m ay be ot herwise disclosed by Client t o GMAC- RFC and acknowledged by GMAC-
          RFC in writ ing prior t o t he dat e of t he Client Cont ract , t here are no accrued liabilit ies of
          Client , wit h respect t o any of t he Loans, or circum st ances under which any such accrued
          liabilit ies will arise against GMAC- RFC, as successor t o Client ’s int erest s in and t o t he Loans,
          wit h r espect t o any act ion or failure t o act by Client occurring on or prior t o t he Fu n din g
          Date.

          ( K) Or igin a t ion , Se r vicin g
          Client ’s originat ion and servicing of t he Loans have been legal, pr oper, prudent , and
          cust om ary and have conform ed t o t he highest st andards of t he resident ial m ort gage
          originat ion and servicing business.

          ( L) Com plia n ce W it h La w s
          Client has com plied wit h, and has not violat ed any law, ordinance, requirem ent , regulat ion,
          rule, or order applicable t o it s business or proper t ies, t he violat ion of which m ight adversely
          affect t he operat ions or financial condit ions of Client , or t he abilit y of Client t o consum m at e
          t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide.

          ( M ) Com plia n ce W it h Pr ogr a m D ocu m e n t s a n d Clie n t Gu ide
          Client will com ply wit h all provisions of t his Client Guide and t he Program Docum ent s, and
          will pr om pt ly not ify GMAC- RFC of any occurrence, act , or om ission regarding Client , t he
          Loan, t he Mort gaged Propert y or t he Mort gagor of which Client has knowledge, which
          occurrence, act , or om ission m ay m at erially affect Client , t he Loan, t he Mort gaged Propert y,
          or t he Mort gagor.

          ( N ) N o D e fe n se s Aga in st GM AC- RFC
          The Client has no j udgm ent , court order, claim , count erclaim , defense, right of set- off or
          sim ilar right against GMAC- RFC.
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                                                                                                    Covenants

A202
Specific Representations, Warranties and Covenants Concerning Individual Loans
For all Loans, t he Client represent s, warrant s and covenant s t o GMAC- RFC as follows:

( A) Loa n s Ar e Eligible ; Accu r a cy of I n for m a t ion
Each of t he Loans delivered and sold t o GMAC- RFC m eet s t he applicable program t erm s and
crit eria set fort h in t his Client Guide. All inform at ion relat ing t o each Loan delivered and sold
t o GMAC- RFC is t rue, com plet e and accurat e and t here are no om issions of m at erial fact s. All
dat a provided by t he Client t o GMAC- RFC relat ing t o any Loan, w het her in elect ronic form at ,
or ot herwise, is t rue and com plet e and accurat ely reflect s t he inform at ion in t he relat ed Loan
file.

( B) Com plia nce W it h W a r r a n t ie s
The Client is in com pliance wit h, and has t aken all necessary act ion t o ensure t hat each Loan
is in com pliance wit h all represent at ions, warrant ies and requirem ent s cont ained in t his
Client Guide.

( C) Loa n Pr ovision s
The provisions of t he Loan have not been im paired, waived, alt ered or m odified in any
respect , unless appr oved in writ ing by GMAC- RFC. The issuer of any relat ed PMI Policy and
t he t it le insurer have approved t he subst ance of any such waiver, alt erat ion, or m odificat ion
t o t he ext ent required by t he respect ive policies. No Mort gagor has been r eleased, in whole
or in part .

( D ) D ocu m e n t s
All Loa n D ocu m e n t s, Fun din g D ocu m e nt s and Fin a l D ocum e n t s ar e genuine, have been
com plet ed, duly and properly execut ed, are in r ecordable form and delivered in t he for m and
m anner specified in t his Client Guide, and each Loan is t he Mort gagor ’s legal, valid and
binding obligat ion enforceable in accordance wit h it s t erm s. All originals and copies of such
docum ent s and all ot her docum ent s, m at erials, and ot her inform at ion required t o be
subm it t ed t o GMAC- RFC have been so subm it t ed, and are com plet e and accurat e. All Loan
Docum ent s, Fu n din g D ocum e n t s, Final Docum ent s and all ot her docum ent s describing or
ot herwise relat ing t heret o are in com pliance wit h all applicable local and St at e laws,
regulat ions and orders.
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Representations,
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      Covenants
          ( E) Ow n e r sh ip; Tr a n sfe r
          The Client has good t it le t o and is t he sole owner of, each Loan delivered and sold t o GMAC-
          RFC. Except for t he securit y int erest of a warehouse lender, which securit y int erest Client has
          disclosed t o GMAC- RFC in writ ing, t he assignm ent of t he Loan by t he Client validly t ransfers
          such Loan t o GMAC- RFC free and clear of any pledge, lien or securit y int erest or ot her
          encum brance.
          For each Loan regist er ed wit h M ERS, t he Client represent s t hat ( a) if t he Se cu r it y
          I n st r u m e n t relat ing t o such Loan ident ifies MERS as t he original m ort gagee of record, such
          Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o MERS solely as
          nom inee for t he Client and it s successors and assigns and t hat such Securit y I nst rum ent has
          been properly execut ed, acknowledged, delivered and recorded in all places necessary t o
          perfect t he securit y int erest on t he M or t ga ge d Pr e m ise s in favor of MERS, solely as
          nom inee for t he Client and it s successors and assigns; or ( b) if t he Loan is regist ered wit h
          MERS, and MERS is not t he original m ort gagee of record, an assignm ent t o MERS has been
          prepared, duly execut ed and recorded and t he chain of assignm ent s is com plet e and
          recorded from t he original m ort gagee t o MERS. Client furt her repr esent s t hat it has com plied
          wit h all rules and procedures of MERS for it s assignm ent of t he Securit y I nst rum ent t o
          GMAC- RFC, including, am ong ot her t hings, t hat t he Client has confirm ed t he t ransfer on
          MERS t o GMAC- RFC.

          ( F) D isbu r se m e n t s; N o Pa yoffs or Fut u r e Adva nce m e nt s
          Each Loan has been closed and fully disbursed, except as perm it t ed in t he Escr ow Accou n t
          for Post pon e d I m pr ove m e nt s/ Re pa ir s Sect ion of t his Client Guide. There are no payoffs,
          assum pt ions or insurance claim s pending on any Loan or pert aining t o t he M or t ga ge d
          Pr e m ise s and t he Borrower m ay not exercise any opt ion under any of t he Loa n
          D ocu m e n t s t o borrow addit ional funds secured t hereby from t he Client or any ot her per son
          or ent it y wit hout t he Not eholder ’s consent .
          Addit ionally, t he Client warrant s t hat t he Client has not m ade arrangem ent s wit h any
          Borrower for any paym ent forbearance or fut ure r efinancing w it h respect t o any Loan.

          ( G) N o D e fa u lt
          There is no default , breach, violat ion or event of accelerat ion exist ing under any Not e or
          Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, and no event exist s which, wit h not ice and
          t he expirat ion of any grace or cure period, w ould const it ut e a default , breach, violat ion or
          event of accelerat ion, and no such default , breach, violat ion or event of accelerat ion has
          been waived by t he Client or by any ot her ent it y involved in originat ing or servicing t he Loan.

          ( H ) N o D e fe n se s
          Except as provided in a buydown or subsidy agreem ent , if any, m eet ing t he requirem ent s set
          fort h in t his Client Guide, t he Borrower ( including any part y secondarily liable under t he
          Loa n D ocu m e n t s) has no right of set- off, defense, count erclaim or right of rescission t o any
          Loan Docum ent .
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    GMAC-RFC                                                                                        2A
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                                                                                                    Client Guide
                                                                                                    Representations,
                                                                                                    Warranties and
                                                                                                    Covenants
( I ) Com plia nce w it h La w
The sale and t ransfer of each Loan t o GMAC- RFC does not violat e any applicable St at e laws.
To t he ext ent t hat any applicable St at e law places any rest rict ions on t he t ransfer of any
Loan, t he Client has not ified GMAC- RFC in writ ing of t hat rest rict ion and any relat ed St at e
licensing or regist rat ion requirem ent s.
The Se cu r it y I n st r u m e n t has been properly execut ed, acknowledged, delivered and
recorded in all places necessary t o perfect t he securit y int erest in t he M or t ga ge d Pr e m ise s
in favor of t he Client and it s successors and assigns. I f a Loan is regist ered wit h M ERS, and
MERS is ident ified on t he Securit y I nst rum ent as t he original m ort gagee of record, Client
represent s t hat such Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o
MERS solely as nom inee for t he Client and it s successors and assigns. I f t he Loan is
regist ered wit h MERS, and MERS is not t he original m ort gagee of record, Client represent s
t hat an assignm ent t o MERS has been prepared, duly execut ed and r ecorded and t he chain of
assignm ent s is com plet e and recorded from t he original m ort gagee t o MERS and Client
furt her represent s t hat it has com plied wit h all rules and procedures of MERS for it s
assignm ent of t he Securit y I nst rum ent t o GMAC- RFC, including, am ong ot her t hings, t hat
Client has confirm ed t he t ransfer on MERS t o GMAC- RFC.
Each GMAC- RFC Loan Applicat ion ( Fa n n ie M a e 1003/ Fr e ddie M a c Form 65) was t aken from
t he Borrower and processed for each Loan, and each Loan has been originat ed, closed, and
t ransferred in com pliance wit h all applicable local, St at e and federal laws and regulat ions
including, but not lim it ed t o, t he Real Est at e Set t lem ent Procedures Act , t he Fair Credit
Report ing Act , t he Equal Credit Opport unit y Act , t he Trut h- in- Lending Act , t he Fair Housing
Act , and t he Nat ional Flood I nsurance Act . This warrant y is m ade by t he Client w it h respect
t o each GMAC- RFC Loan Applicat ion t aken and pr ocessed for each Loan and wit h r espect t o
each Loan m ade by t he Client or any ot her ent it y.

( J) Re spon sible Le n din g Re pr e se n t a t ions, W a r r a n t ie s a nd Cove n a n t s
Client m akes t he responsible lending represent at ions, warrant ies and covenant s set out
below. These repr esent at ions, warrant ies and covenant s are in addit ion t o, and not in
subst it ut ion for, Client ’s represent at ions, warrant ies and covenant s, m ade elsewhere in t his
Client Guide. All Loans m ust com ply wit h all applicable federal, St at e, and local laws. All
Loans m ust be originat ed and serviced according t o GMAC- RFC st andards cont ained in t his
Client Guide.
    ( 1 ) Ce r t a in “H igh Cost ” Loa n s Pr oh ibit e d
         No Loan is a D iscon t in u e d Loa n . I n general, a Discont inued Loan is:
         • A Loan subj ect t o HOEPA/ Sect ion 32;
         • A purchase m oney Loan on a consum er ’s principal residence t hat exceeds t he
           “ point s and fees” or APR t riggers of HOEPA and Sect ion 32;
         • An open- end line of credit on a consum er ’s principal residence t hat exceeds t he
           “ point s and fees” or APR t riggers of HOEPA and Sect ion 32; or
         • A Loan wit h t erm s t hat t rigger high- cost m ort gage laws or regulat ions in cert ain
           St at es, count ies or cit ies regardless of w het her t he originat or qualifies for an
           exem pt ion.
         See Cha pt e r 2 B,Discont inued Loans, for t he com plet e definit ion of D iscon t in u e d
         Loa ns.
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              ( 2 ) Pr oh ibit e d Te r m s a n d Pr a ct ice s on a ll Loa n s sold t o GM AC- RFC
                    A Loan m ay not violat e any of t he following pr ohibit ed t er m s and pract ices:
                    ( a) No financing of pre- paid insurance pr oduct s. No Loan finances single prem ium
                         credit life, credit disabilit y, credit unem ploym ent , or any ot her pre- paid life or
                         healt h insurance, direct ly or indirect ly.
                    ( b) Prepaym ent penalt ies. A Loan m ay not provide for a penalt y for paying all or
                         part of t he principal before t he dat e on which t he principal is due except as set
                         fort h in t his paragraph and ot herwise allowed by applicable federal, St at e, and
                         local law.
                            • The penalt y m ay be enforced for only t he first five years following
                              consum m at ion;
                            • The penalt y does not exceed 6 m ont hs of int erest on t he am ount prepaid or
                              6% of t he am ount prepaid; and
                            • The prepaym ent penalt y does not becom e due upon default
                    ( c) Report ing t o credit bureaus. Client or it s Se r v ice r m ust report t o a nat ionally
                         recognized consum er credit report ing agency at least quart erly t he favor able
                         and unfavorable paym ent hist ory inform ation of Borrower on paym ent s due t o
                         Client on a Loan for t he period during which Client holds or services t he Loan.
                         This paragraph shall not prevent Client or it s Servicer from not r eport ing specific
                         paym ent hist ory inform at ion in t he event of a resolved or unresolved disput e
                         wit h Borrower and shall not apply t o Loans held or serviced by Client for less
                         t han 90 days.
                    ( d) I ncreased int erest rat e. A Loan m ay not provide for an increase in t he int erest
                         rat e aft er default .

          ( K) Tit le I n su r a n ce
          A policy of t it le insurance, in t he form and am ount required by t his Client Guide, is effect ive
          as of t he day t he Se cu r it y I n st r u m e n t is recorded, is valid and binding, is in conform ance
          wit h all agency guidelines and rem ains in full force and effect , unless t he M or t ga ge d
          Pr e m ise s are locat ed in t he St at e of I owa and a Tit le Guarant y Cert ificat e issued by t he
          I owa Tit le Guarant y Division of t he I owa Finance Aut horit y has been provided as described in
          Tit le Guarant y Cert ificat e I n I owa below.

          ( L) Tit le Gu a r a n t y Ce r t ifica t e I n I ow a
          As t o each Loan secured by M or t ga ge d Pr e m ise s locat ed in t he St at e of I owa, and if an
          Am erican Land Tit le Associat ion ( ALTA) Loan policy of t it le insurance has not been provided,
          a Tit le Guarant y Cert ificat e issued by t he I owa Tit le Guarant y Division of t he I owa Finance
          Aut horit y, in t he form and am ount required by t his Client Guide, duly delivered and effect ive
          as of t he closing of each such Loan, is valid and binding, and rem ains in full force and effect .
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                                                                                                      Covenants
( M ) Va lid Fir st Lie n s
Each Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, unless provided for ot herwise in a
given Loa n Pr ogr a m , const it ut es a valid first lien on t he M or t ga ge d Pr e m ise s subj ect only
t o t he m inor im pedim ent s described in t he Tit le I n su r a n ce Sect ion of t his Client Guide, and
such im pedim ent s do not adversely affect t he Value, use, enj oym ent or m arket abilit y of t he
Mort gaged Prem ises. Each Securit y I nst rum ent and all relat ed docum ent s ( including, wit hout
lim it at ion, releases of prior Securit y I nst rum ent s, assum pt ion agreem ent s, assignm ent s,
am endm ent s, powers of at t orney, and m odificat ion, ext ension and consolidat ion
agreem ent s) t hat ar e required t o be recorded or filed under applicable law in order t o
preserve in favor of GMAC- RFC t he validit y and enforceabilit y of t he Securit y I nst rum ent and
t he liens cr eat ed t her eby, have been duly r ecorded in all appropriat e recording offices, and all
associat ed recording fees or t axes m ust be paid.

( N ) N o En cr oa ch m e n t s By Adj oin in g Pr ope r t ie s; I m pr ov e m e n t s
No im provem ent s by adj oining pr opert ies encroach upon t he M or t ga ge d Pr e m ise s in any
respect so as t o affect t he Value or m arket abilit y of t he Mort gaged Prem ises. No
im provem ent locat ed on or being part of t he Mort gaged Propert y is in violat ion of any
applicable zoning law or regulat ion.

( O) Su r v e y
All im provem ent s which were considered in det erm ining t he appraised Value of t he
M or t ga ge d Pr e m ise s lie wholly wit hin it s boundaries and t he building rest rict ion lines of t he
Mort gaged Prem ises, or t he policy of t it le insurance insures against loss or dam age by reason
of any violat ion, variat ion, encroachm ent or adverse circum st ance t hat eit her is disclosed or
would have been disclosed by an accurat e survey.

( P) N o Lie n s
There are no delinquent t ax or delinquent assessm ent liens against t he M or t ga ge d
Pr e m ise s, and t here ar e no m echanic’s liens or claim s for w ork, labor or m at erial or any
ot her liens affect ing t he Mort gaged Prem ises, which are or m ay be a lien prior t o, or equal
wit h, t he lien of t he Se cu r it y I n st r u m e n t assigned t o GMAC- RFC, except t hose liens t hat
are insured against by t he policy of t it le insurance or Tit le Guarant y Cert ificat e issued by t he
I owa Tit le Guarant y Division.

( Q) N o Adve r se Cir cu m st a n ce s
The M or t ga ge d Pr e m ise s are fr ee of dam age and in good repair, and no not ice of
condem nat ion has been given wit h respect t heret o, and no circum st ances exist involving t he
Loa n D ocu m e n t s, t he M or t ga ge d Pr e m ise s or t he Borrow er ’s credit st anding t hat could:
( i) cause privat e inst it ut ional invest ors t o regard t he Loan as an unaccept able invest m ent ,
( ii) cause t he Loan t o becom e delinquent , or ( iii) adversely affect t he Value or m arket abilit y
of t he Mort gaged Prem ises or t he Loan. The Client warrant s t hat it neit her has act ual
knowledge of t he presence of, nor reasonable gr ounds t o suspect t he presence of, any t oxic
m at erials or ot her environm ent al hazards on, in or t hat could affect any of t he M or t ga ge d
Pr e m ise s. The Client warrant s com pliance wit h local, St at e or federal law or regulat ion
designed t o pr ot ect t he healt h and safet y of t he occupant s of t he propert y.
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          ( R) Ca su a lt y I n su r a n ce
          The im provem ent s upon t he M or t ga ge d Pr e m ise s are insured against loss by fir e and ot her
          hazards as required by t his Client Guide, including flood insurance if required under t he
          Nat ional Flood I nsurance Act of 1968, as am ended. The Se cu r it y I n st r u m e n t r equires t he
          Borrower t o m aint ain such casualt y insurance at t he Borrower ’s expense, or on t he
          Borrower ’s failure t o do so, aut horizes t he holder of t he Securit y I nst rum ent t o obt ain and
          m aint ain such insurance at t he Borrower ’s expense and t o seek reim bursem ent from t he
          Borrower. Each casualt y policy is t he insurer ’s valid and binding obligat ion, is in full force and
          effect , and w ill be in full force and effect , t o GMAC- RFC’s benefit upon t he consum m at ion of
          t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide. The Loan
          t erm s per m it t he m aint enance of an escrow account t o pay t he prem ium s for t he above
          m ent ioned insurance, and t he Client has not waived t he requirem ent of such escrow account
          unless perm it t ed by GMAC- RFC or requir ed by applicable law.

          ( S) Pr im a r y M or t ga ge I n su r a n ce
          I f requir ed by t his Client Guide, prim ar y m ort gage insurance has been obt ained, t he
          prem ium has been paid, and t he m ort gage insurance coverage is in full force and effect
          m eet ing t he requirem ent s of t his Client Guide.

          ( T) Un de r w r it in g; Appr a isa l; Appr a ise r
          The Loan is of invest m ent qualit y, has been prudent ly originat ed and has been underwrit t en
          in com pliance wit h all requirem ent s of t his Client Guide.
          The appraisal was m ade by an appraiser who m eet s t he m inim um qualificat ions for
          appraiser s as specified in t his Client Guide. As of t he Fun din g D a t e , t he m arket Value of t he
          M or t ga ge d Pr e m ise s is at least equal t o t he appraised Value st at ed on t he Loan appraisal
          except t o t he ext ent t hat t he m arket Value of t he Mort gaged Prem ises is low er t han t he
          appraised Value due t o t he effect of any t oxic m at erials or ot her environm ent al hazards of
          which neit her t he appraiser nor t he Client has act ual know ledge or reasonable grounds t o
          suspect .

          ( U) En for ce a bilit y; En for ce m e n t Pr ov ision s
          Each Not e and Se cu r it y I n st r u m e n t const it ut es a legal, valid and binding obligat ion of t he
          Borrower enforceable in accordance wit h it s t erm s except as lim it ed by bankrupt cy,
          insolvency or ot her sim ilar laws affect ing generally t he enfor cem ent of credit or s’ right s.
          Each Securit y I nst rum ent cont ains cust om ary and enfor ceable provisions which render t he
          right s and rem edies of t he holder adequat e t o realize t he benefit s of t he securit y against t he
          M or t ga ge d Pr e m ise s, including: ( i) in t he case of a Securit y I nst rum ent designat ed as a
          deed of t rust , by t rust ee's sale, ( ii) by sum m ary foreclosure, if available under applicable
          law; and ( iii) ot herwise by foreclosure, and t here are no hom est ead or ot her exem pt ions or
          dower, court esy or ot her right s or int erest s available t o t he Bor rower or t he Bor rower ’s
          spouse, survivors or est at e or any ot her person or ent it y t hat would, or could, int erfere wit h
          such right t o sell at a t rust ee’s sale or t o foreclose. The Secur it y I nst rum ent and any rider s t o
          t he Securit y I nst rum ent m ust be signed by any person wit h an act ual or pot ent ial int erest in
          t he pr opert y. Tit le holders have an act ual int erest in t he propert y and m ust sign t he Securit y
          I nst rum ent and r iders. Non- Borrowing spouses who are not in t it le m ay have an act ual or
          pot ent ial int erest in t he propert y under St at e law and m ay be required t o sign t he Securit y
          I nst rum ent and rider in som e St at es in order for t he holder of t he Securit y I nst rum ent t o
          obt ain, prot ect and enforce it s lien. The Client will obt ain t he signat ure of t he non- Borrowing
          spouse on t he Se cu r it y I n st r u m e n t and riders or ot her docum ent at ion, as allowed by law,
          if such signat ure is necessary t o prot ect t he int erest of t he holder of t he Secur it y I nst r um ent .
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    GMAC-RFC                                                                                              2A
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                                                                                                         Warranties and
                                                                                                         Covenants
( V ) H olde r - I n - D u e - Cou r se
The Client is t he owner and holder- in- due- course of each Not e and is nam ed as m ort gagee/
beneficiary or assignee under each Se cu r it y I n st r u m e n t , and all Loa n D ocum e n t s
requiring execut ion have been appropriat ely execut ed, wit nessed or not arized by t he persons
whose nam es appear as signat ories and wit nesses, or, as appropriat e, not aries who
const it ut e t he valid and binding legal obligat ion of t he Borrower, enforceable in accordance
wit h t heir respect ive t erm s. Not wit hst anding t he foregoing, wit h respect t o adj ust able- rat e
m ort gage Loans ( ARMs) , t he Client repr esent s and warrant s t hat t here are no claim s t o t he
Not e on t he part of any person or defenses of any part y t o t he Not e ot her t han t hose t hat
validly could be raised against a holder- in- due- course.

( W ) Tr u st e e D e signa t e d
Wit h respect t o each Se cu r it y I n st r u m e n t t hat is a deed of t rust , a t rust ee duly qualified
under applicable law t o serve as such is properly nam ed, designat ed and serving.

( X ) N o Fe e s D ue Tr u st e e
Except in connect ion wit h a t rust ee’s sale aft er default by t he Borrower, no fees or expenses
are payable by t he Client or GMAC- RFC t o t he t r ust ee under any Se cu r it y I n st r u m e n t t hat
is a deed of t r ust .

( Y) Ex e cut ion of D ocum e n t s
All agreem ent s, cont ract s, assignm ent s, endorsem ent s and issuances of checks or draft s,
report s, Loa n D ocu m e n t s or ot her papers relat ed t o a Loan t hat are required by t his Client
Guide t o be execut ed by t he Client have been properly execut ed by an officer on behalf of
t he Client pursuant t o a duly adopt ed Resolut ion of Board of Direct ors.

( Z) Le a se h olds
Where perm it t ed by t he applicable Loa n Pr ogr a m , each M or t ga ge d Pr e m ise s involving a
Le a se h old est at e com plies wit h t he applicable Leasehold warrant ies set fort h in t his Client
Guide.

( AA) Con dom in iu m s; Pla n n e d Un it D e v e lopm e n t s ( PUD s)
Each M or t ga ge d Pr e m ise s t hat is a unit in a condom inium or PUD com plies wit h t he
applicable condom inium or PUD warrant ies set fort h in t his Client Guide.

( BB) Com plia n ce By Ot h e r s
When a person or ent it y: ( i) originat es a Loan on behalf of a Client , ( ii) originat es a Loan on
it s own behalf and sells it t o a Client , or ( iii) perform s any act for a Client which t he Client is
required t o perform under t his Client Guide, t he Client warrant s t hat such person or ent it y
has com plied wit h all requir em ent s of t his Client Guide wit h respect t o all such Loans and
act s.

( CC) Clie n t Con t r a ct W a r r a n t ie s
The represent at ions and warrant ies m ade at t he t im e of t he Client ’s execut ion of t he Client
Cont ract m ust rem ain t rue, correct and com plet e.
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          ( D D ) Clie n t a n d Or igin a t or s
          I f t he Client sells Jum bo A or Expanded Crit eria Loans t o GMAC- RFC, t he Client is a savings
          and loan associat ion, savings bank, com m ercial bank, credit union, insurance com pany or
          sim ilar banking inst it ut ion which is supervised by a federal or st at e aut horit y or a H UD
          appr oved non- supervised m ort gagee.
          Each Jum bo A and Expanded Crit eria Loan was: ( i) closed in t he nam e of t he Client , ( ii)
          closed in t he nam e of anot her ent it y t hat eit her is a savings and loan associat ion, savings
          bank, com m ercial bank, credit union, insurance com pany or sim ilar banking inst it ut ion which
          is supervised by a federal or St at e aut horit y, or a HUD approved non- supervised m ort gagee,
          and was so at t he t im e t he Loan was originat ed ( t he Client or such ot her ent it y shall be called
          t he “ or iginat or ” ) or ( iii) closed in t he nam e of t he loan br oker.
          All Loans closed in t he nam e of a loan broker ( including but not lim it ed t o Jum bo A and
          Expanded Crit eria Loans) were originat ed under t he circum st ances described in t he following
          sent ence: I f t he Loan was or iginat ed t hrough a loan broker, t he originat or approved t he Loan
          prior t o funding by t he loan broker and t he originat or acquired t he Loan from t he loan broker
          cont em poraneously wit h t he originat ion t hereof.
          I f t he Client sells Loans t o GMAC- RFC which are regist ered wit h M ERS or as t o which MERS is
          t he m ort gagee on t he Se cu r it y I n st r u m e n t , t he Client is a m em ber of MERS, in good
          st anding and current in paym ent of all fees and assessm ent s im posed by MERS.

          ( EE) N o I m pa ir m e n t of I n su r a n ce
          No act ion, er ror, om ission, m isrepresent at ion, negligence, fraud or sim ilar occurrence in
          respect of a Loan has t aken place on t he part of any person, including, wit hout lim it at ion, t he
          Borrower, any appraiser, any builder or developer or any part y involved in t he originat ion of
          t he Loan or in t he applicat ion of any insurance in relat ion t o such Loan t hat m ight result in a
          denial, cont est ing, failure or im pairm ent of full and t im ely coverage under any insurance
          policies requir ed t o be obt ained or any pool insurance policy covering such Loan.

          ( FF) Te m por a r y Buy dow ns
          Where perm it t ed by t he applicable Loa n Pr ogr a m , each Te m por a r y Buy dow n Loan
          delivered t o GMAC- RFC was ent ered int o pursuant t o a buydown agreem ent which com plies
          wit h t he Te m por a r y Bu ydow n s Sect ion of t his Client Guide.

          ( GG) Pr im a r y M or t ga ge I n su r a n ce Ca n ce lla t ion
          The Client has disclosed in writ ing t o t he Borrower t he t erm s and condit ions t hat m ust be
          m et prior t o t he prim ary m ort gage insurance being eligible for cancellat ion. A copy of t his
          disclosure has been ret ained in t he Loan file as a perm anent record.

          ( H H ) N o D e ficie n cy I n Escr ow D e posit s or Pa ym e n t s
          The Loan has been serviced by t he Client and any pr edecessor Se r vice r in accordance wit h
          t he t erm s of t he m ort gage Not e and all applicable law. Wit h respect t o escrow deposit s and
          escrow paym ent s, if any, all such paym ent s are in t he possession of, or under t he cont rol of,
          t he Client , and t here exist s no deficiency in connect ion t herewit h for which cust om ary
          arrangem ent s for repaym ent t hereof have not been m ade. No escrow deposit s, escr ow
          paym ent s or ot her charges or paym ent s due t he Client have been capit alized under any
          m ort gage or relat ed m ort gage Not e.
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( I I ) Loa n Se cu r it iza t ion
The Client recognizes t hat it is GMAC- RFC’s int ent t o securit ize som e or all of t he Loans sold
t o GMAC- RFC by t he Client . The Client agrees t o provide GMAC- RFC w it h all such inform at ion
concerning t he Client generally and, if applicable, t he Client ’s servicing experience, as m ay
be reasonably request ed by GMAC- RFC for inclusion in a prospect us or privat e placem ent
m em orandum published in connect ion wit h such securit izat ion.
I n addit ion, t he Client will cooperat e in a sim ilar m anner wit h GMAC- RFC in connect ion wit h
any whole Loan sale or ot her disposit ion of any Loan sold t o GMAC- RFC by t he Client . The
Client agrees t o indem nify and hold GMAC- RFC harm less from and against any loss, dam age,
penalt y, fine, forfeit ure, court cost , reasonable at t orneys’ fees, j udgm ent , cost , fee, expense
or liabilit y incurred by GMAC- RFC as a result of any m at erial m isst at em ent in or om ission
fr om any infor m at ion provided by t he Client t o GMAC- RFC; or fr om any claim , dem and,
defense or assert ion against or involving GMAC- RFC based on or grounded upon, or result ing
fr om such m isst at em ent or om ission or a breach of any represent at ion, warrant y or
obligat ion m ade by GMAC- RFC in reliance upon such m isst at em ent or om ission.
The Client furt her agrees t o cooperat e fully wit h GMAC- RFC, rat ing agencies, at t or neys, bond
insurers, purchasers of Loans or any ot her part ies t hat m ay be involved in t he sale or
securit izat ion of any Loan, including, wit hout lim it at ion, all cooperat ion as m ay be necessary
in order t o accom m odat e due diligence act ivit y.

( JJ) N on - Solicit a t ion
The Client has not solicit ed or provided inform at ion t o anot her part y for t he purpose of
solicit ing, and covenant s and agrees t hat it will not solicit or provide inform at ion t o anot her
part y for t he purpose of solicit ing, t he refinance of any Loan. The t erm “ solicit ” as used
herein shall m ean a direct request or offer t o refinance a servicing released Loan, and shall
not include general solicit at ions, advert isem ent s or prom ot ions direct ed t o t he public at
large.

( KK) N o Fr a u d or M isr e pr e se n t a t ion
No fraud or m isrepr esent at ion by t he Borrow er or by t he Client , broker, correspondent ,
appr aiser or any independent cont ract or ret ained by t he Client , broker, corr espondent ,
appr aiser or any em ployee of any of t he foregoing occurred wit h respect t o or in connect ion
wit h t he originat ion or underwrit ing of any Loan and all inform at ion and docum ent s provided
t o GMAC- RFC in connect ion wit h t he Loan are com plet e and accurat e.

( LL) Ex clu sion a r y List
No part y involved in t he originat ion of a Loan, including wit hout lim it at ion t he originat or,
broker, t it le com pany or appraiser, was nam ed on t he version of t he Ex clu sion a r y List t hat
was effect ive on t he dat e of t he prom issory Not e for t hat part icular Loan.
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          A206
          Integrity of Information
          The Client is responsible for credit and propert y underw rit ing regardless of w het her t he
          inform at ion was provided by t he Client , an ent it y relat ed t o t he Client or designat ed by t he
          Client t o perform t he funct ion. This includes credit inform at ion, appraisals, or ot her
          docum ent s/ inform at ion used in t he Loan's evaluat ion.
          The Client should t ake all st eps necessary t o ensure t hat each Loan sold t o GMAC- RFC has
          been prudent ly originat ed and underwrit t en, and t hat all inform at ion supplied by, on behalf
          of, or concerning t he Borrower is t rue, accurat e and com plet e. The Client should ensure t hat
          int erest ed part ies are sufficient ly independent from t he Loan t ransact ion and t hat adequat e
          organizat ional cont r ols are in place t o ensur e t he independence, validit y and reliabilit y of t he
          Loan inform at ion.
          I n addit ion, t he Client should im plem ent prudent pract ices when relying on designat ed
          agent s ( such as escrow com panies, t it le com panies, et c.) in order t o ensure t hat t hey com ply
          wit h it s inst ruct ions and t hat t he int egr it y of t he Loan t ransact ion has been m aint ained.

          A207
          Third-Party Originators
          When relying on t he act ions or services of t hird- part y originat ors, t he Client should est ablish
          qualificat ion and eligibilit y st andards. The Client should consider t he funct ions being
          perform ed by t he t hird- part y originat or in est ablishing t hese st andards. These st andards
          should be review ed periodically t o ensur e ongoing eligibilit y by t he t hird- part y originat or.
          The Client is encouraged t o include t he follow ing it em s in form ulat ing it s qualificat ion and
          eligibilit y st andar ds and procedures:
               ( 1) Review personnel resum es and refer ences of m anagem ent and Loan originat ion st aff
                    ( Loan officers, processors, underwrit ers, closers, et c.)
               ( 2) Est ablish m inim um net wort h r equirem ent s and evaluat e t he financial viabilit y of t he
                    firm on an ongoing basis
               ( 3) Est ablish m inim um requirem ent s for errors and om issions insurance and fidelit y
                    bond coverage and m onit or ongoing com pliance wit h t hese st andards
               ( 4) Docum ent t he relat ionship wit h a cont ract ual agreem ent t hat cont ains specific
                    warrant ies relat ed t o each par t y’s responsibilit ies, as well as recourse right s in t he
                    event of warrant y violat ions
               ( 5) Review t he perform ance of Loans originat ed by t hird part ies t o evaluat e t rends or
                    pat t erns of D e lin qu e n cy
          The Client should include a represent at ive, random sam ple of t hird- part y Loans in t he qualit y
          cont rol program t hrough bot h pre- and post - closing qualit y cont rol audit s t o ensure t he
          qualit y of Loan inform at ion.
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A208
Events of Default
Any one or m ore of t he following event s const it ut e an Eve nt of D e fa u lt :
    ( 1) The Client has not com plied wit h one or m ore of t he requirem ent s ( including any
         requirem ent out lined in Chapt er 2, Client Eligibilit y) t erm s or condit ions out lined in
         t his Client Guide or one of t he disqualificat ion, suspension or inact ivat ion event s set
         fort h in t he D isqu a lifica t ion Su spe n sion or I n a ct iv a t ion Sect ion has occurred or
         occurs.
    ( 2) The Client has breached any agreem ent out lined or incorporat ed by reference in t he
         Client Cont ract or any ot her agreem ent bet ween t he Client and GMAC- RFC.
    ( 3) The Client breaches any of t he represent at ions, warrant ies or covenant s set fort h in
         t his Client Guide, fails t o perform it s obligat ions under t his Client Guide or t he
         Program Docum ent s, m akes one or m ore m isleading represent at ions, war rant ies or
         covenant s t o GMAC- RFC, or as failed t o provide GMAC- RFC wit h inform at ion t hat is
         t r ue, com plet e and accurat e.
    ( 4) The Borr ower or any ot her person or ent it y involved in t he Loan t ransact ion or in it s
         underwrit ing or docum ent at ion ( including any appraiser, broker, t hird- part y
         originat or, credit report ing agency, or ot her pr ovider of underwrit ing inform at ion)
         has m ade any false represent at ion and/ or has failed t o provide inform at ion t hat is
         t r ue, com plet e and accurat e in connect ion w it h such t ransact ion, w het her or not t he
         Client was a part y t o or had knowledge of such m isr epresent at ion or incorrect
         inform at ion.
    ( 5) Occurrence of an Event of Se r vice r Default wit h respect t o any Loans serviced by
         t he Client .
    ( 6) Term inat ion of servicing for cause is a basis for t he Client ’s im m ediat e
         disqualificat ion or suspension. Act ion t aken by GMAC- RFC t o t erm inat e servicing
         m ay be m erged wit h an act ion t o disqualify, suspend or inact ivat e t he Client .
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          A209
          Remedies of GMAC-RFC
          ( A) N on - Ex clu siv e , Cu m u la t ive Re m e die s
          GMAC- RFC m ay exercise any r em edy out lined in t his Client Guide or as allowed by law or in
          equit y. GMAC- RFC’s exercise of one or m ore rem edies in connect ion wit h a part icular Eve n t
          of D e fa u lt will not prevent it from exercising:
               • One or m ore ot her rem edies in connect ion wit h t he sam e Eve nt of D e fa ult
               • Any ot her right s which it m ay have at law or in equit y

          ( B) W a ive r of D e fa u lt s
          GMAC- RFC m ay waive any default by Client in t he perform ance of Client ’s obligat ions
          hereunder and it s consequences, but only by a writ t en waiver specifying t he nat ure and
          t erm s of such waiver. No such waiver shall ext end t o any subsequent or ot her default or
          im pair any right consequent t heret o, nor shall any delay by GMAC- RFC in exercising, or
          failure t o exercise, any right arising from such default affect or im pair GMAC- RFC’s right s as
          t o such default or any subsequent default .

          ( C) Su r v iva l of Re m e die s
          GMAC- RFC’s rem edies for breach of t he represent at ions, warrant ies and covenant s shall
          survive t he sale and delivery of t he Loan t o GMAC- RFC and funding of t he relat ed purchase
          price by GMAC- RFC, and will cont inue in full force and effect for t he rem aining life of t he
          Loans, not wit hst anding any t erm inat ion of t his Client Guide and t he relat ed Fu n din g
          D ocu m e n t s, or any rest rict ive or qualified endorsem ent on any m ort gage N ot e or
          assignm ent of m ort gage or Loan approval or ot her exam inat ion of or failur e t o exam ine any
          relat ed m ort gage Loan file by GMAC- RFC.
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A210
Repurchase
( A) Re pu r ch a se Obliga t ion s
I f GMAC- RFC det erm ines t hat an Ev e n t of D e fa u lt has occurred wit h respect t o a specific
Loan, t he Client agrees t o r epurchase t he Loan and it s servicing ( if t he Loan was sold
servicing released) wit hin 30 days of receiving a repurchase let t er or ot her writ t en
not ificat ion from GMAC- RFC.
I f t he Client discovers an Event of Default , it should give GMAC- RFC prom pt writ t en not ice.
Such not ice should include a writ t en descript ion of t he Event of Default . Upon receipt of t his
not ice, GMAC- RFC will review t hese m at erials and any addit ional inform at ion or
docum ent at ion t hat t he Client believes m ay influence GMAC- RFC’s decision t o requir e
repurchase. I f GMAC- RFC decides t o require repurchase, t he Client shall repurchase t he Loan
and t he servicing ( if t he Loan was sold servicing released) wit hin 30 days aft er GMAC- RFC’s
decision is com m unicat ed t o Client in writ ing.
To expedit e t he wiring of funds t o GMAC- RFC, t he Client should com plet e t he servicing
t ransfer inst ruct ion form provided by GMAC- RFC. GMAC- RFC will send t he form t o t he Client
along wit h t he not ificat ion of repurchase.
GMAC- RFC is not required t o dem and repurchase wit hin any part icular period of t im e, and
m ay elect not t o require im m ediat e repurchase. However, any delay in m aking t his dem and
does not const it ut e a waiver by GMAC- RFC of any of it s right s or rem edies.
Where GMAC- RFC det erm ines t hat repurchase of a Loan and/ or t he servicing is not
appr opriat e, t he Client shall pay GMAC- RFC all losses, cost s and expenses incurred by GMAC-
RFC and/ or t he Loan’s Se r vice r as a result of an Ev e n t of D e fa u lt . This includes all
reasonable at t orneys’ fees and ot her cost s and expenses incurred in connect ion wit h
enforcem ent effort s under t aken.
Upon t he Client ’s sat isfact ion of it s repurchase obligat ion, GMAC- RFC will endorse t he Not e
evidencing t he Loan in blank and w ill deliver it and ot her pert inent Loa n D ocu m e n t s t o t he
Client . I f GMAC- RFC acquired t it le t o any of t he real propert y securing t he Loan pursuant t o a
foreclosure sale and has not disposed of such propert y, it w ill t ransfer such propert y t o t he
Client on a “ quit claim ” basis or, if required by St at e law, a “ warrant y deed” basis. However, if
GMAC- RFC has disposed of t he real proper t y securing t he Loan, t he Loan Docum ent s will not
be ret urned t o t he Client unless request ed.
I f t he Client is also t he Se r vice r of a Loan repurchased by reason of t he occurrence of an
Event of Default , GMAC- RFC will not reim burse t he Client for any principal, int erest or ot her
advances m ade by t he Client wit h respect t o t hat Loan.
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          ( B) Re pu r ch a se Pr ice of Fir st M or t ga ge Pr ogr a m s
          I n t he event t he Client is obligat ed t o repurchase a Loan t he Client m ust pay t o GMAC- RFC a
          repur chase pr ice equal t o t he sum of:
               • The act ual principal balance of t he Loan at t he t im e of repurchase ( if t he Client sold t he
                 Loan t o GMAC- RFC at a discount or a prem ium , t he repurchase price above will be
                 adj ust ed t o reflect t he act ual principal balance m inus t he discount percent age
                 m ult iplied by t he act ual principal balance, or plus t he prem ium percent age m ult iplied
                 by t he act ual principal balance, as appr opriat e, including t hat price paid for Se r vicin g
                 Righ t s) , plus
               • All accr ued and unpaid int erest on t he Loan t hrough t he last day of t he m ont h of t he
                 dat e of repurchase; plus
               • All int erest , principal and ot her advances m ade t o invest ors and all out of pocket cost s
                 and expenses of any kind incurred by GMAC- RFC and/ or t he prim ary Se r vice r in
                 connect ion wit h t he Loan, including, but not lim it ed t o, advances for t axes or
                 insurance, and repair, foreclosure and insurance cost s and reasonable at t orneys’ fees;
                 plus
               • The am ount of t he buyout fee as calculat ed in t he Buyou t s a nd Ex t e nsion s Sect ion
                 of t his Client Guide; plus
               • I n t he event t hat GMAC- RFC or any of it s Affilia t e s is required t o repurchase t he Loan
                 fr om any subsequent assignee, t hen any addit ional am ount as m ay be required t o
                 m ake t he repurchase pr ice t hat t he Client is obligat ed t o pay hereunder equal t o t he
                 repurchase pr ice t hat GMAC- RFC or it s Affiliat e is required t o pay t o such subsequent
                 assignee; m inus
               • The net am ount of any proceeds r ealized by t he owner of t he Loan upon t he final
                 liquidat ion of t he Loan or t he M or t ga ge d Pr e m ise s t o an unrelat ed t hird part y.
          The D e signa t e d Se r v ice r will ret urn t o t he Client any escrow funds, unapplied funds and
          prepaid principal and int erest inst allm ent s.
          GMAC- RFC m ay dem and t hat a Client repurchase, and Client m ust repurchase, a Loan aft er
          foreclosure even if t he full am ount of it s out st anding debt was bid on by or on behalf of t he
          Loan’s owner t o acquire t he M or t ga ge d Pr e m ise s at t he foreclosure sale. I n t he event t he
          Client is obligat ed t o repurchase a Loan aft er foreclosure, t he repurchase price shall be
          calculat ed using t he form ula above, however Sch e du le d Pr in cipa l Ba la n ce shall be
          subst it ut ed for t he act ual principal balance.
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( C) Re pu r ch a se Pr ice of H om e Equ it y Loa n Pr ogr a m
I n t he event t he Client is obligat ed t o repurchase a Hom e Equit y Loan, t he Client m ust , upon
repurchase, service such Hom e Equit y Loan. The repurchase price for such Hom e Equit y Loan
shall be equal t o t he sum of:
    • The unpaid pr incipal balance of t he Hom e Equit y Loan
    • All accr ued and unpaid int erest on t he Hom e Equit y Loan
    • The am ount of all fees and/ or pur chase pr em ium paid, if any, t o t he Client by GMAC-
      RFC for originat ion of t he Hom e Equit y Loan
    • All fees paid t o any Se r v ice r or sub- servicer of a Hom e Equit y Loan by reason of t he
      t erm inat ion of t hat Servicer ’s or Sub- Servicer ’s right t o service t hat Hom e Equit y Loan
    • All cost s incurred or paid by GMAC- RFC or any Servicer in collect ing or enforcing t he
      Hom e Equit y Loan, including, wit hout lim it at ion, int erest or ot her cost s paid t o bring or
      m aint ain a prior lien current or up t o dat e, cost s t o insure or pay delinquent t axes,
      at t orneys’ fees, court cost s, appraisal and t it le expenses and ot her sim ilar cost s or
      expenses ( collect ively, “ Foreclosure Expenses” )
    • Any addit ional am ount GMAC- RFC or any of it s Affilia t e s is required t o pay t o
      repurchase t he Hom e Equit y Loan from a subsequent assignee
I n lieu of repurchasing a Hom e Equit y Loan t hat has not yet been foreclosed and accept ing
t he servicing of such Hom e Equit y Loan, GMAC- RFC m ay in it s sole discret ion allow Client t o
pay t o GMAC- RFC t he Est im at ed Loss ( as defined below) . Est im at ed Loss, as it relat es t o
each Hom e Equit y Loan subj ect t o repurchase, shall equal t he product of:
120% m ult iplied by t he result of:
    • Repurchase price as calculat ed above, plus
    • Accrued int erest on t he Hom e Equit y Loan t hrough t he dat e GMAC- RFC est im at es t hat
      t he Hom e Equit y Loan will be fully liquidat ed ( which in t he case of a foreclosure, shall
      m ean t he dat e t hat GMAC- RFC est im at es t hat t he M or t ga ge d Pr e m ise s will be sold t o
      a t hird part y and which in any ot her case m eans t he dat e t hat GMAC- RFC est im at es
      t hat all collect ion effort s on t he Hom e Equit y Loan will be abandoned) and est im at ed
      foreclosure and ot her enforcem ent expenses for t he ent ire collect ion process, less
    • Am ount by which t he curr ent m arket Value of t he M or t ga ge d Pr e m ise s as
      det erm ined by GMAC- RFC using valuat ion services provided by an independent t hird
      part y exceeds t he current out st anding am ount of indebt edness secured by t he
      Mort gaged Prem ises t hat is senior t o t he Hom e Equit y Loan.
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          ( D ) Re pu r ch a se Pr ice of a Se r vicin g Re le a se d Loa n
          I n t he event t he Client repurchases a Loan for which t he servicing has also been sold t o
          GMAC- RFC, t he Client will also be required t o repurchase t he servicing. I f t he repur chase of
          t he servicing of t he Loan is for any reason ot her t han a breach of t he D e lin qu e n cy Payoff/
          Liquidat ion warrant y cont ained in t he Servicing Released Cha pt e r 8 , t he Client m ust pay t o
          GMAC- RFC a repurchase price equal t o t he original Se r vicin g Pr e m iu m percent age
          m ult iplied by t he act ual unpaid principal balance at t he t im e of repurchase.
          I n no event however, will t he required repur chase Servicing Prem ium be great er t han t he
          original Servicing Prem ium paid t o t he Client .
          The D e sign a t e d Se r vice r will ret urn t o t he Client any escrow funds, Te m por a r y Bu ydow n
          funds, unapplied funds and prepaid pr incipal and int erest inst allm ent s. The Client will be
          required t o reim burse t he Designat ed Servicer for any delinquent principal and int erest
          advances, and any escrow advances and foreclosure expenses t hey have m ade and not
          recovered on a repurchased Loan.

          ( E) Re pu r ch a se As a Re su lt of Con ve r sion
          The Client ( or, if t he Client has t ransferred servicing of t he Loans, t he Se r vice r ) shall
          repurchase a Loan which has convert ed from an ARM t o a fixed- rat e m ort gage. The Servicer
          m ust subm it t he ARM Conversion Not ificat ion Report no less t han 15 days prior t o t he
          conversion dat e.
          I f t he Client or Servicer repurchases a convert ed Loan and subsequent ly resells t hat
          convert ed Loan t o GMAC- RFC, all t he Client ’s represent at ions and warrant ies wit h respect t o
          t hat Loan shall survive such repurchase and resale. I n addit ion, t he Client shall be subj ect t o
          all right s and rem edies ( including repurchase) available t o GMAC- RFC as a result of any
          m isrepresent at ion or breach of warrant y wit h respect t o t hat Loan pr ior t o conversion.
          The Client shall also subm it t he m odificat ion agreem ent if request ed by GMAC- RFC or it s
          assigns.
          Aft er it s receipt of t he Loan funds, GMAC- RFC will endorse t he Not e t o t he par t y which
          repurchased t he Loan. The Loan will t hen be assigned t o such part y, and all credit
          docum ent at ion will be ret urned. Failure t o subm it t he ARM Conversion Not ificat ion Report in
          a t im ely m anner m ay delay t he receipt of t he endorsed Not e and ot her legal docum ent s.
          The Se r v ice r shall subm it a Payoff/ Liquidat ion Report and wire t ransfer Loan funds t o t he
          GMAC- RFC Loa n Accou n t in g D e pa r t m e n t no lat er t han t he last Bu sin e ss D a y prior t o t he
          conversion dat e. The Servicer m ust rem it int erest for t he ent ire m ont h preceding t he
          conversion dat e. The Client shall at t ach a copy of t he ARM Conversion Not ificat ion Report .
          I f t he appropriat e am ount is not wired on t im e, GMAC- RFC will charge a lat e paym ent fee.
          This fee will equal t he am ount due m ult iplied by t he “ Pr im e Ra t e ” plus 3% m ult iplied by t he
          num ber of days overdue divided by 365. The t erm “ Prim e Rat e” shall m ean t he highest
          quot ed Prim e Rat e print ed in The Wall St r eet Journal in it s regular colum n “ Money Rat es” on
          t he first Bu sin e ss D a y of t he m ont h in which t he paym ent was due and not paid. I f t he
          Prim e Rat e is not available, GMAC- RFC will det erm ine a com parable rat e.
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( F) Su bst it u t ion
I nst ead of requiring t he Client t o repurchase a Loan as provided above, GMAC- RFC, at it s
discret ion, m ay allow t he Client t o subst it ut e anot her Loan sat isfact ory t o GMAC- RFC in place
of t he original Loan, wit hin 10 days of not ificat ion by GMAC- RFC, unless ot herwise not ified. I f
t he subst it ut ed Loan cont ains t erm s different from t hose of t he Loan t hat it is replacing, a
purchase price adj ust m ent will be calculat ed by GMAC- RFC based on m ar ket changes and
Loan charact erist ics. Every Loan subst it ut ed will be subj ect t o all agreem ent s, t erm s,
condit ions, represent at ions and warrant ies in t his Client Guide as of t he Su bst it u t ion D a t e .
I n t he event a Loan is eligible for purchase by GMAC- RFC but t he servicing is ineligible for
purchase by GMAC- RFC, t he Loan will be purchased and t he sale of servicing denied. GMAC-
RFC w ill not allow t he Client t o subst it ut e anot her servicing released Loan.

( G) Cost of Tr a n sfe r Fe e s D ue t o Re pu r cha se
The Client agrees t hat , if it is requir ed t o repurchase a Loan and t he relat ed Servicing, it will
pay all docum ent ary st am p t axes, recording fees, t ransfer t axes and all ot her expenses
payable in connect ion wit h t he repurchase and will indem nify and hold harm less GMAC- RFC
and t he D e signa t e d Se r v ice r against all losses, cost s and expenses, including at t orney
fees, result ing from such requir ed repurchases or t he breach giving rise heret o.

( H ) N ot ice a n d Appe a l
The Client m ay appeal GMAC- RFC’s decision by providing any addit ional inform at ion or
docum ent at ion it believes m ay affect GMAC- RFC’s det erm inat ion.
Send all not ificat ions and appeals t o:
      GMAC- RFC
      One Meridian Crossing
      Suit e 100
      Minneapolis, MN 55423
      At t ent ion: Repurchase Managem ent
Such inform at ion and docum ent at ion m ust be received wit hin 30 days aft er t he Client ’s
receipt of a repurchase let t er or sim ilar writ t en not ificat ion from GMAC- RFC. GMAC- RFC will
review all appeals and advise t he Client in writ ing of t he appeal decision. GMAC- RFC will in it s
sole discret ion det erm ine t he validit y of any appeal filed by t he Client . I f GMAC- RFC’s
decision rem ains firm following an appeal, t he Client shall repurchase t he Loan and it s
servicing ( if t he Loan was sold servicing released) wit hin 10 days of not ificat ion by GMAC-
RFC, in writ ing, t hat t he appeal has been denied.
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   ( 17) The Client or Se r vice r ’s failure t o m aint ain a qualified Loan originat ion, servicing
         and qualit y cont r ol st aff, an accept able ongoing qualit y cont rol program , adequat e
         facilit ies and writ t en policies and procedures t o ensure:
         • The invest m ent qualit y of Loans sold t o GMAC- RFC
         • The adequacy of t he servicing of Loans purchased by GMAC- RFC OR
   ( 18) The failure of t he Client or t he Se r vice r t o m eet any t est as m ay be prescribed for
         eligibilit y,
   ( 19) The det erm inat ion by GMAC- RFC t hat a Client has not delivered an adequat e volum e
         of Loans t o GMAC- RFC.

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Indemnification
The Client shall indem nify GMAC- RFC fr om all losses, dam ages, penalt ies, fines, forfeit ures,
court cost s and reasonable at t orneys’ fees, j udgm ent s, and any ot her cost s, fees and
expenses result ing from any Ev e n t of D e fa u lt . This includes any act or failure t o act or any
breach of warrant y, obligat ion or represent at ion cont ained in t he Client Cont ract ; or from
any claim , dem and, defense or assert ion against or involving GMAC- RFC based on or
result ing from such breach or a breach of any r epresent at ion, warrant y or obligat ion m ade
by GMAC- RFC in reliance upon any war rant y, obligat ion or represent at ion m ade by t he Client
cont ained in t he Client Cont ract .
I n addit ion, Client shall indem nify GMAC- RFC against any and all losses, dam ages, penalt ies,
fines, forfeit ures, j udgm ent s, and any ot her cost s, fees and expenses ( including court cost s
and reasonable at t orneys’ fees) incurred by GMAC- RFC in connect ion wit h any lit igat ion or
governm ent al proceeding t hat alleges any violat ion of local, St at e or federal law by Client , or
any of it s agent s, or any originat or or broker in connect ion wit h t he originat ion or servicing of
a Loan. Wit h regard t o legal fees or ot her expenses incurr ed by or on behalf of GMAC- RFC in
connect ion wit h any such lit igat ion or governm ent al proceeding, Client shall reim burse
GMAC- RFC for such fees and expenses. Reim bursem ent shall be m ade direct ly t o GMAC- RFC
wit hin t en days of receipt of a request for paym ent , which request shall include copies of t he
relevant invoices. Except for not ices for reim bursem ent , GMAC- RFC is not required t o give
Client not ice of any lit igat ion or governm ent al proceeding t hat m ay t rigger indem nificat ion
obligat ions. Client shall inst ruct it s officers, direct ors and agent s ( including legal counsel) t o
cooperat e wit h GMAC- RFC in connect ion wit h t he defense of any lit igat ion or governm ent al
proceeding involving a Loan. GMAC- RFC has t he right t o cont rol any lit igat ion or
governm ent al proceeding relat ed t o a Loan, including but not lim it ed t o choosing defense
counsel and m aking set t lem ent decisions.
The Client also shall indem nify GMAC- RFC and hold it harm less against all court cost s,
at t orney’s fees and any ot her cost s, fees and expenses incurred by GMAC- RFC in enforcing
t he Client Cont ract . The obligat ions of t he Client under t his Sect ion shall survive t he
D e live r y D a t e , t he Fu n din g D a t e ( and each Su bst it u t ion D a t e , if applicable) and t he
t erm inat ion of t he Client Cont ract and t he disqualificat ion, suspension or inact ivat ion of t he
Client .
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Representations,
 Warranties and
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          A201
          Specific Representations, Warranties and Covenants Concerning Client
          ( A) D u e Or ga n iza t ion ; Good St a n ding; Lice n sin g
          Client and, t o Client ’s knowledge, Client ’s Guarant or, if applicable, is and shall cont inue t o be
          duly organized, validly exist ing, and in good st anding under t he laws of t he Unit ed St at es or
          under t he laws of t he j urisdict ion in which it was incorporat ed or organized, as applicable,
          and has and shall cont inue t o m aint ain all licenses, regist rat ions, and cert ificat ions necessary
          t o carry on it s business as now being conduct ed, and is and will cont inue t o be licensed,
          qualified, and in good st anding in each St at e where a Mort gaged Propert y is locat ed if t he
          laws of such St at e require licensing or qualificat ion in order t o conduct business of t he t ype
          conduct ed by Client and, in any event , Client is and will rem ain in com pliance wit h t he laws
          of any such St at e, and is and will rem ain in good st anding wit h federal aut horit ies, t o t he
          ext ent necessary t o ensure t he enforceabilit y of t he relat ed Loan. Client has disclosed t he
          final writ t en report s, act ions and/ or sanct ions of any and all reviews, invest igat ion,
          exam inat ions, audit s, act ions and/ or sanct ions t hat have been undert aken and/ or im posed,
          wit hin t wo years prior t o t he dat e of t he Client Cont ract , by any federal or St at e agency or
          inst rum ent alit y wit h respect t o eit her t he lending or relat ed financial operat ions of Client , or
          t he abilit y of Client t o perform in accordance wit h t he Program Docum ent s t erm s. Each of t he
          represent at ions and warrant ies m ade by Client in it s Client Applicat ion is t r ue, accurat e, and
          com plet e, and is deem ed t o be rem ade in it s ent iret y, as of t he dat e of t he Client Cont ract ,
          and as of each Fu n din g D a t e .

          ( B) Au t h or it y
          Client has and will m aint ain t he full corporat e, part nership or lim it ed liabilit y com pany power
          and aut horit y t o execut e and deliver t he Program Docum ent s and t o perform t he t erm s of
          t his Client Guide. The execut ion, delivery, and perform ance of t he Program Docum ent s and
          t he perform ance of t he t erm s of t his Client Guide by Client , and t he consum m at ion of t he
          t r ansact ions cont em plat ed, have been duly and validly aut horized. The Program Docum ent s
          and t his Client Guide evidence Client ’s legal valid, binding, and enforceable obligat ions. All
          requisit e corporat e, part nership or lim it ed liabilit y com pany act ion has been t aken by Client
          t o m ake t he Program Docum ent s and t he t erm s of t his Client Guide valid and binding upon
          Client and enforceable in accordance wit h t heir respect ive t er m s.

          ( C) Or din a r y Cou r se of Bu sin e ss
          The consum m at ion of t he t ransact ions cont em plat ed by t he Program Docum ent s and t he
          Client Guide t erm s are in Client ’s or dinary course of business, and t he t ransfer, assignm ent ,
          and conveyance of t he Mort gage Not es and t he Mort gages by Client , pur suant t o t he
          Program Docum ent s and t he Client Guide t erm s are not subj ect t o t he bulk t ransfer laws or
          any sim ilar st at ut ory provisions in effect in any applicable j urisdict ion.
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                                                                                                     Representations,
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( D ) N o Con flict s
Neit her t he execut ion and delivery of t he Program Docum ent s, t he acquisit ion and/ or m aking
of t he Loans by Client , t he sale of t he Loans t o GMAC- RFC or t he t ransact ions cont em plat ed
t hereby or pursuant t o t his Client Guide, nor t he fulfillm ent of or com pliance wit h t he
Program Docum ent s t erm s and condit ions, will conflict wit h or result in a br each of any of t he
t erm s, condit ions, or provisions of Client 's art icles of incorporat ion, chart er, by- laws,
part nership agreem ent , or ot her organizat ional docum ent , or of any legal rest rict ion or
regulat ory direct ive or any agreem ent or inst r um ent t o which Client is now a part y or by
which it is bound, or const it ut e a default or result in an accelerat ion under any of t he
foregoing, or result in t he violat ion of any law, rule, regulat ion, order, j udgm ent , or decree t o
which Client , or any of it s propert y is subj ect , or im pair t he abilit y of GMAC- RFC t o realize on
any of t he Loans, or im pair t he Value of any of t he Loans.

( E) Abilit y t o Pe r for m
Client has t he abilit y t o perform each and every obligat ion of and/ or sat isfy each and ever y
requirem ent im posed on, Client pursuant t o t he Program Docum ent s and t his Client Guide,
and no offset , count erclaim , or defense exist s t o t he full perfor m ance by Client of t he
requirem ent s of Program Docum ent s and t his Client Guide.

( F) N o Lit iga t ion Pe n din g
There is no act ion, suit , proceeding, inquiry, review, audit , or invest igat ion pending or
t hreat ened against Client t hat , eit her in any one inst ance or in t he aggregat e, m ay r esult in
any m at erial adverse change in t he business, operat ions, financial condit ion, propert ies, or
asset s of Client , or in any m at erial liabilit y on t he part of Client , or which would draw int o
quest ion t he validit y or enforceabilit y of any of t he Program Docum ent s, t his Client Guide, or
t he Loans or of any act ion t aken or t o be t aken in connect ion wit h Client ’s obligat ions
cont em plat ed in any of t he Program Docum ent s or t his Client Guide, or which would be likely
t o im pair m at erially Client ’s abilit y t o perform under t he t erm s of t he Program Docum ent s or
t his Client Guide.

( G) N o Con se n t Re qu ir e d
No consent , approval, aut horit y, or order of any court or governm ent al agency or body is
required for t he execut ion and perfor m ance by Client of, or com pliance by Client wit h, any of
t he Program Docum ent s or t his Client Guide, t he sale of any of t he Loans, or t he
consum m at ion of any of t he t ransact ions cont em plat ed by any of t he Purchase Docum ent s,
or, if required, such uncondit ional approval has been obt ained pr ior t o t he relat ed Fu n din g
Date.

( H ) N o Un t r u e I n for m a t ion
Neit her t he Program Docum ent s, t he Client Applicat ion, t his Client Guide, nor any st at em ent ,
report , or ot her docum ent furnished or t o be furnished by Client pursuant t o t he Program
Docum ent s or t his Client Guide, cont ains any unt rue st at em ent of m at erial fact or om it s t o
st at e a m at erial fact necessary t o m ake t he st at em ent s cont ained t herein not m isleading.
Client m eet s GMAC- RFC’s Eligibilit y St andards, and shall t ake all st eps necessary t o cont inue
t o m eet such Eligibilit y St andards.
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Representations,
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          ( I ) Se cu r it ie s La w
          The Client represent s t hat t he Loans ar e not “ securit ies” under any federal or St at e securit ies
          laws or any rules or regulat ions t hereunder and t hat t he t ransact ions cont em plat ed by t his
          Client Guide do not require regist rat ion under, and are not subj ect t o, any federal or St at e
          securit ies laws or any rules or regulat ions t hereunder.

          ( J) N o Accr u e d Lia bilit ie s
          Except as m ay be ot herwise disclosed by Client t o GMAC- RFC and acknowledged by GMAC-
          RFC in writ ing prior t o t he dat e of t he Client Cont ract , t here are no accrued liabilit ies of
          Client , wit h respect t o any of t he Loans, or circum st ances under which any such accrued
          liabilit ies will arise against GMAC- RFC, as successor t o Client ’s int erest s in and t o t he Loans,
          wit h r espect t o any act ion or failure t o act by Client occurring on or prior t o t he Fu n din g
          Date.

          ( K) Or igin a t ion , Se r vicin g
          Client ’s originat ion and servicing of t he Loans have been legal, pr oper, prudent , and
          cust om ary and have conform ed t o t he highest st andards of t he resident ial m ort gage
          originat ion and servicing business.

          ( L) Com plia n ce W it h La w s
          Client has com plied wit h, and has not violat ed any law, ordinance, requirem ent , regulat ion,
          rule, or order applicable t o it s business or proper t ies, t he violat ion of which m ight adversely
          affect t he operat ions or financial condit ions of Client , or t he abilit y of Client t o consum m at e
          t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide.

          ( M ) Com plia n ce W it h Pr ogr a m D ocu m e n t s a n d Clie n t Gu ide
          Client will com ply wit h all provisions of t his Client Guide and t he Program Docum ent s, and
          will pr om pt ly not ify GMAC- RFC of any occurrence, act , or om ission regarding Client , t he
          Loan, t he Mort gaged Propert y or t he Mort gagor of which Client has knowledge, which
          occurrence, act , or om ission m ay m at erially affect Client , t he Loan, t he Mort gaged Propert y,
          or t he Mort gagor.

          ( N ) N o D e fe n se s Aga in st GM AC- RFC
          The Client has no j udgm ent , court order, claim , count erclaim , defense, right of set- off or
          sim ilar right against GMAC- RFC.
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                                                                                                    Covenants

A202
Specific Representations, Warranties and Covenants Concerning Individual Loans
For all Loans, t he Client represent s, warrant s and covenant s t o GMAC- RFC as follows:

( A) Loa n s Ar e Eligible ; Accu r a cy of I n for m a t ion
Each of t he Loans delivered and sold t o GMAC- RFC m eet s t he applicable program t erm s and
crit eria set fort h in t his Client Guide. All inform at ion relat ing t o each Loan delivered and sold
t o GMAC- RFC is t rue, com plet e and accurat e and t here are no om issions of m at erial fact s. All
dat a provided by t he Client t o GMAC- RFC relat ing t o any Loan, w het her in elect ronic form at ,
or ot herwise, is t rue and com plet e and accurat ely reflect s t he inform at ion in t he relat ed Loan
file.

( B) Com plia nce W it h W a r r a n t ie s
The Client is in com pliance wit h, and has t aken all necessary act ion t o ensure t hat each Loan
is in com pliance wit h all represent at ions, warrant ies and requirem ent s cont ained in t his
Client Guide.

( C) Loa n Pr ovision s
The provisions of t he Loan have not been im paired, waived, alt ered or m odified in any
respect , unless appr oved in writ ing by GMAC- RFC. The issuer of any relat ed PMI Policy and
t he t it le insurer have approved t he subst ance of any such waiver, alt erat ion, or m odificat ion
t o t he ext ent required by t he respect ive policies. No Mort gagor has been r eleased, in whole
or in part .

( D ) D ocu m e n t s
All Loa n D ocu m e n t s, Fun din g D ocu m e nt s and Fin a l D ocum e n t s ar e genuine, have been
com plet ed, duly and properly execut ed, are in r ecordable form and delivered in t he for m and
m anner specified in t his Client Guide, and each Loan is t he Mort gagor ’s legal, valid and
binding obligat ion enforceable in accordance wit h it s t erm s. All originals and copies of such
docum ent s and all ot her docum ent s, m at erials, and ot her inform at ion required t o be
subm it t ed t o GMAC- RFC have been so subm it t ed, and are com plet e and accurat e. All Loan
Docum ent s, Fu n din g D ocum e n t s, Final Docum ent s and all ot her docum ent s describing or
ot herwise relat ing t heret o are in com pliance wit h all applicable local and St at e laws,
regulat ions and orders.
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          ( E) Ow n e r sh ip; Tr a n sfe r
          The Client has good t it le t o and is t he sole owner of, each Loan delivered and sold t o GMAC-
          RFC. Except for t he securit y int erest of a warehouse lender, which securit y int erest Client has
          disclosed t o GMAC- RFC in writ ing, t he assignm ent of t he Loan by t he Client validly t ransfers
          such Loan t o GMAC- RFC free and clear of any pledge, lien or securit y int erest or ot her
          encum brance.
          For each Loan regist er ed wit h M ERS, t he Client represent s t hat ( a) if t he Se cu r it y
          I n st r u m e n t relat ing t o such Loan ident ifies MERS as t he original m ort gagee of record, such
          Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o MERS solely as
          nom inee for t he Client and it s successors and assigns and t hat such Securit y I nst rum ent has
          been properly execut ed, acknowledged, delivered and recorded in all places necessary t o
          perfect t he securit y int erest on t he M or t ga ge d Pr e m ise s in favor of MERS, solely as
          nom inee for t he Client and it s successors and assigns; or ( b) if t he Loan is regist ered wit h
          MERS, and MERS is not t he original m ort gagee of record, an assignm ent t o MERS has been
          prepared, duly execut ed and recorded and t he chain of assignm ent s is com plet e and
          recorded from t he original m ort gagee t o MERS. Client furt her repr esent s t hat it has com plied
          wit h all rules and procedures of MERS for it s assignm ent of t he Securit y I nst rum ent t o
          GMAC- RFC, including, am ong ot her t hings, t hat t he Client has confirm ed t he t ransfer on
          MERS t o GMAC- RFC.

          ( F) D isbu r se m e n t s; N o Pa yoffs or Fut u r e Adva nce m e nt s
          Each Loan has been closed and fully disbursed, except as perm it t ed in t he Escr ow Accou n t
          for Post pon e d I m pr ove m e nt s/ Re pa ir s Sect ion of t his Client Guide. There are no payoffs,
          assum pt ions or insurance claim s pending on any Loan or pert aining t o t he M or t ga ge d
          Pr e m ise s and t he Borrower m ay not exercise any opt ion under any of t he Loa n D ocu m e n t s
          t o borrow addit ional funds secured t hereby from t he Client or any ot her person or ent it y
          wit hout t he Not eholder ’s consent .
          Addit ionally, t he Client warrant s t hat t he Client has not m ade arrangem ent s wit h any
          Borrower for any paym ent forbearance or fut ure r efinancing w it h respect t o any Loan.

          ( G) N o D e fa u lt
          There is no default , breach, violat ion or event of accelerat ion exist ing under any Not e or
          Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, and no event exist s which, wit h not ice and
          t he expirat ion of any grace or cure period, w ould const it ut e a default , breach, violat ion or
          event of accelerat ion, and no such default , breach, violat ion or event of accelerat ion has
          been waived by t he Client or by any ot her ent it y involved in originat ing or servicing t he Loan.

          ( H ) N o D e fe n se s
          Except as provided in a buydown or subsidy agreem ent , if any, m eet ing t he requirem ent s set
          fort h in t his Client Guide, t he Borrower ( including any part y secondarily liable under t he
          Loa n D ocu m e n t s) has no right of set- off, defense, count erclaim or right of rescission t o any
          Loan Docum ent .
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                                                                                                    Covenants
( I ) Com plia nce w it h La w
The sale and t ransfer of each Loan t o GMAC- RFC does not violat e any applicable St at e laws.
To t he ext ent t hat any applicable St at e law places any rest rict ions on t he t ransfer of any
Loan, t he Client has not ified GMAC- RFC in writ ing of t hat rest rict ion and any relat ed St at e
licensing or regist rat ion requirem ent s.
The Se cu r it y I n st r u m e n t has been properly execut ed, acknowledged, delivered and
recorded in all places necessary t o perfect t he securit y int erest in t he M or t ga ge d Pr e m ise s
in favor of t he Client and it s successors and assigns. I f a Loan is regist ered wit h M ERS, and
MERS is ident ified on t he Securit y I nst rum ent as t he original m ort gagee of record, Client
represent s t hat such Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o
MERS solely as nom inee for t he Client and it s successors and assigns. I f t he Loan is
regist ered wit h MERS, and MERS is not t he original m ort gagee of record, Client represent s
t hat an assignm ent t o MERS has been prepared, duly execut ed and r ecorded and t he chain of
assignm ent s is com plet e and recorded from t he original m ort gagee t o MERS and Client
furt her represent s t hat it has com plied wit h all rules and procedures of MERS for it s
assignm ent of t he Securit y I nst rum ent t o GMAC- RFC, including, am ong ot her t hings, t hat
Client has confirm ed t he t ransfer on MERS t o GMAC- RFC.
Each GMAC- RFC Loan Applicat ion ( Fa n n ie M a e 1003/ Fr e ddie M a c Form 65) was t aken from
t he Borrower and processed for each Loan, and each Loan has been originat ed, closed, and
t ransferred in com pliance wit h all applicable local, St at e and federal laws and regulat ions
including, but not lim it ed t o, t he Real Est at e Set t lem ent Procedures Act , t he Fair Credit
Report ing Act , t he Equal Credit Opport unit y Act , t he Trut h- in- Lending Act , t he Fair Housing
Act , and t he Nat ional Flood I nsurance Act . This warrant y is m ade by t he Client w it h respect
t o each GMAC- RFC Loan Applicat ion t aken and pr ocessed for each Loan and wit h r espect t o
each Loan m ade by t he Client or any ot her ent it y.

( J) Re spon sible Le n din g Re pr e se n t a t ions, W a r r a n t ie s a nd Cove n a n t s
     ( 1 ) D iscon t in u e d Loa n
          No Loan is a “ Discont inued Loan”. D iscon t in u e d Loa n m eans any of t he following,
          regardless of whet her t he originat or is required by law t o com ply wit h t he law or has
          grounds t o claim preem pt ion from all or par t of t he law.
          ( a) HOEPA/ Sect ion 32
               A loan considered a “ m or t gage” under Sect ion 152 of t he Hom e Ownership and
               Equit y Prot ect ion Act of 1994, 15 U.S.C. Sect ion 1602 ( aa) and t he relat ed
               regulat ions and com m ent ary prom ulgat ed by t he Federal Reserve Board,
               including Sect ion 226.32 of Tit le 12 of t he Code of Federal Regulat ions, and t he
               official st aff com m ent ary t o t hose regulat ions.
          ( b) Purchase Money Loans wit h High Point s or Fees
               A “ purchase m oney” loan secured by t he consum er ’s principal dw elling t hat
               exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
               Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
               by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
               Federal Regulat ions. A “ purchase m oney” loan is a loan t hat is considered a
               “ resident ial m ort gage t ransact ion” under Sect ion 226.2( 24) of Tit le 12 of t he
               Code of Federal Regulat ions.
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                    ( c) Hom e Equit y Lines of Credit That Exceed t he HOEPA Triggers
                        An open- end line of credit secured by t he consum er ’s principal dwelling t hat
                        exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
                        Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
                        by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
                        Federal Regulat ions. “ Point s and fees” m ust be calculat ed in accordance wit h
                        Sect ion 226.32 of Tit le 12 of t he Code of Regulat ions and t he relat ed
                        com m ent ary prom ulgat ed by t he Federal Reserve Board. The “APR” is t he fully
                        indexed rat e or t he init ial rat e, whichever is great er, at t he t im e of
                        consum m at ion. The “ t ot al loan am ount ” is t he t ot al credit line available under
                        t he t erm s of t he loan, wit hout subt ract ing any am ount s for closing cost s.
                    ( d) St at e and Local High Cost Loans
                        A loan considered a “ high- cost ,” covered, “ high- risk,” “ predat ory” or any ot her
                        sim ilar designat ion under any st at e or local law in effect at t he t im e of t he
                        closing of t he loan if t he law im poses great er rest rict ions or addit ional legal
                        liabilit y for resident ial m ort gage loans wit h high int erest rat es, point s and/ or
                        fees.
                    ( e) Cer t ain Georgia Hom e Loans
                        A “ hom e loan” under t he Georgia Fair Lending Act , Ga. Code Ann. Sect ion 7- 6A-
                        1 et . seq. t hat becam e effect ive on Oct ober 1, 2002 ( t he “Act ” ) , if t he
                        com m it m ent was issued on or aft er February 1, 2003 and t he loan was closed on
                        or before March 7, 2003.
                    ( f) Cer t ain New Jersey Hom e Loans
                        A “ hom e loan” under t he New Jersey Hom e Ownership Securit y Act of 2002 ( t he
                        “Act ” ) , N.J.S.A. 46: 10B- 22 et seq. if t he loan is:
                           • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
                           • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                           • A “ hom e loan” t hat is an open- end line of credit ;
                           • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                             out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
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     ( g) Cer t ain New Mexico Hom e Loans
           A “ hom e loan” under t he New Mexico Hom e loan Prot ect ion Act ( t he “Act ” ) , t hat
           was closed on or aft er February 1, 2004, and on or before February 26, 2004, if
           t he loan is:
              • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
               • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
               • A “ hom e loan” t hat is an open- end line of credit ;
               • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                 out t ransact ion;
           Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
           t he loan is a cash- out refinance or a rat e/ t erm refinance.
( 2 ) M a n da t or y Ar bit r a t ion Cla u se
     A Loan m ay not include a m andat ory arbit rat ion clause. Any arbit rat ion agreem ent
     signed by t he Borrower prior t o t he t im e of a disput e is prohibit ed.
( 3 ) Pr oh ibit e d Te r m s a n d Pr a ct ice s on a ll Loa n s sold t o GM AC- RFC
     A Loan m ay not violat e any of t he following pr ohibit ed t er m s and pract ices:
     ( a) Pr e - pa id in su r a n ce pr odu ct s. No Loan finances single prem ium credit life,
          credit disabilit y, credit unem ploym ent , or any ot her pre- paid life or healt h
          insurance, direct ly or indirect ly.
     ( b) Pr e pa ym e n t pe n a lt ie s. A Loan m ay not provide for a penalt y for paying all or
          part of t he principal before t he dat e on which t he principal is due except as set
          fort h in t his paragraph and ot herwise allowed by applicable federal, St at e, and
          local law.
              • The penalt y m ay be enforced for only t he first five years following
                consum m at ion;
              • The penalt y does not exceed 6 m ont hs of int erest on t he am ount prepaid or
                6% of t he am ount prepaid; and
              • The prepaym ent penalt y does not becom e due upon default
     ( c) Re por t in g t o cr e dit bur e a u s. Client or it s Se r vice r m ust report t o a nat ionally
          recognized consum er credit report ing agency at least quart erly t he favor able
          and unfavorable paym ent hist ory inform ation of Borrower on paym ent s due t o
          Client on a Loan for t he period during which Client holds or services t he Loan.
          This paragraph shall not prevent Client or it s Servicer from not r eport ing specific
          paym ent hist ory inform at ion in t he event of a resolved or unresolved disput e
          wit h Borrower and shall not apply t o Loans held or serviced by Client for less
          t han 90 days.
     ( d) I n cr e a se d in t e r e st r a t e u pon de fa u lt . A Loan m ay not provide for an
          increase in t he int erest rat e aft er default .
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          ( K) Tit le I n su r a n ce
          A policy of t it le insurance, in t he form and am ount required by t his Client Guide, is effect ive
          as of t he day t he Se cu r it y I n st r u m e n t is recorded, is valid and binding, is in conform ance
          wit h all agency guidelines and rem ains in full force and effect , unless t he M or t ga ge d
          Pr e m ise s are locat ed in t he St at e of I owa and a Tit le Guarant y Cert ificat e issued by t he
          I owa Tit le Guarant y Division of t he I owa Finance Aut horit y has been provided as described in
          Tit le Guarant y Cert ificat e I n I owa below.

          ( L) Tit le Gu a r a n t y Ce r t ifica t e I n I ow a
          As t o each Loan secured by M or t ga ge d Pr e m ise s locat ed in t he St at e of I owa, and if an
          Am erican Land Tit le Associat ion ( ALTA) Loan policy of t it le insurance has not been provided,
          a Tit le Guarant y Cert ificat e issued by t he I owa Tit le Guarant y Division of t he I owa Finance
          Aut horit y, in t he form and am ount required by t his Client Guide, duly delivered and effect ive
          as of t he closing of each such Loan, is valid and binding, and rem ains in full force and effect .

          ( M ) Va lid Fir st Lie n s
          Each Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, unless provided for ot herwise in a
          given Loa n Pr ogr a m , const it ut es a valid first lien on t he M or t ga ge d Pr e m ise s subj ect only
          t o t he m inor im pedim ent s described in t he Tit le I n su r a n ce Sect ion of t his Client Guide, and
          such im pedim ent s do not adversely affect t he Value, use, enj oym ent or m arket abilit y of t he
          Mort gaged Prem ises. Each Securit y I nst rum ent and all relat ed docum ent s ( including, wit hout
          lim it at ion, releases of prior Securit y I nst rum ent s, assum pt ion agreem ent s, assignm ent s,
          am endm ent s, powers of at t orney, and m odificat ion, ext ension and consolidat ion
          agreem ent s) t hat ar e required t o be recorded or filed under applicable law in order t o
          preserve in favor of GMAC- RFC t he validit y and enforceabilit y of t he Securit y I nst rum ent and
          t he liens cr eat ed t her eby, have been duly r ecorded in all appropriat e recording offices, and all
          associat ed recording fees or t axes m ust be paid.

          ( N ) N o En cr oa ch m e n t s By Adj oin in g Pr ope r t ie s; I m pr ov e m e n t s
          No im provem ent s by adj oining pr opert ies encroach upon t he M or t ga ge d Pr e m ise s in any
          respect so as t o affect t he Value or m arket abilit y of t he Mort gaged Prem ises. No
          im provem ent locat ed on or being part of t he Mort gaged Propert y is in violat ion of any
          applicable zoning law or regulat ion.

          ( O) Su r v e y
          All im provem ent s which were considered in det erm ining t he appraised Value of t he
          M or t ga ge d Pr e m ise s lie wholly wit hin it s boundaries and t he building rest rict ion lines of t he
          Mort gaged Prem ises, or t he policy of t it le insurance insures against loss or dam age by reason
          of any violat ion, variat ion, encroachm ent or adverse circum st ance t hat eit her is disclosed or
          would have been disclosed by an accurat e survey.

          ( P) N o Lie n s
          There are no delinquent t ax or delinquent assessm ent liens against t he M or t ga ge d
          Pr e m ise s, and t here ar e no m echanic’s liens or claim s for w ork, labor or m at erial or any
          ot her liens affect ing t he Mort gaged Prem ises, which are or m ay be a lien prior t o, or equal
          wit h, t he lien of t he Se cu r it y I n st r u m e n t assigned t o GMAC- RFC, except t hose liens t hat
          are insured against by t he policy of t it le insurance or Tit le Guarant y Cert ificat e issued by t he
          I owa Tit le Guarant y Division.
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                                                                                                       Warranties and
                                                                                                       Covenants
( Q) N o Adve r se Cir cu m st a n ce s
The M or t ga ge d Pr e m ise s are fr ee of dam age and in good repair, and no not ice of
condem nat ion has been given wit h respect t heret o, and no circum st ances exist involving t he
Loa n D ocu m e n t s, t he M or t ga ge d Pr e m ise s or t he Borrow er ’s credit st anding t hat could:
( i) cause privat e inst it ut ional invest ors t o regard t he Loan as an unaccept able invest m ent , ( ii)
cause t he Loan t o becom e delinquent , or ( iii) adversely affect t he Value or m arket abilit y of
t he Mort gaged Prem ises or t he Loan. The Client warrant s t hat it neit her has act ual knowledge
of t he presence of, nor reasonable grounds t o suspect t he pr esence of, any t oxic m at erials or
ot her environm ent al hazards on, in or t hat could affect any of t he M or t ga ge d Pr e m ise s.
The Client warrant s com pliance w it h local, St at e or federal law or regulat ion designed t o
prot ect t he healt h and safet y of t he occupant s of t he propert y.

( R) Ca su a lt y I n su r a n ce
The im provem ent s upon t he M or t ga ge d Pr e m ise s are insured against loss by fir e and ot her
hazards as required by t his Client Guide, including flood insurance if required under t he
Nat ional Flood I nsurance Act of 1968, as am ended. The Se cu r it y I n st r u m e n t r equires t he
Borrower t o m aint ain such casualt y insurance at t he Borrower ’s expense, or on t he
Borrower ’s failure t o do so, aut horizes t he holder of t he Securit y I nst rum ent t o obt ain and
m aint ain such insurance at t he Borrower ’s expense and t o seek reim bursem ent from t he
Borrower. Each casualt y policy is t he insurer ’s valid and binding obligat ion, is in full force and
effect , and w ill be in full force and effect , t o GMAC- RFC’s benefit upon t he consum m at ion of
t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide. The Loan
t erm s per m it t he m aint enance of an escrow account t o pay t he prem ium s for t he above
m ent ioned insurance, and t he Client has not waived t he requirem ent of such escrow account
unless perm it t ed by GMAC- RFC or requir ed by applicable law.

( S) Pr im a r y M or t ga ge I n su r a n ce
I f requir ed by t his Client Guide, prim ar y m ort gage insurance has been obt ained, t he
prem ium has been paid, and t he m ort gage insurance coverage is in full force and effect
m eet ing t he requirem ent s of t his Client Guide.

( T) Un de r w r it in g; Appr a isa l; Appr a ise r
The Loan is of invest m ent qualit y, has been prudent ly originat ed and has been underwrit t en
in com pliance wit h all requirem ent s of t his Client Guide.
The appraisal was m ade by an appraiser who m eet s t he m inim um qualificat ions for
appraiser s as specified in t his Client Guide. As of t he Fun din g D a t e , t he m arket Value of t he
M or t ga ge d Pr e m ise s is at least equal t o t he appraised Value st at ed on t he Loan appraisal
except t o t he ext ent t hat t he m arket Value of t he Mort gaged Prem ises is low er t han t he
appraised Value due t o t he effect of any t oxic m at erials or ot her environm ent al hazards of
which neit her t he appraiser nor t he Client has act ual know ledge or reasonable grounds t o
suspect .
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          ( U) En for ce a bilit y; En for ce m e n t Pr ov ision s
          Each Not e and Se cu r it y I n st r u m e n t const it ut es a legal, valid and binding obligat ion of t he
          Borrower enforceable in accordance wit h it s t erm s except as lim it ed by bankrupt cy,
          insolvency or ot her sim ilar laws affect ing generally t he enfor cem ent of credit or s’ right s.
          Each Securit y I nst rum ent cont ains cust om ary and enfor ceable provisions which render t he
          right s and rem edies of t he holder adequat e t o realize t he benefit s of t he securit y against t he
          M or t ga ge d Pr e m ise s, including: ( i) in t he case of a Securit y I nst rum ent designat ed as a
          deed of t rust , by t rust ee's sale, ( ii) by sum m ary foreclosure, if available under applicable
          law; and ( iii) ot herwise by foreclosure, and t here are no hom est ead or ot her exem pt ions or
          dower, court esy or ot her right s or int erest s available t o t he Bor rower or t he Bor rower ’s
          spouse, survivors or est at e or any ot her person or ent it y t hat would, or could, int erfere wit h
          such right t o sell at a t rust ee’s sale or t o foreclose. The Secur it y I nst rum ent and any rider s t o
          t he Securit y I nst rum ent m ust be signed by any person wit h an act ual or pot ent ial int erest in
          t he pr opert y. Tit le holders have an act ual int erest in t he propert y and m ust sign t he Securit y
          I nst rum ent and r iders. Non- Borrowing spouses who are not in t it le m ay have an act ual or
          pot ent ial int erest in t he propert y under St at e law and m ay be required t o sign t he Securit y
          I nst rum ent and rider in som e St at es in order for t he holder of t he Securit y I nst rum ent t o
          obt ain, prot ect and enforce it s lien. The Client will obt ain t he signat ure of t he non- Borrowing
          spouse on t he Se cu r it y I n st r u m e n t and riders or ot her docum ent at ion, as allowed by law,
          if such signat ure is necessary t o prot ect t he int erest of t he holder of t he Secur it y I nst r um ent .

          ( V ) H olde r - I n - D u e - Cou r se
          The Client is t he owner and holder- in- due- course of each Not e and is nam ed as m ort gagee/
          beneficiary or assignee under each Se cu r it y I n st r u m e n t , and all Loa n D ocum e n t s
          requiring execut ion have been appropriat ely execut ed, wit nessed or not arized by t he persons
          whose nam es appear as signat ories and wit nesses, or, as appropriat e, not aries who
          const it ut e t he valid and binding legal obligat ion of t he Borrower, enforceable in accordance
          wit h t heir respect ive t erm s. Not wit hst anding t he foregoing, wit h respect t o adj ust able- rat e
          m ort gage Loans ( ARMs) , t he Client repr esent s and warrant s t hat t here are no claim s t o t he
          Not e on t he part of any person or defenses of any part y t o t he Not e ot her t han t hose t hat
          validly could be raised against a holder- in- due- course.

          ( W ) Tr u st e e D e signa t e d
          Wit h respect t o each Se cu r it y I n st r u m e n t t hat is a deed of t rust , a t rust ee duly qualified
          under applicable law t o serve as such is properly nam ed, designat ed and serving.

          ( X ) N o Fe e s D ue Tr u st e e
          Except in connect ion wit h a t rust ee’s sale aft er default by t he Borrower, no fees or expenses
          are payable by t he Client or GMAC- RFC t o t he t r ust ee under any Se cu r it y I n st r u m e n t t hat
          is a deed of t r ust .
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( Y) Ex e cut ion of D ocum e n t s
All agreem ent s, cont ract s, assignm ent s, endorsem ent s and issuances of checks or draft s,
report s, Loa n D ocu m e n t s or ot her papers relat ed t o a Loan t hat are required by t his Client
Guide t o be execut ed by t he Client have been proper ly execut ed by an officer on behalf of t he
Client pursuant t o a duly adopt ed Resolut ion of Board of Direct ors.

( Z) Le a se h olds
Where perm it t ed by t he applicable Loa n Pr ogr a m , each M or t ga ge d Pr e m ise s involving a
Le a se h old est at e com plies wit h t he applicable Leasehold warrant ies set fort h in t his Client
Guide.

( AA) Con dom in iu m s; Pla n n e d Un it D e v e lopm e n t s ( PUD s)
Each M or t ga ge d Pr e m ise s t hat is a unit in a condom inium or PUD com plies wit h t he
applicable condom inium or PUD warrant ies set fort h in t his Client Guide.

( BB) Com plia n ce By Ot h e r s
When a person or ent it y: ( i) originat es a Loan on behalf of a Client , ( ii) originat es a Loan on
it s own behalf and sells it t o a Client , or ( iii) perform s any act for a Client which t he Client is
required t o perform under t his Client Guide, t he Client warrant s t hat such person or ent it y
has com plied wit h all requir em ent s of t his Client Guide wit h respect t o all such Loans and
act s.

( CC) Clie n t Con t r a ct W a r r a n t ie s
The represent at ions and warrant ies m ade at t he t im e of t he Client ’s execut ion of t he Client
Cont ract m ust rem ain t rue, correct and com plet e.

( D D ) Clie n t a n d Or igin a t or s
     • I f t he Client sells Jum bo A or Expanded Crit eria Loans t o GMAC- RFC, t he Client is a
        savings and loan associat ion, savings bank, com m ercial bank, credit union, insurance
        com pany or sim ilar banking inst it ut ion w hich is supervised by a federal or st at e
        aut horit y or a H UD approved non- supervised m ort gagee.
    • Each Jum bo A and Expanded Crit eria Loan was: ( i) closed in t he nam e of t he Client , ( ii)
      closed in t he nam e of anot her ent it y t hat eit her is a savings and loan associat ion,
      savings bank, com m ercial bank, credit union, insurance com pany or sim ilar banking
      inst it ut ion which is supervised by a federal or St at e aut horit y, or a HUD approved non-
      supervised m ort gagee, and was so at t he t im e t he Loan was originat ed ( t he Client or
      such ot her ent it y shall be called t he “ originat or ” ) or ( iii) closed in t he nam e of t he loan
      broker.
    • All Loans closed in t he nam e of a loan broker ( including but not lim it ed t o Jum bo A and
      Expanded Crit eria Loans) were originat ed under t he circum st ances described in t he
      following sent ence: I f t he Loan was originat ed t hrough a loan broker, t he originat or
      appr oved t he Loan prior t o funding by t he loan broker and t he originat or acquired t he
      Loan from t he loan broker cont em poraneously wit h t he originat ion t hereof.
I f t he Client sells Loans t o GMAC- RFC which are regist ered wit h M ERS or as t o which MERS is
t he m ort gagee on t he Se cu r it y I n st r u m e n t , t he Client is a m em ber of MERS, in good
st anding and current in paym ent of all fees and assessm ent s im posed by MERS.
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          ( EE) N o I m pa ir m e n t of I n su r a n ce
          No act ion, er ror, om ission, m isrepresent at ion, negligence, fraud or sim ilar occurrence in
          respect of a Loan has t aken place on t he part of any person, including, wit hout lim it at ion, t he
          Borrower, any appraiser, any builder or developer or any part y involved in t he originat ion of
          t he Loan or in t he applicat ion of any insurance in relat ion t o such Loan t hat m ight result in a
          denial, cont est ing, failure or im pairm ent of full and t im ely coverage under any insurance
          policies requir ed t o be obt ained or any pool insurance policy covering such Loan.

          ( FF) Te m por a r y Buy dow ns
          Where perm it t ed by t he applicable Loa n Pr ogr a m , each Te m por a r y Buy dow n Loan
          delivered t o GMAC- RFC was ent ered int o pursuant t o a buydown agreem ent which com plies
          wit h t he Te m por a r y Bu ydow n s Sect ion of t his Client Guide.

          ( GG) Pr im a r y M or t ga ge I n su r a n ce Ca n ce lla t ion
          The Client has disclosed in writ ing t o t he Borrower t he t erm s and condit ions t hat m ust be
          m et prior t o t he prim ary m ort gage insurance being eligible for cancellat ion. A copy of t his
          disclosure has been ret ained in t he Loan file as a perm anent record.

          ( H H ) N o D e ficie n cy I n Escr ow D e posit s or Pa ym e n t s
          The Loan has been serviced by t he Client and any pr edecessor Se r vice r in accordance wit h
          t he t erm s of t he m ort gage Not e and all applicable law. Wit h respect t o escrow deposit s and
          escrow paym ent s, if any, all such paym ent s are in t he possession of, or under t he cont rol of,
          t he Client , and t here exist s no deficiency in connect ion t herewit h for which cust om ary
          arrangem ent s for repaym ent t hereof have not been m ade. No escrow deposit s, escr ow
          paym ent s or ot her charges or paym ent s due t he Client have been capit alized under any
          m ort gage or relat ed m ort gage Not e.

          ( I I ) Loa n Se cu r it iza t ion
          The Client recognizes t hat it is GMAC- RFC’s int ent t o securit ize som e or all of t he Loans sold
          t o GMAC- RFC by t he Client . The Client agrees t o provide GMAC- RFC w it h all such inform at ion
          concerning t he Client generally and, if applicable, t he Client ’s servicing experience, as m ay
          be reasonably request ed by GMAC- RFC for inclusion in a prospect us or privat e placem ent
          m em orandum published in connect ion wit h such securit izat ion.
          I n addit ion, t he Client will cooperat e in a sim ilar m anner wit h GMAC- RFC in connect ion wit h
          any whole Loan sale or ot her disposit ion of any Loan sold t o GMAC- RFC by t he Client . The
          Client agrees t o indem nify and hold GMAC- RFC harm less from and against any loss, dam age,
          penalt y, fine, forfeit ure, court cost , reasonable at t orneys’ fees, j udgm ent , cost , fee, expense
          or liabilit y incurred by GMAC- RFC as a result of any m at erial m isst at em ent in or om ission
          fr om any infor m at ion provided by t he Client t o GMAC- RFC; or fr om any claim , dem and,
          defense or assert ion against or involving GMAC- RFC based on or grounded upon, or result ing
          fr om such m isst at em ent or om ission or a breach of any represent at ion, warrant y or
          obligat ion m ade by GMAC- RFC in reliance upon such m isst at em ent or om ission.
          The Client furt her agrees t o cooperat e fully wit h GMAC- RFC, rat ing agencies, at t or neys, bond
          insurers, purchasers of Loans or any ot her part ies t hat m ay be involved in t he sale or
          securit izat ion of any Loan, including, wit hout lim it at ion, all cooperat ion as m ay be necessary
          in order t o accom m odat e due diligence act ivit y.
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                                                                                                  Covenants
( JJ) N on - Solicit a t ion
The Client has not solicit ed or provided inform at ion t o anot her part y for t he purpose of
solicit ing, and covenant s and agrees t hat it will not solicit or provide inform at ion t o anot her
part y for t he purpose of solicit ing, t he refinance of any Loan. The t erm “ solicit ” as used
herein shall m ean a direct request or offer t o refinance a servicing released Loan, and shall
not include general solicit at ions, advert isem ent s or prom ot ions direct ed t o t he public at
large.

( KK) N o Fr a u d or M isr e pr e se n t a t ion
No fraud or m isrepr esent at ion by t he Borrow er or by t he Client , broker, correspondent ,
appr aiser or any independent cont ract or ret ained by t he Client , broker, corr espondent ,
appr aiser or any em ployee of any of t he foregoing occurred wit h respect t o or in connect ion
wit h t he originat ion or underwrit ing of any Loan and all inform at ion and docum ent s provided
t o GMAC- RFC in connect ion wit h t he Loan are com plet e and accurat e.

( LL) Ex clu sion a r y List
No part y involved in t he originat ion of a Loan, including wit hout lim it at ion t he originat or,
broker, t it le com pany or appraiser, was nam ed on t he version of t he Ex clu sion a r y List t hat
was effect ive on t he dat e of t he prom issory Not e for t hat part icular Loan.
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          A205
          Proof of Compliance
          The Client will, upon t he request of GMAC- RFC, supply proof sat isfact ory t o GMAC- RFC of it s:
               ( 1) Com pliance wit h all repr esent at ions and warrant ies cont ained in t his Client Guide,
                    and
               ( 2) Com pliance wit h all local, St at e and federal laws, rules and regulat ions.

          A206
          Integrity of Information
          The Client is responsible for credit and propert y underw rit ing regardless of w het her t he
          inform at ion was provided by t he Client , an ent it y relat ed t o t he Client or designat ed by t he
          Client t o perform t he funct ion. This includes credit inform at ion, appraisals, or ot her
          docum ent s/ inform at ion used in t he Loan's evaluat ion.
          The Client should t ake all st eps necessary t o ensure t hat each Loan sold t o GMAC- RFC has
          been prudent ly originat ed and underwrit t en, and t hat all inform at ion supplied by, on behalf
          of, or concerning t he Borrower is t rue, accurat e and com plet e. The Client should ensure t hat
          int erest ed part ies are sufficient ly independent from t he Loan t ransact ion and t hat adequat e
          organizat ional cont r ols are in place t o ensur e t he independence, validit y and reliabilit y of t he
          Loan inform at ion.
          I n addit ion, t he Client should im plem ent prudent pract ices when relying on designat ed
          agent s ( such as escrow com panies, t it le com panies, et c.) in order t o ensure t hat t hey com ply
          wit h it s inst ruct ions and t hat t he int egr it y of t he Loan t ransact ion has been m aint ained.

          A207
          Third-Party Originators
          When relying on t he act ions or services of t hird- part y originat ors, t he Client should est ablish
          qualificat ion and eligibilit y st andards. The Client should consider t he funct ions being
          perform ed by t he t hird- part y originat or in est ablishing t hese st andards. These st andards
          should be review ed periodically t o ensur e ongoing eligibilit y by t he t hird- part y originat or.
          The Client is encouraged t o include t he follow ing it em s in form ulat ing it s qualificat ion and
          eligibilit y st andar ds and procedures:
               ( 1) Review personnel resum es and refer ences of m anagem ent and Loan originat ion st aff
                    ( Loan officers, processors, underwrit ers, closers, et c.)
               ( 2) Est ablish m inim um net wort h r equirem ent s and evaluat e t he financial viabilit y of t he
                    firm on an ongoing basis
               ( 3) Est ablish m inim um requirem ent s for errors and om issions insurance and fidelit y
                    bond coverage and m onit or ongoing com pliance wit h t hese st andards
               ( 4) Docum ent t he relat ionship wit h a cont ract ual agreem ent t hat cont ains specific
                    warrant ies relat ed t o each par t y’s responsibilit ies, as well as recourse right s in t he
                    event of warrant y violat ions
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    ( 5) Review t he perform ance of Loans originat ed by t hird part ies t o evaluat e t rends or
         pat t erns of D e lin qu e n cy
The Client should include a represent at ive, random sam ple of t hird- part y Loans in t he qualit y
cont rol program t hrough bot h pre- and post - closing qualit y cont rol audit s t o ensure t he
qualit y of Loan inform at ion.

A208
Events of Default
Any one or m ore of t he following event s const it ut e an Eve nt of D e fa u lt :
    ( 1) The Client has not com plied wit h one or m ore of t he requirem ent s ( including any
         requirem ent out lined in Chapt er 2, Client Eligibilit y) t erm s or condit ions out lined in
         t his Client Guide or one of t he disqualificat ion, suspension or inact ivat ion event s set
         fort h in t he D isqu a lifica t ion Su spe n sion or I n a ct iv a t ion Sect ion has occurred or
         occurs.
    ( 2) The Client has breached any agreem ent out lined or incorporat ed by reference in t he
         Client Cont ract or any ot her agreem ent bet ween t he Client and GMAC- RFC.
    ( 3) The Client breaches any of t he represent at ions, warrant ies or covenant s set fort h in
         t his Client Guide, fails t o perform it s obligat ions under t his Client Guide or t he
         Program Docum ent s, m akes one or m ore m isleading represent at ions, war rant ies or
         covenant s t o GMAC- RFC, or as failed t o provide GMAC- RFC wit h inform at ion t hat is
         t r ue, com plet e and accurat e.
    ( 4) The Borr ower or any ot her person or ent it y involved in t he Loan t ransact ion or in it s
         underwrit ing or docum ent at ion ( including any appraiser, broker, t hird- part y
         originat or, credit report ing agency, or ot her pr ovider of underwrit ing inform at ion)
         has m ade any false represent at ion and/ or has failed t o provide inform at ion t hat is
         t r ue, com plet e and accurat e in connect ion w it h such t ransact ion, w het her or not t he
         Client was a part y t o or had knowledge of such m isr epresent at ion or incorrect
         inform at ion.
    ( 5) Occurrence of an Event of Se r vice r Default wit h respect t o any Loans serviced by
         t he Client .
    ( 6) Term inat ion of servicing for cause is a basis for t he Client ’s im m ediat e
         disqualificat ion or suspension. Act ion t aken by GMAC- RFC t o t erm inat e servicing
         m ay be m erged wit h an act ion t o disqualify, suspend or inact ivat e t he Client .
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          A209
          Remedies of GMAC-RFC
          ( A) N on - Ex clu siv e , Cu m u la t ive Re m e die s
          GMAC- RFC m ay exercise any r em edy out lined in t his Client Guide or as allowed by law or in
          equit y. GMAC- RFC’s exercise of one or m ore rem edies in connect ion wit h a part icular Eve n t
          of D e fa u lt will not prevent it from exercising:
               • One or m ore ot her rem edies in connect ion wit h t he sam e Eve nt of D e fa ult
               • Any ot her right s which it m ay have at law or in equit y

          ( B) W a ive r of D e fa u lt s
          GMAC- RFC m ay waive any default by Client in t he perform ance of Client ’s obligat ions
          hereunder and it s consequences, but only by a writ t en waiver specifying t he nat ure and
          t erm s of such waiver. No such waiver shall ext end t o any subsequent or ot her default or
          im pair any right consequent t heret o, nor shall any delay by GMAC- RFC in exercising, or
          failure t o exercise, any right arising from such default affect or im pair GMAC- RFC’s right s as
          t o such default or any subsequent default .

          ( C) Su r v iva l of Re m e die s
          GMAC- RFC’s rem edies for breach of t he represent at ions, warrant ies and covenant s shall
          survive t he sale and delivery of t he Loan t o GMAC- RFC and funding of t he relat ed purchase
          price by GMAC- RFC, and will cont inue in full force and effect for t he rem aining life of t he
          Loans, not wit hst anding any t erm inat ion of t his Client Guide and t he relat ed Fu n din g
          D ocu m e n t s, or any rest rict ive or qualified endorsem ent on any m ort gage N ot e or
          assignm ent of m ort gage or Loan approval or ot her exam inat ion of or failur e t o exam ine any
          relat ed m ort gage Loan file by GMAC- RFC.
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A210
Repurchase
( A) Re pu r ch a se Obliga t ion s
I f GMAC- RFC det erm ines t hat an Ev e n t of D e fa u lt has occurred wit h respect t o a specific
Loan, t he Client agrees t o r epurchase t he Loan and it s servicing ( if t he Loan was sold
servicing released) wit hin 30 days of receiving a repurchase let t er or ot her writ t en
not ificat ion from GMAC- RFC.
I f t he Client discovers an Event of Default , it should give GMAC- RFC prom pt writ t en not ice.
Such not ice should include a writ t en descript ion of t he Event of Default . Upon receipt of t his
not ice, GMAC- RFC will review t hese m at erials and any addit ional inform at ion or
docum ent at ion t hat t he Client believes m ay influence GMAC- RFC’s decision t o requir e
repurchase. I f GMAC- RFC decides t o require repurchase, t he Client shall repurchase t he Loan
and t he servicing ( if t he Loan was sold servicing released) wit hin 30 days aft er GMAC- RFC’s
decision is com m unicat ed t o Client in writ ing.
To expedit e t he wiring of funds t o GMAC- RFC, t he Client should com plet e t he servicing
t ransfer inst ruct ion form provided by GMAC- RFC. GMAC- RFC will send t he form t o t he Client
along wit h t he not ificat ion of repurchase.
GMAC- RFC is not required t o dem and repurchase wit hin any part icular period of t im e, and
m ay elect not t o require im m ediat e repurchase. However, any delay in m aking t his dem and
does not const it ut e a waiver by GMAC- RFC of any of it s right s or rem edies.
Where GMAC- RFC det erm ines t hat repurchase of a Loan and/ or t he servicing is not
appr opriat e, t he Client shall pay GMAC- RFC all losses, cost s and expenses incurred by GMAC-
RFC and/ or t he Loan’s Se r vice r as a result of an Ev e n t of D e fa u lt . This includes all
reasonable at t orneys’ fees and ot her cost s and expenses incurred in connect ion wit h
enforcem ent effort s under t aken.
Upon t he Client ’s sat isfact ion of it s repurchase obligat ion, GMAC- RFC will endorse t he Not e
evidencing t he Loan in blank and w ill deliver it and ot her pert inent Loa n D ocu m e n t s t o t he
Client . I f GMAC- RFC acquired t it le t o any of t he real propert y securing t he Loan pursuant t o a
foreclosure sale and has not disposed of such propert y, it w ill t ransfer such propert y t o t he
Client on a “ quit claim ” basis or, if required by St at e law, a “ warrant y deed” basis. However, if
GMAC- RFC has disposed of t he real proper t y securing t he Loan, t he Loan Docum ent s will not
be ret urned t o t he Client unless request ed.
I f t he Client is also t he Se r vice r of a Loan repurchased by reason of t he occurrence of an
Event of Default , GMAC- RFC will not reim burse t he Client for any principal, int erest or ot her
advances m ade by t he Client wit h respect t o t hat Loan.
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          ( B) Re pu r ch a se Pr ice of Fir st M or t ga ge Pr ogr a m s
          I n t he event t he Client is obligat ed t o repurchase a Loan t he Client m ust pay t o GMAC- RFC a
          repur chase pr ice equal t o t he sum of:
               • The act ual principal balance of t he Loan at t he t im e of repurchase ( if t he Client sold t he
                 Loan t o GMAC- RFC at a discount or a prem ium , t he repurchase price above will be
                 adj ust ed t o reflect t he act ual principal balance m inus t he discount percent age
                 m ult iplied by t he act ual principal balance, or plus t he prem ium percent age m ult iplied
                 by t he act ual principal balance, as appr opriat e, including t hat price paid for Se r vicin g
                 Righ t s) , plus
               • All accr ued and unpaid int erest on t he Loan t hrough t he last day of t he m ont h of t he
                 dat e of repurchase; plus
               • All int erest , principal and ot her advances m ade t o invest ors and all out of pocket cost s
                 and expenses of any kind incurred by GMAC- RFC and/ or t he prim ary Se r vice r in
                 connect ion wit h t he Loan, including, but not lim it ed t o, advances for t axes or
                 insurance, and repair, foreclosure and insurance cost s and reasonable at t orneys’ fees;
                 plus
               • The am ount of t he buyout fee as calculat ed in t he Bu you t s a nd Ex t e nsion s Sect ion of
                 t his Client Guide; plus
               • I n t he event t hat GMAC- RFC or any of it s Affilia t e s is required t o repurchase t he Loan
                 fr om any subsequent assignee, t hen any addit ional am ount as m ay be required t o
                 m ake t he repurchase pr ice t hat t he Client is obligat ed t o pay hereunder equal t o t he
                 repurchase pr ice t hat GMAC- RFC or it s Affiliat e is required t o pay t o such subsequent
                 assignee; m inus
               • The net am ount of any proceeds r ealized by t he owner of t he Loan upon t he final
                 liquidat ion of t he Loan or t he M or t ga ge d Pr e m ise s t o an unrelat ed t hird part y.
          The D e signa t e d Se r v ice r will ret urn t o t he Client any escrow funds, unapplied funds and
          prepaid principal and int erest inst allm ent s.
          GMAC- RFC m ay dem and t hat a Client repurchase, and Client m ust repurchase, a Loan aft er
          foreclosure even if t he full am ount of it s out st anding debt was bid on by or on behalf of t he
          Loan’s owner t o acquire t he M or t ga ge d Pr e m ise s at t he foreclosure sale. I n t he event t he
          Client is obligat ed t o repurchase a Loan aft er foreclosure, t he repurchase price shall be
          calculat ed using t he form ula above, however Sch e du le d Pr in cipa l Ba la n ce shall be
          subst it ut ed for t he act ual principal balance.
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( C) Re pu r ch a se Pr ice of H om e Equ it y Loa n Pr ogr a m
I n t he event t he Client is obligat ed t o repurchase a Hom e Equit y Loan, t he Client m ust , upon
repurchase, service such Hom e Equit y Loan. The repurchase price for such Hom e Equit y Loan
shall be equal t o t he sum of:
    • The unpaid pr incipal balance of t he Hom e Equit y Loan
    • All accr ued and unpaid int erest on t he Hom e Equit y Loan
    • The am ount of all fees and/ or pur chase pr em ium paid, if any, t o t he Client by GMAC-
      RFC for originat ion of t he Hom e Equit y Loan
    • All fees paid t o any Se r v ice r or sub- servicer of a Hom e Equit y Loan by reason of t he
      t erm inat ion of t hat Servicer ’s or Sub- Servicer ’s right t o service t hat Hom e Equit y Loan
    • All cost s incurred or paid by GMAC- RFC or any Servicer in collect ing or enforcing t he
      Hom e Equit y Loan, including, wit hout lim it at ion, int erest or ot her cost s paid t o bring or
      m aint ain a prior lien current or up t o dat e, cost s t o insure or pay delinquent t axes,
      at t orneys’ fees, court cost s, appraisal and t it le expenses and ot her sim ilar cost s or
      expenses ( collect ively, “ Foreclosure Expenses” )
    • Any addit ional am ount GMAC- RFC or any of it s Affilia t e s is required t o pay t o
      repurchase t he Hom e Equit y Loan from a subsequent assignee
I n lieu of repurchasing a Hom e Equit y Loan t hat has not yet been foreclosed and accept ing
t he servicing of such Hom e Equit y Loan, GMAC- RFC m ay in it s sole discret ion allow Client t o
pay t o GMAC- RFC t he Est im at ed Loss ( as defined below) . Est im at ed Loss, as it relat es t o
each Hom e Equit y Loan subj ect t o repurchase, shall equal t he product of:
120% m ult iplied by t he result of:
    • Repurchase price as calculat ed above, plus
    • Accrued int erest on t he Hom e Equit y Loan t hrough t he dat e GMAC- RFC est im at es t hat
      t he Hom e Equit y Loan will be fully liquidat ed ( which in t he case of a foreclosure, shall
      m ean t he dat e t hat GMAC- RFC est im at es t hat t he M or t ga ge d Pr e m ise s will be sold t o
      a t hird part y and which in any ot her case m eans t he dat e t hat GMAC- RFC est im at es
      t hat all collect ion effort s on t he Hom e Equit y Loan will be abandoned) and est im at ed
      foreclosure and ot her enforcem ent expenses for t he ent ire collect ion process, less
    • Am ount by which t he curr ent m arket Value of t he M or t ga ge d Pr e m ise s as
      det erm ined by GMAC- RFC using valuat ion services provided by an independent t hird
      part y exceeds t he current out st anding am ount of indebt edness secured by t he
      Mort gaged Prem ises t hat is senior t o t he Hom e Equit y Loan.
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          ( D ) Re pu r ch a se Pr ice of a Se r vicin g Re le a se d Loa n
          I n t he event t he Client repurchases a Loan for which t he servicing has also been sold t o
          GMAC- RFC, t he Client will also be required t o repurchase t he servicing. I f t he repur chase of
          t he servicing of t he Loan is for any reason ot her t han a breach of t he D e lin qu e n cy Payoff/
          Liquidat ion warrant y cont ained in t he Servicing Released Cha pt e r 8 , t he Client m ust pay t o
          GMAC- RFC a repurchase price equal t o t he original Se r vicin g Pr e m iu m percent age
          m ult iplied by t he act ual unpaid principal balance at t he t im e of repurchase.
          I n no event however, will t he required repur chase Servicing Prem ium be great er t han t he
          original Servicing Prem ium paid t o t he Client .
          The D e sign a t e d Se r vice r will ret urn t o t he Client any escrow funds, Te m por a r y Bu ydow n
          funds, unapplied funds and prepaid pr incipal and int erest inst allm ent s. The Client will be
          required t o reim burse t he Designat ed Servicer for any delinquent principal and int erest
          advances, and any escrow advances and foreclosure expenses t hey have m ade and not
          recovered on a repurchased Loan.

          ( E) Re pu r ch a se As a Re su lt of Con ve r sion
          The Client ( or, if t he Client has t ransferred servicing of t he Loans, t he Se r vice r ) shall
          repurchase a Loan which has convert ed from an ARM t o a fixed- rat e m ort gage. The Servicer
          m ust subm it t he ARM Conversion Not ificat ion Report no less t han 15 days prior t o t he
          conversion dat e.
          I f t he Client or Servicer repurchases a convert ed Loan and subsequent ly resells t hat
          convert ed Loan t o GMAC- RFC, all t he Client ’s represent at ions and warrant ies wit h respect t o
          t hat Loan shall survive such repurchase and resale. I n addit ion, t he Client shall be subj ect t o
          all right s and rem edies ( including repurchase) available t o GMAC- RFC as a result of any
          m isrepresent at ion or breach of warrant y wit h respect t o t hat Loan pr ior t o conversion.
          The Client shall also subm it t he m odificat ion agreem ent if request ed by GMAC- RFC or it s
          assigns.
          Aft er it s receipt of t he Loan funds, GMAC- RFC will endorse t he Not e t o t he par t y which
          repurchased t he Loan. The Loan will t hen be assigned t o such part y, and all credit
          docum ent at ion will be ret urned. Failure t o subm it t he ARM Conversion Not ificat ion Report in
          a t im ely m anner m ay delay t he receipt of t he endorsed Not e and ot her legal docum ent s.
          The Se r v ice r shall subm it a Payoff/ Liquidat ion Report and wire t ransfer Loan funds t o t he
          GMAC- RFC Loa n Accou n t in g D e pa r t m e n t no lat er t han t he last Bu sin e ss D a y prior t o t he
          conversion dat e. The Servicer m ust rem it int erest for t he ent ire m ont h preceding t he
          conversion dat e. The Client shall at t ach a copy of t he ARM Conversion Not ificat ion Report .
          I f t he appropriat e am ount is not wired on t im e, GMAC- RFC will charge a lat e paym ent fee.
          This fee will equal t he am ount due m ult iplied by t he “ Pr im e Ra t e ” plus 3% m ult iplied by t he
          num ber of days overdue divided by 365. The t erm “ Prim e Rat e” shall m ean t he highest
          quot ed Prim e Rat e print ed in The Wall St r eet Journal in it s regular colum n “ Money Rat es” on
          t he first Bu sin e ss D a y of t he m ont h in which t he paym ent was due and not paid. I f t he
          Prim e Rat e is not available, GMAC- RFC will det erm ine a com parable rat e.
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( F) Su bst it u t ion
I nst ead of requiring t he Client t o repurchase a Loan as provided above, GMAC- RFC, at it s
discret ion, m ay allow t he Client t o subst it ut e anot her Loan sat isfact ory t o GMAC- RFC in place
of t he original Loan, wit hin 10 days of not ificat ion by GMAC- RFC, unless ot herwise not ified. I f
t he subst it ut ed Loan cont ains t erm s different from t hose of t he Loan t hat it is replacing, a
purchase price adj ust m ent will be calculat ed by GMAC- RFC based on m ar ket changes and
Loan charact erist ics. Every Loan subst it ut ed will be subj ect t o all agreem ent s, t erm s,
condit ions, represent at ions and warrant ies in t his Client Guide as of t he Su bst it u t ion D a t e .
I n t he event a Loan is eligible for purchase by GMAC- RFC but t he servicing is ineligible for
purchase by GMAC- RFC, t he Loan will be purchased and t he sale of servicing denied. GMAC-
RFC w ill not allow t he Client t o subst it ut e anot her servicing released Loan.

( G) Cost of Tr a n sfe r Fe e s D ue t o Re pu r cha se
The Client agrees t hat , if it is requir ed t o repurchase a Loan and t he relat ed Servicing, it will
pay all docum ent ary st am p t axes, recording fees, t ransfer t axes and all ot her expenses
payable in connect ion wit h t he repurchase and will indem nify and hold harm less GMAC- RFC
and t he D e signa t e d Se r v ice r against all losses, cost s and expenses, including at t orney
fees, result ing from such requir ed repurchases or t he breach giving rise heret o.

( H ) N ot ice a n d Appe a l
The Client m ay appeal GMAC- RFC’s decision by providing any addit ional inform at ion or
docum ent at ion it believes m ay affect GMAC- RFC’s det erm inat ion.
Send all not ificat ions and appeals t o:
      GMAC- RFC
      One Meridian Crossing
      Suit e 100
      Minneapolis, MN 55423
      At t ent ion: Repurchase Managem ent
Such inform at ion and docum ent at ion m ust be received wit hin 30 days aft er t he Client ’s
receipt of a repurchase let t er or sim ilar writ t en not ificat ion from GMAC- RFC. GMAC- RFC will
review all appeals and advise t he Client in writ ing of t he appeal decision. GMAC- RFC will in it s
sole discret ion det erm ine t he validit y of any appeal filed by t he Client . I f GMAC- RFC’s
decision rem ains firm following an appeal, t he Client shall repurchase t he Loan and it s
servicing ( if t he Loan was sold servicing released) wit hin 10 days of not ificat ion by GMAC-
RFC, in writ ing, t hat t he appeal has been denied.
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   ( 17) The Client or Se r vice r ’s failure t o m aint ain a qualified Loan originat ion, servicing
         and qualit y cont r ol st aff, an accept able ongoing qualit y cont rol program , adequat e
         facilit ies and writ t en policies and procedures t o ensure:
         • The invest m ent qualit y of Loans sold t o GMAC- RFC
         • The adequacy of t he servicing of Loans purchased by GMAC- RFC OR
   ( 18) The failure of t he Client or t he Se r vice r t o m eet any t est as m ay be prescribed for
         eligibilit y,
   ( 19) The det erm inat ion by GMAC- RFC t hat a Client has not delivered an adequat e volum e
         of Loans t o GMAC- RFC.

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Indemnification
The Client shall indem nify GMAC- RFC fr om all losses, dam ages, penalt ies, fines, forfeit ures,
court cost s and reasonable at t orneys’ fees, j udgm ent s, and any ot her cost s, fees and
expenses result ing from any Ev e n t of D e fa u lt . This includes any act or failure t o act or any
breach of war rant y, obligat ion or repr esent at ion cont ained in t he Client Cont ract ; or from any
claim , dem and, defense or assert ion against or involving GMAC- RFC based on or result ing
fr om such breach or a breach of any represent at ion, warrant y or obligat ion m ade by GMAC-
RFC in reliance upon any warrant y, obligat ion or represent at ion m ade by t he Client cont ained
in t he Client Cont ract .
I n addit ion, Client shall indem nify GMAC- RFC against any and all losses, dam ages, penalt ies,
fines, forfeit ures, j udgm ent s, and any ot her cost s, fees and expenses ( including court cost s
and reasonable at t orneys’ fees) incurred by GMAC- RFC in connect ion wit h any lit igat ion or
governm ent al proceeding t hat alleges any violat ion of local, St at e or federal law by Client , or
any of it s agent s, or any originat or or broker in connect ion wit h t he originat ion or servicing of
a Loan. Wit h regard t o legal fees or ot her expenses incurr ed by or on behalf of GMAC- RFC in
connect ion wit h any such lit igat ion or governm ent al proceeding, Client shall reim burse
GMAC- RFC for such fees and expenses. Reim bursem ent shall be m ade direct ly t o GMAC- RFC
wit hin t en days of receipt of a request for paym ent , which request shall include copies of t he
relevant invoices. Except for not ices for reim bursem ent , GMAC- RFC is not required t o give
Client not ice of any lit igat ion or governm ent al proceeding t hat m ay t rigger indem nificat ion
obligat ions. Client shall inst ruct it s officers, direct ors and agent s ( including legal counsel) t o
cooperat e wit h GMAC- RFC in connect ion wit h t he defense of any lit igat ion or governm ent al
proceeding involving a Loan. GMAC- RFC has t he right t o cont rol any lit igat ion or
governm ent al proceeding relat ed t o a Loan, including but not lim it ed t o choosing defense
counsel and m aking set t lem ent decisions.
The Client also shall indem nify GMAC- RFC and hold it harm less against all court cost s,
at t orney’s fees and any ot her cost s, fees and expenses incurred by GMAC- RFC in enforcing
t he Client Cont ract . The obligat ions of t he Client under t his Sect ion shall survive t he
D e live r y D a t e , t he Fu n din g D a t e ( and each Su bst it u t ion D a t e , if applicable) and t he
t erm inat ion of t he Client Cont ract and t he disqualificat ion, suspension or inact ivat ion of t he
Client .
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          A201
          Specific Representations, Warranties and Covenants Concerning Client
          ( A) D u e Or ga n iza t ion ; Good St a n ding; Lice n sing
          Client and, t o Client ’s knowledge, Client ’s Guarant or, if applicable, is and shall cont inue t o be
          duly organized, validly exist ing, and in good st anding under t he laws of t he Unit ed St at es or
          under t he laws of t he j urisdict ion in which it was incorporat ed or organized, as applicable,
          and has and shall cont inue t o m aint ain all licenses, regist rat ions, and cert ificat ions necessary
          t o carry on it s business as now being conduct ed, and is and will cont inue t o be licensed,
          qualified, and in good st anding in each St at e where a Mort gaged Propert y is locat ed if t he
          laws of such St at e require licensing or qualificat ion in order t o conduct business of t he t ype
          conduct ed by Client and, in any event , Client is and will rem ain in com pliance wit h t he laws
          of any such St at e, and is and will rem ain in good st anding wit h federal aut horit ies, t o t he
          ext ent necessary t o ensure t he enforceabilit y of t he relat ed Loan. Client has disclosed t he
          final writ t en report s, act ions and/ or sanct ions of any and all reviews, invest igat ion,
          exam inat ions, audit s, act ions and/ or sanct ions t hat have been undert aken and/ or im posed,
          wit hin t wo years prior t o t he dat e of t he Client Cont ract , by any federal or St at e agency or
          inst rum ent alit y wit h respect t o eit her t he lending or relat ed financial operat ions of Client , or
          t he abilit y of Client t o perform in accordance wit h t he Program Docum ent s t erm s. Each of t he
          represent at ions and warrant ies m ade by Client in it s Client Applicat ion is t r ue, accurat e, and
          com plet e, and is deem ed t o be rem ade in it s ent iret y, as of t he dat e of t he Client Cont ract ,
          and as of each Fu n din g D a t e .

          ( B) Au t h or it y
          Client has and will m aint ain t he full corporat e, part nership or lim it ed liabilit y com pany power
          and aut horit y t o execut e and deliver t he Program Docum ent s and t o perform t he t erm s of
          t his Client Guide. The execut ion, delivery, and perform ance of t he Program Docum ent s and
          t he perform ance of t he t erm s of t his Client Guide by Client , and t he consum m at ion of t he
          t r ansact ions cont em plat ed, have been duly and validly aut horized. The Program Docum ent s
          and t his Client Guide evidence Client ’s legal valid, binding, and enforceable obligat ions. All
          requisit e corporat e, part nership or lim it ed liabilit y com pany act ion has been t aken by Client
          t o m ake t he Program Docum ent s and t he t erm s of t his Client Guide valid and binding upon
          Client and enforceable in accordance wit h t heir respect ive t er m s.

          ( C) Or din a r y Cou r se of Bu sin e ss
          The consum m at ion of t he t ransact ions cont em plat ed by t he Program Docum ent s and t he
          Client Guide t erm s are in Client ’s or dinary course of business, and t he t ransfer, assignm ent ,
          and conveyance of t he Mort gage Not es and t he Mort gages by Client , pur suant t o t he
          Program Docum ent s and t he Client Guide t erm s are not subj ect t o t he bulk t ransfer laws or
          any sim ilar st at ut ory provisions in effect in any applicable j urisdict ion.
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                                                                                                     Representations,
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( D ) N o Con flict s
Neit her t he execut ion and delivery of t he Program Docum ent s, t he acquisit ion and/ or m aking
of t he Loans by Client , t he sale of t he Loans t o GMAC- RFC or t he t ransact ions cont em plat ed
t hereby or pursuant t o t his Client Guide, nor t he fulfillm ent of or com pliance wit h t he
Program Docum ent s t erm s and condit ions, will conflict wit h or result in a br each of any of t he
t erm s, condit ions, or provisions of Client 's art icles of incorporat ion, chart er, by- laws,
part nership agreem ent , or ot her organizat ional docum ent , or of any legal rest rict ion or
regulat ory direct ive or any agreem ent or inst r um ent t o which Client is now a part y or by
which it is bound, or const it ut e a default or result in an accelerat ion under any of t he
foregoing, or result in t he violat ion of any law, rule, regulat ion, order, j udgm ent , or decree t o
which Client , or any of it s propert y is subj ect , or im pair t he abilit y of GMAC- RFC t o realize on
any of t he Loans, or im pair t he Value of any of t he Loans.

( E) Abilit y t o Pe r for m
Client has t he abilit y t o perform each and every obligat ion of and/ or sat isfy each and ever y
requirem ent im posed on, Client pursuant t o t he Program Docum ent s and t his Client Guide,
and no offset , count erclaim , or defense exist s t o t he full perfor m ance by Client of t he
requirem ent s of Program Docum ent s and t his Client Guide.

( F) N o Lit iga t ion Pe n din g
There is no act ion, suit , proceeding, inquiry, review, audit , or invest igat ion pending or
t hreat ened against Client t hat , eit her in any one inst ance or in t he aggregat e, m ay r esult in
any m at erial adverse change in t he business, operat ions, financial condit ion, propert ies, or
asset s of Client , or in any m at erial liabilit y on t he part of Client , or which would draw int o
quest ion t he validit y or enforceabilit y of any of t he Program Docum ent s, t his Client Guide, or
t he Loans or of any act ion t aken or t o be t aken in connect ion wit h Client ’s obligat ions
cont em plat ed in any of t he Program Docum ent s or t his Client Guide, or which would be likely
t o im pair m at erially Client ’s abilit y t o perform under t he t erm s of t he Program Docum ent s or
t his Client Guide.

( G) N o Con se n t Re qu ir e d
No consent , approval, aut horit y, or order of any court or governm ent al agency or body is
required for t he execut ion and perfor m ance by Client of, or com pliance by Client wit h, any of
t he Program Docum ent s or t his Client Guide, t he sale of any of t he Loans, or t he
consum m at ion of any of t he t ransact ions cont em plat ed by any of t he Purchase Docum ent s,
or, if required, such uncondit ional approval has been obt ained pr ior t o t he relat ed Fu n din g
Date.

( H ) N o Un t r u e I n for m a t ion
Neit her t he Program Docum ent s, t he Client Applicat ion, t his Client Guide, nor any st at em ent ,
report , or ot her docum ent furnished or t o be furnished by Client pursuant t o t he Program
Docum ent s or t his Client Guide, cont ains any unt rue st at em ent of m at erial fact or om it s t o
st at e a m at erial fact necessary t o m ake t he st at em ent s cont ained t herein not m isleading.
Client m eet s GMAC- RFC’s Eligibilit y St andards, and shall t ake all st eps necessary t o cont inue
t o m eet such Eligibilit y St andards.
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          ( I ) Se cu r it ie s La w
          The Client represent s t hat t he Loans ar e not “ securit ies” under any federal or St at e securit ies
          laws or any rules or regulat ions t hereunder and t hat t he t ransact ions cont em plat ed by t his
          Client Guide do not require regist rat ion under, and are not subj ect t o, any federal or St at e
          securit ies laws or any rules or regulat ions t hereunder.

          ( J) N o Accr u e d Lia bilit ie s
          Except as m ay be ot herwise disclosed by Client t o GMAC- RFC and acknowledged by GMAC-
          RFC in writ ing prior t o t he dat e of t he Client Cont ract , t here are no accrued liabilit ies of
          Client , wit h respect t o any of t he Loans, or circum st ances under which any such accrued
          liabilit ies will arise against GMAC- RFC, as successor t o Client ’s int erest s in and t o t he Loans,
          wit h r espect t o any act ion or failure t o act by Client occurring on or prior t o t he Fu n din g
          Date.

          ( K) Or igin a t ion , Se r vicin g
          Client ’s originat ion and servicing of t he Loans have been legal, pr oper, prudent , and
          cust om ary and have conform ed t o t he highest st andards of t he resident ial m ort gage
          originat ion and servicing business.

          ( L) Com plia n ce W it h La w s
          Client has com plied wit h, and has not violat ed any law, ordinance, requirem ent , regulat ion,
          rule, or order applicable t o it s business or proper t ies, t he violat ion of which m ight adversely
          affect t he operat ions or financial condit ions of Client , or t he abilit y of Client t o consum m at e
          t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide.

          ( M ) Com plia n ce W it h Pr ogr a m D ocu m e n t s a n d Clie n t Gu ide
          Client will com ply wit h all provisions of t his Client Guide and t he Program Docum ent s, and
          will pr om pt ly not ify GMAC- RFC of any occurrence, act , or om ission regarding Client , t he
          Loan, t he Mort gaged Propert y or t he Mort gagor of which Client has knowledge, which
          occurrence, act , or om ission m ay m at erially affect Client , t he Loan, t he Mort gaged Propert y,
          or t he Mort gagor.

          ( N ) N o D e fe n se s Aga in st GM AC- RFC
          The Client has no j udgm ent , court order, claim , count erclaim , defense, right of set- off or
          sim ilar right against GMAC- RFC.
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                                                                                                    Covenants

A202
Specific Representations, Warranties and Covenants Concerning Individual Loans
For all Loans, t he Client represent s, warrant s and covenant s t o GMAC- RFC as follows:

( A) Loa n s Ar e Eligible ; Accu r a cy of I n for m a t ion
Each of t he Loans delivered and sold t o GMAC- RFC m eet s t he applicable program t erm s and
crit eria set fort h in t his Client Guide. All inform at ion relat ing t o each Loan delivered and sold
t o GMAC- RFC is t rue, com plet e and accurat e and t here are no om issions of m at erial fact s. All
dat a provided by t he Client t o GMAC- RFC relat ing t o any Loan, w het her in elect ronic form at ,
or ot herwise, is t rue and com plet e and accurat ely reflect s t he inform at ion in t he relat ed Loan
file.

( B) Com plia nce W it h W a r r a n t ie s
The Client is in com pliance wit h, and has t aken all necessary act ion t o ensure t hat each Loan
is in com pliance wit h all represent at ions, warrant ies and requirem ent s cont ained in t his
Client Guide.

( C) Loa n Pr ovision s
The provisions of t he Loan have not been im paired, waived, alt ered or m odified in any
respect , unless appr oved in writ ing by GMAC- RFC. The issuer of any relat ed PMI Policy and
t he t it le insurer have approved t he subst ance of any such waiver, alt erat ion, or m odificat ion
t o t he ext ent required by t he respect ive policies. No Mort gagor has been r eleased, in whole
or in part .

( D ) D ocu m e n t s
All Loa n D ocu m e n t s, Fun din g D ocu m e nt s and Fin a l D ocum e n t s ar e genuine, have been
com plet ed, duly and properly execut ed, are in r ecordable form and delivered in t he for m and
m anner specified in t his Client Guide, and each Loan is t he Mort gagor ’s legal, valid and
binding obligat ion enforceable in accordance wit h it s t erm s. All originals and copies of such
docum ent s and all ot her docum ent s, m at erials, and ot her inform at ion required t o be
subm it t ed t o GMAC- RFC have been so subm it t ed, and are com plet e and accurat e. All Loan
Docum ent s, Funding Docum ent s, Final Docum ent s and all ot her docum ent s describing or
ot herwise relat ing t heret o are in com pliance wit h all applicable local and St at e laws,
regulat ions and orders.
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          ( E) Ow n e r sh ip; Tr a n sfe r
          The Client has good t it le t o and is t he sole owner of, each Loan delivered and sold t o GMAC-
          RFC. Except for t he securit y int erest of a warehouse lender, which securit y int erest Client has
          disclosed t o GMAC- RFC in writ ing, t he assignm ent of t he Loan by t he Client validly t ransfers
          such Loan t o GMAC- RFC free and clear of any pledge, lien or securit y int erest or ot her
          encum brance.
          For each Loan regist er ed wit h M ERS, t he Client represent s t hat ( a) if t he Se cu r it y
          I n st r u m e n t relat ing t o such Loan ident ifies MERS as t he original m ort gagee of record, such
          Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o MERS solely as
          nom inee for t he Client and it s successors and assigns and t hat such Securit y I nst rum ent has
          been properly execut ed, acknowledged, delivered and recorded in all places necessary t o
          perfect t he securit y int erest on t he M or t ga ge d Pr e m ise s in favor of MERS, solely as
          nom inee for t he Client and it s successors and assigns; or ( b) if t he Loan is regist ered wit h
          MERS, and MERS is not t he original m ort gagee of record, an assignm ent t o MERS has been
          prepared, duly execut ed and recorded and t he chain of assignm ent s is com plet e and
          recorded from t he original m ort gagee t o MERS. Client furt her repr esent s t hat it has com plied
          wit h all rules and procedures of MERS for it s assignm ent of t he Securit y I nst rum ent t o
          GMAC- RFC, including, am ong ot her t hings, t hat t he Client has confirm ed t he t ransfer on
          MERS t o GMAC- RFC.

          ( F) D isbu r se m e n t s; N o Pa yoffs or Fut u r e Adva nce m e nt s
          Each Loan has been closed and fully disbursed, except as perm it t ed in t he Escr ow Accou n t
          for Post pon e d I m pr ove m e nt s/ Re pa ir s Sect ion of t his Client Guide. There are no payoffs,
          assum pt ions or insurance claim s pending on any Loan or pert aining t o t he Mort gaged
          Prem ises and t he Borrower m ay not exercise any opt ion under any of t he Loa n D ocu m e n t s
          t o borrow addit ional funds secured t hereby from t he Client or any ot her person or ent it y
          wit hout t he Not eholder ’s consent .
          Addit ionally, t he Client warrant s t hat t he Client has not m ade arrangem ent s wit h any
          Borrower for any paym ent forbearance or fut ure r efinancing w it h respect t o any Loan.

          ( G) N o D e fa u lt
          There is no default , breach, violat ion or event of accelerat ion exist ing under any Not e or
          Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, and no event exist s which, wit h not ice and
          t he expirat ion of any grace or cure period, w ould const it ut e a default , breach, violat ion or
          event of accelerat ion, and no such default , breach, violat ion or event of accelerat ion has
          been waived by t he Client or by any ot her ent it y involved in originat ing or servicing t he Loan.

          ( H ) N o D e fe n se s
          Except as provided in a buydown or subsidy agreem ent , if any, m eet ing t he requirem ent s set
          fort h in t his Client Guide, t he Borrower ( including any part y secondarily liable under t he
          Loa n D ocu m e n t s) has no right of set- off, defense, count erclaim or right of rescission t o any
          Loan Docum ent .
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                                                                                                    Covenants
( I ) Com plia nce w it h La w
The sale and t ransfer of each Loan t o GMAC- RFC does not violat e any applicable St at e laws.
To t he ext ent t hat any applicable St at e law places any rest rict ions on t he t ransfer of any
Loan, t he Client has not ified GMAC- RFC in writ ing of t hat rest rict ion and any relat ed St at e
licensing or regist rat ion requirem ent s.
The Se cu r it y I n st r u m e n t has been properly execut ed, acknowledged, delivered and
recorded in all places necessary t o perfect t he securit y int erest in t he M or t ga ge d Pr e m ise s
in favor of t he Client and it s successors and assigns. I f a Loan is regist ered wit h M ERS, and
MERS is ident ified on t he Securit y I nst rum ent as t he original m ort gagee of record, Client
represent s t hat such Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o
MERS solely as nom inee for t he Client and it s successors and assigns. I f t he Loan is
regist ered wit h MERS, and MERS is not t he original m ort gagee of record, Client represent s
t hat an assignm ent t o MERS has been prepared, duly execut ed and r ecorded and t he chain of
assignm ent s is com plet e and recorded from t he original m ort gagee t o MERS and Client
furt her represent s t hat it has com plied wit h all rules and procedures of MERS for it s
assignm ent of t he Securit y I nst rum ent t o GMAC- RFC, including, am ong ot her t hings, t hat
Client has confirm ed t he t ransfer on MERS t o GMAC- RFC.
Each GMAC- RFC Loan Applicat ion ( Fa n n ie M a e 1003/ Fr e ddie M a c Form 65) was t aken from
t he Borrower and processed for each Loan, and each Loan has been originat ed, closed, and
t ransferred in com pliance wit h all applicable local, St at e and federal laws and regulat ions
including, but not lim it ed t o, t he Real Est at e Set t lem ent Procedures Act , t he Fair Credit
Report ing Act , t he Equal Credit Opport unit y Act , t he Trut h- in- Lending Act , t he Fair Housing
Act , and t he Nat ional Flood I nsurance Act . This warrant y is m ade by t he Client w it h respect
t o each GMAC- RFC Loan Applicat ion t aken and pr ocessed for each Loan and wit h r espect t o
each Loan m ade by t he Client or any ot her ent it y.

( J) Re spon sible Le n din g Re pr e se nt a t ions, W a r r a n t ie s a nd Cove n a n t s
     ( 1 ) D iscon t in u e d Loa n
         No Loan is a “ Discont inued Loan”. Discont inued Loan m eans any of t he following,
         regardless of whet her t he originat or is required by law t o com ply wit h t he law or has
         grounds t o claim preem pt ion from all or par t of t he law.
         ( a) HOEPA/ Sect ion 32
              A loan considered a “ m or t gage” under Sect ion 152 of t he Hom e Ownership and
              Equit y Prot ect ion Act of 1994, 15 U.S.C. Sect ion 1602 ( aa) and t he relat ed
              regulat ions and com m ent ary prom ulgat ed by t he Federal Reserve Board,
              including Sect ion 226.32 of Tit le 12 of t he Code of Federal Regulat ions, and t he
              official st aff com m ent ary t o t hose regulat ions.
         ( b) Purchase Money Loans wit h High Point s or Fees
              A “ purchase m oney” loan secured by t he consum er ’s principal dw elling t hat
              exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
              Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
              by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
              Federal Regulat ions. A “ purchase m oney” loan is a loan t hat is considered a
              “ resident ial m ort gage t ransact ion” under Sect ion 226.2( 24) of Tit le 12 of t he
              Code of Federal Regulat ions.
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                    ( c) Hom e Equit y Lines of Credit That Exceed t he HOEPA Triggers
                        An open- end line of credit secured by t he consum er ’s principal dwelling t hat
                        exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
                        Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
                        by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
                        Federal Regulat ions. “ Point s and fees” m ust be calculat ed in accordance wit h
                        Sect ion 226.32 of Tit le 12 of t he Code of Regulat ions and t he relat ed
                        com m ent ary prom ulgat ed by t he Federal Reserve Board. The “APR” is t he fully
                        indexed rat e or t he init ial rat e, whichever is great er, at t he t im e of
                        consum m at ion. The “ t ot al loan am ount ” is t he t ot al credit line available under
                        t he t erm s of t he loan, wit hout subt ract ing any am ount s for closing cost s.
                    ( d) St at e and Local High Cost Loans
                        A loan considered a “ high- cost ,” covered, “ high- risk,” “ predat ory” or any ot her
                        sim ilar designat ion under any st at e or local law in effect at t he t im e of t he
                        closing of t he loan if t he law im poses great er rest rict ions or addit ional legal
                        liabilit y for resident ial m ort gage loans wit h high int erest rat es, point s and/ or
                        fees.
                    ( e) Cer t ain Georgia Hom e Loans
                        A “ hom e loan” under t he Georgia Fair Lending Act , Ga. Code Ann. Sect ion 7- 6A-
                        1 et . seq. t hat becam e effect ive on Oct ober 1, 2002 ( t he “Act ” ) , if t he
                        com m it m ent was issued on or aft er February 1, 2003 and t he loan was closed on
                        or before March 7, 2003.
                    ( f) Cer t ain New Jersey Hom e Loans
                        A “ hom e loan” under t he New Jersey Hom e Ownership Securit y Act of 2002 ( t he
                        “Act ” ) , N.J.S.A. 46: 10B- 22 et seq. if t he loan is:
                           • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
                           • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                           • A “ hom e loan” t hat is an open- end line of credit ;
                           • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                             out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
                    ( g) Cer t ain New Mexico Hom e Loans
                        A “ hom e loan” under t he New Mexico Hom e loan Prot ect ion Act ( t he “Act ” ) , t hat
                        was closed on or aft er February 1, 2004, and on or before February 26, 2004, if
                        t he loan is:
                           • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
                           • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                           • A “ hom e loan” t hat is an open- end line of credit ;
                           • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                             out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
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                                                                                                         Covenants
    ( 2 ) M a n da t or y Ar bit r a t ion Cla u se
         A Loan m ay not include a m andat ory arbit rat ion clause. Any arbit rat ion agreem ent
         signed by t he Borrower prior t o t he t im e of a disput e is prohibit ed.
    ( 3 ) Pr oh ibit e d Te r m s a n d Pr a ct ice s on a ll Loa n s sold t o GM AC- RFC
         A Loan m ay not violat e any of t he following pr ohibit ed t er m s and pract ices:
         ( a) Pr e - pa id in su r a n ce pr odu ct s. No Loan finances single prem ium credit life,
              credit disabilit y, credit unem ploym ent , or any ot her pre- paid life or healt h
              insurance, direct ly or indirect ly.
         ( b) Pr e pa ym e n t pe n a lt ie s. A Loan m ay not provide for a penalt y for paying all or
              part of t he principal before t he dat e on which t he principal is due except as set
              fort h in t his paragraph and ot herwise allowed by applicable federal, St at e, and
              local law.
                  • The penalt y m ay be enforced for only t he first five years following
                    consum m at ion;
                  • The penalt y does not exceed 6 m ont hs of int erest on t he am ount prepaid or
                    6% of t he am ount prepaid; and
                  • The prepaym ent penalt y does not becom e due upon default
         ( c) Re por t in g t o cr e dit bur e a u s. Client or it s Se r vice r m ust report t o a nat ionally
              recognized consum er credit report ing agency at least quart erly t he favor able
              and unfavorable paym ent hist ory inform ation of Borrower on paym ent s due t o
              Client on a Loan for t he period during which Client holds or services t he Loan.
              This paragraph shall not prevent Client or it s Servicer from not r eport ing specific
              paym ent hist ory inform at ion in t he event of a resolved or unresolved disput e
              wit h Borrower and shall not apply t o Loans held or serviced by Client for less
              t han 90 days.
         ( d) I n cr e a se d in t e r e st r a t e u pon de fa u lt . A Loan m ay not provide for an
              increase in t he int erest rat e aft er default .

( K) Tit le I n su r a n ce
A policy of t it le insurance, in t he form and am ount required by t his Client Guide, is effect ive
as of t he day t he Se cu r it y I n st r u m e n t is recorded, is valid and binding, is in conform ance
wit h all agency guidelines and rem ains in full force and effect , unless t he M or t ga ge d
Pr e m ise s are locat ed in t he St at e of I owa and a Tit le Guarant y Cert ificat e issued by t he
I owa Tit le Guarant y Division of t he I owa Finance Aut horit y has been provided as described in
Tit le Guarant y Cert ificat e I n I owa below.

( L) Tit le Gu a r a n t y Ce r t ifica t e I n I ow a
As t o each Loan secured by Mort gaged Prem ises locat ed in t he St at e of I owa, and if an
Am erican Land Tit le Associat ion ( ALTA) Loan policy of t it le insurance has not been provided,
a Tit le Guarant y Cert ificat e issued by t he I owa Tit le Guarant y Division of t he I owa Finance
Aut horit y, in t he form and am ount required by t his Client Guide, duly delivered and effect ive
as of t he closing of each such Loan, is valid and binding, and rem ains in full force and effect .
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          ( M ) Va lid Fir st Lie n s
          Each Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, unless provided for ot herwise in a
          given Loa n Pr ogr a m , const it ut es a valid first lien on t he M or t ga ge d Pr e m ise s subj ect only
          t o t he m inor im pedim ent s described in t he Tit le I n su r a n ce Sect ion of t his Chapt er, and
          such im pedim ent s do not adversely affect t he Value, use, enj oym ent or m arket abilit y of t he
          Mort gaged Prem ises. Each Securit y I nst rum ent and all relat ed docum ent s ( including, wit hout
          lim it at ion, releases of prior Securit y I nst rum ent s, assum pt ion agreem ent s, assignm ent s,
          am endm ent s, powers of at t orney, and m odificat ion, ext ension and consolidat ion
          agreem ent s) t hat ar e required t o be recorded or filed under applicable law in order t o
          preserve in favor of GMAC- RFC t he validit y and enforceabilit y of t he Securit y I nst rum ent and
          t he liens creat ed t hereby, have been duly recorded in all appropriat e recor ding offices, and
          all associat ed recording fees or t axes m ust be paid.

          ( N ) N o En cr oa ch m e n t s By Adj oin in g Pr ope r t ie s; I m pr ov e m e n t s
          No im provem ent s by adj oining pr opert ies encroach upon t he Mort gaged Prem ises in any
          respect so as t o affect t he Value or m arket abilit y of t he Mort gaged Prem ises. No
          im provem ent locat ed on or being part of t he Mort gaged Propert y is in violat ion of any
          applicable zoning law or regulat ion.

          ( O) Su r v e y
          All im provem ent s which were considered in det erm ining t he appraised Value of t he
          M or t ga ge d Pr e m ise s lie wholly wit hin it s boundaries and t he building rest rict ion lines of t he
          Mort gaged Prem ises, or t he policy of t it le insurance insures against loss or dam age by reason
          of any violat ion, variat ion, encroachm ent or adverse circum st ance t hat eit her is disclosed or
          would have been disclosed by an accurat e survey.

          ( P) N o Lie n s
          There are no delinquent t ax or delinquent assessm ent liens against t he Mort gaged Prem ises,
          and t here are no m echanic’s liens or claim s for w ork, labor or m at erial or any ot her liens
          affect ing t he Mort gaged Prem ises, which are or m ay be a lien prior t o, or equal wit h, t he lien
          of t he Se cu r it y I n st r u m e n t assigned t o GMAC- RFC, except t hose liens t hat are insured
          against by t he policy of t it le insurance or Tit le Guarant y Cert ificat e issued by t he I owa Tit le
          Guarant y Division.

          ( Q) N o Adve r se Cir cu m st a n ce s
          The Mort gaged Prem ises are free of dam age and in good repair, and no not ice of
          condem nat ion has been given wit h respect t heret o, and no circum st ances exist involving t he
          Loa n D ocu m e n t s, t he M or t ga ge d Pr e m ise s or t he Borrow er ’s credit st anding t hat could:
          ( i) cause privat e inst it ut ional invest ors t o regard t he Loan as an unaccept able invest m ent ,
          ( ii) cause t he Loan t o becom e delinquent , or ( iii) adversely affect t he Value or m arket abilit y
          of t he Mort gaged Prem ises or t he Loan. The Client warrant s t hat it neit her has act ual
          knowledge of t he presence of, nor reasonable gr ounds t o suspect t he presence of, any t oxic
          m at erials or ot her environm ent al hazards on, in or t hat could affect any of t he Mort gaged
          Prem ises. The Client warrant s com pliance wit h local, St at e or federal law or regulat ion
          designed t o pr ot ect t he healt h and safet y of t he occupant s of t he propert y.
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                                                                                                  Covenants
( R) Ca su a lt y I n su r a n ce
The im provem ent s upon t he M or t ga ge d Pr e m ise s are insured against loss by fir e and ot her
hazards as required by t his Client Guide, including flood insurance if required under t he
Nat ional Flood I nsurance Act of 1968, as am ended. The Se cu r it y I n st r u m e n t r equires t he
Borrower t o m aint ain such casualt y insurance at t he Borrower ’s expense, or on t he
Borrower ’s failure t o do so, aut horizes t he holder of t he Securit y I nst rum ent t o obt ain and
m aint ain such insurance at t he Borrower ’s expense and t o seek reim bursem ent from t he
Borrower. Each casualt y policy is t he insurer ’s valid and binding obligat ion, is in full force and
effect , and w ill be in full force and effect , t o GMAC- RFC’s benefit upon t he consum m at ion of
t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide. The Loan
t erm s per m it t he m aint enance of an escrow account t o pay t he prem ium s for t he above
m ent ioned insurance, and t he Client has not waived t he requirem ent of such escrow account
unless perm it t ed by GMAC- RFC or requir ed by applicable law.

( S) Pr im a r y M or t ga ge I n su r a n ce
I f requir ed by t his Client Guide, prim ar y m ort gage insurance has been obt ained, t he
prem ium has been paid, and t he m ort gage insurance coverage is in full force and effect
m eet ing t he requirem ent s of t his Client Guide.

( T) Un de r w r it in g; Appr a isa l; Appr a ise r
The Loan is of invest m ent qualit y, has been prudent ly originat ed and has been underwrit t en
in com pliance wit h all requirem ent s of t his Client Guide.
For each Loan for which an appraisal is required or obt ained under t his Client Guide, ( a) The
appraisal was m ade by an appraiser who m eet s t he m inim um qualificat ions for appraisers as
specified in t his Client Guide, and ( b) as of t he Fu n din g D a t e , t he m arket Value of t he
M or t ga ge d Pr e m ise s is at least equal t o t he appraised Value st at ed on t he Loan appraisal
except t o t he ext ent t hat t he m arket Value of t he Mort gaged Prem ises is low er t han t he
appraised Value due t o t he effect of any t oxic m at erials or ot her environm ent al hazards of
which neit her t he appraiser nor t he Client has act ual know ledge or reasonable grounds t o
suspect .
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          ( U) En for ce a bilit y; En for ce m e n t Pr ov ision s
          Each Not e and Se cu r it y I n st r u m e n t const it ut es a legal, valid and binding obligat ion of t he
          Borrower enforceable in accordance wit h it s t erm s except as lim it ed by bankrupt cy,
          insolvency or ot her sim ilar laws affect ing generally t he enfor cem ent of credit or s’ right s.
          Each Securit y I nst rum ent cont ains cust om ary and enfor ceable provisions which render t he
          right s and rem edies of t he holder adequat e t o realize t he benefit s of t he securit y against t he
          M or t ga ge d Pr e m ise s, including: ( i) in t he case of a Securit y I nst rum ent designat ed as a
          deed of t rust , by t rust ee's sale, ( ii) by sum m ary foreclosure, if available under applicable
          law; and ( iii) ot herwise by foreclosure, and t here are no hom est ead or ot her exem pt ions or
          dower, court esy or ot her right s or int erest s available t o t he Bor rower or t he Bor rower ’s
          spouse, survivors or est at e or any ot her person or ent it y t hat would, or could, int erfere wit h
          such right t o sell at a t rust ee’s sale or t o foreclose. The Secur it y I nst rum ent and any rider s t o
          t he Securit y I nst rum ent m ust be signed by any person wit h an act ual or pot ent ial int erest in
          t he pr opert y. Tit le holders have an act ual int erest in t he propert y and m ust sign t he Securit y
          I nst rum ent and r iders. Non- Borrowing spouses who are not in t it le m ay have an act ual or
          pot ent ial int erest in t he propert y under St at e law and m ay be required t o sign t he Securit y
          I nst rum ent and rider in som e St at es in order for t he holder of t he Securit y I nst rum ent t o
          obt ain, prot ect and enforce it s lien. The Client will obt ain t he signat ure of t he non- Borrowing
          spouse on t he Securit y I nst rum ent and riders or ot her docum ent at ion, as allowed by law, if
          such signat ure is necessary t o prot ect t he int erest of t he holder of t he Securit y I nst rum ent .

          ( V ) H olde r - I n - D u e - Cou r se
          The Client is t he owner and holder- in- due- course of each Not e and is nam ed as m ort gagee/
          beneficiary or assignee under each Se cu r it y I n st r u m e n t , and all Loa n D ocum e n t s
          requiring execut ion have been appropriat ely execut ed, wit nessed or not arized by t he persons
          whose nam es appear as signat ories and wit nesses, or, as appropriat e, not aries who
          const it ut e t he valid and binding legal obligat ion of t he Borrower, enforceable in accordance
          wit h t heir respect ive t erm s. Not wit hst anding t he foregoing, wit h respect t o adj ust able- rat e
          m ort gage Loans ( ARMs) , t he Client repr esent s and warrant s t hat t here are no claim s t o t he
          Not e on t he part of any person or defenses of any part y t o t he Not e ot her t han t hose t hat
          validly could be raised against a holder- in- due- course.

          ( W ) Tr u st e e D e signa t e d
          Wit h respect t o each Se cu r it y I n st r u m e n t t hat is a deed of t rust , a t rust ee duly qualified
          under applicable law t o serve as such is properly nam ed, designat ed and serving.

          ( X ) N o Fe e s D ue Tr u st e e
          Except in connect ion wit h a t rust ee’s sale aft er default by t he Borrower, no fees or expenses
          are payable by t he Client or GMAC- RFC t o t he t rust ee under any Securit y I nst rum ent t hat is
          a deed of t rust .

          ( Y) Ex e cut ion of D ocum e n t s
          All agreem ent s, cont ract s, assignm ent s, endorsem ent s and issuances of checks or draft s,
          report s, Loa n D ocu m e n t s or ot her papers relat ed t o a Loan t hat are required by t his Client
          Guide t o be execut ed by t he Client have been properly execut ed by an officer on behalf of
          t he Client pursuant t o a duly adopt ed Resolut ion of Board of Direct ors.
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( Z) Le a se h olds
Where perm it t ed by t he applicable Loa n Pr ogr a m , each Mort gaged Prem ises involving a
Le a se h old est at e com plies wit h t he applicable Leasehold warrant ies set fort h in t his Client
Guide.

( AA) Con dom in iu m s; Pla n n e d Un it D e v e lopm e n t s ( PUD s)
Each M or t ga ge d Pr e m ise s t hat is a unit in a condom inium or PUD com plies wit h t he
applicable condom inium or PUD warrant ies set fort h in t his Client Guide.

( BB) Com plia n ce By Ot h e r s
When a person or ent it y: ( i) originat es a Loan on behalf of a Client , ( ii) originat es a Loan on
it s own behalf and sells it t o a Client , or ( iii) perform s any act for a Client which t he Client is
required t o perform under t his Client Guide, t he Client warrant s t hat such person or ent it y
has com plied wit h all requir em ent s of t his Client Guide wit h respect t o all such Loans and
act s.

( CC) Clie n t Con t r a ct W a r r a n t ie s
The represent at ions and warrant ies m ade at t he t im e of t he Client ’s execut ion of t he Client
Cont ract m ust rem ain t rue, correct and com plet e.

( D D ) Clie n t a n d Or igin a t or s
     • I f t he Client sells Jum bo A or Expanded Crit eria Loans t o GMAC- RFC, t he Client is a
        savings and loan associat ion, savings bank, com m ercial bank, credit union, insurance
        com pany or sim ilar banking inst it ut ion w hich is supervised by a federal or st at e
        aut horit y or a H UD approved non- supervised m ort gagee.
    • Each Jum bo A and Expanded Crit eria Loan was: ( i) closed in t he nam e of t he Client , ( ii)
      closed in t he nam e of anot her ent it y t hat eit her is a savings and loan associat ion,
      savings bank, com m ercial bank, credit union, insurance com pany or sim ilar banking
      inst it ut ion which is supervised by a federal or St at e aut horit y, or a HUD approved non-
      supervised m ort gagee, and was so at t he t im e t he Loan was originat ed ( t he Client or
      such ot her ent it y shall be called t he “ originat or ” ) or ( iii) closed in t he nam e of t he loan
      broker.
    • All Loans closed in t he nam e of a loan broker ( including but not lim it ed t o Jum bo A and
      Expanded Crit eria Loans) were originat ed under t he circum st ances described in t he
      following sent ence: I f t he Loan was originat ed t hrough a loan broker, t he originat or
      appr oved t he Loan prior t o funding by t he loan broker and t he originat or acquired t he
      Loan from t he loan broker cont em poraneously wit h t he originat ion t hereof.
I f t he Client sells Loans t o GMAC- RFC which are regist ered wit h M ERS or as t o which MERS is
t he m ort gagee on t he Se cu r it y I n st r u m e n t , t he Client is a m em ber of MERS, in good
st anding and current in paym ent of all fees and assessm ent s im posed by MERS.

( EE) N o I m pa ir m e n t of I n su r a n ce
No act ion, er ror, om ission, m isrepresent at ion, negligence, fraud or sim ilar occurrence in
respect of a Loan has t aken place on t he part of any person, including, wit hout lim it at ion, t he
Borrower, any appraiser, any builder or developer or any part y involved in t he originat ion of
t he Loan or in t he applicat ion of any insurance in relat ion t o such Loan t hat m ight result in a
denial, cont est ing, failure or im pairm ent of full and t im ely coverage under any insurance
policies requir ed t o be obt ained or any pool insurance policy covering such Loan.
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          ( FF) Te m por a r y Buy dow ns
          Where perm it t ed by t he applicable Loa n Pr ogr a m , each Te m por a r y Buy dow n Loan
          delivered t o GMAC- RFC was ent ered int o pursuant t o a buydown agreem ent which com plies
          wit h t he Te m por a r y Bu ydow n s Sect ion in Cha pt e r 3 of t his Client Guide.

          ( GG) Pr im a r y M or t ga ge I n su r a n ce Ca n ce lla t ion
          The Client has disclosed in writ ing t o t he Borrower t he t erm s and condit ions t hat m ust be
          m et prior t o t he prim ary m ort gage insurance being eligible for cancellat ion. A copy of t his
          disclosure has been ret ained in t he Loan file as a perm anent record.

          ( H H ) N o D e ficie n cy I n Escr ow D e posit s or Pa ym e n t s
          The Loan has been serviced by t he Client and any pr edecessor Se r vice r in accordance wit h
          t he t erm s of t he m ort gage Not e and all applicable law. Wit h respect t o escrow deposit s and
          escrow paym ent s, if any, all such paym ent s are in t he possession of, or under t he cont rol of,
          t he Client , and t here exist s no deficiency in connect ion t herewit h for which cust om ary
          arrangem ent s for repaym ent t hereof have not been m ade. No escrow deposit s, escr ow
          paym ent s or ot her charges or paym ent s due t he Client have been capit alized under any
          m ort gage or relat ed m ort gage Not e.

          ( I I ) Loa n Se cu r it iza t ion
          The Client recognizes t hat it is GMAC- RFC’s int ent t o securit ize som e or all of t he Loans sold
          t o GMAC- RFC by t he Client . The Client agrees t o provide GMAC- RFC w it h all such inform at ion
          concerning t he Client generally and, if applicable, t he Client ’s servicing experience, as m ay
          be reasonably request ed by GMAC- RFC for inclusion in a prospect us or privat e placem ent
          m em orandum published in connect ion wit h such securit izat ion.
          I n addit ion, t he Client will cooperat e in a sim ilar m anner wit h GMAC- RFC in connect ion wit h
          any whole Loan sale or ot her disposit ion of any Loan sold t o GMAC- RFC by t he Client . The
          Client agrees t o indem nify and hold GMAC- RFC harm less from and against any loss, dam age,
          penalt y, fine, forfeit ure, court cost , reasonable at t orneys’ fees, j udgm ent , cost , fee, expense
          or liabilit y incurred by GMAC- RFC as a result of any m at erial m isst at em ent in or om ission
          fr om any infor m at ion provided by t he Client t o GMAC- RFC; or fr om any claim , dem and,
          defense or assert ion against or involving GMAC- RFC based on or grounded upon, or result ing
          fr om such m isst at em ent or om ission or a breach of any represent at ion, warrant y or
          obligat ion m ade by GMAC- RFC in reliance upon such m isst at em ent or om ission.
          The Client furt her agrees t o cooperat e fully wit h GMAC- RFC, rat ing agencies, at t or neys, bond
          insurers, purchasers of Loans or any ot her part ies t hat m ay be involved in t he sale or
          securit izat ion of any Loan, including, wit hout lim it at ion, all cooperat ion as m ay be necessary
          in order t o accom m odat e due diligence act ivit y.

          ( JJ) N on - Solicit a t ion
          The Client has not solicit ed or provided inform at ion t o anot her part y for t he purpose of
          solicit ing, and covenant s and agrees t hat it will not solicit or provide inform at ion t o anot her
          part y for t he purpose of solicit ing, t he refinance of any Loan. The t erm “ solicit ” as used
          herein shall m ean a direct request or offer t o refinance a servicing released Loan, and shall
          not include general solicit at ions, advert isem ent s or prom ot ions direct ed t o t he public at
          large.
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                                                                                                       Covenants
( KK) N o Fr a u d or M isr e pr e se n t a t ion
No fraud or m isrepr esent at ion by t he Borrow er or by t he Client , broker, correspondent ,
appr aiser or any independent cont ract or ret ained by t he Client , broker, corr espondent ,
appr aiser or any em ployee of any of t he foregoing occurred wit h respect t o or in connect ion
wit h t he originat ion or underwrit ing of any Loan and all inform at ion and docum ent s provided
t o GMAC- RFC in connect ion wit h t he Loan are com plet e and accurat e.

( LL) Ex clu sion a r y List
No part y involved in t he originat ion of a Loan, including wit hout lim it at ion t he originat or,
broker, t it le com pany or appraiser, was nam ed on t he version of t he Ex clu sion a r y List t hat
was effect ive on t he dat e of t he prom issory Not e for t hat part icular Loan.

A203
Additional Client Representations, Warranties and Covenants for the Home Equity Loan
Program
The Hom e Equit y Loan Program adher es t o t he Client represent at ions, warrant ies and
covenant s st at ed below as well as t he represent at ions, warrant ies and covenant s cont ained
in t his Client Guide.
Unless t he Hom e Equit y Loan is a valid first lien on t he M or t ga ge d Pr e m ise s, t he following
represent at ion and warrant y applies:
       Valid Second Lien
       Each Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC const it ut es a valid lien on t he
       Mort gaged Prem ises which is subordinat ed only t o a lien of t he holder of a first
       m ort gage Loan, and is subj ect only t o t he m inor im pedim ent s described in t he Tit le
       I n su r a n ce Sect ion of t his Chapt er. No such im pedim ent shall adversely affect t he
       Value, use, enj oym ent or m arket abilit y of t he Mort gaged Prem ises.
The following addit ional represent at ions and warrant ies are m ade by t he Client t o GMAC- RFC
as of t he Pu r ch a se D a t e of each Hom e Equit y Loan:

( A) Lice n sin g
The Client and any agent s or correspondent s originat ing for t he Client have obt ained all
licenses and approvals required wit h respect t o t he originat ion of t he Hom e Equit y Loans,
including, t o t he ext ent applicable, licenses and appr ovals required for sm all Loans or sm all
advances and licenses and approvals requir ed t o charge t he m axim um int erest rat e allowable
under St at e law.

( B) N o Con t r a ct or or D e a le r Loa ns
No hom e im provem ent cont ract or or dealer was involved as a t hird part y originat or of a
Hom e Equit y Loan or received com pensat ion in any form from t he Client .

( C) N o Bor r ow e r D e fe n se s or Cla im s
No unresolved defense or claim has been m ade or assert ed in writ ing by t he Borrower wit h
respect t o t he Hom e Equit y Loan, including, wit hout lim it at ion, any defenses or claim s based
on unsat isfact ory workm anship or m at erials in connect ion wit h any hom e im pr ovem ent s
financed wit h t he proceeds of t he Hom e Equit y Loan.
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A205
Proof of Compliance
The Client will, upon t he request of GMAC- RFC, supply proof sat isfact ory t o GMAC- RFC of it s:
    ( 1) Com pliance wit h all repr esent at ions and warrant ies cont ained in t his Client Guide,
         and
    ( 2) Com pliance wit h all local, St at e and federal laws, rules and regulat ions.

A206
Integrity of Information
The Client is responsible for credit and propert y underw rit ing regardless of w het her t he
inform at ion was provided by t he Client , an ent it y relat ed t o t he Client or designat ed by t he
Client t o perform t he funct ion. This includes credit inform at ion, appraisals, or ot her
docum ent s/ inform at ion used in t he Loan's evaluat ion.
The Client should t ake all st eps necessary t o ensure t hat each Loan sold t o GMAC- RFC has
been prudent ly originat ed and underwrit t en, and t hat all inform at ion supplied by, on behalf
of, or concerning t he Borrower is t rue, accurat e and com plet e. The Client should ensure t hat
int erest ed part ies are sufficient ly independent from t he Loan t ransact ion and t hat adequat e
organizat ional cont r ols are in place t o ensur e t he independence, validit y and reliabilit y of t he
Loan inform at ion.
I n addit ion, t he Client should im plem ent prudent pract ices when relying on designat ed
agent s ( such as escrow com panies, t it le com panies, et c.) in order t o ensure t hat t hey com ply
wit h it s inst ruct ions and t hat t he int egr it y of t he Loan t ransact ion has been m aint ained.
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A208
Events of Default
Any one or m ore of t he following event s const it ut e an Eve nt of D e fa u lt :
    ( 1) The Client has not com plied wit h one or m ore of t he requirem ent s ( including any
         requirem ent out lined in Chapt er 2, Client Eligibilit y) t erm s or condit ions out lined in
         t his Client Guide or one of t he disqualificat ion, suspension or inact ivat ion event s set
         fort h in t he D isqu a lifica t ion Su spe n sion or I n a ct iv a t ion Sect ion has occurred or
         occurs.
    ( 2) The Client has breached any agreem ent out lined or incorporat ed by reference in t he
         Client Cont ract or any ot her agreem ent bet ween t he Client and GMAC- RFC.
    ( 3) The Client breaches any of t he represent at ions, warrant ies or covenant s set fort h in
         t his Client Guide, fails t o perform it s obligat ions under t his Client Guide or t he
         Program Docum ent s, m akes one or m ore m isleading represent at ions, warrant ies or
         covenant s t o GMAC- RFC, or as failed t o provide GMAC- RFC wit h inform at ion t hat is
         t r ue, com plet e and accurat e.
    ( 4) The Borr ower or any ot her person or ent it y involved in t he Loan t ransact ion or in it s
         underwrit ing or docum ent at ion ( including any appraiser, broker, t hird- part y
         originat or, credit report ing agency, or ot her pr ovider of underwrit ing inform at ion)
         has m ade any false represent at ion and/ or has failed t o provide inform at ion t hat is
         t r ue, com plet e and accurat e in connect ion w it h such t ransact ion, w het her or not t he
         Client was a part y t o or had knowledge of such m isr epresent at ion or incorrect
         inform at ion.
    ( 5) Occurrence of an Event of Se r vice r Default wit h respect t o any Loans serviced by
         t he Client .
    ( 6) Term inat ion of servicing for cause is a basis for t he Client ’s im m ediat e
         disqualificat ion or suspension. Act ion t aken by GMAC- RFC t o t erm inat e servicing
         m ay be m erged wit h an act ion t o disqualify, suspend or inact ivat e t he Client .
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          A209
          Remedies of GMAC-RFC
          ( A) N on - Ex clu siv e , Cu m u la t ive Re m e die s
          GMAC- RFC m ay exercise any r em edy out lined in t his Client Guide or as allowed by law or in
          equit y. GMAC- RFC’s exercise of one or m ore rem edies in connect ion wit h a part icular Eve n t
          of D e fa u lt will not prevent it from exercising:
               • One or m or e ot her rem edies in connect ion wit h t he sam e Event of Default
               • Any ot her right s which it m ay have at law or in equit y

          ( B) W a ive r of D e fa u lt s
          GMAC- RFC m ay waive any default by Client in t he perform ance of Client ’s obligat ions
          hereunder and it s consequences, but only by a writ t en waiver specifying t he nat ure and
          t erm s of such waiver. No such waiver shall ext end t o any subsequent or ot her default or
          im pair any right consequent t heret o, nor shall any delay by GMAC- RFC in exercising, or
          failure t o exercise, any right arising from such default affect or im pair GMAC- RFC’s right s as
          t o such default or any subsequent default .

          ( C) Su r v iva l of Re m e die s
          GMAC- RFC’s rem edies for breach of t he represent at ions, warrant ies and covenant s shall
          survive t he sale and delivery of t he Loan t o GMAC- RFC and funding of t he relat ed purchase
          price by GMAC- RFC, and will cont inue in full force and effect for t he rem aining life of t he
          Loans, not wit hst anding any t erm inat ion of t his Client Guide and t he relat ed Fu n din g
          D ocu m e n t s, or any rest rict ive or qualified endorsem ent on any m ort gage Not e or
          assignm ent of m ort gage or Loan approval or ot her exam inat ion of or failur e t o exam ine any
          relat ed m ort gage Loan file by GMAC- RFC.
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A210
Repurchase
( A) Re pu r ch a se Obliga t ion s
I f GMAC- RFC det erm ines t hat an Ev e n t of D e fa u lt has occurred wit h respect t o a specific
Loan, t he Client agrees t o r epurchase t he Loan and it s servicing ( if t he Loan was sold
servicing released) wit hin 30 days of receiving a repurchase let t er or ot her writ t en
not ificat ion from GMAC- RFC.
I f t he Client discovers an Event of Default , it should give GMAC- RFC prom pt writ t en not ice.
Such not ice should include a writ t en descript ion of t he Event of Default . Upon receipt of t his
not ice, GMAC- RFC will review t hese m at erials and any addit ional inform at ion or
docum ent at ion t hat t he Client believes m ay influence GMAC- RFC’s decision t o requir e
repurchase. I f GMAC- RFC decides t o require repurchase, t he Client shall repurchase t he Loan
and t he servicing ( if t he Loan was sold servicing released) wit hin 30 days aft er GMAC- RFC’s
decision is com m unicat ed t o Client in writ ing.
To expedit e t he wiring of funds t o GMAC- RFC, t he Client should com plet e t he servicing
t ransfer inst ruct ion form provided by GMAC- RFC. GMAC- RFC will send t he form t o t he Client
along wit h t he not ificat ion of repurchase.
GMAC- RFC is not required t o dem and repurchase wit hin any part icular period of t im e, and
m ay elect not t o require im m ediat e repurchase. However, any delay in m aking t his dem and
does not const it ut e a waiver by GMAC- RFC of any of it s right s or rem edies.
Where GMAC- RFC det erm ines t hat repurchase of a Loan and/ or t he servicing is not
appr opriat e, t he Client shall pay GMAC- RFC all losses, cost s and expenses incurred by GMAC-
RFC and/ or t he Loan’s Se r vice r as a result of an Ev e n t of D e fa u lt . This includes all
reasonable at t orneys’ fees and ot her cost s and expenses incurred in connect ion wit h
enforcem ent effort s under t aken.
Upon t he Client ’s sat isfact ion of it s repurchase obligat ion, GMAC- RFC will endorse t he Not e
evidencing t he Loan in blank and w ill deliver it and ot her pert inent Loa n D ocu m e n t s t o t he
Client . I f GMAC- RFC acquired t it le t o any of t he real propert y securing t he Loan pursuant t o a
foreclosure sale and has not disposed of such propert y, it w ill t ransfer such propert y t o t he
Client on a “ quit claim ” basis or, if required by St at e law, a “ warrant y deed” basis. How ever,
if GMAC- RFC has disposed of t he real proper t y securing t he Loan, t he Loan Docum ent s will
not be ret urned t o t he Client unless request ed.
I f t he Client is also t he Se r vice r of a Loan repurchased by reason of t he occurrence of an
Event of Default , GMAC- RFC will not reim burse t he Client for any principal, int erest or ot her
advances m ade by t he Client wit h respect t o t hat Loan.
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          ( B) Re pu r ch a se Pr ice of Fir st M or t ga ge Pr ogr a m s
          I n t he event t he Client is obligat ed t o repurchase a Loan t he Client m ust pay t o GMAC- RFC a
          repur chase pr ice equal t o t he sum of:
               • The act ual principal balance of t he Loan at t he t im e of repurchase ( if t he Client sold t he
                 Loan t o GMAC- RFC at a discount or a prem ium , t he repurchase price above will be
                 adj ust ed t o reflect t he act ual principal balance m inus t he discount percent age
                 m ult iplied by t he act ual principal balance, or plus t he prem ium percent age m ult iplied
                 by t he act ual principal balance, as appr opriat e, including t hat price paid for Se r vicin g
                 Righ t s) , plus
               • All accr ued and unpaid int erest on t he Loan t hrough t he last day of t he m ont h of t he
                 dat e of repurchase; plus
               • All int erest , principal and ot her advances m ade t o invest ors and all out of pocket cost s
                 and expenses of any kind incurred by GMAC- RFC and/ or t he prim ary Se r vice r in
                 connect ion wit h t he Loan, including, but not lim it ed t o, advances for t axes or
                 insurance, and repair, foreclosure and insurance cost s and reasonable at t orneys’ fees;
                 plus
               • The am ount of t he buyout fee as calculat ed in t he Buyou t s a nd Ex t e nsion s Sect ion
                 of Cha pt e r 9 of t his Client Guide; plus
               • I n t he event t hat GMAC- RFC or any of it s Affilia t e s is required t o repurchase t he Loan
                 fr om any subsequent assignee, t hen any addit ional am ount as m ay be required t o
                 m ake t he repurchase price t hat t he Client is obligat ed t o pay hereunder equal t o t he
                 repurchase pr ice t hat GMAC- RFC or it s Affiliat e is required t o pay t o such subsequent
                 assignee; m inus
               • The net am ount of any proceeds r ealized by t he owner of t he Loan upon t he final
                 liquidat ion of t he Loan or t he M or t ga ge d Pr e m ise s t o an unrelat ed t hird part y.
          The D e signa t e d Se r v ice r will ret urn t o t he Client any escrow funds, unapplied funds and
          prepaid principal and int erest inst allm ent s.
          GMAC- RFC m ay dem and t hat a Client repurchase, and Client m ust repurchase, a Loan aft er
          foreclosure even if t he full am ount of it s out st anding debt was bid on by or on behalf of t he
          Loan’s owner t o acquire t he M or t ga ge d Pr e m ise s at t he foreclosure sale. I n t he event t he
          Client is obligat ed t o repurchase a Loan aft er foreclosure, t he repurchase price shall be
          calculat ed using t he form ula above, however Sch e du le d Pr in cipa l Ba la n ce shall be
          subst it ut ed for t he act ual principal balance.
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( C) Re pu r ch a se Pr ice of H om e Equ it y Loa n Pr ogr a m
I n t he event t he Client is obligat ed t o repurchase a Hom e Equit y Loan, t he Client m ust , upon
repurchase, service such Hom e Equit y Loan. The repurchase price for such Hom e Equit y Loan
shall be equal t o t he sum of:
    • The unpaid pr incipal balance of t he Hom e Equit y Loan
    • All accr ued and unpaid int erest on t he Hom e Equit y Loan
    • The am ount of all fees and/ or pur chase pr em ium paid, if any, t o t he Client by GMAC-
      RFC for originat ion of t he Hom e Equit y Loan
    • All fees paid t o any Se r v ice r or sub- servicer of a Hom e Equit y Loan by reason of t he
      t erm inat ion of t hat Servicer ’s or Sub- Servicer ’s right t o service t hat Hom e Equit y Loan
    • All cost s incurred or paid by GMAC- RFC or any Servicer in collect ing or enforcing t he
      Hom e Equit y Loan, including, wit hout lim it at ion, int erest or ot her cost s paid t o bring or
      m aint ain a prior lien current or up t o dat e, cost s t o insure or pay delinquent t axes,
      at t orneys’ fees, court cost s, appraisal and t it le expenses and ot her sim ilar cost s or
      expenses ( collect ively, “ Foreclosure Expenses” )
    • Any addit ional am ount GMAC- RFC or any of it s Affilia t e s is required t o pay t o
      repurchase t he Hom e Equit y Loan from a subsequent assignee
I n lieu of repurchasing a Hom e Equit y Loan t hat has not yet been foreclosed and accept ing
t he servicing of such Hom e Equit y Loan, GMAC- RFC m ay in it s sole discret ion allow Client t o
pay t o GMAC- RFC t he Est im at ed Loss ( as defined below) . Est im at ed Loss, as it relat es t o
each Hom e Equit y Loan subj ect t o repurchase, shall equal t he product of:
120% m ult iplied by t he result of:
    • Repurchase price as calculat ed above, plus
    • Accrued int erest on t he Hom e Equit y Loan t hrough t he dat e GMAC- RFC est im at es t hat
      t he Hom e Equit y Loan will be fully liquidat ed ( which in t he case of a foreclosure, shall
      m ean t he dat e t hat GMAC- RFC est im at es t hat t he M or t ga ge d Pr e m ise s will be sold t o
      a t hird part y and which in any ot her case m eans t he dat e t hat GMAC- RFC est im at es
      t hat all collect ion effort s on t he Hom e Equit y Loan will be abandoned) and est im at ed
      foreclosure and ot her enforcem ent expenses for t he ent ire collect ion process, less
    • Am ount by which t he current m arket Value of t he Mort gaged Prem ises as det erm ined
      by GMAC- RFC using valuat ion services provided by an independent t hir d part y exceeds
      t he current out st anding am ount of indebt edness secured by t he Mort gaged Prem ises
      t hat is senior t o t he Hom e Equit y Loan.
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          ( D ) Re pu r ch a se Pr ice of a Se r vicin g Re le a se d Loa n
          I n t he event t he Client repurchases a Loan for which t he servicing has also been sold t o
          GMAC- RFC, t he Client will also be required t o repurchase t he servicing. I f t he repur chase of
          t he servicing of t he Loan is for any reason ot her t han a breach of t he D e lin qu e n cy Payoff/
          Liquidat ion warrant y cont ained in t he Servicing Released Cha pt e r 8 , t he Client m ust pay t o
          GMAC- RFC a repurchase price equal t o t he original Se r vicin g Pr e m iu m percent age
          m ult iplied by t he act ual unpaid principal balance at t he t im e of repurchase.
          I n no event however, will t he required repur chase Servicing Prem ium be great er t han t he
          original Servicing Prem ium paid t o t he Client .
          The D e sign a t e d Se r vice r will ret urn t o t he Client any escrow funds, Te m por a r y Bu ydow n
          funds, unapplied funds and prepaid pr incipal and int erest inst allm ent s. The Client will be
          required t o reim burse t he Designat ed Servicer for any delinquent principal and int erest
          advances, and any escrow advances and foreclosure expenses t hey have m ade and not
          recovered on a repurchased Loan.

          ( E) Re pu r ch a se As a Re su lt of Con ve r sion
          The Client ( or, if t he Client has t ransferred servicing of t he Loans, t he Se r vice r ) shall
          repurchase a Loan which has convert ed from an ARM t o a fixed- rat e m ort gage. The Servicer
          m ust subm it t he ARM Conversion Not ificat ion Report no less t han 15 days prior t o t he
          conversion dat e.
          I f t he Client or Servicer repurchases a convert ed Loan and subsequent ly resells t hat
          convert ed Loan t o GMAC- RFC, all t he Client ’s represent at ions and warrant ies wit h respect t o
          t hat Loan shall survive such repurchase and resale. I n addit ion, t he Client shall be subj ect t o
          all right s and rem edies ( including repurchase) available t o GMAC- RFC as a result of any
          m isrepresent at ion or breach of warrant y wit h respect t o t hat Loan pr ior t o conversion.
          The Client shall also subm it t he m odificat ion agreem ent if request ed by GMAC- RFC or it s
          assigns.
          Aft er it s receipt of t he Loan funds, GMAC- RFC will endorse t he Not e t o t he par t y which
          repurchased t he Loan. The Loan will t hen be assigned t o such part y, and all credit
          docum ent at ion will be ret urned. Failure t o subm it t he ARM Conversion Not ificat ion Report in
          a t im ely m anner m ay delay t he receipt of t he endorsed Not e and ot her legal docum ent s.
          The Se r v ice r shall subm it a Payoff/ Liquidat ion Report and wire t ransfer Loan funds t o t he
          GMAC- RFC Loa n Accou n t in g D e pa r t m e n t no lat er t han t he last Bu sin e ss D a y prior t o t he
          conversion dat e. The Servicer m ust rem it int erest for t he ent ire m ont h preceding t he
          conversion dat e. The Client shall at t ach a copy of t he ARM Conversion Not ificat ion Report .
          I f t he appropriat e am ount is not wired on t im e, GMAC- RFC will charge a lat e paym ent fee.
          This fee will equal t he am ount due m ult iplied by t he “ Pr im e Ra t e ” plus 3% m ult iplied by t he
          num ber of days overdue divided by 365. The t erm “ Prim e Rat e” shall m ean t he highest
          quot ed Prim e Rat e print ed in The Wall St r eet Journal in it s regular colum n “ Money Rat es” on
          t he first Bu sin e ss D a y of t he m ont h in which t he paym ent was due and not paid. I f t he
          Prim e Rat e is not available, GMAC- RFC will det erm ine a com parable rat e.
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( F) Su bst it u t ion
I nst ead of requiring t he Client t o repurchase a Loan as provided above, GMAC- RFC, at it s
discret ion, m ay allow t he Client t o subst it ut e anot her Loan sat isfact ory t o GMAC- RFC in place
of t he original Loan, wit hin 10 days of not ificat ion by GMAC- RFC, unless ot herwise not ified. I f
t he subst it ut ed Loan cont ains t erm s different from t hose of t he Loan t hat it is replacing, a
purchase price adj ust m ent will be calculat ed by GMAC- RFC based on m ar ket changes and
Loan charact erist ics. Every Loan subst it ut ed will be subj ect t o all agreem ent s, t erm s,
condit ions, represent at ions and warrant ies in t his Client Guide as of t he Su bst it u t ion D a t e .
I n t he event a Loan is eligible for purchase by GMAC- RFC but t he servicing is ineligible for
purchase by GMAC- RFC, t he Loan will be purchased and t he sale of servicing denied. GMAC-
RFC w ill not allow t he Client t o subst it ut e anot her servicing released Loan.

( G) Cost of Tr a n sfe r Fe e s D ue t o Re pu r cha se
The Client agrees t hat , if it is requir ed t o repurchase a Loan and t he relat ed Servicing, it will
pay all docum ent ary st am p t axes, recording fees, t ransfer t axes and all ot her expenses
payable in connect ion wit h t he repurchase and will indem nify and hold harm less GMAC- RFC
and t he D e signa t e d Se r v ice r against all losses, cost s and expenses, including at t orney
fees, result ing from such requir ed repurchases or t he breach giving rise heret o.

( H ) N ot ice a n d Appe a l
The Client m ay appeal GMAC- RFC’s decision by providing any addit ional inform at ion or
docum ent at ion it believes m ay affect GMAC- RFC’s det erm inat ion.
Send all not ificat ions and appeals t o:
      GMAC- RFC
      One Meridian Crossing
      Suit e 100
      Minneapolis, MN 55423
      At t ent ion: Repurchase Managem ent
Such inform at ion and docum ent at ion m ust be received wit hin 30 days aft er t he Client ’s
receipt of a repurchase let t er or sim ilar writ t en not ificat ion from GMAC- RFC. GMAC- RFC will
review all appeals and advise t he Client in writ ing of t he appeal decision. GMAC- RFC will in it s
sole discret ion det erm ine t he validit y of any appeal filed by t he Client . I f GMAC- RFC’s
decision rem ains firm following an appeal, t he Client shall repurchase t he Loan and it s
servicing ( if t he Loan was sold servicing released) wit hin 10 days of not ificat ion by GMAC-
RFC, in writ ing, t hat t he appeal has been denied.
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   ( 17) The Client or Se r vice r ’s failure t o m aint ain a qualified Loan originat ion, servicing
         and qualit y cont r ol st aff, an accept able ongoing qualit y cont rol program , adequat e
         facilit ies and writ t en policies and procedures t o ensure:
         • The invest m ent qualit y of Loans sold t o GMAC- RFC
         • The adequacy of t he servicing of Loans purchased by GMAC- RFC OR
   ( 18) The failure of t he Client or t he Se r vice r t o m eet any t est as m ay be prescribed for
         eligibilit y,
   ( 19) The det erm inat ion by GMAC- RFC t hat a Client has not delivered an adequat e volum e
         of Loans t o GMAC- RFC.

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Indemnification
The Client shall indem nify GMAC- RFC fr om all losses, dam ages, penalt ies, fines, forfeit ures,
court cost s and reasonable at t orneys’ fees, j udgm ent s, and any ot her cost s, fees and
expenses result ing from any Ev e n t of D e fa u lt . This includes any act or failure t o act or any
breach of warrant y, obligat ion or represent at ion cont ained in t he Client Cont ract ; or from
any claim , dem and, defense or assert ion against or involving GMAC- RFC based on or
result ing from such breach or a breach of any r epresent at ion, warrant y or obligat ion m ade
by GMAC- RFC in reliance upon any war rant y, obligat ion or represent at ion m ade by t he Client
cont ained in t he Client Cont ract .
I n addit ion, Client shall indem nify GMAC- RFC against any and all losses, dam ages, penalt ies,
fines, forfeit ures, j udgm ent s, and any ot her cost s, fees and expenses ( including court cost s
and reasonable at t orneys’ fees) incurred by GMAC- RFC in connect ion wit h any lit igat ion or
governm ent al proceeding t hat alleges any violat ion of local, St at e or federal law by Client , or
any of it s agent s, or any originat or or broker in connect ion wit h t he originat ion or servicing of
a Loan. Wit h regard t o legal fees or ot her expenses incurr ed by or on behalf of GMAC- RFC in
connect ion wit h any such lit igat ion or governm ent al proceeding, Client shall reim burse
GMAC- RFC for such fees and expenses. Reim bursem ent shall be m ade direct ly t o GMAC- RFC
wit hin t en days of receipt of a request for paym ent , which request shall include copies of t he
relevant invoices. Except for not ices for reim bursem ent , GMAC- RFC is not required t o give
Client not ice of any lit igat ion or governm ent al proceeding t hat m ay t rigger indem nificat ion
obligat ions. Client shall inst ruct it s officers, direct ors and agent s ( including legal counsel) t o
cooperat e wit h GMAC- RFC in connect ion wit h t he defense of any lit igat ion or governm ent al
proceeding involving a Loan. GMAC- RFC has t he right t o cont rol any lit igat ion or
governm ent al proceeding relat ed t o a Loan, including but not lim it ed t o choosing defense
counsel and m aking set t lem ent decisions.
The Client also shall indem nify GMAC- RFC and hold it harm less against all court cost s,
at t orney’s fees and any ot her cost s, fees and expenses incurred by GMAC- RFC in enforcing
t he Client Cont ract . The obligat ions of t he Client under t his Sect ion shall survive t he
D e live r y D a t e , t he Fu n din g D a t e ( and each Su bst it u t ion D a t e , if applicable) and t he
t erm inat ion of t he Client Cont ract and t he disqualificat ion, suspension or inact ivat ion of t he
Client .
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Representations,
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          A201
          Specific Representations, Warranties and Covenants Concerning Client
          ( A) D u e Or ga n iza t ion ; Good St a n ding; Lice n sin g
          Client and, t o Client ’s knowledge, Client ’s Guarant or, if applicable, is and shall cont inue t o be
          duly organized, validly exist ing, and in good st anding under t he laws of t he Unit ed St at es or
          under t he laws of t he j urisdict ion in which it was incorporat ed or organized, as applicable,
          and has and shall cont inue t o m aint ain all licenses, regist rat ions, and cert ificat ions necessary
          t o carry on it s business as now being conduct ed, and is and will cont inue t o be licensed,
          qualified, and in good st anding in each St at e where a Mort gaged Propert y is locat ed if t he
          laws of such St at e require licensing or qualificat ion in order t o conduct business of t he t ype
          conduct ed by Client and, in any event , Client is and will rem ain in com pliance wit h t he laws
          of any such St at e, and is and will rem ain in good st anding wit h federal aut horit ies, t o t he
          ext ent necessary t o ensure t he enforceabilit y of t he relat ed Loan. Client has disclosed t he
          final writ t en report s, act ions and/ or sanct ions of any and all reviews, invest igat ion,
          exam inat ions, audit s, act ions and/ or sanct ions t hat have been undert aken and/ or im posed,
          wit hin t wo years prior t o t he dat e of t he Client Cont ract , by any federal or St at e agency or
          inst rum ent alit y wit h respect t o eit her t he lending or relat ed financial operat ions of Client , or
          t he abilit y of Client t o perform in accordance wit h t he Program Docum ent s t erm s. Each of t he
          represent at ions and warrant ies m ade by Client in it s Client Applicat ion is t r ue, accurat e, and
          com plet e, and is deem ed t o be rem ade in it s ent iret y, as of t he dat e of t he Client Cont ract ,
          and as of each Fu n din g D a t e .

          ( B) Au t h or it y
          Client has and will m aint ain t he full corporat e, part nership or lim it ed liabilit y com pany power
          and aut horit y t o execut e and deliver t he Program Docum ent s and t o perform t he t erm s of
          t his Client Guide. The execut ion, delivery, and perform ance of t he Program Docum ent s and
          t he perform ance of t he t erm s of t his Client Guide by Client , and t he consum m at ion of t he
          t r ansact ions cont em plat ed, have been duly and validly aut horized. The Program Docum ent s
          and t his Client Guide evidence Client ’s legal valid, binding, and enforceable obligat ions. All
          requisit e corporat e, part nership or lim it ed liabilit y com pany act ion has been t aken by Client
          t o m ake t he Program Docum ent s and t he t erm s of t his Client Guide valid and binding upon
          Client and enforceable in accordance wit h t heir respect ive t er m s.

          ( C) Or din a r y Cou r se of Bu sin e ss
          The consum m at ion of t he t ransact ions cont em plat ed by t he Program Docum ent s and t he
          Client Guide t erm s are in Client ’s or dinary course of business, and t he t ransfer, assignm ent ,
          and conveyance of t he Mort gage Not es and t he Mort gages by Client , pur suant t o t he
          Program Docum ent s and t he Client Guide t erm s are not subj ect t o t he bulk t ransfer laws or
          any sim ilar st at ut ory provisions in effect in any applicable j urisdict ion.
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                                                                                                     Representations,
                                                                                                     Warranties and
                                                                                                     Covenants
( D ) N o Con flict s
Neit her t he execut ion and delivery of t he Program Docum ent s, t he acquisit ion and/ or m aking
of t he Loans by Client , t he sale of t he Loans t o GMAC- RFC or t he t ransact ions cont em plat ed
t hereby or pursuant t o t his Client Guide, nor t he fulfillm ent of or com pliance wit h t he
Program Docum ent s t erm s and condit ions, will conflict wit h or result in a br each of any of t he
t erm s, condit ions, or provisions of Client 's art icles of incorporat ion, chart er, by- laws,
part nership agreem ent , or ot her organizat ional docum ent , or of any legal rest rict ion or
regulat ory direct ive or any agreem ent or inst r um ent t o which Client is now a part y or by
which it is bound, or const it ut e a default or result in an accelerat ion under any of t he
foregoing, or result in t he violat ion of any law, rule, regulat ion, order, j udgm ent , or decree t o
which Client , or any of it s propert y is subj ect , or im pair t he abilit y of GMAC- RFC t o realize on
any of t he Loans, or im pair t he Value of any of t he Loans.

( E) Abilit y t o Pe r for m
Client has t he abilit y t o perform each and every obligat ion of and/ or sat isfy each and ever y
requirem ent im posed on, Client pursuant t o t he Program Docum ent s and t his Client Guide,
and no offset , count erclaim , or defense exist s t o t he full perfor m ance by Client of t he
requirem ent s of Program Docum ent s and t his Client Guide.

( F) N o Lit iga t ion Pe n din g
There is no act ion, suit , proceeding, inquiry, review, audit , or invest igat ion pending or
t hreat ened against Client t hat , eit her in any one inst ance or in t he aggregat e, m ay r esult in
any m at erial adverse change in t he business, operat ions, financial condit ion, propert ies, or
asset s of Client , or in any m at erial liabilit y on t he part of Client , or which would draw int o
quest ion t he validit y or enforceabilit y of any of t he Program Docum ent s, t his Client Guide, or
t he Loans or of any act ion t aken or t o be t aken in connect ion wit h Client ’s obligat ions
cont em plat ed in any of t he Program Docum ent s or t his Client Guide, or which would be likely
t o im pair m at erially Client ’s abilit y t o perform under t he t erm s of t he Program Docum ent s or
t his Client Guide.

( G) N o Con se n t Re qu ir e d
No consent , approval, aut horit y, or order of any court or governm ent al agency or body is
required for t he execut ion and perfor m ance by Client of, or com pliance by Client wit h, any of
t he Program Docum ent s or t his Client Guide, t he sale of any of t he Loans, or t he
consum m at ion of any of t he t ransact ions cont em plat ed by any of t he Purchase Docum ent s,
or, if required, such uncondit ional approval has been obt ained pr ior t o t he relat ed Fu n din g
Date.

( H ) N o Un t r u e I n for m a t ion
Neit her t he Program Docum ent s, t he Client Applicat ion, t his Client Guide, nor any st at em ent ,
report , or ot her docum ent furnished or t o be furnished by Client pursuant t o t he Program
Docum ent s or t his Client Guide, cont ains any unt rue st at em ent of m at erial fact or om it s t o
st at e a m at erial fact necessary t o m ake t he st at em ent s cont ained t herein not m isleading.
Client m eet s GMAC- RFC’s Eligibilit y St andards, and shall t ake all st eps necessary t o cont inue
t o m eet such Eligibilit y St andards.
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          ( I ) Se cu r it ie s La w
          The Client represent s t hat t he Loans ar e not “ securit ies” under any federal or St at e securit ies
          laws or any rules or regulat ions t hereunder and t hat t he t ransact ions cont em plat ed by t his
          Client Guide do not require regist rat ion under, and are not subj ect t o, any federal or St at e
          securit ies laws or any rules or regulat ions t hereunder.

          ( J) N o Accr u e d Lia bilit ie s
          Except as m ay be ot herwise disclosed by Client t o GMAC- RFC and acknowledged by GMAC-
          RFC in writ ing prior t o t he dat e of t he Client Cont ract , t here are no accrued liabilit ies of
          Client , wit h respect t o any of t he Loans, or circum st ances under which any such accrued
          liabilit ies will arise against GMAC- RFC, as successor t o Client ’s int erest s in and t o t he Loans,
          wit h r espect t o any act ion or failure t o act by Client occurring on or prior t o t he Fu n din g
          Date.

          ( K) Or igin a t ion , Se r vicin g
          Client ’s originat ion and servicing of t he Loans have been legal, pr oper, prudent , and
          cust om ary and have conform ed t o t he highest st andards of t he resident ial m ort gage
          originat ion and servicing business.

          ( L) Com plia n ce W it h La w s
          Client has com plied wit h, and has not violat ed any law, ordinance, requirem ent , regulat ion,
          rule, or order applicable t o it s business or proper t ies, t he violat ion of which m ight adversely
          affect t he operat ions or financial condit ions of Client , or t he abilit y of Client t o consum m at e
          t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide.

          ( M ) Com plia n ce W it h Pr ogr a m D ocu m e n t s a n d Clie n t Gu ide
          Client will com ply wit h all provisions of t his Client Guide and t he Program Docum ent s, and
          will pr om pt ly not ify GMAC- RFC of any occurrence, act , or om ission regarding Client , t he
          Loan, t he Mort gaged Propert y or t he Mort gagor of which Client has knowledge, which
          occurrence, act , or om ission m ay m at erially affect Client , t he Loan, t he Mort gaged Propert y,
          or t he Mort gagor.

          ( N ) N o D e fe n se s Aga in st GM AC- RFC
          The Client has no j udgm ent , court order, claim , count erclaim , defense, right of set- off or
          sim ilar right against GMAC- RFC.
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                                                                                                    Covenants

A202
Specific Representations, Warranties and Covenants Concerning Individual Loans
For all Loans, t he Client represent s, warrant s and covenant s t o GMAC- RFC as follows:

( A) Loa n s Ar e Eligible ; Accu r a cy of I n for m a t ion
Each of t he Loans delivered and sold t o GMAC- RFC m eet s t he applicable program t erm s and
crit eria set fort h in t his Client Guide. All inform at ion relat ing t o each Loan delivered and sold
t o GMAC- RFC is t rue, com plet e and accurat e and t here are no om issions of m at erial fact s. All
dat a provided by t he Client t o GMAC- RFC relat ing t o any Loan, w het her in elect ronic form at ,
or ot herwise, is t rue and com plet e and accurat ely reflect s t he inform at ion in t he relat ed Loan
file.

( B) Com plia nce W it h W a r r a n t ie s
The Client is in com pliance wit h, and has t aken all necessary act ion t o ensure t hat each Loan
is in com pliance wit h all represent at ions, warrant ies and requirem ent s cont ained in t his
Client Guide.

( C) Loa n Pr ovision s
The provisions of t he Loan have not been im paired, waived, alt ered or m odified in any
respect , unless appr oved in writ ing by GMAC- RFC. The issuer of any relat ed PMI Policy and
t he t it le insurer have approved t he subst ance of any such waiver, alt erat ion, or m odificat ion
t o t he ext ent required by t he respect ive policies. No Mort gagor has been r eleased, in whole
or in part .

( D ) D ocu m e n t s
All Loa n D ocu m e n t s, Fun din g D ocu m e nt s and Fin a l D ocum e n t s ar e genuine, have been
com plet ed, duly and properly execut ed, are in r ecordable form and delivered in t he for m and
m anner specified in t his Client Guide, and each Loan is t he Mort gagor ’s legal, valid and
binding obligat ion enforceable in accordance wit h it s t erm s. All originals and copies of such
docum ent s and all ot her docum ent s, m at erials, and ot her inform at ion required t o be
subm it t ed t o GMAC- RFC have been so subm it t ed, and are com plet e and accurat e. All Loan
Docum ent s, Funding Docum ent s, Final Docum ent s and all ot her docum ent s describing or
ot herwise relat ing t heret o are in com pliance wit h all applicable local and St at e laws,
regulat ions and orders.
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          ( E) Ow n e r sh ip; Tr a n sfe r
          The Client has good t it le t o and is t he sole owner of, each Loan delivered and sold t o GMAC-
          RFC. Except for t he securit y int erest of a warehouse lender, which securit y int erest Client has
          disclosed t o GMAC- RFC in writ ing, t he assignm ent of t he Loan by t he Client validly t ransfers
          such Loan t o GMAC- RFC free and clear of any pledge, lien or securit y int erest or ot her
          encum brance.
          For each Loan regist er ed wit h M ERS, t he Client represent s t hat ( a) if t he Se cu r it y
          I n st r u m e n t relat ing t o such Loan ident ifies MERS as t he original m ort gagee of record, such
          Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o MERS solely as
          nom inee for t he Client and it s successors and assigns and t hat such Securit y I nst rum ent has
          been properly execut ed, acknowledged, delivered and recorded in all places necessary t o
          perfect t he securit y int erest on t he M or t ga ge d Pr e m ise s in favor of MERS, solely as
          nom inee for t he Client and it s successors and assigns; or ( b) if t he Loan is regist ered wit h
          MERS, and MERS is not t he original m ort gagee of record, an assignm ent t o MERS has been
          prepared, duly execut ed and recorded and t he chain of assignm ent s is com plet e and
          recorded from t he original m ort gagee t o MERS. Client furt her repr esent s t hat it has com plied
          wit h all rules and procedures of MERS for it s assignm ent of t he Securit y I nst rum ent t o
          GMAC- RFC, including, am ong ot her t hings, t hat t he Client has confirm ed t he t ransfer on
          MERS t o GMAC- RFC.

          ( F) D isbu r se m e n t s; N o Pa yoffs or Fut u r e Adva nce m e nt s
          Each Loan has been closed and fully disbursed, except as perm it t ed in t he Escr ow Accou n t
          for Post pon e d I m pr ove m e nt s/ Re pa ir s Sect ion of t his Client Guide. There are no payoffs,
          assum pt ions or insurance claim s pending on any Loan or pert aining t o t he Mort gaged
          Prem ises and t he Borrower m ay not exercise any opt ion under any of t he Loa n D ocu m e n t s
          t o borrow addit ional funds secured t hereby from t he Client or any ot her person or ent it y
          wit hout t he Not eholder ’s consent .
          Addit ionally, t he Client warrant s t hat t he Client has not m ade arrangem ent s wit h any
          Borrower for any paym ent forbearance or fut ure r efinancing w it h respect t o any Loan.

          ( G) N o D e fa u lt
          There is no default , breach, violat ion or event of accelerat ion exist ing under any Not e or
          Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, and no event exist s which, wit h not ice and
          t he expirat ion of any grace or cure period, w ould const it ut e a default , breach, violat ion or
          event of accelerat ion, and no such default , breach, violat ion or event of accelerat ion has
          been waived by t he Client or by any ot her ent it y involved in originat ing or servicing t he Loan.

          ( H ) N o D e fe n se s
          Except as provided in a buydown or subsidy agreem ent , if any, m eet ing t he requirem ent s set
          fort h in t his Client Guide, t he Borrower ( including any part y secondarily liable under t he
          Loa n D ocu m e n t s) has no right of set- off, defense, count erclaim or right of rescission t o any
          Loan Docum ent .
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                                                                                                    Client Guide
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                                                                                                    Warranties and
                                                                                                    Covenants
( I ) Com plia nce w it h La w
The sale and t ransfer of each Loan t o GMAC- RFC does not violat e any applicable St at e laws.
To t he ext ent t hat any applicable St at e law places any rest rict ions on t he t ransfer of any
Loan, t he Client has not ified GMAC- RFC in writ ing of t hat rest rict ion and any relat ed St at e
licensing or regist rat ion requirem ent s.
The Se cu r it y I n st r u m e n t has been properly execut ed, acknowledged, delivered and
recorded in all places necessary t o perfect t he securit y int erest in t he M or t ga ge d Pr e m ise s
in favor of t he Client and it s successors and assigns. I f a Loan is regist ered wit h M ERS, and
MERS is ident ified on t he Securit y I nst rum ent as t he original m ort gagee of record, Client
represent s t hat such Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o
MERS solely as nom inee for t he Client and it s successors and assigns. I f t he Loan is
regist ered wit h MERS, and MERS is not t he original m ort gagee of record, Client represent s
t hat an assignm ent t o MERS has been prepared, duly execut ed and r ecorded and t he chain of
assignm ent s is com plet e and recorded from t he original m ort gagee t o MERS and Client
furt her represent s t hat it has com plied wit h all rules and procedures of MERS for it s
assignm ent of t he Securit y I nst rum ent t o GMAC- RFC, including, am ong ot her t hings, t hat
Client has confirm ed t he t ransfer on MERS t o GMAC- RFC.
Each GMAC- RFC Loan Applicat ion ( Fa n n ie M a e 1003/ Fr e ddie M a c Form 65) was t aken from
t he Borrower and processed for each Loan, and each Loan has been originat ed, closed, and
t ransferred in com pliance wit h all applicable local, St at e and federal laws and regulat ions
including, but not lim it ed t o, t he Real Est at e Set t lem ent Procedures Act , t he Fair Credit
Report ing Act , t he Equal Credit Opport unit y Act , t he Trut h- in- Lending Act , t he Fair Housing
Act , and t he Nat ional Flood I nsurance Act . This warrant y is m ade by t he Client w it h respect
t o each GMAC- RFC Loan Applicat ion t aken and pr ocessed for each Loan and wit h r espect t o
each Loan m ade by t he Client or any ot her ent it y.

( J) Re spon sible Le n din g Re pr e se n t a t ions, W a r r a n t ie s a nd Cove n a n t s
     ( 1 ) D iscon t in u e d Loa n
          No Loan is a “ Discont inued Loan”. Discont inued Loan m eans any of t he following,
          regardless of whet her t he originat or is required by law t o com ply wit h t he law or has
          grounds t o claim preem pt ion from all or par t of t he law.
          ( a ) H OEPA/ Se ct ion 3 2
               A loan considered a “ m or t gage” under Sect ion 152 of t he Hom e Ownership and
               Equit y Prot ect ion Act of 1994, 15 U.S.C. Sect ion 1602 ( aa) and t he relat ed
               regulat ions and com m ent ary prom ulgat ed by t he Federal Reserve Board,
               including Sect ion 226.32 of Tit le 12 of t he Code of Federal Regulat ions, and t he
               official st aff com m ent ary t o t hose regulat ions.
          ( b) Pu r ch a se M on e y Loa n s w it h H igh Poin t s or Fe e s
               A “ purchase m oney” loan secured by t he consum er ’s principal dw elling t hat
               exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
               Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
               by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
               Federal Regulat ions. A “ purchase m oney” loan is a loan t hat is considered a
               “ resident ial m ort gage t ransact ion” under Sect ion 226.2( 24) of Tit le 12 of t he
               Code of Federal Regulat ions.
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                    ( c) H om e Equ it y Lin e s a n d 1 st Lie n Lin e s of Cr e dit Th a t Ex ce e d t h e H OEPA
                         Tr igge r s
                        An open- end line of credit secured by t he consum er ’s principal dwelling t hat
                        exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
                        Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
                        by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
                        Federal Regulat ions. “ Point s and fees” m ust be calculat ed in accordance wit h
                        Sect ion 226.32 of Tit le 12 of t he Code of Regulat ions and t he relat ed
                        com m ent ary prom ulgat ed by t he Federal Reserve Board. The “APR” is t he fully
                        indexed rat e or t he init ial rat e, whichever is great er, at t he t im e of
                        consum m at ion. The “ t ot al loan am ount ” is t he t ot al credit line available under
                        t he t erm s of t he loan, wit hout subt ract ing any am ount s for closing cost s.
                    ( d) St a t e a n d Loca l H igh Cost Loa n s
                        A loan considered a “ high- cost ,” covered, “ high- risk,” “ predat ory” or any ot her
                        sim ilar designat ion under any st at e or local law in effect at t he t im e of t he
                        closing of t he loan if t he law im poses great er rest rict ions or addit ional legal
                        liabilit y for resident ial m ort gage loans wit h high int erest rat es, point s and/ or
                        fees.
                    ( e ) Ce r t a in Ge or gia H om e Loa ns
                        A “ hom e loan” under t he Georgia Fair Lending Act , Ga. Code Ann. Sect ion 7- 6A-
                        1 et . seq. t hat becam e effect ive on Oct ober 1, 2002 ( t he “Act ” ) , if t he
                        com m it m ent was issued on or aft er February 1, 2003 and t he loan was closed on
                        or before March 7, 2003.
                    ( f) Ce r t a in N e w Je r se y H om e Loa ns
                        A “ hom e loan” under t he New Jersey Hom e Ownership Securit y Act of 2002 ( t he
                        “Act ” ) , N.J.S.A. 46: 10B- 22 et seq. if t he loan is:
                            • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e” ;
                            • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                            • A “ hom e loan” t hat is an open- end line of credit ;
                            • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                              out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
                    ( g) Ce r t a in N e w M e x ico H om e Loa n s
                        A “ hom e loan” under t he New Mexico Hom e loan Prot ect ion Act ( t he “Act ” ) , t hat
                        was closed on or aft er February 1, 2004, and on or before February 26, 2004, if
                        t he loan is:
                            • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
                            • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                            • A “ hom e loan” t hat is an open- end line of credit ;
                            • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                              out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
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                                                                                                         Warranties and
                                                                                                         Covenants
    ( 2 ) M a n da t or y Ar bit r a t ion Cla u se
         A Loan m ay not include a m andat ory arbit rat ion clause. Any arbit rat ion agreem ent
         signed by t he Borrower prior t o t he t im e of a disput e is prohibit ed.
    ( 3 ) Pr oh ibit e d Te r m s a n d Pr a ct ice s on a ll Loa n s sold t o GM AC- RFC
         A Loan m ay not violat e any of t he following pr ohibit ed t er m s and pract ices:
         ( a) Pr e - pa id in su r a n ce pr odu ct s. No Loan finances single prem ium credit life,
              credit disabilit y, credit unem ploym ent , or any ot her pre- paid life or healt h
              insurance, direct ly or indirect ly.
         ( b) Pr e pa ym e n t pe n a lt ie s. A Loan m ay not provide for a penalt y for paying all or
              part of t he principal before t he dat e on which t he principal is due except as set
              fort h in t his paragraph and ot herwise allowed by applicable federal, St at e, and
              local law.
                  • The penalt y m ay be enforced for only t he first five years following
                    consum m at ion;
                  • The penalt y does not exceed 6 m ont hs of int erest on t he am ount prepaid or
                    6% of t he am ount prepaid; and
                  • The prepaym ent penalt y does not becom e due upon default
         ( c) Re por t in g t o cr e dit bur e a u s. Client or it s Se r vice r m ust report t o a nat ionally
              recognized consum er credit report ing agency at least quart erly t he favorable
              and unfavorable paym ent hist ory inform at ion of Borrower on paym ent s due t o
              Client on a Loan for t he period during which Client holds or services t he Loan.
              This paragraph shall not pr event Client or it s Servicer from not report ing specific
              paym ent hist ory inform at ion in t he event of a resolved or unresolved disput e
              wit h Borrower and shall not apply t o Loans held or serviced by Client for less
              t han 90 days.
         ( d) I n cr e a se d in t e r e st r a t e u pon de fa u lt . A Loan m ay not provide for an
              increase in t he int erest rat e aft er default .

( K) Tit le I n su r a n ce
A policy of t it le insurance, in t he form and am ount required by t his Client Guide, is effect ive
as of t he day t he Se cu r it y I n st r u m e n t is recorded, is valid and binding, is in conform ance
wit h all agency guidelines and rem ains in full force and effect , unless t he M or t ga ge d
Pr e m ise s are locat ed in t he St at e of I owa and a Tit le Guarant y Cert ificat e issued by t he
I owa Tit le Guarant y Division of t he I owa Finance Aut horit y has been provided as described in
Tit le Guarant y Cert ificat e I n I owa below.

( L) Tit le Gu a r a n t y Ce r t ifica t e I n I ow a
As t o each Loan secured by Mort gaged Prem ises locat ed in t he St at e of I owa, and if an
Am erican Land Tit le Associat ion ( ALTA) Loan policy of t it le insurance has not been provided,
a Tit le Guarant y Cert ificat e issued by t he I owa Tit le Guarant y Division of t he I owa Finance
Aut horit y, in t he form and am ount required by t his Client Guide, duly delivered and effect ive
as of t he closing of each such Loan, is valid and binding, and rem ains in full force and effect .
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          ( M ) Va lid Fir st Lie n s
          Each Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, unless provided for ot herwise in a
          given Loa n Pr ogr a m , const it ut es a valid first lien on t he M or t ga ge d Pr e m ise s subj ect only
          t o t he m inor im pedim ent s described in t he Tit le I n su r a n ce Sect ion of t his Chapt er, and
          such im pedim ent s do not adversely affect t he Value, use, enj oym ent or m arket abilit y of t he
          Mort gaged Prem ises. Each Securit y I nst rum ent and all relat ed docum ent s ( including, wit hout
          lim it at ion, releases of prior Securit y I nst rum ent s, assum pt ion agreem ent s, assignm ent s,
          am endm ent s, powers of at t orney, and m odificat ion, ext ension and consolidat ion
          agreem ent s) t hat ar e required t o be recorded or filed under applicable law in order t o
          preserve in favor of GMAC- RFC t he validit y and enforceabilit y of t he Securit y I nst rum ent and
          t he liens creat ed t hereby, have been duly recorded in all appropriat e recor ding offices, and
          all associat ed recording fees or t axes m ust be paid.

          ( N ) N o En cr oa ch m e n t s By Adj oin in g Pr ope r t ie s; I m pr ov e m e n t s
          No im provem ent s by adj oining pr opert ies encroach upon t he Mort gaged Prem ises in any
          respect so as t o affect t he Value or m arket abilit y of t he Mort gaged Prem ises. No
          im provem ent locat ed on or being part of t he Mort gaged Propert y is in violat ion of any
          applicable zoning law or regulat ion.

          ( O) Su r v e y
          All im provem ent s which were considered in det erm ining t he appraised Value of t he
          M or t ga ge d Pr e m ise s lie wholly wit hin it s boundaries and t he building rest rict ion lines of t he
          Mort gaged Prem ises, or t he policy of t it le insurance insures against loss or dam age by reason
          of any violat ion, variat ion, encroachm ent or adverse circum st ance t hat eit her is disclosed or
          would have been disclosed by an accurat e survey.

          ( P) N o Lie n s
          There are no delinquent t ax or delinquent assessm ent liens against t he Mort gaged Prem ises,
          and t here are no m echanic’s liens or claim s for w ork, labor or m at erial or any ot her liens
          affect ing t he Mort gaged Prem ises, which are or m ay be a lien prior t o, or equal wit h, t he lien
          of t he Se cu r it y I n st r u m e n t assigned t o GMAC- RFC, except t hose liens t hat are insured
          against by t he policy of t it le insurance or Tit le Guarant y Cert ificat e issued by t he I owa Tit le
          Guarant y Division.

          ( Q) N o Adve r se Cir cu m st a n ce s
          The Mort gaged Prem ises are free of dam age and in good repair, and no not ice of
          condem nat ion has been given wit h respect t heret o, and no circum st ances exist involving t he
          Loa n D ocu m e n t s, t he M or t ga ge d Pr e m ise s or t he Borrow er ’s credit st anding t hat could:
          ( i) cause privat e inst it ut ional invest ors t o regard t he Loan as an unaccept able invest m ent ,
          ( ii) cause t he Loan t o becom e delinquent , or ( iii) adversely affect t he Value or m arket abilit y
          of t he Mort gaged Prem ises or t he Loan. The Client warrant s t hat it neit her has act ual
          knowledge of t he presence of, nor reasonable gr ounds t o suspect t he presence of, any t oxic
          m at erials or ot her environm ent al hazards on, in or t hat could affect any of t he Mort gaged
          Prem ises. The Client warrant s com pliance wit h local, St at e or federal law or regulat ion
          designed t o pr ot ect t he healt h and safet y of t he occupant s of t he propert y.
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                                                                                                  Warranties and
                                                                                                  Covenants
( R) Ca su a lt y I n su r a n ce
The im provem ent s upon t he M or t ga ge d Pr e m ise s are insured against loss by fir e and ot her
hazards as required by t his Client Guide, including flood insurance if required under t he
Nat ional Flood I nsurance Act of 1968, as am ended. The Se cu r it y I n st r u m e n t r equires t he
Borrower t o m aint ain such casualt y insurance at t he Borrower ’s expense, or on t he
Borrower ’s failure t o do so, aut horizes t he holder of t he Securit y I nst rum ent t o obt ain and
m aint ain such insurance at t he Borrower ’s expense and t o seek reim bursem ent from t he
Borrower. Each casualt y policy is t he insurer ’s valid and binding obligat ion, is in full force and
effect , and w ill be in full force and effect , t o GMAC- RFC’s benefit upon t he consum m at ion of
t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide. The Loan
t erm s per m it t he m aint enance of an escrow account t o pay t he prem ium s for t he above
m ent ioned insurance, and t he Client has not waived t he requirem ent of such escrow account
unless perm it t ed by GMAC- RFC or requir ed by applicable law.

( S) Pr im a r y M or t ga ge I n su r a n ce
I f requir ed by t his Client Guide, prim ar y m ort gage insurance has been obt ained, t he
prem ium has been paid, and t he m ort gage insurance coverage is in full force and effect
m eet ing t he requirem ent s of t his Client Guide.

( T) Un de r w r it in g; Appr a isa l; Appr a ise r
The Loan is of invest m ent qualit y, has been prudent ly originat ed and has been underwrit t en
in com pliance wit h all requirem ent s of t his Client Guide.
For each Loan for which an appraisal is required or obt ained under t his Client Guide, ( a) The
appraisal was m ade by an appraiser who m eet s t he m inim um qualificat ions for appraisers as
specified in t his Client Guide, and ( b) as of t he Fu n din g D a t e , t he m arket Value of t he
M or t ga ge d Pr e m ise s is at least equal t o t he appraised Value st at ed on t he Loan appraisal
except t o t he ext ent t hat t he m arket Value of t he Mort gaged Prem ises is low er t han t he
appraised Value due t o t he effect of any t oxic m at erials or ot her environm ent al hazards of
which neit her t he appraiser nor t he Client has act ual know ledge or reasonable grounds t o
suspect .
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          ( U) En for ce a bilit y; En for ce m e n t Pr ov ision s
          Each Not e and Se cu r it y I n st r u m e n t const it ut es a legal, valid and binding obligat ion of t he
          Borrower enforceable in accordance wit h it s t erm s except as lim it ed by bankrupt cy,
          insolvency or ot her sim ilar laws affect ing generally t he enfor cem ent of credit or s’ right s.
          Each Securit y I nst rum ent cont ains cust om ary and enfor ceable provisions which render t he
          right s and rem edies of t he holder adequat e t o realize t he benefit s of t he securit y against t he
          M or t ga ge d Pr e m ise s, including: ( i) in t he case of a Securit y I nst rum ent designat ed as a
          deed of t rust , by t rust ee's sale, ( ii) by sum m ary foreclosure, if available under applicable
          law; and ( iii) ot herwise by foreclosure, and t here are no hom est ead or ot her exem pt ions or
          dower, court esy or ot her right s or int erest s available t o t he Bor rower or t he Bor rower ’s
          spouse, survivors or est at e or any ot her person or ent it y t hat would, or could, int erfere wit h
          such right t o sell at a t rust ee’s sale or t o foreclose. The Secur it y I nst rum ent and any rider s t o
          t he Securit y I nst rum ent m ust be signed by any person wit h an act ual or pot ent ial int erest in
          t he pr opert y. Tit le holders have an act ual int erest in t he propert y and m ust sign t he Securit y
          I nst rum ent and r iders. Non- Borrowing spouses who are not in t it le m ay have an act ual or
          pot ent ial int erest in t he propert y under St at e law and m ay be required t o sign t he Securit y
          I nst rum ent and rider in som e St at es in order for t he holder of t he Securit y I nst rum ent t o
          obt ain, prot ect and enforce it s lien. The Client will obt ain t he signat ure of t he non- Borrowing
          spouse on t he Securit y I nst rum ent and riders or ot her docum ent at ion, as allowed by law, if
          such signat ure is necessary t o prot ect t he int erest of t he holder of t he Securit y I nst rum ent .

          ( V ) H olde r - I n - D u e - Cou r se
          The Client is t he owner and holder- in- due- course of each Not e and is nam ed as m ort gagee/
          beneficiary or assignee under each Se cu r it y I n st r u m e n t , and all Loa n D ocum e n t s
          requiring execut ion have been appropriat ely execut ed, wit nessed or not arized by t he persons
          whose nam es appear as signat ories and wit nesses, or, as appropriat e, not aries who
          const it ut e t he valid and binding legal obligat ion of t he Borrower, enforceable in accordance
          wit h t heir respect ive t erm s. Not wit hst anding t he foregoing, wit h respect t o adj ust able- rat e
          m ort gage Loans ( ARMs) , t he Client repr esent s and warrant s t hat t here are no claim s t o t he
          Not e on t he part of any person or defenses of any part y t o t he Not e ot her t han t hose t hat
          validly could be raised against a holder- in- due- course.

          ( W ) Tr u st e e D e signa t e d
          Wit h respect t o each Se cu r it y I n st r u m e n t t hat is a deed of t rust , a t rust ee duly qualified
          under applicable law t o serve as such is properly nam ed, designat ed and serving.

          ( X ) N o Fe e s D ue Tr u st e e
          Except in connect ion wit h a t rust ee’s sale aft er default by t he Borrower, no fees or expenses
          are payable by t he Client or GMAC- RFC t o t he t rust ee under any Securit y I nst rum ent t hat is
          a deed of t rust .

          ( Y) Ex e cut ion of D ocum e n t s
          All agreem ent s, cont ract s, assignm ent s, endorsem ent s and issuances of checks or draft s,
          report s, Loa n D ocu m e n t s or ot her papers relat ed t o a Loan t hat are required by t his Client
          Guide t o be execut ed by t he Client have been properly execut ed by an officer on behalf of
          t he Client pursuant t o a duly adopt ed Resolut ion of Board of Direct ors.
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( Z) Le a se h olds
Where perm it t ed by t he applicable Loa n Pr ogr a m , each Mort gaged Prem ises involving a
Le a se h old est at e com plies wit h t he applicable Leasehold warrant ies set fort h in t his Client
Guide.
( AA) Con dom in iu m s; Pla n n e d Un it D e v e lopm e n t s ( PUD s)
Each M or t ga ge d Pr e m ise s t hat is a unit in a condom inium or PUD com plies wit h t he
applicable condom inium or PUD warrant ies set fort h in t his Client Guide.
( BB) Com plia n ce By Ot h e r s
When a person or ent it y: ( i) originat es a Loan on behalf of a Client , ( ii) originat es a Loan on
it s own behalf and sells it t o a Client , or ( iii) perform s any act for a Client which t he Client is
required t o perform under t his Client Guide, t he Client warrant s t hat such person or ent it y
has com plied wit h all requir em ent s of t his Client Guide wit h respect t o all such Loans and
act s.
( CC) Clie n t Con t r a ct W a r r a n t ie s
The represent at ions and warrant ies m ade at t he t im e of t he Client ’s execut ion of t he Client
Cont ract m ust rem ain t rue, correct and com plet e.
( D D ) Clie n t a n d Or igin a t or s
     • I f t he Client   sells Jum bo A or Expanded Crit eria Loans t o GMAC- RFC, t he Client is a
       savings and       loan associat ion, savings bank, com m ercial bank, credit union, insurance
       com pany or       sim ilar banking inst it ut ion w hich is supervised by a federal or st at e
       aut horit y or    a H UD approved non- supervised m ort gagee.
     • Each Jum bo A and Expanded Crit eria Loan was: ( i) closed in t he nam e of t he Client , ( ii)
       closed in t he nam e of anot her ent it y t hat eit her is a savings and loan associat ion,
       savings bank, com m ercial bank, credit union, insurance com pany or sim ilar banking
       inst it ut ion which is supervised by a federal or St at e aut horit y, or a HUD approved non-
       supervised m ort gagee, and was so at t he t im e t he Loan was originat ed ( t he Client or
       such ot her ent it y shall be called t he “ originat or ” ) or ( iii) closed in t he nam e of t he loan
       broker.
     • All Loans closed in t he nam e of a loan broker ( including but not lim it ed t o Jum bo A and
       Expanded Crit eria Loans) were originat ed under t he circum st ances described in t he
       following sent ence: I f t he Loan was originat ed t hrough a loan broker, t he originat or
       appr oved t he Loan prior t o funding by t he loan broker and t he originat or acquired t he
       Loan from t he loan broker cont em poraneously wit h t he originat ion t hereof.
I f t he Client sells Loans t o GMAC- RFC which are regist ered wit h M ERS or as t o which MERS is
t he m ort gagee on t he Se cu r it y I n st r u m e n t , t he Client is a m em ber of MERS, in good
st anding and current in paym ent of all fees and assessm ent s im posed by MERS.
( EE) N o I m pa ir m e n t of I n su r a n ce
No act ion, er ror, om ission, m isrepresent at ion, negligence, fraud or sim ilar occurrence in
respect of a Loan has t aken place on t he part of any person, including, wit hout lim it at ion, t he
Borrower, any appraiser, any builder or developer or any part y involved in t he originat ion of
t he Loan or in t he applicat ion of any insurance in relat ion t o such Loan t hat m ight result in a
denial, cont est ing, failure or im pairm ent of full and t im ely coverage under any insurance
policies requir ed t o be obt ained or any pool insurance policy covering such Loan.
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          ( FF) Te m por a r y Buy dow ns
          Where perm it t ed by t he applicable Loa n Pr ogr a m , each Te m por a r y Buy dow n Loan
          delivered t o GMAC- RFC was ent ered int o pursuant t o a buydown agreem ent which com plies
          wit h t he Te m por a r y Bu ydow n s Sect ion in Cha pt e r 3 of t his Client Guide.
          ( GG) Pr im a r y M or t ga ge I n su r a n ce Ca n ce lla t ion
          The Client has disclosed in writ ing t o t he Borrower t he t erm s and condit ions t hat m ust be
          m et prior t o t he prim ary m ort gage insurance being eligible for cancellat ion. A copy of t his
          disclosure has been ret ained in t he Loan file as a perm anent record.
          ( H H ) N o D e ficie n cy I n Escr ow D e posit s or Pa ym e n t s
          The Loan has been serviced by t he Client and any pr edecessor Se r vice r in accordance wit h
          t he t erm s of t he m ort gage Not e and all applicable law. Wit h respect t o escrow deposit s and
          escrow paym ent s, if any, all such paym ent s are in t he possession of, or under t he cont rol of,
          t he Client , and t here exist s no deficiency in connect ion t herewit h for which cust om ary
          arrangem ent s for repaym ent t hereof have not been m ade. No escrow deposit s, escr ow
          paym ent s or ot her charges or paym ent s due t he Client have been capit alized under any
          m ort gage or relat ed m ort gage Not e.
          ( I I ) Loa n Se cu r it iza t ion
          The Client recognizes t hat it is GMAC- RFC’s int ent t o securit ize som e or all of t he Loans sold
          t o GMAC- RFC by t he Client . The Client agrees t o provide GMAC- RFC w it h all such inform at ion
          concerning t he Client generally and, if applicable, t he Client ’s servicing experience, as m ay
          be reasonably request ed by GMAC- RFC for inclusion in a prospect us or privat e placem ent
          m em orandum published in connect ion wit h such securit izat ion.
          I n addit ion, t he Client will cooperat e in a sim ilar m anner wit h GMAC- RFC in connect ion wit h
          any whole Loan sale or ot her disposit ion of any Loan sold t o GMAC- RFC by t he Client . The
          Client agrees t o indem nify and hold GMAC- RFC harm less from and against any loss, dam age,
          penalt y, fine, forfeit ure, court cost , reasonable at t orneys’ fees, j udgm ent , cost , fee, expense
          or liabilit y incurred by GMAC- RFC as a result of any m at erial m isst at em ent in or om ission
          fr om any infor m at ion provided by t he Client t o GMAC- RFC; or fr om any claim , dem and,
          defense or assert ion against or involving GMAC- RFC based on or grounded upon, or result ing
          fr om such m isst at em ent or om ission or a breach of any represent at ion, warrant y or
          obligat ion m ade by GMAC- RFC in reliance upon such m isst at em ent or om ission.
          The Client furt her agrees t o cooperat e fully wit h GMAC- RFC, rat ing agencies, at t or neys, bond
          insurers, purchasers of Loans or any ot her part ies t hat m ay be involved in t he sale or
          securit izat ion of any Loan, including, wit hout lim it at ion, all cooperat ion as m ay be necessary
          in order t o accom m odat e due diligence act ivit y.
          ( JJ) N on - Solicit a t ion
          The Client has not solicit ed or provided inform at ion t o anot her part y for t he purpose of
          solicit ing, and covenant s and agrees t hat it will not solicit or provide inform at ion t o anot her
          part y for t he purpose of solicit ing, t he refinance of any Loan. The t erm “ solicit ” as used
          herein shall m ean a direct request or offer t o refinance a servicing released Loan, and shall
          not include general solicit at ions, advert isem ent s or prom ot ions direct ed t o t he public at
          large.
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( KK) N o Fr a u d or M isr e pr e se n t a t ion
No fraud or m isrepr esent at ion by t he Borrow er or by t he Client , broker, correspondent ,
appr aiser or any independent cont ract or ret ained by t he Client , broker, corr espondent ,
appr aiser or any em ployee of any of t he foregoing occurred wit h respect t o or in connect ion
wit h t he originat ion or underwrit ing of any Loan and all inform at ion and docum ent s provided
t o GMAC- RFC in connect ion wit h t he Loan are com plet e and accurat e.
( LL) Ex clu sion a r y List
No part y involved in t he originat ion of a Loan, including wit hout lim it at ion t he originat or,
broker, t it le com pany or appraiser, was nam ed on t he version of t he Ex clu sion a r y List t hat
was effect ive on t he dat e of t he prom issory Not e for t hat part icular Loan.

A203
Additional Client Representations, Warranties and Covenants for the Home Equity Loan
Program
The Hom e Equit y Loan Program adher es t o t he Client represent at ions, warrant ies and
covenant s st at ed below as well as t he represent at ions, warrant ies and covenant s cont ained
in t his Client Guide.
Unless t he Hom e Equit y Loan is a valid first lien on t he M or t ga ge d Pr e m ise s, t he following
represent at ion and warrant y applies:
       Valid Second Lien
       Each Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC const it ut es a valid lien on t he
       Mort gaged Prem ises which is subordinat ed only t o a lien of t he holder of a first
       m ort gage Loan, and is subj ect only t o t he m inor im pedim ent s described in t he Tit le
       I n su r a n ce Sect ion of t his Chapt er. No such im pedim ent shall adversely affect t he
       Value, use, enj oym ent or m arket abilit y of t he Mort gaged Prem ises.
The following addit ional represent at ions and warrant ies are m ade by t he Client t o GMAC- RFC
as of t he Pu r ch a se D a t e of each Hom e Equit y Loan:

( A) Lice n sin g
The Client and any agent s or correspondent s originat ing for t he Client have obt ained all
licenses and approvals required wit h respect t o t he originat ion of t he Hom e Equit y Loans,
including, t o t he ext ent applicable, licenses and appr ovals required for sm all Loans or sm all
advances and licenses and approvals requir ed t o charge t he m axim um int erest rat e allowable
under St at e law.

( B) N o Con t r a ct or or D e a le r Loa ns
No hom e im provem ent cont ract or or dealer was involved as a t hird part y originat or of a
Hom e Equit y Loan or received com pensat ion in any form from t he Client .

( C) N o Bor r ow e r D e fe n se s or Cla im s
No unresolved defense or claim has been m ade or assert ed in writ ing by t he Borrower wit h
respect t o t he Hom e Equit y Loan, including, wit hout lim it at ion, any defenses or claim s based
on unsat isfact ory workm anship or m at erials in connect ion wit h any hom e im pr ovem ent s
financed wit h t he proceeds of t he Hom e Equit y Loan.
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A205
Proof of Compliance
The Client will, upon t he request of GMAC- RFC, supply proof sat isfact ory t o GMAC- RFC of it s:
    ( 1) Com pliance wit h all repr esent at ions and warrant ies cont ained in t his Client Guide,
         and
    ( 2) Com pliance wit h all local, St at e and federal laws, rules and regulat ions.

A206
Integrity of Information
The Client is responsible for credit and propert y underw rit ing regardless of w het her t he
inform at ion was provided by t he Client , an ent it y relat ed t o t he Client or designat ed by t he
Client t o perform t he funct ion. This includes credit inform at ion, appraisals, or ot her
docum ent s/ inform at ion used in t he Loan's evaluat ion.
The Client should t ake all st eps necessary t o ensure t hat each Loan sold t o GMAC- RFC has
been prudent ly originat ed and underwrit t en, and t hat all inform at ion supplied by, on behalf
of, or concerning t he Borrower is t rue, accurat e and com plet e. The Client should ensure t hat
int erest ed part ies are sufficient ly independent from t he Loan t ransact ion and t hat adequat e
organizat ional cont r ols are in place t o ensur e t he independence, validit y and reliabilit y of t he
Loan inform at ion.
I n addit ion, t he Client should im plem ent prudent pract ices when relying on designat ed
agent s ( such as escrow com panies, t it le com panies, et c.) in order t o ensure t hat t hey com ply
wit h it s inst ruct ions and t hat t he int egr it y of t he Loan t ransact ion has been m aint ained.
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A208
Events of Default
Any one or m ore of t he following event s const it ut e an Eve nt of D e fa u lt :
    ( 1) The Client has not com plied wit h one or m ore of t he requirem ent s ( including any
         requirem ent out lined in Chapt er 2, Client Eligibilit y) t erm s or condit ions out lined in
         t his Client Guide or one of t he disqualificat ion, suspension or inact ivat ion event s set
         fort h in t he D isqu a lifica t ion Su spe n sion or I n a ct iv a t ion Sect ion has occurred or
         occurs.
    ( 2) The Client has breached any agreem ent out lined or incorporat ed by reference in t he
         Client Cont ract or any ot her agreem ent bet ween t he Client and GMAC- RFC.
    ( 3) The Client breaches any of t he represent at ions, warrant ies or covenant s set fort h in
         t his Client Guide, fails t o perform it s obligat ions under t his Client Guide or t he
         Program Docum ent s, m akes one or m ore m isleading represent at ions, war rant ies or
         covenant s t o GMAC- RFC, or as failed t o provide GMAC- RFC wit h inform at ion t hat is
         t r ue, com plet e and accurat e.
    ( 4) The Borr ower or any ot her person or ent it y involved in t he Loan t ransact ion or in it s
         underwrit ing or docum ent at ion ( including any appraiser, broker, t hird- part y
         originat or, credit report ing agency, or ot her pr ovider of underwrit ing inform at ion)
         has m ade any false represent at ion and/ or has failed t o provide inform at ion t hat is
         t r ue, com plet e and accurat e in connect ion w it h such t ransact ion, w het her or not t he
         Client was a part y t o or had knowledge of such m isr epresent at ion or incorrect
         inform at ion.
    ( 5) Occurrence of an Event of Se r vice r Default wit h respect t o any Loans serviced by
         t he Client .
    ( 6) Term inat ion of servicing for cause is a basis for t he Client ’s im m ediat e
         disqualificat ion or suspension. Act ion t aken by GMAC- RFC t o t erm inat e servicing
         m ay be m erged wit h an act ion t o disqualify, suspend or inact ivat e t he Client .
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          A209
          Remedies of GMAC-RFC
          ( A) N on - Ex clu siv e , Cu m u la t ive Re m e die s
          GMAC- RFC m ay exercise any r em edy out lined in t his Client Guide or as allowed by law or in
          equit y. GMAC- RFC’s exercise of one or m ore rem edies in connect ion wit h a part icular Eve n t
          of D e fa u lt will not prevent it from exercising:
               • One or m ore ot her rem edies in connect ion wit h t he sam e Event of Default
               • Any ot her right s which it m ay have at law or in equit y

          ( B) W a ive r of D e fa u lt s
          GMAC- RFC m ay waive any default by Client in t he perform ance of Client ’s obligat ions
          hereunder and it s consequences, but only by a writ t en waiver specifying t he nat ure and
          t erm s of such waiver. No such waiver shall ext end t o any subsequent or ot her default or
          im pair any right consequent t heret o, nor shall any delay by GMAC- RFC in exercising, or
          failure t o exercise, any right arising from such default affect or im pair GMAC- RFC’s right s as
          t o such default or any subsequent default .

          ( C) Su r v iva l of Re m e die s
          GMAC- RFC’s rem edies for breach of t he represent at ions, warrant ies and covenant s shall
          survive t he sale and delivery of t he Loan t o GMAC- RFC and funding of t he relat ed purchase
          price by GMAC- RFC, and will cont inue in full force and effect for t he rem aining life of t he
          Loans, not wit hst anding any t erm inat ion of t his Client Guide and t he relat ed Fu n din g
          D ocu m e n t s, or any rest rict ive or qualified endorsem ent on any m ort gage Not e or
          assignm ent of m ort gage or Loan approval or ot her exam inat ion of or failur e t o exam ine any
          relat ed m ort gage Loan file by GMAC- RFC.
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A210
Repurchase
( A) Re pu r ch a se Obliga t ion s
I f GMAC- RFC det erm ines t hat an Ev e n t of D e fa u lt has occurred wit h respect t o a specific
Loan, t he Client agrees t o r epurchase t he Loan and it s servicing ( if t he Loan was sold
servicing released) wit hin 30 days of receiving a repurchase let t er or ot her writ t en
not ificat ion from GMAC- RFC.
I f t he Client discovers an Event of Default , it should give GMAC- RFC prom pt writ t en not ice.
Such not ice should include a writ t en descript ion of t he Event of Default . Upon receipt of t his
not ice, GMAC- RFC will review t hese m at erials and any addit ional inform at ion or
docum ent at ion t hat t he Client believes m ay influence GMAC- RFC’s decision t o requir e
repurchase. I f GMAC- RFC decides t o require repurchase, t he Client shall repurchase t he Loan
and t he servicing ( if t he Loan was sold servicing released) wit hin 30 days aft er GMAC- RFC’s
decision is com m unicat ed t o Client in writ ing.
To expedit e t he wiring of funds t o GMAC- RFC, t he Client should com plet e t he servicing
t ransfer inst ruct ion form provided by GMAC- RFC. GMAC- RFC will send t he form t o t he Client
along wit h t he not ificat ion of repurchase.
GMAC- RFC is not required t o dem and repurchase wit hin any part icular period of t im e, and
m ay elect not t o require im m ediat e repurchase. However, any delay in m aking t his dem and
does not const it ut e a waiver by GMAC- RFC of any of it s right s or rem edies.
Where GMAC- RFC det erm ines t hat repurchase of a Loan and/ or t he servicing is not
appr opriat e, t he Client shall pay GMAC- RFC all losses, cost s and expenses incurred by GMAC-
RFC and/ or t he Loan’s Se r vice r as a result of an Ev e n t of D e fa u lt . This includes all
reasonable at t orneys’ fees and ot her cost s and expenses incurred in connect ion wit h
enforcem ent effort s under t aken.
Upon t he Client ’s sat isfact ion of it s repurchase obligat ion, GMAC- RFC will endorse t he Not e
evidencing t he Loan in blank and w ill deliver it and ot her pert inent Loa n D ocu m e n t s t o t he
Client . I f GMAC- RFC acquired t it le t o any of t he real propert y securing t he Loan pursuant t o a
foreclosure sale and has not disposed of such propert y, it w ill t ransfer such propert y t o t he
Client on a “ quit claim ” basis or, if required by St at e law, a “ warrant y deed” basis. How ever,
if GMAC- RFC has disposed of t he real proper t y securing t he Loan, t he Loan Docum ent s will
not be ret urned t o t he Client unless request ed.
I f t he Client is also t he Se r vice r of a Loan repurchased by reason of t he occurrence of an
Event of Default , GMAC- RFC will not reim burse t he Client for any principal, int erest or ot her
advances m ade by t he Client wit h respect t o t hat Loan.
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          ( B) Re pu r ch a se Pr ice of Fir st M or t ga ge Pr ogr a m s
          I n t he event t he Client is obligat ed t o repurchase a Loan t he Client m ust pay t o GMAC- RFC a
          repur chase pr ice equal t o t he sum of:
               • The act ual principal balance of t he Loan at t he t im e of repurchase ( if t he Client sold t he
                 Loan t o GMAC- RFC at a discount or a prem ium , t he repurchase price above will be
                 adj ust ed t o reflect t he act ual principal balance m inus t he discount percent age
                 m ult iplied by t he act ual principal balance, or plus t he prem ium percent age m ult iplied
                 by t he act ual principal balance, as appr opriat e, including t hat price paid for Se r vicin g
                 Righ t s) , plus
               • All accr ued and unpaid int erest on t he Loan t hrough t he last day of t he m ont h of t he
                 dat e of repurchase; plus
               • All int erest , principal and ot her advances m ade t o invest ors and all out of pocket cost s
                 and expenses of any kind incurred by GMAC- RFC and/ or t he prim ary Se r vice r in
                 connect ion wit h t he Loan, including, but not lim it ed t o, advances for t axes or
                 insurance, and repair, foreclosure and insurance cost s and reasonable at t orneys’ fees;
                 plus
               • The am ount of t he buyout fee as calculat ed in t he Buyou t s a nd Ex t e nsion s Sect ion
                 of Cha pt e r 9 of t his Client Guide; plus
               • I n t he event t hat GMAC- RFC or any of it s Affilia t e s is required t o repurchase t he Loan
                 fr om any subsequent assignee, t hen any addit ional am ount as m ay be required t o
                 m ake t he repurchase pr ice t hat t he Client is obligat ed t o pay hereunder equal t o t he
                 repurchase pr ice t hat GMAC- RFC or it s Affiliat e is required t o pay t o such subsequent
                 assignee; m inus
               • The net am ount of any proceeds r ealized by t he owner of t he Loan upon t he final
                 liquidat ion of t he Loan or t he M or t ga ge d Pr e m ise s t o an unrelat ed t hird part y.
          The D e signa t e d Se r v ice r will ret urn t o t he Client any escrow funds, unapplied funds and
          prepaid principal and int erest inst allm ent s.
          GMAC- RFC m ay dem and t hat a Client repurchase, and Client m ust repurchase, a Loan aft er
          foreclosure even if t he full am ount of it s out st anding debt was bid on by or on behalf of t he
          Loan’s owner t o acquire t he M or t ga ge d Pr e m ise s at t he foreclosure sale. I n t he event t he
          Client is obligat ed t o repurchase a Loan aft er foreclosure, t he repurchase price shall be
          calculat ed using t he form ula above, however Sch e du le d Pr in cipa l Ba la n ce shall be
          subst it ut ed for t he act ual principal balance.
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( C) Re pu r ch a se Pr ice of H om e Equ it y Loa n Pr ogr a m
I n t he event t he Client is obligat ed t o repurchase a Hom e Equit y Loan, t he Client m ust , upon
repurchase, service such Hom e Equit y Loan. The repurchase price for such Hom e Equit y Loan
shall be equal t o t he sum of:
    • The unpaid pr incipal balance of t he Hom e Equit y Loan
    • All accr ued and unpaid int erest on t he Hom e Equit y Loan
    • The am ount of all fees and/ or pur chase pr em ium paid, if any, t o t he Client by GMAC-
      RFC for originat ion of t he Hom e Equit y Loan
    • All fees paid t o any Se r v ice r or sub- servicer of a Hom e Equit y Loan by reason of t he
      t erm inat ion of t hat Servicer ’s or Sub- Servicer ’s right t o service t hat Hom e Equit y Loan
    • All cost s incurred or paid by GMAC- RFC or any Servicer in collect ing or enforcing t he
      Hom e Equit y Loan, including, wit hout lim it at ion, int erest or ot her cost s paid t o bring or
      m aint ain a prior lien current or up t o dat e, cost s t o insure or pay delinquent t axes,
      at t orneys’ fees, court cost s, appraisal and t it le expenses and ot her sim ilar cost s or
      expenses ( collect ively, “ Foreclosure Expenses” )
    • Any addit ional am ount GMAC- RFC or any of it s Affilia t e s is required t o pay t o
      repurchase t he Hom e Equit y Loan from a subsequent assignee
I n lieu of repurchasing a Hom e Equit y Loan t hat has not yet been foreclosed and accept ing
t he servicing of such Hom e Equit y Loan, GMAC- RFC m ay in it s sole discret ion allow Client t o
pay t o GMAC- RFC t he Est im at ed Loss ( as defined below) . Est im at ed Loss, as it relat es t o
each Hom e Equit y Loan subj ect t o repurchase, shall equal t he product of:
120% m ult iplied by t he result of:
    • Repurchase price as calculat ed above, plus
    • Accrued int erest on t he Hom e Equit y Loan t hrough t he dat e GMAC- RFC est im at es t hat
      t he Hom e Equit y Loan will be fully liquidat ed ( which in t he case of a foreclosure, shall
      m ean t he dat e t hat GMAC- RFC est im at es t hat t he M or t ga ge d Pr e m ise s will be sold t o
      a t hird part y and which in any ot her case m eans t he dat e t hat GMAC- RFC est im at es
      t hat all collect ion effort s on t he Hom e Equit y Loan will be abandoned) and est im at ed
      foreclosure and ot her enforcem ent expenses for t he ent ire collect ion process, less
    • Am ount by which t he current m arket Value of t he Mort gaged Prem ises as det erm ined
      by GMAC- RFC using valuat ion services provided by an independent t hir d part y exceeds
      t he current out st anding am ount of indebt edness secured by t he Mort gaged Prem ises
      t hat is senior t o t he Hom e Equit y Loan.
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          ( D ) Re pu r ch a se Pr ice of a Se r vicin g Re le a se d Loa n
          I n t he event t he Client repurchases a Loan for which t he servicing has also been sold t o
          GMAC- RFC, t he Client will also be required t o repurchase t he servicing. I f t he repur chase of
          t he servicing of t he Loan is for any reason ot her t han a breach of t he D e lin qu e n cy Payoff/
          Liquidat ion warrant y cont ained in t he Servicing Released Cha pt e r 8 , t he Client m ust pay t o
          GMAC- RFC a repurchase price equal t o t he original Se r vicin g Re le a se d Pr e m iu m ( SRP)
          percent age m ult iplied by t he act ual unpaid principal balance at t he t im e of repurchase.
          I n no event however, will t he required repur chase Servicing Released Prem ium be gr eat er
          t han t he original Ser vicing Released Prem ium paid t o t he Client .
          The D e sign a t e d Se r vice r will ret urn t o t he Client any escrow funds, Te m por a r y Bu ydow n
          funds, unapplied funds and prepaid pr incipal and int erest inst allm ent s. The Client will be
          required t o reim burse t he Designat ed Servicer for any delinquent principal and int erest
          advances, and any escrow advances and foreclosure expenses t hey have m ade and not
          recovered on a repurchased Loan.

          ( E) Re pu r ch a se As a Re su lt of Con ve r sion
          The Client ( or, if t he Client has t ransferred servicing of t he Loans, t he Se r vice r ) shall
          repurchase a Loan which has convert ed from an ARM t o a fixed- rat e m ort gage. The Servicer
          m ust subm it t he ARM Conversion Not ificat ion Report no less t han 15 days prior t o t he
          conversion dat e.
          I f t he Client or Servicer repurchases a convert ed Loan and subsequent ly resells t hat
          convert ed Loan t o GMAC- RFC, all t he Client ’s represent at ions and warrant ies wit h respect t o
          t hat Loan shall survive such repurchase and resale. I n addit ion, t he Client shall be subj ect t o
          all right s and rem edies ( including repurchase) available t o GMAC- RFC as a result of any
          m isrepresent at ion or breach of warrant y wit h respect t o t hat Loan pr ior t o conversion.
          The Client shall also subm it t he m odificat ion agreem ent if request ed by GMAC- RFC or it s
          assigns.
          Aft er it s receipt of t he Loan funds, GMAC- RFC will endorse t he Not e t o t he par t y which
          repurchased t he Loan. The Loan will t hen be assigned t o such part y, and all credit
          docum ent at ion will be ret urned. Failure t o subm it t he ARM Conversion Not ificat ion Report in
          a t im ely m anner m ay delay t he receipt of t he endorsed Not e and ot her legal docum ent s.
          The Se r v ice r shall subm it a Payoff/ Liquidat ion Report and wire t ransfer Loan funds t o t he
          GMAC- RFC Loa n Accou n t in g D e pa r t m e n t no lat er t han t he last Bu sin e ss D a y prior t o t he
          conversion dat e. The Servicer m ust rem it int erest for t he ent ire m ont h preceding t he
          conversion dat e. The Client shall at t ach a copy of t he ARM Conversion Not ificat ion Report .
          I f t he appropriat e am ount is not wired on t im e, GMAC- RFC will charge a lat e paym ent fee.
          This fee will equal t he am ount due m ult iplied by t he “ Pr im e Ra t e ” plus 3% m ult iplied by t he
          num ber of days overdue divided by 365. The t erm “ Prim e Rat e” shall m ean t he highest
          quot ed Prim e Rat e print ed in The Wall St r eet Journal in it s regular colum n “ Money Rat es” on
          t he first Bu sin e ss D a y of t he m ont h in which t he paym ent was due and not paid. I f t he
          Prim e Rat e is not available, GMAC- RFC will det erm ine a com parable rat e.
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( F) Su bst it u t ion
I nst ead of requiring t he Client t o repurchase a Loan as provided above, GMAC- RFC, at it s
discret ion, m ay allow t he Client t o subst it ut e anot her Loan sat isfact ory t o GMAC- RFC in place
of t he original Loan, wit hin 10 days of not ificat ion by GMAC- RFC, unless ot herwise not ified. I f
t he subst it ut ed Loan cont ains t erm s different from t hose of t he Loan t hat it is replacing, a
purchase price adj ust m ent will be calculat ed by GMAC- RFC based on m ar ket changes and
Loan charact erist ics. Every Loan subst it ut ed will be subj ect t o all agreem ent s, t erm s,
condit ions, represent at ions and warrant ies in t his Client Guide as of t he Su bst it u t ion D a t e .
I n t he event a Loan is eligible for purchase by GMAC- RFC but t he servicing is ineligible for
purchase by GMAC- RFC, t he Loan will be purchased and t he sale of servicing denied. GMAC-
RFC w ill not allow t he Client t o subst it ut e anot her servicing released Loan.

( G) Cost of Tr a n sfe r Fe e s D ue t o Re pu r cha se
The Client agrees t hat , if it is requir ed t o repurchase a Loan and t he relat ed Servicing, it will
pay all docum ent ary st am p t axes, recording fees, t ransfer t axes and all ot her expenses
payable in connect ion wit h t he repurchase and will indem nify and hold harm less GMAC- RFC
and t he D e signa t e d Se r v ice r against all losses, cost s and expenses, including at t orney
fees, result ing from such requir ed repurchases or t he breach giving rise heret o.

( H ) N ot ice a n d Appe a l
The Client m ay appeal GMAC- RFC’s decision by providing any addit ional inform at ion or
docum ent at ion it believes m ay affect GMAC- RFC’s det erm inat ion.
Send all not ificat ions and appeals t o:
      GMAC- RFC
      One Meridian Crossing
      Suit e 100
      Minneapolis, MN 55423
      At t ent ion: Repurchase Managem ent
Such inform at ion and docum ent at ion m ust be received wit hin 30 days aft er t he Client ’s
receipt of a repurchase let t er or sim ilar writ t en not ificat ion from GMAC- RFC. GMAC- RFC will
review all appeals and advise t he Client in writ ing of t he appeal decision. GMAC- RFC will in it s
sole discret ion det erm ine t he validit y of any appeal filed by t he Client . I f GMAC- RFC’s
decision rem ains firm following an appeal, t he Client shall repurchase t he Loan and it s
servicing ( if t he Loan was sold servicing released) wit hin 10 days of not ificat ion by GMAC-
RFC, in writ ing, t hat t he appeal has been denied.
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   ( 17) The Client or Se r vice r ’s failure t o m aint ain a qualified Loan originat ion, servicing
         and qualit y cont r ol st aff, an accept able ongoing qualit y cont rol program , adequat e
         facilit ies and writ t en policies and procedures t o ensure:
         • The invest m ent qualit y of Loans sold t o GMAC- RFC
         • The adequacy of t he servicing of Loans purchased by GMAC- RFC OR
   ( 18) The failure of t he Client or t he Se r vice r t o m eet any t est as m ay be prescribed for
         eligibilit y,
   ( 19) The det erm inat ion by GMAC- RFC t hat a Client has not delivered an adequat e volum e
         of Loans t o GMAC- RFC.

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Indemnification
The Client shall indem nify GMAC- RFC fr om all losses, dam ages, penalt ies, fines, forfeit ures,
court cost s and reasonable at t orneys’ fees, j udgm ent s, and any ot her cost s, fees and
expenses result ing from any Ev e n t of D e fa u lt . This includes any act or failure t o act or any
breach of warrant y, obligat ion or represent at ion cont ained in t he Client Cont ract ; or from
any claim , dem and, defense or assert ion against or involving GMAC- RFC based on or
result ing from such breach or a breach of any r epresent at ion, warrant y or obligat ion m ade
by GMAC- RFC in reliance upon any war rant y, obligat ion or represent at ion m ade by t he Client
cont ained in t he Client Cont ract .
I n addit ion, Client shall indem nify GMAC- RFC against any and all losses, dam ages, penalt ies,
fines, forfeit ures, j udgm ent s, and any ot her cost s, fees and expenses ( including court cost s
and reasonable at t orneys’ fees) incurred by GMAC- RFC in connect ion wit h any lit igat ion or
governm ent al proceeding t hat alleges any violat ion of local, St at e or federal law by Client , or
any of it s agent s, or any originat or or broker in connect ion wit h t he originat ion or servicing of
a Loan. Wit h regard t o legal fees or ot her expenses incurr ed by or on behalf of GMAC- RFC in
connect ion wit h any such lit igat ion or governm ent al proceeding, Client shall reim burse
GMAC- RFC for such fees and expenses. Reim bursem ent shall be m ade direct ly t o GMAC- RFC
wit hin t en days of receipt of a request for paym ent , which request shall include copies of t he
relevant invoices. Except for not ices for reim bursem ent , GMAC- RFC is not required t o give
Client not ice of any lit igat ion or governm ent al proceeding t hat m ay t rigger indem nificat ion
obligat ions. Client shall inst ruct it s officers, direct ors and agent s ( including legal counsel) t o
cooperat e wit h GMAC- RFC in connect ion wit h t he defense of any lit igat ion or governm ent al
proceeding involving a Loan. GMAC- RFC has t he right t o cont rol any lit igat ion or
governm ent al proceeding relat ed t o a Loan, including but not lim it ed t o choosing defense
counsel and m aking set t lem ent decisions.
The Client also shall indem nify GMAC- RFC and hold it harm less against all court cost s,
at t orney’s fees and any ot her cost s, fees and expenses incurred by GMAC- RFC in enforcing
t he Client Cont ract . The obligat ions of t he Client under t his Sect ion shall survive t he
D e live r y D a t e , t he Fu n din g D a t e ( and each Su bst it u t ion D a t e , if applicable) and t he
t erm inat ion of t he Client Cont ract and t he disqualificat ion, suspension or inact ivat ion of t he
Client .
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      Covenants

          A201
          Specific Representations, Warranties and Covenants Concerning Client
          ( A) D u e Or ga n iza t ion ; Good St a n ding; Lice n sin g
          Client and, t o Client ’s knowledge, Client ’s Guarant or, if applicable, is and shall cont inue t o be
          duly organized, validly exist ing, and in good st anding under t he laws of t he Unit ed St at es or
          under t he laws of t he j urisdict ion in which it was incorporat ed or organized, as applicable,
          and has and shall cont inue t o m aint ain all licenses, regist rat ions, and cert ificat ions necessary
          t o carry on it s business as now being conduct ed, and is and will cont inue t o be licensed,
          qualified, and in good st anding in each St at e where a Mort gaged Propert y is locat ed if t he
          laws of such St at e require licensing or qualificat ion in order t o conduct business of t he t ype
          conduct ed by Client 1 . Client is and will rem ain in com pliance wit h t he laws of any such St at e,
          and is and will rem ain in good st anding wit h federal aut horit ies, t o t he ext ent necessary t o
          ensure t he enforceabilit y of t he relat ed Loan. Client has disclosed t he final writ t en report s,
          act ions and/ or sanct ions of any and all reviews, invest igat ion, exam inat ions, audit s, act ions
          and/ or sanct ions t hat have been undert aken and/ or im posed, wit hin t wo years prior t o t he
          dat e of t he Client Cont ract , by any federal or St at e agency or inst r um ent alit y wit h respect t o
          eit her t he lending or r elat ed financial operat ions of Client , or t he abilit y of Client t o perform
          in accordance wit h t he Program Docum ent s t erm s. Each of t he represent at ions and
          warrant ies m ade by Client in it s Client Applicat ion is t rue, accurat e, and com plet e, and is
          deem ed t o be rem ade in it s ent iret y, as of t he dat e of t he Client Cont r act , and as of each
          Fu n din g D a t e .
           1
               I n addit ion, if any Loan is secured by m ort gaged propert y locat ed in t he St at e of West Virginia, Client and t he
               originat or of t he Loan is licensed under t he West Virginia Mort gage Loan Act and Client and t he originat or of t he
               Loan held such license at t he t im e t he Loan was originat ed, unless ot herwise exem pt from licensing. Client and
               t he originat or of t he Loan m ust be licensed under t he West Virginia Mort gage Loan Act even if Client and t he
               originat or of t he Loan m akes or offers t o m ake or accept s or offers t o accept or purchases or services in a calendar
               year fewer t han t he num ber of de m inim us prim ary or subordinat e m ort gage Loans specified in t he definit ion of
               “ lender” in W. Va. Code Sect ion 31- 17- 1.

          ( B) Au t h or it y
          Client has and will m aint ain t he full corporat e, part nership or lim it ed liabilit y com pany power
          and aut horit y t o execut e and deliver t he Program Docum ent s and t o perform t he t erm s of
          t his Client Guide. The execut ion, delivery, and perform ance of t he Program Docum ent s and
          t he perform ance of t he t erm s of t his Client Guide by Client , and t he consum m at ion of t he
          t r ansact ions cont em plat ed, have been duly and validly aut horized. The Program Docum ent s
          and t his Client Guide evidence Client ’s legal valid, binding, and enforceable obligat ions. All
          requisit e corporat e, part nership or lim it ed liabilit y com pany act ion has been t aken by Client
          t o m ake t he Program Docum ent s and t he t erm s of t his Client Guide valid and binding upon
          Client and enforceable in accordance wit h t heir respect ive t er m s.

          ( C) Or din a r y Cou r se of Bu sin e ss
          The consum m at ion of t he t ransact ions cont em plat ed by t he Program Docum ent s and t he
          Client Guide t erm s are in Client ’s or dinary course of business, and t he t ransfer, assignm ent ,
          and conveyance of t he Mort gage Not es and t he Mort gages by Client , pur suant t o t he
          Program Docum ent s and t he Client Guide t erm s are not subj ect t o t he bulk t ransfer laws or
          any sim ilar st at ut ory provisions in effect in any applicable j urisdict ion.
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                                                                                                     Client Guide
                                                                                                     Representations,
                                                                                                     Warranties and
                                                                                                     Covenants
( D ) N o Con flict s
Neit her t he execut ion and delivery of t he Program Docum ent s, t he acquisit ion and/ or m aking
of t he Loans by Client , t he sale of t he Loans t o GMAC- RFC or t he t ransact ions cont em plat ed
t hereby or pursuant t o t his Client Guide, nor t he fulfillm ent of or com pliance wit h t he
Program Docum ent s t erm s and condit ions, will conflict wit h or result in a br each of any of t he
t erm s, condit ions, or provisions of Client 's art icles of incorporat ion, chart er, by- laws,
part nership agreem ent , or ot her organizat ional docum ent , or of any legal rest rict ion or
regulat ory direct ive or any agreem ent or inst r um ent t o which Client is now a part y or by
which it is bound, or const it ut e a default or result in an accelerat ion under any of t he
foregoing, or result in t he violat ion of any law, rule, regulat ion, order, j udgm ent , or decree t o
which Client , or any of it s propert y is subj ect , or im pair t he abilit y of GMAC- RFC t o realize on
any of t he Loans, or im pair t he Value of any of t he Loans.

( E) Abilit y t o Pe r for m
Client has t he abilit y t o perform each and every obligat ion of and/ or sat isfy each and ever y
requirem ent im posed on, Client pursuant t o t he Program Docum ent s and t his Client Guide,
and no offset , count erclaim , or defense exist s t o t he full perfor m ance by Client of t he
requirem ent s of Program Docum ent s and t his Client Guide.

( F) N o Lit iga t ion Pe n din g
There is no act ion, suit , proceeding, inquiry, review, audit , or invest igat ion pending or
t hreat ened against Client t hat , eit her in any one inst ance or in t he aggregat e, m ay r esult in
any m at erial adverse change in t he business, operat ions, financial condit ion, propert ies, or
asset s of Client , or in any m at erial liabilit y on t he part of Client , or which would draw int o
quest ion t he validit y or enforceabilit y of any of t he Program Docum ent s, t his Client Guide, or
t he Loans or of any act ion t aken or t o be t aken in connect ion wit h Client ’s obligat ions
cont em plat ed in any of t he Program Docum ent s or t his Client Guide, or which would be likely
t o im pair m at erially Client ’s abilit y t o perform under t he t erm s of t he Program Docum ent s or
t his Client Guide.

( G) N o Con se n t Re qu ir e d
No consent , approval, aut horit y, or order of any court or governm ent al agency or body is
required for t he execut ion and perfor m ance by Client of, or com pliance by Client wit h, any of
t he Program Docum ent s or t his Client Guide, t he sale of any of t he Loans, or t he
consum m at ion of any of t he t ransact ions cont em plat ed by any of t he Purchase Docum ent s,
or, if required, such uncondit ional approval has been obt ained pr ior t o t he relat ed Fu n din g
Date.

( H ) N o Un t r u e I n for m a t ion
Neit her t he Program Docum ent s, t he Client Applicat ion, t his Client Guide, nor any st at em ent ,
report , or ot her docum ent furnished or t o be furnished by Client pursuant t o t he Program
Docum ent s or t his Client Guide, cont ains any unt rue st at em ent of m at erial fact or om it s t o
st at e a m at erial fact necessary t o m ake t he st at em ent s cont ained t herein not m isleading.
Client m eet s GMAC- RFC’s Eligibilit y St andards, and shall t ake all st eps necessary t o cont inue
t o m eet such Eligibilit y St andards.
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Representations,
 Warranties and
      Covenants
          ( I ) Se cu r it ie s La w
          The Client represent s t hat t he Loans ar e not “ securit ies” under any federal or St at e securit ies
          laws or any rules or regulat ions t hereunder and t hat t he t ransact ions cont em plat ed by t his
          Client Guide do not require regist rat ion under, and are not subj ect t o, any federal or St at e
          securit ies laws or any rules or regulat ions t hereunder.

          ( J) N o Accr u e d Lia bilit ie s
          Except as m ay be ot herwise disclosed by Client t o GMAC- RFC and acknowledged by GMAC-
          RFC in writ ing prior t o t he dat e of t he Client Cont ract , t here are no accrued liabilit ies of
          Client , wit h respect t o any of t he Loans, or circum st ances under which any such accrued
          liabilit ies will arise against GMAC- RFC, as successor t o Client ’s int erest s in and t o t he Loans,
          wit h r espect t o any act ion or failure t o act by Client occurring on or prior t o t he Fu n din g
          Date.

          ( K) Or igin a t ion , Se r vicin g
          Client ’s originat ion and servicing of t he Loans have been legal, pr oper, prudent , and
          cust om ary and have conform ed t o t he highest st andards of t he resident ial m ort gage
          originat ion and servicing business.

          ( L) Com plia n ce W it h La w s
          Client has com plied wit h, and has not violat ed any law, ordinance, requirem ent , regulat ion,
          rule, or order applicable t o it s business or proper t ies, t he violat ion of which m ight adversely
          affect t he operat ions or financial condit ions of Client , or t he abilit y of Client t o consum m at e
          t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide.

          ( M ) Com plia n ce W it h Pr ogr a m D ocu m e n t s a n d Clie n t Gu ide
          Client will com ply wit h all provisions of t his Client Guide and t he Program Docum ent s, and
          will pr om pt ly not ify GMAC- RFC of any occurrence, act , or om ission regarding Client , t he
          Loan, t he Mort gaged Propert y or t he Mort gagor of which Client has knowledge, which
          occurrence, act , or om ission m ay m at erially affect Client , t he Loan, t he Mort gaged Propert y,
          or t he Mort gagor.

          ( N ) N o D e fe n se s Aga in st GM AC- RFC
          The Client has no j udgm ent , court order, claim , count erclaim , defense, right of set- off or
          sim ilar right against GMAC- RFC.
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A202
Specific Representations, Warranties and Covenants Concerning Individual Loans
For all Loans, t he Client represent s, warrant s and covenant s t o GMAC- RFC as follows:

( A) Loa n s Ar e Eligible ; Accu r a cy of I n for m a t ion
Each of t he Loans delivered and sold t o GMAC- RFC m eet s t he applicable program t erm s and
crit eria set fort h in t his Client Guide. All inform at ion relat ing t o each Loan delivered and sold
t o GMAC- RFC is t rue, com plet e and accurat e and t here are no om issions of m at erial fact s. All
dat a provided by t he Client t o GMAC- RFC relat ing t o any Loan, w het her in elect ronic form at ,
or ot herwise, is t rue and com plet e and accurat ely reflect s t he inform at ion in t he relat ed Loan
file.

( B) Com plia nce W it h W a r r a n t ie s
The Client is in com pliance wit h, and has t aken all necessary act ion t o ensure t hat each Loan
is in com pliance wit h all represent at ions, warrant ies and requirem ent s cont ained in t his
Client Guide.

( C) Loa n Pr ovision s
The provisions of t he Loan have not been im paired, waived, alt ered or m odified in any
respect , unless appr oved in writ ing by GMAC- RFC. The issuer of any relat ed PMI Policy and
t he t it le insurer have approved t he subst ance of any such waiver, alt erat ion, or m odificat ion
t o t he ext ent required by t he respect ive policies. No Mort gagor has been r eleased, in whole
or in part .

( D ) D ocu m e n t s
All Loa n D ocu m e n t s, Fun din g D ocu m e nt s and Fin a l D ocum e n t s ar e genuine, have been
com plet ed, duly and properly execut ed, are in r ecordable form and delivered in t he for m and
m anner specified in t his Client Guide, and each Loan is t he Mort gagor ’s legal, valid and
binding obligat ion enforceable in accordance wit h it s t erm s. All originals and copies of such
docum ent s and all ot her docum ent s, m at erials, and ot her inform at ion required t o be
subm it t ed t o GMAC- RFC have been so subm it t ed, and are com plet e and accurat e. All Loan
Docum ent s, Funding Docum ent s, Final Docum ent s and all ot her docum ent s describing or
ot herwise relat ing t heret o are in com pliance wit h all applicable local and St at e laws,
regulat ions and orders.
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          ( E) Ow n e r sh ip; Tr a n sfe r
          The Client has good t it le t o and is t he sole owner of, each Loan delivered and sold t o GMAC-
          RFC. Except for t he securit y int erest of a warehouse lender, which securit y int erest Client has
          disclosed t o GMAC- RFC in writ ing, t he assignm ent of t he Loan by t he Client validly t ransfers
          such Loan t o GMAC- RFC free and clear of any pledge, lien or securit y int erest or ot her
          encum brance.
          For each Loan regist er ed wit h M ERS, t he Client represent s t hat ( a) if t he Se cu r it y
          I n st r u m e n t relat ing t o such Loan ident ifies MERS as t he original m ort gagee of record, such
          Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o MERS solely as
          nom inee for t he Client and it s successors and assigns and t hat such Securit y I nst rum ent has
          been properly execut ed, acknowledged, delivered and recorded in all places necessary t o
          perfect t he securit y int erest on t he M or t ga ge d Pr e m ise s in favor of MERS, solely as
          nom inee for t he Client and it s successors and assigns; or ( b) if t he Loan is regist ered wit h
          MERS, and MERS is not t he original m ort gagee of record, an assignm ent t o MERS has been
          prepared, duly execut ed and recorded and t he chain of assignm ent s is com plet e and
          recorded from t he original m ort gagee t o MERS. Client furt her repr esent s t hat it has com plied
          wit h all rules and procedures of MERS for it s assignm ent of t he Securit y I nst rum ent t o
          GMAC- RFC, including, am ong ot her t hings, t hat t he Client has confirm ed t he t ransfer on
          MERS t o GMAC- RFC.

          ( F) D isbu r se m e n t s; N o Pa yoffs or Fut u r e Adva nce m e nt s
          Each Loan has been closed and fully disbursed, except as perm it t ed in t he Escr ow Accou n t
          for Post pon e d I m pr ove m e nt s/ Re pa ir s Sect ion of t his Client Guide. There are no payoffs,
          assum pt ions or insurance claim s pending on any Loan or pert aining t o t he Mort gaged
          Prem ises and t he Borrower m ay not exercise any opt ion under any of t he Loa n D ocu m e n t s
          t o borrow addit ional funds secured t hereby from t he Client or any ot her person or ent it y
          wit hout t he Not eholder ’s consent .
          Addit ionally, t he Client warrant s t hat t he Client has not m ade arrangem ent s wit h any
          Borrower for any paym ent forbearance or fut ure r efinancing w it h respect t o any Loan.

          ( G) N o D e fa u lt
          There is no default , breach, violat ion or event of accelerat ion exist ing under any Not e or
          Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, and no event exist s which, wit h not ice and
          t he expirat ion of any grace or cure period, w ould const it ut e a default , breach, violat ion or
          event of accelerat ion, and no such default , breach, violat ion or event of accelerat ion has
          been waived by t he Client or by any ot her ent it y involved in originat ing or servicing t he Loan.

          ( H ) N o D e fe n se s
          Except as provided in a buydown or subsidy agreem ent , if any, m eet ing t he requirem ent s set
          fort h in t his Client Guide, t he Borrower ( including any part y secondarily liable under t he
          Loa n D ocu m e n t s) has no right of set- off, defense, count erclaim or right of rescission t o any
          Loan Docum ent .
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                                                                                                    Client Guide
                                                                                                    Representations,
                                                                                                    Warranties and
                                                                                                    Covenants
( I ) Com plia nce w it h La w
The sale and t ransfer of each Loan t o GMAC- RFC does not violat e any applicable St at e laws.
To t he ext ent t hat any applicable St at e law places any rest rict ions on t he t ransfer of any
Loan, t he Client has not ified GMAC- RFC in writ ing of t hat rest rict ion and any relat ed St at e
licensing or regist rat ion requirem ent s.
The Se cu r it y I n st r u m e n t has been properly execut ed, acknowledged, delivered and
recorded in all places necessary t o perfect t he securit y int erest in t he M or t ga ge d Pr e m ise s
in favor of t he Client and it s successors and assigns. I f a Loan is regist ered wit h M ERS, and
MERS is ident ified on t he Securit y I nst rum ent as t he original m ort gagee of record, Client
represent s t hat such Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o
MERS solely as nom inee for t he Client and it s successors and assigns. I f t he Loan is
regist ered wit h MERS, and MERS is not t he original m ort gagee of record, Client represent s
t hat an assignm ent t o MERS has been prepared, duly execut ed and r ecorded and t he chain of
assignm ent s is com plet e and recorded from t he original m ort gagee t o MERS and Client
furt her represent s t hat it has com plied wit h all rules and procedures of MERS for it s
assignm ent of t he Securit y I nst rum ent t o GMAC- RFC, including, am ong ot her t hings, t hat
Client has confirm ed t he t ransfer on MERS t o GMAC- RFC.
Each GMAC- RFC Loan Applicat ion ( Fa n n ie M a e 1003/ Fr e ddie M a c Form 65) was t aken from
t he Borrower and processed for each Loan, and each Loan has been originat ed, closed, and
t ransferred in com pliance wit h all applicable local, St at e and federal laws and regulat ions
including, but not lim it ed t o, t he Real Est at e Set t lem ent Procedures Act , t he Fair Credit
Report ing Act , t he Equal Credit Opport unit y Act , t he Trut h- in- Lending Act , t he Fair Housing
Act , and t he Nat ional Flood I nsurance Act . This warrant y is m ade by t he Client w it h respect
t o each GMAC- RFC Loan Applicat ion t aken and pr ocessed for each Loan and wit h r espect t o
each Loan m ade by t he Client or any ot her ent it y.

( J) Re spon sible Le n din g Re pr e se n t a t ions, W a r r a n t ie s a nd Cove n a n t s
     ( 1 ) D iscon t in u e d Loa n
          No Loan is a “ Discont inued Loan”. Discont inued Loan m eans any of t he following,
          regardless of whet her t he originat or is required by law t o com ply wit h t he law or has
          grounds t o claim preem pt ion from all or par t of t he law.
          ( a ) H OEPA/ Se ct ion 3 2
               A loan considered a “ m or t gage” under Sect ion 152 of t he Hom e Ownership and
               Equit y Prot ect ion Act of 1994, 15 U.S.C. Sect ion 1602 ( aa) and t he relat ed
               regulat ions and com m ent ary prom ulgat ed by t he Federal Reserve Board,
               including Sect ion 226.32 of Tit le 12 of t he Code of Federal Regulat ions, and t he
               official st aff com m ent ary t o t hose regulat ions.
          ( b) Pu r ch a se M on e y Loa n s w it h H igh Poin t s or Fe e s
               A “ purchase m oney” loan secured by t he consum er ’s principal dw elling t hat
               exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
               Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
               by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
               Federal Regulat ions. A “ purchase m oney” loan is a loan t hat is considered a
               “ resident ial m ort gage t ransact ion” under Sect ion 226.2( 24) of Tit le 12 of t he
               Code of Federal Regulat ions.
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                    ( c) H om e Equ it y Lin e s a n d 1 st Lie n Lin e s of Cr e dit Th a t Ex ce e d t h e H OEPA
                         Tr igge r s
                        An open- end line of credit secured by t he consum er ’s principal dwelling t hat
                        exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
                        Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
                        by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
                        Federal Regulat ions. “ Point s and fees” m ust be calculat ed in accordance wit h
                        Sect ion 226.32 of Tit le 12 of t he Code of Regulat ions and t he relat ed
                        com m ent ary prom ulgat ed by t he Federal Reserve Board. The “APR” is t he fully
                        indexed rat e or t he init ial rat e, whichever is great er, at t he t im e of
                        consum m at ion. The “ t ot al loan am ount ” is t he t ot al credit line available under
                        t he t erm s of t he loan, wit hout subt ract ing any am ount s for closing cost s.
                    ( d) St a t e a n d Loca l H igh Cost Loa n s
                        A loan considered a “ high- cost ,” covered, “ high- risk,” “ predat ory” or any ot her
                        sim ilar designat ion under any st at e or local law in effect at t he t im e of t he
                        closing of t he loan if t he law im poses great er rest rict ions or addit ional legal
                        liabilit y for resident ial m ort gage loans wit h high int erest rat es, point s and/ or
                        fees.
                    ( e ) Ce r t a in Ge or gia H om e Loa ns
                        A “ hom e loan” under t he Georgia Fair Lending Act , Ga. Code Ann. Sect ion 7- 6A-
                        1 et . seq. t hat becam e effect ive on Oct ober 1, 2002 ( t he “Act ” ) , if t he
                        com m it m ent was issued on or aft er February 1, 2003 and t he loan was closed on
                        or before March 7, 2003.
                    ( f) Ce r t a in N e w Je r se y H om e Loa ns
                        A “ hom e loan” under t he New Jersey Hom e Ownership Securit y Act of 2002 ( t he
                        “Act ” ) , N.J.S.A. 46: 10B- 22 et seq. if t he loan is:
                            • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
                            • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                            • A “ hom e loan” t hat is an open- end line of credit ;
                            • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                              out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
                    ( g) Ce r t a in N e w M e x ico H om e Loa n s
                        A “ hom e loan” under t he New Mexico Hom e loan Prot ect ion Act ( t he “Act ” ) , t hat
                        was closed on or aft er February 1, 2004, and on or before February 26, 2004, if
                        t he loan is:
                            • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
                            • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                            • A “ hom e loan” t hat is an open- end line of credit ;
                            • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                              out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
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                                                                                                         Representations,
                                                                                                         Warranties and
                                                                                                         Covenants
    ( 2 ) M a n da t or y Ar bit r a t ion Cla u se
         A Loan m ay not include a m andat ory arbit rat ion clause. Any arbit rat ion agreem ent
         signed by t he Borrower prior t o t he t im e of a disput e is prohibit ed.
    ( 3 ) Pr oh ibit e d Te r m s a n d Pr a ct ice s on a ll Loa n s sold t o GM AC- RFC
         A Loan m ay not violat e any of t he following pr ohibit ed t er m s and pract ices:
         ( a) Pr e - pa id in su r a n ce pr odu ct s. No Loan finances single prem ium credit life,
              credit disabilit y, credit unem ploym ent , or any ot her pre- paid life or healt h
              insurance, direct ly or indirect ly.
         ( b) Pr e pa ym e n t pe n a lt ie s. A Loan m ay not provide for a penalt y for paying all or
              part of t he principal before t he dat e on which t he principal is due except as set
              fort h in t his paragraph and ot herwise allowed by applicable federal, St at e, and
              local law.
                   • The penalt y m ay be enforced for only t he first five years following
                     consum m at ion;
                   • The penalt y does not exceed 6 m ont hs of int erest on t he am ount prepaid or
                     6% of t he am ount prepaid; and
                   • The prepaym ent penalt y does not becom e due upon default
         ( c) Re por t in g t o cr e dit bur e a u s. Client or it s Se r vice r m ust report t o a nat ionally
              recognized consum er credit report ing agency at least quart erly t he favorable
              and unfavorable paym ent hist ory inform at ion of Borrower on paym ent s due t o
              Client on a Loan for t he period during which Client holds or services t he Loan.
              This paragraph shall not pr event Client or it s Servicer from not report ing specific
              paym ent hist ory inform at ion in t he event of a resolved or unresolved disput e
              wit h Borrower and shall not apply t o Loans held or serviced by Client for less
              t han 90 days.
         ( d) I n cr e a se d in t e r e st r a t e u pon de fa u lt . A Loan m ay not provide for an
              increase in t he int erest rat e aft er default .

( K) Tit le I n su r a n ce
A policy of t it le insurance, in t he form and am ount required by t his Client Guide, is effect ive
as of t he day t he Se cu r it y I n st r u m e n t is recorded, is valid and binding, is in conform ance
wit h all agency guidelines and rem ains in full force and effect , unless t he M or t ga ge d
Pr e m ise s are locat ed in t he St at e of I owa and a Tit le Guarant y Cert ificat e issued by t he
I owa Tit le Guarant y Division of t he I owa Finance Aut horit y has been provided as described in
Tit le Guarant y Cert ificat e I n I owa below.

( L) Tit le Gu a r a n t y Ce r t ifica t e I n I ow a
As t o each Loan secured by Mort gaged Prem ises locat ed in t he St at e of I owa, and if an
Am erican Land Tit le Associat ion ( ALTA) Loan policy of t it le insurance has not been provided,
a Tit le Guarant y Cert ificat e issued by t he I owa Tit le Guarant y Division of t he I owa Finance
Aut horit y, in t he form and am ount required by t his Client Guide, duly delivered and effect ive
as of t he closing of each such Loan, is valid and binding, and rem ains in full force and effect .
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     Client Guide
Representations,
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          ( M ) Va lid Fir st Lie n s
          Each Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, unless provided for ot herwise in a
          given Loa n Pr ogr a m , const it ut es a valid first lien on t he M or t ga ge d Pr e m ise s subj ect only
          t o t he m inor im pedim ent s described in t he Tit le I n su r a n ce Sect ion of t his Chapt er, and
          such im pedim ent s do not adversely affect t he Value, use, enj oym ent or m arket abilit y of t he
          Mort gaged Prem ises. Each Securit y I nst rum ent and all relat ed docum ent s ( including, wit hout
          lim it at ion, releases of prior Securit y I nst rum ent s, assum pt ion agreem ent s, assignm ent s,
          am endm ent s, powers of at t orney, and m odificat ion, ext ension and consolidat ion
          agreem ent s) t hat ar e required t o be recorded or filed under applicable law in order t o
          preserve in favor of GMAC- RFC t he validit y and enforceabilit y of t he Securit y I nst rum ent and
          t he liens cr eat ed t her eby, have been duly r ecorded in all appropriat e recording offices, and all
          associat ed recording fees or t axes m ust be paid.

          ( N ) N o En cr oa ch m e n t s By Adj oin in g Pr ope r t ie s; I m pr ov e m e n t s
          No im provem ent s by adj oining pr opert ies encroach upon t he Mort gaged Prem ises in any
          respect so as t o affect t he Value or m arket abilit y of t he Mort gaged Prem ises. No
          im provem ent locat ed on or being part of t he Mort gaged Propert y is in violat ion of any
          applicable zoning law or regulat ion.

          ( O) Su r v e y
          All im provem ent s which were considered in det erm ining t he appraised Value of t he
          M or t ga ge d Pr e m ise s lie wholly wit hin it s boundaries and t he building rest rict ion lines of t he
          Mort gaged Prem ises, or t he policy of t it le insurance insures against loss or dam age by reason
          of any violat ion, variat ion, encroachm ent or adverse circum st ance t hat eit her is disclosed or
          would have been disclosed by an accurat e survey.

          ( P) N o Lie n s
          There are no delinquent t ax or delinquent assessm ent liens against t he Mort gaged Prem ises,
          and t here are no m echanic’s liens or claim s for w ork, labor or m at erial or any ot her liens
          affect ing t he Mort gaged Prem ises, which are or m ay be a lien prior t o, or equal wit h, t he lien
          of t he Se cu r it y I n st r u m e n t assigned t o GMAC- RFC, except t hose liens t hat are insured
          against by t he policy of t it le insurance or Tit le Guarant y Cert ificat e issued by t he I owa Tit le
          Guarant y Division.

          ( Q) N o Adve r se Cir cu m st a n ce s
          The Mort gaged Prem ises are free of dam age and in good repair, and no not ice of
          condem nat ion has been given wit h respect t heret o, and no circum st ances exist involving t he
          Loa n D ocu m e n t s, t he M or t ga ge d Pr e m ise s or t he Borrow er ’s credit st anding t hat could:
          ( i) cause privat e inst it ut ional invest ors t o regard t he Loan as an unaccept able invest m ent ,
          ( ii) cause t he Loan t o becom e delinquent , or ( iii) adversely affect t he Value or m arket abilit y
          of t he Mort gaged Prem ises or t he Loan. The Client warrant s t hat it neit her has act ual
          knowledge of t he presence of, nor reasonable gr ounds t o suspect t he presence of, any t oxic
          m at erials or ot her environm ent al hazards on, in or t hat could affect any of t he Mort gaged
          Prem ises. The Client warrant s com pliance wit h local, St at e or federal law or regulat ion
          designed t o pr ot ect t he healt h and safet y of t he occupant s of t he propert y.
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( R) Ca su a lt y I n su r a n ce
The im provem ent s upon t he M or t ga ge d Pr e m ise s are insured against loss by fir e and ot her
hazards as required by t his Client Guide, including flood insurance if required under t he
Nat ional Flood I nsurance Act of 1968, as am ended. The Se cu r it y I n st r u m e n t r equires t he
Borrower t o m aint ain such casualt y insurance at t he Borrower ’s expense, or on t he
Borrower ’s failure t o do so, aut horizes t he holder of t he Securit y I nst rum ent t o obt ain and
m aint ain such insurance at t he Borrower ’s expense and t o seek reim bursem ent from t he
Borrower. Each casualt y policy is t he insurer ’s valid and binding obligat ion, is in full force and
effect , and w ill be in full force and effect , t o GMAC- RFC’s benefit upon t he consum m at ion of
t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide. The Loan
t erm s per m it t he m aint enance of an escrow account t o pay t he prem ium s for t he above
m ent ioned insurance, and t he Client has not waived t he requirem ent of such escrow account
unless perm it t ed by GMAC- RFC or requir ed by applicable law.

( S) Pr im a r y M or t ga ge I n su r a n ce
I f requir ed by t his Client Guide, prim ar y m ort gage insurance has been obt ained, t he
prem ium has been paid, and t he m ort gage insurance coverage is in full force and effect
m eet ing t he requirem ent s of t his Client Guide.

( T) Un de r w r it in g; Appr a isa l; Appr a ise r
The Loan is of invest m ent qualit y, has been prudent ly originat ed and has been underwrit t en
in com pliance wit h all requirem ent s of t his Client Guide.
For each Loan for which an appraisal is required or obt ained under t his Client Guide, ( a) The
appraisal was m ade by an appraiser who m eet s t he m inim um qualificat ions for appraisers as
specified in t his Client Guide, and ( b) as of t he Fu n din g D a t e , t he m arket Value of t he
M or t ga ge d Pr e m ise s is at least equal t o t he appraised Value st at ed on t he Loan appraisal
except t o t he ext ent t hat t he m arket Value of t he Mort gaged Prem ises is low er t han t he
appraised Value due t o t he effect of any t oxic m at erials or ot her environm ent al hazards of
which neit her t he appraiser nor t he Client has act ual know ledge or reasonable grounds t o
suspect .
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          ( U) En for ce a bilit y; En for ce m e n t Pr ov ision s
          Each Not e and Se cu r it y I n st r u m e n t const it ut es a legal, valid and binding obligat ion of t he
          Borrower enforceable in accordance wit h it s t erm s except as lim it ed by bankrupt cy,
          insolvency or ot her sim ilar laws affect ing generally t he enfor cem ent of credit or s’ right s.
          Each Securit y I nst rum ent cont ains cust om ary and enfor ceable provisions which render t he
          right s and rem edies of t he holder adequat e t o realize t he benefit s of t he securit y against t he
          M or t ga ge d Pr e m ise s, including: ( i) in t he case of a Securit y I nst rum ent designat ed as a
          deed of t rust , by t rust ee's sale, ( ii) by sum m ary foreclosure, if available under applicable
          law; and ( iii) ot herwise by foreclosure, and t here are no hom est ead or ot her exem pt ions or
          dower, court esy or ot her right s or int erest s available t o t he Bor rower or t he Bor rower ’s
          spouse, survivors or est at e or any ot her person or ent it y t hat would, or could, int erfere wit h
          such right t o sell at a t rust ee’s sale or t o foreclose. The Secur it y I nst rum ent and any rider s t o
          t he Securit y I nst rum ent m ust be signed by any person wit h an act ual or pot ent ial int erest in
          t he pr opert y. Tit le holders have an act ual int erest in t he propert y and m ust sign t he Securit y
          I nst rum ent and r iders. Non- Borrowing spouses who are not in t it le m ay have an act ual or
          pot ent ial int erest in t he propert y under St at e law and m ay be required t o sign t he Securit y
          I nst rum ent and rider in som e St at es in order for t he holder of t he Securit y I nst rum ent t o
          obt ain, prot ect and enforce it s lien. The Client will obt ain t he signat ure of t he non- Borrowing
          spouse on t he Securit y I nst rum ent and riders or ot her docum ent at ion, as allowed by law, if
          such signat ure is necessary t o prot ect t he int erest of t he holder of t he Securit y I nst rum ent .

          ( V ) H olde r - I n - D u e - Cou r se
          The Client is t he owner and holder- in- due- course of each Not e and is nam ed as m ort gagee/
          beneficiary or assignee under each Se cu r it y I n st r u m e n t , and all Loa n D ocum e n t s
          requiring execut ion have been appropriat ely execut ed, wit nessed or not arized by t he persons
          whose nam es appear as signat ories and wit nesses, or, as appropriat e, not aries who
          const it ut e t he valid and binding legal obligat ion of t he Borrower, enforceable in accordance
          wit h t heir respect ive t erm s. Not wit hst anding t he foregoing, wit h respect t o adj ust able- rat e
          m ort gage Loans ( ARMs) , t he Client repr esent s and warrant s t hat t here are no claim s t o t he
          Not e on t he part of any person or defenses of any part y t o t he Not e ot her t han t hose t hat
          validly could be raised against a holder- in- due- course.

          ( W ) Tr u st e e D e signa t e d
          Wit h respect t o each Se cu r it y I n st r u m e n t t hat is a deed of t rust , a t rust ee duly qualified
          under applicable law t o serve as such is properly nam ed, designat ed and serving.

          ( X ) N o Fe e s D ue Tr u st e e
          Except in connect ion wit h a t rust ee’s sale aft er default by t he Borrower, no fees or expenses
          are payable by t he Client or GMAC- RFC t o t he t rust ee under any Securit y I nst rum ent t hat is
          a deed of t rust .

          ( Y) Ex e cut ion of D ocum e n t s
          All agreem ent s, cont ract s, assignm ent s, endorsem ent s and issuances of checks or draft s,
          report s, Loa n D ocu m e n t s or ot her papers relat ed t o a Loan t hat are required by t his Client
          Guide t o be execut ed by t he Client have been properly execut ed by an officer on behalf of
          t he Client pursuant t o a duly adopt ed Resolut ion of Board of Direct ors.
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( Z) Le a se h olds
Where perm it t ed by t he applicable Loa n Pr ogr a m , each Mort gaged Prem ises involving a
Le a se h old est at e com plies wit h t he applicable Leasehold warrant ies set fort h in t his Client
Guide.
( AA) Con dom in iu m s; Pla n n e d Un it D e v e lopm e n t s ( PUD s)
Each M or t ga ge d Pr e m ise s t hat is a unit in a condom inium or PUD com plies wit h t he
applicable condom inium or PUD warrant ies set fort h in t his Client Guide.
( BB) Com plia n ce By Ot h e r s
When a person or ent it y: ( i) originat es a Loan on behalf of a Client , ( ii) originat es a Loan on
it s own behalf and sells it t o a Client , or ( iii) perform s any act for a Client which t he Client is
required t o perform under t his Client Guide, t he Client warrant s t hat such person or ent it y
has com plied wit h all requir em ent s of t his Client Guide wit h respect t o all such Loans and
act s.
( CC) Clie n t Con t r a ct W a r r a n t ie s
The represent at ions and warrant ies m ade at t he t im e of t he Client ’s execut ion of t he Client
Cont ract m ust rem ain t rue, correct and com plet e.
( D D ) Clie n t a n d Or igin a t or s
     • I f t he Client   sells Jum bo A or Expanded Crit eria Loans t o GMAC- RFC, t he Client is a
       savings and       loan associat ion, savings bank, com m ercial bank, credit union, insurance
       com pany or       sim ilar banking inst it ut ion w hich is supervised by a federal or st at e
       aut horit y or    a H UD approved non- supervised m ort gagee.
     • Each Jum bo A and Expanded Crit eria Loan was: ( i) closed in t he nam e of t he Client , ( ii)
       closed in t he nam e of anot her ent it y t hat eit her is a savings and loan associat ion,
       savings bank, com m ercial bank, credit union, insurance com pany or sim ilar banking
       inst it ut ion which is supervised by a federal or St at e aut horit y, or a HUD approved non-
       supervised m ort gagee, and was so at t he t im e t he Loan was originat ed ( t he Client or
       such ot her ent it y shall be called t he “ originat or ” ) or ( iii) closed in t he nam e of t he loan
       broker.
     • All Loans closed in t he nam e of a loan broker ( including but not lim it ed t o Jum bo A and
       Expanded Crit eria Loans) were originat ed under t he circum st ances described in t he
       following sent ence: I f t he Loan was originat ed t hrough a loan broker, t he originat or
       appr oved t he Loan prior t o funding by t he loan broker and t he originat or acquired t he
       Loan from t he loan broker cont em poraneously wit h t he originat ion t hereof.
I f t he Client sells Loans t o GMAC- RFC which are regist ered wit h M ERS or as t o which MERS is
t he m ort gagee on t he Se cu r it y I n st r u m e n t , t he Client is a m em ber of MERS, in good
st anding and current in paym ent of all fees and assessm ent s im posed by MERS.
( EE) N o I m pa ir m e n t of I n su r a n ce
No act ion, er ror, om ission, m isrepresent at ion, negligence, fraud or sim ilar occurrence in
respect of a Loan has t aken place on t he part of any person, including, wit hout lim it at ion, t he
Borrower, any appraiser, any builder or developer or any part y involved in t he originat ion of
t he Loan or in t he applicat ion of any insurance in relat ion t o such Loan t hat m ight result in a
denial, cont est ing, failure or im pairm ent of full and t im ely coverage under any insurance
policies requir ed t o be obt ained or any pool insurance policy covering such Loan.
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          ( FF) Te m por a r y Buy dow ns
          Where perm it t ed by t he applicable Loa n Pr ogr a m , each Te m por a r y Buy dow n Loan
          delivered t o GMAC- RFC was ent ered int o pursuant t o a buydown agreem ent which com plies
          wit h t he Te m por a r y Bu ydow n s Sect ion in Cha pt e r 3 of t his Client Guide.
          ( GG) Pr im a r y M or t ga ge I n su r a n ce Ca n ce lla t ion
          The Client has disclosed in writ ing t o t he Borrower t he t erm s and condit ions t hat m ust be
          m et prior t o t he prim ary m ort gage insurance being eligible for cancellat ion. A copy of t his
          disclosure has been ret ained in t he Loan file as a perm anent record.
          ( H H ) N o D e ficie n cy I n Escr ow D e posit s or Pa ym e n t s
          The Loan has been serviced by t he Client and any pr edecessor Se r vice r in accordance wit h
          t he t erm s of t he m ort gage Not e and all applicable law. Wit h respect t o escrow deposit s and
          escrow paym ent s, if any, all such paym ent s are in t he possession of, or under t he cont rol of,
          t he Client , and t here exist s no deficiency in connect ion t herewit h for which cust om ary
          arrangem ent s for repaym ent t hereof have not been m ade. No escrow deposit s, escr ow
          paym ent s or ot her charges or paym ent s due t he Client have been capit alized under any
          m ort gage or relat ed m ort gage Not e.
          ( I I ) Loa n Se cu r it iza t ion
          The Client recognizes t hat it is GMAC- RFC’s int ent t o securit ize som e or all of t he Loans sold
          t o GMAC- RFC by t he Client . The Client agrees t o provide GMAC- RFC w it h all such inform at ion
          concerning t he Client generally and, if applicable, t he Client ’s servicing experience, as m ay
          be reasonably request ed by GMAC- RFC for inclusion in a prospect us or privat e placem ent
          m em orandum published in connect ion wit h such securit izat ion.
          I n addit ion, t he Client will cooperat e in a sim ilar m anner wit h GMAC- RFC in connect ion wit h
          any whole Loan sale or ot her disposit ion of any Loan sold t o GMAC- RFC by t he Client . The
          Client agrees t o indem nify and hold GMAC- RFC harm less from and against any loss, dam age,
          penalt y, fine, forfeit ure, court cost , reasonable at t orneys’ fees, j udgm ent , cost , fee, expense
          or liabilit y incurred by GMAC- RFC as a result of any m at erial m isst at em ent in or om ission
          fr om any infor m at ion provided by t he Client t o GMAC- RFC; or fr om any claim , dem and,
          defense or assert ion against or involving GMAC- RFC based on or grounded upon, or result ing
          fr om such m isst at em ent or om ission or a breach of any represent at ion, warrant y or
          obligat ion m ade by GMAC- RFC in reliance upon such m isst at em ent or om ission.
          The Client furt her agrees t o cooperat e fully wit h GMAC- RFC, rat ing agencies, at t or neys, bond
          insurers, purchasers of Loans or any ot her part ies t hat m ay be involved in t he sale or
          securit izat ion of any Loan, including, wit hout lim it at ion, all cooperat ion as m ay be necessary
          in order t o accom m odat e due diligence act ivit y.
          ( JJ) N on - Solicit a t ion
          The Client has not solicit ed or provided inform at ion t o anot her part y for t he purpose of
          solicit ing, and covenant s and agrees t hat it will not solicit or provide inform at ion t o anot her
          part y for t he purpose of solicit ing, t he refinance of any Loan. The t erm “ solicit ” as used
          herein shall m ean a direct request or offer t o refinance a servicing released Loan, and shall
          not include general solicit at ions, advert isem ent s or prom ot ions direct ed t o t he public at
          large.
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( KK) N o Fr a u d or M isr e pr e se n t a t ion
No fraud or m isrepr esent at ion by t he Borrow er or by t he Client , broker, correspondent ,
appr aiser or any independent cont ract or ret ained by t he Client , broker, corr espondent ,
appr aiser or any em ployee of any of t he foregoing occurred wit h respect t o or in connect ion
wit h t he originat ion or underwrit ing of any Loan and all inform at ion and docum ent s provided
t o GMAC- RFC in connect ion wit h t he Loan are com plet e and accurat e.
( LL) Ex clu sion a r y List
No part y involved in t he originat ion of a Loan, including wit hout lim it at ion t he originat or,
broker, t it le com pany or appraiser, was nam ed on t he version of t he Ex clu sion a r y List t hat
was effect ive on t he dat e of t he prom issory Not e for t hat part icular Loan.

A203
Additional Client Representations, Warranties and Covenants for the Home Equity Loan
Program
The Hom e Equit y Loan Program adher es t o t he Client represent at ions, warrant ies and
covenant s st at ed below as well as t he represent at ions, warrant ies and covenant s cont ained
in t his Client Guide.
Unless t he Hom e Equit y Loan is a valid first lien on t he M or t ga ge d Pr e m ise s, t he following
represent at ion and warrant y applies:
       Valid Second Lien
       Each Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC const it ut es a valid lien on t he
       Mort gaged Prem ises which is subordinat ed only t o a lien of t he holder of a first
       m ort gage Loan, and is subj ect only t o t he m inor im pedim ent s described in t he Tit le
       I n su r a n ce Sect ion of t his Chapt er. No such im pedim ent shall adversely affect t he
       Value, use, enj oym ent or m arket abilit y of t he Mort gaged Prem ises.
The following addit ional represent at ions and warrant ies are m ade by t he Client t o GMAC- RFC
as of t he Pu r ch a se D a t e of each Hom e Equit y Loan:

( A) Lice n sin g
The Client and any agent s or correspondent s originat ing for t he Client have obt ained all
licenses and approvals required wit h respect t o t he originat ion of t he Hom e Equit y Loans,
including, t o t he ext ent applicable, licenses and appr ovals required for sm all Loans or sm all
advances and licenses and approvals requir ed t o charge t he m axim um int erest rat e allowable
under St at e law.

( B) N o Con t r a ct or or D e a le r Loa ns
No hom e im provem ent cont ract or or dealer was involved as a t hird part y originat or of a
Hom e Equit y Loan or received com pensat ion in any form from t he Client .

( C) N o Bor r ow e r D e fe n se s or Cla im s
No unresolved defense or claim has been m ade or assert ed in writ ing by t he Borrower wit h
respect t o t he Hom e Equit y Loan, including, wit hout lim it at ion, any defenses or claim s based
on unsat isfact ory workm anship or m at erials in connect ion wit h any hom e im pr ovem ent s
financed wit h t he proceeds of t he Hom e Equit y Loan.
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A205
Proof of Compliance
The Client will, upon t he request of GMAC- RFC, supply proof sat isfact ory t o GMAC- RFC of it s:
    ( 1) Com pliance wit h all repr esent at ions and warrant ies cont ained in t his Client Guide,
         and
    ( 2) Com pliance wit h all local, St at e and federal laws, rules and regulat ions.

A206
Integrity of Information
The Client is responsible for credit and propert y underw rit ing regardless of w het her t he
inform at ion was provided by t he Client , an ent it y relat ed t o t he Client or designat ed by t he
Client t o perform t he funct ion. This includes credit inform at ion, appraisals, or ot her
docum ent s/ inform at ion used in t he Loan's evaluat ion.
The Client should t ake all st eps necessary t o ensure t hat each Loan sold t o GMAC- RFC has
been prudent ly originat ed and underwrit t en, and t hat all inform at ion supplied by, on behalf
of, or concerning t he Borrower is t rue, accurat e and com plet e. The Client should ensure t hat
int erest ed part ies are sufficient ly independent from t he Loan t ransact ion and t hat adequat e
organizat ional cont r ols are in place t o ensur e t he independence, validit y and reliabilit y of t he
Loan inform at ion.
I n addit ion, t he Client should im plem ent prudent pract ices when relying on designat ed
agent s ( such as escrow com panies, t it le com panies, et c.) in order t o ensure t hat t hey com ply
wit h it s inst ruct ions and t hat t he int egr it y of t he Loan t ransact ion has been m aint ained.
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A208
Events of Default
Any one or m ore of t he following event s const it ut e an Eve nt of D e fa u lt :
    ( 1) The Client has not com plied wit h one or m ore of t he requirem ent s ( including any
         requirem ent out lined in Chapt er 2, Client Eligibilit y) t erm s or condit ions out lined in
         t his Client Guide or one of t he disqualificat ion, suspension or inact ivat ion event s set
         fort h in t he D isqu a lifica t ion Su spe n sion or I n a ct iv a t ion Sect ion has occurred or
         occurs.
    ( 2) The Client has breached any agreem ent out lined or incorporat ed by reference in t he
         Client Cont ract or any ot her agreem ent bet ween t he Client and GMAC- RFC.
    ( 3) The Client breaches any of t he represent at ions, warrant ies or covenant s set fort h in
         t his Client Guide, fails t o perform it s obligat ions under t his Client Guide or t he
         Program Docum ent s, m akes one or m ore m isleading represent at ions, war rant ies or
         covenant s t o GMAC- RFC, or as failed t o provide GMAC- RFC wit h inform at ion t hat is
         t r ue, com plet e and accurat e.
    ( 4) The Borr ower or any ot her person or ent it y involved in t he Loan t ransact ion or in it s
         underwrit ing or docum ent at ion ( including any appraiser, broker, t hird- part y
         originat or, credit report ing agency, or ot her pr ovider of underwrit ing inform at ion)
         has m ade any false represent at ion and/ or has failed t o provide inform at ion t hat is
         t r ue, com plet e and accurat e in connect ion w it h such t ransact ion, w het her or not t he
         Client was a part y t o or had knowledge of such m isr epresent at ion or incorrect
         inform at ion.
    ( 5) Occurrence of an Event of Se r vice r Default wit h respect t o any Loans serviced by
         t he Client .
    ( 6) Term inat ion of servicing for cause is a basis for t he Client ’s im m ediat e
         disqualificat ion or suspension. Act ion t aken by GMAC- RFC t o t erm inat e servicing
         m ay be m erged wit h an act ion t o disqualify, suspend or inact ivat e t he Client .
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          A209
          Remedies of GMAC-RFC
          ( A) N on - Ex clu siv e , Cu m u la t ive Re m e die s
          GMAC- RFC m ay exercise any r em edy out lined in t his Client Guide or as allowed by law or in
          equit y. GMAC- RFC’s exercise of one or m ore rem edies in connect ion wit h a part icular Eve n t
          of D e fa u lt will not prevent it from exercising:
               • One or m ore ot her rem edies in connect ion wit h t he sam e Event of Default
               • Any ot her right s which it m ay have at law or in equit y

          ( B) W a ive r of D e fa u lt s
          GMAC- RFC m ay waive any default by Client in t he perform ance of Client ’s obligat ions
          hereunder and it s consequences, but only by a writ t en waiver specifying t he nat ure and
          t erm s of such waiver. No such waiver shall ext end t o any subsequent or ot her default or
          im pair any right consequent t heret o, nor shall any delay by GMAC- RFC in exercising, or
          failure t o exercise, any right arising from such default affect or im pair GMAC- RFC’s right s as
          t o such default or any subsequent default .

          ( C) Su r v iva l of Re m e die s
          GMAC- RFC’s rem edies for breach of t he represent at ions, warrant ies and covenant s shall
          survive t he sale and delivery of t he Loan t o GMAC- RFC and funding of t he relat ed purchase
          price by GMAC- RFC, and will cont inue in full force and effect for t he rem aining life of t he
          Loans, not wit hst anding any t erm inat ion of t his Client Guide and t he relat ed Fu n din g
          D ocu m e n t s, or any rest rict ive or qualified endorsem ent on any m ort gage Not e or
          assignm ent of m ort gage or Loan approval or ot her exam inat ion of or failur e t o exam ine any
          relat ed m ort gage Loan file by GMAC- RFC.
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A210
Repurchase
( A) Re pu r ch a se Obliga t ion s
I f GMAC- RFC det erm ines t hat an Ev e n t of D e fa u lt has occurred wit h respect t o a specific
Loan, t he Client agrees t o r epurchase t he Loan and it s servicing ( if t he Loan was sold
servicing released) wit hin 30 days of receiving a repurchase let t er or ot her writ t en
not ificat ion from GMAC- RFC.
I f t he Client discovers an Event of Default , it should give GMAC- RFC prom pt writ t en not ice.
Such not ice should include a writ t en descript ion of t he Event of Default . Upon receipt of t his
not ice, GMAC- RFC will review t hese m at erials and any addit ional inform at ion or
docum ent at ion t hat t he Client believes m ay influence GMAC- RFC’s decision t o requir e
repurchase. I f GMAC- RFC decides t o require repurchase, t he Client shall repurchase t he Loan
and t he servicing ( if t he Loan was sold servicing released) wit hin 30 days aft er GMAC- RFC’s
decision is com m unicat ed t o Client in writ ing.
To expedit e t he wiring of funds t o GMAC- RFC, t he Client should com plet e t he servicing
t ransfer inst ruct ion form provided by GMAC- RFC. GMAC- RFC will send t he form t o t he Client
along wit h t he not ificat ion of repurchase.
GMAC- RFC is not required t o dem and repurchase wit hin any part icular period of t im e, and
m ay elect not t o require im m ediat e repurchase. However, any delay in m aking t his dem and
does not const it ut e a waiver by GMAC- RFC of any of it s right s or rem edies.
Where GMAC- RFC det erm ines t hat repurchase of a Loan and/ or t he servicing is not
appr opriat e, t he Client shall pay GMAC- RFC all losses, cost s and expenses incurred by GMAC-
RFC and/ or t he Loan’s Se r vice r as a result of an Ev e n t of D e fa u lt . This includes all
reasonable at t orneys’ fees and ot her cost s and expenses incurred in connect ion wit h
enforcem ent effort s under t aken.
Upon t he Client ’s sat isfact ion of it s repurchase obligat ion, GMAC- RFC will endorse t he Not e
evidencing t he Loan in blank and w ill deliver it and ot her pert inent Loa n D ocu m e n t s t o t he
Client . I f GMAC- RFC acquired t it le t o any of t he real propert y securing t he Loan pursuant t o a
foreclosure sale and has not disposed of such propert y, it w ill t ransfer such propert y t o t he
Client on a “ quit claim ” basis or, if required by St at e law, a “ warrant y deed” basis. However, if
GMAC- RFC has disposed of t he real proper t y securing t he Loan, t he Loan Docum ent s will not
be ret urned t o t he Client unless request ed.
I f t he Client is also t he Se r vice r of a Loan repurchased by reason of t he occurrence of an
Event of Default , GMAC- RFC will not reim burse t he Client for any principal, int erest or ot her
advances m ade by t he Client wit h respect t o t hat Loan.
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          ( B) Re pu r ch a se Pr ice of Fir st M or t ga ge Pr ogr a m s
          I n t he event t he Client is obligat ed t o repurchase a Loan t he Client m ust pay t o GMAC- RFC a
          repur chase pr ice equal t o t he sum of:
               • The act ual principal balance of t he Loan at t he t im e of repurchase ( if t he Client sold t he
                 Loan t o GMAC- RFC at a discount or a prem ium , t he repurchase price above will be
                 adj ust ed t o reflect t he act ual principal balance m inus t he discount percent age
                 m ult iplied by t he act ual principal balance, or plus t he prem ium percent age m ult iplied
                 by t he act ual principal balance, as appr opriat e, including t hat price paid for Se r vicin g
                 Righ t s) , plus
               • All accr ued and unpaid int erest on t he Loan t hrough t he last day of t he m ont h of t he
                 dat e of repurchase; plus
               • All int erest , principal and ot her advances m ade t o invest ors and all out of pocket cost s
                 and expenses of any kind incurred by GMAC- RFC and/ or t he prim ary Se r vice r in
                 connect ion wit h t he Loan, including, but not lim it ed t o, advances for t axes or
                 insurance, and repair, foreclosure and insurance cost s and reasonable at t orneys’ fees;
                 plus
               • The am ount of t he buyout fee as calculat ed in t he Buyou t s a nd Ex t e nsion s Sect ion
                 of Cha pt e r 9 of t his Client Guide; plus
               • I n t he event t hat GMAC- RFC or any of it s Affilia t e s is required t o repurchase t he Loan
                 fr om any subsequent assignee, t hen any addit ional am ount as m ay be required t o
                 m ake t he repurchase pr ice t hat t he Client is obligat ed t o pay hereunder equal t o t he
                 repurchase pr ice t hat GMAC- RFC or it s Affiliat e is required t o pay t o such subsequent
                 assignee; m inus
               • The net am ount of any proceeds r ealized by t he owner of t he Loan upon t he final
                 liquidat ion of t he Loan or t he M or t ga ge d Pr e m ise s t o an unrelat ed t hird part y.
          The D e signa t e d Se r v ice r will ret urn t o t he Client any escrow funds, unapplied funds and
          prepaid principal and int erest inst allm ent s.
          GMAC- RFC m ay dem and t hat a Client repurchase, and Client m ust repurchase, a Loan aft er
          foreclosure even if t he full am ount of it s out st anding debt was bid on by or on behalf of t he
          Loan’s owner t o acquire t he M or t ga ge d Pr e m ise s at t he foreclosure sale. I n t he event t he
          Client is obligat ed t o repurchase a Loan aft er foreclosure, t he repurchase price shall be
          calculat ed using t he form ula above, however Sch e du le d Pr in cipa l Ba la n ce shall be
          subst it ut ed for t he act ual principal balance.
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( C) Re pu r ch a se Pr ice of H om e Equ it y Loa n Pr ogr a m
I n t he event t he Client is obligat ed t o repurchase a Hom e Equit y Loan, t he Client m ust , upon
repurchase, service such Hom e Equit y Loan. The repurchase price for such Hom e Equit y Loan
shall be equal t o t he sum of:
    • The unpaid pr incipal balance of t he Hom e Equit y Loan
    • All accr ued and unpaid int erest on t he Hom e Equit y Loan
    • The am ount of all fees and/ or pur chase pr em ium paid, if any, t o t he Client by GMAC-
      RFC for originat ion of t he Hom e Equit y Loan
    • All fees paid t o any Se r v ice r or sub- servicer of a Hom e Equit y Loan by reason of t he
      t erm inat ion of t hat Servicer ’s or Sub- Servicer ’s right t o service t hat Hom e Equit y Loan
    • All cost s incurred or paid by GMAC- RFC or any Servicer in collect ing or enforcing t he
      Hom e Equit y Loan, including, wit hout lim it at ion, int erest or ot her cost s paid t o bring or
      m aint ain a prior lien current or up t o dat e, cost s t o insure or pay delinquent t axes,
      at t orneys’ fees, court cost s, appraisal and t it le expenses and ot her sim ilar cost s or
      expenses ( collect ively, “ Foreclosure Expenses” )
    • Any addit ional am ount GMAC- RFC or any of it s Affilia t e s is required t o pay t o
      repurchase t he Hom e Equit y Loan from a subsequent assignee
I n lieu of repurchasing a Hom e Equit y Loan t hat has not yet been foreclosed and accept ing
t he servicing of such Hom e Equit y Loan, GMAC- RFC m ay in it s sole discret ion allow Client t o
pay t o GMAC- RFC t he Est im at ed Loss ( as defined below) . Est im at ed Loss, as it relat es t o
each Hom e Equit y Loan subj ect t o repurchase, shall equal t he product of:
120% m ult iplied by t he result of:
    • Repurchase price as calculat ed above, plus
    • Accrued int erest on t he Hom e Equit y Loan t hrough t he dat e GMAC- RFC est im at es t hat
      t he Hom e Equit y Loan will be fully liquidat ed ( which in t he case of a foreclosure, shall
      m ean t he dat e t hat GMAC- RFC est im at es t hat t he M or t ga ge d Pr e m ise s will be sold t o
      a t hird part y and which in any ot her case m eans t he dat e t hat GMAC- RFC est im at es
      t hat all collect ion effort s on t he Hom e Equit y Loan will be abandoned) and est im at ed
      foreclosure and ot her enforcem ent expenses for t he ent ire collect ion process, less
    • Am ount by which t he current m arket Value of t he Mort gaged Prem ises as det erm ined
      by GMAC- RFC using valuat ion services provided by an independent t hir d part y exceeds
      t he current out st anding am ount of indebt edness secured by t he Mort gaged Prem ises
      t hat is senior t o t he Hom e Equit y Loan.
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          ( D ) Re pu r ch a se Pr ice of a Se r vicin g Re le a se d Loa n
          I n t he event t he Client repurchases a Loan for which t he servicing has also been sold t o
          GMAC- RFC, t he Client will also be required t o repurchase t he servicing. I f t he repur chase of
          t he servicing of t he Loan is for any reason ot her t han a breach of t he D e lin qu e n cy Payoff/
          Liquidat ion warrant y cont ained in t he Servicing Released Cha pt e r 8 , t he Client m ust pay t o
          GMAC- RFC a repurchase price equal t o t he original Se r vicin g Re le a se d Pr e m iu m ( SRP)
          percent age m ult iplied by t he act ual unpaid principal balance at t he t im e of repurchase.
          I n no event however, will t he required repurchase Servicing Released Prem ium be gr eat er
          t han t he original Servicing Released Prem ium paid t o t he Client .
          The D e sign a t e d Se r vice r will ret urn t o t he Client any escrow funds, Te m por a r y Bu ydow n
          funds, unapplied funds and prepaid pr incipal and int erest inst allm ent s. The Client will be
          required t o reim burse t he Designat ed Servicer for any delinquent principal and int erest
          advances, and any escrow advances and foreclosure expenses t hey have m ade and not
          recovered on a repurchased Loan.

          ( E) Re pu r ch a se As a Re su lt of Con ve r sion
          The Client ( or, if t he Client has t ransferred servicing of t he Loans, t he Se r vice r ) shall
          repurchase a Loan which has convert ed from an ARM t o a fixed- rat e m ort gage. The Servicer
          m ust subm it t he ARM Conversion Not ificat ion Report no less t han 15 days prior t o t he
          conversion dat e.
          I f t he Client or Servicer repurchases a convert ed Loan and subsequent ly resells t hat
          convert ed Loan t o GMAC- RFC, all t he Client ’s represent at ions and warrant ies wit h respect t o
          t hat Loan shall survive such repurchase and resale. I n addit ion, t he Client shall be subj ect t o
          all right s and rem edies ( including repurchase) available t o GMAC- RFC as a result of any
          m isrepresent at ion or breach of warrant y wit h respect t o t hat Loan pr ior t o conversion.
          The Client shall also subm it t he m odificat ion agreem ent if request ed by GMAC- RFC or it s
          assigns.
          Aft er it s receipt of t he Loan funds, GMAC- RFC will endorse t he Not e t o t he par t y which
          repurchased t he Loan. The Loan will t hen be assigned t o such part y, and all credit
          docum ent at ion will be ret urned. Failure t o subm it t he ARM Conversion Not ificat ion Report in
          a t im ely m anner m ay delay t he receipt of t he endorsed Not e and ot her legal docum ent s.
          The Se r v ice r shall subm it a Payoff/ Liquidat ion Report and wire t ransfer Loan funds t o t he
          GMAC- RFC Loa n Accou n t in g D e pa r t m e n t no lat er t han t he last Bu sin e ss D a y prior t o t he
          conversion dat e. The Servicer m ust rem it int erest for t he ent ire m ont h preceding t he
          conversion dat e. The Client shall at t ach a copy of t he ARM Conversion Not ificat ion Report .
          I f t he appropriat e am ount is not wired on t im e, GMAC- RFC will charge a lat e paym ent fee.
          This fee will equal t he am ount due m ult iplied by t he “ Pr im e Ra t e ” plus 3% m ult iplied by t he
          num ber of days overdue divided by 365. The t erm “ Prim e Rat e” shall m ean t he highest
          quot ed Prim e Rat e print ed in The Wall St r eet Journal in it s regular colum n “ Money Rat es” on
          t he first Bu sin e ss D a y of t he m ont h in which t he paym ent was due and not paid. I f t he
          Prim e Rat e is not available, GMAC- RFC will det erm ine a com parable rat e.
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( F) Su bst it u t ion
I nst ead of requiring t he Client t o repurchase a Loan as provided above, GMAC- RFC, at it s
discret ion, m ay allow t he Client t o subst it ut e anot her Loan sat isfact ory t o GMAC- RFC in place
of t he original Loan, wit hin 10 days of not ificat ion by GMAC- RFC, unless ot herwise not ified. I f
t he subst it ut ed Loan cont ains t erm s different from t hose of t he Loan t hat it is replacing, a
purchase price adj ust m ent will be calculat ed by GMAC- RFC based on m ar ket changes and
Loan charact erist ics. Every Loan subst it ut ed will be subj ect t o all agreem ent s, t erm s,
condit ions, represent at ions and warrant ies in t his Client Guide as of t he Su bst it u t ion D a t e .
I n t he event a Loan is eligible for purchase by GMAC- RFC but t he servicing is ineligible for
purchase by GMAC- RFC, t he Loan will be purchased and t he sale of servicing denied. GMAC-
RFC w ill not allow t he Client t o subst it ut e anot her servicing released Loan.

( G) Cost of Tr a n sfe r Fe e s D ue t o Re pu r cha se
The Client agrees t hat , if it is requir ed t o repurchase a Loan and t he relat ed Servicing, it will
pay all docum ent ary st am p t axes, recording fees, t ransfer t axes and all ot her expenses
payable in connect ion wit h t he repurchase and will indem nify and hold harm less GMAC- RFC
and t he D e signa t e d Se r v ice r against all losses, cost s and expenses, including at t orney
fees, result ing from such requir ed repurchases or t he breach giving rise heret o.

( H ) N ot ice a n d Appe a l
The Client m ay appeal GMAC- RFC’s decision by providing any addit ional inform at ion or
docum ent at ion it believes m ay affect GMAC- RFC’s det erm inat ion.
Send all not ificat ions and appeals t o:
      GMAC- RFC
      One Meridian Crossing
      Suit e 100
      Minneapolis, MN 55423
      At t ent ion: Repurchase Managem ent
Such inform at ion and docum ent at ion m ust be received wit hin 30 days aft er t he Client ’s
receipt of a repurchase let t er or sim ilar writ t en not ificat ion from GMAC- RFC. GMAC- RFC will
review all appeals and advise t he Client in writ ing of t he appeal decision. GMAC- RFC will in it s
sole discret ion det erm ine t he validit y of any appeal filed by t he Client . I f GMAC- RFC’s
decision rem ains firm following an appeal, t he Client shall repurchase t he Loan and it s
servicing ( if t he Loan was sold servicing released) wit hin 10 days of not ificat ion by GMAC-
RFC, in writ ing, t hat t he appeal has been denied.
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   ( 17) The Client or Se r vice r ’s failure t o m aint ain a qualified Loan originat ion, servicing
         and qualit y cont r ol st aff, an accept able ongoing qualit y cont rol program , adequat e
         facilit ies and writ t en policies and procedures t o ensure:
         • The invest m ent qualit y of Loans sold t o GMAC- RFC
         • The adequacy of t he servicing of Loans purchased by GMAC- RFC OR
   ( 18) The failure of t he Client or t he Se r vice r t o m eet any t est as m ay be prescribed for
         eligibilit y,
   ( 19) The det erm inat ion by GMAC- RFC t hat a Client has not delivered an adequat e volum e
         of Loans t o GMAC- RFC.

A212
Indemnification
The Client shall indem nify GMAC- RFC fr om all losses, dam ages, penalt ies, fines, forfeit ures,
court cost s and reasonable at t orneys’ fees, j udgm ent s, and any ot her cost s, fees and
expenses result ing from any Ev e n t of D e fa u lt . This includes any act or failure t o act or any
breach of warrant y, obligat ion or represent at ion cont ained in t he Client Cont ract ; or from
any claim , dem and, defense or assert ion against or involving GMAC- RFC based on or
result ing from such breach or a breach of any r epresent at ion, warrant y or obligat ion m ade
by GMAC- RFC in reliance upon any war rant y, obligat ion or represent at ion m ade by t he Client
cont ained in t he Client Cont ract .
I n addit ion, Client shall indem nify GMAC- RFC against any and all losses, dam ages, penalt ies,
fines, forfeit ures, j udgm ent s, and any ot her cost s, fees and expenses ( including court cost s
and reasonable at t orneys’ fees) incurred by GMAC- RFC in connect ion wit h any lit igat ion or
governm ent al proceeding t hat alleges any violat ion of local, St at e or federal law by Client , or
any of it s agent s, or any originat or or broker in connect ion wit h t he originat ion or servicing of
a Loan. Wit h regard t o legal fees or ot her expenses incurr ed by or on behalf of GMAC- RFC in
connect ion wit h any such lit igat ion or governm ent al proceeding, Client shall reim burse
GMAC- RFC for such fees and expenses. Reim bursem ent shall be m ade direct ly t o GMAC- RFC
wit hin t en days of receipt of a request for paym ent , which request shall include copies of t he
relevant invoices. Except for not ices for reim bursem ent , GMAC- RFC is not required t o give
Client not ice of any lit igat ion or governm ent al proceeding t hat m ay t rigger indem nificat ion
obligat ions. Client shall inst ruct it s officers, direct ors and agent s ( including legal counsel) t o
cooperat e wit h GMAC- RFC in connect ion wit h t he defense of any lit igat ion or governm ent al
proceeding involving a Loan. GMAC- RFC has t he right t o cont rol any lit igat ion or
governm ent al proceeding relat ed t o a Loan, including but not lim it ed t o choosing defense
counsel and m aking set t lem ent decisions.
The Client also shall indem nify GMAC- RFC and hold it harm less against all court cost s,
at t orney’s fees and any ot her cost s, fees and expenses incurred by GMAC- RFC in enforcing
t he Client Cont ract . The obligat ions of t he Client under t his Sect ion shall survive t he
D e live r y D a t e , t he Fu n din g D a t e ( and each Su bst it u t ion D a t e , if applicable) and t he
t erm inat ion of t he Client Cont ract and t he disqualificat ion, suspension or inact ivat ion of t he
Client .
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         931        N ot ifica t ion of W ir e Tr a n sfe r . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      .   .   .   . 9 .2 0
         932        Pa yoff Pr ior t o Fu n din g D a t e . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        .   .   .   . 9 .2 1
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          A201
          Specific Representations, Warranties and Covenants Concerning Client
          ( A) D u e Or ga n iza t ion ; Good St a n ding; Lice n sin g
          Client and, t o Client ’s knowledge, Client ’s Guarant or, if applicable, is and shall cont inue t o be
          duly organized, validly exist ing, and in good st anding under t he laws of t he Unit ed St at es or
          under t he laws of t he j urisdict ion in which it was incorporat ed or organized, as applicable,
          and has and shall cont inue t o m aint ain all licenses, regist rat ions, and cert ificat ions necessary
          t o carry on it s business as now being conduct ed, and is and will cont inue t o be licensed,
          qualified, and in good st anding in each St at e where a Mort gaged Propert y is locat ed if t he
          laws of such St at e require licensing or qualificat ion in order t o conduct business of t he t ype
          conduct ed by Client 1. Client is and will rem ain in com pliance wit h t he laws of any such St at e,
          and is and will rem ain in good st anding wit h federal aut horit ies, t o t he ext ent necessary t o
          ensure t he enforceabilit y of t he relat ed Loan. Client has disclosed t he final writ t en report s,
          act ions and/ or sanct ions of any and all reviews, invest igat ion, exam inat ions, audit s, act ions
          and/ or sanct ions t hat have been undert aken and/ or im posed, wit hin t wo years prior t o t he
          dat e of t he Client Cont ract , by any federal or St at e agency or inst r um ent alit y wit h respect t o
          eit her t he lending or r elat ed financial operat ions of Client , or t he abilit y of Client t o perform
          in accordance wit h t he Program Docum ent s t erm s. Each of t he represent at ions and
          warrant ies m ade by Client in it s Client Applicat ion is t rue, accurat e, and com plet e, and is
          deem ed t o be rem ade in it s ent iret y, as of t he dat e of t he Client Cont r act , and as of each
          Fu n din g D a t e .
           1 I n addit ion, if any Loan is secured by m ort gaged propert y locat ed in t he St at e of West Virginia, Client and t he
             originat or of t he Loan is licensed under t he West Virginia Mort gage Loan Act and Client and t he originat or of t he
             Loan held such license at t he t im e t he Loan was originat ed, unless ot herwise exem pt from licensing. Client and
             t he originat or of t he Loan m ust be licensed under t he West Virginia Mort gage Loan Act even if Client and t he
             originat or of t he Loan m akes or offers t o m ake or accept s or offers t o accept or purchases or services in a calendar
             year fewer t han t he num ber of de m inim us prim ary or subordinat e m ort gage Loans specified in t he definit ion of
             “ lender” in W. Va. Code Sect ion 31- 17- 1.

          ( B) Au t h or it y
          Client has and will m aint ain t he full corporat e, part nership or lim it ed liabilit y com pany power
          and aut horit y t o execut e and deliver t he Program Docum ent s and t o perform t he t erm s of
          t his Client Guide. The execut ion, delivery, and perform ance of t he Program Docum ent s and
          t he perform ance of t he t erm s of t his Client Guide by Client , and t he consum m at ion of t he
          t r ansact ions cont em plat ed, have been duly and validly aut horized. The Program Docum ent s
          and t his Client Guide evidence Client ’s legal valid, binding, and enforceable obligat ions. All
          requisit e corporat e, part nership or lim it ed liabilit y com pany act ion has been t aken by Client
          t o m ake t he Program Docum ent s and t he t erm s of t his Client Guide valid and binding upon
          Client and enforceable in accordance wit h t heir respect ive t er m s.

          ( C) Or din a r y Cou r se of Bu sin e ss
          The consum m at ion of t he t ransact ions cont em plat ed by t he Program Docum ent s and t he
          Client Guide t erm s are in Client ’s or dinary course of business, and t he t ransfer, assignm ent ,
          and conveyance of t he Mort gage Not es and t he Mort gages by Client , pur suant t o t he
          Program Docum ent s and t he Client Guide t erm s are not subj ect t o t he bulk t ransfer laws or
          any sim ilar st at ut ory provisions in effect in any applicable j urisdict ion.
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                                                                                                     Covenants
( D ) N o Con flict s
Neit her t he execut ion and delivery of t he Program Docum ent s, t he acquisit ion and/ or m aking
of t he Loans by Client , t he sale of t he Loans t o GMAC- RFC or t he t ransact ions cont em plat ed
t hereby or pursuant t o t his Client Guide, nor t he fulfillm ent of or com pliance wit h t he
Program Docum ent s t erm s and condit ions, will conflict wit h or result in a br each of any of t he
t erm s, condit ions, or provisions of Client 's art icles of incorporat ion, chart er, by- laws,
part nership agreem ent , or ot her organizat ional docum ent , or of any legal rest rict ion or
regulat ory direct ive or any agreem ent or inst r um ent t o which Client is now a part y or by
which it is bound, or const it ut e a default or result in an accelerat ion under any of t he
foregoing, or result in t he violat ion of any law, rule, regulat ion, order, j udgm ent , or decree t o
which Client , or any of it s propert y is subj ect , or im pair t he abilit y of GMAC- RFC t o realize on
any of t he Loans, or im pair t he Value of any of t he Loans.

( E) Abilit y t o Pe r for m
Client has t he abilit y t o perform each and every obligat ion of and/ or sat isfy each and ever y
requirem ent im posed on, Client pursuant t o t he Program Docum ent s and t his Client Guide,
and no offset , count erclaim , or defense exist s t o t he full perfor m ance by Client of t he
requirem ent s of Program Docum ent s and t his Client Guide.

( F) N o Lit iga t ion Pe n din g
There is no act ion, suit , proceeding, inquiry, review, audit , or invest igat ion pending or
t hreat ened against Client t hat , eit her in any one inst ance or in t he aggregat e, m ay r esult in
any m at erial adverse change in t he business, operat ions, financial condit ion, propert ies, or
asset s of Client , or in any m at erial liabilit y on t he part of Client , or which would draw int o
quest ion t he validit y or enforceabilit y of any of t he Program Docum ent s, t his Client Guide, or
t he Loans or of any act ion t aken or t o be t aken in connect ion wit h Client ’s obligat ions
cont em plat ed in any of t he Program Docum ent s or t his Client Guide, or which would be likely
t o im pair m at erially Client ’s abilit y t o perform under t he t erm s of t he Program Docum ent s or
t his Client Guide.

( G) N o Con se n t Re qu ir e d
No consent , approval, aut horit y, or order of any court or governm ent al agency or body is
required for t he execut ion and perfor m ance by Client of, or com pliance by Client wit h, any of
t he Program Docum ent s or t his Client Guide, t he sale of any of t he Loans, or t he
consum m at ion of any of t he t ransact ions cont em plat ed by any of t he Purchase Docum ent s,
or, if required, such uncondit ional approval has been obt ained pr ior t o t he relat ed Fu n din g
Date.

( H ) N o Un t r u e I n for m a t ion
Neit her t he Program Docum ent s, t he Client Applicat ion, t his Client Guide, nor any st at em ent ,
report , or ot her docum ent furnished or t o be furnished by Client pursuant t o t he Program
Docum ent s or t his Client Guide, cont ains any unt rue st at em ent of m at erial fact or om it s t o
st at e a m at erial fact necessary t o m ake t he st at em ent s cont ained t herein not m isleading.
Client m eet s GMAC- RFC’s Eligibilit y St andards, and shall t ake all st eps necessary t o cont inue
t o m eet such Eligibilit y St andards.
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          ( I ) Se cu r it ie s La w
          The Client represent s t hat t he Loans ar e not “ securit ies” under any federal or St at e securit ies
          laws or any rules or regulat ions t hereunder and t hat t he t ransact ions cont em plat ed by t his
          Client Guide do not require regist rat ion under, and are not subj ect t o, any federal or St at e
          securit ies laws or any rules or regulat ions t hereunder.

          ( J) N o Accr u e d Lia bilit ie s
          Except as m ay be ot herwise disclosed by Client t o GMAC- RFC and acknowledged by GMAC-
          RFC in writ ing prior t o t he dat e of t he Client Cont ract , t here are no accrued liabilit ies of
          Client , wit h respect t o any of t he Loans, or circum st ances under which any such accrued
          liabilit ies will arise against GMAC- RFC, as successor t o Client ’s int erest s in and t o t he Loans,
          wit h r espect t o any act ion or failure t o act by Client occurring on or prior t o t he Fu n din g
          Date.

          ( K) Or igin a t ion , Se r vicin g
          Client ’s originat ion and servicing of t he Loans have been legal, pr oper, prudent , and
          cust om ary and have conform ed t o t he highest st andards of t he resident ial m ort gage
          originat ion and servicing business.

          ( L) Com plia n ce W it h La w s
          Client has com plied wit h, and has not violat ed any law, ordinance, requirem ent , regulat ion,
          rule, or order applicable t o it s business or proper t ies, t he violat ion of which m ight adversely
          affect t he operat ions or financial condit ions of Client , or t he abilit y of Client t o consum m at e
          t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide.

          ( M ) Com plia n ce W it h Pr ogr a m D ocu m e n t s a n d Clie n t Gu ide
          Client will com ply wit h all provisions of t his Client Guide and t he Program Docum ent s, and
          will pr om pt ly not ify GMAC- RFC of any occurrence, act , or om ission regarding Client , t he
          Loan, t he Mort gaged Propert y or t he Mort gagor of which Client has knowledge, which
          occurrence, act , or om ission m ay m at erially affect Client , t he Loan, t he Mort gaged Propert y,
          or t he Mort gagor.

          ( N ) N o D e fe n se s Aga in st GM AC- RFC
          The Client has no j udgm ent , court order, claim , count erclaim , defense, right of set- off or
          sim ilar right against GMAC- RFC.
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A202
Specific Representations, Warranties and Covenants Concerning Individual Loans
For all Loans, t he Client represent s, warrant s and covenant s t o GMAC- RFC as follows:

( A) Loa n s Ar e Eligible ; Accu r a cy of I n for m a t ion
Each of t he Loans delivered and sold t o GMAC- RFC m eet s t he applicable program t erm s and
crit eria set fort h in t his Client Guide. All inform at ion relat ing t o each Loan delivered and sold
t o GMAC- RFC is t rue, com plet e and accurat e and t here are no om issions of m at erial fact s. All
dat a provided by t he Client t o GMAC- RFC relat ing t o any Loan, w het her in elect ronic form at ,
or ot herwise, is t rue and com plet e and accurat ely reflect s t he inform at ion in t he relat ed Loan
file.

( B) Com plia nce W it h W a r r a n t ie s
The Client is in com pliance wit h, and has t aken all necessary act ion t o ensure t hat each Loan
is in com pliance wit h all represent at ions, warrant ies and requirem ent s cont ained in t his
Client Guide.

( C) Loa n Pr ovision s
The provisions of t he Loan have not been im paired, waived, alt ered or m odified in any
respect , unless appr oved in writ ing by GMAC- RFC. The issuer of any relat ed PMI Policy and
t he t it le insurer have approved t he subst ance of any such waiver, alt erat ion, or m odificat ion
t o t he ext ent required by t he respect ive policies. No Mort gagor has been r eleased, in whole
or in part .

( D ) D ocu m e n t s
All Loa n D ocu m e n t s, Fun din g D ocu m e nt s and Fin a l D ocum e n t s ar e genuine, have been
com plet ed, duly and properly execut ed, are in r ecordable form and delivered in t he for m and
m anner specified in t his Client Guide, and each Loan is t he Mort gagor ’s legal, valid and
binding obligat ion enforceable in accordance wit h it s t erm s. All originals and copies of such
docum ent s and all ot her docum ent s, m at erials, and ot her inform at ion required t o be
subm it t ed t o GMAC- RFC have been so subm it t ed, and are com plet e and accurat e. All Loan
Docum ent s, Funding Docum ent s, Final Docum ent s and all ot her docum ent s describing or
ot herwise relat ing t heret o are in com pliance wit h all applicable local and St at e laws,
regulat ions and orders.
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          ( E) Ow n e r sh ip; Tr a n sfe r
          The Client has good t it le t o and is t he sole owner of, each Loan delivered and sold t o GMAC-
          RFC. Except for t he securit y int erest of a warehouse lender, which securit y int erest Client has
          disclosed t o GMAC- RFC in writ ing, t he assignm ent of t he Loan by t he Client validly t ransfers
          such Loan t o GMAC- RFC free and clear of any pledge, lien or securit y int erest or ot her
          encum brance.
          For each Loan regist er ed wit h M ERS, t he Client represent s t hat ( a) if t he Se cu r it y
          I n st r u m e n t relat ing t o such Loan ident ifies MERS as t he original m ort gagee of record, such
          Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o MERS solely as
          nom inee for t he Client and it s successors and assigns and t hat such Securit y I nst rum ent has
          been properly execut ed, acknowledged, delivered and recorded in all places necessary t o
          perfect t he securit y int erest on t he M or t ga ge d Pr e m ise s in favor of MERS, solely as
          nom inee for t he Client and it s successors and assigns; or ( b) if t he Loan is regist ered wit h
          MERS, and MERS is not t he original m ort gagee of record, an assignm ent t o MERS has been
          prepared, duly execut ed and recorded and t he chain of assignm ent s is com plet e and
          recorded from t he original m ort gagee t o MERS. Client furt her repr esent s t hat it has com plied
          wit h all rules and procedures of MERS for it s assignm ent of t he Securit y I nst rum ent t o
          GMAC- RFC, including, am ong ot her t hings, t hat t he Client has confirm ed t he t ransfer on
          MERS t o GMAC- RFC.

          ( F) D isbu r se m e n t s; N o Pa yoffs or Fut u r e Adva nce m e nt s
          Each Loan has been closed and fully disbursed, except as perm it t ed in t he Escr ow Accou n t
          for Post pon e d I m pr ove m e nt s/ Re pa ir s Sect ion of t his Client Guide. There are no payoffs,
          assum pt ions or insurance claim s pending on any Loan or pert aining t o t he Mort gaged
          Prem ises and t he Borrower m ay not exercise any opt ion under any of t he Loa n D ocu m e n t s
          t o borrow addit ional funds secured t hereby from t he Client or any ot her person or ent it y
          wit hout t he Not eholder ’s consent .
          Addit ionally, t he Client warrant s t hat t he Client has not m ade arrangem ent s wit h any
          Borrower for any paym ent forbearance or fut ure r efinancing w it h respect t o any Loan.

          ( G) N o D e fa u lt
          There is no default , breach, violat ion or event of accelerat ion exist ing under any Not e or
          Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, and no event exist s which, wit h not ice and
          t he expirat ion of any grace or cure period, w ould const it ut e a default , breach, violat ion or
          event of accelerat ion, and no such default , breach, violat ion or event of accelerat ion has
          been waived by t he Client or by any ot her ent it y involved in originat ing or servicing t he Loan.

          ( H ) N o D e fe n se s
          Except as provided in a buydown or subsidy agreem ent , if any, m eet ing t he requirem ent s set
          fort h in t his Client Guide, t he Borrower ( including any part y secondarily liable under t he
          Loa n D ocu m e n t s) has no right of set- off, defense, count erclaim or right of rescission t o any
          Loan Docum ent .
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                                                                                                    Covenants
( I ) Com plia nce w it h La w
The sale and t ransfer of each Loan t o GMAC- RFC does not violat e any applicable St at e laws.
To t he ext ent t hat any applicable St at e law places any rest rict ions on t he t ransfer of any
Loan, t he Client has not ified GMAC- RFC in writ ing of t hat rest rict ion and any relat ed St at e
licensing or regist rat ion requirem ent s.
The Se cu r it y I n st r u m e n t has been properly execut ed, acknowledged, delivered and
recorded in all places necessary t o perfect t he securit y int erest in t he M or t ga ge d Pr e m ise s
in favor of t he Client and it s successors and assigns. I f a Loan is regist ered wit h M ERS, and
MERS is ident ified on t he Securit y I nst rum ent as t he original m ort gagee of record, Client
represent s t hat such Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o
MERS solely as nom inee for t he Client and it s successors and assigns. I f t he Loan is
regist ered wit h MERS, and MERS is not t he original m ort gagee of record, Client represent s
t hat an assignm ent t o MERS has been prepared, duly execut ed and r ecorded and t he chain of
assignm ent s is com plet e and recorded from t he original m ort gagee t o MERS and Client
furt her represent s t hat it has com plied wit h all rules and procedures of MERS for it s
assignm ent of t he Securit y I nst rum ent t o GMAC- RFC, including, am ong ot her t hings, t hat
Client has confirm ed t he t ransfer on MERS t o GMAC- RFC.
Each GMAC- RFC Loan Applicat ion ( Fa n n ie M a e 1003/ Fr e ddie M a c Form 65) was t aken from
t he Borrower and processed for each Loan, and each Loan has been originat ed, closed, and
t ransferred in com pliance wit h all applicable local, St at e and federal laws and regulat ions
including, but not lim it ed t o, t he Real Est at e Set t lem ent Procedures Act , t he Fair Credit
Report ing Act , t he Equal Credit Opport unit y Act , t he Trut h- in- Lending Act , t he Fair Housing
Act , and t he Nat ional Flood I nsurance Act . This warrant y is m ade by t he Client w it h respect
t o each GMAC- RFC Loan Applicat ion t aken and pr ocessed for each Loan and wit h r espect t o
each Loan m ade by t he Client or any ot her ent it y.

( J) Re spon sible Le n din g Re pr e se n t a t ions, W a r r a n t ie s a nd Cove n a n t s
     ( 1 ) D iscon t in u e d Loa n
          No Loan is a “ Discont inued Loan”. Discont inued Loan m eans any of t he following,
          regardless of whet her t he originat or is required by law t o com ply wit h t he law or has
          grounds t o claim preem pt ion from all or par t of t he law.
          ( a ) H OEPA/ Se ct ion 3 2
               A loan considered a “ m or t gage” under Sect ion 152 of t he Hom e Ownership and
               Equit y Prot ect ion Act of 1994, 15 U.S.C. Sect ion 1602 ( aa) and t he relat ed
               regulat ions and com m ent ary prom ulgat ed by t he Federal Reserve Board,
               including Sect ion 226.32 of Tit le 12 of t he Code of Federal Regulat ions, and t he
               official st aff com m ent ary t o t hose regulat ions.
          ( b) Pu r ch a se M on e y Loa n s w it h H igh Poin t s or Fe e s
               A “ purchase m oney” loan secured by t he consum er ’s principal dw elling t hat
               exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
               Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
               by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
               Federal Regulat ions. A “ purchase m oney” loan is a loan t hat is considered a
               “ resident ial m ort gage t ransact ion” under Sect ion 226.2( 24) of Tit le 12 of t he
               Code of Federal Regulat ions.
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                    ( c) H om e Equ it y Lin e s a n d 1 st Lie n Lin e s of Cr e dit Th a t Ex ce e d t h e H OEPA
                         Tr igge r s
                        An open- end line of credit secured by t he consum er ’s principal dwelling t hat
                        exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
                        Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
                        by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
                        Federal Regulat ions. “ Point s and fees” m ust be calculat ed in accordance wit h
                        Sect ion 226.32 of Tit le 12 of t he Code of Regulat ions and t he relat ed
                        com m ent ary prom ulgat ed by t he Federal Reserve Board. The “APR” is t he fully
                        indexed rat e or t he init ial rat e, whichever is great er, at t he t im e of
                        consum m at ion. The “ t ot al loan am ount ” is t he t ot al credit line available under
                        t he t erm s of t he loan, wit hout subt ract ing any am ount s for closing cost s.
                    ( d) St a t e a n d Loca l H igh Cost Loa n s
                        A loan considered a “ high- cost ,” covered, “ high- risk,” “ predat ory” or any ot her
                        sim ilar designat ion under any St at e or local law in effect at t he t im e of t he
                        closing of t he loan if t he law im poses great er rest rict ions or addit ional legal
                        liabilit y for resident ial m ort gage loans wit h high int erest rat es, point s and/ or
                        fees.
                    ( e ) Ce r t a in Ge or gia H om e Loa ns
                        A “ hom e loan” under t he Georgia Fair Lending Act , Ga. Code Ann. Sect ion 7- 6A-
                        1 et . seq. t hat becam e effect ive on Oct ober 1, 2002 ( t he “Act ” ) , if t he
                        Com m it m ent was issued on or aft er February 1, 2003 and t he loan was closed
                        on or before March 7, 2003.
                    ( f) Ce r t a in N e w Je r se y H om e Loa ns
                        A “ hom e loan” under t he New Jersey Hom e Ownership Securit y Act of 2002 ( t he
                        “Act ” ) , N.J.S.A. 46: 10B- 22 et seq. if t he loan is:
                            • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
                            • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                            • A “ hom e loan” t hat is an open- end line of credit ;
                            • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                              out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
                    ( g) Ce r t a in N e w M e x ico H om e Loa n s
                        A “ hom e loan” under t he New Mexico Hom e loan Prot ect ion Act ( t he “Act ” ) , t hat
                        was closed on or aft er February 1, 2004, and on or before February 26, 2004, if
                        t he loan is:
                            • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
                            • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                            • A “ hom e loan” t hat is an open- end line of credit ;
                            • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                              out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
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    ( 2 ) M a n da t or y Ar bit r a t ion Cla u se
         A Loan m ay not include a m andat ory arbit rat ion clause. Any arbit rat ion agreem ent
         signed by t he Borrower prior t o t he t im e of a disput e is prohibit ed.
    ( 3 ) Pr oh ibit e d Te r m s a n d Pr a ct ice s on a ll Loa n s sold t o GM AC- RFC
         A Loan m ay not violat e any of t he following pr ohibit ed t er m s and pract ices:
         ( a) Pr e - pa id in su r a n ce pr odu ct s. No Loan finances single Prem ium credit life,
              credit disabilit y, credit unem ploym ent , or any ot her pre- paid life or healt h
              insurance, direct ly or indirect ly.
         ( b) Pr e pa ym e n t pe n a lt ie s. A Loan m ay not provide for a penalt y for paying all or
              part of t he principal before t he dat e on which t he principal is due except as set
              fort h in t his paragraph and ot herwise allowed by applicable federal, St at e, and
              local law.
                   • The penalt y m ay be enforced for only t he first five years following
                     consum m at ion;
                   • The penalt y does not exceed 6 m ont hs of int erest on t he am ount prepaid or
                     6% of t he am ount prepaid; and
                   • The prepaym ent penalt y does not becom e due upon default
         ( c) Re por t in g t o cr e dit bur e a u s. Client or it s Se r vice r m ust report t o a nat ionally
              recognized consum er credit report ing agency at least quart erly t he favorable
              and unfavorable paym ent hist ory inform at ion of Borrower on paym ent s due t o
              Client on a Loan for t he period during which Client holds or services t he Loan.
              This paragraph shall not pr event Client or it s Servicer from not report ing specific
              paym ent hist ory inform at ion in t he event of a resolved or unresolved disput e
              wit h Borrower and shall not apply t o Loans held or serviced by Client for less
              t han 90 days.
         ( d) I n cr e a se d in t e r e st r a t e u pon de fa u lt . A Loan m ay not provide for an
              increase in t he int erest rat e aft er default .

( K) Tit le I n su r a n ce
A policy of t it le insurance, in t he form and am ount required by t his Client Guide, is effect ive
as of t he day t he Se cu r it y I n st r u m e n t is recorded, is valid and binding, is in conform ance
wit h all agency guidelines and rem ains in full force and effect , unless t he M or t ga ge d
Pr e m ise s are locat ed in t he St at e of I owa and a Tit le Guarant y Cert ificat e issued by t he
I owa Tit le Guarant y Division of t he I owa Finance Aut horit y has been provided as described in
Tit le Guarant y Cert ificat e I n I owa below.

( L) Tit le Gu a r a n t y Ce r t ifica t e I n I ow a
As t o each Loan secured by Mort gaged Prem ises locat ed in t he St at e of I owa, and if an
Am erican Land Tit le Associat ion ( ALTA) Loan policy of t it le insurance has not been provided,
a Tit le Guarant y Cert ificat e issued by t he I owa Tit le Guarant y Division of t he I owa Finance
Aut horit y, in t he form and am ount required by t his Client Guide, duly delivered and effect ive
as of t he closing of each such Loan, is valid and binding, and rem ains in full force and effect .
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          ( M ) Va lid Fir st Lie n s
          Each Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, unless provided for ot herwise in a
          given Loa n Pr ogr a m , const it ut es a valid first lien on t he M or t ga ge d Pr e m ise s subj ect only
          t o t he m inor im pedim ent s described in t he Tit le I n su r a n ce Sect ion of t his Chapt er, and
          such im pedim ent s do not adversely affect t he Value, use, enj oym ent or m arket abilit y of t he
          Mort gaged Prem ises. Each Securit y I nst rum ent and all relat ed docum ent s ( including, wit hout
          lim it at ion, releases of prior Securit y I nst rum ent s, assum pt ion agreem ent s, assignm ent s,
          am endm ent s, powers of at t orney, and m odificat ion, ext ension and consolidat ion
          agreem ent s) t hat ar e required t o be recorded or filed under applicable law in order t o
          preserve in favor of GMAC- RFC t he validit y and enforceabilit y of t he Securit y I nst rum ent and
          t he liens cr eat ed t her eby, have been duly r ecorded in all appropriat e recording offices, and all
          associat ed recording fees or t axes m ust be paid.

          ( N ) N o En cr oa ch m e n t s By Adj oin in g Pr ope r t ie s; I m pr ov e m e n t s
          No im provem ent s by adj oining pr opert ies encroach upon t he Mort gaged Prem ises in any
          respect so as t o affect t he Value or m arket abilit y of t he Mort gaged Prem ises. No
          im provem ent locat ed on or being part of t he Mort gaged Propert y is in violat ion of any
          applicable zoning law or regulat ion.

          ( O) Su r v e y
          All im provem ent s which were considered in det erm ining t he appraised Value of t he
          M or t ga ge d Pr e m ise s lie wholly wit hin it s boundaries and t he building rest rict ion lines of t he
          Mort gaged Prem ises, or t he policy of t it le insurance insures against loss or dam age by reason
          of any violat ion, variat ion, encroachm ent or adverse circum st ance t hat eit her is disclosed or
          would have been disclosed by an accurat e survey.

          ( P) N o Lie n s
          There are no delinquent t ax or delinquent assessm ent liens against t he Mort gaged Prem ises,
          and t here are no m echanic’s liens or claim s for w ork, labor or m at erial or any ot her liens
          affect ing t he Mort gaged Prem ises, which are or m ay be a lien prior t o, or equal wit h, t he lien
          of t he Se cu r it y I n st r u m e n t assigned t o GMAC- RFC, except t hose liens t hat are insured
          against by t he policy of t it le insurance or Tit le Guarant y Cert ificat e issued by t he I owa Tit le
          Guarant y Division.

          ( Q) N o Adve r se Cir cu m st a n ce s
          The Mort gaged Prem ises are free of dam age and in good repair, and no not ice of
          condem nat ion has been given wit h respect t heret o, and no circum st ances exist involving t he
          Loa n D ocu m e n t s, t he M or t ga ge d Pr e m ise s or t he Borrow er ’s credit st anding t hat could:
          ( i) cause privat e inst it ut ional invest ors t o regard t he Loan as an unaccept able invest m ent ,
          ( ii) cause t he Loan t o becom e delinquent , or ( iii) adversely affect t he Value or m arket abilit y
          of t he Mort gaged Prem ises or t he Loan. The Client warrant s t hat it neit her has act ual
          knowledge of t he presence of, nor reasonable gr ounds t o suspect t he presence of, any t oxic
          m at erials or ot her environm ent al hazards on, in or t hat could affect any of t he Mort gaged
          Prem ises. The Client warrant s com pliance wit h local, St at e or federal law or regulat ion
          designed t o pr ot ect t he healt h and safet y of t he occupant s of t he propert y.
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( R) Ca su a lt y I n su r a n ce
The im provem ent s upon t he M or t ga ge d Pr e m ise s are insured against loss by fir e and ot her
hazards as required by t his Client Guide, including flood insurance if required under t he
Nat ional Flood I nsurance Act of 1968, as am ended. The Se cu r it y I n st r u m e n t r equires t he
Borrower t o m aint ain such casualt y insurance at t he Borrower ’s expense, or on t he
Borrower ’s failure t o do so, aut horizes t he holder of t he Securit y I nst rum ent t o obt ain and
m aint ain such insurance at t he Borrower ’s expense and t o seek reim bursem ent from t he
Borrower. Each casualt y policy is t he insurer ’s valid and binding obligat ion, is in full force and
effect , and w ill be in full force and effect , t o GMAC- RFC’s benefit upon t he consum m at ion of
t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide. The Loan
t erm s per m it t he m aint enance of an escrow account t o pay t he Prem ium s for t he above
m ent ioned insurance, and t he Client has not waived t he requirem ent of such escrow account
unless perm it t ed by GMAC- RFC or requir ed by applicable law.

( S) Pr im a r y M or t ga ge I n su r a n ce
I f requir ed by t his Client Guide, prim ar y m ort gage insurance has been obt ained, t he
Prem ium has been paid, and t he m ort gage insurance coverage is in full force and effect
m eet ing t he requirem ent s of t his Client Guide.

( T) Un de r w r it in g; Appr a isa l; Appr a ise r
The Loan is of invest m ent qualit y, has been prudent ly originat ed and has been underwrit t en
in com pliance wit h all requirem ent s of t his Client Guide.
For each Loan for which an appraisal is required or obt ained under t his Client Guide, ( a) The
appraisal was m ade by an appraiser who m eet s t he m inim um qualificat ions for appraisers as
specified in t his Client Guide, and ( b) as of t he Fu n din g D a t e , t he m arket Value of t he
M or t ga ge d Pr e m ise s is at least equal t o t he appraised Value st at ed on t he Loan appraisal
except t o t he ext ent t hat t he m arket Value of t he Mort gaged Prem ises is low er t han t he
appraised Value due t o t he effect of any t oxic m at erials or ot her environm ent al hazards of
which neit her t he appraiser nor t he Client has act ual know ledge or reasonable grounds t o
suspect .
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          ( U) En for ce a bilit y; En for ce m e n t Pr ov ision s
          Each Not e and Se cu r it y I n st r u m e n t const it ut es a legal, valid and binding obligat ion of t he
          Borrower enforceable in accordance wit h it s t erm s except as lim it ed by bankrupt cy,
          insolvency or ot her sim ilar laws affect ing generally t he enfor cem ent of credit or s’ right s.
          Each Securit y I nst rum ent cont ains cust om ary and enfor ceable provisions which render t he
          right s and rem edies of t he holder adequat e t o realize t he benefit s of t he securit y against t he
          M or t ga ge d Pr e m ise s, including: ( i) in t he case of a Securit y I nst rum ent designat ed as a
          deed of t rust , by t rust ee's sale, ( ii) by sum m ary foreclosure, if available under applicable
          law; and ( iii) ot herwise by foreclosure, and t here are no hom est ead or ot her exem pt ions or
          dower, court esy or ot her right s or int erest s available t o t he Bor rower or t he Bor rower ’s
          spouse, survivors or est at e or any ot her person or ent it y t hat would, or could, int erfere wit h
          such right t o sell at a t rust ee’s sale or t o foreclose. The Secur it y I nst rum ent and any rider s t o
          t he Securit y I nst rum ent m ust be signed by any person wit h an act ual or pot ent ial int erest in
          t he pr opert y. Tit le holders have an act ual int erest in t he propert y and m ust sign t he Securit y
          I nst rum ent and r iders. Non- Borrowing spouses who are not in t it le m ay have an act ual or
          pot ent ial int erest in t he propert y under St at e law and m ay be required t o sign t he Securit y
          I nst rum ent and rider in som e St at es in order for t he holder of t he Securit y I nst rum ent t o
          obt ain, prot ect and enforce it s lien. The Client will obt ain t he signat ure of t he non- Borrowing
          spouse on t he Securit y I nst rum ent and riders or ot her docum ent at ion, as allowed by law, if
          such signat ure is necessary t o prot ect t he int erest of t he holder of t he Securit y I nst rum ent .

          ( V ) H olde r - I n - D u e - Cou r se
          The Client is t he owner and holder- in- due- course of each Not e and is nam ed as m ort gagee/
          beneficiary or assignee under each Se cu r it y I n st r u m e n t , and all Loa n D ocum e n t s
          requiring execut ion have been appropriat ely execut ed, wit nessed or not arized by t he persons
          whose nam es appear as signat ories and wit nesses, or, as appropriat e, not aries who
          const it ut e t he valid and binding legal obligat ion of t he Borrower, enforceable in accordance
          wit h t heir respect ive t erm s. Not wit hst anding t he foregoing, wit h respect t o adj ust able- rat e
          m ort gage Loans ( ARMs) , t he Client repr esent s and warrant s t hat t here are no claim s t o t he
          Not e on t he part of any person or defenses of any part y t o t he Not e ot her t han t hose t hat
          validly could be raised against a holder- in- due- course.

          ( W ) Tr u st e e D e signa t e d
          Wit h respect t o each Se cu r it y I n st r u m e n t t hat is a deed of t rust , a t rust ee duly qualified
          under applicable law t o serve as such is properly nam ed, designat ed and serving.

          ( X ) N o Fe e s D ue Tr u st e e
          Except in connect ion wit h a t rust ee’s sale aft er default by t he Borrower, no fees or expenses
          are payable by t he Client or GMAC- RFC t o t he t rust ee under any Securit y I nst rum ent t hat is
          a deed of t rust .

          ( Y) Ex e cut ion of D ocum e n t s
          All agreem ent s, cont ract s, assignm ent s, endorsem ent s and issuances of checks or draft s,
          report s, Loa n D ocu m e n t s or ot her papers relat ed t o a Loan t hat are required by t his Client
          Guide t o be execut ed by t he Client have been properly execut ed by an officer on behalf of
          t he Client pursuant t o a duly adopt ed Resolut ion of Board of Direct ors.
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( Z) Le a se h olds
Where perm it t ed by t he applicable Loa n Pr ogr a m , each Mort gaged Prem ises involving a
Le a se h old est at e com plies wit h t he applicable Leasehold warrant ies set fort h in t his Client
Guide.
( AA) Con dom in iu m s; Pla n n e d Un it D e v e lopm e n t s ( PUD s)
Each M or t ga ge d Pr e m ise s t hat is a unit in a condom inium or PUD com plies wit h t he
applicable condom inium or PUD warrant ies set fort h in t his Client Guide.
( BB) Com plia n ce By Ot h e r s
When a person or ent it y: ( i) originat es a Loan on behalf of a Client , ( ii) originat es a Loan on
it s own behalf and sells it t o a Client , or ( iii) perform s any act for a Client which t he Client is
required t o perform under t his Client Guide, t he Client warrant s t hat such person or ent it y
has com plied wit h all requir em ent s of t his Client Guide wit h respect t o all such Loans and
act s.
( CC) Clie n t Con t r a ct W a r r a n t ie s
The represent at ions and warrant ies m ade at t he t im e of t he Client ’s execut ion of t he Client
Cont ract m ust rem ain t rue, correct and com plet e.
( D D ) Clie n t a n d Or igin a t or s
     • I f t he Client sells Jum bo A, Expanded Cr it eria, or Paym ent Opt ion Loans t o GMAC- RFC,
       t he Client is a savings and loan associat ion, savings bank, com m ercial bank, credit
       union, insurance com pany or sim ilar banking inst it ut ion which is supervised by a
       federal or St at e aut horit y or a H UD approved non- supervised m ort gagee.
     • Each Jum bo A, Expanded Crit eria, and Paym ent Opt ion Loan was: ( i) closed in t he
       nam e of t he Client , ( ii) closed in t he nam e of anot her ent it y t hat eit her is a savings and
       loan associat ion, savings bank, com m ercial bank, credit union, insurance com pany or
       sim ilar banking inst it ut ion which is supervised by a federal or St at e aut horit y, or a HUD
       appr oved non- supervised m or t gagee, and was so at t he t im e t he Loan was originat ed
       ( t he Client or such ot her ent it y shall be called t he “ originat or ” ) or ( iii) closed in t he
       nam e of t he loan broker.
     • All Loans closed in t he nam e of a loan broker ( including but not lim it ed t o Jum bo A,
       Expanded Crit eria, and Paym ent Opt ion Loans) w ere originat ed under t he
       circum st ances described in t he following sent ence: I f t he Loan was originat ed t hrough
       a loan broker, t he originat or approved t he Loan pr ior t o funding by t he loan broker and
       t he originat or acquired t he Loan from t he loan broker cont em poraneously wit h t he
       originat ion t hereof.
I f t he Client sells Loans t o GMAC- RFC which are regist ered wit h M ERS or as t o which MERS is
t he m ort gagee on t he Se cu r it y I n st r u m e n t , t he Client is a m em ber of MERS, in good
st anding and current in paym ent of all fees and assessm ent s im posed by MERS.
( EE) N o I m pa ir m e n t of I n su r a n ce
No act ion, er ror, om ission, m isrepresent at ion, negligence, fraud or sim ilar occurrence in
respect of a Loan has t aken place on t he part of any person, including, wit hout lim it at ion, t he
Borrower, any appraiser, any builder or developer or any part y involved in t he originat ion of
t he Loan or in t he applicat ion of any insurance in relat ion t o such Loan t hat m ight result in a
denial, cont est ing, failure or im pairm ent of full and t im ely coverage under any insurance
policies requir ed t o be obt ained or any pool insurance policy covering such Loan.
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          ( FF) Te m por a r y Buy dow ns
          Where perm it t ed by t he applicable Loa n Pr ogr a m , each Te m por a r y Buy dow n Loan
          delivered t o GMAC- RFC was ent ered int o pursuant t o a buydown agreem ent which com plies
          wit h t he Te m por a r y Bu ydow n s Sect ion in Cha pt e r 3 of t his Client Guide.
          ( GG) Pr im a r y M or t ga ge I n su r a n ce Ca n ce lla t ion
          The Client has disclosed in writ ing t o t he Borrower t he t erm s and condit ions t hat m ust be
          m et prior t o t he prim ary m ort gage insurance being eligible for cancellat ion. A copy of t his
          disclosure has been ret ained in t he Loan file as a perm anent record.
          ( H H ) N o D e ficie n cy I n Escr ow D e posit s or Pa ym e n t s
          The Loan has been serviced by t he Client and any pr edecessor Se r vice r in accordance wit h
          t he t erm s of t he m ort gage Not e and all applicable law. Wit h respect t o escrow deposit s and
          escrow paym ent s, if any, all such paym ent s are in t he possession of, or under t he cont rol of,
          t he Client , and t here exist s no deficiency in connect ion t herewit h for which cust om ary
          arrangem ent s for repaym ent t hereof have not been m ade. No escrow deposit s, escr ow
          paym ent s or ot her charges or paym ent s due t he Client have been capit alized under any
          m ort gage or relat ed m ort gage Not e.
          ( I I ) Loa n Se cu r it iza t ion
          The Client recognizes t hat it is GMAC- RFC’s int ent t o securit ize som e or all of t he Loans sold
          t o GMAC- RFC by t he Client . The Client agrees t o provide GMAC- RFC w it h all such inform at ion
          concerning t he Client generally and, if applicable, t he Client ’s servicing experience, as m ay
          be reasonably request ed by GMAC- RFC for inclusion in a prospect us or privat e placem ent
          m em orandum published in connect ion wit h such securit izat ion.
          I n addit ion, t he Client will cooperat e in a sim ilar m anner wit h GMAC- RFC in connect ion wit h
          any whole Loan sale or ot her disposit ion of any Loan sold t o GMAC- RFC by t he Client . The
          Client agrees t o indem nify and hold GMAC- RFC harm less from and against any loss, dam age,
          penalt y, fine, forfeit ure, court cost , reasonable at t orneys’ fees, j udgm ent , cost , fee, expense
          or liabilit y incurred by GMAC- RFC as a result of any m at erial m isst at em ent in or om ission
          fr om any infor m at ion provided by t he Client t o GMAC- RFC; or fr om any claim , dem and,
          defense or assert ion against or involving GMAC- RFC based on or grounded upon, or result ing
          fr om such m isst at em ent or om ission or a breach of any represent at ion, warrant y or
          obligat ion m ade by GMAC- RFC in reliance upon such m isst at em ent or om ission.
          The Client furt her agrees t o cooperat e fully wit h GMAC- RFC, rat ing agencies, at t or neys, bond
          insurers, purchasers of Loans or any ot her part ies t hat m ay be involved in t he sale or
          securit izat ion of any Loan, including, wit hout lim it at ion, all cooperat ion as m ay be necessary
          in order t o accom m odat e due diligence act ivit y.
          ( JJ) N on - Solicit a t ion
          The Client has not solicit ed or provided inform at ion t o anot her part y for t he purpose of
          solicit ing, and covenant s and agrees t hat it will not solicit or provide inform at ion t o anot her
          part y for t he purpose of solicit ing, t he refinance of any Loan. The t erm “ solicit ” as used
          herein shall m ean a direct request or offer t o refinance a servicing released Loan, and shall
          not include general solicit at ions, advert isem ent s or prom ot ions direct ed t o t he public at
          large.
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( KK) N o Fr a u d or M isr e pr e se n t a t ion
No fraud or m isrepr esent at ion by t he Borrow er or by t he Client , broker, correspondent ,
appr aiser or any independent cont ract or ret ained by t he Client , broker, corr espondent ,
appr aiser or any em ployee of any of t he foregoing occurred wit h respect t o or in connect ion
wit h t he originat ion or underwrit ing of any Loan and all inform at ion and docum ent s provided
t o GMAC- RFC in connect ion wit h t he Loan are com plet e and accurat e.
( LL) Ex clu sion a r y List
No part y involved in t he originat ion of a Loan ( e.g., originat or, broker, t it le com pany,
appraiser, et c.) was on t he Ex clu sion a r y List on t he dat e t he Loan was originat ed as
det erm ined by t he dat e of t he prom issory Not e for t hat part icular Loan.

A203
Additional Client Representations, Warranties and Covenants for the Home Equity Loan
Program
The Hom e Equit y Loan Program adher es t o t he Client represent at ions, warrant ies and
covenant s st at ed below as well as t he represent at ions, warrant ies and covenant s cont ained
in t his Client Guide.
Unless t he Hom e Equit y Loan is a valid first lien on t he M or t ga ge d Pr e m ise s, t he following
represent at ion and warrant y applies:
       Valid Second Lien
       Each Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC const it ut es a valid lien on t he
       Mort gaged Prem ises which is subordinat ed only t o a lien of t he holder of a first
       m ort gage Loan, and is subj ect only t o t he m inor im pedim ent s described in t he Tit le
       I n su r a n ce Sect ion of t his Chapt er. No such im pedim ent shall adversely affect t he
       Value, use, enj oym ent or m arket abilit y of t he Mort gaged Prem ises.
The following addit ional represent at ions and warrant ies are m ade by t he Client t o GMAC- RFC
as of t he Pu r ch a se D a t e of each Hom e Equit y Loan:

( A) Lice n sin g
The Client and any agent s or correspondent s originat ing for t he Client have obt ained all
licenses and approvals required wit h respect t o t he originat ion of t he Hom e Equit y Loans,
including, t o t he ext ent applicable, licenses and appr ovals required for sm all Loans or sm all
advances and licenses and approvals requir ed t o charge t he m axim um int erest rat e allowable
under St at e law.

( B) N o Con t r a ct or or D e a le r Loa ns
No hom e im provem ent cont ract or or dealer was involved as a t hird part y originat or of a
Hom e Equit y Loan or received com pensat ion in any form from t he Client .

( C) N o Bor r ow e r D e fe n se s or Cla im s
No unresolved defense or claim has been m ade or assert ed in writ ing by t he Borrower wit h
respect t o t he Hom e Equit y Loan, including, wit hout lim it at ion, any defenses or claim s based
on unsat isfact ory workm anship or m at erials in connect ion wit h any hom e im pr ovem ent s
financed wit h t he proceeds of t he Hom e Equit y Loan.
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A205
Proof of Compliance
The Client will, upon t he request of GMAC- RFC, supply proof sat isfact ory t o GMAC- RFC of it s:
    ( 1) Com pliance wit h all repr esent at ions and warrant ies cont ained in t his Client Guide,
         and
    ( 2) Com pliance wit h all local, St at e and federal laws, rules and regulat ions.

A206
Integrity of Information
The Client is responsible for credit and propert y underw rit ing regardless of w het her t he
inform at ion was provided by t he Client , an ent it y relat ed t o t he Client or designat ed by t he
Client t o perform t he funct ion. This includes credit inform at ion, appraisals, or ot her
docum ent s/ inform at ion used in t he Loan's evaluat ion.
The Client should t ake all st eps necessary t o ensure t hat each Loan sold t o GMAC- RFC has
been prudent ly originat ed and underwrit t en, and t hat all inform at ion supplied by, on behalf
of, or concerning t he Borrower is t rue, accurat e and com plet e. The Client should ensure t hat
int erest ed part ies are sufficient ly independent from t he Loan t ransact ion and t hat adequat e
organizat ional cont r ols are in place t o ensur e t he independence, validit y and reliabilit y of t he
Loan inform at ion.
I n addit ion, t he Client should im plem ent prudent pract ices when relying on designat ed
agent s ( such as escrow com panies, t it le com panies, et c.) in order t o ensure t hat t hey com ply
wit h it s inst ruct ions and t hat t he int egr it y of t he Loan t ransact ion has been m aint ained.
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A208
Events of Default
Any one or m ore of t he following event s const it ut e an Eve nt of D e fa u lt :
    ( 1) The Client has not com plied wit h one or m ore of t he requirem ent s ( including any
         requirem ent out lined in Chapt er 2, Client Eligibilit y) t erm s or condit ions out lined in
         t his Client Guide or one of t he disqualificat ion, suspension or inact ivat ion event s set
         fort h in t he D isqu a lifica t ion Su spe n sion or I n a ct iv a t ion Sect ion has occurred or
         occurs.
    ( 2) The Client has breached any agreem ent out lined or incorporat ed by reference in t he
         Client Cont ract or any ot her agreem ent bet ween t he Client and GMAC- RFC.
    ( 3) The Client breaches any of t he represent at ions, warrant ies or covenant s set fort h in
         t his Client Guide, fails t o perform it s obligat ions under t his Client Guide or t he
         Program Docum ent s, m akes one or m ore m isleading represent at ions, war rant ies or
         covenant s t o GMAC- RFC, or as failed t o provide GMAC- RFC wit h inform at ion t hat is
         t r ue, com plet e and accurat e.
    ( 4) The Borr ower or any ot her person or ent it y involved in t he Loan t ransact ion or in it s
         underwrit ing or docum ent at ion ( including any appraiser, broker, t hird- part y
         originat or, credit report ing agency, or ot her pr ovider of underwrit ing inform at ion)
         has m ade any false represent at ion and/ or has failed t o provide inform at ion t hat is
         t r ue, com plet e and accurat e in connect ion w it h such t ransact ion, w het her or not t he
         Client was a part y t o or had knowledge of such m isr epresent at ion or incorrect
         inform at ion.
    ( 5) Occurrence of an Event of Se r vice r Default wit h respect t o any Loans serviced by
         t he Client .
    ( 6) Term inat ion of servicing for cause is a basis for t he Client ’s im m ediat e
         disqualificat ion or suspension. Act ion t aken by GMAC- RFC t o t erm inat e servicing
         m ay be m erged wit h an act ion t o disqualify, suspend or inact ivat e t he Client .
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          A209
          Remedies of GMAC-RFC
          ( A) N on - Ex clu siv e , Cu m u la t ive Re m e die s
          GMAC- RFC m ay exercise any r em edy out lined in t his Client Guide or as allowed by law or in
          equit y. GMAC- RFC’s exercise of one or m ore rem edies in connect ion wit h a part icular Eve n t
          of D e fa u lt will not prevent it from exercising:
               • One or m ore ot her rem edies in connect ion wit h t he sam e Event of Default
               • Any ot her right s which it m ay have at law or in equit y

          ( B) W a ive r of D e fa u lt s
          GMAC- RFC m ay waive any default by Client in t he perform ance of Client ’s obligat ions
          hereunder and it s consequences, but only by a writ t en waiver specifying t he nat ure and
          t erm s of such waiver. No such waiver shall ext end t o any subsequent or ot her default or
          im pair any right consequent t heret o, nor shall any delay by GMAC- RFC in exercising, or
          failure t o exercise, any right arising from such default affect or im pair GMAC- RFC’s right s as
          t o such default or any subsequent default .

          ( C) Su r v iva l of Re m e die s
          GMAC- RFC’s rem edies for breach of t he represent at ions, warrant ies and covenant s shall
          survive t he sale and delivery of t he Loan t o GMAC- RFC and funding of t he relat ed purchase
          price by GMAC- RFC, and will cont inue in full force and effect for t he rem aining life of t he
          Loans, not wit hst anding any t erm inat ion of t his Client Guide and t he relat ed Fu n din g
          D ocu m e n t s, or any rest rict ive or qualified endorsem ent on any m ort gage Not e or
          assignm ent of m ort gage or Loan approval or ot her exam inat ion of or failur e t o exam ine any
          relat ed m ort gage Loan file by GMAC- RFC.
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A210
Repurchase
( A) Re pu r ch a se Obliga t ion s
I f GMAC- RFC det erm ines t hat an Ev e n t of D e fa u lt has occurred wit h respect t o a specific
Loan, t he Client agrees t o r epurchase t he Loan and it s servicing ( if t he Loan was sold
servicing released) wit hin 30 days of receiving a repurchase let t er or ot her writ t en
not ificat ion from GMAC- RFC.
I f t he Client discovers an Event of Default , it should give GMAC- RFC prom pt writ t en not ice.
Such not ice should include a writ t en descript ion of t he Event of Default . Upon receipt of t his
not ice, GMAC- RFC will review t hese m at erials and any addit ional inform at ion or
docum ent at ion t hat t he Client believes m ay influence GMAC- RFC’s decision t o requir e
repurchase. I f GMAC- RFC decides t o require repurchase, t he Client shall repurchase t he Loan
and t he servicing ( if t he Loan was sold servicing released) wit hin 30 days aft er GMAC- RFC’s
decision is com m unicat ed t o Client in writ ing.
To expedit e t he wiring of funds t o GMAC- RFC, t he Client should com plet e t he servicing
t ransfer inst ruct ion form provided by GMAC- RFC. GMAC- RFC will send t he form t o t he Client
along wit h t he not ificat ion of repurchase.
GMAC- RFC is not required t o dem and repurchase wit hin any part icular period of t im e, and
m ay elect not t o require im m ediat e repurchase. However, any delay in m aking t his dem and
does not const it ut e a waiver by GMAC- RFC of any of it s right s or rem edies.
Where GMAC- RFC det erm ines t hat repurchase of a Loan and/ or t he servicing is not
appr opriat e, t he Client shall pay GMAC- RFC all losses, cost s and expenses incurred by GMAC-
RFC and/ or t he Loan’s Se r vice r as a result of an Ev e n t of D e fa u lt . This includes all
reasonable at t orneys’ fees and ot her cost s and expenses incurred in connect ion wit h
enforcem ent effort s under t aken.
Upon t he Client ’s sat isfact ion of it s repurchase obligat ion, GMAC- RFC will endorse t he Not e
evidencing t he Loan in blank and w ill deliver it and ot her pert inent Loa n D ocu m e n t s t o t he
Client . I f GMAC- RFC acquired t it le t o any of t he real propert y securing t he Loan pursuant t o a
foreclosure sale and has not disposed of such propert y, it w ill t ransfer such propert y t o t he
Client on a “ quit claim ” basis or, if required by St at e law, a “ warrant y deed” basis. However, if
GMAC- RFC has disposed of t he real proper t y securing t he Loan, t he Loan Docum ent s will not
be ret urned t o t he Client unless request ed.
I f t he Client is also t he Se r vice r of a Loan repurchased by reason of t he occurrence of an
Event of Default , GMAC- RFC will not reim burse t he Client for any principal, int erest or ot her
advances m ade by t he Client wit h respect t o t hat Loan.
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          ( B) Re pu r ch a se Pr ice of Fir st M or t ga ge Pr ogr a m s
          I n t he event t he Client is obligat ed t o repurchase a Loan t he Client m ust pay t o GMAC- RFC a
          repur chase pr ice equal t o t he sum of:
               • The act ual principal balance of t he Loan at t he t im e of repurchase ( if t he Client sold t he
                 Loan t o GMAC- RFC at a discount or a Prem ium , t he repurchase price above will be
                 adj ust ed t o reflect t he act ual principal balance m inus t he discount percent age
                 m ult iplied by t he act ual principal balance, or plus t he Prem ium percent age m ult iplied
                 by t he act ual principal balance, as appr opriat e, including t hat price paid for Se r vicin g
                 Righ t s) , plus
               • All accr ued and unpaid int erest on t he Loan t hrough t he last day of t he m ont h of t he
                 dat e of repurchase; plus
               • All int erest , principal and ot her advances m ade t o invest ors and all out of pocket cost s
                 and expenses of any kind incurred by GMAC- RFC and/ or t he prim ary Se r vice r in
                 connect ion wit h t he Loan, including, but not lim it ed t o, advances for t axes or
                 insurance, and repair, foreclosure and insurance cost s and reasonable at t orneys’ fees;
                 plus
               • The am ount of t he buyout fee as calculat ed in t he Buyou t s a nd Ex t e nsion s Sect ion
                 of Cha pt e r 9 of t his Client Guide; plus
               • I n t he event t hat GMAC- RFC or any of it s Affilia t e s is required t o repurchase t he Loan
                 fr om any subsequent assignee, t hen any addit ional am ount as m ay be required t o
                 m ake t he repurchase pr ice t hat t he Client is obligat ed t o pay hereunder equal t o t he
                 repurchase pr ice t hat GMAC- RFC or it s Affiliat e is required t o pay t o such subsequent
                 assignee; m inus
               • The net am ount of any proceeds r ealized by t he owner of t he Loan upon t he final
                 liquidat ion of t he Loan or t he M or t ga ge d Pr e m ise s t o an unrelat ed t hird part y.
          The D e signa t e d Se r v ice r will ret urn t o t he Client any escrow funds, unapplied funds and
          prepaid principal and int erest inst allm ent s.
          GMAC- RFC m ay dem and t hat a Client repurchase, and Client m ust repurchase, a Loan aft er
          foreclosure even if t he full am ount of it s out st anding debt was bid on by or on behalf of t he
          Loan’s owner t o acquire t he M or t ga ge d Pr e m ise s at t he foreclosure sale. I n t he event t he
          Client is obligat ed t o repurchase a Loan aft er foreclosure, t he repurchase price shall be
          calculat ed using t he form ula above, however Sch e du le d Pr in cipa l Ba la n ce shall be
          subst it ut ed for t he act ual principal balance.
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( C) Re pu r ch a se Pr ice of H om e Equ it y Loa n Pr ogr a m
I n t he event t he Client is obligat ed t o repurchase a Hom e Equit y Loan, t he Client m ust , upon
repurchase, service such Hom e Equit y Loan. The repurchase price for such Hom e Equit y Loan
shall be equal t o t he sum of:
    • The unpaid pr incipal balance of t he Hom e Equit y Loan
    • All accr ued and unpaid int erest on t he Hom e Equit y Loan
    • The am ount of all fees and/ or purchase Prem ium paid, if any, t o t he Client by GMAC-
      RFC for originat ion of t he Hom e Equit y Loan
    • All fees paid t o any Se r v ice r or sub- servicer of a Hom e Equit y Loan by reason of t he
      t erm inat ion of t hat Servicer ’s or Sub- Servicer ’s right t o service t hat Hom e Equit y Loan
    • All cost s incurred or paid by GMAC- RFC or any Servicer in collect ing or enforcing t he
      Hom e Equit y Loan, including, wit hout lim it at ion, int erest or ot her cost s paid t o bring or
      m aint ain a prior lien current or up t o dat e, cost s t o insure or pay delinquent t axes,
      at t orneys’ fees, court cost s, appraisal and t it le expenses and ot her sim ilar cost s or
      expenses ( collect ively, “ Foreclosure Expenses” )
    • Any addit ional am ount GMAC- RFC or any of it s Affilia t e s is required t o pay t o
      repurchase t he Hom e Equit y Loan from a subsequent assignee
I n lieu of repurchasing a Hom e Equit y Loan t hat has not yet been foreclosed and accept ing
t he servicing of such Hom e Equit y Loan, GMAC- RFC m ay in it s sole discret ion allow Client t o
pay t o GMAC- RFC t he Est im at ed Loss ( as defined below) . Est im at ed Loss, as it relat es t o
each Hom e Equit y Loan subj ect t o repurchase, shall equal t he product of:
120% m ult iplied by t he result of:
    • Repurchase price as calculat ed above, plus
    • Accrued int erest on t he Hom e Equit y Loan t hrough t he dat e GMAC- RFC est im at es t hat
      t he Hom e Equit y Loan will be fully liquidat ed ( which in t he case of a foreclosure, shall
      m ean t he dat e t hat GMAC- RFC est im at es t hat t he M or t ga ge d Pr e m ise s will be sold t o
      a t hird part y and which in any ot her case m eans t he dat e t hat GMAC- RFC est im at es
      t hat all collect ion effort s on t he Hom e Equit y Loan will be abandoned) and est im at ed
      foreclosure and ot her enforcem ent expenses for t he ent ire collect ion process, less
    • Am ount by which t he current m arket Value of t he Mort gaged Prem ises as det erm ined
      by GMAC- RFC using valuat ion services provided by an independent t hir d part y exceeds
      t he current out st anding am ount of indebt edness secured by t he Mort gaged Prem ises
      t hat is senior t o t he Hom e Equit y Loan.
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          ( D ) Re pu r ch a se Pr ice of a Se r vicin g Re le a se d Loa n
          I n t he event t he Client repurchases a Loan for which t he servicing has also been sold t o
          GMAC- RFC, t he Client will also be required t o repurchase t he servicing. I f t he repur chase of
          t he servicing of t he Loan is for any reason ot her t han a breach of t he D e lin qu e n cy Payoff/
          Liquidat ion warrant y cont ained in t he Servicing Released Cha pt e r 8 , t he Client m ust pay t o
          GMAC- RFC a repurchase price equal t o t he original Se r vicin g Re le a se d Pr e m iu m ( SRP)
          percent age m ult iplied by t he act ual unpaid principal balance at t he t im e of repurchase.
          I n no event however, will t he required repurchase Servicing Released Prem ium be gr eat er
          t han t he original Servicing Released Prem ium paid t o t he Client .
          The D e sign a t e d Se r vice r will ret urn t o t he Client any escrow funds, Te m por a r y Bu ydow n
          funds, unapplied funds and prepaid pr incipal and int erest inst allm ent s. The Client will be
          required t o reim burse t he Designat ed Servicer for any delinquent principal and int erest
          advances, and any escrow advances and foreclosure expenses t hey have m ade and not
          recovered on a repurchased Loan.

          ( E) Re pu r ch a se As a Re su lt of Con ve r sion
          The Client ( or, if t he Client has t ransferred servicing of t he Loans, t he Se r vice r ) shall
          repurchase a Loan which has convert ed from an ARM t o a fixed- rat e m ort gage. The Servicer
          m ust subm it t he ARM Conversion Not ificat ion Report no less t han 15 days prior t o t he
          conversion dat e.
          I f t he Client or Servicer repurchases a convert ed Loan and subsequent ly resells t hat
          convert ed Loan t o GMAC- RFC, all t he Client ’s represent at ions and warrant ies wit h respect t o
          t hat Loan shall survive such repurchase and resale. I n addit ion, t he Client shall be subj ect t o
          all right s and rem edies ( including repurchase) available t o GMAC- RFC as a result of any
          m isrepresent at ion or breach of warrant y wit h respect t o t hat Loan pr ior t o conversion.
          The Client shall also subm it t he m odificat ion agreem ent if request ed by GMAC- RFC or it s
          assigns.
          Aft er it s receipt of t he Loan funds, GMAC- RFC will endorse t he Not e t o t he par t y which
          repurchased t he Loan. The Loan will t hen be assigned t o such part y, and all credit
          docum ent at ion will be ret urned. Failure t o subm it t he ARM Conversion Not ificat ion Report in
          a t im ely m anner m ay delay t he receipt of t he endorsed Not e and ot her legal docum ent s.
          The Se r v ice r shall subm it a Payoff/ Liquidat ion Report and wire t ransfer Loan funds t o t he
          GMAC- RFC Loa n Accou n t in g D e pa r t m e n t no lat er t han t he last Bu sin e ss D a y prior t o t he
          conversion dat e. The Servicer m ust rem it int erest for t he ent ire m ont h preceding t he
          conversion dat e. The Client shall at t ach a copy of t he ARM Conversion Not ificat ion Report .
          I f t he appropriat e am ount is not wired on t im e, GMAC- RFC will charge a lat e paym ent fee.
          This fee will equal t he am ount due m ult iplied by t he “ Pr im e Ra t e ” plus 3% m ult iplied by t he
          num ber of days overdue divided by 365. The t erm “ Prim e Rat e” shall m ean t he highest
          quot ed Prim e Rat e print ed in The Wall St r eet Journal in it s regular colum n “ Money Rat es” on
          t he first Bu sin e ss D a y of t he m ont h in which t he paym ent was due and not paid. I f t he
          Prim e Rat e is not available, GMAC- RFC will det erm ine a com parable rat e.
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( F) Su bst it u t ion
I nst ead of requiring t he Client t o repurchase a Loan as provided above, GMAC- RFC, at it s
discret ion, m ay allow t he Client t o subst it ut e anot her Loan sat isfact ory t o GMAC- RFC in place
of t he original Loan, wit hin 10 days of not ificat ion by GMAC- RFC, unless ot herwise not ified. I f
t he subst it ut ed Loan cont ains t erm s different from t hose of t he Loan t hat it is replacing, a
purchase price adj ust m ent will be calculat ed by GMAC- RFC based on m ar ket changes and
Loan charact erist ics. Every Loan subst it ut ed will be subj ect t o all agreem ent s, t erm s,
condit ions, represent at ions and warrant ies in t his Client Guide as of t he Su bst it u t ion D a t e .
I n t he event a Loan is eligible for purchase by GMAC- RFC but t he servicing is ineligible for
purchase by GMAC- RFC, t he Loan will be purchased and t he sale of servicing denied. GMAC-
RFC w ill not allow t he Client t o subst it ut e anot her servicing released Loan.

( G) Cost of Tr a n sfe r Fe e s D ue t o Re pu r cha se
The Client agrees t hat , if it is requir ed t o repurchase a Loan and t he relat ed Servicing, it will
pay all docum ent ary st am p t axes, recording fees, t ransfer t axes and all ot her expenses
payable in connect ion wit h t he repurchase and will indem nify and hold harm less GMAC- RFC
and t he D e signa t e d Se r v ice r against all losses, cost s and expenses, including at t orney
fees, result ing from such requir ed repurchases or t he breach giving rise heret o.

( H ) N ot ice a n d Appe a l
The Client m ay appeal GMAC- RFC’s decision by providing any addit ional inform at ion or
docum ent at ion it believes m ay affect GMAC- RFC’s det erm inat ion.
Send all not ificat ions and appeals t o:
      GMAC- RFC
      One Meridian Crossing
      Suit e 100
      Minneapolis, MN 55423
      At t ent ion: Repurchase Managem ent
Such inform at ion and docum ent at ion m ust be received wit hin 30 days aft er t he Client ’s
receipt of a repurchase let t er or sim ilar writ t en not ificat ion from GMAC- RFC. GMAC- RFC will
review all appeals and advise t he Client in writ ing of t he appeal decision. GMAC- RFC will in it s
sole discret ion det erm ine t he validit y of any appeal filed by t he Client . I f GMAC- RFC’s
decision rem ains firm following an appeal, t he Client shall repurchase t he Loan and it s
servicing ( if t he Loan was sold servicing released) wit hin 10 days of not ificat ion by GMAC-
RFC, in writ ing, t hat t he appeal has been denied.
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                                                                                                         Warranties and
                                                                                                         Covenants
   ( 17) The Client or Se r vice r ’s failure t o m aint ain a qualified Loan originat ion, servicing
         and qualit y cont r ol st aff, an accept able ongoing qualit y cont rol program , adequat e
         facilit ies and writ t en policies and procedures t o ensure:
         • The invest m ent qualit y of Loans sold t o GMAC- RFC
         • The adequacy of t he servicing of Loans purchased by GMAC- RFC OR
   ( 18) The failure of t he Client or t he Se r vice r t o m eet any t est as m ay be prescribed for
         eligibilit y,
   ( 19) The det erm inat ion by GMAC- RFC t hat a Client has not delivered an adequat e volum e
         of Loans t o GMAC- RFC.

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Indemnification
The Client shall indem nify GMAC- RFC fr om all losses, dam ages, penalt ies, fines, forfeit ures,
court cost s and reasonable at t orneys’ fees, j udgm ent s, and any ot her cost s, fees and
expenses result ing from any Ev e n t of D e fa u lt . This includes any act or failure t o act or any
breach of warrant y, obligat ion or represent at ion cont ained in t he Client Cont ract ; or from
any claim , dem and, defense or assert ion against or involving GMAC- RFC based on or
result ing from such breach or a breach of any r epresent at ion, warrant y or obligat ion m ade
by GMAC- RFC in reliance upon any war rant y, obligat ion or represent at ion m ade by t he Client
cont ained in t he Client Cont ract .
I n addit ion, Client shall indem nify GMAC- RFC against any and all losses, dam ages, penalt ies,
fines, forfeit ures, j udgm ent s, and any ot her cost s, fees and expenses ( including court cost s
and reasonable at t orneys’ fees) incurred by GMAC- RFC in connect ion wit h any lit igat ion or
governm ent al proceeding t hat alleges any violat ion of local, St at e or federal law by Client , or
any of it s agent s, or any originat or or broker in connect ion wit h t he originat ion or servicing of
a Loan. Wit h regard t o legal fees or ot her expenses incurr ed by or on behalf of GMAC- RFC in
connect ion wit h any such lit igat ion or governm ent al proceeding, Client shall reim burse
GMAC- RFC for such fees and expenses. Reim bursem ent shall be m ade direct ly t o GMAC- RFC
wit hin t en days of receipt of a request for paym ent , which request shall include copies of t he
relevant invoices. Except for not ices for reim bursem ent , GMAC- RFC is not required t o give
Client not ice of any lit igat ion or governm ent al proceeding t hat m ay t rigger indem nificat ion
obligat ions. Client shall inst ruct it s officers, direct ors and agent s ( including legal counsel) t o
cooperat e wit h GMAC- RFC in connect ion wit h t he defense of any lit igat ion or governm ent al
proceeding involving a Loan. GMAC- RFC has t he right t o cont rol any lit igat ion or
governm ent al proceeding relat ed t o a Loan, including but not lim it ed t o choosing defense
counsel and m aking set t lem ent decisions.
The Client also shall indem nify GMAC- RFC and hold it harm less against all court cost s,
at t orney’s fees and any ot her cost s, fees and expenses incurred by GMAC- RFC in enforcing
t he Client Cont ract . The obligat ions of t he Client under t his Sect ion shall survive t he
D e live r y D a t e , t he Fu n din g D a t e ( and each Su bst it u t ion D a t e , if applicable) and t he
t erm inat ion of t he Client Cont ract and t he disqualificat ion, suspension or inact ivat ion of t he
Client .
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            EXHIBIT B-9
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                             GMAC-RFC


1-05-G04                                                              Effective: November 21, 2005



Client Guideline Memo
Enclosed is t he Client Guideline. The purpose of t he Client Guideline is t o ident ify enhancem ent s,
clarificat ions and changes t o t he Client Guide and t o give not ice t hat t he Client Guide has been
am ended. All clarificat ions and changes are effect ive for Com m it m ent s t aken on or aft er Novem ber
21, 2005, unless ot herwise not ed.
The act ual enhancem ent s, clarificat ions and changes can be found in t he pages of t he Client Guide
indicat ed below.

Chapter 1, Introduction
    • Revised chapt er list ing adding new Chapt er 9 Sect ions ( Sect ion 109, Pa ge 1 .3 )
    • Am ended language for sole discret ion ( Sect ion 113, Pa ge 1 .4 )
    • GMAC- RFC m ay give less t han 30 days not ice for new program s, pr oduct s or enhancem ent s
      ( Sect ion 113, Pa ge 1 .5 )

Chapter 2, Client Eligibility
    • Revised Client eligibilit y language from Client Guide Bullet in 1- 05- B05 ( Sect ion 201,Pa ge 2 .2 )

Chapter 2A, Representations, Warranties and Covenants
    • Clarified language ( Sect ion A202, Pa ge 2 A.9 )
    • Added language for AVM ( Sect ion A202, Pa ge 2 A.1 1 )
    • Sim plified language for Client and Originat ors ( Sect ion A202, Pa ge 2 A.1 3 )
    • Added guidelines for AVM ( Sect ion A210, Pa ge 2 A.2 4 )
    • Revised chapt er reference adding new Chapt er 9 Sect ions ( Sect ion A210, Pa ge 2 A.2 4 )
    • Am ended language for sole discret ion ( Sect ion A210, Pa ge 2 A.2 7 )
    • Revised chapt er reference adding new Chapt er 9 Sect ions ( Sect ion A216, Pa ge 2 A.3 2 )

Chapter 3, Loan Eligibility
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    • Added Guidelines for Foreign Nat ionals ( Sect ion 302, Pa ge 3 .4 )
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      3 .2 9 )
    • Revised Guidelines for West Virginia Loans ( Sect ion 319, Pa ge 3 .3 4 )

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          A201
          Specific Representations, Warranties and Covenants Concerning Client
          ( A) D u e Or ga n iza t ion ; Good St a n ding; Lice n sing
          Client and, t o Client ’s knowledge, Client ’s Guarant or, if applicable, is and shall cont inue t o be
          duly organized, validly exist ing, and in good st anding under t he laws of t he Unit ed St at es or
          under t he laws of t he j urisdict ion in which it was incorporat ed or organized, as applicable,
          and has and shall cont inue t o m aint ain all licenses, regist rat ions, and cert ificat ions necessary
          t o carry on it s business as now being conduct ed, and is and will cont inue t o be licensed,
          qualified, and in good st anding in each St at e where a Mort gaged Propert y is locat ed if t he
          laws of such St at e require licensing or qualificat ion in order t o conduct business of t he t ype
          conduct ed by Client 1. Client is and will rem ain in com pliance wit h t he laws of any such St at e,
          and is and will rem ain in good st anding wit h federal aut horit ies, t o t he ext ent necessary t o
          ensure t he enforceabilit y of t he relat ed Loan. Client has disclosed t he final writ t en report s,
          act ions and/ or sanct ions of any and all reviews, invest igat ion, exam inat ions, audit s, act ions
          and/ or sanct ions t hat have been undert aken and/ or im posed, wit hin t wo years prior t o t he
          dat e of t he Client Cont ract , by any federal or St at e agency or inst r um ent alit y wit h respect t o
          eit her t he lending or r elat ed financial operat ions of Client , or t he abilit y of Client t o perform
          in accordance wit h t he Program Docum ent s t erm s. Each of t he represent at ions and
          warrant ies m ade by Client in it s Client Applicat ion is t rue, accurat e, and com plet e, and is
          deem ed t o be rem ade in it s ent iret y, as of t he dat e of t he Client Cont r act , and as of each
          Fu n din g D a t e .
           1 I n addit ion, if any Loan is secured by m ort gaged propert y locat ed in t he St at e of West Virginia, Client and t he
             originat or of t he Loan is licensed under t he West Virginia Mort gage Loan Act and Client and t he originat or of t he
             Loan held such license at t he t im e t he Loan was originat ed, unless ot herwise exem pt from licensing. Client and
             t he originat or of t he Loan m ust be licensed under t he West Virginia Mort gage Loan Act even if Client and t he
             originat or of t he Loan m akes or offers t o m ake or accept s or offers t o accept or purchases or services in a calendar
             year fewer t han t he num ber of de m inim us prim ary or subordinat e m ort gage Loans specified in t he definit ion of
             “ lender” in W. Va. Code Sect ion 31- 17- 1.

          ( B) Au t h or it y
          Client has and will m aint ain t he full corporat e, part nership or lim it ed liabilit y com pany power
          and aut horit y t o execut e and deliver t he Program Docum ent s and t o perform t he t erm s of
          t his Client Guide. The execut ion, delivery, and perform ance of t he Program Docum ent s and
          t he perform ance of t he t erm s of t his Client Guide by Client , and t he consum m at ion of t he
          t r ansact ions cont em plat ed, have been duly and validly aut horized. The Program Docum ent s
          and t his Client Guide evidence Client ’s legal valid, binding, and enforceable obligat ions. All
          requisit e corporat e, part nership or lim it ed liabilit y com pany act ion has been t aken by Client
          t o m ake t he Program Docum ent s and t he t erm s of t his Client Guide valid and binding upon
          Client and enforceable in accordance wit h t heir respect ive t er m s.

          ( C) Or din a r y Cou r se of Bu sin e ss
          The consum m at ion of t he t ransact ions cont em plat ed by t he Program Docum ent s and t he
          Client Guide t erm s are in Client ’s or dinary course of business, and t he t ransfer, assignm ent ,
          and conveyance of t he Mort gage Not es and t he Mort gages by Client , pur suant t o t he
          Program Docum ent s and t he Client Guide t erm s are not subj ect t o t he bulk t ransfer laws or
          any sim ilar st at ut ory provisions in effect in any applicable j urisdict ion.
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( D ) N o Con flict s
Neit her t he execut ion and delivery of t he Program Docum ent s, t he acquisit ion and/ or m aking
of t he Loans by Client , t he sale of t he Loans t o GMAC- RFC or t he t ransact ions cont em plat ed
t hereby or pursuant t o t his Client Guide, nor t he fulfillm ent of or com pliance wit h t he
Program Docum ent s t erm s and condit ions, will conflict wit h or result in a br each of any of t he
t erm s, condit ions, or provisions of Client 's art icles of incorporat ion, chart er, by- laws,
part nership agreem ent , or ot her organizat ional docum ent , or of any legal rest rict ion or
regulat ory direct ive or any agreem ent or inst r um ent t o which Client is now a part y or by
which it is bound, or const it ut e a default or result in an accelerat ion under any of t he
foregoing, or result in t he violat ion of any law, rule, regulat ion, order, j udgm ent , or decree t o
which Client , or any of it s propert y is subj ect , or im pair t he abilit y of GMAC- RFC t o realize on
any of t he Loans, or im pair t he Value of any of t he Loans.

( E) Abilit y t o Pe r for m
Client has t he abilit y t o perform each and every obligat ion of and/ or sat isfy each and ever y
requirem ent im posed on, Client pursuant t o t he Program Docum ent s and t his Client Guide,
and no offset , count erclaim , or defense exist s t o t he full perfor m ance by Client of t he
requirem ent s of Program Docum ent s and t his Client Guide.

( F) N o Lit iga t ion Pe n din g
There is no act ion, suit , proceeding, inquiry, review, audit , or invest igat ion pending or
t hreat ened against Client t hat , eit her in any one inst ance or in t he aggregat e, m ay r esult in
any m at erial adverse change in t he business, operat ions, financial condit ion, propert ies, or
asset s of Client , or in any m at erial liabilit y on t he part of Client , or which would draw int o
quest ion t he validit y or enforceabilit y of any of t he Program Docum ent s, t his Client Guide, or
t he Loans or of any act ion t aken or t o be t aken in connect ion wit h Client ’s obligat ions
cont em plat ed in any of t he Program Docum ent s or t his Client Guide, or which would be likely
t o im pair m at erially Client ’s abilit y t o perform under t he t erm s of t he Program Docum ent s or
t his Client Guide.

( G) N o Con se n t Re qu ir e d
No consent , approval, aut horit y, or order of any court or governm ent al agency or body is
required for t he execut ion and perfor m ance by Client of, or com pliance by Client wit h, any of
t he Program Docum ent s or t his Client Guide, t he sale of any of t he Loans, or t he
consum m at ion of any of t he t ransact ions cont em plat ed by any of t he Purchase Docum ent s,
or, if required, such uncondit ional approval has been obt ained pr ior t o t he relat ed Fu n din g
Date.

( H ) N o Un t r u e I n for m a t ion
Neit her t he Program Docum ent s, t he Client Applicat ion, t his Client Guide, nor any st at em ent ,
report , or ot her docum ent furnished or t o be furnished by Client pursuant t o t he Program
Docum ent s or t his Client Guide, cont ains any unt rue st at em ent of m at erial fact or om it s t o
st at e a m at erial fact necessary t o m ake t he st at em ent s cont ained t herein not m isleading.
Client m eet s GMAC- RFC’s Eligibilit y St andards, and shall t ake all st eps necessary t o cont inue
t o m eet such Eligibilit y St andards.
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          ( I ) Se cu r it ie s La w
          The Client represent s t hat t he Loans ar e not “ securit ies” under any federal or St at e securit ies
          laws or any rules or regulat ions t hereunder and t hat t he t ransact ions cont em plat ed by t his
          Client Guide do not require regist rat ion under, and are not subj ect t o, any federal or St at e
          securit ies laws or any rules or regulat ions t hereunder.

          ( J) N o Accr u e d Lia bilit ie s
          Except as m ay be ot herwise disclosed by Client t o GMAC- RFC and acknowledged by GMAC-
          RFC in writ ing prior t o t he dat e of t he Client Cont ract , t here are no accrued liabilit ies of
          Client , wit h respect t o any of t he Loans, or circum st ances under which any such accrued
          liabilit ies will arise against GMAC- RFC, as successor t o Client ’s int erest s in and t o t he Loans,
          wit h r espect t o any act ion or failure t o act by Client occurring on or prior t o t he Fu n din g
          Date.

          ( K) Or igin a t ion , Se r vicin g
          Client ’s originat ion and servicing of t he Loans have been legal, pr oper, prudent , and
          cust om ary and have conform ed t o t he highest st andards of t he resident ial m ort gage
          originat ion and servicing business.

          ( L) Com plia n ce W it h La w s
          Client has com plied wit h, and has not violat ed any law, ordinance, requirem ent , regulat ion,
          rule, or order applicable t o it s business or proper t ies, t he violat ion of which m ight adversely
          affect t he operat ions or financial condit ions of Client , or t he abilit y of Client t o consum m at e
          t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide.

          ( M ) Com plia n ce W it h Pr ogr a m D ocu m e n t s a n d Clie n t Gu ide
          Client will com ply wit h all provisions of t his Client Guide and t he Program Docum ent s, and
          will pr om pt ly not ify GMAC- RFC of any occurrence, act , or om ission regarding Client , t he
          Loan, t he Mort gaged Propert y or t he Mort gagor of which Client has knowledge, which
          occurrence, act , or om ission m ay m at erially affect Client , t he Loan, t he Mort gaged Propert y,
          or t he Mort gagor.

          ( N ) N o D e fe n se s Aga in st GM AC- RFC
          The Client has no j udgm ent , court order, claim , count erclaim , defense, right of set- off or
          sim ilar right against GMAC- RFC.
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A202
Specific Representations, Warranties and Covenants Concerning Individual Loans
For all Loans, t he Client represent s, warrant s and covenant s t o GMAC- RFC as follows:

( A) Loa n s Ar e Eligible ; Accu r a cy of I n for m a t ion
Each of t he Loans delivered and sold t o GMAC- RFC m eet s t he applicable program t erm s and
crit eria set fort h in t his Client Guide. All inform at ion relat ing t o each Loan delivered and sold
t o GMAC- RFC is t rue, com plet e and accurat e and t here are no om issions of m at erial fact s. All
dat a provided by t he Client t o GMAC- RFC relat ing t o any Loan, w het her in elect ronic form at ,
or ot herwise, is t rue and com plet e and accurat ely reflect s t he inform at ion in t he relat ed Loan
file.

( B) Com plia nce W it h W a r r a n t ie s
The Client is in com pliance wit h, and has t aken all necessary act ion t o ensure t hat each Loan
is in com pliance wit h all represent at ions, warrant ies and requirem ent s cont ained in t his
Client Guide.

( C) Loa n Pr ovision s
The provisions of t he Loan have not been im paired, waived, alt ered or m odified in any
respect , unless appr oved in writ ing by GMAC- RFC. The issuer of any relat ed PMI Policy and
t he t it le insurer have approved t he subst ance of any such waiver, alt erat ion, or m odificat ion
t o t he ext ent required by t he respect ive policies. No Mort gagor has been r eleased, in whole
or in part .

( D ) D ocu m e n t s
All Loa n D ocu m e n t s, Fun din g D ocu m e nt s and Fin a l D ocum e n t s ar e genuine, have been
com plet ed, duly and properly execut ed, are in r ecordable form and delivered in t he for m and
m anner specified in t his Client Guide, and each Loan is t he Mort gagor ’s legal, valid and
binding obligat ion enforceable in accordance wit h it s t erm s. All originals and copies of such
docum ent s and all ot her docum ent s, m at erials, and ot her inform at ion required t o be
subm it t ed t o GMAC- RFC have been so subm it t ed, and are com plet e and accurat e. All Loan
Docum ent s, Funding Docum ent s, Final Docum ent s and all ot her docum ent s describing or
ot herwise relat ing t heret o are in com pliance wit h all applicable local and St at e laws,
regulat ions and orders.
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          ( E) Ow n e r sh ip; Tr a n sfe r
          The Client has good t it le t o and is t he sole owner of, each Loan delivered and sold t o GMAC-
          RFC. Except for t he securit y int erest of a warehouse lender, which securit y int erest Client has
          disclosed t o GMAC- RFC in writ ing, t he assignm ent of t he Loan by t he Client validly t ransfers
          such Loan t o GMAC- RFC free and clear of any pledge, lien or securit y int erest or ot her
          encum brance.
          For each Loan regist er ed wit h M ERS, t he Client represent s t hat ( a) if t he Se cu r it y
          I n st r u m e n t relat ing t o such Loan ident ifies MERS as t he original m ort gagee of record, such
          Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o MERS solely as
          nom inee for t he Client and it s successors and assigns and t hat such Securit y I nst rum ent has
          been properly execut ed, acknowledged, delivered and recorded in all places necessary t o
          perfect t he securit y int erest on t he M or t ga ge d Pr e m ise s in favor of MERS, solely as
          nom inee for t he Client and it s successors and assigns; or ( b) if t he Loan is regist ered wit h
          MERS, and MERS is not t he original m ort gagee of record, an assignm ent t o MERS has been
          prepared, duly execut ed and recorded and t he chain of assignm ent s is com plet e and
          recorded from t he original m ort gagee t o MERS. Client furt her repr esent s t hat it has com plied
          wit h all rules and procedures of MERS for it s assignm ent of t he Securit y I nst rum ent t o
          GMAC- RFC, including, am ong ot her t hings, t hat t he Client has confirm ed t he t ransfer on
          MERS t o GMAC- RFC.

          ( F) D isbu r se m e n t s; N o Pa yoffs or Fut u r e Adva nce m e nt s
          Each Loan has been closed and fully disbursed, except as perm it t ed in t he Escr ow Accou n t
          for Post pon e d I m pr ove m e nt s/ Re pa ir s Sect ion of t his Client Guide. There are no payoffs,
          assum pt ions or insurance claim s pending on any Loan or pert aining t o t he Mort gaged
          Prem ises and t he Borrower m ay not exercise any opt ion under any of t he Loa n D ocu m e n t s
          t o borrow addit ional funds secured t hereby from t he Client or any ot her person or ent it y
          wit hout t he Not eholder ’s consent .
          Addit ionally, t he Client warrant s t hat t he Client has not m ade arrangem ent s wit h any
          Borrower for any paym ent forbearance or fut ure r efinancing w it h respect t o any Loan.

          ( G) N o D e fa u lt
          There is no default , breach, violat ion or event of accelerat ion exist ing under any Not e or
          Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, and no event exist s which, wit h not ice and
          t he expirat ion of any grace or cure period, w ould const it ut e a default , breach, violat ion or
          event of accelerat ion, and no such default , breach, violat ion or event of accelerat ion has
          been waived by t he Client or by any ot her ent it y involved in originat ing or servicing t he Loan.

          ( H ) N o D e fe n se s
          Except as provided in a buydown or subsidy agreem ent , if any, m eet ing t he requirem ent s set
          fort h in t his Client Guide, t he Borrower ( including any part y secondarily liable under t he
          Loa n D ocu m e n t s) has no right of set- off, defense, count erclaim or right of rescission t o any
          Loan Docum ent .
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                                                                                                    Covenants
( I ) Com plia nce w it h La w
The sale and t ransfer of each Loan t o GMAC- RFC does not violat e any applicable St at e laws.
To t he ext ent t hat any applicable St at e law places any rest rict ions on t he t ransfer of any
Loan, t he Client has not ified GMAC- RFC in writ ing of t hat rest rict ion and any relat ed St at e
licensing or regist rat ion requirem ent s.
The Se cu r it y I n st r u m e n t has been properly execut ed, acknowledged, delivered and
recorded in all places necessary t o perfect t he securit y int erest in t he M or t ga ge d Pr e m ise s
in favor of t he Client and it s successors and assigns. I f a Loan is regist ered wit h M ERS, and
MERS is ident ified on t he Securit y I nst rum ent as t he original m ort gagee of record, Client
represent s t hat such Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o
MERS solely as nom inee for t he Client and it s successors and assigns. I f t he Loan is
regist ered wit h MERS, and MERS is not t he original m ort gagee of record, Client represent s
t hat an assignm ent t o MERS has been prepared, duly execut ed and r ecorded and t he chain of
assignm ent s is com plet e and recorded from t he original m ort gagee t o MERS and Client
furt her represent s t hat it has com plied wit h all rules and procedures of MERS for it s
assignm ent of t he Securit y I nst rum ent t o GMAC- RFC, including, am ong ot her t hings, t hat
Client has confirm ed t he t ransfer on MERS t o GMAC- RFC.
Each GMAC- RFC Loan Applicat ion ( Fa n n ie M a e 1003/ Fr e ddie M a c Form 65) was t aken from
t he Borrower and processed for each Loan, and each Loan has been originat ed, closed, and
t ransferred in com pliance wit h all applicable local, St at e and federal laws and regulat ions
including, but not lim it ed t o, t he Real Est at e Set t lem ent Procedures Act , t he Fair Credit
Report ing Act , t he Equal Credit Opport unit y Act , t he Trut h- in- Lending Act , t he Fair Housing
Act , and t he Nat ional Flood I nsurance Act . This warrant y is m ade by t he Client w it h respect
t o each GMAC- RFC Loan Applicat ion t aken and pr ocessed for each Loan and wit h r espect t o
each Loan m ade by t he Client or any ot her ent it y.

( J) Re spon sible Le n din g Re pr e se nt a t ions, W a r r a n t ie s a nd Cove n a n t s
     ( 1 ) D iscon t in u e d Loa n
         No Loan is a “ Discont inued Loan”. Discont inued Loan m eans any of t he following,
         regardless of whet her t he originat or is required by law t o com ply wit h t he law or has
         grounds t o claim preem pt ion from all or par t of t he law.
         ( a ) H OEPA/ Se ct ion 3 2
              A loan considered a “ m or t gage” under Sect ion 152 of t he Hom e Ownership and
              Equit y Prot ect ion Act of 1994, 15 U.S.C. Sect ion 1602 ( aa) and t he relat ed
              regulat ions and com m ent ary prom ulgat ed by t he Federal Reserve Board,
              including Sect ion 226.32 of Tit le 12 of t he Code of Federal Regulat ions, and t he
              official st aff com m ent ary t o t hose regulat ions.
         ( b) Pu r ch a se M on e y Loa n s w it h H igh Poin t s or Fe e s
              A “ purchase m oney” loan secured by t he consum er ’s principal dw elling t hat
              exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
              Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
              by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
              Federal Regulat ions. A “ purchase m oney” loan is a loan t hat is considered a
              “ resident ial m ort gage t ransact ion” under Sect ion 226.2( 24) of Tit le 12 of t he
              Code of Federal Regulat ions.
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                    ( c) H om e Equ it y Lin e s a n d 1 st Lie n Lin e s of Cr e dit Th a t Ex ce e d t h e H OEPA
                         Tr igge r s
                        An open- end line of credit secured by t he consum er ’s principal dwelling t hat
                        exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
                        Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
                        by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
                        Federal Regulat ions. “ Point s and fees” m ust be calculat ed in accordance wit h
                        Sect ion 226.32 of Tit le 12 of t he Code of Regulat ions and t he relat ed
                        com m ent ary prom ulgat ed by t he Federal Reserve Board. The “APR” is t he fully
                        indexed rat e or t he init ial rat e, whichever is great er, at t he t im e of
                        consum m at ion. The “ t ot al loan am ount ” is t he t ot al credit line available under
                        t he t erm s of t he loan, wit hout subt ract ing any am ount s for closing cost s.
                    ( d) St a t e a n d Loca l H igh Cost Loa n s
                        A loan considered a “ high- cost ,” covered, “ high- risk,” “ predat ory” or any ot her
                        sim ilar designat ion under any St at e or local law in effect at t he t im e of t he
                        closing of t he loan if t he law im poses great er rest rict ions or addit ional legal
                        liabilit y for resident ial m ort gage loans wit h high int erest rat es, point s and/ or
                        fees.
                    ( e ) Ce r t a in Ge or gia H om e Loa ns
                        A “ hom e loan” under t he Georgia Fair Lending Act , Ga. Code Ann. Sect ion 7- 6A-
                        1 et . seq. t hat becam e effect ive on Oct ober 1, 2002 ( t he “Act ” ) , if t he
                        Com m it m ent was issued on or aft er February 1, 2003 and t he loan was closed
                        on or before March 7, 2003.
                    ( f) Ce r t a in N e w Je r se y H om e Loa ns
                        A “ hom e loan” under t he New Jersey Hom e Ownership Securit y Act of 2002 ( t he
                        “Act ” ) , N.J.S.A. 46: 10B- 22 et seq. if t he loan is:
                            • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
                            • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                            • A “ hom e loan” t hat is an open- end line of credit ;
                            • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                              out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
                    ( g) Ce r t a in N e w M e x ico H om e Loa n s
                        A “ hom e loan” under t he New Mexico Hom e loan Prot ect ion Act ( t he “Act ” ) , t hat
                        was closed on or aft er February 1, 2004, and on or before February 26, 2004, if
                        t he loan is:
                            • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
                            • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                            • A “ hom e loan” t hat is an open- end line of credit ;
                            • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                              out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
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    ( 2 ) M a n da t or y Ar bit r a t ion Cla u se
         A Loan m ay not include a m andat ory arbit rat ion clause. Any arbit rat ion agreem ent
         signed by t he Borrower prior t o t he t im e of a disput e is prohibit ed.
    ( 3 ) Pr oh ibit e d Te r m s a n d Pr a ct ice s on a ll Loa n s sold t o GM AC- RFC
         A Loan m ay not violat e any of t he following pr ohibit ed t er m s and pract ices:
         ( a) Pr e - pa id in su r a n ce pr odu ct s. No Loan finances single prem ium credit life,
              credit disabilit y, credit unem ploym ent , or any ot her pre- paid life or healt h
              insurance, direct ly or indirect ly.
         ( b) Pr e pa ym e n t pe n a lt ie s. A Loan m ay not provide for a penalt y for paying all or
              part of t he principal before t he dat e on which t he principal is due except as set
              fort h in t his paragraph and ot herwise allowed by applicable federal, St at e, and
              local law.
                  • The penalt y m ay be enforced for only t he first five years following
                    consum m at ion;
                  • The penalt y does not exceed 6 m ont hs of int erest on t he am ount prepaid or
                    6% of t he am ount prepaid; and
                  • The prepaym ent penalt y does not becom e due upon default
         ( c) Re por t in g t o cr e dit bur e a u s. Client or it s Se r vice r m ust report t o a nat ionally
              recognized consum er credit report ing agency at least quart erly t he favorable
              and unfavorable paym ent hist ory inform at ion of Borrower on paym ent s due t o
              Client on a Loan for t he period during which Client holds or services t he Loan.
              This paragraph shall not pr event Client or it s Servicer from not report ing specific
              paym ent hist ory inform at ion in t he event of a resolved or unresolved disput e
              wit h Borrower and shall not apply t o Loans held or serviced by Client for less
              t han 90 days.
         ( d) I n cr e a se d in t e r e st r a t e u pon de fa u lt . A Loan m ay not provide for an
              increase in t he int erest rat e aft er default .

( K) Tit le I n su r a n ce
A policy of t it le insurance, in t he form and am ount required by t his Client Guide, is effect ive
as of t he day t he Se cu r it y I n st r u m e n t is recorded, is valid and binding, is in conform ance
wit h all agency guidelines and rem ains in full force and effect , unless t he M or t ga ge d
Pr e m ise s are locat ed in t he St at e of I owa and a Tit le Guarant y Cert ificat e issued by t he
I owa Tit le Guarant y Division of t he I owa Finance Aut horit y has been provided as described in
Tit le Guarant y Cert ificat e I n I owa below.

( L) Tit le Gu a r a n t y Ce r t ifica t e I n I ow a
As t o each Loan secured by Mort gaged Prem ises locat ed in t he St at e of I owa, and if an
Am erican Land Tit le Associat ion ( ALTA) Loan policy of t it le insurance has not been provided,
a Tit le Guarant y Cert ificat e issued by t he I owa Tit le Guarant y Division of t he I owa Finance
Aut horit y, in t he form and am ount required by t his Client Guide, duly delivered and effect ive
as of t he closing of each such Loan, is valid and binding, and rem ains in full force and effect .
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          ( M ) Va lid Fir st Lie n s
          Each Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, unless provided for ot herwise in a
          given Loa n Pr ogr a m , const it ut es a valid first lien on t he M or t ga ge d Pr e m ise s subj ect only
          t o t he m inor im pedim ent s described in t he Tit le I n su r a n ce Sect ion of t his Chapt er, and such
          im pedim ent s do not adversely affect t he Value, use, enj oym ent or m arket abilit y of t he
          Mort gaged Prem ises. Each Securit y I nst rum ent and all relat ed docum ent s ( including, wit hout
          lim it at ion, releases of prior Securit y I nst rum ent s, assum pt ion agreem ent s, assignm ent s,
          am endm ent s, powers of at t orney, and m odificat ion, ext ension and consolidat ion
          agreem ent s) t hat ar e required t o be recorded or filed under applicable law in order t o
          preserve in favor of GMAC- RFC t he validit y and enforceabilit y of t he Securit y I nst rum ent and
          t he liens cr eat ed t her eby, have been duly r ecorded in all appropriat e recording offices, and all
          associat ed recording fees or t axes m ust be paid.

          ( N ) N o En cr oa ch m e n t s By Adj oin in g Pr ope r t ie s; I m pr ov e m e n t s
          No im provem ent s by adj oining pr opert ies encroach upon t he Mort gaged Prem ises in any
          respect so as t o affect t he Value or m arket abilit y of t he Mort gaged Prem ises. No
          im provem ent locat ed on or being part of t he Mort gaged Propert y is in violat ion of any
          applicable zoning law or regulat ion.

          ( O) Su r v e y
          All im provem ent s which were considered in det erm ining t he appraised Value of t he
          M or t ga ge d Pr e m ise s lie wholly wit hin it s boundaries and t he building rest rict ion lines of t he
          Mort gaged Prem ises, or t he policy of t it le insurance insures against loss or dam age by reason
          of any violat ion, variat ion, encroachm ent or adverse circum st ance t hat eit her is disclosed or
          would have been disclosed by an accurat e survey.

          ( P) N o Lie n s
          There are no delinquent t ax or delinquent assessm ent liens against t he Mort gaged Prem ises,
          and t here are no m echanic’s liens or claim s for w ork, labor or m at erial or any ot her liens
          affect ing t he Mort gaged Prem ises, which are or m ay be a lien prior t o, or equal wit h, t he lien
          of t he Se cu r it y I n st r u m e n t assigned t o GMAC- RFC, except t hose liens t hat are insured
          against by t he policy of t it le insurance or Tit le Guarant y Cert ificat e issued by t he I owa Tit le
          Guarant y Division.

          ( Q) N o Adve r se Cir cu m st a n ce s
          The Mort gaged Prem ises are free of dam age and in good repair, and no not ice of
          condem nat ion has been given wit h respect t heret o, and no circum st ances exist involving t he
          Loa n D ocu m e n t s, t he M or t ga ge d Pr e m ise s or t he Borrow er ’s credit st anding t hat could:
          ( i) cause privat e inst it ut ional invest ors t o regard t he Loan as an unaccept able invest m ent , ( ii)
          cause t he Loan t o becom e delinquent , or ( iii) adversely affect t he Value or m arket abilit y of
          t he Mort gaged Prem ises or t he Loan. The Client warrant s t hat it neit her has act ual knowledge
          of t he presence of, nor reasonable grounds t o suspect t he pr esence of, any t oxic m at erials or
          ot her environm ent al hazards on, in or t hat could affect any of t he Mort gaged Prem ises. The
          Client warrant s com pliance w it h local, St at e or federal law or regulat ion designed t o prot ect
          t he healt h and safet y of t he occupant s of t he propert y.
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( R) Ca su a lt y I n su r a n ce
The im provem ent s upon t he M or t ga ge d Pr e m ise s are insured against loss by fir e and ot her
hazards as required by t his Client Guide, including flood insurance if required under t he
Nat ional Flood I nsurance Act of 1968, as am ended. The Se cu r it y I n st r u m e n t r equires t he
Borrower t o m aint ain such casualt y insurance at t he Borrower ’s expense, or on t he
Borrower ’s failure t o do so, aut horizes t he holder of t he Securit y I nst rum ent t o obt ain and
m aint ain such insurance at t he Borrower ’s expense and t o seek reim bursem ent from t he
Borrower. Each casualt y policy is t he insurer ’s valid and binding obligat ion, is in full force and
effect , and w ill be in full force and effect , t o GMAC- RFC’s benefit upon t he consum m at ion of
t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide. The Loan
t erm s per m it t he m aint enance of an escrow account t o pay t he Prem ium s for t he above
m ent ioned insurance, and t he Client has not waived t he requirem ent of such escrow account
unless perm it t ed by GMAC- RFC or requir ed by applicable law.

( S) Pr im a r y M or t ga ge I n su r a n ce
I f requir ed by t his Client Guide, prim ar y m ort gage insurance has been obt ained, t he
Prem ium has been paid, and t he m ort gage insurance coverage is in full force and effect
m eet ing t he requirem ent s of t his Client Guide.

( T) Un de r w r it in g; Appr a isa l; Appr a ise r
The Loan is of invest m ent qualit y, has been prudent ly originat ed and has been underwrit t en
in com pliance wit h all requirem ent s of t his Client Guide.
For each Loan for w hich an appraisal is required or obt ained under t his Client Guide, t he
appraisal was m ade by an appraiser who m eet s t he m inim um qualificat ions for appraisers as
specified in t his Client Guide. For each Loan, as of t he Fu n din g D a t e , t he m arket Value of
t he M or t ga ge d Pr e m ise s is at least equal t o t he appraised Value st at ed on t he Loan
appraisal, or if an Au t om a t e d V a lu a t ion M ode l ( AV M ) is perm it t ed, t he Value on t he AVM,
except t o t he ext ent t hat t he m arket Value of t he Mort gaged Prem ises is low er t han t he
appraised or AVM Value due t o t he effect of any t oxic m at erials or ot her environm ent al
hazards of which neit her t he appraiser nor t he Client has act ual knowledge or reasonable
grounds t o suspect .
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          ( U) En for ce a bilit y; En for ce m e n t Pr ov ision s
          Each Not e and Se cu r it y I n st r u m e n t const it ut es a legal, valid and binding obligat ion of t he
          Borrower enforceable in accordance wit h it s t erm s except as lim it ed by bankrupt cy,
          insolvency or ot her sim ilar laws affect ing generally t he enfor cem ent of credit or s’ right s.
          Each Securit y I nst rum ent cont ains cust om ary and enfor ceable provisions which render t he
          right s and rem edies of t he holder adequat e t o realize t he benefit s of t he securit y against t he
          M or t ga ge d Pr e m ise s, including: ( i) in t he case of a Securit y I nst rum ent designat ed as a
          deed of t rust , by t rust ee's sale, ( ii) by sum m ary foreclosure, if available under applicable
          law; and ( iii) ot herwise by foreclosure, and t here are no hom est ead or ot her exem pt ions or
          dower, court esy or ot her right s or int erest s available t o t he Bor rower or t he Bor rower ’s
          spouse, survivors or est at e or any ot her person or ent it y t hat would, or could, int erfere wit h
          such right t o sell at a t rust ee’s sale or t o foreclose. The Secur it y I nst rum ent and any rider s t o
          t he Securit y I nst rum ent m ust be signed by any person wit h an act ual or pot ent ial int erest in
          t he pr opert y. Tit le holders have an act ual int erest in t he propert y and m ust sign t he Securit y
          I nst rum ent and r iders. Non- Borrowing spouses who are not in t it le m ay have an act ual or
          pot ent ial int erest in t he propert y under St at e law and m ay be required t o sign t he Securit y
          I nst rum ent and rider in som e St at es in order for t he holder of t he Securit y I nst rum ent t o
          obt ain, prot ect and enforce it s lien. The Client will obt ain t he signat ure of t he non- Borrowing
          spouse on t he Securit y I nst rum ent and riders or ot her docum ent at ion, as allowed by law, if
          such signat ure is necessary t o prot ect t he int erest of t he holder of t he Securit y I nst rum ent .

          ( V ) H olde r - I n - D u e - Cou r se
          The Client is t he owner and holder- in- due- course of each Not e and is nam ed as m ort gagee/
          beneficiary or assignee under each Se cu r it y I n st r u m e n t , and all Loa n D ocum e n t s
          requiring execut ion have been appropriat ely execut ed, wit nessed or not arized by t he persons
          whose nam es appear as signat ories and wit nesses, or, as appropriat e, not aries who
          const it ut e t he valid and binding legal obligat ion of t he Borrower, enforceable in accordance
          wit h t heir respect ive t erm s. Not wit hst anding t he foregoing, wit h respect t o adj ust able- rat e
          m ort gage Loans ( ARMs) , t he Client repr esent s and warrant s t hat t here are no claim s t o t he
          Not e on t he part of any person or defenses of any part y t o t he Not e ot her t han t hose t hat
          validly could be raised against a holder- in- due- course.

          ( W ) Tr u st e e D e signa t e d
          Wit h respect t o each Se cu r it y I n st r u m e n t t hat is a deed of t rust , a t rust ee duly qualified
          under applicable law t o serve as such is properly nam ed, designat ed and serving.

          ( X ) N o Fe e s D ue Tr u st e e
          Except in connect ion wit h a t rust ee’s sale aft er default by t he Borrower, no fees or expenses
          are payable by t he Client or GMAC- RFC t o t he t rust ee under any Securit y I nst rum ent t hat is
          a deed of t rust .

          ( Y) Ex e cut ion of D ocum e n t s
          All agreem ent s, cont ract s, assignm ent s, endorsem ent s and issuances of checks or draft s,
          report s, Loa n D ocu m e n t s or ot her papers relat ed t o a Loan t hat are required by t his Client
          Guide t o be execut ed by t he Client have been proper ly execut ed by an officer on behalf of t he
          Client pursuant t o a duly adopt ed Resolut ion of Board of Direct ors.
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( Z) Le a se h olds
Where perm it t ed by t he applicable Loa n Pr ogr a m , each Mort gaged Prem ises involving a
Le a se h old est at e com plies wit h t he applicable Leasehold warrant ies set fort h in t his Client
Guide.
( AA) Con dom in iu m s; Pla n n e d Un it D e v e lopm e n t s ( PUD s)
Each M or t ga ge d Pr e m ise s t hat is a unit in a condom inium or PUD com plies wit h t he
applicable condom inium or PUD warrant ies set fort h in t his Client Guide.
( BB) Com plia n ce By Ot h e r s
When a person or ent it y: ( i) originat es a Loan on behalf of a Client , ( ii) originat es a Loan on
it s own behalf and sells it t o a Client , or ( iii) perform s any act for a Client which t he Client is
required t o perform under t his Client Guide, t he Client warrant s t hat such person or ent it y
has com plied wit h all requir em ent s of t his Client Guide wit h respect t o all such Loans and
act s.
( CC) Clie n t Con t r a ct W a r r a n t ie s
The represent at ions and warrant ies m ade at t he t im e of t he Client ’s execut ion of t he Client
Cont ract m ust rem ain t rue, correct and com plet e.
( D D ) Clie n t a n d Or igin a t or s
Each Jum bo A, Expanded Crit er ia or Paym ent Opt ion Loan was originat ed by ( i) a savings and
loan associat ion, savings bank, com m ercial bank, credit union, insurance com pany or sim ilar
banking inst it ut ion which is supervised by a federal or St at e aut horit y, or ( ii) a HUD approved
non- supervised or cor respondent m ort gagee.
I f t he Client sells Loans t o GMAC- RFC which are regist ered wit h M ERS or as t o which MERS is
t he m ort gagee on t he Se cu r it y I n st r u m e n t , t he Client is a m em ber of MERS, in good
st anding and current in paym ent of all fees and assessm ent s im posed by MERS.
( EE) N o I m pa ir m e n t of I n su r a n ce
No act ion, er ror, om ission, m isrepresent at ion, negligence, fraud or sim ilar occurrence in
respect of a Loan has t aken place on t he part of any person, including, wit hout lim it at ion, t he
Borrower, any appraiser, any builder or developer or any part y involved in t he originat ion of
t he Loan or in t he applicat ion of any insurance in relat ion t o such Loan t hat m ight result in a
denial, cont est ing, failure or im pairm ent of full and t im ely coverage under any insurance
policies requir ed t o be obt ained or any pool insurance policy covering such Loan.
( FF) Te m por a r y Buy dow ns
Where perm it t ed by t he applicable Loa n Pr ogr a m , each Te m por a r y Buy dow n Loan
delivered t o GMAC- RFC was ent ered int o pursuant t o a buydown agreem ent which com plies
wit h t he Te m por a r y Bu ydow n s Sect ion in Cha pt e r 3 of t his Client Guide.
( GG) Pr im a r y M or t ga ge I n su r a n ce Ca n ce lla t ion
The Client has disclosed in writ ing t o t he Borrower t he t erm s and condit ions t hat m ust be
m et prior t o t he prim ary m ort gage insurance being eligible for cancellat ion. A copy of t his
disclosure has been ret ained in t he Loan file as a perm anent record.
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          ( H H ) N o D e ficie n cy I n Escr ow D e posit s or Pa ym e n t s
          The Loan has been serviced by t he Client and any pr edecessor Se r vice r in accordance wit h
          t he t erm s of t he m ort gage Not e and all applicable law. Wit h respect t o escrow deposit s and
          escrow paym ent s, if any, all such paym ent s are in t he possession of, or under t he cont rol of,
          t he Client , and t here exist s no deficiency in connect ion t herewit h for which cust om ary
          arrangem ent s for repaym ent t hereof have not been m ade. No escrow deposit s, escr ow
          paym ent s or ot her charges or paym ent s due t he Client have been capit alized under any
          m ort gage or relat ed m ort gage Not e.
          ( I I ) Loa n Se cu r it iza t ion
          The Client recognizes t hat it is GMAC- RFC’s int ent t o securit ize som e or all of t he Loans sold
          t o GMAC- RFC by t he Client . The Client agrees t o provide GMAC- RFC w it h all such inform at ion
          concerning t he Client generally and, if applicable, t he Client ’s servicing experience, as m ay
          be reasonably request ed by GMAC- RFC for inclusion in a prospect us or privat e placem ent
          m em orandum published in connect ion wit h such securit izat ion.
          I n addit ion, t he Client will cooperat e in a sim ilar m anner wit h GMAC- RFC in connect ion wit h
          any whole Loan sale or ot her disposit ion of any Loan sold t o GMAC- RFC by t he Client . The
          Client agrees t o indem nify and hold GMAC- RFC harm less from and against any loss, dam age,
          penalt y, fine, forfeit ure, court cost , reasonable at t orneys’ fees, j udgm ent , cost , fee, expense
          or liabilit y incurred by GMAC- RFC as a result of any m at erial m isst at em ent in or om ission
          fr om any infor m at ion provided by t he Client t o GMAC- RFC; or fr om any claim , dem and,
          defense or assert ion against or involving GMAC- RFC based on or grounded upon, or result ing
          fr om such m isst at em ent or om ission or a breach of any represent at ion, warrant y or
          obligat ion m ade by GMAC- RFC in reliance upon such m isst at em ent or om ission.
          The Client furt her agrees t o cooperat e fully wit h GMAC- RFC, rat ing agencies, at t or neys, bond
          insurers, purchasers of Loans or any ot her part ies t hat m ay be involved in t he sale or
          securit izat ion of any Loan, including, wit hout lim it at ion, all cooperat ion as m ay be necessary
          in order t o accom m odat e due diligence act ivit y.
          ( JJ) N on - Solicit a t ion
          The Client has not solicit ed or provided inform at ion t o anot her part y for t he purpose of
          solicit ing, and covenant s and agrees t hat it will not solicit or provide inform at ion t o anot her
          part y for t he purpose of solicit ing, t he refinance of any Loan. The t erm “ solicit ” as used
          herein shall m ean a direct request or offer t o refinance a servicing released Loan, and shall
          not include general solicit at ions, advert isem ent s or prom ot ions direct ed t o t he public at
          large.
          ( KK) N o Fr a u d or M isr e pr e se n t a t ion
          No fraud or m isrepr esent at ion by t he Borrow er or by t he Client , broker, correspondent ,
          appr aiser or any independent cont ract or ret ained by t he Client , broker, corr espondent ,
          appr aiser or any em ployee of any of t he foregoing occurred wit h respect t o or in connect ion
          wit h t he originat ion or underwrit ing of any Loan and all inform at ion and docum ent s provided
          t o GMAC- RFC in connect ion wit h t he Loan are com plet e and accurat e.
          ( LL) Ex clu sion a r y List
          No part y involved in t he originat ion of a Loan ( e.g., originat or, broker, t it le com pany,
          appraiser, et c.) was on t he Ex clu sion a r y List on t he dat e t he Loan was originat ed as
          det erm ined by t he dat e of t he prom issory Not e for t hat part icular Loan.
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A205
Proof of Compliance
The Client will, upon t he request of GMAC- RFC, supply proof sat isfact ory t o GMAC- RFC of it s:
    ( 1) Com pliance wit h all repr esent at ions and warrant ies cont ained in t his Client Guide,
         and
    ( 2) Com pliance wit h all local, St at e and federal laws, rules and regulat ions.

A206
Integrity of Information
The Client is responsible for credit and propert y underw rit ing regardless of w het her t he
inform at ion was provided by t he Client , an ent it y relat ed t o t he Client or designat ed by t he
Client t o perform t he funct ion. This includes credit inform at ion, appraisals, or ot her
docum ent s/ inform at ion used in t he Loan's evaluat ion.
The Client should t ake all st eps necessary t o ensure t hat each Loan sold t o GMAC- RFC has
been prudent ly originat ed and underwrit t en, and t hat all inform at ion supplied by, on behalf
of, or concerning t he Borrower is t rue, accurat e and com plet e. The Client should ensure t hat
int erest ed part ies are sufficient ly independent from t he Loan t ransact ion and t hat adequat e
organizat ional cont r ols are in place t o ensur e t he independence, validit y and reliabilit y of t he
Loan inform at ion.
I n addit ion, t he Client should im plem ent prudent pract ices when relying on designat ed
agent s ( such as escrow com panies, t it le com panies, et c.) in order t o ensure t hat t hey com ply
wit h it s inst ruct ions and t hat t he int egr it y of t he Loan t ransact ion has been m aint ained.
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A208
Events of Default
Any one or m ore of t he following event s const it ut e an Eve nt of D e fa u lt :
    ( 1) The Client has not com plied wit h one or m ore of t he requirem ent s ( including any
         requirem ent out lined in Chapt er 2, Client Eligibilit y) t erm s or condit ions out lined in
         t his Client Guide or one of t he disqualificat ion, suspension or inact ivat ion event s set
         fort h in t he D isqu a lifica t ion Su spe n sion or I n a ct iv a t ion Sect ion has occurred or
         occurs.
    ( 2) The Client has breached any agreem ent out lined or incorporat ed by reference in t he
         Client Cont ract or any ot her agreem ent bet ween t he Client and GMAC- RFC.
    ( 3) The Client breaches any of t he represent at ions, warrant ies or covenant s set fort h in
         t his Client Guide, fails t o perform it s obligat ions under t his Client Guide or t he
         Program Docum ent s, m akes one or m ore m isleading represent at ions, warrant ies or
         covenant s t o GMAC- RFC, or as failed t o provide GMAC- RFC wit h inform at ion t hat is
         t r ue, com plet e and accurat e.
    ( 4) The Borr ower or any ot her person or ent it y involved in t he Loan t ransact ion or in it s
         underwrit ing or docum ent at ion ( including any appraiser, broker, t hird- part y
         originat or, credit report ing agency, or ot her pr ovider of underwrit ing inform at ion)
         has m ade any false represent at ion and/ or has failed t o provide inform at ion t hat is
         t r ue, com plet e and accurat e in connect ion w it h such t ransact ion, w het her or not t he
         Client was a part y t o or had knowledge of such m isr epresent at ion or incorrect
         inform at ion.
    ( 5) Occurrence of an Event of Se r vice r Default wit h respect t o any Loans serviced by
         t he Client .
    ( 6) Term inat ion of servicing for cause is a basis for t he Client ’s im m ediat e
         disqualificat ion or suspension. Act ion t aken by GMAC- RFC t o t erm inat e servicing
         m ay be m erged wit h an act ion t o disqualify, suspend or inact ivat e t he Client .
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          A209
          Remedies of GMAC-RFC
          ( A) N on - Ex clu siv e , Cu m u la t ive Re m e die s
          GMAC- RFC m ay exercise any r em edy out lined in t his Client Guide or as allowed by law or in
          equit y. GMAC- RFC’s exercise of one or m ore rem edies in connect ion wit h a part icular Eve n t
          of D e fa u lt will not prevent it from exercising:
               • One or m or e ot her rem edies in connect ion wit h t he sam e Event of Default
               • Any ot her right s which it m ay have at law or in equit y

          ( B) W a ive r of D e fa u lt s
          GMAC- RFC m ay waive any default by Client in t he perform ance of Client ’s obligat ions
          hereunder and it s consequences, but only by a writ t en waiver specifying t he nat ure and
          t erm s of such waiver. No such waiver shall ext end t o any subsequent or ot her default or
          im pair any right consequent t heret o, nor shall any delay by GMAC- RFC in exercising, or
          failure t o exercise, any right arising from such default affect or im pair GMAC- RFC’s right s as
          t o such default or any subsequent default .

          ( C) Su r v iva l of Re m e die s
          GMAC- RFC’s rem edies for breach of t he represent at ions, warrant ies and covenant s shall
          survive t he sale and delivery of t he Loan t o GMAC- RFC and funding of t he relat ed purchase
          price by GMAC- RFC, and will cont inue in full force and effect for t he rem aining life of t he
          Loans, not wit hst anding any t erm inat ion of t his Client Guide and t he relat ed Fu n din g
          D ocu m e n t s, or any rest rict ive or qualified endorsem ent on any m ort gage Not e or
          assignm ent of m ort gage or Loan approval or ot her exam inat ion of or failur e t o exam ine any
          relat ed m ort gage Loan file by GMAC- RFC.
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A210
Repurchase
( A) Re pu r ch a se Obliga t ion s
I f GMAC- RFC det erm ines t hat an Ev e n t of D e fa u lt has occurred wit h respect t o a specific
Loan, t he Client agrees t o r epurchase t he Loan and it s servicing ( if t he Loan was sold
servicing released) wit hin 30 days of receiving a repurchase let t er or ot her writ t en
not ificat ion from GMAC- RFC.
I f t he Client discovers an Event of Default , it should give GMAC- RFC prom pt writ t en not ice.
Such not ice should include a writ t en descript ion of t he Event of Default . Upon receipt of t his
not ice, GMAC- RFC will review t hese m at erials and any addit ional inform at ion or
docum ent at ion t hat t he Client believes m ay influence GMAC- RFC’s decision t o requir e
repurchase. I f GMAC- RFC decides t o require repurchase, t he Client shall repurchase t he Loan
and t he servicing ( if t he Loan was sold servicing released) wit hin 30 days aft er GMAC- RFC’s
decision is com m unicat ed t o Client in writ ing.
To expedit e t he wiring of funds t o GMAC- RFC, t he Client should com plet e t he servicing
t ransfer inst ruct ion form provided by GMAC- RFC. GMAC- RFC will send t he form t o t he Client
along wit h t he not ificat ion of repurchase.
GMAC- RFC is not required t o dem and repurchase wit hin any part icular period of t im e, and
m ay elect not t o require im m ediat e repurchase. However, any delay in m aking t his dem and
does not const it ut e a waiver by GMAC- RFC of any of it s right s or rem edies.
Where GMAC- RFC det erm ines t hat repurchase of a Loan and/ or t he servicing is not
appr opriat e, t he Client shall pay GMAC- RFC all losses, cost s and expenses incurred by GMAC-
RFC and/ or t he Loan’s Se r vice r as a result of an Ev e n t of D e fa u lt . This includes all
reasonable at t orneys’ fees and ot her cost s and expenses incurred in connect ion wit h
enforcem ent effort s under t aken.
Upon t he Client ’s sat isfact ion of it s repurchase obligat ion, GMAC- RFC will endorse t he Not e
evidencing t he Loan in blank and w ill deliver it and ot her pert inent Loa n D ocu m e n t s t o t he
Client . I f GMAC- RFC acquired t it le t o any of t he real propert y securing t he Loan pursuant t o a
foreclosure sale and has not disposed of such propert y, it w ill t ransfer such propert y t o t he
Client on a “ quit claim ” basis or, if required by St at e law, a “ warrant y deed” basis. However, if
GMAC- RFC has disposed of t he real proper t y securing t he Loan, t he Loan Docum ent s will not
be ret urned t o t he Client unless request ed.
I f t he Client is also t he Se r vice r of a Loan repurchased by reason of t he occurrence of an
Event of Default , GMAC- RFC will not reim burse t he Client for any principal, int erest or ot her
advances m ade by t he Client wit h respect t o t hat Loan.
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          I f, for any part icular Loan, Client has com plied wit h it s pr opert y valuat ion docum ent at ion
          requirem ent s ( as described under Specific Represent at ions, Warrant ies and Covenant s
          Concerning I ndividual Loans in t he Unde r w r it in g; Appr a isa l; Appr a ise r Sect ion) by
          providing Propert ywise ( a GMAC- RFC Qualified AVM) in lieu of an appraisal, where t he Loa n
          Pr ogr a m t erm s perm it t he use of Pr ope r t yw ise as t he sole docum ent at ion of propert y
          valuat ion underlying such Loan, and provided Proper t ywise w as obt ained by Client in good
          fait h direct ly from Proper t ywise Vendors ( See GMAC- RFC Ex h ibit 1 6 G0 5 , Aut om at ed
          Valuat ion Model ( AVM) Approved Vendors) and has been subm it t ed t o GMAC- RFC in it s
          original, unalt ered form as issued by t he Propert ywise Vendor; t hen, if an Ev e n t of D e fa u lt
          relat ed t o such Loan arises solely out of t he validit y and accuracy of t he propert y valuat ion
          am ount st at ed in t he Propert ywise AVM, but pr ovided t hat in all ot her aspect s t he Loan was
          eligible for purchase by GMAC- RFC at t he t im e it was subm it t ed for purchase by Client ,
          GMAC- RFC will not exercise it s right t o dem and repurchase for such part icular Loan by
          reason of such part icular Event of Default . However, GMAC- RFC m ay cont inue t o exer cise it s
          right t o dem and repurchase if GMAC- RFC reasonably believes t hat Client or any t hird part y
          originat or obt ained Propert ywise in bad fait h, such as by using Propert ywise where Client or
          t he t hird part y originat or had reason t o know t hat t he m ort gaged propert y was m at erially
          different t han t hat described in Propert ywise or t hat t he descript ion in Propert ywise should
          not be considered reliable at t he t im e t he Loan was sold t o GMAC- RFC.

          ( B) Re pu r ch a se Pr ice of Fir st M or t ga ge Pr ogr a m s
          I n t he event t he Client is obligat ed t o repurchase a Loan t he Client m ust pay t o GMAC- RFC a
          repur chase pr ice equal t o t he sum of:
               • The act ual principal balance of t he Loan at t he t im e of repurchase ( if t he Client sold t he
                 Loan t o GMAC- RFC at a discount or a Prem ium , t he repurchase price above will be
                 adj ust ed t o reflect t he act ual principal balance m inus t he discount percent age
                 m ult iplied by t he act ual principal balance, or plus t he Prem ium percent age m ult iplied
                 by t he act ual principal balance, as appr opriat e, including t hat price paid for Se r vicin g
                 Righ t s) , plus
               • All accr ued and unpaid int erest on t he Loan t hrough t he last day of t he m ont h of t he
                 dat e of repurchase; plus
               • All int erest , principal and ot her advances m ade t o invest ors and all out of pocket cost s
                 and expenses of any kind incurred by GMAC- RFC and/ or t he prim ary Se r vice r in
                 connect ion wit h t he Loan, including, but not lim it ed t o, advances for t axes or
                 insurance, and repair, foreclosure and insurance cost s and reasonable at t orneys’ fees;
                 plus
               • The am ount of t he buyout fee as calculat ed in t he Ex t e n sion a n d Bu you t Fe e s
                 Sect ion of Chapt er 9A, Com m it m ent s; plus
               • I n t he event t hat GMAC- RFC or any of it s Affilia t e s is required t o repurchase t he Loan
                 fr om any subsequent assignee, t hen any addit ional am ount as m ay be required t o
                 m ake t he repurchase price t hat t he Client is obligat ed t o pay hereunder equal t o t he
                 repurchase pr ice t hat GMAC- RFC or it s Affiliat e is required t o pay t o such subsequent
                 assignee; m inus
               • The net am ount of any proceeds r ealized by t he owner of t he Loan upon t he final
                 liquidat ion of t he Loan or t he M or t ga ge d Pr e m ise s t o an unrelat ed t hird part y.
          The D e signa t e d Se r v ice r will ret urn t o t he Client any escrow funds, unapplied funds and
          prepaid principal and int erest inst allm ent s.
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GMAC- RFC m ay dem and t hat a Client repurchase, and Client m ust repurchase, a Loan aft er
foreclosure even if t he full am ount of it s out st anding debt was bid on by or on behalf of t he
Loan’s owner t o acquire t he M or t ga ge d Pr e m ise s at t he foreclosure sale. I n t he event t he
Client is obligat ed t o repurchase a Loan aft er foreclosure, t he repurchase price shall be
calculat ed using t he form ula above, however Sch e du le d Pr in cipa l Ba la n ce shall be
subst it ut ed for t he act ual principal balance.

( C) Re pu r ch a se Pr ice of H om e Equ it y Pr ogr a m
I n t he event t he Client is obligat ed t o repurchase a Hom e Equit y Loan, t he Client m ust , upon
repurchase, service such Hom e Equit y Loan. The repurchase price for such Hom e Equit y Loan
shall be equal t o t he sum of:
    • The unpaid pr incipal balance of t he Hom e Equit y Loan
    • All accr ued and unpaid int erest on t he Hom e Equit y Loan
    • The am ount of all fees and/ or purchase Prem ium paid, if any, t o t he Client by GMAC-
      RFC for originat ion of t he Hom e Equit y Loan
    • All fees paid t o any Se r v ice r or sub- servicer of a Hom e Equit y Loan by reason of t he
      t erm inat ion of t hat Servicer ’s or Sub- Servicer ’s right t o service t hat Hom e Equit y Loan
    • All cost s incurred or paid by GMAC- RFC or any Servicer in collect ing or enforcing t he
      Hom e Equit y Loan, including, wit hout lim it at ion, int erest or ot her cost s paid t o bring or
      m aint ain a prior lien current or up t o dat e, cost s t o insure or pay delinquent t axes,
      at t orneys’ fees, court cost s, appraisal and t it le expenses and ot her sim ilar cost s or
      expenses ( collect ively, “ Foreclosure Expenses” )
    • Any addit ional am ount GMAC- RFC or any of it s Affilia t e s is required t o pay t o
      repurchase t he Hom e Equit y Loan from a subsequent assignee
I n lieu of repurchasing a Hom e Equit y Loan t hat has not yet been foreclosed and accept ing
t he servicing of such Hom e Equit y Loan, GMAC- RFC m ay in it s sole discret ion allow Client t o
pay t o GMAC- RFC t he Est im at ed Loss ( as defined below) . Est im at ed Loss, as it relat es t o
each Hom e Equit y Loan subj ect t o repurchase, shall equal t he product of:
120% m ult iplied by t he result of:
    • Repurchase price as calculat ed above, plus
    • Accrued int erest on t he Hom e Equit y Loan t hrough t he dat e GMAC- RFC est im at es t hat
      t he Hom e Equit y Loan will be fully liquidat ed ( which in t he case of a foreclosure, shall
      m ean t he dat e t hat GMAC- RFC est im at es t hat t he M or t ga ge d Pr e m ise s will be sold t o
      a t hird part y and which in any ot her case m eans t he dat e t hat GMAC- RFC est im at es
      t hat all collect ion effort s on t he Hom e Equit y Loan will be abandoned) and est im at ed
      foreclosure and ot her enforcem ent expenses for t he ent ire collect ion process, less
    • Am ount by which t he current m arket Value of t he Mort gaged Prem ises as det erm ined
      by GMAC- RFC using valuat ion services provided by an independent t hir d part y exceeds
      t he current out st anding am ount of indebt edness secured by t he Mort gaged Prem ises
      t hat is senior t o t he Hom e Equit y Loan.
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          ( D ) Re pu r ch a se Pr ice of a Se r vicin g Re le a se d Loa n
          I n t he event t he Client repurchases a Loan for which t he servicing has also been sold t o
          GMAC- RFC, t he Client will also be required t o repurchase t he servicing. I f t he repur chase of
          t he servicing of t he Loan is for any reason ot her t han a breach of t he D e lin qu e n cy Payoff/
          Liquidat ion warrant y cont ained in t he Servicing Released Cha pt e r 8 , t he Client m ust pay t o
          GMAC- RFC a repurchase price equal t o t he original Se r vicin g Re le a se d Pr e m iu m ( SRP)
          percent age m ult iplied by t he act ual unpaid principal balance at t he t im e of repurchase.
          I n no event however, will t he required repurchase Servicing Released Prem ium be gr eat er
          t han t he original Servicing Released Prem ium paid t o t he Client .
          The D e sign a t e d Se r vice r will ret urn t o t he Client any escrow funds, Te m por a r y Bu ydow n
          funds, unapplied funds and prepaid pr incipal and int erest inst allm ent s. The Client will be
          required t o reim burse t he Designat ed Servicer for any delinquent principal and int erest
          advances, and any escrow advances and foreclosure expenses t hey have m ade and not
          recovered on a repurchased Loan.

          ( E) Re pu r ch a se As a Re su lt of Con ve r sion
          The Client ( or, if t he Client has t ransferred servicing of t he Loans, t he Se r vice r ) shall
          repurchase a Loan which has convert ed from an ARM t o a fixed- rat e m ort gage. The Servicer
          m ust subm it t he ARM Conversion Not ificat ion Report no less t han 15 days prior t o t he
          conversion dat e.
          I f t he Client or Servicer repurchases a convert ed Loan and subsequent ly resells t hat
          convert ed Loan t o GMAC- RFC, all t he Client ’s represent at ions and warrant ies wit h respect t o
          t hat Loan shall survive such repurchase and resale. I n addit ion, t he Client shall be subj ect t o
          all right s and rem edies ( including repurchase) available t o GMAC- RFC as a result of any
          m isrepresent at ion or breach of warrant y wit h respect t o t hat Loan pr ior t o conversion.
          The Client shall also subm it t he m odificat ion agreem ent if request ed by GMAC- RFC or it s
          assigns.
          Aft er it s receipt of t he Loan funds, GMAC- RFC will endorse t he Not e t o t he par t y which
          repurchased t he Loan. The Loan will t hen be assigned t o such part y, and all credit
          docum ent at ion will be ret urned. Failure t o subm it t he ARM Conversion Not ificat ion Report in
          a t im ely m anner m ay delay t he receipt of t he endorsed Not e and ot her legal docum ent s.
          The Se r v ice r shall subm it a Payoff/ Liquidat ion Report and wire t ransfer Loan funds t o t he
          GMAC- RFC Loa n Accou n t in g D e pa r t m e n t no lat er t han t he last Bu sin e ss D a y prior t o t he
          conversion dat e. The Servicer m ust rem it int erest for t he ent ire m ont h preceding t he
          conversion dat e. The Client shall at t ach a copy of t he ARM Conversion Not ificat ion Report .
          I f t he appropriat e am ount is not wired on t im e, GMAC- RFC will charge a lat e paym ent fee.
          This fee will equal t he am ount due m ult iplied by t he “ Pr im e Ra t e ” plus 3% m ult iplied by t he
          num ber of days overdue divided by 365. The t erm “ Prim e Rat e” shall m ean t he highest
          quot ed Prim e Rat e print ed in The Wall St r eet Journal in it s regular colum n “ Money Rat es” on
          t he first Bu sin e ss D a y of t he m ont h in which t he paym ent was due and not paid. I f t he
          Prim e Rat e is not available, GMAC- RFC will det erm ine a com parable rat e.
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( F) Su bst it u t ion
I nst ead of requiring t he Client t o repurchase a Loan as provided above, GMAC- RFC, at it s
sole discret ion, m ay allow t he Client t o subst it ut e anot her Loan sat isfact ory t o GMAC- RFC in
place of t he original Loan, wit hin 10 days of not ificat ion by GMAC- RFC, unless ot herwise
not ified. I f t he subst it ut ed Loan cont ains t erm s different from t hose of t he Loan t hat it is
replacing, a purchase price adj ust m ent will be calculat ed by GMAC- RFC based on m arket
changes and Loan charact erist ics. Every Loan subst it ut ed will be subj ect t o all agreem ent s,
t erm s, condit ions, represent at ions and warrant ies in t his Client Guide as of t he Su bst it u t ion
Date.
I n t he event a Loan is eligible for purchase by GMAC- RFC but t he servicing is ineligible for
purchase by GMAC- RFC, t he Loan will be purchased and t he sale of servicing denied. GMAC-
RFC w ill not allow t he Client t o subst it ut e anot her servicing released Loan.

( G) Cost of Tr a n sfe r Fe e s D ue t o Re pu r cha se
The Client agrees t hat , if it is requir ed t o repurchase a Loan and t he relat ed Servicing, it will
pay all docum ent ary st am p t axes, recording fees, t ransfer t axes and all ot her expenses
payable in connect ion wit h t he repurchase and will indem nify and hold harm less GMAC- RFC
and t he D e signa t e d Se r v ice r against all losses, cost s and expenses, including at t orney
fees, result ing from such requir ed repurchases or t he breach giving rise heret o.

( H ) N ot ice a n d Appe a l
The Client m ay appeal GMAC- RFC’s decision by providing any addit ional inform at ion or
docum ent at ion it believes m ay affect GMAC- RFC’s det erm inat ion.
Send all not ificat ions and appeals t o:
      GMAC- RFC
      One Meridian Crossings
      Suit e 100
      Minneapolis, MN 55423
      At t ent ion: Repurchase Managem ent
Such inform at ion and docum ent at ion m ust be received wit hin 30 days aft er t he Client ’s
receipt of a repurchase let t er or sim ilar writ t en not ificat ion from GMAC- RFC. GMAC- RFC will
review all appeals and advise t he Client in writ ing of t he appeal decision. GMAC- RFC will in it s
sole discret ion det erm ine t he validit y of any appeal filed by t he Client . I f GMAC- RFC’s
decision rem ains firm following an appeal, t he Client shall repurchase t he Loan and it s
servicing ( if t he Loan was sold servicing released) wit hin 10 days of not ificat ion by GMAC-
RFC, in writ ing, t hat t he appeal has been denied.
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   ( 17) The Client or Se r vice r ’s failure t o m aint ain a qualified Loan originat ion, servicing
         and qualit y cont r ol st aff, an accept able ongoing qualit y cont rol program , adequat e
         facilit ies and writ t en policies and procedures t o ensure:
         • The invest m ent qualit y of Loans sold t o GMAC- RFC
         • The adequacy of t he servicing of Loans purchased by GMAC- RFC OR
   ( 18) The failure of t he Client or t he Se r vice r t o m eet any t est as m ay be prescribed for
         eligibilit y,
   ( 19) The det erm inat ion by GMAC- RFC t hat a Client has not delivered an adequat e volum e
         of Loans t o GMAC- RFC.

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Indemnification
The Client shall indem nify GMAC- RFC fr om all losses, dam ages, penalt ies, fines, forfeit ures,
court cost s and reasonable at t orneys’ fees, j udgm ent s, and any ot her cost s, fees and
expenses result ing from any Ev e n t of D e fa u lt . This includes any act or failure t o act or any
breach of war rant y, obligat ion or repr esent at ion cont ained in t he Client Cont ract ; or from any
claim , dem and, defense or assert ion against or involving GMAC- RFC based on or result ing
fr om such breach or a breach of any represent at ion, warrant y or obligat ion m ade by GMAC-
RFC in reliance upon any warrant y, obligat ion or represent at ion m ade by t he Client cont ained
in t he Client Cont ract .
I n addit ion, Client shall indem nify GMAC- RFC against any and all losses, dam ages, penalt ies,
fines, forfeit ures, j udgm ent s, and any ot her cost s, fees and expenses ( including court cost s
and reasonable at t orneys’ fees) incurred by GMAC- RFC in connect ion wit h any lit igat ion or
governm ent al proceeding t hat alleges any violat ion of local, St at e or federal law by Client , or
any of it s agent s, or any originat or or broker in connect ion wit h t he originat ion or servicing of
a Loan. Wit h regard t o legal fees or ot her expenses incurr ed by or on behalf of GMAC- RFC in
connect ion wit h any such lit igat ion or governm ent al proceeding, Client shall reim burse
GMAC- RFC for such fees and expenses. Reim bursem ent shall be m ade direct ly t o GMAC- RFC
wit hin t en days of receipt of a request for paym ent , which request shall include copies of t he
relevant invoices. Except for not ices for reim bursem ent , GMAC- RFC is not required t o give
Client not ice of any lit igat ion or governm ent al proceeding t hat m ay t rigger indem nificat ion
obligat ions. Client shall inst ruct it s officers, direct ors and agent s ( including legal counsel) t o
cooperat e wit h GMAC- RFC in connect ion wit h t he defense of any lit igat ion or governm ent al
proceeding involving a Loan. GMAC- RFC has t he right t o cont rol any lit igat ion or
governm ent al proceeding relat ed t o a Loan, including but not lim it ed t o choosing defense
counsel and m aking set t lem ent decisions.
The Client also shall indem nify GMAC- RFC and hold it harm less against all court cost s,
at t orney’s fees and any ot her cost s, fees and expenses incurred by GMAC- RFC in enforcing
t he Client Cont ract . The obligat ions of t he Client under t his Sect ion shall survive t he
D e live r y D a t e , t he Fu n din g D a t e ( and each Su bst it u t ion D a t e , if applicable) and t he
t erm inat ion of t he Client Cont ract and t he disqualificat ion, suspension or inact ivat ion of t he
Client .
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          A201
          Specific Representations, Warranties and Covenants Concerning Client
          ( A) D u e Or ga n iza t ion ; Good St a n ding; Lice n sing
          Client and, t o Client ’s knowledge, Client ’s Guarant or, if applicable, is and shall cont inue t o be
          duly organized, validly exist ing, and in good st anding under t he laws of t he Unit ed St at es or
          under t he laws of t he j urisdict ion in which it was incorporat ed or organized, as applicable,
          and has and shall cont inue t o m aint ain all licenses, regist rat ions, and cert ificat ions necessary
          t o carry on it s business as now being conduct ed, and is and will cont inue t o be licensed,
          qualified, and in good st anding in each St at e where a Mort gaged Propert y is locat ed if t he
          laws of such St at e require licensing or qualificat ion in order t o conduct business of t he t ype
          conduct ed by Client 1. Client is and will rem ain in com pliance wit h t he laws of any such St at e,
          and is and will rem ain in good st anding wit h federal aut horit ies, t o t he ext ent necessary t o
          ensure t he enforceabilit y of t he relat ed Loan. Client has disclosed t he final writ t en report s,
          act ions and/ or sanct ions of any and all reviews, invest igat ion, exam inat ions, audit s, act ions
          and/ or sanct ions t hat have been undert aken and/ or im posed, wit hin t wo years prior t o t he
          dat e of t he Client Cont ract , by any federal or St at e agency or inst r um ent alit y wit h respect t o
          eit her t he lending or r elat ed financial operat ions of Client , or t he abilit y of Client t o perform
          in accordance wit h t he Program Docum ent s t erm s. Each of t he represent at ions and
          warrant ies m ade by Client in it s Client Applicat ion is t rue, accurat e, and com plet e, and is
          deem ed t o be rem ade in it s ent iret y, as of t he dat e of t he Client Cont r act , and as of each
          Fu n din g D a t e .
           1 I n addit ion, if any Loan is secured by m ort gaged propert y locat ed in t he St at e of West Virginia, Client and t he
             originat or of t he Loan is licensed under t he West Virginia Mort gage Loan Act and Client and t he originat or of t he
             Loan held such license at t he t im e t he Loan was originat ed, unless ot herwise exem pt from licensing. Client and
             t he originat or of t he Loan m ust be licensed under t he West Virginia Mort gage Loan Act even if Client and t he
             originat or of t he Loan m akes or offers t o m ake or accept s or offers t o accept or purchases or services in a calendar
             year fewer t han t he num ber of de m inim us prim ary or subordinat e m ort gage Loans specified in t he definit ion of
             “ lender” in W. Va. Code Sect ion 31- 17- 1.

          ( B) Au t h or it y
          Client has and will m aint ain t he full corporat e, part nership or lim it ed liabilit y com pany power
          and aut horit y t o execut e and deliver t he Program Docum ent s and t o perform t he t erm s of
          t his Client Guide. The execut ion, delivery, and perform ance of t he Program Docum ent s and
          t he perform ance of t he t erm s of t his Client Guide by Client , and t he consum m at ion of t he
          t r ansact ions cont em plat ed, have been duly and validly aut horized. The Program Docum ent s
          and t his Client Guide evidence Client ’s legal valid, binding, and enforceable obligat ions. All
          requisit e corporat e, part nership or lim it ed liabilit y com pany act ion has been t aken by Client
          t o m ake t he Program Docum ent s and t he t erm s of t his Client Guide valid and binding upon
          Client and enforceable in accordance wit h t heir respect ive t er m s.

          ( C) Or din a r y Cou r se of Bu sin e ss
          The consum m at ion of t he t ransact ions cont em plat ed by t he Program Docum ent s and t he
          Client Guide t erm s are in Client ’s or dinary course of business, and t he t ransfer, assignm ent ,
          and conveyance of t he Mort gage Not es and t he Mort gages by Client , pur suant t o t he
          Program Docum ent s and t he Client Guide t erm s are not subj ect t o t he bulk t ransfer laws or
          any sim ilar st at ut ory provisions in effect in any applicable j urisdict ion.
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                                                                                                     Warranties and
                                                                                                     Covenants
( D ) N o Con flict s
Neit her t he execut ion and delivery of t he Program Docum ent s, t he acquisit ion and/ or m aking
of t he Loans by Client , t he sale of t he Loans t o GMAC- RFC or t he t ransact ions cont em plat ed
t hereby or pursuant t o t his Client Guide, nor t he fulfillm ent of or com pliance wit h t he
Program Docum ent s t erm s and condit ions, will conflict wit h or result in a br each of any of t he
t erm s, condit ions, or provisions of Client 's art icles of incorporat ion, chart er, by- laws,
part nership agreem ent , or ot her organizat ional docum ent , or of any legal rest rict ion or
regulat ory direct ive or any agreem ent or inst r um ent t o which Client is now a part y or by
which it is bound, or const it ut e a default or result in an accelerat ion under any of t he
foregoing, or result in t he violat ion of any law, rule, regulat ion, order, j udgm ent , or decree t o
which Client , or any of it s propert y is subj ect , or im pair t he abilit y of GMAC- RFC t o realize on
any of t he Loans, or im pair t he Value of any of t he Loans.

( E) Abilit y t o Pe r for m
Client has t he abilit y t o perform each and every obligat ion of and/ or sat isfy each and ever y
requirem ent im posed on, Client pursuant t o t he Program Docum ent s and t his Client Guide,
and no offset , count erclaim , or defense exist s t o t he full perfor m ance by Client of t he
requirem ent s of Program Docum ent s and t his Client Guide.

( F) N o Lit iga t ion Pe n din g
There is no act ion, suit , proceeding, inquiry, review, audit , or invest igat ion pending or
t hreat ened against Client t hat , eit her in any one inst ance or in t he aggregat e, m ay r esult in
any m at erial adverse change in t he business, operat ions, financial condit ion, propert ies, or
asset s of Client , or in any m at erial liabilit y on t he part of Client , or which would draw int o
quest ion t he validit y or enforceabilit y of any of t he Program Docum ent s, t his Client Guide, or
t he Loans or of any act ion t aken or t o be t aken in connect ion wit h Client ’s obligat ions
cont em plat ed in any of t he Program Docum ent s or t his Client Guide, or which would be likely
t o im pair m at erially Client ’s abilit y t o perform under t he t erm s of t he Program Docum ent s or
t his Client Guide.

( G) N o Con se n t Re qu ir e d
No consent , approval, aut horit y, or order of any court or governm ent al agency or body is
required for t he execut ion and perfor m ance by Client of, or com pliance by Client wit h, any of
t he Program Docum ent s or t his Client Guide, t he sale of any of t he Loans, or t he
consum m at ion of any of t he t ransact ions cont em plat ed by any of t he Purchase Docum ent s,
or, if required, such uncondit ional approval has been obt ained pr ior t o t he relat ed Fu n din g
Date.

( H ) N o Un t r u e I n for m a t ion
Neit her t he Program Docum ent s, t he Client Applicat ion, t his Client Guide, nor any st at em ent ,
report , or ot her docum ent furnished or t o be furnished by Client pursuant t o t he Program
Docum ent s or t his Client Guide, cont ains any unt rue st at em ent of m at erial fact or om it s t o
st at e a m at erial fact necessary t o m ake t he st at em ent s cont ained t herein not m isleading.
Client m eet s GMAC- RFC’s Eligibilit y St andards, and shall t ake all st eps necessary t o cont inue
t o m eet such Eligibilit y St andards.
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          ( I ) Se cu r it ie s La w
          The Client represent s t hat t he Loans ar e not “ securit ies” under any federal or St at e securit ies
          laws or any rules or regulat ions t hereunder and t hat t he t ransact ions cont em plat ed by t his
          Client Guide do not require regist rat ion under, and are not subj ect t o, any federal or St at e
          securit ies laws or any rules or regulat ions t hereunder.

          ( J) N o Accr u e d Lia bilit ie s
          Except as m ay be ot herwise disclosed by Client t o GMAC- RFC and acknowledged by GMAC-
          RFC in writ ing prior t o t he dat e of t he Client Cont ract , t here are no accrued liabilit ies of
          Client , wit h respect t o any of t he Loans, or circum st ances under which any such accrued
          liabilit ies will arise against GMAC- RFC, as successor t o Client ’s int erest s in and t o t he Loans,
          wit h r espect t o any act ion or failure t o act by Client occurring on or prior t o t he Fu n din g
          Date.

          ( K) Or igin a t ion , Se r vicin g
          Client ’s originat ion and servicing of t he Loans have been legal, pr oper, prudent , and
          cust om ary and have conform ed t o t he highest st andards of t he resident ial m ort gage
          originat ion and servicing business.

          ( L) Com plia n ce W it h La w s
          Client has com plied wit h, and has not violat ed any law, ordinance, requirem ent , regulat ion,
          rule, or order applicable t o it s business or proper t ies, t he violat ion of which m ight adversely
          affect t he operat ions or financial condit ions of Client , or t he abilit y of Client t o consum m at e
          t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide.

          ( M ) Com plia n ce W it h Pr ogr a m D ocu m e n t s a n d Clie n t Gu ide
          Client will com ply wit h all provisions of t his Client Guide and t he Program Docum ent s, and
          will pr om pt ly not ify GMAC- RFC of any occurrence, act , or om ission regarding Client , t he
          Loan, t he Mort gaged Propert y or t he Mort gagor of which Client has knowledge, which
          occurrence, act , or om ission m ay m at erially affect Client , t he Loan, t he Mort gaged Propert y,
          or t he Mort gagor.

          ( N ) N o D e fe n se s Aga in st GM AC- RFC
          The Client has no j udgm ent , court order, claim , count erclaim , defense, right of set- off or
          sim ilar right against GMAC- RFC.
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                                                                                                    Covenants

A202
Specific Representations, Warranties and Covenants Concerning Individual Loans
For all Loans, t he Client represent s, warrant s and covenant s t o GMAC- RFC as follows:

( A) Loa n s Ar e Eligible ; Accu r a cy of I n for m a t ion
Each of t he Loans delivered and sold t o GMAC- RFC m eet s t he applicable program t erm s and
crit eria set fort h in t his Client Guide. All inform at ion relat ing t o each Loan delivered and sold
t o GMAC- RFC is t rue, com plet e and accurat e and t here are no om issions of m at erial fact s. All
dat a provided by t he Client t o GMAC- RFC relat ing t o any Loan, w het her in elect ronic form at ,
or ot herwise, is t rue and com plet e and accurat ely reflect s t he inform at ion in t he relat ed Loan
file.

( B) Com plia nce W it h W a r r a n t ie s
The Client is in com pliance wit h, and has t aken all necessary act ion t o ensure t hat each Loan
is in com pliance wit h all represent at ions, warrant ies and requirem ent s cont ained in t his
Client Guide.

( C) Loa n Pr ovision s
The provisions of t he Loan have not been im paired, waived, alt ered or m odified in any
respect , unless appr oved in writ ing by GMAC- RFC. The issuer of any relat ed PMI Policy and
t he t it le insurer have approved t he subst ance of any such waiver, alt erat ion, or m odificat ion
t o t he ext ent required by t he respect ive policies. No Mort gagor has been r eleased, in whole
or in part .

( D ) D ocu m e n t s
All Loa n D ocu m e n t s, Fun din g D ocu m e nt s and Fin a l D ocum e n t s ar e genuine, have been
com plet ed, duly and properly execut ed, are in r ecordable form and delivered in t he for m and
m anner specified in t his Client Guide, and each Loan is t he Mort gagor ’s legal, valid and
binding obligat ion enforceable in accordance wit h it s t erm s. All originals and copies of such
docum ent s and all ot her docum ent s, m at erials, and ot her inform at ion required t o be
subm it t ed t o GMAC- RFC have been so subm it t ed, and are com plet e and accurat e. All Loan
Docum ent s, Funding Docum ent s, Final Docum ent s and all ot her docum ent s describing or
ot herwise relat ing t heret o are in com pliance wit h all applicable local and St at e laws,
regulat ions and orders.
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          ( E) Ow n e r sh ip; Tr a n sfe r
          The Client has good t it le t o and is t he sole owner of, each Loan delivered and sold t o GMAC-
          RFC. Except for t he securit y int erest of a warehouse lender, which securit y int erest Client has
          disclosed t o GMAC- RFC in writ ing, t he assignm ent of t he Loan by t he Client validly t ransfers
          such Loan t o GMAC- RFC free and clear of any pledge, lien or securit y int erest or ot her
          encum brance.
          For each Loan regist er ed wit h M ERS, t he Client represent s t hat ( a) if t he Se cu r it y
          I n st r u m e n t relat ing t o such Loan ident ifies MERS as t he original m ort gagee of record, such
          Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o MERS solely as
          nom inee for t he Client and it s successors and assigns and t hat such Securit y I nst rum ent has
          been properly execut ed, acknowledged, delivered and recorded in all places necessary t o
          perfect t he securit y int erest on t he M or t ga ge d Pr e m ise s in favor of MERS, solely as
          nom inee for t he Client and it s successors and assigns; or ( b) if t he Loan is regist ered wit h
          MERS, and MERS is not t he original m ort gagee of record, an assignm ent t o MERS has been
          prepared, duly execut ed and recorded and t he chain of assignm ent s is com plet e and
          recorded from t he original m ort gagee t o MERS. Client furt her repr esent s t hat it has com plied
          wit h all rules and procedures of MERS for it s assignm ent of t he Securit y I nst rum ent t o
          GMAC- RFC, including, am ong ot her t hings, t hat t he Client has confirm ed t he t ransfer on
          MERS t o GMAC- RFC.

          ( F) D isbu r se m e n t s; N o Pa yoffs or Fut u r e Adva nce m e nt s
          Each Loan has been closed and fully disbursed, except as perm it t ed in t he Escr ow Accou n t
          for Post pon e d I m pr ove m e nt s/ Re pa ir s Sect ion of t his Client Guide. There are no payoffs,
          assum pt ions or insurance claim s pending on any Loan or pert aining t o t he Mort gaged
          Prem ises and t he Borrower m ay not exercise any opt ion under any of t he Loa n D ocu m e n t s
          t o borrow addit ional funds secured t hereby from t he Client or any ot her person or ent it y
          wit hout t he Not eholder ’s consent .
          Addit ionally, t he Client warrant s t hat t he Client has not m ade arrangem ent s wit h any
          Borrower for any paym ent forbearance or fut ure r efinancing w it h respect t o any Loan.

          ( G) N o D e fa u lt
          There is no default , breach, violat ion or event of accelerat ion exist ing under any Not e or
          Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, and no event exist s which, wit h not ice and
          t he expirat ion of any grace or cure period, w ould const it ut e a default , breach, violat ion or
          event of accelerat ion, and no such default , breach, violat ion or event of accelerat ion has
          been waived by t he Client or by any ot her ent it y involved in originat ing or servicing t he Loan.

          ( H ) N o D e fe n se s
          Except as provided in a buydown or subsidy agreem ent , if any, m eet ing t he requirem ent s set
          fort h in t his Client Guide, t he Borrower ( including any part y secondarily liable under t he
          Loa n D ocu m e n t s) has no right of set- off, defense, count erclaim or right of rescission t o any
          Loan Docum ent .
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                                                                                                    Warranties and
                                                                                                    Covenants
( I ) Com plia nce w it h La w
The sale and t ransfer of each Loan t o GMAC- RFC does not violat e any applicable St at e laws.
To t he ext ent t hat any applicable St at e law places any rest rict ions on t he t ransfer of any
Loan, t he Client has not ified GMAC- RFC in writ ing of t hat rest rict ion and any relat ed St at e
licensing or regist rat ion requirem ent s.
The Se cu r it y I n st r u m e n t has been properly execut ed, acknowledged, delivered and
recorded in all places necessary t o perfect t he securit y int erest in t he M or t ga ge d Pr e m ise s
in favor of t he Client and it s successors and assigns. I f a Loan is regist ered wit h M ERS, and
MERS is ident ified on t he Securit y I nst rum ent as t he original m ort gagee of record, Client
represent s t hat such Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o
MERS solely as nom inee for t he Client and it s successors and assigns. I f t he Loan is
regist ered wit h MERS, and MERS is not t he original m ort gagee of record, Client represent s
t hat an assignm ent t o MERS has been prepared, duly execut ed and r ecorded and t he chain of
assignm ent s is com plet e and recorded from t he original m ort gagee t o MERS and Client
furt her represent s t hat it has com plied wit h all rules and procedures of MERS for it s
assignm ent of t he Securit y I nst rum ent t o GMAC- RFC, including, am ong ot her t hings, t hat
Client has confirm ed t he t ransfer on MERS t o GMAC- RFC.
Each GMAC- RFC Loan Applicat ion ( Fa n n ie M a e 1003/ Fr e ddie M a c Form 65) was t aken from
t he Borrower and processed for each Loan, and each Loan has been originat ed, closed, and
t ransferred in com pliance wit h all applicable local, St at e and federal laws and regulat ions
including, but not lim it ed t o, t he Real Est at e Set t lem ent Procedures Act , t he Fair Credit
Report ing Act , t he Equal Credit Opport unit y Act , t he Trut h- in- Lending Act , t he Fair Housing
Act , and t he Nat ional Flood I nsurance Act . This warrant y is m ade by t he Client w it h respect
t o each GMAC- RFC Loan Applicat ion t aken and pr ocessed for each Loan and wit h r espect t o
each Loan m ade by t he Client or any ot her ent it y.

( J) Re spon sible Le n din g Re pr e se nt a t ions, W a r r a n t ie s a nd Cove n a n t s
     ( 1 ) D iscon t in u e d Loa n
         No Loan is a “ Discont inued Loan”. Discont inued Loan m eans any of t he following,
         regardless of whet her t he originat or is required by law t o com ply wit h t he law or has
         grounds t o claim preem pt ion from all or par t of t he law.
         ( a ) H OEPA/ Se ct ion 3 2
              A loan considered a “ m or t gage” under Sect ion 152 of t he Hom e Ownership and
              Equit y Prot ect ion Act of 1994, 15 U.S.C. Sect ion 1602 ( aa) and t he relat ed
              regulat ions and com m ent ary prom ulgat ed by t he Federal Reserve Board,
              including Sect ion 226.32 of Tit le 12 of t he Code of Federal Regulat ions, and t he
              official st aff com m ent ary t o t hose regulat ions.
         ( b) Pu r ch a se M on e y Loa n s w it h H igh Poin t s or Fe e s
              A “ purchase m oney” loan secured by t he consum er ’s principal dw elling t hat
              exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
              Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
              by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
              Federal Regulat ions. A “ purchase m oney” loan is a loan t hat is considered a
              “ resident ial m ort gage t ransact ion” under Sect ion 226.2( 24) of Tit le 12 of t he
              Code of Federal Regulat ions.
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                    ( c) H om e Equ it y Lin e s a n d 1 st Lie n Lin e s of Cr e dit Th a t Ex ce e d t h e H OEPA
                         Tr igge r s
                        An open- end line of credit secured by t he consum er ’s principal dwelling t hat
                        exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
                        Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
                        by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
                        Federal Regulat ions. “ Point s and fees” m ust be calculat ed in accordance wit h
                        Sect ion 226.32 of Tit le 12 of t he Code of Regulat ions and t he relat ed
                        com m ent ary prom ulgat ed by t he Federal Reserve Board. The “APR” is t he fully
                        indexed rat e or t he init ial rat e, whichever is great er, at t he t im e of
                        consum m at ion. The “ t ot al loan am ount ” is t he t ot al credit line available under
                        t he t erm s of t he loan, wit hout subt ract ing any am ount s for closing cost s.
                    ( d) St a t e a n d Loca l H igh Cost Loa n s
                        A loan considered a “ high- cost ,” covered, “ high- risk,” “ predat ory” or any ot her
                        sim ilar designat ion under any St at e or local law in effect at t he t im e of t he
                        closing of t he loan if t he law im poses great er rest rict ions or addit ional legal
                        liabilit y for resident ial m ort gage loans wit h high int erest rat es, point s and/ or
                        fees.
                    ( e ) Ce r t a in Ge or gia H om e Loa ns
                        A “ hom e loan” under t he Georgia Fair Lending Act , Ga. Code Ann. Sect ion 7- 6A-
                        1 et . seq. t hat becam e effect ive on Oct ober 1, 2002 ( t he “Act ” ) , if t he
                        Com m it m ent was issued on or aft er February 1, 2003 and t he loan was closed
                        on or before March 7, 2003.
                    ( f) Ce r t a in N e w Je r se y H om e Loa ns
                        A “ hom e loan” under t he New Jersey Hom e Ownership Securit y Act of 2002 ( t he
                        “Act ” ) , N.J.S.A. 46: 10B- 22 et seq. if t he loan is:
                            • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
                            • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                            • A “ hom e loan” t hat is an open- end line of credit ;
                            • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                              out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
                    ( g) Ce r t a in N e w M e x ico H om e Loa n s
                        A “ hom e loan” under t he New Mexico Hom e loan Prot ect ion Act ( t he “Act ” ) , t hat
                        was closed on or aft er February 1, 2004, and on or before February 26, 2004, if
                        t he loan is:
                            • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
                            • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                            • A “ hom e loan” t hat is an open- end line of credit ;
                            • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                              out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
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                                                                                                         Covenants
    ( 2 ) M a n da t or y Ar bit r a t ion Cla u se
         A Loan m ay not include a m andat ory arbit rat ion clause. Any arbit rat ion agreem ent
         signed by t he Borrower prior t o t he t im e of a disput e is prohibit ed.
    ( 3 ) Pr oh ibit e d Te r m s a n d Pr a ct ice s on a ll Loa n s sold t o GM AC- RFC
         A Loan m ay not violat e any of t he following pr ohibit ed t er m s and pract ices:
         ( a) Pr e - pa id in su r a n ce pr odu ct s. No Loan finances single prem ium credit life,
              credit disabilit y, credit unem ploym ent , or any ot her pre- paid life or healt h
              insurance, direct ly or indirect ly.
         ( b) Pr e pa ym e n t pe n a lt ie s. A Loan m ay not provide for a penalt y for paying all or
              part of t he principal before t he dat e on which t he principal is due except as set
              fort h in t his paragraph and ot herwise allowed by applicable federal, St at e, and
              local law.
                  • The penalt y m ay be enforced for only t he first five years following
                    consum m at ion;
                  • The penalt y does not exceed 6 m ont hs of int erest on t he am ount prepaid or
                    6% of t he am ount prepaid; and
                  • The prepaym ent penalt y does not becom e due upon default
         ( c) Re por t in g t o cr e dit bur e a u s. Client or it s Se r vice r m ust report t o a nat ionally
              recognized consum er credit report ing agency at least quart erly t he favorable
              and unfavorable paym ent hist ory inform at ion of Borrower on paym ent s due t o
              Client on a Loan for t he period during which Client holds or services t he Loan.
              This paragraph shall not pr event Client or it s Servicer from not report ing specific
              paym ent hist ory inform at ion in t he event of a resolved or unresolved disput e
              wit h Borrower and shall not apply t o Loans held or serviced by Client for less
              t han 90 days.
         ( d) I n cr e a se d in t e r e st r a t e u pon de fa u lt . A Loan m ay not provide for an
              increase in t he int erest rat e aft er default .

( K) Tit le I n su r a n ce
A policy of t it le insurance, in t he form and am ount required by t his Client Guide, is effect ive
as of t he day t he Se cu r it y I n st r u m e n t is recorded, is valid and binding, is in conform ance
wit h all agency guidelines and rem ains in full force and effect , unless t he M or t ga ge d
Pr e m ise s are locat ed in t he St at e of I owa and a Tit le Guarant y Cert ificat e issued by t he
I owa Tit le Guarant y Division of t he I owa Finance Aut horit y has been provided as described in
Tit le Guarant y Cert ificat e I n I owa below.

( L) Tit le Gu a r a n t y Ce r t ifica t e I n I ow a
As t o each Loan secured by Mort gaged Prem ises locat ed in t he St at e of I owa, and if an
Am erican Land Tit le Associat ion ( ALTA) Loan policy of t it le insurance has not been provided,
a Tit le Guarant y Cert ificat e issued by t he I owa Tit le Guarant y Division of t he I owa Finance
Aut horit y, in t he form and am ount required by t his Client Guide, duly delivered and effect ive
as of t he closing of each such Loan, is valid and binding, and rem ains in full force and effect .
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          ( M ) Va lid Fir st Lie n s
          Each Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, unless provided for ot herwise in a
          given Loa n Pr ogr a m , const it ut es a valid first lien on t he M or t ga ge d Pr e m ise s subj ect only
          t o t he m inor im pedim ent s described in t he Tit le I n su r a n ce Sect ion of t his Chapt er, and
          such im pedim ent s do not adversely affect t he Value, use, enj oym ent or m arket abilit y of t he
          Mort gaged Prem ises. Each Securit y I nst rum ent and all relat ed docum ent s ( including, wit hout
          lim it at ion, releases of prior Securit y I nst rum ent s, assum pt ion agreem ent s, assignm ent s,
          am endm ent s, powers of at t orney, and m odificat ion, ext ension and consolidat ion
          agreem ent s) t hat ar e required t o be recorded or filed under applicable law in order t o
          preserve in favor of GMAC- RFC t he validit y and enforceabilit y of t he Securit y I nst rum ent and
          t he liens cr eat ed t her eby, have been duly r ecorded in all appropriat e recording offices, and all
          associat ed recording fees or t axes m ust be paid.

          ( N ) N o En cr oa ch m e n t s By Adj oin in g Pr ope r t ie s; I m pr ov e m e n t s
          No im provem ent s by adj oining pr opert ies encroach upon t he Mort gaged Prem ises in any
          respect so as t o affect t he Value or m arket abilit y of t he Mort gaged Prem ises. No
          im provem ent locat ed on or being part of t he Mort gaged Propert y is in violat ion of any
          applicable zoning law or regulat ion.

          ( O) Su r v e y
          All im provem ent s which were considered in det erm ining t he appraised Value of t he
          M or t ga ge d Pr e m ise s lie wholly wit hin it s boundaries and t he building rest rict ion lines of t he
          Mort gaged Prem ises, or t he policy of t it le insurance insures against loss or dam age by reason
          of any violat ion, variat ion, encroachm ent or adverse circum st ance t hat eit her is disclosed or
          would have been disclosed by an accurat e survey.

          ( P) N o Lie n s
          There are no delinquent t ax or delinquent assessm ent liens against t he Mort gaged Prem ises,
          and t here are no m echanic’s liens or claim s for w ork, labor or m at erial or any ot her liens
          affect ing t he Mort gaged Prem ises, which are or m ay be a lien prior t o, or equal wit h, t he lien
          of t he Se cu r it y I n st r u m e n t assigned t o GMAC- RFC, except t hose liens t hat are insured
          against by t he policy of t it le insurance or Tit le Guarant y Cert ificat e issued by t he I owa Tit le
          Guarant y Division.

          ( Q) N o Adve r se Cir cu m st a n ce s
          The Mort gaged Prem ises are free of dam age and in good repair, and no not ice of
          condem nat ion has been given wit h respect t heret o, and no circum st ances exist involving t he
          Loa n D ocu m e n t s, t he M or t ga ge d Pr e m ise s or t he Borrow er ’s credit st anding t hat could:
          ( i) cause privat e inst it ut ional invest ors t o regard t he Loan as an unaccept able invest m ent ,
          ( ii) cause t he Loan t o becom e delinquent , or ( iii) adversely affect t he Value or m arket abilit y
          of t he Mort gaged Prem ises or t he Loan. The Client warrant s t hat it neit her has act ual
          knowledge of t he presence of, nor reasonable gr ounds t o suspect t he presence of, any t oxic
          m at erials or ot her environm ent al hazards on, in or t hat could affect any of t he Mort gaged
          Prem ises. The Client warrant s com pliance wit h local, St at e or federal law or regulat ion
          designed t o pr ot ect t he healt h and safet y of t he occupant s of t he propert y.
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                                                                                                      Covenants
( R) Ca su a lt y I n su r a n ce
The im provem ent s upon t he M or t ga ge d Pr e m ise s are insured against loss by fir e and ot her
hazards as required by t his Client Guide, including flood insurance if required under t he
Nat ional Flood I nsurance Act of 1968, as am ended. The Se cu r it y I n st r u m e n t r equires t he
Borrower t o m aint ain such casualt y insurance at t he Borrower ’s expense, or on t he
Borrower ’s failure t o do so, aut horizes t he holder of t he Securit y I nst rum ent t o obt ain and
m aint ain such insurance at t he Borrower ’s expense and t o seek reim bursem ent from t he
Borrower. Each casualt y policy is t he insurer ’s valid and binding obligat ion, is in full force and
effect , and w ill be in full force and effect , t o GMAC- RFC’s benefit upon t he consum m at ion of
t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide. The Loan
t erm s per m it t he m aint enance of an escrow account t o pay t he Prem ium s for t he above
m ent ioned insurance, and t he Client has not waived t he requirem ent of such escrow account
unless perm it t ed by GMAC- RFC or requir ed by applicable law.

( S) Pr im a r y M or t ga ge I n su r a n ce
I f requir ed by t his Client Guide, prim ar y m ort gage insurance has been obt ained, t he
Prem ium has been paid, and t he m ort gage insurance coverage is in full force and effect
m eet ing t he requirem ent s of t his Client Guide.

( T) Un de r w r it in g; Appr a isa l; Appr a ise r
The Loan is of invest m ent qualit y, has been prudent ly originat ed and has been underwrit t en
in com pliance wit h all requirem ent s of t his Client Guide.
For each Loan for w hich an appraisal is required or obt ained under t his Client Guide, t he
appraisal was m ade by an appraiser who m eet s t he m inim um qualificat ions for appraisers as
specified in t his Client Guide. For each Loan, as of t he Fu n din g D a t e , t he m arket Value of
t he M or t ga ge d Pr e m ise s is at least equal t o t he appraised Value st at ed on t he Loan
appraisal, or if an Au t om a t e d V a lu a t ion M ode l ( AV M ) is perm it t ed, t he Value on t he AVM,
except t o t he ext ent t hat t he m arket Value of t he Mort gaged Prem ises is low er t han t he
appraised or AVM Value due t o t he effect of any t oxic m at erials or ot her environm ent al
hazards of which neit her t he appraiser nor t he Client has act ual knowledge or reasonable
grounds t o suspect .
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          ( U) En for ce a bilit y; En for ce m e n t Pr ov ision s
          Each Not e and Se cu r it y I n st r u m e n t const it ut es a legal, valid and binding obligat ion of t he
          Borrower enforceable in accordance wit h it s t erm s except as lim it ed by bankrupt cy,
          insolvency or ot her sim ilar laws affect ing generally t he enfor cem ent of credit or s’ right s.
          Each Securit y I nst rum ent cont ains cust om ary and enfor ceable provisions which render t he
          right s and rem edies of t he holder adequat e t o realize t he benefit s of t he securit y against t he
          M or t ga ge d Pr e m ise s, including: ( i) in t he case of a Securit y I nst rum ent designat ed as a
          deed of t rust , by t rust ee's sale, ( ii) by sum m ary foreclosure, if available under applicable
          law; and ( iii) ot herwise by foreclosure, and t here are no hom est ead or ot her exem pt ions or
          dower, court esy or ot her right s or int erest s available t o t he Bor rower or t he Bor rower ’s
          spouse, survivors or est at e or any ot her person or ent it y t hat would, or could, int erfere wit h
          such right t o sell at a t rust ee’s sale or t o foreclose. The Secur it y I nst rum ent and any rider s t o
          t he Securit y I nst rum ent m ust be signed by any person wit h an act ual or pot ent ial int erest in
          t he pr opert y. Tit le holders have an act ual int erest in t he propert y and m ust sign t he Securit y
          I nst rum ent and r iders. Non- Borrowing spouses who are not in t it le m ay have an act ual or
          pot ent ial int erest in t he propert y under St at e law and m ay be required t o sign t he Securit y
          I nst rum ent and rider in som e St at es in order for t he holder of t he Securit y I nst rum ent t o
          obt ain, prot ect and enforce it s lien. The Client will obt ain t he signat ure of t he non- Borrowing
          spouse on t he Securit y I nst rum ent and riders or ot her docum ent at ion, as allowed by law, if
          such signat ure is necessary t o prot ect t he int erest of t he holder of t he Securit y I nst rum ent .

          ( V ) H olde r - I n - D u e - Cou r se
          The Client is t he owner and holder- in- due- course of each Not e and is nam ed as m ort gagee/
          beneficiary or assignee under each Se cu r it y I n st r u m e n t , and all Loa n D ocum e n t s
          requiring execut ion have been appropriat ely execut ed, wit nessed or not arized by t he persons
          whose nam es appear as signat ories and wit nesses, or, as appropriat e, not aries who
          const it ut e t he valid and binding legal obligat ion of t he Borrower, enforceable in accordance
          wit h t heir respect ive t erm s. Not wit hst anding t he foregoing, wit h respect t o adj ust able- rat e
          m ort gage Loans ( ARMs) , t he Client repr esent s and warrant s t hat t here are no claim s t o t he
          Not e on t he part of any person or defenses of any part y t o t he Not e ot her t han t hose t hat
          validly could be raised against a holder- in- due- course.

          ( W ) Tr u st e e D e signa t e d
          Wit h respect t o each Se cu r it y I n st r u m e n t t hat is a deed of t rust , a t rust ee duly qualified
          under applicable law t o serve as such is properly nam ed, designat ed and serving.

          ( X ) N o Fe e s D ue Tr u st e e
          Except in connect ion wit h a t rust ee’s sale aft er default by t he Borrower, no fees or expenses
          are payable by t he Client or GMAC- RFC t o t he t rust ee under any Securit y I nst rum ent t hat is
          a deed of t rust .

          ( Y) Ex e cut ion of D ocum e n t s
          All agreem ent s, cont ract s, assignm ent s, endorsem ent s and issuances of checks or draft s,
          report s, Loa n D ocu m e n t s or ot her papers relat ed t o a Loan t hat are required by t his Client
          Guide t o be execut ed by t he Client have been properly execut ed by an officer on behalf of
          t he Client pursuant t o a duly adopt ed Resolut ion of Board of Direct ors.
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                                                                                                    Covenants
( Z) Le a se h olds
Where perm it t ed by t he applicable Loa n Pr ogr a m , each Mort gaged Prem ises involving a
Le a se h old est at e com plies wit h t he applicable Leasehold warrant ies set fort h in t his Client
Guide.
( AA) Con dom in iu m s; Pla n n e d Un it D e v e lopm e n t s ( PUD s)
Each M or t ga ge d Pr e m ise s t hat is a unit in a condom inium or PUD com plies wit h t he
applicable condom inium or PUD warrant ies set fort h in t his Client Guide.
( BB) Com plia n ce By Ot h e r s
When a person or ent it y: ( i) originat es a Loan on behalf of a Client , ( ii) originat es a Loan on
it s own behalf and sells it t o a Client , or ( iii) perform s any act for a Client which t he Client is
required t o perform under t his Client Guide, t he Client warrant s t hat such person or ent it y
has com plied wit h all requir em ent s of t his Client Guide wit h respect t o all such Loans and
act s.
( CC) Clie n t Con t r a ct W a r r a n t ie s
The represent at ions and warrant ies m ade at t he t im e of t he Client ’s execut ion of t he Client
Cont ract m ust rem ain t rue, correct and com plet e.
( D D ) Clie n t a n d Or igin a t or s
Each Jum bo A, Expanded Crit er ia or Paym ent Opt ion Loan was originat ed by ( i) a savings and
loan associat ion, savings bank, com m ercial bank, credit union, insurance com pany or sim ilar
banking inst it ut ion which is supervised by a federal or St at e aut horit y, or ( ii) a HUD approved
non- supervised or cor respondent m ort gagee.
I f t he Client sells Loans t o GMAC- RFC which are regist ered wit h M ERS or as t o which MERS is
t he m ort gagee on t he Se cu r it y I n st r u m e n t , t he Client is a m em ber of MERS, in good
st anding and current in paym ent of all fees and assessm ent s im posed by MERS.
( EE) N o I m pa ir m e n t of I n su r a n ce
No act ion, er ror, om ission, m isrepresent at ion, negligence, fraud or sim ilar occurrence in
respect of a Loan has t aken place on t he part of any person, including, wit hout lim it at ion, t he
Borrower, any appraiser, any builder or developer or any part y involved in t he originat ion of
t he Loan or in t he applicat ion of any insurance in relat ion t o such Loan t hat m ight result in a
denial, cont est ing, failure or im pairm ent of full and t im ely coverage under any insurance
policies requir ed t o be obt ained or any pool insurance policy covering such Loan.
( FF) Te m por a r y Buy dow ns
Where perm it t ed by t he applicable Loa n Pr ogr a m , each Te m por a r y Buy dow n Loan
delivered t o GMAC- RFC was ent ered int o pursuant t o a buydown agreem ent which com plies
wit h t he Te m por a r y Bu ydow n s Sect ion in Cha pt e r 3 C, Financing, of t his Client Guide.
( GG) Pr im a r y M or t ga ge I n su r a n ce Ca n ce lla t ion
The Client has disclosed in writ ing t o t he Borrower t he t erm s and condit ions t hat m ust be
m et prior t o t he prim ary m ort gage insurance being eligible for cancellat ion. A copy of t his
disclosure has been ret ained in t he Loan file as a perm anent record.
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          ( H H ) N o D e ficie n cy I n Escr ow D e posit s or Pa ym e n t s
          The Loan has been serviced by t he Client and any pr edecessor Se r vice r in accordance wit h
          t he t erm s of t he m ort gage Not e and all applicable law. Wit h respect t o escrow deposit s and
          escrow paym ent s, if any, all such paym ent s are in t he possession of, or under t he cont rol of,
          t he Client , and t here exist s no deficiency in connect ion t herewit h for which cust om ary
          arrangem ent s for repaym ent t hereof have not been m ade. No escrow deposit s, escr ow
          paym ent s or ot her charges or paym ent s due t he Client have been capit alized under any
          m ort gage or relat ed m ort gage Not e.
          ( I I ) Loa n Se cu r it iza t ion
          The Client recognizes t hat it is GMAC- RFC’s int ent t o securit ize som e or all of t he Loans sold
          t o GMAC- RFC by t he Client . The Client agrees t o provide GMAC- RFC w it h all such inform at ion
          concerning t he Client generally and, if applicable, t he Client ’s servicing experience, as m ay
          be reasonably request ed by GMAC- RFC for inclusion in a prospect us or privat e placem ent
          m em orandum published in connect ion wit h such securit izat ion.
          I n addit ion, t he Client will cooperat e in a sim ilar m anner wit h GMAC- RFC in connect ion wit h
          any whole Loan sale or ot her disposit ion of any Loan sold t o GMAC- RFC by t he Client . The
          Client agrees t o indem nify and hold GMAC- RFC harm less from and against any loss, dam age,
          penalt y, fine, forfeit ure, court cost , reasonable at t orneys’ fees, j udgm ent , cost , fee, expense
          or liabilit y incurred by GMAC- RFC as a result of any m at erial m isst at em ent in or om ission
          fr om any infor m at ion provided by t he Client t o GMAC- RFC; or fr om any claim , dem and,
          defense or assert ion against or involving GMAC- RFC based on or grounded upon, or result ing
          fr om such m isst at em ent or om ission or a breach of any represent at ion, warrant y or
          obligat ion m ade by GMAC- RFC in reliance upon such m isst at em ent or om ission.
          The Client furt her agrees t o cooperat e fully wit h GMAC- RFC, rat ing agencies, at t or neys, bond
          insurers, purchasers of Loans or any ot her part ies t hat m ay be involved in t he sale or
          securit izat ion of any Loan, including, wit hout lim it at ion, all cooperat ion as m ay be necessary
          in order t o accom m odat e due diligence act ivit y.
          ( JJ) N on - Solicit a t ion
          The Client has not solicit ed or provided inform at ion t o anot her part y for t he purpose of
          solicit ing, and covenant s and agrees t hat it will not solicit or provide inform at ion t o anot her
          part y for t he purpose of solicit ing, t he refinance of any Loan. The t erm “ solicit ” as used
          herein shall m ean a direct request or offer t o refinance a servicing released Loan, and shall
          not include general solicit at ions, advert isem ent s or prom ot ions direct ed t o t he public at
          large.
          ( KK) N o Fr a u d or M isr e pr e se n t a t ion
          No fraud or m isrepr esent at ion by t he Borrow er or by t he Client , broker, correspondent ,
          appr aiser or any independent cont ract or ret ained by t he Client , broker, corr espondent ,
          appr aiser or any em ployee of any of t he foregoing occurred wit h respect t o or in connect ion
          wit h t he originat ion or underwrit ing of any Loan and all inform at ion and docum ent s provided
          t o GMAC- RFC in connect ion wit h t he Loan are com plet e and accurat e.
          ( LL) Ex clu sion a r y List
          No part y involved in t he originat ion of a Loan ( e.g., originat or, broker, t it le com pany,
          appraiser, et c.) was on t he Ex clu sion a r y List on t he dat e t he Loan was originat ed as
          det erm ined by t he dat e of t he prom issory Not e for t hat part icular Loan.
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A206
Integrity of Information
The Client is responsible for credit and propert y underw rit ing regardless of w het her t he
inform at ion was provided by t he Client , an ent it y relat ed t o t he Client or designat ed by t he
Client t o perform t he funct ion. This includes credit inform at ion, appraisals, or ot her
docum ent s/ inform at ion used in t he Loan's evaluat ion.
The Client should t ake all st eps necessary t o ensure t hat each Loan sold t o GMAC- RFC has
been prudent ly originat ed and underwrit t en, and t hat all inform at ion supplied by, on behalf
of, or concerning t he Borrower is t rue, accurat e and com plet e. The Client should ensure t hat
int erest ed part ies are sufficient ly independent from t he Loan t ransact ion and t hat adequat e
organizat ional cont r ols are in place t o ensur e t he independence, validit y and reliabilit y of t he
Loan inform at ion.
I n addit ion, t he Client should im plem ent prudent pract ices when relying on designat ed
agent s ( such as escrow com panies, t it le com panies, et c.) in order t o ensure t hat t hey com ply
wit h it s inst ruct ions and t hat t he int egr it y of t he Loan t ransact ion has been m aint ained.

A207
Third-Party Originators
When relying on t he act ions or services of t hird- part y originat ors, t he Client should est ablish
qualificat ion and eligibilit y st andards. The Client should consider t he funct ions being
perform ed by t he t hird- part y originat or in est ablishing t hese st andards. These st andards
should be review ed periodically t o ensur e ongoing eligibilit y by t he t hird- part y originat or.
The Client is encouraged t o include t he follow ing it em s in form ulat ing it s qualificat ion and
eligibilit y st andar ds and procedures:
    ( 1) Review personnel resum es and references of m anagem ent and Loan originat ion st aff
         ( Loan officers, processors, underwrit ers, closers, et c.)
    ( 2) Est ablish m inim um net wort h requirem ent s and evaluat e t he financial viabilit y of t he
         firm on an ongoing basis
    ( 3) Est ablish m inim um requirem ent s for errors and om issions insurance and fidelit y
         bond coverage and m onit or ongoing com pliance wit h t hese st andards
    ( 4) Docum ent t he relat ionship wit h a cont ract ual agreem ent t hat cont ains specific
         warrant ies relat ed t o each par t y’s responsibilit ies, as well as recourse right s in t he
         event of warrant y violat ions
    ( 5) Review t he per form ance of Loans originat ed by t hird part ies t o evaluat e t rends or
         pat t erns of D e lin qu e n cy
The Client should include a represent at ive, random sam ple of t hird- part y Loans in t he qualit y
cont rol program t hrough bot h pre- and post - closing qualit y cont rol audit s t o ensure t he
qualit y of Loan inform at ion.
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          A208
          Events of Default
          Any one or m ore of t he following event s const it ut e an Eve nt of D e fa u lt :
               ( 1) The Client has not com plied wit h one or m ore of t he requirem ent s ( including any
                    requirem ent out lined in Chapt er 2, Client Eligibilit y) t erm s or condit ions out lined in
                    t his Client Guide or one of t he disqualificat ion, suspension or inact ivat ion event s set
                    fort h in t he D isqu a lifica t ion Su spe n sion or I n a ct iv a t ion Sect ion has occurred or
                    occurs.
               ( 2) The Client has breached any agreem ent out lined or incorporat ed by reference in t he
                    Client Cont ract or any ot her agreem ent bet ween t he Client and GMAC- RFC.
               ( 3) The Client breaches any of t he represent at ions, warrant ies or covenant s set fort h in
                    t his Client Guide, fails t o perform it s obligat ions under t his Client Guide or t he
                    Program Docum ent s, m akes one or m ore m isleading represent at ions, warrant ies or
                    covenant s t o GMAC- RFC, or has failed t o provide GMAC- RFC wit h inform at ion in a
                    t im ely m anner, including inform at ion required under Regulat ion AB or any successor
                    regulat ion, t hat is t rue, com plet e and accurat e.
               ( 4) The Borr ower or any ot her person or ent it y involved in t he Loan t ransact ion or in it s
                    underwrit ing or docum ent at ion ( including any appraiser, broker, t hird- part y
                    originat or, credit report ing agency, or ot her pr ovider of underwrit ing inform at ion)
                    has m ade any false represent at ion and/ or has failed t o provide inform at ion t hat is
                    t r ue, com plet e and accurat e in connect ion w it h such t ransact ion, w het her or not t he
                    Client was a part y t o or had knowledge of such m isr epresent at ion or incorrect
                    inform at ion.
               ( 5) Occurrence of an Event of Se r vice r Default wit h respect t o any Loans serviced by
                    t he Client .
               ( 6) Term inat ion of servicing for cause is a basis for t he Client ’s im m ediat e
                    disqualificat ion or suspension. Act ion t aken by GMAC- RFC t o t erm inat e servicing
                    m ay be m erged wit h an act ion t o disqualify, suspend or inact ivat e t he Client .

          A209
          Remedies of GMAC-RFC
          ( A) N on - Ex clu siv e , Cu m u la t ive Re m e die s
          GMAC- RFC m ay exercise any r em edy out lined in t his Client Guide or as allowed by law or in
          equit y. GMAC- RFC’s exercise of one or m ore rem edies in connect ion wit h a part icular Eve n t
          of D e fa u lt will not prevent it from exercising:
               • One or m or e ot her rem edies in connect ion wit h t he sam e Event of Default
               • Any ot her right s which it m ay have at law or in equit y
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                                                                                                  Covenants
( B) W a ive r of D e fa u lt s
GMAC- RFC m ay waive any default by Client in t he perform ance of Client ’s obligat ions
hereunder and it s consequences, but only by a writ t en waiver specifying t he nat ure and
t erm s of such waiver. No such waiver shall ext end t o any subsequent or ot her default or
im pair any right consequent t heret o, nor shall any delay by GMAC- RFC in exercising, or
failure t o exercise, any right arising from such default affect or im pair GMAC- RFC’s right s as
t o such default or any subsequent default .

( C) Su r v iva l of Re m e die s
GMAC- RFC’s rem edies for breach of t he represent at ions, warrant ies and covenant s shall
survive t he sale and delivery of t he Loan t o GMAC- RFC and funding of t he relat ed purchase
price by GMAC- RFC, and will cont inue in full force and effect for t he rem aining life of t he
Loans, not wit hst anding any t erm inat ion of t his Client Guide and t he relat ed Fu n din g
D ocu m e n t s, or any rest rict ive or qualified endorsem ent on any m ort gage Not e or
assignm ent of m ort gage or Loan approval or ot her exam inat ion of or failur e t o exam ine any
relat ed m ort gage Loan file by GMAC- RFC.

A210
Repurchase
( A) Re pu r ch a se Obliga t ion s
I f GMAC- RFC det erm ines t hat an Ev e n t of D e fa u lt has occurred wit h respect t o a specific
Loan, t he Client agrees t o r epurchase t he Loan and it s servicing ( if t he Loan was sold
servicing released) wit hin 30 days of receiving a repurchase let t er or ot her writ t en
not ificat ion from GMAC- RFC.
I f t he Client discovers an Event of Default , it should give GMAC- RFC prom pt writ t en not ice.
Such not ice should include a writ t en descript ion of t he Event of Default . Upon receipt of t his
not ice, GMAC- RFC will review t hese m at erials and any addit ional inform at ion or
docum ent at ion t hat t he Client believes m ay influence GMAC- RFC’s decision t o requir e
repurchase. I f GMAC- RFC decides t o require repurchase, t he Client shall repurchase t he Loan
and t he servicing ( if t he Loan was sold servicing released) wit hin 30 days aft er GMAC- RFC’s
decision is com m unicat ed t o Client in writ ing.
To expedit e t he wiring of funds t o GMAC- RFC, t he Client should com plet e t he servicing
t ransfer inst ruct ion form provided by GMAC- RFC. GMAC- RFC will send t he form t o t he Client
along wit h t he not ificat ion of repurchase.
GMAC- RFC is not required t o dem and repurchase wit hin any part icular period of t im e, and
m ay elect not t o require im m ediat e repurchase. However, any delay in m aking t his dem and
does not const it ut e a waiver by GMAC- RFC of any of it s right s or rem edies.
Where GMAC- RFC det erm ines t hat repurchase of a Loan and/ or t he servicing is not
appr opriat e, t he Client shall pay GMAC- RFC all losses, cost s and expenses incurred by GMAC-
RFC and/ or t he Loan’s Se r vice r as a result of an Ev e n t of D e fa u lt . This includes all
reasonable at t orneys’ fees and ot her cost s and expenses incurred in connect ion wit h
enforcem ent effort s under t aken.
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          Upon t he Client ’s sat isfact ion of it s repurchase obligat ion, GMAC- RFC will endorse t he Not e
          evidencing t he Loan in blank and w ill deliver it and ot her pert inent Loa n D ocu m e n t s t o t he
          Client . I f GMAC- RFC acquired t it le t o any of t he real propert y securing t he Loan pursuant t o a
          foreclosure sale and has not disposed of such propert y, it w ill t ransfer such propert y t o t he
          Client on a “ quit claim ” basis or, if required by St at e law, a “ warrant y deed” basis. However, if
          GMAC- RFC has disposed of t he real proper t y securing t he Loan, t he Loan Docum ent s will not
          be ret urned t o t he Client unless request ed.
          I f t he Client is also t he Se r vice r of a Loan repurchased by reason of t he occurrence of an
          Event of Default , GMAC- RFC will not reim burse t he Client for any principal, int erest or ot her
          advances m ade by t he Client wit h respect t o t hat Loan.
          I f, for any part icular Loan, Client has com plied wit h it s propert y valuat ion docum ent at ion
          requirem ent s ( as described under Specific Represent at ions, Warrant ies and Covenant s
          Concerning I ndividual Loans in t he Unde r w r it in g; Appr a isa l; Appr a ise r Sect ion) by
          providing a GMAC- RFC Qualified AVM in lieu of an appraisal, where t he Loa n Pr ogr a m t erm s
          perm it t he use of a Qu a lifie d AV M as t he sole docum ent at ion of pr opert y valuat ion
          underlying such Loan, and provided a Qualified AVM was obt ained by Client in good fait h
          direct ly from Qualified AVM Vendors ( See GMAC- RFC Ex h ibit 1 6 G0 5 , Aut om at ed Valuat ion
          Model ( AVM) Approved Vendors) and has been subm it t ed t o GMAC- RFC in it s original,
          unalt ered form as issued by t he Qualified AVM Vendor; t hen, if an Eve n t of D e fa ult relat ed
          t o such Loan arises solely out of t he validit y and accuracy of t he pr opert y valuat ion am ount
          st at ed in t he Qualified AVM, but provided t hat in all ot her aspect s t he Loan was eligible for
          purchase by GMAC- RFC at t he t im e it was subm it t ed for purchase by Client , GMAC- RFC will
          not exercise it s right t o dem and repurchase for such part icular Loan by reason of such
          part icular Event of Default . However, GMAC- RFC m ay cont inue t o exercise it s right t o dem and
          repurchase if GMAC- RFC reasonably believes t hat Client or any t hird part y originat or
          obt ained a Qualified AVM in bad fait h, such as by using a Qualified AVM where Client or t he
          t hird part y originat or had reason t o know t hat t he m ort gaged propert y was m at erially
          different t han t hat described in t he Qualified AVM or t hat t he descript ion in t he Qualified AVM
          should not be considered reliable at t he t im e t he Loan was sold t o GMAC- RFC.

          ( B) Re pu r ch a se Pr ice of Fir st M or t ga ge Pr ogr a m s
          I n t he event t he Client is obligat ed t o repurchase a Loan t he Client m ust pay t o GMAC- RFC a
          repur chase pr ice equal t o t he sum of:
               • The act ual principal balance of t he Loan at t he t im e of repurchase ( if t he Client sold t he
                 Loan t o GMAC- RFC at a discount or a Prem ium , t he repurchase price above will be
                 adj ust ed t o reflect t he act ual principal balance m inus t he discount percent age
                 m ult iplied by t he act ual principal balance, or plus t he Prem ium percent age m ult iplied
                 by t he act ual principal balance, as appr opriat e, including t hat price paid for Se r vicin g
                 Righ t s) , plus
               • All accr ued and unpaid int erest on t he Loan t hrough t he last day of t he m ont h of t he
                 dat e of repurchase; plus
               • All int erest , principal and ot her advances m ade t o invest ors and all out of pocket cost s
                 and expenses of any kind incurred by GMAC- RFC and/ or t he prim ary Se r vice r in
                 connect ion wit h t he Loan, including, but not lim it ed t o, advances for t axes or
                 insurance, and repair, foreclosure and insurance cost s and reasonable at t orneys’ fees;
                 plus
               • The am ount of t he Bu you t Fe e as calculat ed in t he Ex t e n sion a n d Bu you t Fe e s
                 Sect ion of Chapt er 9A, Com m it m ent s; plus
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    • I n t he event t hat GMAC- RFC or any of it s Affilia t e s is required t o repurchase t he Loan
      fr om any subsequent assignee, t hen any addit ional am ount as m ay be required t o
      m ake t he repurchase price t hat t he Client is obligat ed t o pay hereunder equal t o t he
      repurchase pr ice t hat GMAC- RFC or it s Affiliat e is required t o pay t o such subsequent
      assignee; m inus
    • The net am ount of any proceeds r ealized by t he owner of t he Loan upon t he final
      liquidat ion of t he Loan or t he M or t ga ge d Pr e m ise s t o an unrelat ed t hird part y.
The D e signa t e d Se r v ice r will ret urn t o t he Client any escrow funds, unapplied funds and
prepaid principal and int erest inst allm ent s.
GMAC- RFC m ay dem and t hat a Client repurchase, and Client m ust repurchase, a Loan aft er
foreclosure even if t he full am ount of it s out st anding debt was bid on by or on behalf of t he
Loan’s owner t o acquire t he M or t ga ge d Pr e m ise s at t he foreclosure sale. I n t he event t he
Client is obligat ed t o repurchase a Loan aft er foreclosure, t he repurchase price shall be
calculat ed using t he form ula above, however Sch e du le d Pr in cipa l Ba la n ce shall be
subst it ut ed for t he act ual principal balance.

( C) Re pu r ch a se Pr ice of H om e Equ it y Pr ogr a m
I n t he event t he Client is obligat ed t o repurchase a Hom e Equit y Loan, t he Client m ust , upon
repurchase, service such Hom e Equit y Loan. The repurchase price for such Hom e Equit y Loan
shall be equal t o t he sum of:
    • The unpaid pr incipal balance of t he Hom e Equit y Loan
    • All accr ued and unpaid int erest on t he Hom e Equit y Loan
    • The am ount of all fees and/ or purchase Prem ium paid, if any, t o t he Client by GMAC-
      RFC for originat ion of t he Hom e Equit y Loan
    • All fees paid t o any Se r v ice r or sub- servicer of a Hom e Equit y Loan by reason of t he
      t erm inat ion of t hat Servicer ’s or Sub- Servicer ’s right t o service t hat Hom e Equit y Loan
    • All cost s incurred or paid by GMAC- RFC or any Servicer in collect ing or enforcing t he
      Hom e Equit y Loan, including, wit hout lim it at ion, int erest or ot her cost s paid t o bring or
      m aint ain a prior lien current or up t o dat e, cost s t o insure or pay delinquent t axes,
      at t orneys’ fees, court cost s, appraisal and t it le expenses and ot her sim ilar cost s or
      expenses ( collect ively, “ Foreclosure Expenses” )
    • Any addit ional am ount GMAC- RFC or any of it s Affilia t e s is required t o pay t o
      repurchase t he Hom e Equit y Loan from a subsequent assignee
I n lieu of repurchasing a Hom e Equit y Loan t hat has not yet been foreclosed and accept ing
t he servicing of such Hom e Equit y Loan, GMAC- RFC m ay in it s sole discret ion allow Client t o
pay t o GMAC- RFC t he Est im at ed Loss ( as defined below) . Est im at ed Loss, as it relat es t o
each Hom e Equit y Loan subj ect t o repurchase, shall equal t he product of:
120% m ult iplied by t he result of:
    • Repurchase price as calculat ed above, plus
    • Accrued int erest on t he Hom e Equit y Loan t hrough t he dat e GMAC- RFC est im at es t hat
      t he Hom e Equit y Loan will be fully liquidat ed ( which in t he case of a foreclosure, shall
      m ean t he dat e t hat GMAC- RFC est im at es t hat t he M or t ga ge d Pr e m ise s will be sold t o
      a t hird part y and which in any ot her case m eans t he dat e t hat GMAC- RFC est im at es
      t hat all collect ion effort s on t he Hom e Equit y Loan will be abandoned) and est im at ed
      foreclosure and ot her enforcem ent expenses for t he ent ire collect ion process, less
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               • Am ount by which t he current m arket Value of t he Mort gaged Prem ises as det erm ined
                 by GMAC- RFC using valuat ion services provided by an independent t hir d part y exceeds
                 t he current out st anding am ount of indebt edness secured by t he Mort gaged Prem ises
                 t hat is senior t o t he Hom e Equit y Loan.

          ( D ) Re pu r ch a se Pr ice of a Se r vicin g Re le a se d Loa n
          I n t he event t he Client repurchases a Loan for which t he servicing has also been sold t o
          GMAC- RFC, t he Client will also be required t o repurchase t he servicing. I f t he repur chase of
          t he servicing of t he Loan is for any reason ot her t han a breach of t he D e lin qu e n cy Payoff/
          Liquidat ion warrant y cont ained in t he Servicing Released Cha pt e r 8 , t he Client m ust pay t o
          GMAC- RFC a repurchase price equal t o t he original Se r vicin g Re le a se d Pr e m iu m ( SRP)
          percent age m ult iplied by t he act ual unpaid principal balance at t he t im e of repurchase.
          I n no event however, will t he required repurchase Servicing Released Prem ium be gr eat er
          t han t he original Servicing Released Prem ium paid t o t he Client .
          The D e sign a t e d Se r vice r will ret urn t o t he Client any escrow funds, Te m por a r y Bu ydow n
          funds, unapplied funds and prepaid pr incipal and int erest inst allm ent s. The Client will be
          required t o reim burse t he Designat ed Servicer for any delinquent principal and int erest
          advances, and any escrow advances and foreclosure expenses t hey have m ade and not
          recovered on a repurchased Loan.

          ( E) Re pu r ch a se As a Re su lt of Con ve r sion
          The Client ( or, if t he Client has t ransferred servicing of t he Loans, t he Se r vice r ) shall
          repurchase a Loan which has convert ed from an ARM t o a fixed- rat e m ort gage. The Servicer
          m ust subm it t he ARM Conversion Not ificat ion Report no less t han 15 days prior t o t he
          conversion dat e.
          I f t he Client or Servicer repurchases a convert ed Loan and subsequent ly resells t hat
          convert ed Loan t o GMAC- RFC, all t he Client ’s represent at ions and warrant ies wit h respect t o
          t hat Loan shall survive such repurchase and resale. I n addit ion, t he Client shall be subj ect t o
          all right s and rem edies ( including repurchase) available t o GMAC- RFC as a result of any
          m isrepresent at ion or breach of warrant y wit h respect t o t hat Loan pr ior t o conversion.
          The Client shall also subm it t he m odificat ion agreem ent if request ed by GMAC- RFC or it s
          assigns.
          Aft er it s receipt of t he Loan funds, GMAC- RFC will endorse t he Not e t o t he par t y which
          repurchased t he Loan. The Loan will t hen be assigned t o such part y, and all credit
          docum ent at ion will be ret urned. Failure t o subm it t he ARM Conversion Not ificat ion Report in
          a t im ely m anner m ay delay t he receipt of t he endorsed Not e and ot her Le ga l D ocu m e n t s.
          The Se r v ice r shall subm it a Payoff/ Liquidat ion Report and wire t ransfer Loan funds t o t he
          GMAC- RFC Loa n Accou n t in g D e pa r t m e n t no lat er t han t he last Bu sin e ss D a y prior t o t he
          conversion dat e. The Servicer m ust rem it int erest for t he ent ire m ont h preceding t he
          conversion dat e. The Client shall at t ach a copy of t he ARM Conversion Not ificat ion Report .
          I f t he appropriat e am ount is not wired on t im e, GMAC- RFC will charge a lat e paym ent fee.
          This fee will equal t he am ount due m ult iplied by t he “ Pr im e Ra t e ” plus 3% m ult iplied by t he
          num ber of days overdue divided by 365. The t erm “ Prim e Rat e” shall m ean t he highest
          quot ed Prim e Rat e print ed in The Wall St r eet Journal in it s regular colum n “ Money Rat es” on
          t he first Bu sin e ss D a y of t he m ont h in which t he paym ent was due and not paid. I f t he
          Prim e Rat e is not available, GMAC- RFC will det erm ine a com parable rat e.
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( F) Su bst it u t ion
I nst ead of requiring t he Client t o repurchase a Loan as provided above, GMAC- RFC, at it s
sole discret ion, m ay allow t he Client t o subst it ut e anot her Loan sat isfact ory t o GMAC- RFC in
place of t he original Loan, wit hin 10 days of not ificat ion by GMAC- RFC, unless ot herwise
not ified. I f t he subst it ut ed Loan cont ains t erm s different from t hose of t he Loan t hat it is
replacing, a purchase price adj ust m ent will be calculat ed by GMAC- RFC based on m arket
changes and Loan charact erist ics. Every Loan subst it ut ed will be subj ect t o all agreem ent s,
t erm s, condit ions, represent at ions and warrant ies in t his Client Guide as of t he Su bst it u t ion
Date.
I n t he event a Loan is eligible for purchase by GMAC- RFC but t he servicing is ineligible for
purchase by GMAC- RFC, t he Loan will be purchased and t he sale of servicing denied. GMAC-
RFC w ill not allow t he Client t o subst it ut e anot her servicing released Loan.

( G) Cost of Tr a n sfe r Fe e s D ue t o Re pu r cha se
The Client agrees t hat , if it is requir ed t o repurchase a Loan and t he relat ed Servicing, it will
pay all docum ent ary st am p t axes, recording fees, t ransfer t axes and all ot her expenses
payable in connect ion wit h t he repurchase and will indem nify and hold harm less GMAC- RFC
and t he D e signa t e d Se r v ice r against all losses, cost s and expenses, including at t orney
fees, result ing from such requir ed repurchases or t he breach giving rise heret o.

( H ) N ot ice a n d Appe a l
The Client m ay appeal GMAC- RFC’s decision by providing any addit ional inform at ion or
docum ent at ion it believes m ay affect GMAC- RFC’s det erm inat ion.
Send all not ificat ions and appeals t o:
      GMAC- RFC
      One Meridian Crossings
      Suit e 100
      Minneapolis, MN 55423
      At t ent ion: Repurchase Managem ent
Such inform at ion and docum ent at ion m ust be received wit hin 30 days aft er t he Client ’s
receipt of a repurchase let t er or sim ilar writ t en not ificat ion from GMAC- RFC. GMAC- RFC will
review all appeals and advise t he Client in writ ing of t he appeal decision. GMAC- RFC will in it s
sole discret ion det erm ine t he validit y of any appeal filed by t he Client . I f GMAC- RFC’s
decision rem ains firm following an appeal, t he Client shall repurchase t he Loan and it s
servicing ( if t he Loan was sold servicing released) wit hin 10 days of not ificat ion by GMAC-
RFC, in writ ing, t hat t he appeal has been denied.
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   ( 17) The Client or Se r vice r ’s failure t o m aint ain a qualified Loan originat ion, servicing
         and qualit y cont r ol st aff, an accept able ongoing qualit y cont rol program , adequat e
         facilit ies and writ t en policies and procedures t o ensure:
         • The invest m ent qualit y of Loans sold t o GMAC- RFC
         • The adequacy of t he servicing of Loans purchased by GMAC- RFC OR
   ( 18) The failure of t he Client or t he Se r vice r t o m eet any t est as m ay be prescribed for
         eligibilit y,
   ( 19) The det erm inat ion by GMAC- RFC t hat a Client has not delivered an adequat e volum e
         of Loans t o GMAC- RFC.

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Indemnification
The Client shall indem nify GMAC- RFC fr om all losses, dam ages, penalt ies, fines, forfeit ures,
court cost s and reasonable at t orneys’ fees, j udgm ent s, and any ot her cost s, fees and
expenses result ing from any Eve nt of D e fa u lt . This includes, wit hout lim it at ion, liabilit ies
arising from ( i) any act or failure t o act , ( ii) any breach of warrant y, obligat ion or
represent at ion cont ained in t he Client Cont ract , ( iii) any claim , dem and, defense or assert ion
against or involving GMAC- RFC based on or result ing from such breach, ( iv) any breach of
any represent at ion, warrant y or obligat ion m ade by GMAC- RFC in reliance upon any
warrant y, obligat ion or represent at ion m ade by t he Client cont ained in t he Client Cont ract
and ( v) any unt rue st at em ent of a m at erial fact , om ission t o st at e a m at erial fact , or false or
m isleading inform at ion provided by t he Client in inform at ion required under Regulat ion AB or
any successor regulat ion.
I n addit ion, Client shall indem nify GMAC- RFC against any and all losses, dam ages, penalt ies,
fines, forfeit ures, j udgm ent s, and any ot her cost s, fees and expenses ( including court cost s
and reasonable at t orneys’ fees) incurred by GMAC- RFC in connect ion wit h any lit igat ion or
governm ent al proceeding t hat alleges any violat ion of local, St at e or federal law by Client , or
any of it s agent s, or any originat or or broker in connect ion wit h t he originat ion or servicing of
a Loan. Wit h regard t o legal fees or ot her expenses incurr ed by or on behalf of GMAC- RFC in
connect ion wit h any such lit igat ion or governm ent al proceeding, Client shall reim burse
GMAC- RFC for such fees and expenses. Reim bursem ent shall be m ade direct ly t o GMAC- RFC
wit hin t en days of receipt of a request for paym ent , which request shall include copies of t he
relevant invoices. Except for not ices for reim bursem ent , GMAC- RFC is not required t o give
Client not ice of any lit igat ion or governm ent al proceeding t hat m ay t rigger indem nificat ion
obligat ions. Client shall inst ruct it s officers, direct ors and agent s ( including legal counsel) t o
cooperat e wit h GMAC- RFC in connect ion wit h t he defense of any lit igat ion or governm ent al
proceeding involving a Loan. GMAC- RFC has t he right t o cont rol any lit igat ion or
governm ent al proceeding relat ed t o a Loan, including but not lim it ed t o choosing defense
counsel and m aking set t lem ent decisions.
The Client also shall indem nify GMAC- RFC and hold it harm less against all court cost s,
at t orney’s fees and any ot her cost s, fees and expenses incurred by GMAC- RFC in enforcing
t he Client Cont ract . The obligat ions of t he Client under t his Sect ion shall survive t he
D e live r y D a t e , t he Fu n din g D a t e ( and each Su bst it u t ion D a t e , if applicable) and t he
t erm inat ion of t he Client Cont ract and t he disqualificat ion, suspension or inact ivat ion of t he
Client .
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         D9 0 2     N ot ifica t ion of W ir e Tr a n sfe r . . . . . . . . . . . . . . . . . . . . . . . . .       .   .   .   .   .   .   .   .   .   . 9 D .4
         D9 0 3     Pa yoff Pr ior t o Fu n din g D a t e . . . . . . . . . . . . . . . . . . . . . . . . .         .   .   .   .   .   .   .   .   .   . 9 D .5
         D9 0 4     Loa ns Pa id in Fu ll . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       .   .   .   .   .   .   .   .   .   . 9 D .5
         D9 0 5     Fa ilu r e t o Com ply w it h GM AC- RFC Re m it t a nce Re qu ir e m e n t s                       .   .   .   .   .   .   .   .   . 9 D .6



    Chapter 9E Final Documents
         E9 0 0 Su bm ission of Fin a l D ocu m e n t s . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9 E.1
         E9 0 1 Re vie w a n d Acce pt a n ce of Fin a l D ocu m e n t s . . . . . . . . . . . . . . . . . . . . . . . 9 E.2
         E9 0 2 Fu r t h e r Assu r a n ce D ocum e n t s . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9 E.2



    Chapter 10 Definitions

    Chapter 11 Forms & Exhibits
         1 1 0 0 GM AC- RFC For m s & Ex h ibit s . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1 1 .1
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Representations,
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          A201
          Specific Representations, Warranties and Covenants Concerning Client
          ( A) D u e Or ga n iza t ion ; Good St a n ding; Lice n sing
          Client and, t o Client ’s knowledge, Client ’s Guarant or, if applicable, is and shall cont inue t o be
          duly organized, validly exist ing, and in good st anding under t he laws of t he Unit ed St at es or
          under t he laws of t he j urisdict ion in which it was incorporat ed or organized, as applicable,
          and has and shall cont inue t o m aint ain all licenses, regist rat ions, and cert ificat ions necessary
          t o carry on it s business as now being conduct ed, and is and will cont inue t o be licensed,
          qualified, and in good st anding in each St at e where a Mort gaged Propert y is locat ed if t he
          laws of such St at e requir e licensing or qualificat ion in order t o conduct business of t he t ype
          conduct ed by Client 1. Client is and will rem ain in com pliance w it h t he law s of any such St at e,
          and is and will rem ain in good st anding wit h federal aut horit ies, t o t he ext ent necessary t o
          ensure t he enforceabilit y of t he relat ed Loan. Client has disclosed t he final writ t en report s,
          act ions and/ or sanct ions of any and all reviews, invest igat ion, exam inat ions, audit s, act ions
          and/ or sanct ions t hat have been undert aken and/ or im posed, wit hin t w o years prior t o t he
          dat e of t he Client Cont ract , by any federal or St at e agency or inst rum ent alit y wit h respect t o
          eit her t he lending or r elat ed financial operat ions of Client , or t he abilit y of Client t o perform
          in accordance wit h t he Program Docum ent s t erm s. Each of t he represent at ions and
          warrant ies m ade by Client in it s Client Applicat ion is t rue, accurat e, and com plet e, and is
          deem ed t o be rem ade in it s ent iret y, as of t he dat e of t he Client Cont ract , and as of each
          Fu n din g D a t e .
           1
               I n addit ion, if any Loan is secured by m ort gaged propert y locat ed in t he St at e of West Virginia, Client and t he
               originat or of t he Loan is licensed under t he West Virginia Mort gage Loan Act and Client and t he originat or of t he
               Loan held such license at t he t im e t he Loan was originat ed, unless ot herwise exem pt from licensing. Client and
               t he originat or of t he Loan m ust be licensed under t he West Virginia Mort gage Loan Act even if Client and t he
               originat or of t he Loan m akes or offers t o m ake or accept s or offers t o accept or purchases or services in a calendar
               year fewer t han t he num ber of de m inim us prim ary or subordinat e m ort gage Loans specified in t he definit ion of
               “ lender” in W. Va. Code Sect ion 31- 17- 1.

          ( B) Au t h or it y
          Client has and will m aint ain t he full corporat e, part nership or lim it ed liabilit y com pany power
          and aut horit y t o execut e and deliver t he Program Docum ent s and t o perform t he t erm s of
          t his Client Guide. The execut ion, delivery, and perform ance of t he Program Docum ent s and
          t he perform ance of t he t erm s of t his Client Guide by Client , and t he consum m at ion of t he
          t ransact ions cont em plat ed, have been duly and validly aut horized. The Program Docum ent s
          and t his Client Guide evidence Client ’s legal valid, binding, and enforceable obligat ions. All
          requisit e corporat e, part nership or lim it ed liabilit y com pany act ion has been t aken by Client
          t o m ake t he Program Docum ent s and t he t erm s of t his Client Guide valid and binding upon
          Client and enforceable in accordance wit h t heir respect ive t erm s.

          ( C) Or din a r y Cou r se of Bu sin e ss
          The consum m at ion of t he t ransact ions cont em plat ed by t he Program Docum ent s and t he
          Client Guide t erm s are in Client ’s ordinary course of business, and t he t ransfer, assignm ent ,
          and conveyance of t he Mort gage Not es and t he Mort gages by Client , pursuant t o t he Program
          Docum ent s and t he Client Guide t erm s are not subj ect t o t he bulk t ransfer law s or any
          sim ilar st at ut ory provisions in effect in any applicable j urisdict ion.
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                                                                                                     Representations,
                                                                                                     Warranties and
                                                                                                     Covenants
( D ) N o Con flict s
Neit her t he execut ion and delivery of t he Program Docum ent s, t he acquisit ion and/ or m aking
of t he Loans by Client , t he sale of t he Loans t o GMAC- RFC or t he t ransact ions cont em plat ed
t hereby or pursuant t o t his Client Guide, nor t he fulfillm ent of or com pliance wit h t he
Program Docum ent s t erm s and condit ions, will conflict wit h or result in a br each of any of t he
t erm s, condit ions, or provisions of Client 's art icles of incorporat ion, chart er, by- laws,
part nership agreem ent , or ot her organizat ional docum ent , or of any legal rest rict ion or
regulat ory direct ive or any agreem ent or inst r um ent t o which Client is now a part y or by
which it is bound, or const it ut e a default or result in an accelerat ion under any of t he
foregoing, or result in t he violat ion of any law, rule, regulat ion, order, j udgm ent , or decree t o
which Client , or any of it s propert y is subj ect , or im pair t he abilit y of GMAC- RFC t o realize on
any of t he Loans, or im pair t he Value of any of t he Loans.

( E) Abilit y t o Pe r for m
Client has t he abilit y t o perform each and every obligat ion of and/ or sat isfy each and ever y
requirem ent im posed on, Client pursuant t o t he Program Docum ent s and t his Client Guide,
and no offset , count erclaim , or defense exist s t o t he full perfor m ance by Client of t he
requirem ent s of Program Docum ent s and t his Client Guide.

( F) N o Lit iga t ion Pe n din g
There is no act ion, suit , proceeding, inquiry, review, audit , or invest igat ion pending or
t hreat ened against Client t hat , eit her in any one inst ance or in t he aggregat e, m ay r esult in
any m at erial adverse change in t he business, operat ions, financial condit ion, propert ies, or
asset s of Client , or in any m at erial liabilit y on t he part of Client , or which would draw int o
quest ion t he validit y or enforceabilit y of any of t he Program Docum ent s, t his Client Guide, or
t he Loans or of any act ion t aken or t o be t aken in connect ion wit h Client ’s obligat ions
cont em plat ed in any of t he Program Docum ent s or t his Client Guide, or which would be likely
t o im pair m at erially Client ’s abilit y t o perform under t he t erm s of t he Program Docum ent s or
t his Client Guide.

( G) N o Con se n t Re qu ir e d
No consent , approval, aut horit y, or order of any court or governm ent al agency or body is
required for t he execut ion and perfor m ance by Client of, or com pliance by Client wit h, any of
t he Program Docum ent s or t his Client Guide, t he sale of any of t he Loans, or t he
consum m at ion of any of t he t ransact ions cont em plat ed by any of t he Purchase Docum ent s,
or, if required, such uncondit ional approval has been obt ained pr ior t o t he relat ed Fu n din g
Date.

( H ) N o Un t r u e I n for m a t ion
Neit her t he Pr ogram Docum ent s, t he Client Applicat ion, t his Client Guide, nor any st at em ent ,
report , or ot her docum ent furnished or t o be furnished by Client pur suant t o t he Pr ogram
Docum ent s or t his Client Guide, cont ains any unt rue st at em ent of m at er ial fact or om it s t o
st at e a m at erial fact necessary t o m ake t he st at em ent s cont ained t herein not m isleading.
Client m eet s GMAC- RFC’s Eligibilit y St andards, and shall t ake all st eps necessary t o cont inue
t o m eet such Eligibilit y St andards.
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          ( I ) Se cu r it ie s La w
          The Client represent s t hat t he Loans ar e not “ securit ies” under any federal or St at e securit ies
          laws or any rules or regulat ions t hereunder and t hat t he t ransact ions cont em plat ed by t his
          Client Guide do not require regist rat ion under, and are not subj ect t o, any federal or St at e
          securit ies laws or any rules or regulat ions t hereunder.

          ( J) N o Accr u e d Lia bilit ie s
          Except as m ay be ot herwise disclosed by Client t o GMAC- RFC and acknowledged by GMAC-
          RFC in writ ing prior t o t he dat e of t he Client Cont ract , t here are no accrued liabilit ies of
          Client , wit h respect t o any of t he Loans, or circum st ances under which any such accrued
          liabilit ies will arise against GMAC- RFC, as successor t o Client ’s int erest s in and t o t he Loans,
          wit h respect t o any act ion or failure t o act by Client occurring on or prior t o t he Fu n din g
          Date.

          ( K) Or igin a t ion , Se r vicin g
          Client ’s originat ion and servicing of t he Loans have been legal, proper, pr udent , and
          cust om ary and have conform ed t o t he highest st andards of t he resident ial m ort gage
          originat ion and servicing business.

          ( L) Com plia n ce W it h La w s
          Client has com plied wit h, and has not violat ed any law, ordinance, requirem ent , regulat ion,
          rule, or order applicable t o it s business or proper t ies, t he violat ion of which m ight adversely
          affect t he operat ions or financial condit ions of Client , or t he abilit y of Client t o consum m at e
          t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide.

          ( M ) Com plia n ce W it h Pr ogr a m D ocu m e n t s a n d Clie n t Gu ide
          Client will com ply wit h all provisions of t his Client Guide and t he Pr ogram Docum ent s, and
          will pr om pt ly not ify GMAC- RFC of any occur rence, act , or om ission regarding Client , t he
          Loan, t he Mort gaged Propert y or t he Mort gagor of which Client has knowledge, which
          occurrence, act , or om ission m ay m at erially affect Client , t he Loan, t he Mort gaged Propert y,
          or t he Mort gagor.

          ( N ) N o D e fe n se s Aga in st GM AC- RFC
          The Client has no j udgm ent , court order, claim , count erclaim , defense, right of set- off or
          sim ilar right against GMAC- RFC.
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                                                                                                    Covenants

A202
Specific Representations, Warranties and Covenants Concerning Individual Loans
For all Loans, t he Client represent s, warrant s and covenant s t o GMAC- RFC as follows:

( A) Loa n s Ar e Eligible ; Accu r a cy of I n for m a t ion
Each of t he Loans delivered and sold t o GMAC- RFC m eet s t he applicable program t erm s and
crit eria set fort h in t his Client Guide. All inform at ion relat ing t o each Loan delivered and sold
t o GMAC- RFC is t rue, com plet e and accurat e and t here are no om issions of m at erial fact s. All
dat a provided by t he Client t o GMAC- RFC relat ing t o any Loan, w het her in elect ronic form at ,
or ot herwise, is t rue and com plet e and accurat ely reflect s t he inform at ion in t he relat ed Loan
file.

( B) Com plia nce W it h W a r r a n t ie s
The Client is in com pliance wit h, and has t aken all necessary act ion t o ensure t hat each Loan
is in com pliance wit h all represent at ions, warrant ies and requirem ent s cont ained in t his
Client Guide.

( C) Loa n Pr ovision s
The provisions of t he Loan have not been im paired, waived, alt ered or m odified in any
respect , unless appr oved in writ ing by GMAC- RFC. The issuer of any relat ed PMI Policy and
t he t it le insurer have approved t he subst ance of any such waiver, alt erat ion, or m odificat ion
t o t he ext ent required by t he respect ive policies. No Mort gagor has been r eleased, in whole
or in part .

( D ) D ocu m e n t s
All Loa n D ocu m e n t s, Fun din g D ocu m e nt s and Fin a l D ocum e n t s ar e genuine, have been
com plet ed, duly and properly execut ed, are in r ecordable form and delivered in t he for m and
m anner specified in t his Client Guide, and each Loan is t he Mort gagor ’s legal, valid and
binding obligat ion enforceable in accordance wit h it s t erm s. All originals and copies of such
docum ent s and all ot her docum ent s, m at erials, and ot her inform at ion required t o be
subm it t ed t o GMAC- RFC have been so subm it t ed, and are com plet e and accurat e. All Loan
Docum ent s, Funding Docum ent s, Final Docum ent s and all ot her docum ent s describing or
ot herwise relat ing t heret o are in com pliance wit h all applicable local and St at e laws,
regulat ions and orders.
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          ( E) Ow n e r sh ip; Tr a n sfe r
          The Client has good t it le t o and is t he sole owner of, each Loan delivered and sold t o GMAC-
          RFC. Except for t he securit y int erest of a warehouse lender, which securit y int erest Client has
          disclosed t o GMAC- RFC in writ ing, t he assignm ent of t he Loan by t he Client validly t ransfers
          such Loan t o GMAC- RFC free and clear of any pledge, lien or securit y int erest or ot her
          encum brance.
          For each Loan regist er ed wit h M ERS, t he Client represent s t hat ( a) if t he Se cu r it y
          I n st r u m e n t relat ing t o such Loan ident ifies MERS as t he original m ort gagee of record, such
          Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o MERS solely as
          nom inee for t he Client and it s successor s and assigns and t hat such Securit y I nst rum ent has
          been properly execut ed, acknowledged, delivered and recorded in all places necessary t o
          perfect t he securit y int erest on t he M or t ga ge d Pr e m ise s in favor of MERS, solely as
          nom inee for t he Client and it s successors and assigns; or ( b) if t he Loan is regist ered wit h
          MERS, and MERS is not t he original m ort gagee of recor d, an assignm ent t o MERS has been
          prepared, duly execut ed and recorded and t he chain of assignm ent s is com plet e and
          recorded from t he original m ort gagee t o MERS. Client furt her represent s t hat it has com plied
          wit h all rules and procedures of MERS for it s assignm ent of t he Securit y I nst rum ent t o GMAC-
          RFC, including, am ong ot her t hings, t hat t he Client has confirm ed t he t ransfer on MERS t o
          GMAC- RFC.

          ( F) D isbu r se m e n t s; N o Pa yoffs or Fut u r e Adva nce m e nt s
          Each Loan has been closed and fully disbursed, except as perm it t ed in t he Escr ow Accou n t
          for Post pon e d I m pr ove m e nt s/ Re pa ir s Sect ion of t his Client Guide. There are no payoffs,
          assum pt ions or insurance claim s pending on any Loan or pert aining t o t he Mort gaged
          Prem ises and t he Borrower m ay not exercise any opt ion under any of t he Loa n D ocu m e n t s
          t o borrow addit ional funds secured t hereby from t he Client or any ot her person or ent it y
          wit hout t he Not eholder ’s consent .
          Addit ionally, t he Client warrant s t hat t he Client has not m ade arrangem ent s wit h any
          Borrower for any paym ent forbearance or fut ure r efinancing w it h respect t o any Loan.

          ( G) N o D e fa u lt
          There is no default , breach, violat ion or event of accelerat ion exist ing under any Not e or
          Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, and no event exist s which, wit h not ice and
          t he expirat ion of any grace or cure period, w ould const it ut e a default , breach, violat ion or
          event of accelerat ion, and no such default , breach, violat ion or event of accelerat ion has
          been waived by t he Client or by any ot her ent it y involved in originat ing or servicing t he Loan.

          ( H ) N o D e fe n se s
          Except as provided in a buydown or subsidy agreem ent , if any, m eet ing t he requirem ent s set
          fort h in t his Client Guide, t he Borrower ( including any part y secondarily liable under t he
          Loa n D ocu m e n t s) has no right of set- off, defense, count erclaim or right of rescission t o any
          Loan Docum ent .
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                                                                                                    Client Guide
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                                                                                                    Warranties and
                                                                                                    Covenants
( I ) Com plia nce w it h La w
The sale and t ransfer of each Loan t o GMAC- RFC does not violat e any applicable St at e laws.
To t he ext ent t hat any applicable St at e law places any rest rict ions on t he t ransfer of any
Loan, t he Client has not ified GMAC- RFC in writ ing of t hat rest rict ion and any relat ed St at e
licensing or regist rat ion requirem ent s.
The Se cu r it y I n st r u m e n t has been properly execut ed, acknowledged, delivered and
recorded in all places necessary t o perfect t he securit y int erest in t he M or t ga ge d Pr e m ise s
in favor of t he Client and it s successors and assigns. I f a Loan is regist ered wit h M ERS, and
MERS is ident ified on t he Securit y I nst rum ent as t he original m ort gagee of record, Client
represent s t hat such Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o
MERS solely as nom inee for t he Client and it s successors and assigns. I f t he Loan is
regist ered wit h MERS, and MERS is not t he original m ort gagee of recor d, Client repr esent s
t hat an assignm ent t o MERS has been prepared, duly execut ed and recorded and t he chain of
assignm ent s is com plet e and recorded from t he original m ort gagee t o MERS and Client
furt her represent s t hat it has com plied wit h all rules and procedures of MERS for it s
assignm ent of t he Securit y I nst rum ent t o GMAC- RFC, including, am ong ot her t hings, t hat
Client has confirm ed t he t ransfer on MERS t o GMAC- RFC.
Each GMAC- RFC Loan Applicat ion ( Fa n n ie M a e 1003/ Fr e ddie M a c Form 65) was t aken from
t he Borrower and processed for each Loan, and each Loan has been originat ed, closed, and
t ransferred in com pliance wit h all applicable local, St at e and federal laws and regulat ions
including, but not lim it ed t o, t he Real Est at e Set t lem ent Procedures Act , t he Fair Credit
Report ing Act , t he Equal Credit Opport unit y Act , t he Trut h- in- Lending Act , t he Fair Housing
Act , and t he Nat ional Flood I nsurance Act . This warrant y is m ade by t he Client w it h respect
t o each GMAC- RFC Loan Applicat ion t aken and pr ocessed for each Loan and wit h r espect t o
each Loan m ade by t he Client or any ot her ent it y.

( J) Re spon sible Le n din g Re pr e se nt a t ions, W a r r a n t ie s a nd Cove n a n t s
     ( 1 ) D iscon t in u e d Loa n
         No Loan is a “ Discont inued Loan”. Discont inued Loan m eans any of t he following,
         regardless of whet her t he originat or is required by law t o com ply wit h t he law or has
         grounds t o claim preem pt ion from all or par t of t he law.
         ( a ) H OEPA/ Se ct ion 3 2
              A loan considered a “ m or t gage” under Sect ion 152 of t he Hom e Ownership and
              Equit y Prot ect ion Act of 1994, 15 U.S.C. Sect ion 1602 ( aa) and t he relat ed
              regulat ions and com m ent ary prom ulgat ed by t he Federal Reserve Board,
              including Sect ion 226.32 of Tit le 12 of t he Code of Federal Regulat ions, and t he
              official st aff com m ent ary t o t hose regulat ions.
         ( b) Pu r ch a se M on e y Loa n s w it h H igh Poin t s or Fe e s
              A “ purchase m oney” loan secured by t he consum er ’s principal dw elling t hat
              exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
              Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
              by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
              Federal Regulat ions. A “ purchase m oney” loan is a loan t hat is considered a
              “ resident ial m ort gage t ransact ion” under Sect ion 226.2( 24) of Tit le 12 of t he
              Code of Federal Regulat ions.
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                    ( c) H om e Equ it y Lin e s a n d 1 st Lie n Lin e s of Cr e dit Th a t Ex ce e d t h e H OEPA
                         Tr igge r s
                        An open- end line of credit secured by t he consum er ’s principal dwelling t hat
                        exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
                        Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
                        by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
                        Federal Regulat ions. “ Point s and fees” m ust be calculat ed in accordance wit h
                        Sect ion 226.32 of Tit le 12 of t he Code of Regulat ions and t he relat ed
                        com m ent ary prom ulgat ed by t he Federal Reserve Board. The “APR” is t he fully
                        indexed rat e or t he init ial rat e, whichever is great er, at t he t im e of
                        consum m at ion. The “ t ot al loan am ount ” is t he t ot al credit line available under
                        t he t erm s of t he loan, wit hout subt ract ing any am ount s for closing cost s.
                    ( d) St a t e a n d Loca l H igh Cost Loa n s
                        A loan considered a “ high- cost ,” covered, “ high- risk,” “ predat ory” or any ot her
                        sim ilar designat ion under any St at e or local law in effect at t he t im e of t he
                        closing of t he loan if t he law im poses great er rest rict ions or addit ional legal
                        liabilit y for resident ial m ort gage loans wit h high int erest rat es, point s and/ or
                        fees.
                    ( e ) Ce r t a in Ge or gia H om e Loa ns
                        A “ hom e loan” under t he Georgia Fair Lending Act , Ga. Code Ann. Sect ion 7- 6A-
                        1 et . seq. t hat becam e effect ive on Oct ober 1, 2002 ( t he “Act ” ) , if t he
                        Com m it m ent was issued on or aft er February 1, 2003 and t he loan was closed
                        on or before March 7, 2003.
                    ( f) Ce r t a in N e w Je r se y H om e Loa ns
                        A “ hom e loan” under t he New Jersey Hom e Ownership Securit y Act of 2002 ( t he
                        “Act ” ) , N.J.S.A. 46: 10B- 22 et seq. if t he loan is:
                            • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
                            • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                            • A “ hom e loan” t hat is an open- end line of credit ;
                            • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                              out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
                    ( g) Ce r t a in N e w M e x ico H om e Loa n s
                        A “ hom e loan” under t he New Mexico Hom e loan Prot ect ion Act ( t he “Act ” ) , t hat
                        was closed on or aft er February 1, 2004, and on or before February 26, 2004, if
                        t he loan is:
                            • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
                            • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                            • A “ hom e loan” t hat is an open- end line of credit ;
                            • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                              out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
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    ( 2 ) M a n da t or y Ar bit r a t ion Cla u se
         A Loan m ay not include a m andat ory arbit rat ion clause. Any arbit rat ion agreem ent
         signed by t he Borrower prior t o t he t im e of a disput e is prohibit ed.
    ( 3 ) Pr oh ibit e d Te r m s a n d Pr a ct ice s on a ll Loa n s sold t o GM AC- RFC
         A Loan m ay not violat e any of t he following pr ohibit ed t er m s and pract ices:
         ( a) Pr e - pa id in su r a n ce pr odu ct s. No Loan finances single prem ium credit life,
              credit disabilit y, credit unem ploym ent , or any ot her pre- paid life or healt h
              insurance, direct ly or indirect ly.
         ( b) Pr e pa ym e n t pe n a lt ie s. A Loan m ay not provide for a penalt y for paying all or
              part of t he principal before t he dat e on which t he principal is due except as set
              fort h in t his paragraph and ot herwise allowed by applicable federal, St at e, and
              local law.
                  • The penalt y m ay be enforced for only t he first five years following
                    consum m at ion;
                  • The penalt y does not exceed 6 m ont hs of int erest on t he am ount prepaid or
                    6% of t he am ount prepaid; and
                  • The prepaym ent penalt y does not becom e due upon default
         ( c) Re por t in g t o cr e dit bur e a u s. Client or it s Se r vice r m ust report t o a nat ionally
              recognized consum er credit report ing agency at least quart erly t he favorable
              and unfavorable paym ent hist ory inform at ion of Borrower on paym ent s due t o
              Client on a Loan for t he period during which Client holds or services t he Loan.
              This paragraph shall not pr event Client or it s Servicer from not report ing specific
              paym ent hist ory inform at ion in t he event of a resolved or unresolved disput e
              wit h Borrower and shall not apply t o Loans held or serviced by Client for less
              t han 90 days.
         ( d) I n cr e a se d in t e r e st r a t e u pon de fa u lt . A Loan m ay not provide for an
              increase in t he int erest rat e aft er default .

( K) Tit le I n su r a n ce
A policy of t it le insurance, in t he form and am ount required by t his Client Guide, is effect ive
as of t he day t he Se cu r it y I n st r u m e n t is recorded, is valid and binding, is in conform ance
wit h all agency guidelines and rem ains in full force and effect , unless t he M or t ga ge d
Pr e m ise s are locat ed in t he St at e of I owa and a Tit le Guarant y Cert ificat e issued by t he
I owa Tit le Guarant y Division of t he I owa Finance Aut horit y has been provided as described in
Tit le Guarant y Cert ificat e I n I owa below.

( L) Tit le Gu a r a n t y Ce r t ifica t e I n I ow a
As t o each Loan secured by Mort gaged Prem ises locat ed in t he St at e of I owa, and if an
Am erican Land Tit le Associat ion ( ALTA) Loan policy of t it le insurance has not been provided,
a Tit le Guarant y Cert ificat e issued by t he I owa Tit le Guarant y Division of t he I owa Finance
Aut horit y, in t he form and am ount required by t his Client Guide, duly delivered and effect ive
as of t he closing of each such Loan, is valid and binding, and rem ains in full force and effect .
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          ( M ) Va lid Fir st Lie n s
          Each Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, unless provided for ot herwise in a
          given Loa n Pr ogr a m , const it ut es a valid first lien on t he M or t ga ge d Pr e m ise s subj ect only
          t o t he m inor im pedim ent s described in t he Tit le I n su r a n ce Sect ion of t his Chapt er, and
          such im pedim ent s do not adversely affect t he Value, use, enj oym ent or m arket abilit y of t he
          Mort gaged Prem ises. Each Securit y I nst rum ent and all relat ed docum ent s ( including, wit hout
          lim it at ion, releases of prior Securit y I nst rum ent s, assum pt ion agreem ent s, assignm ent s,
          am endm ent s, powers of at t orney, and m odificat ion, ext ension and consolidat ion
          agreem ent s) t hat ar e required t o be recorded or filed under applicable law in order t o
          preserve in favor of GMAC- RFC t he validit y and enforceabilit y of t he Securit y I nst rum ent and
          t he liens cr eat ed t her eby, have been duly r ecorded in all appropriat e recording offices, and all
          associat ed recording fees or t axes m ust be paid.

          ( N ) N o En cr oa ch m e n t s By Adj oin in g Pr ope r t ie s; I m pr ov e m e n t s
          No im provem ent s by adj oining pr opert ies encroach upon t he Mort gaged Prem ises in any
          respect so as t o affect t he Value or m arket abilit y of t he Mort gaged Prem ises. No
          im provem ent locat ed on or being part of t he Mort gaged Propert y is in violat ion of any
          applicable zoning law or regulat ion.

          ( O) Su r v e y
          All im provem ent s which were considered in det erm ining t he appraised Value of t he
          M or t ga ge d Pr e m ise s lie wholly wit hin it s boundaries and t he building rest rict ion lines of t he
          Mort gaged Prem ises, or t he policy of t it le insurance insures against loss or dam age by reason
          of any violat ion, variat ion, encroachm ent or adverse circum st ance t hat eit her is disclosed or
          would have been disclosed by an accurat e survey.

          ( P) N o Lie n s
          There are no delinquent t ax or delinquent assessm ent liens against t he Mort gaged Prem ises,
          and t here are no m echanic’s liens or claim s for w ork, labor or m at erial or any ot her liens
          affect ing t he Mort gaged Prem ises, which are or m ay be a lien prior t o, or equal wit h, t he lien
          of t he Se cu r it y I n st r u m e n t assigned t o GMAC- RFC, except t hose liens t hat are insured
          against by t he policy of t it le insurance or Tit le Guarant y Cert ificat e issued by t he I owa Tit le
          Guarant y Division.

          ( Q) N o Adve r se Cir cu m st a n ce s
          The Mort gaged Prem ises are free of dam age and in good repair, and no not ice of
          condem nat ion has been given wit h respect t heret o, and no circum st ances exist involving t he
          Loa n D ocu m e n t s, t he M or t ga ge d Pr e m ise s or t he Borrow er ’s credit st anding t hat could:
          ( i) cause privat e inst it ut ional invest ors t o regard t he Loan as an unaccept able invest m ent ,
          ( ii) cause t he Loan t o becom e delinquent , or ( iii) adversely affect t he Value or m arket abilit y
          of t he Mort gaged Prem ises or t he Loan. The Client warrant s t hat it neit her has act ual
          knowledge of t he presence of, nor reasonable gr ounds t o suspect t he presence of, any t oxic
          m at erials or ot her environm ent al hazards on, in or t hat could affect any of t he Mort gaged
          Prem ises. The Client warrant s com pliance wit h local, St at e or federal law or regulat ion
          designed t o pr ot ect t he healt h and safet y of t he occupant s of t he propert y.
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( R) Ca su a lt y I n su r a n ce
The im provem ent s upon t he M or t ga ge d Pr e m ise s are insured against loss by fir e and ot her
hazards as required by t his Client Guide, including flood insurance if required under t he
Nat ional Flood I nsurance Act of 1968, as am ended. The Se cu r it y I n st r u m e n t r equires t he
Borrower t o m aint ain such casualt y insurance at t he Borrower ’s expense, or on t he
Borrower ’s failure t o do so, aut horizes t he holder of t he Securit y I nst rum ent t o obt ain and
m aint ain such insurance at t he Borrower ’s expense and t o seek reim bursem ent from t he
Borrower. Each casualt y policy is t he insurer ’s valid and binding obligat ion, is in full force and
effect , and w ill be in full force and effect , t o GMAC- RFC’s benefit upon t he consum m at ion of
t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide. The Loan
t erm s per m it t he m aint enance of an escrow account t o pay t he Prem ium s for t he above
m ent ioned insurance, and t he Client has not waived t he requirem ent of such escrow account
unless perm it t ed by GMAC- RFC or requir ed by applicable law.

( S) Pr im a r y M or t ga ge I n su r a n ce
I f requir ed by t his Client Guide, prim ar y m ort gage insurance has been obt ained, t he
Prem ium has been paid, and t he m ort gage insurance coverage is in full force and effect
m eet ing t he requirem ent s of t his Client Guide.

( T) Un de r w r it in g; Appr a isa l; Appr a ise r
The Loan is of invest m ent qualit y, has been prudent ly originat ed and has been underwrit t en
in com pliance wit h all requirem ent s of t his Client Guide.
For each Loan for w hich an appraisal is required or obt ained under t his Client Guide, t he
appraisal was m ade by an appraiser who m eet s t he m inim um qualificat ions for appraisers as
specified in t his Client Guide. For each Loan, as of t he Fu n din g D a t e , t he m arket Value of
t he M or t ga ge d Pr e m ise s is at least equal t o t he appraised Value st at ed on t he Loan
appraisal, or if an Au t om a t e d V a lu a t ion M ode l ( AV M ) is perm it t ed, t he Value on t he AVM,
except t o t he ext ent t hat t he m arket Value of t he Mort gaged Prem ises is low er t han t he
appraised or AVM Value due t o t he effect of any t oxic m at erials or ot her environm ent al
hazards of which neit her t he appraiser nor t he Client has act ual knowledge or reasonable
grounds t o suspect .
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          ( U) En for ce a bilit y; En for ce m e n t Pr ov ision s
          Each Not e and Se cu r it y I n st r u m e n t const it ut es a legal, valid and binding obligat ion of t he
          Borrower enforceable in accordance wit h it s t erm s except as lim it ed by bankrupt cy,
          insolvency or ot her sim ilar laws affect ing generally t he enfor cem ent of credit or s’ right s.
          Each Securit y I nst rum ent cont ains cust om ary and enfor ceable provisions which render t he
          right s and rem edies of t he holder adequat e t o realize t he benefit s of t he securit y against t he
          M or t ga ge d Pr e m ise s, including: ( i) in t he case of a Securit y I nst rum ent designat ed as a
          deed of t rust , by t rust ee's sale, ( ii) by sum m ary foreclosure, if available under applicable
          law; and ( iii) ot herwise by foreclosure, and t here are no hom est ead or ot her exem pt ions or
          dower, court esy or ot her right s or int erest s available t o t he Bor rower or t he Bor rower ’s
          spouse, survivors or est at e or any ot her person or ent it y t hat would, or could, int erfere wit h
          such right t o sell at a t rust ee’s sale or t o foreclose. The Secur it y I nst rum ent and any rider s t o
          t he Securit y I nst rum ent m ust be signed by any person wit h an act ual or pot ent ial int erest in
          t he pr opert y. Tit le holders have an act ual int erest in t he propert y and m ust sign t he Securit y
          I nst rum ent and r iders. Non- Borrowing spouses who are not in t it le m ay have an act ual or
          pot ent ial int erest in t he propert y under St at e law and m ay be required t o sign t he Securit y
          I nst rum ent and rider in som e St at es in order for t he holder of t he Securit y I nst rum ent t o
          obt ain, prot ect and enforce it s lien. The Client will obt ain t he signat ure of t he non- Borrowing
          spouse on t he Securit y I nst rum ent and riders or ot her docum ent at ion, as allowed by law, if
          such signat ure is necessary t o prot ect t he int erest of t he holder of t he Securit y I nst rum ent .

          ( V ) H olde r - I n - D u e - Cou r se
          The Client is t he owner and holder- in- due- course of each Not e and is nam ed as m ort gagee/
          beneficiary or assignee under each Se cu r it y I n st r u m e n t , and all Loa n D ocum e n t s
          requiring execut ion have been appropriat ely execut ed, wit nessed or not arized by t he persons
          whose nam es appear as signat ories and wit nesses, or, as appropriat e, not aries who
          const it ut e t he valid and binding legal obligat ion of t he Borrower, enforceable in accordance
          wit h t heir respect ive t erm s. Not wit hst anding t he foregoing, wit h respect t o adj ust able- rat e
          m ort gage Loans ( ARMs) , t he Client repr esent s and warrant s t hat t here are no claim s t o t he
          Not e on t he part of any person or defenses of any part y t o t he Not e ot her t han t hose t hat
          validly could be raised against a holder- in- due- course.

          ( W ) Tr u st e e D e signa t e d
          Wit h respect t o each Se cu r it y I n st r u m e n t t hat is a deed of t rust , a t rust ee duly qualified
          under applicable law t o serve as such is properly nam ed, designat ed and serving.

          ( X ) N o Fe e s D ue Tr u st e e
          Except in connect ion wit h a t rust ee’s sale aft er default by t he Borrower, no fees or expenses
          are payable by t he Client or GMAC- RFC t o t he t rust ee under any Securit y I nst rum ent t hat is
          a deed of t rust .

          ( Y) Ex e cut ion of D ocum e n t s
          All agreem ent s, cont ract s, assignm ent s, endorsem ent s and issuances of checks or draft s,
          report s, Loa n D ocu m e n t s or ot her papers relat ed t o a Loan t hat are required by t his Client
          Guide t o be execut ed by t he Client have been properly execut ed by an officer on behalf of
          t he Client pursuant t o a duly adopt ed Resolut ion of Board of Direct ors.
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                                                                                                    Covenants
( Z) Le a se h olds
Where perm it t ed by t he applicable Loa n Pr ogr a m , each Mort gaged Prem ises involving a
Le a se h old est at e com plies wit h t he applicable Leasehold warrant ies set fort h in t his Client
Guide.
( AA) Con dom in iu m s; Pla n n e d Un it D e v e lopm e n t s ( PUD s)
Each M or t ga ge d Pr e m ise s t hat is a unit in a condom inium or PUD com plies wit h t he
applicable condom inium or PUD warrant ies set fort h in t his Client Guide.
( BB) Com plia n ce By Ot h e r s
When a person or ent it y: ( i) originat es a Loan on behalf of a Client , ( ii) originat es a Loan on
it s own behalf and sells it t o a Client , or ( iii) perform s any act for a Client which t he Client is
required t o perform under t his Client Guide, t he Client warrant s t hat such person or ent it y
has com plied wit h all requir em ent s of t his Client Guide wit h respect t o all such Loans and
act s.
( CC) Clie n t Con t r a ct W a r r a n t ie s
The represent at ions and warrant ies m ade at t he t im e of t he Client ’s execut ion of t he Client
Cont ract m ust rem ain t rue, correct and com plet e.
( D D ) Clie n t a n d Or igin a t or s
Each Jum bo A, Expanded Crit er ia or Paym ent Opt ion Loan was originat ed by ( i) a savings and
loan associat ion, savings bank, com m ercial bank, credit union, insurance com pany or sim ilar
banking inst it ut ion which is supervised by a federal or St at e aut horit y, or ( ii) a HUD approved
non- supervised or cor respondent m ort gagee.
I f t he Client sells Loans t o GMAC- RFC which are regist ered wit h M ERS or as t o which MERS is
t he m ort gagee on t he Se cu r it y I n st r u m e n t , t he Client is a m em ber of MERS, in good
st anding and current in paym ent of all fees and assessm ent s im posed by MERS.
( EE) N o I m pa ir m e n t of I n su r a n ce
No act ion, er ror, om ission, m isrepresent at ion, negligence, fraud or sim ilar occurrence in
respect of a Loan has t aken place on t he part of any person, including, wit hout lim it at ion, t he
Borrower, any appraiser, any builder or developer or any part y involved in t he originat ion of
t he Loan or in t he applicat ion of any insurance in relat ion t o such Loan t hat m ight result in a
denial, cont est ing, failure or im pairm ent of full and t im ely coverage under any insurance
policies requir ed t o be obt ained or any pool insurance policy covering such Loan.
( FF) Te m por a r y Buy dow ns
Where perm it t ed by t he applicable Loa n Pr ogr a m , each Te m por a r y Buy dow n Loan
delivered t o GMAC- RFC was ent ered int o pursuant t o a buydown agreem ent which com plies
wit h t he Te m por a r y Bu ydow n s Sect ion in Cha pt e r 3 C, Financing, of t his Client Guide.
( GG) Pr im a r y M or t ga ge I n su r a n ce Ca n ce lla t ion
The Client has disclosed in writ ing t o t he Borrower t he t erm s and condit ions t hat m ust be
m et prior t o t he prim ary m ort gage insurance being eligible for cancellat ion. A copy of t his
disclosure has been ret ained in t he Loan file as a perm anent record.
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          ( H H ) N o D e ficie n cy I n Escr ow D e posit s or Pa ym e n t s
          The Loan has been serviced by t he Client and any pr edecessor Se r vice r in accordance wit h
          t he t erm s of t he m ort gage Not e and all applicable law. Wit h respect t o escrow deposit s and
          escrow paym ent s, if any, all such paym ent s are in t he possession of, or under t he cont rol of,
          t he Client , and t here exist s no deficiency in connect ion t herewit h for which cust om ary
          arrangem ent s for repaym ent t hereof have not been m ade. No escrow deposit s, escr ow
          paym ent s or ot her charges or paym ent s due t he Client have been capit alized under any
          m ort gage or relat ed m ort gage Not e.
          ( I I ) Loa n Se cu r it iza t ion
          The Client recognizes t hat it is GMAC- RFC’s int ent t o securit ize som e or all of t he Loans sold
          t o GMAC- RFC by t he Client . The Client agrees t o provide GMAC- RFC w it h all such inform at ion
          concerning t he Client generally and, if applicable, t he Client ’s servicing experience, as m ay
          be reasonably request ed by GMAC- RFC for inclusion in a prospect us or privat e placem ent
          m em orandum published in connect ion wit h such securit izat ion.
          I n addit ion, t he Client will cooperat e in a sim ilar m anner wit h GMAC- RFC in connect ion wit h
          any whole Loan sale or ot her disposit ion of any Loan sold t o GMAC- RFC by t he Client . The
          Client agrees t o indem nify and hold GMAC- RFC harm less from and against any loss, dam age,
          penalt y, fine, forfeit ure, court cost , reasonable at t orneys’ fees, j udgm ent , cost , fee, expense
          or liabilit y incurred by GMAC- RFC as a result of any m at erial m isst at em ent in or om ission
          fr om any infor m at ion provided by t he Client t o GMAC- RFC; or fr om any claim , dem and,
          defense or assert ion against or involving GMAC- RFC based on or grounded upon, or result ing
          fr om such m isst at em ent or om ission or a breach of any represent at ion, warrant y or
          obligat ion m ade by GMAC- RFC in reliance upon such m isst at em ent or om ission.
          The Client furt her agrees t o cooperat e fully wit h GMAC- RFC, rat ing agencies, at t or neys, bond
          insurers, purchasers of Loans or any ot her part ies t hat m ay be involved in t he sale or
          securit izat ion of any Loan, including, wit hout lim it at ion, all cooperat ion as m ay be necessary
          in order t o accom m odat e due diligence act ivit y.
          ( JJ) N on - Solicit a t ion
          The Client has not solicit ed or provided inform at ion t o anot her part y for t he purpose of
          solicit ing, and covenant s and agrees t hat it will not solicit or provide inform at ion t o anot her
          part y for t he purpose of solicit ing, t he refinance of any Loan. The t erm “ solicit ” as used
          herein shall m ean a direct request or offer t o refinance a servicing released Loan, and shall
          not include general solicit at ions, advert isem ent s or prom ot ions direct ed t o t he public at
          large.
          ( KK) N o Fr a u d or M isr e pr e se n t a t ion
          No fraud or m isrepr esent at ion by t he Borrow er or by t he Client , broker, correspondent ,
          appr aiser or any independent cont ract or ret ained by t he Client , broker, corr espondent ,
          appr aiser or any em ployee of any of t he foregoing occurred wit h respect t o or in connect ion
          wit h t he originat ion or underwrit ing of any Loan and all inform at ion and docum ent s provided
          t o GMAC- RFC in connect ion wit h t he Loan are com plet e and accurat e.
          ( LL) Ex clu sion a r y List
          No part y involved in t he originat ion of a Loan ( e.g., originat or, broker, t it le com pany,
          appraiser, et c.) was on t he Ex clu sion a r y List on t he dat e t he Loan was originat ed as
          det erm ined by t he dat e of t he prom issory Not e for t hat part icular Loan.
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A206
Integrity of Information
The Client is responsible for credit and propert y underw rit ing regardless of w het her t he
inform at ion was provided by t he Client , an ent it y relat ed t o t he Client or designat ed by t he
Client t o perform t he funct ion. This includes credit inform at ion, appraisals, or ot her
docum ent s/ inform at ion used in t he Loan's evaluat ion.
The Client should t ake all st eps necessary t o ensure t hat each Loan sold t o GMAC- RFC has
been prudent ly originat ed and underwrit t en, and t hat all inform at ion supplied by, on behalf
of, or concerning t he Borrower is t rue, accurat e and com plet e. The Client should ensure t hat
int erest ed part ies are sufficient ly independent from t he Loan t ransact ion and t hat adequat e
organizat ional cont r ols are in place t o ensur e t he independence, validit y and reliabilit y of t he
Loan inform at ion.
I n addit ion, t he Client should im plem ent prudent pract ices when relying on designat ed
agent s ( such as escrow com panies, t it le com panies, et c.) in order t o ensure t hat t hey com ply
wit h it s inst ruct ions and t hat t he int egr it y of t he Loan t ransact ion has been m aint ained.

A207
Third-Party Originators
When relying on t he act ions or services of t hird- part y originat ors, t he Client should est ablish
qualificat ion and eligibilit y st andards. The Client should consider t he funct ions being
perform ed by t he t hird- part y originat or in est ablishing t hese st andards. These st andards
should be review ed periodically t o ensur e ongoing eligibilit y by t he t hird- part y originat or.
The Client is encouraged t o include t he follow ing it em s in form ulat ing it s qualificat ion and
eligibilit y st andar ds and procedures:
    ( 1) Review personnel resum es and references of m anagem ent and Loan originat ion st aff
         ( Loan officers, processors, underwrit ers, closers, et c.)
    ( 2) Est ablish m inim um net wort h requirem ent s and evaluat e t he financial viabilit y of t he
         firm on an ongoing basis
    ( 3) Est ablish m inim um requirem ent s for errors and om issions insurance and fidelit y
         bond coverage and m onit or ongoing com pliance wit h t hese st andards
    ( 4) Docum ent t he relat ionship wit h a cont ract ual agreem ent t hat cont ains specific
         warrant ies relat ed t o each par t y’s responsibilit ies, as well as recourse right s in t he
         event of warrant y violat ions
    ( 5) Review t he per form ance of Loans originat ed by t hird part ies t o evaluat e t rends or
         pat t erns of D e lin qu e n cy
The Client should include a represent at ive, random sam ple of t hird- part y Loans in t he qualit y
cont rol program t hrough bot h pre- and post - closing qualit y cont rol audit s t o ensure t he
qualit y of Loan inform at ion.
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          A208
          Events of Default
          Any one or m ore of t he following event s const it ut e an Eve nt of D e fa u lt :
               ( 1) The Client has not com plied wit h one or m ore of t he requirem ent s ( including any
                    requirem ent out lined in Chapt er 2, Client Eligibilit y) t erm s or condit ions out lined in
                    t his Client Guide or one of t he disqualificat ion, suspension or inact ivat ion event s set
                    fort h in t he D isqu a lifica t ion Su spe n sion or I n a ct iv a t ion Sect ion has occurred or
                    occurs.
               ( 2) The Client has breached any agreem ent out lined or incorporat ed by reference in t he
                    Client Cont ract or any ot her agreem ent bet ween t he Client and GMAC- RFC.
               ( 3) The Client breaches any of t he represent at ions, warrant ies or covenant s set fort h in
                    t his Client Guide, fails t o perform it s obligat ions under t his Client Guide or t he
                    Program Docum ent s, m akes one or m ore m isleading represent at ions, warrant ies or
                    covenant s t o GMAC- RFC, or has failed t o provide GMAC- RFC wit h inform at ion in a
                    t im ely m anner, including inform at ion required under Regulat ion AB or any successor
                    regulat ion, t hat is t rue, com plet e and accurat e.
               ( 4) The Borr ower or any ot her person or ent it y involved in t he Loan t ransact ion or in it s
                    underwrit ing or docum ent at ion ( including any appraiser, broker, t hird- part y
                    originat or, credit report ing agency, or ot her pr ovider of underwrit ing inform at ion)
                    has m ade any false represent at ion and/ or has failed t o provide inform at ion t hat is
                    t r ue, com plet e and accurat e in connect ion w it h such t ransact ion, w het her or not t he
                    Client was a part y t o or had knowledge of such m isr epresent at ion or incorrect
                    inform at ion.
               ( 5) Occurrence of an Event of Se r vice r Default wit h respect t o any Loans serviced by
                    t he Client .
               ( 6) Term inat ion of servicing for cause is a basis for t he Client ’s im m ediat e
                    disqualificat ion or suspension. Act ion t aken by GMAC- RFC t o t erm inat e servicing
                    m ay be m erged wit h an act ion t o disqualify, suspend or inact ivat e t he Client .

          A209
          Remedies of GMAC-RFC
          ( A) N on - Ex clu siv e , Cu m u la t ive Re m e die s
          GMAC- RFC m ay exercise any r em edy out lined in t his Client Guide or as allowed by law or in
          equit y. GMAC- RFC’s exercise of one or m ore rem edies in connect ion wit h a part icular Eve n t
          of D e fa u lt will not prevent it from exercising:
               • One or m or e ot her rem edies in connect ion wit h t he sam e Event of Default
               • Any ot her right s which it m ay have at law or in equit y
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( B) W a ive r of D e fa u lt s
GMAC- RFC m ay waive any default by Client in t he perform ance of Client ’s obligat ions
hereunder and it s consequences, but only by a writ t en waiver specifying t he nat ure and
t erm s of such waiver. No such waiver shall ext end t o any subsequent or ot her default or
im pair any right consequent t heret o, nor shall any delay by GMAC- RFC in exercising, or
failure t o exercise, any right arising from such default affect or im pair GMAC- RFC’s right s as
t o such default or any subsequent default .

( C) Su r v iva l of Re m e die s
GMAC- RFC’s rem edies for breach of t he represent at ions, warrant ies and covenant s shall
survive t he sale and delivery of t he Loan t o GMAC- RFC and funding of t he relat ed purchase
price by GMAC- RFC, and will cont inue in full force and effect for t he rem aining life of t he
Loans, not wit hst anding any t erm inat ion of t his Client Guide and t he relat ed Fu n din g
D ocu m e n t s, or any rest rict ive or qualified endorsem ent on any m ort gage Not e or
assignm ent of m ort gage or Loan approval or ot her exam inat ion of or failur e t o exam ine any
relat ed m ort gage Loan file by GMAC- RFC.

A210
Repurchase
( A) Re pu r ch a se Obliga t ion s
I f GMAC- RFC det erm ines t hat an Ev e n t of D e fa u lt has occurred wit h respect t o a specific
Loan, t he Client agrees t o r epurchase t he Loan and it s servicing ( if t he Loan was sold
servicing released) wit hin 30 days of receiving a repurchase let t er or ot her writ t en
not ificat ion from GMAC- RFC.
I f t he Client discovers an Event of Default , it should give GMAC- RFC prom pt writ t en not ice.
Such not ice should include a writ t en descript ion of t he Event of Default . Upon receipt of t his
not ice, GMAC- RFC will review t hese m at erials and any addit ional inform at ion or
docum ent at ion t hat t he Client believes m ay influence GMAC- RFC’s decision t o requir e
repurchase. I f GMAC- RFC decides t o require repurchase, t he Client shall repurchase t he Loan
and t he servicing ( if t he Loan was sold servicing released) wit hin 30 days aft er GMAC- RFC’s
decision is com m unicat ed t o Client in writ ing.
To expedit e t he wiring of funds t o GMAC- RFC, t he Client should com plet e t he servicing
t ransfer inst ruct ion form provided by GMAC- RFC. GMAC- RFC will send t he form t o t he Client
along wit h t he not ificat ion of repurchase.
GMAC- RFC is not required t o dem and repurchase wit hin any part icular period of t im e, and
m ay elect not t o require im m ediat e repurchase. However, any delay in m aking t his dem and
does not const it ut e a waiver by GMAC- RFC of any of it s right s or rem edies.
Where GMAC- RFC det erm ines t hat repurchase of a Loan and/ or t he servicing is not
appr opriat e, t he Client shall pay GMAC- RFC all losses, cost s and expenses incurred by GMAC-
RFC and/ or t he Loan’s Se r vice r as a result of an Ev e n t of D e fa u lt . This includes all
reasonable at t orneys’ fees and ot her cost s and expenses incurred in connect ion wit h
enforcem ent effort s under t aken.
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          Upon t he Client ’s sat isfact ion of it s repurchase obligat ion, GMAC- RFC will endorse t he Not e
          evidencing t he Loan in blank and w ill deliver it and ot her pert inent Loa n D ocu m e n t s t o t he
          Client . I f GMAC- RFC acquired t it le t o any of t he real propert y securing t he Loan pursuant t o a
          foreclosure sale and has not disposed of such propert y, it w ill t ransfer such propert y t o t he
          Client on a “ quit claim ” basis or, if required by St at e law, a “ warrant y deed” basis. However, if
          GMAC- RFC has disposed of t he real proper t y securing t he Loan, t he Loan Docum ent s will not
          be ret urned t o t he Client unless request ed.
          I f t he Client is also t he Se r vice r of a Loan repurchased by reason of t he occurrence of an
          Event of Default , GMAC- RFC will not reim burse t he Client for any principal, int erest or ot her
          advances m ade by t he Client wit h respect t o t hat Loan.
          I f, for any part icular Loan, Client has com plied wit h it s propert y valuat ion docum ent at ion
          requirem ent s ( as described under Specific Represent at ions, Warrant ies and Covenant s
          Concerning I ndividual Loans in t he Unde r w r it in g; Appr a isa l; Appr a ise r Sect ion) by
          providing a GMAC- RFC Qualified AVM in lieu of an appraisal, where t he Loa n Pr ogr a m t erm s
          perm it t he use of a Qu a lifie d AV M as t he sole docum ent at ion of pr opert y valuat ion
          underlying such Loan, and provided a Qualified AVM was obt ained by Client in good fait h
          direct ly from Qualified AVM Vendors ( See GMAC- RFC Ex h ibit 1 6 G0 5 , Aut om at ed Valuat ion
          Model ( AVM) Approved Vendors) and has been subm it t ed t o GMAC- RFC in it s original,
          unalt ered form as issued by t he Qualified AVM Vendor; or, alt ernat ively, if GMAC- RFC has
          waived an appraisal and indicat ed such waiver in it s Asset wise SM m essaging ( an Appr a isa l
          W a ive r ) , t hen, if an Eve n t of D e fa u lt relat ed t o such Loan ar ises solely out of t he validit y
          and accuracy of t he pr opert y valuat ion am ount st at ed in t he Qualified AVM, or ot herwise
          relat ed t o t he pr opert y valuat ion am ount wit h respect t o a loan where GMAC- RFC has
          grant ed an Appraisal Waiver, but provided t hat in all ot her aspect s t he Loan was eligible for
          purchase by GMAC- RFC at t he t im e it was subm it t ed for purchase by Client , GMAC- RFC will
          not exercise it s right t o dem and repurchase for such part icular Loan by reason of such
          part icular Event of Default . However, in t he case of eit her a Qu a lifie d AVM or an Appraisal
          Waiver, GMAC- RFC m ay cont inue t o exercise it s right t o dem and repurchase if GMAC- RFC
          reasonably believes t hat Client or any t hird part y or iginat or obt ained a Qualified AVM or
          allowed GMAC- RFC t o rely on an Appr a isa l W a ive r in bad fait h, such as by using a Qualified
          AVM where Client or t he t hird part y originat or had reason t o know t hat t he m ort gaged
          propert y was m at erially different t han t hat described in t he Qualified AVM or t hat t he
          descript ion in t he Qualified AVM should not be consider ed reliable at t he t im e t he Loan was
          sold t o GMAC- RFC, or where t he Client or t hird part y originat or has reason t o know t hat t he
          m ort gaged propert y was m at erially dam aged.

          ( B) Re pu r ch a se Pr ice of Fir st M or t ga ge Pr ogr a m s
          I n t he event t he Client is obligat ed t o repurchase a Loan t he Client m ust pay t o GMAC- RFC a
          repur chase pr ice equal t o t he sum of:
               • The act ual principal balance of t he Loan at t he t im e of repurchase ( if t he Client sold t he
                 Loan t o GMAC- RFC at a discount or a Prem ium , t he repurchase price above will be
                 adj ust ed t o reflect t he act ual principal balance m inus t he discount percent age
                 m ult iplied by t he act ual principal balance, or plus t he Prem ium percent age m ult iplied
                 by t he act ual principal balance, as appr opriat e, including t hat price paid for Se r vicin g
                 Righ t s) , plus
               • All accr ued and unpaid int erest on t he Loan t hrough t he last day of t he m ont h of t he
                 dat e of repurchase; plus
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    • All int erest , principal and ot her advances m ade t o invest ors and all out of pocket cost s
      and expenses of any kind incurred by GMAC- RFC and/ or t he prim ary Se r vice r in
      connect ion wit h t he Loan, including, but not lim it ed t o, advances for t axes or
      insurance, and repair, foreclosure and insurance cost s and reasonable at t orneys’ fees;
      plus
    • The am ount of t he Bu you t Fe e as calculat ed in t he Ex t e n sion a n d Bu you t Fe e s
      Sect ion of Chapt er 9A, Com m it m ent s; plus
    • I n t he event t hat GMAC- RFC or any of it s Affilia t e s is required t o repurchase t he Loan
      fr om any subsequent assignee, t hen any addit ional am ount as m ay be required t o
      m ake t he repurchase price t hat t he Client is obligat ed t o pay hereunder equal t o t he
      repurchase pr ice t hat GMAC- RFC or it s Affiliat e is required t o pay t o such subsequent
      assignee; m inus
    • The net am ount of any proceeds r ealized by t he owner of t he Loan upon t he final
      liquidat ion of t he Loan or t he M or t ga ge d Pr e m ise s t o an unrelat ed t hird part y.
The D e signa t e d Se r v ice r will ret urn t o t he Client any escrow funds, unapplied funds and
prepaid principal and int erest inst allm ent s.
GMAC- RFC m ay dem and t hat a Client repurchase, and Client m ust repurchase, a Loan aft er
foreclosure even if t he full am ount of it s out st anding debt was bid on by or on behalf of t he
Loan’s owner t o acquire t he M or t ga ge d Pr e m ise s at t he foreclosure sale. I n t he event t he
Client is obligat ed t o repurchase a Loan aft er foreclosure, t he repurchase price shall be
calculat ed using t he form ula above, however Sch e du le d Pr in cipa l Ba la n ce shall be
subst it ut ed for t he act ual principal balance.

( C) Re pu r ch a se Pr ice of H om e Equ it y Pr ogr a m
I n t he event t he Client is obligat ed t o repurchase a Hom e Equit y Loan, t he Client m ust , upon
repurchase, service such Hom e Equit y Loan. The repurchase price for such Hom e Equit y Loan
shall be equal t o t he sum of:
    • The unpaid pr incipal balance of t he Hom e Equit y Loan
    • All accr ued and unpaid int erest on t he Hom e Equit y Loan
    • The am ount of all fees and/ or purchase Prem ium paid, if any, t o t he Client by GMAC-
      RFC for originat ion of t he Hom e Equit y Loan
    • All fees paid t o any Se r v ice r or sub- servicer of a Hom e Equit y Loan by reason of t he
      t erm inat ion of t hat Servicer ’s or Sub- Servicer ’s right t o service t hat Hom e Equit y Loan
    • All cost s incurred or paid by GMAC- RFC or any Servicer in collect ing or enforcing t he
      Hom e Equit y Loan, including, wit hout lim it at ion, int erest or ot her cost s paid t o bring or
      m aint ain a prior lien current or up t o dat e, cost s t o insure or pay delinquent t axes,
      at t orneys’ fees, court cost s, appraisal and t it le expenses and ot her sim ilar cost s or
      expenses ( collect ively, “ Foreclosure Expenses” )
    • Any addit ional am ount GMAC- RFC or any of it s Affilia t e s is required t o pay t o
      repurchase t he Hom e Equit y Loan from a subsequent assignee
I n lieu of repurchasing a Hom e Equit y Loan t hat has not yet been foreclosed and accept ing
t he servicing of such Hom e Equit y Loan, GMAC- RFC m ay in it s sole discret ion allow Client t o
pay t o GMAC- RFC t he Est im at ed Loss ( as defined below) . Est im at ed Loss, as it relat es t o
each Hom e Equit y Loan subj ect t o repurchase, shall equal t he product of:
120% m ult iplied by t he result of:
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               • Repurchase price as calculat ed above, plus
               • Accrued int erest on t he Hom e Equit y Loan t hrough t he dat e GMAC- RFC est im at es t hat
                 t he Hom e Equit y Loan will be fully liquidat ed ( which in t he case of a foreclosure, shall
                 m ean t he dat e t hat GMAC- RFC est im at es t hat t he M or t ga ge d Pr e m ise s will be sold t o
                 a t hird part y and which in any ot her case m eans t he dat e t hat GMAC- RFC est im at es
                 t hat all collect ion effort s on t he Hom e Equit y Loan will be abandoned) and est im at ed
                 foreclosure and ot her enforcem ent expenses for t he ent ire collect ion process, less
               • Am ount by which t he current m arket Value of t he Mort gaged Prem ises as det erm ined
                 by GMAC- RFC using valuat ion services provided by an independent t hir d part y exceeds
                 t he current out st anding am ount of indebt edness secured by t he Mort gaged Prem ises
                 t hat is senior t o t he Hom e Equit y Loan.

          ( D ) Re pu r ch a se Pr ice of a Se r vicin g Re le a se d Loa n
          I n t he event t he Client repurchases a Loan for which t he servicing has also been sold t o
          GMAC- RFC, t he Client will also be required t o repurchase t he servicing. I f t he repur chase of
          t he servicing of t he Loan is for any reason ot her t han a breach of t he D e lin qu e n cy Payoff/
          Liquidat ion warrant y cont ained in t he Servicing Released Cha pt e r 8 , t he Client m ust pay t o
          GMAC- RFC a repurchase price equal t o t he original Se r vicin g Re le a se d Pr e m iu m ( SRP)
          percent age m ult iplied by t he act ual unpaid principal balance at t he t im e of repurchase.
          I n no event however, will t he required repurchase Servicing Released Prem ium be gr eat er
          t han t he original Servicing Released Prem ium paid t o t he Client .
          The D e sign a t e d Se r vice r will ret urn t o t he Client any escrow funds, Te m por a r y Bu ydow n
          funds, unapplied funds and prepaid pr incipal and int erest inst allm ent s. The Client will be
          required t o reim burse t he Designat ed Servicer for any delinquent principal and int erest
          advances, and any escrow advances and foreclosure expenses t hey have m ade and not
          recovered on a repurchased Loan.

          ( E) Re pu r ch a se As a Re su lt of Con ve r sion
          The Client ( or, if t he Client has t ransferred servicing of t he Loans, t he Se r vice r ) shall
          repurchase a Loan which has convert ed from an ARM t o a fixed- rat e m ort gage. The Servicer
          m ust subm it t he ARM Conversion Not ificat ion Report no less t han 15 days prior t o t he
          conversion dat e.
          I f t he Client or Servicer repurchases a convert ed Loan and subsequent ly resells t hat
          convert ed Loan t o GMAC- RFC, all t he Client ’s represent at ions and warrant ies wit h respect t o
          t hat Loan shall survive such repurchase and resale. I n addit ion, t he Client shall be subj ect t o
          all right s and rem edies ( including repurchase) available t o GMAC- RFC as a result of any
          m isrepresent at ion or breach of warrant y wit h respect t o t hat Loan pr ior t o conversion.
          The Client shall also subm it t he m odificat ion agreem ent if request ed by GMAC- RFC or it s
          assigns.
          Aft er it s receipt of t he Loan funds, GMAC- RFC will endorse t he Not e t o t he par t y which
          repurchased t he Loan. The Loan will t hen be assigned t o such part y, and all credit
          docum ent at ion will be ret urned. Failure t o subm it t he ARM Conversion Not ificat ion Report in
          a t im ely m anner m ay delay t he receipt of t he endorsed Not e and ot her Le ga l D ocu m e n t s.
          The Se r v ice r shall subm it a Payoff/ Liquidat ion Report and wire t ransfer Loan funds t o t he
          GMAC- RFC Loa n Accou n t in g D e pa r t m e n t no lat er t han t he last Bu sin e ss D a y prior t o t he
          conversion dat e. The Servicer m ust rem it int erest for t he ent ire m ont h preceding t he
          conversion dat e. The Client shall at t ach a copy of t he ARM Conversion Not ificat ion Report .
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I f t he appropriat e am ount is not wired on t im e, GMAC- RFC will charge a lat e paym ent fee.
This fee will equal t he am ount due m ult iplied by t he “ Pr im e Ra t e ” plus 3% m ult iplied by t he
num ber of days overdue divided by 365. The t erm “ Prim e Rat e” shall m ean t he highest
quot ed Prim e Rat e print ed in The Wall St r eet Journal in it s regular colum n “ Money Rat es” on
t he first Bu sin e ss D a y of t he m ont h in which t he paym ent was due and not paid. I f t he
Prim e Rat e is not available, GMAC- RFC will det erm ine a com parable rat e.

( F) Su bst it u t ion
I nst ead of requiring t he Client t o repurchase a Loan as provided above, GMAC- RFC, at it s
sole discret ion, m ay allow t he Client t o subst it ut e anot her Loan sat isfact ory t o GMAC- RFC in
place of t he original Loan, wit hin 10 days of not ificat ion by GMAC- RFC, unless ot herwise
not ified. I f t he subst it ut ed Loan cont ains t erm s different from t hose of t he Loan t hat it is
replacing, a purchase price adj ust m ent will be calculat ed by GMAC- RFC based on m arket
changes and Loan charact erist ics. Every Loan subst it ut ed will be subj ect t o all agreem ent s,
t erm s, condit ions, represent at ions and warrant ies in t his Client Guide as of t he Su bst it u t ion
Date.
I n t he event a Loan is eligible for purchase by GMAC- RFC but t he servicing is ineligible for
purchase by GMAC- RFC, t he Loan will be purchased and t he sale of servicing denied. GMAC-
RFC w ill not allow t he Client t o subst it ut e anot her servicing released Loan.

( G) Cost of Tr a n sfe r Fe e s D ue t o Re pu r cha se
The Client agrees t hat , if it is requir ed t o repurchase a Loan and t he relat ed Servicing, it will
pay all docum ent ary st am p t axes, recording fees, t ransfer t axes and all ot her expenses
payable in connect ion wit h t he repurchase and will indem nify and hold harm less GMAC- RFC
and t he D e signa t e d Se r v ice r against all losses, cost s and expenses, including at t orney
fees, result ing from such requir ed repurchases or t he breach giving rise heret o.

( H ) N ot ice a n d Appe a l
The Client m ay appeal GMAC- RFC’s decision by providing any addit ional inform at ion or
docum ent at ion it believes m ay affect GMAC- RFC’s det erm inat ion.
Send all not ificat ions and appeals t o:
      GMAC- RFC
      One Meridian Crossings
      Suit e 100
      Minneapolis, MN 55423
      At t ent ion: Repurchase Managem ent
Such inform at ion and docum ent at ion m ust be received wit hin 30 days aft er t he Client ’s
receipt of a repurchase let t er or sim ilar writ t en not ificat ion from GMAC- RFC. GMAC- RFC will
review all appeals and advise t he Client in writ ing of t he appeal decision. GMAC- RFC will in it s
sole discret ion det erm ine t he validit y of any appeal filed by t he Client . I f GMAC- RFC’s
decision rem ains firm following an appeal, t he Client shall repurchase t he Loan and it s
servicing ( if t he Loan was sold servicing released) wit hin 10 days of not ificat ion by GMAC-
RFC, in writ ing, t hat t he appeal has been denied.
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   ( 17) The Client or Se r vice r ’s failure t o m aint ain a qualified Loan originat ion, servicing
         and qualit y cont r ol st aff, an accept able ongoing qualit y cont rol program , adequat e
         facilit ies and writ t en policies and procedures t o ensure:
         • The invest m ent qualit y of Loans sold t o GMAC- RFC
         • The adequacy of t he servicing of Loans purchased by GMAC- RFC OR
   ( 18) The failure of t he Client or t he Se r vice r t o m eet any t est as m ay be prescribed for
         eligibilit y,
   ( 19) The det erm inat ion by GMAC- RFC t hat a Client has not delivered an adequat e volum e
         of Loans t o GMAC- RFC.

A212
Indemnification
The Client shall indem nify GMAC- RFC fr om all losses, dam ages, penalt ies, fines, forfeit ures,
court cost s and reasonable at t orneys’ fees, j udgm ent s, and any ot her cost s, fees and
expenses result ing from any Eve nt of D e fa u lt . This includes, wit hout lim it at ion, liabilit ies
arising from ( i) any act or failure t o act , ( ii) any breach of warrant y, obligat ion or
represent at ion cont ained in t he Client Cont ract , ( iii) any claim , dem and, defense or assert ion
against or involving GMAC- RFC based on or result ing from such breach, ( iv) any breach of
any represent at ion, warrant y or obligat ion m ade by GMAC- RFC in reliance upon any
warrant y, obligat ion or represent at ion m ade by t he Client cont ained in t he Client Cont ract
and ( v) any unt rue st at em ent of a m at erial fact , om ission t o st at e a m at erial fact , or false or
m isleading inform at ion provided by t he Client in inform at ion required under Regulat ion AB or
any successor regulat ion.
I n addit ion, Client shall indem nify GMAC- RFC against any and all losses, dam ages, penalt ies,
fines, forfeit ures, j udgm ent s, and any ot her cost s, fees and expenses ( including court cost s
and reasonable at t orneys’ fees) incurred by GMAC- RFC in connect ion wit h any lit igat ion or
governm ent al proceeding t hat alleges any violat ion of local, St at e or federal law by Client , or
any of it s agent s, or any originat or or broker in connect ion wit h t he originat ion or servicing of
a Loan. Wit h regard t o legal fees or ot her expenses incurr ed by or on behalf of GMAC- RFC in
connect ion wit h any such lit igat ion or governm ent al proceeding, Client shall reim burse
GMAC- RFC for such fees and expenses. Reim bursem ent shall be m ade direct ly t o GMAC- RFC
wit hin t en days of receipt of a request for paym ent , which request shall include copies of t he
relevant invoices. Except for not ices for reim bursem ent , GMAC- RFC is not required t o give
Client not ice of any lit igat ion or governm ent al proceeding t hat m ay t rigger indem nificat ion
obligat ions. Client shall inst ruct it s officers, direct ors and agent s ( including legal counsel) t o
cooperat e wit h GMAC- RFC in connect ion wit h t he defense of any lit igat ion or governm ent al
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counsel and m aking set t lem ent decisions.
The Client also shall indem nify GMAC- RFC and hold it harm less against all court cost s,
at t orney’s fees and any ot her cost s, fees and expenses incurred by GMAC- RFC in enforcing
t he Client Cont ract . The obligat ions of t he Client under t his Sect ion shall survive t he
D e live r y D a t e , t he Fu n din g D a t e ( and each Su bst it u t ion D a t e , if applicable) and t he
t erm inat ion of t he Client Cont ract and t he disqualificat ion, suspension or inact ivat ion of t he
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          A201
          Specific Representations, Warranties and Covenants Concerning Client
          ( A) D u e Or ga n iza t ion ; Good St a n ding; Lice n sing
          Client and, t o Client ’s knowledge, Client ’s Guarant or, if applicable, is and shall cont inue t o be
          duly organized, validly exist ing, and in good st anding under t he laws of t he Unit ed St at es or
          under t he laws of t he j urisdict ion in which it was incorporat ed or organized, as applicable,
          and has and shall cont inue t o m aint ain all licenses, regist rat ions, and cert ificat ions necessary
          t o carry on it s business as now being conduct ed, and is and will cont inue t o be licensed,
          qualified, and in good st anding in each St at e where a Mort gaged Propert y is locat ed if t he
          laws of such St at e requir e licensing or qualificat ion in order t o conduct business of t he t ype
          conduct ed by Client 1. Client is and will rem ain in com pliance w it h t he law s of any such St at e,
          and is and will rem ain in good st anding wit h federal aut horit ies, t o t he ext ent necessary t o
          ensure t he enforceabilit y of t he relat ed Loan. Client has disclosed t he final writ t en report s,
          act ions and/ or sanct ions of any and all reviews, invest igat ion, exam inat ions, audit s, act ions
          and/ or sanct ions t hat have been undert aken and/ or im posed, wit hin t w o years prior t o t he
          dat e of t he Client Cont ract , by any federal or St at e agency or inst rum ent alit y wit h respect t o
          eit her t he lending or r elat ed financial operat ions of Client , or t he abilit y of Client t o perform
          in accordance wit h t he Program Docum ent s t erm s. Each of t he represent at ions and
          warrant ies m ade by Client in it s Client Applicat ion is t rue, accurat e, and com plet e, and is
          deem ed t o be rem ade in it s ent iret y, as of t he dat e of t he Client Cont ract , and as of each
          Fu n din g D a t e .
           1
               I n addit ion, if any Loan is secured by m ort gaged propert y locat ed in t he St at e of West Virginia, Client and t he
               originat or of t he Loan is licensed under t he West Virginia Mort gage Loan Act and Client and t he originat or of t he
               Loan held such license at t he t im e t he Loan was originat ed, unless ot herwise exem pt from licensing. Client and
               t he originat or of t he Loan m ust be licensed under t he West Virginia Mort gage Loan Act even if Client and t he
               originat or of t he Loan m akes or offers t o m ake or accept s or offers t o accept or purchases or services in a calendar
               year fewer t han t he num ber of de m inim us prim ary or subordinat e m ort gage Loans specified in t he definit ion of
               “ lender” in W. Va. Code Sect ion 31- 17- 1.

          ( B) Au t h or it y
          Client has and will m aint ain t he full corporat e, part nership or lim it ed liabilit y com pany power
          and aut horit y t o execut e and deliver t he Program Docum ent s and t o perform t he t erm s of
          t his Client Guide. The execut ion, delivery, and perform ance of t he Program Docum ent s and
          t he perform ance of t he t erm s of t his Client Guide by Client , and t he consum m at ion of t he
          t ransact ions cont em plat ed, have been duly and validly aut horized. The Program Docum ent s
          and t his Client Guide evidence Client ’s legal valid, binding, and enforceable obligat ions. All
          requisit e corporat e, part nership or lim it ed liabilit y com pany act ion has been t aken by Client
          t o m ake t he Program Docum ent s and t he t erm s of t his Client Guide valid and binding upon
          Client and enforceable in accordance wit h t heir respect ive t erm s.

          ( C) Or din a r y Cou r se of Bu sin e ss
          The consum m at ion of t he t ransact ions cont em plat ed by t he Program Docum ent s and t he
          Client Guide t erm s are in Client ’s ordinary course of business, and t he t ransfer, assignm ent ,
          and conveyance of t he Mort gage Not es and t he Mort gages by Client , pursuant t o t he Program
          Docum ent s and t he Client Guide t erm s are not subj ect t o t he bulk t ransfer law s or any
          sim ilar st at ut ory provisions in effect in any applicable j urisdict ion.
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                                                                                                     Covenants
( D ) N o Con flict s
Neit her t he execut ion and delivery of t he Program Docum ent s, t he acquisit ion and/ or m aking
of t he Loans by Client , t he sale of t he Loans t o GMAC- RFC or t he t ransact ions cont em plat ed
t hereby or pursuant t o t his Client Guide, nor t he fulfillm ent of or com pliance wit h t he
Program Docum ent s t erm s and condit ions, will conflict wit h or result in a br each of any of t he
t erm s, condit ions, or provisions of Client 's art icles of incorporat ion, chart er, by- laws,
part nership agreem ent , or ot her organizat ional docum ent , or of any legal rest rict ion or
regulat ory direct ive or any agreem ent or inst r um ent t o which Client is now a part y or by
which it is bound, or const it ut e a default or result in an accelerat ion under any of t he
foregoing, or result in t he violat ion of any law, rule, regulat ion, order, j udgm ent , or decree t o
which Client , or any of it s propert y is subj ect , or im pair t he abilit y of GMAC- RFC t o realize on
any of t he Loans, or im pair t he Value of any of t he Loans.

( E) Abilit y t o Pe r for m
Client has t he abilit y t o perform each and every obligat ion of and/ or sat isfy each and ever y
requirem ent im posed on, Client pursuant t o t he Program Docum ent s and t his Client Guide,
and no offset , count erclaim , or defense exist s t o t he full perfor m ance by Client of t he
requirem ent s of Program Docum ent s and t his Client Guide.

( F) N o Lit iga t ion Pe n din g
There is no act ion, suit , proceeding, inquiry, review, audit , or invest igat ion pending or
t hreat ened against Client t hat , eit her in any one inst ance or in t he aggregat e, m ay r esult in
any m at erial adverse change in t he business, operat ions, financial condit ion, propert ies, or
asset s of Client , or in any m at erial liabilit y on t he part of Client , or which would draw int o
quest ion t he validit y or enforceabilit y of any of t he Program Docum ent s, t his Client Guide, or
t he Loans or of any act ion t aken or t o be t aken in connect ion wit h Client ’s obligat ions
cont em plat ed in any of t he Program Docum ent s or t his Client Guide, or which would be likely
t o im pair m at erially Client ’s abilit y t o perform under t he t erm s of t he Program Docum ent s or
t his Client Guide.

( G) N o Con se n t Re qu ir e d
No consent , approval, aut horit y, or order of any court or governm ent al agency or body is
required for t he execut ion and perfor m ance by Client of, or com pliance by Client wit h, any of
t he Program Docum ent s or t his Client Guide, t he sale of any of t he Loans, or t he
consum m at ion of any of t he t ransact ions cont em plat ed by any of t he Purchase Docum ent s,
or, if required, such uncondit ional approval has been obt ained pr ior t o t he relat ed Fu n din g
Date.

( H ) N o Un t r u e I n for m a t ion
Neit her t he Pr ogram Docum ent s, t he Client Applicat ion, t his Client Guide, nor any st at em ent ,
report , or ot her docum ent furnished or t o be furnished by Client pur suant t o t he Pr ogram
Docum ent s or t his Client Guide, cont ains any unt rue st at em ent of m at er ial fact or om it s t o
st at e a m at erial fact necessary t o m ake t he st at em ent s cont ained t herein not m isleading.
Client m eet s GMAC- RFC’s Eligibilit y St andards, and shall t ake all st eps necessary t o cont inue
t o m eet such Eligibilit y St andards.
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          ( I ) Se cu r it ie s La w
          The Client represent s t hat t he Loans ar e not “ securit ies” under any federal or St at e securit ies
          laws or any rules or regulat ions t hereunder and t hat t he t ransact ions cont em plat ed by t his
          Client Guide do not require regist rat ion under, and are not subj ect t o, any federal or St at e
          securit ies laws or any rules or regulat ions t hereunder.

          ( J) N o Accr u e d Lia bilit ie s
          Except as m ay be ot herwise disclosed by Client t o GMAC- RFC and acknowledged by GMAC-
          RFC in writ ing prior t o t he dat e of t he Client Cont ract , t here are no accrued liabilit ies of
          Client , wit h respect t o any of t he Loans, or circum st ances under which any such accrued
          liabilit ies will arise against GMAC- RFC, as successor t o Client ’s int erest s in and t o t he Loans,
          wit h respect t o any act ion or failure t o act by Client occurring on or prior t o t he Fu n din g
          Date.

          ( K) Or igin a t ion , Se r vicin g
          Client ’s originat ion and servicing of t he Loans have been legal, proper, pr udent , and
          cust om ary and have conform ed t o t he highest st andards of t he resident ial m ort gage
          originat ion and servicing business.

          ( L) Com plia n ce W it h La w s
          Client has com plied wit h, and has not violat ed any law, ordinance, requirem ent , regulat ion,
          rule, or order applicable t o it s business or proper t ies, t he violat ion of which m ight adversely
          affect t he operat ions or financial condit ions of Client , or t he abilit y of Client t o consum m at e
          t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide.

          ( M ) Com plia n ce W it h Pr ogr a m D ocu m e n t s a n d Clie n t Gu ide
          Client will com ply wit h all provisions of t his Client Guide and t he Pr ogram Docum ent s, and
          will pr om pt ly not ify GMAC- RFC of any occur rence, act , or om ission regarding Client , t he
          Loan, t he Mort gaged Propert y or t he Mort gagor of which Client has knowledge, which
          occurrence, act , or om ission m ay m at erially affect Client , t he Loan, t he Mort gaged Propert y,
          or t he Mort gagor.

          ( N ) N o D e fe n se s Aga in st GM AC- RFC
          The Client has no j udgm ent , court order, claim , count erclaim , defense, right of set- off or
          sim ilar right against GMAC- RFC.
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                                                                                                    Covenants

A202
Specific Representations, Warranties and Covenants Concerning Individual Loans
For all Loans, t he Client represent s, warrant s and covenant s t o GMAC- RFC as follows:

( A) Loa n s Ar e Eligible ; Accu r a cy of I n for m a t ion
Each of t he Loans delivered and sold t o GMAC- RFC m eet s t he applicable program t erm s and
crit eria set fort h in t his Client Guide. All inform at ion relat ing t o each Loan delivered and sold
t o GMAC- RFC is t rue, com plet e and accurat e and t here are no om issions of m at erial fact s. All
dat a provided by t he Client t o GMAC- RFC relat ing t o any Loan, w het her in elect ronic form at ,
or ot herwise, is t rue and com plet e and accurat ely reflect s t he inform at ion in t he relat ed Loan
file.

( B) Com plia nce W it h W a r r a n t ie s
The Client is in com pliance wit h, and has t aken all necessary act ion t o ensure t hat each Loan
is in com pliance wit h all represent at ions, warrant ies and requirem ent s cont ained in t his
Client Guide.

( C) Loa n Pr ovision s
The provisions of t he Loan have not been im paired, waived, alt ered or m odified in any
respect , unless appr oved in writ ing by GMAC- RFC. The issuer of any relat ed PMI Policy and
t he t it le insurer have approved t he subst ance of any such waiver, alt erat ion, or m odificat ion
t o t he ext ent required by t he respect ive policies. No Mort gagor has been r eleased, in whole
or in part .

( D ) D ocu m e n t s
All Loa n D ocu m e n t s, Fun din g D ocu m e nt s and Fin a l D ocum e n t s ar e genuine, have been
com plet ed, duly and properly execut ed, are in r ecordable form and delivered in t he for m and
m anner specified in t his Client Guide, and each Loan is t he Mort gagor ’s legal, valid and
binding obligat ion enforceable in accordance wit h it s t erm s. All originals and copies of such
docum ent s and all ot her docum ent s, m at erials, and ot her inform at ion required t o be
subm it t ed t o GMAC- RFC have been so subm it t ed, and are com plet e and accurat e. All Loan
Docum ent s, Funding Docum ent s, Final Docum ent s and all ot her docum ent s describing or
ot herwise relat ing t heret o are in com pliance wit h all applicable local and St at e laws,
regulat ions and orders.
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          ( E) Ow n e r sh ip; Tr a n sfe r
          The Client has good t it le t o and is t he sole owner of, each Loan delivered and sold t o GMAC-
          RFC. Except for t he securit y int erest of a warehouse lender, which securit y int erest Client has
          disclosed t o GMAC- RFC in writ ing, t he assignm ent of t he Loan by t he Client validly t ransfers
          such Loan t o GMAC- RFC free and clear of any pledge, lien or securit y int erest or ot her
          encum brance.
          For each Loan regist er ed wit h M ERS, t he Client represent s t hat ( a) if t he Se cu r it y
          I n st r u m e n t relat ing t o such Loan ident ifies MERS as t he original m ort gagee of record, such
          Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o MERS solely as
          nom inee for t he Client and it s successor s and assigns and t hat such Securit y I nst rum ent has
          been properly execut ed, acknowledged, delivered and recorded in all places necessary t o
          perfect t he securit y int erest on t he M or t ga ge d Pr e m ise s in favor of MERS, solely as
          nom inee for t he Client and it s successors and assigns; or ( b) if t he Loan is regist ered wit h
          MERS, and MERS is not t he original m ort gagee of recor d, an assignm ent t o MERS has been
          prepared, duly execut ed and recorded and t he chain of assignm ent s is com plet e and
          recorded from t he original m ort gagee t o MERS. Client furt her represent s t hat it has com plied
          wit h all rules and procedures of MERS for it s assignm ent of t he Securit y I nst rum ent t o GMAC-
          RFC, including, am ong ot her t hings, t hat t he Client has confirm ed t he t ransfer on MERS t o
          GMAC- RFC.

          ( F) D isbu r se m e n t s; N o Pa yoffs or Fut u r e Adva nce m e nt s
          Each Loan has been closed and fully disbursed, except as perm it t ed in t he Escr ow Accou n t
          for Post pon e d I m pr ove m e nt s/ Re pa ir s Sect ion of t his Client Guide. There are no payoffs,
          assum pt ions or insurance claim s pending on any Loan or pert aining t o t he Mort gaged
          Prem ises and t he Borrower m ay not exercise any opt ion under any of t he Loa n D ocu m e n t s
          t o borrow addit ional funds secured t hereby from t he Client or any ot her person or ent it y
          wit hout t he Not eholder ’s consent .
          Addit ionally, t he Client warrant s t hat t he Client has not m ade arrangem ent s wit h any
          Borrower for any paym ent forbearance or fut ure r efinancing w it h respect t o any Loan.

          ( G) N o D e fa u lt
          There is no default , breach, violat ion or event of accelerat ion exist ing under any Not e or
          Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, and no event exist s which, wit h not ice and
          t he expirat ion of any grace or cure period, w ould const it ut e a default , breach, violat ion or
          event of accelerat ion, and no such default , breach, violat ion or event of accelerat ion has
          been waived by t he Client or by any ot her ent it y involved in originat ing or servicing t he Loan.

          ( H ) N o D e fe n se s
          Except as provided in a buydown or subsidy agreem ent , if any, m eet ing t he requirem ent s set
          fort h in t his Client Guide, t he Borrower ( including any part y secondarily liable under t he
          Loa n D ocu m e n t s) has no right of set- off, defense, count erclaim or right of rescission t o any
          Loan Docum ent .
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                                                                                                    Warranties and
                                                                                                    Covenants
( I ) Com plia nce w it h La w
The sale and t ransfer of each Loan t o GMAC- RFC does not violat e any applicable St at e laws.
To t he ext ent t hat any applicable St at e law places any rest rict ions on t he t ransfer of any
Loan, t he Client has not ified GMAC- RFC in writ ing of t hat rest rict ion and any relat ed St at e
licensing or regist rat ion requirem ent s.
The Se cu r it y I n st r u m e n t has been properly execut ed, acknowledged, delivered and
recorded in all places necessary t o perfect t he securit y int erest in t he M or t ga ge d Pr e m ise s
in favor of t he Client and it s successors and assigns. I f a Loan is regist ered wit h M ERS, and
MERS is ident ified on t he Securit y I nst rum ent as t he original m ort gagee of record, Client
represent s t hat such Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o
MERS solely as nom inee for t he Client and it s successors and assigns. I f t he Loan is
regist ered wit h MERS, and MERS is not t he original m ort gagee of recor d, Client repr esent s
t hat an assignm ent t o MERS has been prepared, duly execut ed and recorded and t he chain of
assignm ent s is com plet e and recorded from t he original m ort gagee t o MERS and Client
furt her represent s t hat it has com plied wit h all rules and procedures of MERS for it s
assignm ent of t he Securit y I nst rum ent t o GMAC- RFC, including, am ong ot her t hings, t hat
Client has confirm ed t he t ransfer on MERS t o GMAC- RFC.
Each GMAC- RFC Loan Applicat ion ( Fa n n ie M a e 1003/ Fr e ddie M a c Form 65) was t aken from
t he Borrower and processed for each Loan, and each Loan has been originat ed, closed, and
t ransferred in com pliance wit h all applicable local, St at e and federal laws and regulat ions
including, but not lim it ed t o, t he Real Est at e Set t lem ent Procedures Act , t he Fair Credit
Report ing Act , t he Equal Credit Opport unit y Act , t he Trut h- in- Lending Act , t he Fair Housing
Act , and t he Nat ional Flood I nsurance Act . This warrant y is m ade by t he Client w it h respect
t o each GMAC- RFC Loan Applicat ion t aken and pr ocessed for each Loan and wit h r espect t o
each Loan m ade by t he Client or any ot her ent it y.

( J) Re spon sible Le n din g Re pr e se nt a t ions, W a r r a n t ie s a nd Cove n a n t s
     ( 1 ) D iscon t in u e d Loa n
         No Loan is a “ Discont inued Loan”. Discont inued Loan m eans any of t he following,
         regardless of whet her t he originat or is required by law t o com ply wit h t he law or has
         grounds t o claim preem pt ion from all or par t of t he law.
         ( a ) H OEPA/ Se ct ion 3 2
              A loan considered a “ m or t gage” under Sect ion 152 of t he Hom e Ownership and
              Equit y Prot ect ion Act of 1994, 15 U.S.C. Sect ion 1602 ( aa) and t he relat ed
              regulat ions and com m ent ary prom ulgat ed by t he Federal Reserve Board,
              including Sect ion 226.32 of Tit le 12 of t he Code of Federal Regulat ions, and t he
              official st aff com m ent ary t o t hose regulat ions.
         ( b) Pu r ch a se M on e y Loa n s w it h H igh Poin t s or Fe e s
              A “ purchase m oney” loan secured by t he consum er ’s principal dw elling t hat
              exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
              Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
              by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
              Federal Regulat ions. A “ purchase m oney” loan is a loan t hat is considered a
              “ resident ial m ort gage t ransact ion” under Sect ion 226.2( 24) of Tit le 12 of t he
              Code of Federal Regulat ions.
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                    ( c) H om e Equ it y Lin e s a n d 1 st Lie n Lin e s of Cr e dit Th a t Ex ce e d t h e H OEPA
                         Tr igge r s
                        An open- end line of credit secured by t he consum er ’s principal dwelling t hat
                        exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
                        Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
                        by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
                        Federal Regulat ions. “ Point s and fees” m ust be calculat ed in accordance wit h
                        Sect ion 226.32 of Tit le 12 of t he Code of Regulat ions and t he relat ed
                        com m ent ary prom ulgat ed by t he Federal Reserve Board. The “APR” is t he fully
                        indexed rat e or t he init ial rat e, whichever is great er, at t he t im e of
                        consum m at ion. The “ t ot al loan am ount ” is t he t ot al credit line available under
                        t he t erm s of t he loan, wit hout subt ract ing any am ount s for closing cost s.
                    ( d) St a t e a n d Loca l H igh Cost Loa n s
                        A loan considered a “ high- cost ,” covered, “ high- risk,” “ predat ory” or any ot her
                        sim ilar designat ion under any St at e or local law in effect at t he t im e of t he
                        closing of t he loan if t he law im poses great er rest rict ions or addit ional legal
                        liabilit y for resident ial m ort gage loans wit h high int erest rat es, point s and/ or
                        fees.
                    ( e ) Ce r t a in Ge or gia H om e Loa ns
                        A “ hom e loan” under t he Georgia Fair Lending Act , Ga. Code Ann. Sect ion 7- 6A-
                        1 et . seq. t hat becam e effect ive on Oct ober 1, 2002 ( t he “Act ” ) , if t he
                        Com m it m ent was issued on or aft er February 1, 2003 and t he loan was closed
                        on or before March 7, 2003.
                    ( f) Ce r t a in N e w Je r se y H om e Loa ns
                        A “ hom e loan” under t he New Jersey Hom e Ownership Securit y Act of 2002 ( t he
                        “Act ” ) , N.J.S.A. 46: 10B- 22 et seq. if t he loan is:
                            • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
                            • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                            • A “ hom e loan” t hat is an open- end line of credit ;
                            • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                              out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
                    ( g) Ce r t a in N e w M e x ico H om e Loa n s
                        A “ hom e loan” under t he New Mexico Hom e loan Prot ect ion Act ( t he “Act ” ) , t hat
                        was closed on or aft er February 1, 2004, and on or before February 26, 2004, if
                        t he loan is:
                            • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
                            • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                            • A “ hom e loan” t hat is an open- end line of credit ;
                            • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                              out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
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    ( 2 ) M a n da t or y Ar bit r a t ion Cla u se
         A Loan m ay not include a m andat ory arbit rat ion clause. Any arbit rat ion agreem ent
         signed by t he Borrower prior t o t he t im e of a disput e is prohibit ed.
    ( 3 ) Pr oh ibit e d Te r m s a n d Pr a ct ice s on a ll Loa n s sold t o GM AC- RFC
         A Loan m ay not violat e any of t he following pr ohibit ed t er m s and pract ices:
         ( a) Pr e - pa id in su r a n ce pr odu ct s. No Loan finances single prem ium credit life,
              credit disabilit y, credit unem ploym ent , or any ot her pre- paid life or healt h
              insurance, direct ly or indirect ly.
         ( b) Pr e pa ym e n t pe n a lt ie s. A Loan m ay not provide for a penalt y for paying all or
              part of t he principal before t he dat e on which t he principal is due except as set
              fort h in t his paragraph and ot herwise allowed by applicable federal, St at e, and
              local law.
                   • The penalt y m ay be enforced for only t he first five years following
                     consum m at ion;
                   • The penalt y does not exceed 6 m ont hs of int erest on t he am ount prepaid or
                     6% of t he am ount prepaid; and
                   • The Pr e pa ym e n t penalt y does not becom e due upon default
         ( c) Re por t in g t o cr e dit bur e a u s. Client or it s Se r vice r m ust report t o a nat ionally
              recognized consum er credit report ing agency at least quart erly t he favorable
              and unfavorable paym ent hist ory inform at ion of Borrower on paym ent s due t o
              Client on a Loan for t he period during which Client holds or services t he Loan.
              This paragraph shall not pr event Client or it s Servicer from not report ing specific
              paym ent hist ory inform at ion in t he event of a resolved or unresolved disput e
              wit h Borrower and shall not apply t o Loans held or serviced by Client for less
              t han 90 days.
         ( d) I n cr e a se d in t e r e st r a t e u pon de fa u lt . A Loan m ay not provide for an
              increase in t he int erest rat e aft er default .

( K) Tit le I n su r a n ce
A policy of t it le insurance, in t he form and am ount required by t his Client Guide, is effect ive
as of t he day t he Se cu r it y I n st r u m e n t is recorded, is valid and binding, is in conform ance
wit h all agency guidelines and rem ains in full force and effect , unless t he M or t ga ge d
Pr e m ise s are locat ed in t he St at e of I owa and a Tit le Guarant y Cert ificat e issued by t he
I owa Tit le Guarant y Division of t he I owa Finance Aut horit y has been provided as described in
Tit le Guarant y Cert ificat e I n I owa below.

( L) Tit le Gu a r a n t y Ce r t ifica t e I n I ow a
As t o each Loan secured by Mort gaged Prem ises locat ed in t he St at e of I owa, and if an
Am erican Land Tit le Associat ion ( ALTA) Loan policy of t it le insurance has not been provided,
a Tit le Guarant y Cert ificat e issued by t he I owa Tit le Guarant y Division of t he I owa Finance
Aut horit y, in t he form and am ount required by t his Client Guide, duly delivered and effect ive
as of t he closing of each such Loan, is valid and binding, and rem ains in full force and effect .
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          ( M ) Va lid Fir st Lie n s
          Each Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, unless provided for ot herwise in a
          given Loa n Pr ogr a m , const it ut es a valid first lien on t he M or t ga ge d Pr e m ise s subj ect only
          t o t he m inor im pedim ent s described in t he Tit le I n su r a n ce Sect ion of t his Chapt er, and such
          im pedim ent s do not adversely affect t he Value, use, enj oym ent or m arket abilit y of t he
          Mort gaged Prem ises. Each Securit y I nst rum ent and all relat ed docum ent s ( including, wit hout
          lim it at ion, releases of prior Securit y I nst rum ent s, assum pt ion agreem ent s, assignm ent s,
          am endm ent s, powers of at t orney, and m odificat ion, ext ension and consolidat ion
          agreem ent s) t hat ar e required t o be recorded or filed under applicable law in order t o
          preserve in favor of GMAC- RFC t he validit y and enforceabilit y of t he Securit y I nst rum ent and
          t he liens cr eat ed t her eby, have been duly r ecorded in all appropriat e recording offices, and all
          associat ed recording fees or t axes m ust be paid.

          ( N ) N o En cr oa ch m e n t s By Adj oin in g Pr ope r t ie s; I m pr ov e m e n t s
          No im provem ent s by adj oining pr opert ies encroach upon t he Mort gaged Prem ises in any
          respect so as t o affect t he Value or m arket abilit y of t he Mort gaged Prem ises. No
          im provem ent locat ed on or being part of t he Mort gaged Propert y is in violat ion of any
          applicable zoning law or regulat ion.

          ( O) Su r v e y
          All im provem ent s which were considered in det erm ining t he appraised Value of t he
          M or t ga ge d Pr e m ise s lie wholly wit hin it s boundaries and t he building rest rict ion lines of t he
          Mort gaged Prem ises, or t he policy of t it le insurance insures against loss or dam age by reason
          of any violat ion, variat ion, encroachm ent or adverse circum st ance t hat eit her is disclosed or
          would have been disclosed by an accurat e survey.

          ( P) N o Lie n s
          There are no delinquent t ax or delinquent assessm ent liens against t he Mort gaged Prem ises,
          and t here are no m echanic’s liens or claim s for w ork, labor or m at erial or any ot her liens
          affect ing t he Mort gaged Prem ises, which are or m ay be a lien prior t o, or equal wit h, t he lien
          of t he Se cu r it y I n st r u m e n t assigned t o GMAC- RFC, except t hose liens t hat are insured
          against by t he policy of t it le insurance or Tit le Guarant y Cert ificat e issued by t he I owa Tit le
          Guarant y Division.

          ( Q) N o Adve r se Cir cu m st a n ce s
          The Mort gaged Prem ises are free of dam age and in good repair, and no not ice of
          condem nat ion has been given wit h respect t heret o, and no circum st ances exist involving t he
          Loa n D ocu m e n t s, t he M or t ga ge d Pr e m ise s or t he Borrow er ’s credit st anding t hat could:
          ( i) cause privat e inst it ut ional invest ors t o regard t he Loan as an unaccept able invest m ent , ( ii)
          cause t he Loan t o becom e delinquent , or ( iii) adversely affect t he Value or m arket abilit y of
          t he Mort gaged Prem ises or t he Loan. The Client warrant s t hat it neit her has act ual knowledge
          of t he presence of, nor reasonable grounds t o suspect t he pr esence of, any t oxic m at erials or
          ot her environm ent al hazards on, in or t hat could affect any of t he Mort gaged Prem ises. The
          Client warrant s com pliance w it h local, St at e or federal law or regulat ion designed t o prot ect
          t he healt h and safet y of t he occupant s of t he propert y.
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( R) Ca su a lt y I n su r a n ce
The im provem ent s upon t he M or t ga ge d Pr e m ise s are insured against loss by fir e and ot her
hazards as required by t his Client Guide, including flood insurance if required under t he
Nat ional Flood I nsurance Act of 1968, as am ended. The Se cu r it y I n st r u m e n t r equires t he
Borrower t o m aint ain such casualt y insurance at t he Borrower ’s expense, or on t he
Borrower ’s failure t o do so, aut horizes t he holder of t he Securit y I nst rum ent t o obt ain and
m aint ain such insurance at t he Borrower ’s expense and t o seek reim bursem ent from t he
Borrower. Each casualt y policy is t he insurer ’s valid and binding obligat ion, is in full force and
effect , and w ill be in full force and effect , t o GMAC- RFC’s benefit upon t he consum m at ion of
t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide. The Loan
t erm s per m it t he m aint enance of an escrow account t o pay t he Prem ium s for t he above
m ent ioned insurance, and t he Client has not waived t he requirem ent of such escrow account
unless perm it t ed by GMAC- RFC or requir ed by applicable law.

( S) Pr im a r y M or t ga ge I n su r a n ce
I f requir ed by t his Client Guide, prim ar y m ort gage insurance has been obt ained, t he
Prem ium has been paid, and t he m ort gage insurance coverage is in full force and effect
m eet ing t he requirem ent s of t his Client Guide.

( T) Un de r w r it in g; Appr a isa l; Appr a ise r
The Loan is of invest m ent qualit y, has been prudent ly originat ed and has been underwrit t en
in com pliance wit h all requirem ent s of t his Client Guide.
For each Loan for w hich an appraisal is required or obt ained under t his Client Guide, t he
appraisal was m ade by an appraiser who m eet s t he m inim um qualificat ions for appraisers as
specified in t his Client Guide. For each Loan, as of t he Fu n din g D a t e , t he m arket Value of
t he M or t ga ge d Pr e m ise s is at least equal t o t he appraised Value st at ed on t he Loan
appraisal, or if an Au t om a t e d V a lu a t ion M ode l ( AV M ) is perm it t ed, t he Value on t he AVM,
except t o t he ext ent t hat t he m arket Value of t he Mort gaged Prem ises is low er t han t he
appraised or AVM Value due t o t he effect of any t oxic m at erials or ot her environm ent al
hazards of which neit her t he appraiser nor t he Client has act ual knowledge or reasonable
grounds t o suspect .
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          ( U) En for ce a bilit y; En for ce m e n t Pr ov ision s
          Each Not e and Se cu r it y I n st r u m e n t const it ut es a legal, valid and binding obligat ion of t he
          Borrower enforceable in accordance wit h it s t erm s except as lim it ed by bankrupt cy,
          insolvency or ot her sim ilar laws affect ing generally t he enfor cem ent of credit or s’ right s.
          Each Securit y I nst rum ent cont ains cust om ary and enfor ceable provisions which render t he
          right s and rem edies of t he holder adequat e t o realize t he benefit s of t he securit y against t he
          M or t ga ge d Pr e m ise s, including: ( i) in t he case of a Securit y I nst rum ent designat ed as a
          deed of t rust , by t rust ee's sale, ( ii) by sum m ary foreclosure, if available under applicable
          law; and ( iii) ot herwise by foreclosure, and t here are no hom est ead or ot her exem pt ions or
          dower, court esy or ot her right s or int erest s available t o t he Bor rower or t he Bor rower ’s
          spouse, survivors or est at e or any ot her person or ent it y t hat would, or could, int erfere wit h
          such right t o sell at a t rust ee’s sale or t o foreclose. The Secur it y I nst rum ent and any rider s t o
          t he Securit y I nst rum ent m ust be signed by any person wit h an act ual or pot ent ial int erest in
          t he pr opert y. Tit le holders have an act ual int erest in t he propert y and m ust sign t he Securit y
          I nst rum ent and r iders. Non- Borrowing spouses who are not in t it le m ay have an act ual or
          pot ent ial int erest in t he propert y under St at e law and m ay be required t o sign t he Securit y
          I nst rum ent and rider in som e St at es in order for t he holder of t he Securit y I nst rum ent t o
          obt ain, prot ect and enforce it s lien. The Client will obt ain t he signat ure of t he non- Borrowing
          spouse on t he Securit y I nst rum ent and riders or ot her docum ent at ion, as allowed by law, if
          such signat ure is necessary t o prot ect t he int erest of t he holder of t he Securit y I nst rum ent .

          ( V ) H olde r - I n - D u e - Cou r se
          The Client is t he owner and holder- in- due- course of each Not e and is nam ed as m ort gagee/
          beneficiary or assignee under each Se cu r it y I n st r u m e n t , and all Loa n D ocum e n t s
          requiring execut ion have been appropriat ely execut ed, wit nessed or not arized by t he persons
          whose nam es appear as signat ories and wit nesses, or, as appropriat e, not aries who
          const it ut e t he valid and binding legal obligat ion of t he Borrower, enforceable in accordance
          wit h t heir respect ive t erm s. Not wit hst anding t he foregoing, wit h respect t o adj ust able- rat e
          m ort gage Loans ( ARMs) , t he Client repr esent s and warrant s t hat t here are no claim s t o t he
          Not e on t he part of any person or defenses of any part y t o t he Not e ot her t han t hose t hat
          validly could be raised against a holder- in- due- course.

          ( W ) Tr u st e e D e signa t e d
          Wit h respect t o each Se cu r it y I n st r u m e n t t hat is a deed of t rust , a t rust ee duly qualified
          under applicable law t o serve as such is properly nam ed, designat ed and serving.

          ( X ) N o Fe e s D ue Tr u st e e
          Except in connect ion wit h a t rust ee’s sale aft er default by t he Borrower, no fees or expenses
          are payable by t he Client or GMAC- RFC t o t he t rust ee under any Securit y I nst rum ent t hat is
          a deed of t rust .

          ( Y) Ex e cut ion of D ocum e n t s
          All agreem ent s, cont ract s, assignm ent s, endorsem ent s and issuances of checks or draft s,
          report s, Loa n D ocu m e n t s or ot her papers relat ed t o a Loan t hat are required by t his Client
          Guide t o be execut ed by t he Client have been proper ly execut ed by an officer on behalf of t he
          Client pursuant t o a duly adopt ed Resolut ion of Board of Direct ors.
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( Z) Le a se h olds
Where perm it t ed by t he applicable Loa n Pr ogr a m , each Mort gaged Prem ises involving a
Le a se h old est at e com plies wit h t he applicable Leasehold warrant ies set fort h in t his Client
Guide.
( AA) Con dom in iu m s; Pla n n e d Un it D e v e lopm e n t s ( PUD s)
Each M or t ga ge d Pr e m ise s t hat is a unit in a condom inium or PUD com plies wit h t he
applicable condom inium or PUD warrant ies set fort h in t his Client Guide.
( BB) Com plia n ce By Ot h e r s
When a person or ent it y: ( i) originat es a Loan on behalf of a Client , ( ii) originat es a Loan on
it s own behalf and sells it t o a Client , or ( iii) perform s any act for a Client which t he Client is
required t o perform under t his Client Guide, t he Client warrant s t hat such person or ent it y
has com plied wit h all requir em ent s of t his Client Guide wit h respect t o all such Loans and
act s.
( CC) Clie n t Con t r a ct W a r r a n t ie s
The represent at ions and warrant ies m ade at t he t im e of t he Client ’s execut ion of t he Client
Cont ract m ust rem ain t rue, correct and com plet e.
( D D ) Clie n t a n d Or igin a t or s
Each Jum bo A, Expanded Crit er ia or Paym ent Opt ion Loan was originat ed by ( i) a savings and
loan associat ion, savings bank, com m ercial bank, credit union, insurance com pany or sim ilar
banking inst it ut ion which is supervised by a federal or St at e aut horit y, or ( ii) a HUD approved
non- supervised or cor respondent m ort gagee.
I f t he Client sells Loans t o GMAC- RFC which are regist ered wit h M ERS or as t o which MERS is
t he m ort gagee on t he Se cu r it y I n st r u m e n t , t he Client is a m em ber of MERS, in good
st anding and current in paym ent of all fees and assessm ent s im posed by MERS.
( EE) N o I m pa ir m e n t of I n su r a n ce
No act ion, er ror, om ission, m isrepresent at ion, negligence, fraud or sim ilar occurrence in
respect of a Loan has t aken place on t he part of any person, including, wit hout lim it at ion, t he
Borrower, any appraiser, any builder or developer or any part y involved in t he originat ion of
t he Loan or in t he applicat ion of any insurance in relat ion t o such Loan t hat m ight result in a
denial, cont est ing, failure or im pairm ent of full and t im ely coverage under any insurance
policies requir ed t o be obt ained or any pool insurance policy covering such Loan.
( FF) Te m por a r y Buy dow ns
Where perm it t ed by t he applicable Loa n Pr ogr a m , each Te m por a r y Buy dow n Loan
delivered t o GMAC- RFC was ent ered int o pursuant t o a buydown agreem ent which com plies
wit h t he Te m por a r y Bu ydow n s Sect ion in Cha pt e r 3 C, Financing, of t his Client Guide.
( GG) Pr im a r y M or t ga ge I n su r a n ce Ca n ce lla t ion
The Client has disclosed in writ ing t o t he Borrower t he t erm s and condit ions t hat m ust be
m et prior t o t he prim ary m ort gage insurance being eligible for cancellat ion. A copy of t his
disclosure has been ret ained in t he Loan file as a perm anent record.
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          ( H H ) N o D e ficie n cy I n Escr ow D e posit s or Pa ym e n t s
          The Loan has been serviced by t he Client and any pr edecessor Se r vice r in accordance wit h
          t he t erm s of t he m ort gage Not e and all applicable law. Wit h respect t o escrow deposit s and
          escrow paym ent s, if any, all such paym ent s are in t he possession of, or under t he cont rol of,
          t he Client , and t here exist s no deficiency in connect ion t herewit h for which cust om ary
          arrangem ent s for repaym ent t hereof have not been m ade. No escrow deposit s, escr ow
          paym ent s or ot her charges or paym ent s due t he Client have been capit alized under any
          m ort gage or relat ed m ort gage Not e.
          ( I I ) Loa n Se cu r it iza t ion
          The Client recognizes t hat it is GMAC- RFC’s int ent t o securit ize som e or all of t he Loans sold
          t o GMAC- RFC by t he Client . The Client agrees t o provide GMAC- RFC w it h all such inform at ion
          concerning t he Client generally and, if applicable, t he Client ’s servicing experience, as m ay
          be reasonably request ed by GMAC- RFC for inclusion in a prospect us or privat e placem ent
          m em orandum published in connect ion wit h such securit izat ion.
          I n addit ion, t he Client will cooperat e in a sim ilar m anner wit h GMAC- RFC in connect ion wit h
          any whole Loan sale or ot her disposit ion of any Loan sold t o GMAC- RFC by t he Client . The
          Client agrees t o indem nify and hold GMAC- RFC harm less from and against any loss, dam age,
          penalt y, fine, forfeit ure, court cost , reasonable at t orneys’ fees, j udgm ent , cost , fee, expense
          or liabilit y incurred by GMAC- RFC as a result of any m at erial m isst at em ent in or om ission
          fr om any infor m at ion provided by t he Client t o GMAC- RFC; or fr om any claim , dem and,
          defense or assert ion against or involving GMAC- RFC based on or grounded upon, or result ing
          fr om such m isst at em ent or om ission or a breach of any represent at ion, warrant y or
          obligat ion m ade by GMAC- RFC in reliance upon such m isst at em ent or om ission.
          The Client furt her agrees t o cooperat e fully wit h GMAC- RFC, rat ing agencies, at t or neys, bond
          insurers, purchasers of Loans or any ot her part ies t hat m ay be involved in t he sale or
          securit izat ion of any Loan, including, wit hout lim it at ion, all cooperat ion as m ay be necessary
          in order t o accom m odat e due diligence act ivit y.
          ( JJ) N on - Solicit a t ion
          The Client has not solicit ed or provided inform at ion t o anot her part y for t he purpose of
          solicit ing, and covenant s and agrees t hat it will not solicit or provide inform at ion t o anot her
          part y for t he purpose of solicit ing, t he refinance of any Loan. The t erm “ solicit ” as used
          herein shall m ean a direct request or offer t o refinance a servicing released Loan, and shall
          not include general solicit at ions, advert isem ent s or prom ot ions direct ed t o t he public at
          large.
          ( KK) N o Fr a u d or M isr e pr e se n t a t ion
          No fraud or m isrepr esent at ion by t he Borrow er or by t he Client , broker, correspondent ,
          appr aiser or any independent cont ract or ret ained by t he Client , broker, corr espondent ,
          appr aiser or any em ployee of any of t he foregoing occurred wit h respect t o or in connect ion
          wit h t he originat ion or underwrit ing of any Loan and all inform at ion and docum ent s provided
          t o GMAC- RFC in connect ion wit h t he Loan are com plet e and accurat e.
          ( LL) Ex clu sion a r y List
          No part y involved in t he originat ion of a Loan ( e.g., originat or, broker, t it le com pany,
          appraiser, et c.) was on t he Ex clu sion a r y List on t he dat e t he Loan was originat ed as
          det erm ined by t he dat e of t he prom issory Not e for t hat part icular Loan.
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A206
Integrity of Information
The Client is responsible for credit and propert y underw rit ing regardless of w het her t he
inform at ion was provided by t he Client , an ent it y relat ed t o t he Client or designat ed by t he
Client t o perform t he funct ion. This includes credit inform at ion, appraisals, or ot her
docum ent s/ inform at ion used in t he Loan's evaluat ion.
The Client should t ake all st eps necessary t o ensure t hat each Loan sold t o GMAC- RFC has
been prudent ly originat ed and underwrit t en, and t hat all inform at ion supplied by, on behalf
of, or concerning t he Borrower is t rue, accurat e and com plet e. The Client should ensure t hat
int erest ed part ies are sufficient ly independent from t he Loan t ransact ion and t hat adequat e
organizat ional cont r ols are in place t o ensur e t he independence, validit y and reliabilit y of t he
Loan inform at ion.
I n addit ion, t he Client should im plem ent prudent pract ices when relying on designat ed
agent s ( such as escrow com panies, t it le com panies, et c.) in order t o ensure t hat t hey com ply
wit h it s inst ruct ions and t hat t he int egr it y of t he Loan t ransact ion has been m aint ained.

A207
Third-Party Originators
When relying on t he act ions or services of t hird- part y originat ors, t he Client should est ablish
qualificat ion and eligibilit y st andards. The Client should consider t he funct ions being
perform ed by t he t hird- part y originat or in est ablishing t hese st andards. These st andards
should be review ed periodically t o ensur e ongoing eligibilit y by t he t hird- part y originat or.
The Client is encouraged t o include t he follow ing it em s in form ulat ing it s qualificat ion and
eligibilit y st andar ds and procedures:
    ( 1) Review personnel resum es and references of m anagem ent and Loan originat ion st aff
         ( Loan officers, processors, underwrit ers, closers, et c.)
    ( 2) Est ablish m inim um net wort h requirem ent s and evaluat e t he financial viabilit y of t he
         firm on an ongoing basis
    ( 3) Est ablish m inim um requirem ent s for errors and om issions insurance and fidelit y
         bond coverage and m onit or ongoing com pliance wit h t hese st andards
    ( 4) Docum ent t he relat ionship wit h a cont ract ual agreem ent t hat cont ains specific
         warrant ies relat ed t o each par t y’s responsibilit ies, as well as recourse right s in t he
         event of warrant y violat ions
    ( 5) Review t he per form ance of Loans originat ed by t hird part ies t o evaluat e t rends or
         pat t erns of D e lin qu e n cy
The Client should include a represent at ive, random sam ple of t hird- part y Loans in t he qualit y
cont rol program t hrough bot h pre- and post - closing qualit y cont rol audit s t o ensure t he
qualit y of Loan inform at ion.
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          A208
          Events of Default
          Any one or m ore of t he following event s const it ut e an Eve nt of D e fa u lt :
               ( 1) The Client has not com plied wit h one or m ore of t he requirem ent s ( including any
                    requirem ent out lined in Chapt er 2, Client Eligibilit y) t erm s or condit ions out lined in
                    t his Client Guide or one of t he disqualificat ion, suspension or inact ivat ion event s set
                    fort h in t he D isqu a lifica t ion Su spe n sion or I n a ct iv a t ion Sect ion has occurred or
                    occurs.
               ( 2) The Client has breached any agreem ent out lined or incorporat ed by reference in t he
                    Client Cont ract or any ot her agreem ent bet ween t he Client and GMAC- RFC.
               ( 3) The Client breaches any of t he represent at ions, warrant ies or covenant s set fort h in
                    t his Client Guide, fails t o perform it s obligat ions under t his Client Guide or t he
                    Program Docum ent s, m akes one or m ore m isleading represent at ions, warrant ies or
                    covenant s t o GMAC- RFC, or has failed t o provide GMAC- RFC wit h inform at ion in a
                    t im ely m anner, including inform at ion required under Regulat ion AB or any successor
                    regulat ion, t hat is t rue, com plet e and accurat e.
               ( 4) The Borr ower or any ot her person or ent it y involved in t he Loan t ransact ion or in it s
                    underwrit ing or docum ent at ion ( including any appraiser, broker, t hird- part y
                    originat or, credit report ing agency, or ot her pr ovider of underwrit ing inform at ion)
                    has m ade any false represent at ion and/ or has failed t o provide inform at ion t hat is
                    t r ue, com plet e and accurat e in connect ion w it h such t ransact ion, w het her or not t he
                    Client was a part y t o or had knowledge of such m isr epresent at ion or incorrect
                    inform at ion.
               ( 5) Occurrence of an Event of Se r vice r Default wit h respect t o any Loans serviced by
                    t he Client .
               ( 6) Term inat ion of servicing for cause is a basis for t he Client ’s im m ediat e
                    disqualificat ion or suspension. Act ion t aken by GMAC- RFC t o t erm inat e servicing
                    m ay be m erged wit h an act ion t o disqualify, suspend or inact ivat e t he Client .

          A209
          Remedies of GMAC-RFC
          ( A) N on - Ex clu siv e , Cu m u la t ive Re m e die s
          GMAC- RFC m ay exercise any r em edy out lined in t his Client Guide or as allowed by law or in
          equit y. GMAC- RFC’s exercise of one or m ore rem edies in connect ion wit h a part icular Eve n t
          of D e fa u lt will not prevent it from exercising:
               • One or m or e ot her rem edies in connect ion wit h t he sam e Event of Default
               • Any ot her right s which it m ay have at law or in equit y
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( B) W a ive r of D e fa u lt s
GMAC- RFC m ay waive any default by Client in t he perform ance of Client ’s obligat ions
hereunder and it s consequences, but only by a writ t en waiver specifying t he nat ure and
t erm s of such waiver. No such waiver shall ext end t o any subsequent or ot her default or
im pair any right consequent t heret o, nor shall any delay by GMAC- RFC in exercising, or
failure t o exercise, any right arising from such default affect or im pair GMAC- RFC’s right s as
t o such default or any subsequent default .

( C) Su r v iva l of Re m e die s
GMAC- RFC’s rem edies for breach of t he represent at ions, warrant ies and covenant s shall
survive t he sale and delivery of t he Loan t o GMAC- RFC and funding of t he relat ed purchase
price by GMAC- RFC, and will cont inue in full force and effect for t he rem aining life of t he
Loans, not wit hst anding any t erm inat ion of t his Client Guide and t he relat ed Fu n din g
D ocu m e n t s, or any rest rict ive or qualified endorsem ent on any m ort gage Not e or
assignm ent of m ort gage or Loan approval or ot her exam inat ion of or failur e t o exam ine any
relat ed m ort gage Loan file by GMAC- RFC.

A210
Repurchase
( A) Re pu r ch a se Obliga t ion s
I f GMAC- RFC det erm ines t hat an Ev e n t of D e fa u lt has occurred wit h respect t o a specific
Loan, t he Client agrees t o r epurchase t he Loan and it s servicing ( if t he Loan was sold
servicing released) wit hin 30 days of receiving a repurchase let t er or ot her writ t en
not ificat ion from GMAC- RFC.
I f t he Client discovers an Event of Default , it should give GMAC- RFC prom pt writ t en not ice.
Such not ice should include a writ t en descript ion of t he Event of Default . Upon receipt of t his
not ice, GMAC- RFC will review t hese m at erials and any addit ional inform at ion or
docum ent at ion t hat t he Client believes m ay influence GMAC- RFC’s decision t o requir e
repurchase. I f GMAC- RFC decides t o require repurchase, t he Client shall repurchase t he Loan
and t he servicing ( if t he Loan was sold servicing released) wit hin 30 days aft er GMAC- RFC’s
decision is com m unicat ed t o Client in writ ing.
To expedit e t he wiring of funds t o GMAC- RFC, t he Client should com plet e t he servicing
t ransfer inst ruct ion form provided by GMAC- RFC. GMAC- RFC will send t he form t o t he Client
along wit h t he not ificat ion of repurchase.
GMAC- RFC is not required t o dem and repurchase wit hin any part icular period of t im e, and
m ay elect not t o require im m ediat e repurchase. However, any delay in m aking t his dem and
does not const it ut e a waiver by GMAC- RFC of any of it s right s or rem edies.
Where GMAC- RFC det erm ines t hat repurchase of a Loan and/ or t he servicing is not
appr opriat e, t he Client shall pay GMAC- RFC all losses, cost s and expenses incurred by GMAC-
RFC and/ or t he Loan’s Se r vice r as a result of an Ev e n t of D e fa u lt . This includes all
reasonable at t orneys’ fees and ot her cost s and expenses incurred in connect ion wit h
enforcem ent effort s under t aken.
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          Upon t he Client ’s sat isfact ion of it s repurchase obligat ion, GMAC- RFC will endorse t he Not e
          evidencing t he Loan in blank and w ill deliver it and ot her pert inent Loa n D ocu m e n t s t o t he
          Client . I f GMAC- RFC acquired t it le t o any of t he real propert y securing t he Loan pursuant t o a
          foreclosure sale and has not disposed of such propert y, it w ill t ransfer such propert y t o t he
          Client on a “ quit claim ” basis or, if required by St at e law, a “ warrant y deed” basis. However, if
          GMAC- RFC has disposed of t he real proper t y securing t he Loan, t he Loan Docum ent s will not
          be ret urned t o t he Client unless request ed.
          I f t he Client is also t he Se r vice r of a Loan repurchased by reason of t he occurrence of an
          Event of Default , GMAC- RFC will not reim burse t he Client for any principal, int erest or ot her
          advances m ade by t he Client wit h respect t o t hat Loan.
          I f, for any part icular Loan, Client has com plied wit h it s propert y valuat ion docum ent at ion
          requirem ent s ( as described under Specific Represent at ions, Warrant ies and Covenant s
          Concerning I ndividual Loans in t he Unde r w r it in g; Appr a isa l; Appr a ise r Sect ion) by
          providing a GMAC- RFC Qualified AVM in lieu of an appraisal, where t he Loa n Pr ogr a m t erm s
          perm it t he use of a Qu a lifie d AV M as t he sole docum ent at ion of pr opert y valuat ion
          underlying such Loan, and provided a Qualified AVM was obt ained by Client in good fait h
          direct ly from Qualified AVM Vendors ( See GMAC- RFC Ex h ibit 1 6 G0 5 , Aut om at ed Valuat ion
          Model ( AVM) Approved Vendors) and has been subm it t ed t o GMAC- RFC in it s original,
          unalt ered form as issued by t he Qualified AVM Vendor; or, alt ernat ively, if GMAC- RFC has
          waived an appraisal and indicat ed such waiver in it s Asset wise SM m essaging ( an Appr a isa l
          W a ive r ) , t hen, if an Eve n t of D e fa u lt relat ed t o such Loan ar ises solely out of t he validit y
          and accuracy of t he pr opert y valuat ion am ount st at ed in t he Qualified AVM, or ot herwise
          relat ed t o t he pr opert y valuat ion am ount wit h respect t o a loan where GMAC- RFC has
          grant ed an Appraisal Waiver, but provided t hat in all ot her aspect s t he Loan was eligible for
          purchase by GMAC- RFC at t he t im e it was subm it t ed for purchase by Client , GMAC- RFC will
          not exercise it s right t o dem and repurchase for such part icular Loan by reason of such
          part icular Event of Default . How ever, in t he case of eit her a Qu a lifie d AVM or an Appraisal
          Waiver, GMAC- RFC m ay cont inue t o exercise it s right t o dem and repurchase if GMAC- RFC
          reasonably believes t hat Client or any t hird part y or iginat or obt ained a Qualified AVM or
          allowed GMAC- RFC t o rely on an Appr a isa l W a ive r in bad fait h, such as by using a Qualified
          AVM where Client or t he t hird part y originat or had reason t o know t hat t he m ort gaged
          propert y was m at erially different t han t hat described in t he Qualified AVM or t hat t he
          descript ion in t he Qualified AVM should not be consider ed reliable at t he t im e t he Loan was
          sold t o GMAC- RFC, or where t he Client or t hird part y or iginat or has reason t o know t hat t he
          m ort gaged propert y was m at erially dam aged.

          ( B) Re pu r ch a se Pr ice of Fir st M or t ga ge Pr ogr a m s
          I n t he event t he Client is obligat ed t o repurchase a Loan t he Client m ust pay t o GMAC- RFC a
          repur chase pr ice equal t o t he sum of:
                • The act ual principal balance of t he Loan at t he t im e of repurchase ( if t he Client sold t he
                  Loan t o GMAC- RFC at a discount or a Prem ium , t he repurchase price above will be
                  adj ust ed t o reflect t he act ual principal balance m inus t he discount percent age
                  m ult iplied by t he act ual principal balance, or plus t he Prem ium percent age m ult iplied
                  by t he act ual principal balance, as appr opriat e, including t hat price paid for Se r vicin g
                  Righ t s) , plus
                • All accr ued and unpaid int erest on t he Loan t hrough t he last day of t he m ont h of t he
                  dat e of repurchase; plus
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    • All int erest , principal and ot her advances m ade t o invest ors and all out of pocket cost s
      and expenses of any kind incurred by GMAC- RFC and/ or t he prim ary Se r vice r in
      connect ion wit h t he Loan, including, but not lim it ed t o, advances for t axes or
      insurance, and repair, foreclosure and insurance cost s and reasonable at t orneys’ fees;
      plus
    • The am ount of t he Bu you t Fe e as calculat ed in t he Ex t e n sion a n d Bu you t Fe e s
      Sect ion of Chapt er 9A, Com m it m ent s; plus
    • I n t he event t hat GMAC- RFC or any of it s Affilia t e s is required t o repurchase t he Loan
      fr om any subsequent assignee, t hen any addit ional am ount as m ay be required t o
      m ake t he repurchase price t hat t he Client is obligat ed t o pay hereunder equal t o t he
      repurchase pr ice t hat GMAC- RFC or it s Affiliat e is required t o pay t o such subsequent
      assignee; m inus
    • The net am ount of any proceeds r ealized by t he owner of t he Loan upon t he final
      liquidat ion of t he Loan or t he M or t ga ge d Pr e m ise s t o an unrelat ed t hird part y.
The D e signa t e d Se r v ice r will ret urn t o t he Client any escrow funds, unapplied funds and
prepaid principal and int erest inst allm ent s.
GMAC- RFC m ay dem and t hat a Client repurchase, and Client m ust repurchase, a Loan aft er
foreclosure even if t he full am ount of it s out st anding debt was bid on by or on behalf of t he
Loan’s owner t o acquire t he M or t ga ge d Pr e m ise s at t he foreclosure sale. I n t he event t he
Client is obligat ed t o repurchase a Loan aft er foreclosure, t he repurchase price shall be
calculat ed using t he form ula above, however Sch e du le d Pr in cipa l Ba la n ce shall be
subst it ut ed for t he act ual principal balance.

( C) Re pu r ch a se Pr ice of H om e Equ it y Pr ogr a m
I n t he event t he Client is obligat ed t o repurchase a Hom e Equit y Loan, t he Client m ust , upon
repurchase, service such Hom e Equit y Loan. The repurchase price for such Hom e Equit y Loan
shall be equal t o t he sum of:
    • The unpaid pr incipal balance of t he Hom e Equit y Loan
    • All accr ued and unpaid int erest on t he Hom e Equit y Loan
    • The am ount of all fees and/ or purchase Prem ium paid, if any, t o t he Client by GMAC-
      RFC for originat ion of t he Hom e Equit y Loan
    • All fees paid t o any Se r v ice r or sub- servicer of a Hom e Equit y Loan by reason of t he
      t erm inat ion of t hat Servicer ’s or Sub- Servicer ’s right t o service t hat Hom e Equit y Loan
    • All cost s incurred or paid by GMAC- RFC or any Servicer in collect ing or enforcing t he
      Hom e Equit y Loan, including, wit hout lim it at ion, int erest or ot her cost s paid t o bring or
      m aint ain a prior lien current or up t o dat e, cost s t o insure or pay delinquent t axes,
      at t orneys’ fees, court cost s, appraisal and t it le expenses and ot her sim ilar cost s or
      expenses ( collect ively, “ Foreclosure Expenses” )
    • Any addit ional am ount GMAC- RFC or any of it s Affilia t e s is required t o pay t o
      repurchase t he Hom e Equit y Loan from a subsequent assignee
I n lieu of repurchasing a Hom e Equit y Loan t hat has not yet been foreclosed and accept ing
t he servicing of such Hom e Equit y Loan, GMAC- RFC m ay in it s sole discret ion allow Client t o
pay t o GMAC- RFC t he Est im at ed Loss ( as defined below) . Est im at ed Loss, as it relat es t o
each Hom e Equit y Loan subj ect t o repurchase, shall equal t he product of:
120% m ult iplied by t he result of:
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               • Repurchase price as calculat ed above, plus
               • Accrued int erest on t he Hom e Equit y Loan t hrough t he dat e GMAC- RFC est im at es t hat
                 t he Hom e Equit y Loan will be fully liquidat ed ( which in t he case of a foreclosure, shall
                 m ean t he dat e t hat GMAC- RFC est im at es t hat t he M or t ga ge d Pr e m ise s will be sold t o
                 a t hird part y and which in any ot her case m eans t he dat e t hat GMAC- RFC est im at es
                 t hat all collect ion effort s on t he Hom e Equit y Loan will be abandoned) and est im at ed
                 foreclosure and ot her enforcem ent expenses for t he ent ire collect ion process, less
               • Am ount by which t he current m arket Value of t he Mort gaged Prem ises as det erm ined
                 by GMAC- RFC using valuat ion services provided by an independent t hir d part y exceeds
                 t he current out st anding am ount of indebt edness secured by t he Mort gaged Prem ises
                 t hat is senior t o t he Hom e Equit y Loan.

          ( D ) Re pu r ch a se Pr ice of a Se r vicin g Re le a se d Loa n
          I n t he event t he Client repurchases a Loan for which t he servicing has also been sold t o
          GMAC- RFC, t he Client will also be required t o repurchase t he servicing. I f t he repur chase of
          t he servicing of t he Loan is for any reason ot her t han a breach of t he D e lin qu e n cy Payoff/
          Liquidat ion warrant y cont ained in t he Servicing Released Cha pt e r 8 , t he Client m ust pay t o
          GMAC- RFC a repurchase price equal t o t he original Se r vicin g Re le a se d Pr e m iu m ( SRP)
          percent age m ult iplied by t he act ual unpaid principal balance at t he t im e of repurchase.
          I n no event however, will t he required repurchase Servicing Released Prem ium be gr eat er
          t han t he original Servicing Released Prem ium paid t o t he Client .
          The D e sign a t e d Se r vice r will ret urn t o t he Client any escrow funds, Te m por a r y Bu ydow n
          funds, unapplied funds and prepaid pr incipal and int erest inst allm ent s. The Client will be
          required t o reim burse t he Designat ed Servicer for any delinquent principal and int erest
          advances, and any escrow advances and foreclosure expenses t hey have m ade and not
          recovered on a repurchased Loan.

          ( E) Re pu r ch a se As a Re su lt of Con ve r sion
          The Client ( or, if t he Client has t ransferred servicing of t he Loans, t he Se r vice r ) shall
          repurchase a Loan which has convert ed from an ARM t o a fixed- rat e m ort gage. The Servicer
          m ust subm it t he ARM Conversion Not ificat ion Report no less t han 15 days prior t o t he
          conversion dat e.
          I f t he Client or Servicer repurchases a convert ed Loan and subsequent ly resells t hat
          convert ed Loan t o GMAC- RFC, all t he Client ’s represent at ions and warrant ies wit h respect t o
          t hat Loan shall survive such repurchase and resale. I n addit ion, t he Client shall be subj ect t o
          all right s and rem edies ( including repurchase) available t o GMAC- RFC as a result of any
          m isrepresent at ion or breach of warrant y wit h respect t o t hat Loan pr ior t o conversion.
          The Client shall also subm it t he m odificat ion agreem ent if request ed by GMAC- RFC or it s
          assigns.
          Aft er it s receipt of t he Loan funds, GMAC- RFC will endorse t he Not e t o t he par t y which
          repurchased t he Loan. The Loan will t hen be assigned t o such part y, and all credit
          docum ent at ion will be ret urned. Failure t o subm it t he ARM Conversion Not ificat ion Report in
          a t im ely m anner m ay delay t he receipt of t he endorsed Not e and ot her Le ga l D ocu m e n t s.
          The Se r v ice r shall subm it a Payoff/ Liquidat ion Report and wire t ransfer Loan funds t o t he
          GMAC- RFC Loa n Accou n t in g D e pa r t m e n t no lat er t han t he last Bu sin e ss D a y prior t o t he
          conversion dat e. The Servicer m ust rem it int erest for t he ent ire m ont h preceding t he
          conversion dat e. The Client shall at t ach a copy of t he ARM Conversion Not ificat ion Report .
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I f t he appropriat e am ount is not wired on t im e, GMAC- RFC will charge a lat e paym ent fee.
This fee will equal t he am ount due m ult iplied by t he “ Pr im e Ra t e ” plus 3% m ult iplied by t he
num ber of days overdue divided by 365. The t erm “ Prim e Rat e” shall m ean t he highest
quot ed Prim e Rat e print ed in The Wall St r eet Journal in it s regular colum n “ Money Rat es” on
t he first Bu sin e ss D a y of t he m ont h in which t he paym ent was due and not paid. I f t he
Prim e Rat e is not available, GMAC- RFC will det erm ine a com parable rat e.

( F) Su bst it u t ion
I nst ead of requiring t he Client t o repurchase a Loan as provided above, GMAC- RFC, at it s
sole discret ion, m ay allow t he Client t o subst it ut e anot her Loan sat isfact ory t o GMAC- RFC in
place of t he original Loan, wit hin 10 days of not ificat ion by GMAC- RFC, unless ot herwise
not ified. I f t he subst it ut ed Loan cont ains t erm s different from t hose of t he Loan t hat it is
replacing, a purchase price adj ust m ent will be calculat ed by GMAC- RFC based on m arket
changes and Loan charact erist ics. Every Loan subst it ut ed will be subj ect t o all agreem ent s,
t erm s, condit ions, represent at ions and warrant ies in t his Client Guide as of t he Su bst it u t ion
Date.
I n t he event a Loan is eligible for purchase by GMAC- RFC but t he servicing is ineligible for
purchase by GMAC- RFC, t he Loan will be purchased and t he sale of servicing denied. GMAC-
RFC w ill not allow t he Client t o subst it ut e anot her servicing released Loan.

( G) Cost of Tr a n sfe r Fe e s D ue t o Re pu r cha se
The Client agrees t hat , if it is requir ed t o repurchase a Loan and t he relat ed Servicing, it will
pay all docum ent ary st am p t axes, recording fees, t ransfer t axes and all ot her expenses
payable in connect ion wit h t he repurchase and will indem nify and hold harm less GMAC- RFC
and t he D e signa t e d Se r v ice r against all losses, cost s and expenses, including at t orney
fees, result ing from such requir ed repurchases or t he breach giving rise heret o.

( H ) N ot ice a n d Appe a l
The Client m ay appeal GMAC- RFC’s decision by providing any addit ional inform at ion or
docum ent at ion it believes m ay affect GMAC- RFC’s det erm inat ion.
Send all not ificat ions and appeals t o:
      GMAC- RFC
      One Meridian Crossings
      Suit e 100
      Minneapolis, MN 55423
      At t ent ion: Repurchase Managem ent
Such inform at ion and docum ent at ion m ust be received wit hin 30 days aft er t he Client ’s
receipt of a repurchase let t er or sim ilar writ t en not ificat ion from GMAC- RFC. GMAC- RFC will
review all appeals and advise t he Client in writ ing of t he appeal decision. GMAC- RFC will in it s
sole discret ion det erm ine t he validit y of any appeal filed by t he Client . I f GMAC- RFC’s
decision rem ains firm following an appeal, t he Client shall repurchase t he Loan and it s
servicing ( if t he Loan was sold servicing released) wit hin 10 days of not ificat ion by GMAC-
RFC, in writ ing, t hat t he appeal has been denied.
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   ( 17) The Client or Se r vice r ’s failure t o m aint ain a qualified Loan originat ion, servicing
         and qualit y cont r ol st aff, an accept able ongoing qualit y cont rol program , adequat e
         facilit ies and writ t en policies and procedures t o ensure:
         • The invest m ent qualit y of Loans sold t o GMAC- RFC
         • The adequacy of t he servicing of Loans purchased by GMAC- RFC OR
   ( 18) The failure of t he Client or t he Se r vice r t o m eet any t est as m ay be prescribed for
         eligibilit y,
   ( 19) The det erm inat ion by GMAC- RFC t hat a Client has not delivered an adequat e volum e
         of Loans t o GMAC- RFC.

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Indemnification
The Client shall indem nify GMAC- RFC fr om all losses, dam ages, penalt ies, fines, forfeit ures,
court cost s and reasonable at t orneys’ fees, j udgm ent s, and any ot her cost s, fees and
expenses result ing from any Eve nt of D e fa u lt . This includes, wit hout lim it at ion, liabilit ies
arising from ( i) any act or failure t o act , ( ii) any breach of warrant y, obligat ion or
represent at ion cont ained in t he Client Cont ract , ( iii) any claim , dem and, defense or assert ion
against or involving GMAC- RFC based on or result ing from such breach, ( iv) any breach of
any represent at ion, warrant y or obligat ion m ade by GMAC- RFC in reliance upon any
warrant y, obligat ion or represent at ion m ade by t he Client cont ained in t he Client Cont ract
and ( v) any unt rue st at em ent of a m at erial fact , om ission t o st at e a m at erial fact , or false or
m isleading inform at ion provided by t he Client in inform at ion required under Regulat ion AB or
any successor regulat ion.
I n addit ion, Client shall indem nify GMAC- RFC against any and all losses, dam ages, penalt ies,
fines, forfeit ures, j udgm ent s, and any ot her cost s, fees and expenses ( including court cost s
and reasonable at t orneys’ fees) incurred by GMAC- RFC in connect ion wit h any lit igat ion or
governm ent al proceeding t hat alleges any violat ion of local, St at e or federal law by Client , or
any of it s agent s, or any originat or or broker in connect ion wit h t he originat ion or servicing of
a Loan. Wit h regard t o legal fees or ot her expenses incurr ed by or on behalf of GMAC- RFC in
connect ion wit h any such lit igat ion or governm ent al proceeding, Client shall reim burse
GMAC- RFC for such fees and expenses. Reim bursem ent shall be m ade direct ly t o GMAC- RFC
wit hin t en days of receipt of a request for paym ent , which request shall include copies of t he
relevant invoices. Except for not ices for reim bursem ent , GMAC- RFC is not required t o give
Client not ice of any lit igat ion or governm ent al proceeding t hat m ay t rigger indem nificat ion
obligat ions. Client shall inst ruct it s officers, direct ors and agent s ( including legal counsel) t o
cooperat e wit h GMAC- RFC in connect ion wit h t he defense of any lit igat ion or governm ent al
proceeding involving a Loan. GMAC- RFC has t he right t o cont rol any lit igat ion or
governm ent al proceeding relat ed t o a Loan, including but not lim it ed t o choosing defense
counsel and m aking set t lem ent decisions.
The Client also shall indem nify GMAC- RFC and hold it harm less against all court cost s,
at t orney’s fees and any ot her cost s, fees and expenses incurred by GMAC- RFC in enforcing
t he Client Cont ract . The obligat ions of t he Client under t his Sect ion shall survive t he
D e live r y D a t e , t he Fu n din g D a t e ( and each Su bst it u t ion D a t e , if applicable) and t he
t erm inat ion of t he Client Cont ract and t he disqualificat ion, suspension or inact ivat ion of t he
Client .
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          ( A) D u e Or ga n iza t ion ; Good St a n ding; Lice n sing
          Client and, t o Client ’s knowledge, Client ’s Guarant or, if applicable, is and shall cont inue t o be
          duly organized, validly exist ing, and in good st anding under t he laws of t he Unit ed St at es or
          under t he laws of t he j urisdict ion in which it was incorporat ed or organized, as applicable,
          and has and shall cont inue t o m aint ain all licenses, regist rat ions, and cert ificat ions necessary
          t o carry on it s business as now being conduct ed, and is and will cont inue t o be licensed,
          qualified, and in good st anding in each St at e where a Mort gaged Propert y is locat ed if t he
          laws of such St at e requir e licensing or qualificat ion in order t o conduct business of t he t ype
          conduct ed by Client 1. Client is and will rem ain in com pliance w it h t he law s of any such St at e,
          and is and will rem ain in good st anding wit h federal aut horit ies, t o t he ext ent necessary t o
          ensure t he enforceabilit y of t he relat ed Loan. Client has disclosed t he final writ t en report s,
          act ions and/ or sanct ions of any and all reviews, invest igat ion, exam inat ions, audit s, act ions
          and/ or sanct ions t hat have been undert aken and/ or im posed, wit hin t w o years prior t o t he
          dat e of t he Client Cont ract , by any federal or St at e agency or inst rum ent alit y wit h respect t o
          eit her t he lending or r elat ed financial operat ions of Client , or t he abilit y of Client t o perform
          in accordance wit h t he Program Docum ent s t erm s. Each of t he represent at ions and
          warrant ies m ade by Client in it s Client Applicat ion is t rue, accurat e, and com plet e, and is
          deem ed t o be rem ade in it s ent iret y, as of t he dat e of t he Client Cont ract , and as of each
          Fu n din g D a t e .
           1
               I n addit ion, if any Loan is secured by m ort gaged propert y locat ed in t he St at e of West Virginia, Client and t he
               originat or of t he Loan is licensed under t he West Virginia Mort gage Loan Act and Client and t he originat or of t he
               Loan held such license at t he t im e t he Loan was originat ed, unless ot herwise exem pt from licensing. Client and
               t he originat or of t he Loan m ust be licensed under t he West Virginia Mort gage Loan Act even if Client and t he
               originat or of t he Loan m akes or offers t o m ake or accept s or offers t o accept or purchases or services in a calendar
               year fewer t han t he num ber of de m inim us prim ary or subordinat e m ort gage Loans specified in t he definit ion of
               “ lender” in W. Va. Code Sect ion 31- 17- 1.

          ( B) Au t h or it y
          Client has and will m aint ain t he full corporat e, part nership or lim it ed liabilit y com pany power
          and aut horit y t o execut e and deliver t he Program Docum ent s and t o perform t he t erm s of
          t his Client Guide. The execut ion, delivery, and perform ance of t he Program Docum ent s and
          t he perform ance of t he t erm s of t his Client Guide by Client , and t he consum m at ion of t he
          t ransact ions cont em plat ed, have been duly and validly aut horized. The Program Docum ent s
          and t his Client Guide evidence Client ’s legal valid, binding, and enforceable obligat ions. All
          requisit e corporat e, part nership or lim it ed liabilit y com pany act ion has been t aken by Client
          t o m ake t he Program Docum ent s and t he t erm s of t his Client Guide valid and binding upon
          Client and enforceable in accordance wit h t heir respect ive t erm s.

          ( C) Or din a r y Cou r se of Bu sin e ss
          The consum m at ion of t he t ransact ions cont em plat ed by t he Program Docum ent s and t he
          Client Guide t erm s are in Client ’s ordinary course of business, and t he t ransfer, assignm ent ,
          and conveyance of t he Mort gage Not es and t he Mort gages by Client , pursuant t o t he Program
          Docum ent s and t he Client Guide t erm s are not subj ect t o t he bulk t ransfer law s or any
          sim ilar st at ut ory provisions in effect in any applicable j urisdict ion.
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                                                                                                     Client Guide
                                                                                                     Representations,
                                                                                                     Warranties and
                                                                                                     Covenants
( D ) N o Con flict s
Neit her t he execut ion and delivery of t he Program Docum ent s, t he acquisit ion and/ or m aking
of t he Loans by Client , t he sale of t he Loans t o GMAC- RFC or t he t ransact ions cont em plat ed
t hereby or pursuant t o t his Client Guide, nor t he fulfillm ent of or com pliance wit h t he
Program Docum ent s t erm s and condit ions, will conflict wit h or result in a br each of any of t he
t erm s, condit ions, or provisions of Client 's art icles of incorporat ion, chart er, by- laws,
part nership agreem ent , or ot her organizat ional docum ent , or of any legal rest rict ion or
regulat ory direct ive or any agreem ent or inst r um ent t o which Client is now a part y or by
which it is bound, or const it ut e a default or result in an accelerat ion under any of t he
foregoing, or result in t he violat ion of any law, rule, regulat ion, order, j udgm ent , or decree t o
which Client , or any of it s propert y is subj ect , or im pair t he abilit y of GMAC- RFC t o realize on
any of t he Loans, or im pair t he Value of any of t he Loans.

( E) Abilit y t o Pe r for m
Client has t he abilit y t o perform each and every obligat ion of and/ or sat isfy each and ever y
requirem ent im posed on, Client pursuant t o t he Program Docum ent s and t his Client Guide,
and no offset , count erclaim , or defense exist s t o t he full perfor m ance by Client of t he
requirem ent s of Program Docum ent s and t his Client Guide.

( F) N o Lit iga t ion Pe n din g
There is no act ion, suit , proceeding, inquiry, review, audit , or invest igat ion pending or
t hreat ened against Client t hat , eit her in any one inst ance or in t he aggregat e, m ay r esult in
any m at erial adverse change in t he business, operat ions, financial condit ion, propert ies, or
asset s of Client , or in any m at erial liabilit y on t he part of Client , or which would draw int o
quest ion t he validit y or enforceabilit y of any of t he Program Docum ent s, t his Client Guide, or
t he Loans or of any act ion t aken or t o be t aken in connect ion wit h Client ’s obligat ions
cont em plat ed in any of t he Program Docum ent s or t his Client Guide, or which would be likely
t o im pair m at erially Client ’s abilit y t o perform under t he t erm s of t he Program Docum ent s or
t his Client Guide.

( G) N o Con se n t Re qu ir e d
No consent , approval, aut horit y, or order of any court or governm ent al agency or body is
required for t he execut ion and perfor m ance by Client of, or com pliance by Client wit h, any of
t he Program Docum ent s or t his Client Guide, t he sale of any of t he Loans, or t he
consum m at ion of any of t he t ransact ions cont em plat ed by any of t he Purchase Docum ent s,
or, if required, such uncondit ional approval has been obt ained pr ior t o t he relat ed Fu n din g
Date.

( H ) N o Un t r u e I n for m a t ion
Neit her t he Pr ogram Docum ent s, t he Client Applicat ion, t his Client Guide, nor any st at em ent ,
report , or ot her docum ent furnished or t o be furnished by Client pur suant t o t he Pr ogram
Docum ent s or t his Client Guide, cont ains any unt rue st at em ent of m at er ial fact or om it s t o
st at e a m at erial fact necessary t o m ake t he st at em ent s cont ained t herein not m isleading.
Client m eet s GMAC- RFC’s Eligibilit y St andards, and shall t ake all st eps necessary t o cont inue
t o m eet such Eligibilit y St andards.
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          ( I ) Se cu r it ie s La w
          The Client represent s t hat t he Loans ar e not “ securit ies” under any federal or St at e securit ies
          laws or any rules or regulat ions t hereunder and t hat t he t ransact ions cont em plat ed by t his
          Client Guide do not require regist rat ion under, and are not subj ect t o, any federal or St at e
          securit ies laws or any rules or regulat ions t hereunder.

          ( J) N o Accr u e d Lia bilit ie s
          Except as m ay be ot herwise disclosed by Client t o GMAC- RFC and acknowledged by GMAC-
          RFC in writ ing prior t o t he dat e of t he Client Cont ract , t here are no accrued liabilit ies of
          Client , wit h respect t o any of t he Loans, or circum st ances under which any such accrued
          liabilit ies will arise against GMAC- RFC, as successor t o Client ’s int erest s in and t o t he Loans,
          wit h respect t o any act ion or failure t o act by Client occurring on or prior t o t he Fu n din g
          Date.

          ( K) Or igin a t ion , Se r vicin g
          Client ’s originat ion and servicing of t he Loans have been legal, proper, pr udent , and
          cust om ary and have conform ed t o t he highest st andards of t he resident ial m ort gage
          originat ion and servicing business.

          ( L) Com plia n ce W it h La w s
          Client has com plied wit h, and has not violat ed any law, ordinance, requirem ent , regulat ion,
          rule, or order applicable t o it s business or proper t ies, t he violat ion of which m ight adversely
          affect t he operat ions or financial condit ions of Client , or t he abilit y of Client t o consum m at e
          t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide.

          ( M ) Com plia n ce W it h Pr ogr a m D ocu m e n t s a n d Clie n t Gu ide
          Client will com ply wit h all provisions of t his Client Guide and t he Pr ogram Docum ent s, and
          will pr om pt ly not ify GMAC- RFC of any occur rence, act , or om ission regarding Client , t he
          Loan, t he Mort gaged Propert y or t he Mort gagor of which Client has knowledge, which
          occurrence, act , or om ission m ay m at erially affect Client , t he Loan, t he Mort gaged Propert y,
          or t he Mort gagor.

          ( N ) N o D e fe n se s Aga in st GM AC- RFC
          The Client has no j udgm ent , court order, claim , count erclaim , defense, right of set- off or
          sim ilar right against GMAC- RFC.
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                                                                                                    Covenants

A202
Specific Representations, Warranties and Covenants Concerning Individual Loans
For all Loans, t he Client represent s, warrant s and covenant s t o GMAC- RFC as follows:

( A) Loa n s Ar e Eligible ; Accu r a cy of I n for m a t ion
Each of t he Loans delivered and sold t o GMAC- RFC m eet s t he applicable program t erm s and
crit eria set fort h in t his Client Guide. All inform at ion relat ing t o each Loan delivered and sold
t o GMAC- RFC is t rue, com plet e and accurat e and t here are no om issions of m at erial fact s. All
dat a provided by t he Client t o GMAC- RFC relat ing t o any Loan, w het her in elect ronic form at ,
or ot herwise, is t rue and com plet e and accurat ely reflect s t he inform at ion in t he relat ed Loan
file.

( B) Com plia nce W it h W a r r a n t ie s
The Client is in com pliance wit h, and has t aken all necessary act ion t o ensure t hat each Loan
is in com pliance wit h all represent at ions, warrant ies and requirem ent s cont ained in t his
Client Guide.

( C) Loa n Pr ovision s
The provisions of t he Loan have not been im paired, waived, alt ered or m odified in any
respect , unless appr oved in writ ing by GMAC- RFC. The issuer of any relat ed PMI Policy and
t he t it le insurer have approved t he subst ance of any such waiver, alt erat ion, or m odificat ion
t o t he ext ent required by t he respect ive policies. No Mort gagor has been r eleased, in whole
or in part .

( D ) D ocu m e n t s
All Loa n D ocu m e n t s, Fun din g D ocu m e nt s and Fin a l D ocum e n t s ar e genuine, have been
com plet ed, duly and properly execut ed, are in r ecordable form and delivered in t he for m and
m anner specified in t his Client Guide, and each Loan is t he Mort gagor ’s legal, valid and
binding obligat ion enforceable in accordance wit h it s t erm s. All originals and copies of such
docum ent s and all ot her docum ent s, m at erials, and ot her inform at ion required t o be
subm it t ed t o GMAC- RFC have been so subm it t ed, and are com plet e and accurat e. All Loan
Docum ent s, Funding Docum ent s, Final Docum ent s and all ot her docum ent s describing or
ot herwise relat ing t heret o are in com pliance wit h all applicable local and St at e laws,
regulat ions and orders.
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          ( E) Ow n e r sh ip; Tr a n sfe r
          The Client has good t it le t o and is t he sole owner of, each Loan delivered and sold t o GMAC-
          RFC. Except for t he securit y int erest of a warehouse lender, which securit y int erest Client has
          disclosed t o GMAC- RFC in writ ing, t he assignm ent of t he Loan by t he Client validly t ransfers
          such Loan t o GMAC- RFC free and clear of any pledge, lien or securit y int erest or ot her
          encum brance.
          For each Loan regist er ed wit h M ERS, t he Client represent s t hat ( a) if t he Se cu r it y
          I n st r u m e n t relat ing t o such Loan ident ifies MERS as t he original m ort gagee of record, such
          Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o MERS solely as
          nom inee for t he Client and it s successor s and assigns and t hat such Securit y I nst rum ent has
          been properly execut ed, acknowledged, delivered and recorded in all places necessary t o
          perfect t he securit y int erest on t he M or t ga ge d Pr e m ise s in favor of MERS, solely as
          nom inee for t he Client and it s successors and assigns; or ( b) if t he Loan is regist ered wit h
          MERS, and MERS is not t he original m ort gagee of recor d, an assignm ent t o MERS has been
          prepared, duly execut ed and recorded and t he chain of assignm ent s is com plet e and
          recorded from t he original m ort gagee t o MERS. Client furt her represent s t hat it has com plied
          wit h all rules and procedures of MERS for it s assignm ent of t he Securit y I nst rum ent t o GMAC-
          RFC, including, am ong ot her t hings, t hat t he Client has confirm ed t he t ransfer on MERS t o
          GMAC- RFC.

          ( F) D isbu r se m e n t s; N o Pa yoffs or Fut u r e Adva nce m e nt s
          Each Loan has been closed and fully disbursed, except as perm it t ed in t he Escr ow Accou n t
          for Post pon e d I m pr ove m e nt s/ Re pa ir s Sect ion of t his Client Guide. There are no payoffs,
          assum pt ions or insurance claim s pending on any Loan or pert aining t o t he Mort gaged
          Prem ises and t he Borrower m ay not exercise any opt ion under any of t he Loa n D ocu m e n t s
          t o borrow addit ional funds secured t hereby from t he Client or any ot her person or ent it y
          wit hout t he Not eholder ’s consent .
          Addit ionally, t he Client warrant s t hat t he Client has not m ade arrangem ent s wit h any
          Borrower for any paym ent forbearance or fut ure r efinancing w it h respect t o any Loan.

          ( G) N o D e fa u lt
          There is no default , breach, violat ion or event of accelerat ion exist ing under any Not e or
          Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, and no event exist s which, wit h not ice and
          t he expirat ion of any grace or cure period, w ould const it ut e a default , breach, violat ion or
          event of accelerat ion, and no such default , breach, violat ion or event of accelerat ion has
          been waived by t he Client or by any ot her ent it y involved in originat ing or servicing t he Loan.

          ( H ) N o D e fe n se s
          Except as provided in a buydown or subsidy agreem ent , if any, m eet ing t he requirem ent s set
          fort h in t his Client Guide, t he Borrower ( including any part y secondarily liable under t he
          Loa n D ocu m e n t s) has no right of set- off, defense, count erclaim or right of rescission t o any
          Loan Docum ent .
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                                                                                                    Warranties and
                                                                                                    Covenants
( I ) Com plia nce w it h La w
The sale and t ransfer of each Loan t o GMAC- RFC does not violat e any applicable St at e laws.
To t he ext ent t hat any applicable St at e law places any rest rict ions on t he t ransfer of any
Loan, t he Client has not ified GMAC- RFC in writ ing of t hat rest rict ion and any relat ed St at e
licensing or regist rat ion requirem ent s.
The Se cu r it y I n st r u m e n t has been properly execut ed, acknowledged, delivered and
recorded in all places necessary t o perfect t he securit y int erest in t he M or t ga ge d Pr e m ise s
in favor of t he Client and it s successors and assigns. I f a Loan is regist ered wit h M ERS, and
MERS is ident ified on t he Securit y I nst rum ent as t he original m ort gagee of record, Client
represent s t hat such Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o
MERS solely as nom inee for t he Client and it s successors and assigns. I f t he Loan is
regist ered wit h MERS, and MERS is not t he original m ort gagee of recor d, Client repr esent s
t hat an assignm ent t o MERS has been prepared, duly execut ed and recorded and t he chain of
assignm ent s is com plet e and recorded from t he original m ort gagee t o MERS and Client
furt her represent s t hat it has com plied wit h all rules and procedures of MERS for it s
assignm ent of t he Securit y I nst rum ent t o GMAC- RFC, including, am ong ot her t hings, t hat
Client has confirm ed t he t ransfer on MERS t o GMAC- RFC.
Each GMAC- RFC Loan Applicat ion ( Fa n n ie M a e 1003/ Fr e ddie M a c Form 65) was t aken from
t he Borrower and processed for each Loan, and each Loan has been originat ed, closed, and
t ransferred in com pliance wit h all applicable local, St at e and federal laws and regulat ions
including, but not lim it ed t o, t he Real Est at e Set t lem ent Procedures Act , t he Fair Credit
Report ing Act , t he Equal Credit Opport unit y Act , t he Trut h- in- Lending Act , t he Fair Housing
Act , and t he Nat ional Flood I nsurance Act . This warrant y is m ade by t he Client w it h respect
t o each GMAC- RFC Loan Applicat ion t aken and pr ocessed for each Loan and wit h r espect t o
each Loan m ade by t he Client or any ot her ent it y.

( J) Re spon sible Le n din g Re pr e se nt a t ions, W a r r a n t ie s a nd Cove n a n t s
     ( 1 ) N o D iscont in ue d Loa n s
         No Loan is a “ Discont inued Loan”. Discont inued Loan m eans any of t he following,
         regardless of whet her t he originat or is required by law t o com ply wit h t he law or has
         grounds t o claim preem pt ion from all or par t of t he law.
         ( a ) H OEPA/ Se ct ion 3 2
              A loan considered a “ m or t gage” under Sect ion 152 of t he Hom e Ownership and
              Equit y Prot ect ion Act of 1994, 15 U.S.C. Sect ion 1602 ( aa) and t he relat ed
              regulat ions and com m ent ary prom ulgat ed by t he Federal Reserve Board,
              including Sect ion 226.32 of Tit le 12 of t he Code of Federal Regulat ions, and t he
              official st aff com m ent ary t o t hose regulat ions.
         ( b) Pu r ch a se M on e y Loa n s w it h H igh Poin t s or Fe e s
              A “ purchase m oney” loan secured by t he consum er ’s principal dw elling t hat
              exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
              Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
              by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
              Federal Regulat ions. A “ purchase m oney” loan is a loan t hat is considered a
              “ resident ial m ort gage t ransact ion” under Sect ion 226.2( 24) of Tit le 12 of t he
              Code of Federal Regulat ions.
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                    ( c) H om e Equ it y Lin e s a n d 1 st Lie n Lin e s of Cr e dit Th a t Ex ce e d t h e H OEPA
                         Tr igge r s
                        An open- end line of credit secured by t he consum er ’s principal dwelling t hat
                        exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
                        Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
                        by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
                        Federal Regulat ions. “ Point s and fees” m ust be calculat ed in accordance wit h
                        Sect ion 226.32 of Tit le 12 of t he Code of Regulat ions and t he relat ed
                        com m ent ary prom ulgat ed by t he Federal Reserve Board. The “APR” is t he fully
                        indexed rat e or t he init ial rat e, whichever is great er, at t he t im e of
                        consum m at ion. The “ t ot al loan am ount ” is t he t ot al credit line available under
                        t he t erm s of t he loan, wit hout subt ract ing any am ount s for closing cost s.
                    ( d) St a t e a n d Loca l H igh Cost Loa n s
                        A loan considered a “ high- cost ,” covered, “ high- risk,” “ predat ory” or any ot her
                        sim ilar designat ion under any St at e or local law in effect at t he t im e of t he
                        closing of t he loan if t he law im poses great er rest rict ions or addit ional legal
                        liabilit y for resident ial m ort gage loans wit h high int erest rat es, point s and/ or
                        fees.
                    ( e ) Ce r t a in Ge or gia H om e Loa ns
                        A “ hom e loan” under t he Georgia Fair Lending Act , Ga. Code Ann. Sect ion 7- 6A-
                        1 et . seq. t hat becam e effect ive on Oct ober 1, 2002 ( t he “Act ” ) , if t he
                        Com m it m ent was issued on or aft er February 1, 2003 and t he loan was closed
                        on or before March 7, 2003.
                    ( f) Ce r t a in N e w Je r se y H om e Loa ns
                        A “ hom e loan” under t he New Jersey Hom e Ownership Securit y Act of 2002 ( t he
                        “Act ” ) , N.J.S.A. 46: 10B- 22 et seq. if t he loan is:
                            • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
                            • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                            • A “ hom e loan” t hat is an open- end line of credit ;
                            • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                              out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
                    ( g) Ce r t a in N e w M e x ico H om e Loa n s
                        A “ hom e loan” under t he New Mexico Hom e loan Prot ect ion Act ( t he “Act ” ) , t hat
                        was closed on or aft er February 1, 2004, and on or before February 26, 2004, if
                        t he loan is:
                            • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
                            • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                            • A “ hom e loan” t hat is an open- end line of credit ;
                            • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                              out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
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                                                                                                         Warranties and
                                                                                                         Covenants
    ( 2 ) M a n da t or y Ar bit r a t ion Cla u se
         A Loan m ay not include a m andat ory arbit rat ion clause. Any arbit rat ion agreem ent
         signed by t he Borrower prior t o t he t im e of a disput e is prohibit ed.
    ( 3 ) Pr oh ibit e d Te r m s a n d Pr a ct ice s on a ll Loa n s sold t o GM AC- RFC
         A Loan m ay not violat e any of t he following pr ohibit ed t er m s and pract ices:
         ( a) Pr e - pa id in su r a n ce pr odu ct s. No Loan finances single prem ium credit life,
              credit disabilit y, credit unem ploym ent , or any ot her pre- paid life or healt h
              insurance, direct ly or indirect ly.
         ( b) Pr e pa ym e n t pe n a lt ie s. A Loan m ay not provide for a penalt y for paying all or
              part of t he principal before t he dat e on which t he principal is due except as set
              fort h in t his paragraph and ot herwise allowed by applicable federal, St at e, and
              local law.
                   • The penalt y m ay be enforced for only t he first five years following
                     consum m at ion;
                   • The penalt y does not exceed 6 m ont hs of int erest on t he am ount prepaid or
                     6% of t he am ount prepaid; and
                   • The Pr e pa ym e n t penalt y does not becom e due upon default
         ( c) Re por t in g t o cr e dit bur e a u s. Client or it s Se r vice r m ust report t o a nat ionally
              recognized consum er credit report ing agency at least quart erly t he favorable
              and unfavorable paym ent hist ory inform at ion of Borrower on paym ent s due t o
              Client on a Loan for t he period during which Client holds or services t he Loan.
              This paragraph shall not pr event Client or it s Servicer from not report ing specific
              paym ent hist ory inform at ion in t he event of a resolved or unresolved disput e
              wit h Borrower and shall not apply t o Loans held or serviced by Client for less
              t han 90 days.
         ( d) I n cr e a se d in t e r e st r a t e u pon de fa u lt . A Loan m ay not provide for an
              increase in t he int erest rat e aft er default .

( K) Tit le I n su r a n ce
A policy of t it le insurance, in t he form and am ount required by t his Client Guide, is effect ive
as of t he day t he Se cu r it y I n st r u m e n t is recorded, is valid and binding, is in conform ance
wit h all agency guidelines and rem ains in full force and effect , unless t he M or t ga ge d
Pr e m ise s are locat ed in t he St at e of I owa and a Tit le Guarant y Cert ificat e issued by t he
I owa Tit le Guarant y Division of t he I owa Finance Aut horit y has been provided as described in
Tit le Guarant y Cert ificat e I n I owa below.

( L) Tit le Gu a r a n t y Ce r t ifica t e I n I ow a
As t o each Loan secured by Mort gaged Prem ises locat ed in t he St at e of I owa, and if an
Am erican Land Tit le Associat ion ( ALTA) Loan policy of t it le insurance has not been provided,
a Tit le Guarant y Cert ificat e issued by t he I owa Tit le Guarant y Division of t he I owa Finance
Aut horit y, in t he form and am ount required by t his Client Guide, duly delivered and effect ive
as of t he closing of each such Loan, is valid and binding, and rem ains in full force and effect .
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          ( M ) Va lid Fir st Lie n s
          Each Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, unless provided for ot herwise in a
          given Loa n Pr ogr a m , const it ut es a valid first lien on t he M or t ga ge d Pr e m ise s subj ect only
          t o t he m inor im pedim ent s described in t he Tit le I n su r a n ce Sect ion of t his Chapt er, and such
          im pedim ent s do not adversely affect t he Value, use, enj oym ent or m arket abilit y of t he
          Mort gaged Prem ises. Each Securit y I nst rum ent and all relat ed docum ent s ( including, wit hout
          lim it at ion, releases of prior Securit y I nst rum ent s, assum pt ion agreem ent s, assignm ent s,
          am endm ent s, powers of at t orney, and m odificat ion, ext ension and consolidat ion
          agreem ent s) t hat ar e required t o be recorded or filed under applicable law in order t o
          preserve in favor of GMAC- RFC t he validit y and enforceabilit y of t he Securit y I nst rum ent and
          t he liens cr eat ed t her eby, have been duly r ecorded in all appropriat e recording offices, and all
          associat ed recording fees or t axes m ust be paid.

          ( N ) N o En cr oa ch m e n t s By Adj oin in g Pr ope r t ie s; I m pr ov e m e n t s
          No im provem ent s by adj oining pr opert ies encroach upon t he Mort gaged Prem ises in any
          respect so as t o affect t he Value or m arket abilit y of t he Mort gaged Prem ises. No
          im provem ent locat ed on or being part of t he Mort gaged Propert y is in violat ion of any
          applicable zoning law or regulat ion.

          ( O) Su r v e y
          All im provem ent s which were considered in det erm ining t he appraised Value of t he
          M or t ga ge d Pr e m ise s lie wholly wit hin it s boundaries and t he building rest rict ion lines of t he
          Mort gaged Prem ises, or t he policy of t it le insurance insures against loss or dam age by reason
          of any violat ion, variat ion, encroachm ent or adverse circum st ance t hat eit her is disclosed or
          would have been disclosed by an accurat e survey.

          ( P) N o Lie n s
          There are no delinquent t ax or delinquent assessm ent liens against t he Mort gaged Prem ises,
          and t here are no m echanic’s liens or claim s for w ork, labor or m at erial or any ot her liens
          affect ing t he Mort gaged Prem ises, which are or m ay be a lien prior t o, or equal wit h, t he lien
          of t he Se cu r it y I n st r u m e n t assigned t o GMAC- RFC, except t hose liens t hat are insured
          against by t he policy of t it le insurance or Tit le Guarant y Cert ificat e issued by t he I owa Tit le
          Guarant y Division.

          ( Q) N o Adve r se Cir cu m st a n ce s
          The Mort gaged Prem ises are free of dam age and in good repair, and no not ice of
          condem nat ion has been given wit h respect t heret o, and no circum st ances exist involving t he
          Loa n D ocu m e n t s, t he M or t ga ge d Pr e m ise s or t he Borrow er ’s credit st anding t hat could:
          ( i) cause privat e inst it ut ional invest ors t o regard t he Loan as an unaccept able invest m ent , ( ii)
          cause t he Loan t o becom e delinquent , or ( iii) adversely affect t he Value or m arket abilit y of
          t he Mort gaged Prem ises or t he Loan. The Client warrant s t hat it neit her has act ual knowledge
          of t he presence of, nor reasonable grounds t o suspect t he pr esence of, any t oxic m at erials or
          ot her environm ent al hazards on, in or t hat could affect any of t he Mort gaged Prem ises. The
          Client warrant s com pliance w it h local, St at e or federal law or regulat ion designed t o prot ect
          t he healt h and safet y of t he occupant s of t he propert y.
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( R) Ca su a lt y I n su r a n ce
The im provem ent s upon t he M or t ga ge d Pr e m ise s are insured against loss by fir e and ot her
hazards as required by t his Client Guide, including flood insurance if required under t he
Nat ional Flood I nsurance Act of 1968, as am ended. The Se cu r it y I n st r u m e n t r equires t he
Borrower t o m aint ain such casualt y insurance at t he Borrower ’s expense, or on t he
Borrower ’s failure t o do so, aut horizes t he holder of t he Securit y I nst rum ent t o obt ain and
m aint ain such insurance at t he Borrower ’s expense and t o seek reim bursem ent from t he
Borrower. Each casualt y policy is t he insurer ’s valid and binding obligat ion, is in full force and
effect , and w ill be in full force and effect , t o GMAC- RFC’s benefit upon t he consum m at ion of
t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide. The Loan
t erm s per m it t he m aint enance of an escrow account t o pay t he Prem ium s for t he above
m ent ioned insurance, and t he Client has not waived t he requirem ent of such escrow account
unless perm it t ed by GMAC- RFC or requir ed by applicable law.

( S) Pr im a r y M or t ga ge I n su r a n ce
I f requir ed by t his Client Guide, prim ar y m ort gage insurance has been obt ained, t he
Prem ium has been paid, and t he m ort gage insurance coverage is in full force and effect
m eet ing t he requirem ent s of t his Client Guide.

( T) Un de r w r it in g; Appr a isa l; Appr a ise r
The Loan is of invest m ent qualit y, has been prudent ly originat ed and has been underwrit t en
in com pliance wit h all requirem ent s of t his Client Guide.
For each Loan for w hich an appraisal is required or obt ained under t his Client Guide, t he
appraisal was m ade by an appraiser who m eet s t he m inim um qualificat ions for appraisers as
specified in t his Client Guide. For each Loan, as of t he Fu n din g D a t e , t he m arket Value of
t he M or t ga ge d Pr e m ise s is at least equal t o t he appraised Value st at ed on t he Loan
appraisal, or if an Au t om a t e d V a lu a t ion M ode l ( AV M ) is perm it t ed, t he Value on t he AVM,
except t o t he ext ent t hat t he m arket Value of t he Mort gaged Prem ises is low er t han t he
appraised or AVM Value due t o t he effect of any t oxic m at erials or ot her environm ent al
hazards of which neit her t he appraiser nor t he Client has act ual knowledge or reasonable
grounds t o suspect .
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          ( U) En for ce a bilit y; En for ce m e n t Pr ov ision s
          Each Not e and Se cu r it y I n st r u m e n t const it ut es a legal, valid and binding obligat ion of t he
          Borrower enforceable in accordance wit h it s t erm s except as lim it ed by bankrupt cy,
          insolvency or ot her sim ilar laws affect ing generally t he enfor cem ent of credit or s’ right s.
          Each Securit y I nst rum ent cont ains cust om ary and enfor ceable provisions which render t he
          right s and rem edies of t he holder adequat e t o realize t he benefit s of t he securit y against t he
          M or t ga ge d Pr e m ise s, including: ( i) in t he case of a Securit y I nst rum ent designat ed as a
          deed of t rust , by t rust ee's sale, ( ii) by sum m ary foreclosure, if available under applicable
          law; and ( iii) ot herwise by foreclosure, and t here are no hom est ead or ot her exem pt ions or
          dower, court esy or ot her right s or int erest s available t o t he Bor rower or t he Bor rower ’s
          spouse, survivors or est at e or any ot her person or ent it y t hat would, or could, int erfere wit h
          such right t o sell at a t rust ee’s sale or t o foreclose. The Secur it y I nst rum ent and any rider s t o
          t he Securit y I nst rum ent m ust be signed by any person wit h an act ual or pot ent ial int erest in
          t he pr opert y. Tit le holders have an act ual int erest in t he propert y and m ust sign t he Securit y
          I nst rum ent and r iders. Non- Borrowing spouses who are not in t it le m ay have an act ual or
          pot ent ial int erest in t he propert y under St at e law and m ay be required t o sign t he Securit y
          I nst rum ent and rider in som e St at es in order for t he holder of t he Securit y I nst rum ent t o
          obt ain, prot ect and enforce it s lien. The Client will obt ain t he signat ure of t he non- Borrowing
          spouse on t he Securit y I nst rum ent and riders or ot her docum ent at ion, as allowed by law, if
          such signat ure is necessary t o prot ect t he int erest of t he holder of t he Securit y I nst rum ent .

          ( V ) H olde r - I n - D u e - Cou r se
          The Client is t he owner and holder- in- due- course of each Not e and is nam ed as m ort gagee/
          beneficiary or assignee under each Se cu r it y I n st r u m e n t , and all Loa n D ocum e n t s
          requiring execut ion have been appropriat ely execut ed, wit nessed or not arized by t he persons
          whose nam es appear as signat ories and wit nesses, or, as appropriat e, not aries who
          const it ut e t he valid and binding legal obligat ion of t he Borrower, enforceable in accordance
          wit h t heir respect ive t erm s. Not wit hst anding t he foregoing, wit h respect t o adj ust able- rat e
          m ort gage Loans ( ARMs) , t he Client repr esent s and warrant s t hat t here are no claim s t o t he
          Not e on t he part of any person or defenses of any part y t o t he Not e ot her t han t hose t hat
          validly could be raised against a holder- in- due- course.

          ( W ) Tr u st e e D e signa t e d
          Wit h respect t o each Se cu r it y I n st r u m e n t t hat is a deed of t rust , a t rust ee duly qualified
          under applicable law t o serve as such is properly nam ed, designat ed and serving.

          ( X ) N o Fe e s D ue Tr u st e e
          Except in connect ion wit h a t rust ee’s sale aft er default by t he Borrower, no fees or expenses
          are payable by t he Client or GMAC- RFC t o t he t rust ee under any Securit y I nst rum ent t hat is
          a deed of t rust .

          ( Y) Ex e cut ion of D ocum e n t s
          All agreem ent s, cont ract s, assignm ent s, endorsem ent s and issuances of checks or draft s,
          report s, Loa n D ocu m e n t s or ot her papers relat ed t o a Loan t hat are required by t his Client
          Guide t o be execut ed by t he Client have been proper ly execut ed by an officer on behalf of t he
          Client pursuant t o a duly adopt ed Resolut ion of Board of Direct ors.
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( Z) Le a se h olds
Where perm it t ed by t he applicable Loa n Pr ogr a m , each Mort gaged Prem ises involving a
Le a se h old est at e com plies wit h t he applicable Leasehold warrant ies set fort h in t his Client
Guide.
( AA) Con dom in iu m s; Pla n n e d Un it D e v e lopm e n t s ( PUD s)
Each M or t ga ge d Pr e m ise s t hat is a unit in a condom inium or PUD com plies wit h t he
applicable condom inium or PUD warrant ies set fort h in t his Client Guide.
( BB) Com plia n ce By Ot h e r s
When a person or ent it y: ( i) originat es a Loan on behalf of a Client , ( ii) originat es a Loan on
it s own behalf and sells it t o a Client , or ( iii) perform s any act for a Client which t he Client is
required t o perform under t his Client Guide, t he Client warrant s t hat such person or ent it y
has com plied wit h all requir em ent s of t his Client Guide wit h respect t o all such Loans and
act s.
( CC) Clie n t Con t r a ct W a r r a n t ie s
The represent at ions and warrant ies m ade at t he t im e of t he Client ’s execut ion of t he Client
Cont ract m ust rem ain t rue, correct and com plet e.
( D D ) Clie n t a n d Or igin a t or s
Each Jum bo A, Expanded Crit er ia or Paym ent Opt ion Loan was originat ed by ( i) a savings and
loan associat ion, savings bank, com m ercial bank, credit union, insurance com pany or sim ilar
banking inst it ut ion which is supervised by a federal or St at e aut horit y, or ( ii) a HUD approved
non- supervised or cor respondent m ort gagee.
I f t he Client sells Loans t o GMAC- RFC which are regist ered wit h M ERS or as t o which MERS is
t he m ort gagee on t he Se cu r it y I n st r u m e n t , t he Client is a m em ber of MERS, in good
st anding and current in paym ent of all fees and assessm ent s im posed by MERS.
( EE) N o I m pa ir m e n t of I n su r a n ce
No act ion, er ror, om ission, m isrepresent at ion, negligence, fraud or sim ilar occurrence in
respect of a Loan has t aken place on t he part of any person, including, wit hout lim it at ion, t he
Borrower, any appraiser, any builder or developer or any part y involved in t he originat ion of
t he Loan or in t he applicat ion of any insurance in relat ion t o such Loan t hat m ight result in a
denial, cont est ing, failure or im pairm ent of full and t im ely coverage under any insurance
policies requir ed t o be obt ained or any pool insurance policy covering such Loan.
( FF) Te m por a r y Buy dow ns
Where perm it t ed by t he applicable Loa n Pr ogr a m , each Te m por a r y Buy dow n Loan
delivered t o GMAC- RFC was ent ered int o pursuant t o a buydown agreem ent which com plies
wit h t he Te m por a r y Bu ydow n s Sect ion in Cha pt e r 3 C, Financing, of t his Client Guide.
( GG) Pr im a r y M or t ga ge I n su r a n ce Ca n ce lla t ion
The Client has disclosed in writ ing t o t he Borrower t he t erm s and condit ions t hat m ust be
m et prior t o t he prim ary m ort gage insurance being eligible for cancellat ion. A copy of t his
disclosure has been ret ained in t he Loan file as a perm anent record.
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          ( H H ) N o D e ficie n cy I n Escr ow D e posit s or Pa ym e n t s
          The Loan has been serviced by t he Client and any pr edecessor Se r vice r in accordance wit h
          t he t erm s of t he m ort gage Not e and all applicable law. Wit h respect t o escrow deposit s and
          escrow paym ent s, if any, all such paym ent s are in t he possession of, or under t he cont rol of,
          t he Client , and t here exist s no deficiency in connect ion t herewit h for which cust om ary
          arrangem ent s for repaym ent t hereof have not been m ade. No escrow deposit s, escr ow
          paym ent s or ot her charges or paym ent s due t he Client have been capit alized under any
          m ort gage or relat ed m ort gage Not e.
          ( I I ) Loa n Se cu r it iza t ion
          The Client recognizes t hat it is GMAC- RFC’s int ent t o securit ize som e or all of t he Loans sold
          t o GMAC- RFC by t he Client . The Client agrees t o provide GMAC- RFC w it h all such inform at ion
          concerning t he Client generally and, if applicable, t he Client ’s servicing experience, as m ay
          be reasonably request ed by GMAC- RFC for inclusion in a prospect us or privat e placem ent
          m em orandum published in connect ion wit h such securit izat ion.
          I n addit ion, t he Client will cooperat e in a sim ilar m anner wit h GMAC- RFC in connect ion wit h
          any whole Loan sale or ot her disposit ion of any Loan sold t o GMAC- RFC by t he Client . The
          Client agrees t o indem nify and hold GMAC- RFC harm less from and against any loss, dam age,
          penalt y, fine, forfeit ure, court cost , reasonable at t orneys’ fees, j udgm ent , cost , fee, expense
          or liabilit y incurred by GMAC- RFC as a result of any m at erial m isst at em ent in or om ission
          fr om any infor m at ion provided by t he Client t o GMAC- RFC; or fr om any claim , dem and,
          defense or assert ion against or involving GMAC- RFC based on or grounded upon, or result ing
          fr om such m isst at em ent or om ission or a breach of any represent at ion, warrant y or
          obligat ion m ade by GMAC- RFC in reliance upon such m isst at em ent or om ission.
          The Client furt her agrees t o cooperat e fully wit h GMAC- RFC, rat ing agencies, at t or neys, bond
          insurers, purchasers of Loans or any ot her part ies t hat m ay be involved in t he sale or
          securit izat ion of any Loan, including, wit hout lim it at ion, all cooperat ion as m ay be necessary
          in order t o accom m odat e due diligence act ivit y.
          ( JJ) N on - Solicit a t ion
          The Client has not solicit ed or provided inform at ion t o anot her part y for t he purpose of
          solicit ing, and covenant s and agrees t hat it will not solicit or provide inform at ion t o anot her
          part y for t he purpose of solicit ing, t he refinance of any Loan. The t erm “ solicit ” as used
          herein shall m ean a direct request or offer t o refinance a servicing released Loan, and shall
          not include general solicit at ions, advert isem ent s or prom ot ions direct ed t o t he public at
          large.
          ( KK) N o Fr a u d or M isr e pr e se n t a t ion
          No fraud or m isrepr esent at ion by t he Borrow er or by t he Client , broker, correspondent ,
          appr aiser or any independent cont ract or ret ained by t he Client , broker, corr espondent ,
          appr aiser or any em ployee of any of t he foregoing occurred wit h respect t o or in connect ion
          wit h t he originat ion or underwrit ing of any Loan and all inform at ion and docum ent s provided
          t o GMAC- RFC in connect ion wit h t he Loan are com plet e and accurat e.
          ( LL) Ex clu sion a r y List
          No part y involved in t he originat ion of a Loan ( e.g., originat or, broker, t it le com pany,
          appraiser, et c.) was on t he Ex clu sion a r y List on t he dat e t he Loan was originat ed as
          det erm ined by t he dat e of t he prom issory Not e for t hat part icular Loan.
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A206
Integrity of Information
The Client is responsible for credit and propert y underw rit ing regardless of w het her t he
inform at ion was provided by t he Client , an ent it y relat ed t o t he Client or designat ed by t he
Client t o perform t he funct ion. This includes credit inform at ion, appraisals, or ot her
docum ent s/ inform at ion used in t he Loan's evaluat ion.
The Client should t ake all st eps necessary t o ensure t hat each Loan sold t o GMAC- RFC has
been prudent ly originat ed and underwrit t en, and t hat all inform at ion supplied by, on behalf
of, or concerning t he Borrower is t rue, accurat e and com plet e. The Client should ensure t hat
int erest ed part ies are sufficient ly independent from t he Loan t ransact ion and t hat adequat e
organizat ional cont r ols are in place t o ensur e t he independence, validit y and reliabilit y of t he
Loan inform at ion.
I n addit ion, t he Client should im plem ent prudent pract ices when relying on designat ed
agent s ( such as escrow com panies, t it le com panies, et c.) in order t o ensure t hat t hey com ply
wit h it s inst ruct ions and t hat t he int egr it y of t he Loan t ransact ion has been m aint ained.

A207
Third-Party Originators
When relying on t he act ions or services of t hird- part y originat ors, t he Client should est ablish
qualificat ion and eligibilit y st andards. The Client should consider t he funct ions being
perform ed by t he t hird- part y originat or in est ablishing t hese st andards. These st andards
should be review ed periodically t o ensur e ongoing eligibilit y by t he t hird- part y originat or.
The Client is encouraged t o include t he follow ing it em s in form ulat ing it s qualificat ion and
eligibilit y st andar ds and procedures:
    ( 1) Review personnel resum es and references of m anagem ent and Loan originat ion st aff
         ( Loan officers, processors, underwrit ers, closers, et c.)
    ( 2) Est ablish m inim um net wort h requirem ent s and evaluat e t he financial viabilit y of t he
         firm on an ongoing basis
    ( 3) Est ablish m inim um requirem ent s for errors and om issions insurance and fidelit y
         bond coverage and m onit or ongoing com pliance wit h t hese st andards
    ( 4) Docum ent t he relat ionship wit h a cont ract ual agreem ent t hat cont ains specific
         warrant ies relat ed t o each par t y’s responsibilit ies, as well as recourse right s in t he
         event of warrant y violat ions
    ( 5) Review t he per form ance of Loans originat ed by t hird part ies t o evaluat e t rends or
         pat t erns of D e lin qu e n cy
The Client should include a represent at ive, random sam ple of t hird- part y Loans in t he qualit y
cont rol program t hrough bot h pre- and post - closing qualit y cont rol audit s t o ensure t he
qualit y of Loan inform at ion.
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          A208
          Events of Default
          Any one or m ore of t he following event s const it ut e an Eve nt of D e fa u lt :
               ( 1) The Client has not com plied wit h one or m ore of t he requirem ent s ( including any
                    requirem ent out lined in Chapt er 2, Client Eligibilit y) t erm s or condit ions out lined in
                    t his Client Guide or one of t he disqualificat ion, suspension or inact ivat ion event s set
                    fort h in t he D isqu a lifica t ion Su spe n sion or I n a ct iv a t ion Sect ion has occurred or
                    occurs.
               ( 2) The Client has breached any agreem ent out lined or incorporat ed by reference in t he
                    Client Cont ract or any ot her agreem ent bet ween t he Client and GMAC- RFC.
               ( 3) The Client breaches any of t he represent at ions, warrant ies or covenant s set fort h in
                    t his Client Guide, fails t o perform it s obligat ions under t his Client Guide or t he
                    Program Docum ent s, m akes one or m ore m isleading represent at ions, warrant ies or
                    covenant s t o GMAC- RFC, or has failed t o provide GMAC- RFC wit h inform at ion in a
                    t im ely m anner, including inform at ion required under Regulat ion AB or any successor
                    regulat ion, t hat is t rue, com plet e and accurat e.
               ( 4) The Borr ower or any ot her person or ent it y involved in t he Loan t ransact ion or in it s
                    underwrit ing or docum ent at ion ( including any appraiser, broker, t hird- part y
                    originat or, credit report ing agency, or ot her pr ovider of underwrit ing inform at ion)
                    has m ade any false represent at ion and/ or has failed t o provide inform at ion t hat is
                    t r ue, com plet e and accurat e in connect ion w it h such t ransact ion, w het her or not t he
                    Client was a part y t o or had knowledge of such m isr epresent at ion or incorrect
                    inform at ion.
               ( 5) Occurrence of an Event of Se r vice r Default wit h respect t o any Loans serviced by
                    t he Client .
               ( 6) Term inat ion of servicing for cause is a basis for t he Client ’s im m ediat e
                    disqualificat ion or suspension. Act ion t aken by GMAC- RFC t o t erm inat e servicing
                    m ay be m erged wit h an act ion t o disqualify, suspend or inact ivat e t he Client .

          A209
          Remedies of GMAC-RFC
          ( A) N on - Ex clu siv e , Cu m u la t ive Re m e die s
          GMAC- RFC m ay exercise any r em edy out lined in t his Client Guide or as allowed by law or in
          equit y. GMAC- RFC’s exercise of one or m ore rem edies in connect ion wit h a part icular Eve n t
          of D e fa u lt will not prevent it from exercising:
               • One or m or e ot her rem edies in connect ion wit h t he sam e Event of Default
               • Any ot her right s which it m ay have at law or in equit y
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( B) W a ive r of D e fa u lt s
GMAC- RFC m ay waive any default by Client in t he perform ance of Client ’s obligat ions
hereunder and it s consequences, but only by a writ t en waiver specifying t he nat ure and
t erm s of such waiver. No such waiver shall ext end t o any subsequent or ot her default or
im pair any right consequent t heret o, nor shall any delay by GMAC- RFC in exercising, or
failure t o exercise, any right arising from such default affect or im pair GMAC- RFC’s right s as
t o such default or any subsequent default .

( C) Su r v iva l of Re m e die s
GMAC- RFC’s rem edies for breach of t he represent at ions, warrant ies and covenant s shall
survive t he sale and delivery of t he Loan t o GMAC- RFC and funding of t he relat ed purchase
price by GMAC- RFC, and will cont inue in full force and effect for t he rem aining life of t he
Loans, not wit hst anding any t erm inat ion of t his Client Guide and t he relat ed Fu n din g
D ocu m e n t s, or any rest rict ive or qualified endorsem ent on any m ort gage Not e or
assignm ent of m ort gage or Loan approval or ot her exam inat ion of or failur e t o exam ine any
relat ed m ort gage Loan file by GMAC- RFC.

A210
Repurchase
( A) Re pu r ch a se Obliga t ion s
I f GMAC- RFC det erm ines t hat an Ev e n t of D e fa u lt has occurred wit h respect t o a specific
Loan, t he Client agrees t o r epurchase t he Loan and it s servicing ( if t he Loan was sold
servicing released) wit hin 30 days of receiving a repurchase let t er or ot her writ t en
not ificat ion from GMAC- RFC.
I f t he Client discovers an Event of Default , it should give GMAC- RFC prom pt writ t en not ice.
Such not ice should include a writ t en descript ion of t he Event of Default . Upon receipt of t his
not ice, GMAC- RFC will review t hese m at erials and any addit ional inform at ion or
docum ent at ion t hat t he Client believes m ay influence GMAC- RFC’s decision t o requir e
repurchase. I f GMAC- RFC decides t o require repurchase, t he Client shall repurchase t he Loan
and t he servicing ( if t he Loan was sold servicing released) wit hin 30 days aft er GMAC- RFC’s
decision is com m unicat ed t o Client in writ ing.
To expedit e t he wiring of funds t o GMAC- RFC, t he Client should com plet e t he servicing
t ransfer inst ruct ion form provided by GMAC- RFC. GMAC- RFC will send t he form t o t he Client
along wit h t he not ificat ion of repurchase.
GMAC- RFC is not required t o dem and repurchase wit hin any part icular period of t im e, and
m ay elect not t o require im m ediat e repurchase. However, any delay in m aking t his dem and
does not const it ut e a waiver by GMAC- RFC of any of it s right s or rem edies.
Where GMAC- RFC det erm ines t hat repurchase of a Loan and/ or t he servicing is not
appr opriat e, t he Client shall pay GMAC- RFC all losses, cost s and expenses incurred by GMAC-
RFC and/ or t he Loan’s Se r vice r as a result of an Ev e n t of D e fa u lt . This includes all
reasonable at t orneys’ fees and ot her cost s and expenses incurred in connect ion wit h
enforcem ent effort s under t aken.
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          Upon t he Client ’s sat isfact ion of it s repurchase obligat ion, GMAC- RFC will endorse t he Not e
          evidencing t he Loan in blank and w ill deliver it and ot her pert inent Loa n D ocu m e n t s t o t he
          Client . I f GMAC- RFC acquired t it le t o any of t he real propert y securing t he Loan pursuant t o a
          foreclosure sale and has not disposed of such propert y, it w ill t ransfer such propert y t o t he
          Client on a “ quit claim ” basis or, if required by St at e law, a “ warrant y deed” basis. However, if
          GMAC- RFC has disposed of t he real proper t y securing t he Loan, t he Loan Docum ent s will not
          be ret urned t o t he Client unless request ed.
          I f t he Client is also t he Se r vice r of a Loan repurchased by reason of t he occurrence of an
          Event of Default , GMAC- RFC will not reim burse t he Client for any principal, int erest or ot her
          advances m ade by t he Client wit h respect t o t hat Loan.
          I f, for any part icular Loan, Client has com plied wit h it s propert y valuat ion docum ent at ion
          requirem ent s ( as described under Specific Represent at ions, Warrant ies and Covenant s
          Concerning I ndividual Loans in t he Unde r w r it in g; Appr a isa l; Appr a ise r Sect ion) by
          providing a GMAC- RFC Qualified AVM in lieu of an appraisal, where t he Loa n Pr ogr a m t erm s
          perm it t he use of a Qu a lifie d AV M as t he sole docum ent at ion of pr opert y valuat ion
          underlying such Loan, and provided a Qualified AVM was obt ained by Client in good fait h
          direct ly from Qualified AVM Vendors ( See GMAC- RFC Ex h ibit 1 6 G0 5 , Aut om at ed Valuat ion
          Model ( AVM) Approved Vendors) and has been subm it t ed t o GMAC- RFC in it s original,
          unalt ered form as issued by t he Qualified AVM Vendor; or, alt ernat ively, if GMAC- RFC has
          waived an appraisal and indicat ed such waiver in it s Asset wise SM m essaging ( an Appr a isa l
          W a ive r ) , t hen, if an Eve n t of D e fa u lt relat ed t o such Loan ar ises solely out of t he validit y
          and accuracy of t he pr opert y valuat ion am ount st at ed in t he Qualified AVM, or ot herwise
          relat ed t o t he pr opert y valuat ion am ount wit h respect t o a loan where GMAC- RFC has
          grant ed an Appraisal Waiver, but provided t hat in all ot her aspect s t he Loan was eligible for
          purchase by GMAC- RFC at t he t im e it was subm it t ed for purchase by Client , GMAC- RFC will
          not exercise it s right t o dem and repurchase for such part icular Loan by reason of such
          part icular Event of Default . How ever, in t he case of eit her a Qu a lifie d AVM or an Appraisal
          Waiver, GMAC- RFC m ay cont inue t o exercise it s right t o dem and repurchase if GMAC- RFC
          reasonably believes t hat Client or any t hird part y or iginat or obt ained a Qualified AVM or
          allowed GMAC- RFC t o rely on an Appr a isa l W a ive r in bad fait h, such as by using a Qualified
          AVM where Client or t he t hird part y originat or had reason t o know t hat t he m ort gaged
          propert y was m at erially different t han t hat described in t he Qualified AVM or t hat t he
          descript ion in t he Qualified AVM should not be consider ed reliable at t he t im e t he Loan was
          sold t o GMAC- RFC, or where t he Client or t hird part y or iginat or has reason t o know t hat t he
          m ort gaged propert y was m at erially dam aged.

          ( B) Re pu r ch a se Pr ice of Fir st M or t ga ge Pr ogr a m s
          I n t he event t he Client is obligat ed t o repurchase a Loan t he Client m ust pay t o GMAC- RFC a
          repur chase pr ice equal t o t he sum of:
                • The act ual principal balance of t he Loan at t he t im e of repurchase ( if t he Client sold t he
                  Loan t o GMAC- RFC at a discount or a Prem ium , t he repurchase price above will be
                  adj ust ed t o reflect t he act ual principal balance m inus t he discount percent age
                  m ult iplied by t he act ual principal balance, or plus t he Prem ium percent age m ult iplied
                  by t he act ual principal balance, as appr opriat e, including t hat price paid for Se r vicin g
                  Righ t s) , plus
                • All accr ued and unpaid int erest on t he Loan t hrough t he last day of t he m ont h of t he
                  dat e of repurchase; plus
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    • All int erest , principal and ot her advances m ade t o invest ors and all out of pocket cost s
      and expenses of any kind incurred by GMAC- RFC and/ or t he prim ary Se r vice r in
      connect ion wit h t he Loan, including, but not lim it ed t o, advances for t axes or
      insurance, and repair, foreclosure and insurance cost s and reasonable at t orneys’ fees;
      plus
    • The am ount of t he Bu you t Fe e as calculat ed in t he Ex t e n sion a n d Bu you t Fe e s
      Sect ion of Chapt er 9A, Com m it m ent s; plus
    • I n t he event t hat GMAC- RFC or any of it s Affilia t e s is required t o repurchase t he Loan
      fr om any subsequent assignee, t hen any addit ional am ount as m ay be required t o
      m ake t he repurchase price t hat t he Client is obligat ed t o pay hereunder equal t o t he
      repurchase pr ice t hat GMAC- RFC or it s Affiliat e is required t o pay t o such subsequent
      assignee; m inus
    • The net am ount of any proceeds r ealized by t he owner of t he Loan upon t he final
      liquidat ion of t he Loan or t he M or t ga ge d Pr e m ise s t o an unrelat ed t hird part y.
The D e signa t e d Se r v ice r will ret urn t o t he Client any escrow funds, unapplied funds and
prepaid principal and int erest inst allm ent s.
GMAC- RFC m ay dem and t hat a Client repurchase, and Client m ust repurchase, a Loan aft er
foreclosure even if t he full am ount of it s out st anding debt was bid on by or on behalf of t he
Loan’s owner t o acquire t he M or t ga ge d Pr e m ise s at t he foreclosure sale. I n t he event t he
Client is obligat ed t o repurchase a Loan aft er foreclosure, t he repurchase price shall be
calculat ed using t he form ula above, however Sch e du le d Pr in cipa l Ba la n ce shall be
subst it ut ed for t he act ual principal balance.

( C) Re pu r ch a se Pr ice of H om e Equ it y Pr ogr a m
I n t he event t he Client is obligat ed t o repurchase a Hom e Equit y Loan, t he Client m ust , upon
repurchase, service such Hom e Equit y Loan. The repurchase price for such Hom e Equit y Loan
shall be equal t o t he sum of:
    • The unpaid pr incipal balance of t he Hom e Equit y Loan
    • All accr ued and unpaid int erest on t he Hom e Equit y Loan
    • The am ount of all fees and/ or purchase Prem ium paid, if any, t o t he Client by GMAC-
      RFC for originat ion of t he Hom e Equit y Loan
    • All fees paid t o any Se r v ice r or sub- servicer of a Hom e Equit y Loan by reason of t he
      t erm inat ion of t hat Servicer ’s or Sub- Servicer ’s right t o service t hat Hom e Equit y Loan
    • All cost s incurred or paid by GMAC- RFC or any Servicer in collect ing or enforcing t he
      Hom e Equit y Loan, including, wit hout lim it at ion, int erest or ot her cost s paid t o bring or
      m aint ain a prior lien current or up t o dat e, cost s t o insure or pay delinquent t axes,
      at t orneys’ fees, court cost s, appraisal and t it le expenses and ot her sim ilar cost s or
      expenses ( collect ively, “ Foreclosure Expenses” )
    • Any addit ional am ount GMAC- RFC or any of it s Affilia t e s is required t o pay t o
      repurchase t he Hom e Equit y Loan from a subsequent assignee
I n lieu of repurchasing a Hom e Equit y Loan t hat has not yet been foreclosed and accept ing
t he servicing of such Hom e Equit y Loan, GMAC- RFC m ay in it s sole discret ion allow Client t o
pay t o GMAC- RFC t he Est im at ed Loss ( as defined below) . Est im at ed Loss, as it relat es t o
each Hom e Equit y Loan subj ect t o repurchase, shall equal t he product of:
120% m ult iplied by t he result of:
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               • Repurchase price as calculat ed above, plus
               • Accrued int erest on t he Hom e Equit y Loan t hrough t he dat e GMAC- RFC est im at es t hat
                 t he Hom e Equit y Loan will be fully liquidat ed ( which in t he case of a foreclosure, shall
                 m ean t he dat e t hat GMAC- RFC est im at es t hat t he M or t ga ge d Pr e m ise s will be sold t o
                 a t hird part y and which in any ot her case m eans t he dat e t hat GMAC- RFC est im at es
                 t hat all collect ion effort s on t he Hom e Equit y Loan will be abandoned) and est im at ed
                 foreclosure and ot her enforcem ent expenses for t he ent ire collect ion process, less
               • Am ount by which t he current m arket Value of t he Mort gaged Prem ises as det erm ined
                 by GMAC- RFC using valuat ion services provided by an independent t hir d part y exceeds
                 t he current out st anding am ount of indebt edness secured by t he Mort gaged Prem ises
                 t hat is senior t o t he Hom e Equit y Loan.

          ( D ) Re pu r ch a se Pr ice of a Se r vicin g Re le a se d Loa n
          I n t he event t he Client repurchases a Loan for which t he servicing has also been sold t o
          GMAC- RFC, t he Client will also be required t o repurchase t he servicing. I f t he repur chase of
          t he servicing of t he Loan is for any reason ot her t han a breach of t he D e lin qu e n cy Payoff/
          Liquidat ion warrant y cont ained in t he Servicing Released Cha pt e r 8 , t he Client m ust pay t o
          GMAC- RFC a repurchase price equal t o t he original Se r vicin g Re le a se d Pr e m iu m ( SRP)
          percent age m ult iplied by t he act ual unpaid principal balance at t he t im e of repurchase.
          I n no event however, will t he required repurchase Servicing Released Prem ium be gr eat er
          t han t he original Servicing Released Prem ium paid t o t he Client .
          The D e sign a t e d Se r vice r will ret urn t o t he Client any escrow funds, Te m por a r y Bu ydow n
          funds, unapplied funds and prepaid pr incipal and int erest inst allm ent s. The Client will be
          required t o reim burse t he Designat ed Servicer for any delinquent principal and int erest
          advances, and any escrow advances and foreclosure expenses t hey have m ade and not
          recovered on a repurchased Loan.

          ( E) Re pu r ch a se As a Re su lt of Con ve r sion
          The Client ( or, if t he Client has t ransferred servicing of t he Loans, t he Se r vice r ) shall
          repurchase a Loan which has convert ed from an ARM t o a fixed- rat e m ort gage. The Servicer
          m ust subm it t he ARM Conversion Not ificat ion Report no less t han 15 days prior t o t he
          conversion dat e.
          I f t he Client or Servicer repurchases a convert ed Loan and subsequent ly resells t hat
          convert ed Loan t o GMAC- RFC, all t he Client ’s represent at ions and warrant ies wit h respect t o
          t hat Loan shall survive such repurchase and resale. I n addit ion, t he Client shall be subj ect t o
          all right s and rem edies ( including repurchase) available t o GMAC- RFC as a result of any
          m isrepresent at ion or breach of warrant y wit h respect t o t hat Loan pr ior t o conversion.
          The Client shall also subm it t he m odificat ion agreem ent if request ed by GMAC- RFC or it s
          assigns.
          Aft er it s receipt of t he Loan funds, GMAC- RFC will endorse t he Not e t o t he par t y which
          repurchased t he Loan. The Loan will t hen be assigned t o such part y, and all credit
          docum ent at ion will be ret urned. Failure t o subm it t he ARM Conversion Not ificat ion Report in
          a t im ely m anner m ay delay t he receipt of t he endorsed Not e and ot her Le ga l D ocu m e n t s.
          The Se r v ice r shall subm it a Payoff/ Liquidat ion Report and wire t ransfer Loan funds t o t he
          GMAC- RFC Loa n Accou n t in g D e pa r t m e n t no lat er t han t he last Bu sin e ss D a y prior t o t he
          conversion dat e. The Servicer m ust rem it int erest for t he ent ire m ont h preceding t he
          conversion dat e. The Client shall at t ach a copy of t he ARM Conversion Not ificat ion Report .
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I f t he appropriat e am ount is not wired on t im e, GMAC- RFC will charge a lat e paym ent fee.
This fee will equal t he am ount due m ult iplied by t he “ Pr im e Ra t e ” plus 3% m ult iplied by t he
num ber of days overdue divided by 365. The t erm “ Prim e Rat e” shall m ean t he highest
quot ed Prim e Rat e print ed in The Wall St r eet Journal in it s regular colum n “ Money Rat es” on
t he first Bu sin e ss D a y of t he m ont h in which t he paym ent was due and not paid. I f t he
Prim e Rat e is not available, GMAC- RFC will det erm ine a com parable rat e.

( F) Su bst it u t ion
I nst ead of requiring t he Client t o repurchase a Loan as provided above, GMAC- RFC, at it s
sole discret ion, m ay allow t he Client t o subst it ut e anot her Loan sat isfact ory t o GMAC- RFC in
place of t he original Loan, wit hin 10 days of not ificat ion by GMAC- RFC, unless ot herwise
not ified. I f t he subst it ut ed Loan cont ains t erm s different from t hose of t he Loan t hat it is
replacing, a purchase price adj ust m ent will be calculat ed by GMAC- RFC based on m arket
changes and Loan charact erist ics. Every Loan subst it ut ed will be subj ect t o all agreem ent s,
t erm s, condit ions, represent at ions and warrant ies in t his Client Guide as of t he Su bst it u t ion
Date.
I n t he event a Loan is eligible for purchase by GMAC- RFC but t he servicing is ineligible for
purchase by GMAC- RFC, t he Loan will be purchased and t he sale of servicing denied. GMAC-
RFC w ill not allow t he Client t o subst it ut e anot her servicing released Loan.

( G) Cost of Tr a n sfe r Fe e s D ue t o Re pu r cha se
The Client agrees t hat , if it is requir ed t o repurchase a Loan and t he relat ed Servicing, it will
pay all docum ent ary st am p t axes, recording fees, t ransfer t axes and all ot her expenses
payable in connect ion wit h t he repurchase and will indem nify and hold harm less GMAC- RFC
and t he D e signa t e d Se r v ice r against all losses, cost s and expenses, including at t orney
fees, result ing from such requir ed repurchases or t he breach giving rise heret o.

( H ) N ot ice a n d Appe a l
The Client m ay appeal GMAC- RFC’s decision by providing any addit ional inform at ion or
docum ent at ion it believes m ay affect GMAC- RFC’s det erm inat ion.
Send all not ificat ions and appeals t o:
      GMAC- RFC
      One Meridian Crossings
      Suit e 100
      Minneapolis, MN 55423
      At t ent ion: Repurchase Managem ent
Such inform at ion and docum ent at ion m ust be received wit hin 30 days aft er t he Client ’s
receipt of a repurchase let t er or sim ilar writ t en not ificat ion from GMAC- RFC. GMAC- RFC will
review all appeals and advise t he Client in writ ing of t he appeal decision. GMAC- RFC will in it s
sole discret ion det erm ine t he validit y of any appeal filed by t he Client . I f GMAC- RFC’s
decision rem ains firm following an appeal, t he Client shall repurchase t he Loan and it s
servicing ( if t he Loan was sold servicing released) wit hin 10 days of not ificat ion by GMAC-
RFC, in writ ing, t hat t he appeal has been denied.
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   ( 17) The Client or Se r vice r ’s failure t o m aint ain a qualified Loan originat ion, servicing
         and qualit y cont r ol st aff, an accept able ongoing qualit y cont rol program , adequat e
         facilit ies and writ t en policies and procedures t o ensure:
         • The invest m ent qualit y of Loans sold t o GMAC- RFC
         • The adequacy of t he servicing of Loans purchased by GMAC- RFC OR
   ( 18) The failure of t he Client or t he Se r vice r t o m eet any t est as m ay be prescribed for
         eligibilit y,
   ( 19) The det erm inat ion by GMAC- RFC t hat a Client has not delivered an adequat e volum e
         of Loans t o GMAC- RFC.

A212
Indemnification
The Client shall indem nify GMAC- RFC fr om all losses, dam ages, penalt ies, fines, forfeit ures,
court cost s and reasonable at t orneys’ fees, j udgm ent s, and any ot her cost s, fees and
expenses result ing from any Eve nt of D e fa u lt . This includes, wit hout lim it at ion, liabilit ies
arising from ( i) any act or failure t o act , ( ii) any breach of warrant y, obligat ion or
represent at ion cont ained in t he Client Cont ract , ( iii) any claim , dem and, defense or assert ion
against or involving GMAC- RFC based on or result ing from such breach, ( iv) any breach of
any represent at ion, warrant y or obligat ion m ade by GMAC- RFC in reliance upon any
warrant y, obligat ion or represent at ion m ade by t he Client cont ained in t he Client Cont ract
and ( v) any unt rue st at em ent of a m at erial fact , om ission t o st at e a m at erial fact , or false or
m isleading inform at ion provided by t he Client in inform at ion required under Regulat ion AB or
any successor regulat ion.
I n addit ion, Client shall indem nify GMAC- RFC against any and all losses, dam ages, penalt ies,
fines, forfeit ures, j udgm ent s, and any ot her cost s, fees and expenses ( including court cost s
and reasonable at t orneys’ fees) incurred by GMAC- RFC in connect ion wit h any lit igat ion or
governm ent al proceeding t hat alleges any violat ion of local, St at e or federal law by Client , or
any of it s agent s, or any originat or or broker in connect ion wit h t he originat ion or servicing of
a Loan. Wit h regard t o legal fees or ot her expenses incurr ed by or on behalf of GMAC- RFC in
connect ion wit h any such lit igat ion or governm ent al proceeding, Client shall reim burse
GMAC- RFC for such fees and expenses. Reim bursem ent shall be m ade direct ly t o GMAC- RFC
wit hin t en days of receipt of a request for paym ent , which request shall include copies of t he
relevant invoices. Except for not ices for reim bursem ent , GMAC- RFC is not required t o give
Client not ice of any lit igat ion or governm ent al proceeding t hat m ay t rigger indem nificat ion
obligat ions. Client shall inst ruct it s officers, direct ors and agent s ( including legal counsel) t o
cooperat e wit h GMAC- RFC in connect ion wit h t he defense of any lit igat ion or governm ent al
proceeding involving a Loan. GMAC- RFC has t he right t o cont rol any lit igat ion or
governm ent al proceeding relat ed t o a Loan, including but not lim it ed t o choosing defense
counsel and m aking set t lem ent decisions.
The Client also shall indem nify GMAC- RFC and hold it harm less against all court cost s,
at t orney’s fees and any ot her cost s, fees and expenses incurred by GMAC- RFC in enforcing
t he Client Cont ract . The obligat ions of t he Client under t his Sect ion shall survive t he
D e live r y D a t e , t he Fu n din g D a t e ( and each Su bst it u t ion D a t e , if applicable) and t he
t erm inat ion of t he Client Cont ract and t he disqualificat ion, suspension or inact ivat ion of t he
Client .
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          A201
          Specific Representations, Warranties and Covenants Concerning Client
          ( A) D u e Or ga n iza t ion ; Good St a n ding; Lice n sing
          Client and, t o Client ’s knowledge, Client ’s Guarant or, if applicable, is and shall cont inue t o be
          duly organized, validly exist ing, and in good st anding under t he laws of t he Unit ed St at es or
          under t he laws of t he j urisdict ion in which it was incorporat ed or organized, as applicable,
          and has and shall cont inue t o m aint ain all licenses, regist rat ions, and cert ificat ions necessary
          t o carry on it s business as now being conduct ed, and is and will cont inue t o be licensed,
          qualified, and in good st anding in each St at e where a Mort gaged Propert y is locat ed if t he
          laws of such St at e requir e licensing or qualificat ion in order t o conduct business of t he t ype
          conduct ed by Client 1. Client is and will rem ain in com pliance w it h t he law s of any such St at e,
          and is and will rem ain in good st anding wit h federal aut horit ies, t o t he ext ent necessary t o
          ensure t he enforceabilit y of t he relat ed Loan. Client has disclosed t he final writ t en report s,
          act ions and/ or sanct ions of any and all reviews, invest igat ion, exam inat ions, audit s, act ions
          and/ or sanct ions t hat have been undert aken and/ or im posed, wit hin t w o years prior t o t he
          dat e of t he Client Cont ract , by any federal or St at e agency or inst rum ent alit y wit h respect t o
          eit her t he lending or r elat ed financial operat ions of Client , or t he abilit y of Client t o perform
          in accordance wit h t he Program Docum ent s t erm s. Each of t he represent at ions and
          warrant ies m ade by Client in it s Client Applicat ion is t rue, accurat e, and com plet e, and is
          deem ed t o be rem ade in it s ent iret y, as of t he dat e of t he Client Cont ract , and as of each
          Fu n din g D a t e .
           1
               I n addit ion, if any Loan is secured by m ort gaged propert y locat ed in t he St at e of West Virginia, Client and t he
               originat or of t he Loan is licensed under t he West Virginia Mort gage Loan Act and Client and t he originat or of t he
               Loan held such license at t he t im e t he Loan was originat ed, unless ot herwise exem pt from licensing. Client and
               t he originat or of t he Loan m ust be licensed under t he West Virginia Mort gage Loan Act even if Client and t he
               originat or of t he Loan m akes or offers t o m ake or accept s or offers t o accept or purchases or services in a calendar
               year fewer t han t he num ber of de m inim us prim ary or subordinat e m ort gage Loans specified in t he definit ion of
               “ lender” in W. Va. Code Sect ion 31- 17- 1.

          ( B) Au t h or it y
          Client has and will m aint ain t he full corporat e, part nership or lim it ed liabilit y com pany power
          and aut horit y t o execut e and deliver t he Program Docum ent s and t o perform t he t erm s of
          t his Client Guide. The execut ion, delivery, and perform ance of t he Program Docum ent s and
          t he perform ance of t he t erm s of t his Client Guide by Client , and t he consum m at ion of t he
          t ransact ions cont em plat ed, have been duly and validly aut horized. The Program Docum ent s
          and t his Client Guide evidence Client ’s legal valid, binding, and enforceable obligat ions. All
          requisit e corporat e, part nership or lim it ed liabilit y com pany act ion has been t aken by Client
          t o m ake t he Program Docum ent s and t he t erm s of t his Client Guide valid and binding upon
          Client and enforceable in accordance wit h t heir respect ive t erm s.

          ( C) Or din a r y Cou r se of Bu sin e ss
          The consum m at ion of t he t ransact ions cont em plat ed by t he Program Docum ent s and t he
          Client Guide t erm s are in Client ’s ordinary course of business, and t he t ransfer, assignm ent ,
          and conveyance of t he Mort gage Not es and t he Mort gages by Client , pursuant t o t he Program
          Docum ent s and t he Client Guide t erm s are not subj ect t o t he bulk t ransfer law s or any
          sim ilar st at ut ory provisions in effect in any applicable j urisdict ion.
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                                                                                                     Warranties and
                                                                                                     Covenants
( D ) N o Con flict s
Neit her t he execut ion and delivery of t he Program Docum ent s, t he acquisit ion and/ or m aking
of t he Loans by Client , t he sale of t he Loans t o GMAC- RFC or t he t ransact ions cont em plat ed
t hereby or pursuant t o t his Client Guide, nor t he fulfillm ent of or com pliance wit h t he
Program Docum ent s t erm s and condit ions, will conflict wit h or result in a br each of any of t he
t erm s, condit ions, or provisions of Client 's art icles of incorporat ion, chart er, by- laws,
part nership agreem ent , or ot her organizat ional docum ent , or of any legal rest rict ion or
regulat ory direct ive or any agreem ent or inst r um ent t o which Client is now a part y or by
which it is bound, or const it ut e a default or result in an accelerat ion under any of t he
foregoing, or result in t he violat ion of any law, rule, regulat ion, order, j udgm ent , or decree t o
which Client , or any of it s propert y is subj ect , or im pair t he abilit y of GMAC- RFC t o realize on
any of t he Loans, or im pair t he Value of any of t he Loans.

( E) Abilit y t o Pe r for m
Client has t he abilit y t o perform each and every obligat ion of and/ or sat isfy each and ever y
requirem ent im posed on, Client pursuant t o t he Program Docum ent s and t his Client Guide,
and no offset , count erclaim , or defense exist s t o t he full perfor m ance by Client of t he
requirem ent s of Program Docum ent s and t his Client Guide.

( F) N o Lit iga t ion Pe n din g
There is no act ion, suit , proceeding, inquiry, review, audit , or invest igat ion pending or
t hreat ened against Client t hat , eit her in any one inst ance or in t he aggregat e, m ay r esult in
any m at erial adverse change in t he business, operat ions, financial condit ion, propert ies, or
asset s of Client , or in any m at erial liabilit y on t he part of Client , or which would draw int o
quest ion t he validit y or enforceabilit y of any of t he Program Docum ent s, t his Client Guide, or
t he Loans or of any act ion t aken or t o be t aken in connect ion wit h Client ’s obligat ions
cont em plat ed in any of t he Program Docum ent s or t his Client Guide, or which would be likely
t o im pair m at erially Client ’s abilit y t o perform under t he t erm s of t he Program Docum ent s or
t his Client Guide.

( G) N o Con se n t Re qu ir e d
No consent , approval, aut horit y, or order of any court or governm ent al agency or body is
required for t he execut ion and perfor m ance by Client of, or com pliance by Client wit h, any of
t he Program Docum ent s or t his Client Guide, t he sale of any of t he Loans, or t he
consum m at ion of any of t he t ransact ions cont em plat ed by any of t he Purchase Docum ent s,
or, if required, such uncondit ional approval has been obt ained pr ior t o t he relat ed Fu n din g
Date.

( H ) N o Un t r u e I n for m a t ion
Neit her t he Pr ogram Docum ent s, t he Client Applicat ion, t his Client Guide, nor any st at em ent ,
report , or ot her docum ent furnished or t o be furnished by Client pur suant t o t he Pr ogram
Docum ent s or t his Client Guide, cont ains any unt rue st at em ent of m at er ial fact or om it s t o
st at e a m at erial fact necessary t o m ake t he st at em ent s cont ained t herein not m isleading.
Client m eet s GMAC- RFC’s Eligibilit y St andards, and shall t ake all st eps necessary t o cont inue
t o m eet such Eligibilit y St andards.
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          ( I ) Se cu r it ie s La w
          The Client represent s t hat t he Loans ar e not “ securit ies” under any federal or St at e securit ies
          laws or any rules or regulat ions t hereunder and t hat t he t ransact ions cont em plat ed by t his
          Client Guide do not require regist rat ion under, and are not subj ect t o, any federal or St at e
          securit ies laws or any rules or regulat ions t hereunder.

          ( J) N o Accr u e d Lia bilit ie s
          Except as m ay be ot herwise disclosed by Client t o GMAC- RFC and acknowledged by GMAC-
          RFC in writ ing prior t o t he dat e of t he Client Cont ract , t here are no accrued liabilit ies of
          Client , wit h respect t o any of t he Loans, or circum st ances under which any such accrued
          liabilit ies will arise against GMAC- RFC, as successor t o Client ’s int erest s in and t o t he Loans,
          wit h respect t o any act ion or failure t o act by Client occurring on or prior t o t he Fu n din g
          Date.

          ( K) Or igin a t ion , Se r vicin g
          Client ’s originat ion and servicing of t he Loans have been legal, proper, pr udent , and
          cust om ary and have conform ed t o t he highest st andards of t he resident ial m ort gage
          originat ion and servicing business.

          ( L) Com plia n ce W it h La w s
          Client has com plied wit h, and has not violat ed any law, ordinance, requirem ent , regulat ion,
          rule, or order applicable t o it s business or proper t ies, t he violat ion of which m ight adversely
          affect t he operat ions or financial condit ions of Client , or t he abilit y of Client t o consum m at e
          t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide.

          ( M ) Com plia n ce W it h Pr ogr a m D ocu m e n t s a n d Clie n t Gu ide
          Client will com ply wit h all provisions of t his Client Guide and t he Pr ogram Docum ent s, and
          will pr om pt ly not ify GMAC- RFC of any occur rence, act , or om ission regarding Client , t he
          Loan, t he Mort gaged Propert y or t he Mort gagor of which Client has knowledge, which
          occurrence, act , or om ission m ay m at erially affect Client , t he Loan, t he Mort gaged Propert y,
          or t he Mort gagor.

          ( N ) N o D e fe n se s Aga in st GM AC- RFC
          The Client has no j udgm ent , court order, claim , count erclaim , defense, right of set- off or
          sim ilar right against GMAC- RFC.
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A202
Specific Representations, Warranties and Covenants Concerning Individual Loans
For all Loans, t he Client represent s, warrant s and covenant s t o GMAC- RFC as follows:

( A) Loa n s Ar e Eligible ; Accu r a cy of I n for m a t ion
Each of t he Loans delivered and sold t o GMAC- RFC m eet s t he applicable program t erm s and
crit eria set fort h in t his Client Guide. All inform at ion relat ing t o each Loan delivered and sold
t o GMAC- RFC is t rue, com plet e and accurat e and t here are no om issions of m at erial fact s. All
dat a provided by t he Client t o GMAC- RFC relat ing t o any Loan, w het her in elect ronic form at ,
or ot herwise, is t rue and com plet e and accurat ely reflect s t he inform at ion in t he relat ed Loan
file.

( B) Com plia nce W it h W a r r a n t ie s
The Client is in com pliance wit h, and has t aken all necessary act ion t o ensure t hat each Loan
is in com pliance wit h all represent at ions, warrant ies and requirem ent s cont ained in t his
Client Guide.

( C) Loa n Pr ovision s
The provisions of t he Loan have not been im paired, waived, alt ered or m odified in any
respect , unless appr oved in writ ing by GMAC- RFC. The issuer of any relat ed PMI Policy and
t he t it le insurer have approved t he subst ance of any such waiver, alt erat ion, or m odificat ion
t o t he ext ent required by t he respect ive policies. No Mort gagor has been r eleased, in whole
or in part .

( D ) D ocu m e n t s
All Loa n D ocu m e n t s, Fun din g D ocu m e nt s and Fin a l D ocum e n t s ar e genuine, have been
com plet ed, duly and properly execut ed, are in r ecordable form and delivered in t he for m and
m anner specified in t his Client Guide, and each Loan is t he Mort gagor ’s legal, valid and
binding obligat ion enforceable in accordance wit h it s t erm s. All originals and copies of such
docum ent s and all ot her docum ent s, m at erials, and ot her inform at ion required t o be
subm it t ed t o GMAC- RFC have been so subm it t ed, and are com plet e and accurat e. All Loan
Docum ent s, Funding Docum ent s, Final Docum ent s and all ot her docum ent s describing or
ot herwise relat ing t heret o are in com pliance wit h all applicable local and St at e laws,
regulat ions and orders.
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          ( E) Ow n e r sh ip; Tr a n sfe r
          The Client has good t it le t o and is t he sole owner of, each Loan delivered and sold t o GMAC-
          RFC. Except for t he securit y int erest of a warehouse lender, which securit y int erest Client has
          disclosed t o GMAC- RFC in writ ing, t he assignm ent of t he Loan by t he Client validly t ransfers
          such Loan t o GMAC- RFC free and clear of any pledge, lien or securit y int erest or ot her
          encum brance.
          For each Loan regist er ed wit h M ERS, t he Client represent s t hat ( a) if t he Se cu r it y
          I n st r u m e n t relat ing t o such Loan ident ifies MERS as t he original m ort gagee of record, such
          Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o MERS solely as
          nom inee for t he Client and it s successor s and assigns and t hat such Securit y I nst rum ent has
          been properly execut ed, acknowledged, delivered and recorded in all places necessary t o
          perfect t he securit y int erest on t he M or t ga ge d Pr e m ise s in favor of MERS, solely as
          nom inee for t he Client and it s successors and assigns; or ( b) if t he Loan is regist ered wit h
          MERS, and MERS is not t he original m ort gagee of recor d, an assignm ent t o MERS has been
          prepared, duly execut ed and recorded and t he chain of assignm ent s is com plet e and
          recorded from t he original m ort gagee t o MERS. Client furt her represent s t hat it has com plied
          wit h all rules and procedures of MERS for it s assignm ent of t he Securit y I nst rum ent t o GMAC-
          RFC, including, am ong ot her t hings, t hat t he Client has confirm ed t he t ransfer on MERS t o
          GMAC- RFC.

          ( F) D isbu r se m e n t s; N o Pa yoffs or Fut u r e Adva nce m e nt s
          Each Loan has been closed and fully disbursed, except as perm it t ed in t he Escr ow Accou n t
          for Post pon e d I m pr ove m e nt s/ Re pa ir s Sect ion of t his Client Guide. There are no payoffs,
          assum pt ions or insurance claim s pending on any Loan or pert aining t o t he Mort gaged
          Prem ises and t he Borrower m ay not exercise any opt ion under any of t he Loa n D ocu m e n t s
          t o borrow addit ional funds secured t hereby from t he Client or any ot her person or ent it y
          wit hout t he Not eholder ’s consent .
          Addit ionally, t he Client warrant s t hat t he Client has not m ade arrangem ent s wit h any
          Borrower for any paym ent forbearance or fut ure r efinancing w it h respect t o any Loan.

          ( G) N o D e fa u lt
          There is no default , breach, violat ion or event of accelerat ion exist ing under any Not e or
          Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, and no event exist s which, wit h not ice and
          t he expirat ion of any grace or cure period, w ould const it ut e a default , breach, violat ion or
          event of accelerat ion, and no such default , breach, violat ion or event of accelerat ion has
          been waived by t he Client or by any ot her ent it y involved in originat ing or servicing t he Loan.

          ( H ) N o D e fe n se s
          Except as provided in a buydown or subsidy agreem ent , if any, m eet ing t he requirem ent s set
          fort h in t his Client Guide, t he Borrower ( including any part y secondarily liable under t he
          Loa n D ocu m e n t s) has no right of set- off, defense, count erclaim or right of rescission t o any
          Loan Docum ent .
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                                                                                                    Warranties and
                                                                                                    Covenants
( I ) Com plia nce w it h La w
The sale and t ransfer of each Loan t o GMAC- RFC does not violat e any applicable St at e laws.
To t he ext ent t hat any applicable St at e law places any rest rict ions on t he t ransfer of any
Loan, t he Client has not ified GMAC- RFC in writ ing of t hat rest rict ion and any relat ed St at e
licensing or regist rat ion requirem ent s.
The Se cu r it y I n st r u m e n t has been properly execut ed, acknowledged, delivered and
recorded in all places necessary t o perfect t he securit y int erest in t he M or t ga ge d Pr e m ise s
in favor of t he Client and it s successors and assigns. I f a Loan is regist ered wit h M ERS, and
MERS is ident ified on t he Securit y I nst rum ent as t he original m ort gagee of record, Client
represent s t hat such Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o
MERS solely as nom inee for t he Client and it s successors and assigns. I f t he Loan is
regist ered wit h MERS, and MERS is not t he original m ort gagee of recor d, Client repr esent s
t hat an assignm ent t o MERS has been prepared, duly execut ed and recorded and t he chain of
assignm ent s is com plet e and recorded from t he original m ort gagee t o MERS and Client
furt her represent s t hat it has com plied wit h all rules and procedures of MERS for it s
assignm ent of t he Securit y I nst rum ent t o GMAC- RFC, including, am ong ot her t hings, t hat
Client has confirm ed t he t ransfer on MERS t o GMAC- RFC.
Each GMAC- RFC Loan Applicat ion ( Fa n n ie M a e 1003/ Fr e ddie M a c Form 65) was t aken from
t he Borrower and processed for each Loan, and each Loan has been originat ed, closed, and
t ransferred in com pliance wit h all applicable local, St at e and federal laws and regulat ions
including, but not lim it ed t o, t he Real Est at e Set t lem ent Procedures Act , t he Fair Credit
Report ing Act , t he Equal Credit Opport unit y Act , t he Trut h- in- Lending Act , t he Fair Housing
Act , and t he Nat ional Flood I nsurance Act . This warrant y is m ade by t he Client w it h respect
t o each GMAC- RFC Loan Applicat ion t aken and pr ocessed for each Loan and wit h r espect t o
each Loan m ade by t he Client or any ot her ent it y.

( J) Re spon sible Le n din g Re pr e se nt a t ions, W a r r a n t ie s a nd Cove n a n t s
     ( 1 ) N o D iscont in ue d Loa n s
         No Loan is a “ Discont inued Loan”. Discont inued Loan m eans any of t he following,
         regardless of whet her t he originat or is required by law t o com ply wit h t he law or has
         grounds t o claim preem pt ion from all or par t of t he law.
         ( a ) H OEPA/ Se ct ion 3 2
              A loan considered a “ m or t gage” under Sect ion 152 of t he Hom e Ownership and
              Equit y Prot ect ion Act of 1994, 15 U.S.C. Sect ion 1602 ( aa) and t he relat ed
              regulat ions and com m ent ary prom ulgat ed by t he Federal Reserve Board,
              including Sect ion 226.32 of Tit le 12 of t he Code of Federal Regulat ions, and t he
              official st aff com m ent ary t o t hose regulat ions.
         ( b) Pu r ch a se M on e y Loa n s w it h H igh Poin t s or Fe e s
              A “ purchase m oney” loan secured by t he consum er ’s principal dw elling t hat
              exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
              Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
              by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
              Federal Regulat ions. A “ purchase m oney” loan is a loan t hat is considered a
              “ resident ial m ort gage t ransact ion” under Sect ion 226.2( 24) of Tit le 12 of t he
              Code of Federal Regulat ions.
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                    ( c) H om e Equ it y Lin e s a n d 1 st Lie n Lin e s of Cr e dit Th a t Ex ce e d t h e H OEPA
                         Tr igge r s
                        An open- end line of credit secured by t he consum er ’s principal dwelling t hat
                        exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
                        Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
                        by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
                        Federal Regulat ions. “ Point s and fees” m ust be calculat ed in accordance wit h
                        Sect ion 226.32 of Tit le 12 of t he Code of Regulat ions and t he relat ed
                        com m ent ary prom ulgat ed by t he Federal Reserve Board. The “APR” is t he fully
                        indexed rat e or t he init ial rat e, whichever is great er, at t he t im e of
                        consum m at ion. The “ t ot al loan am ount ” is t he t ot al credit line available under
                        t he t erm s of t he loan, wit hout subt ract ing any am ount s for closing cost s.
                    ( d) St a t e a n d Loca l H igh Cost Loa n s
                        A loan considered a “ high- cost ,” covered, “ high- risk,” “ predat ory” or any ot her
                        sim ilar designat ion under any St at e or local law in effect at t he t im e of t he
                        closing of t he loan if t he law im poses great er rest rict ions or addit ional legal
                        liabilit y for resident ial m ort gage loans wit h high int erest rat es, point s and/ or
                        fees.
                    ( e ) Ce r t a in Ge or gia H om e Loa ns
                        A “ hom e loan” under t he Georgia Fair Lending Act , Ga. Code Ann. Sect ion 7- 6A-
                        1 et . seq. t hat becam e effect ive on Oct ober 1, 2002 ( t he “Act ” ) , if t he
                        Com m it m ent was issued on or aft er February 1, 2003 and t he loan was closed
                        on or before March 7, 2003.
                    ( f) Ce r t a in N e w Je r se y H om e Loa ns
                        A “ hom e loan” under t he New Jersey Hom e Ownership Securit y Act of 2002 ( t he
                        “Act ” ) , N.J.S.A. 46: 10B- 22 et seq. if t he loan is:
                            • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
                            • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                            • A “ hom e loan” t hat is an open- end line of credit ;
                            • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                              out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
                    ( g) Ce r t a in N e w M e x ico H om e Loa n s
                        A “ hom e loan” under t he New Mexico Hom e loan Prot ect ion Act ( t he “Act ” ) , t hat
                        was closed on or aft er February 1, 2004, and on or before February 26, 2004, if
                        t he loan is:
                            • A “ hom e loan” if t he propert y is a “ M a n u fa ct u r e d H om e ” ;
                            • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                            • A “ hom e loan” t hat is an open- end line of credit ;
                            • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                              out t ransact ion;
                        Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                        t he loan is a cash- out refinance or a rat e/ t erm refinance.
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    ( 2 ) M a n da t or y Ar bit r a t ion Cla u se
         A Loan m ay not include a m andat ory arbit rat ion clause. Any arbit rat ion agreem ent
         signed by t he Borrower prior t o t he t im e of a disput e is prohibit ed.
    ( 3 ) Pr oh ibit e d Te r m s a n d Pr a ct ice s on a ll Loa n s sold t o GM AC- RFC
         A Loan m ay not violat e any of t he following pr ohibit ed t er m s and pract ices:
         ( a) Pr e - pa id in su r a n ce pr odu ct s. No Loan finances single prem ium credit life,
              credit disabilit y, credit unem ploym ent , or any ot her pre- paid life or healt h
              insurance, direct ly or indirect ly.
         ( b) Pr e pa ym e n t pe n a lt ie s. A Loan m ay not provide for a penalt y for paying all or
              part of t he principal before t he dat e on which t he principal is due except as set
              fort h in t his paragraph and ot herwise allowed by applicable federal, St at e, and
              local law.
                   • The penalt y m ay be enforced for only t he first five years following
                     consum m at ion;
                   • The penalt y does not exceed 6 m ont hs of int erest on t he am ount prepaid or
                     6% of t he am ount prepaid; and
                   • The Pr e pa ym e n t penalt y does not becom e due upon default
         ( c) Re por t in g t o cr e dit bur e a u s. Client or it s Se r vice r m ust report t o a nat ionally
              recognized consum er credit report ing agency at least quart erly t he favorable
              and unfavorable paym ent hist ory inform at ion of Borrower on paym ent s due t o
              Client on a Loan for t he period during which Client holds or services t he Loan.
              This paragraph shall not pr event Client or it s Servicer from not report ing specific
              paym ent hist ory inform at ion in t he event of a resolved or unresolved disput e
              wit h Borrower and shall not apply t o Loans held or serviced by Client for less
              t han 90 days.
         ( d) I n cr e a se d in t e r e st r a t e u pon de fa u lt . A Loan m ay not provide for an
              increase in t he int erest rat e aft er default .

( K) Tit le I n su r a n ce
A policy of t it le insurance, in t he form and am ount required by t his Client Guide, is effect ive
as of t he day t he Se cu r it y I n st r u m e n t is recorded, is valid and binding, is in conform ance
wit h all agency guidelines and rem ains in full force and effect , unless t he M or t ga ge d
Pr e m ise s are locat ed in t he St at e of I owa and a Tit le Guarant y Cert ificat e issued by t he
I owa Tit le Guarant y Division of t he I owa Finance Aut horit y has been provided as described in
Tit le Guarant y Cert ificat e I n I owa below.

( L) Tit le Gu a r a n t y Ce r t ifica t e I n I ow a
As t o each Loan secured by Mort gaged Prem ises locat ed in t he St at e of I owa, and if an
Am erican Land Tit le Associat ion ( ALTA) Loan policy of t it le insurance has not been provided,
a Tit le Guarant y Cert ificat e issued by t he I owa Tit le Guarant y Division of t he I owa Finance
Aut horit y, in t he form and am ount required by t his Client Guide, duly delivered and effect ive
as of t he closing of each such Loan, is valid and binding, and rem ains in full force and effect .
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          ( M ) Va lid Fir st Lie n s
          Each Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC, unless provided for ot herwise in a
          given Loa n Pr ogr a m , const it ut es a valid first lien on t he M or t ga ge d Pr e m ise s subj ect only
          t o t he m inor im pedim ent s described in t he Tit le I n su r a n ce Sect ion of t his Chapt er, and such
          im pedim ent s do not adversely affect t he Value, use, enj oym ent or m arket abilit y of t he
          Mort gaged Prem ises. Each Securit y I nst rum ent and all relat ed docum ent s ( including, wit hout
          lim it at ion, releases of prior Securit y I nst rum ent s, assum pt ion agreem ent s, assignm ent s,
          am endm ent s, powers of at t orney, and m odificat ion, ext ension and consolidat ion
          agreem ent s) t hat ar e required t o be recorded or filed under applicable law in order t o
          preserve in favor of GMAC- RFC t he validit y and enforceabilit y of t he Securit y I nst rum ent and
          t he liens cr eat ed t her eby, have been duly r ecorded in all appropriat e recording offices, and all
          associat ed recording fees or t axes m ust be paid.

          ( N ) N o En cr oa ch m e n t s By Adj oin in g Pr ope r t ie s; I m pr ov e m e n t s
          No im provem ent s by adj oining pr opert ies encroach upon t he Mort gaged Prem ises in any
          respect so as t o affect t he Value or m arket abilit y of t he Mort gaged Prem ises. No
          im provem ent locat ed on or being part of t he Mort gaged Propert y is in violat ion of any
          applicable zoning law or regulat ion.

          ( O) Su r v e y
          All im provem ent s which were considered in det erm ining t he appraised Value of t he
          M or t ga ge d Pr e m ise s lie wholly wit hin it s boundaries and t he building rest rict ion lines of t he
          Mort gaged Prem ises, or t he policy of t it le insurance insures against loss or dam age by reason
          of any violat ion, variat ion, encroachm ent or adverse circum st ance t hat eit her is disclosed or
          would have been disclosed by an accurat e survey.

          ( P) N o Lie n s
          There are no delinquent t ax or delinquent assessm ent liens against t he Mort gaged Prem ises,
          and t here are no m echanic’s liens or claim s for w ork, labor or m at erial or any ot her liens
          affect ing t he Mort gaged Prem ises, which are or m ay be a lien prior t o, or equal wit h, t he lien
          of t he Se cu r it y I n st r u m e n t assigned t o GMAC- RFC, except t hose liens t hat are insured
          against by t he policy of t it le insurance or Tit le Guarant y Cert ificat e issued by t he I owa Tit le
          Guarant y Division.

          ( Q) N o Adve r se Cir cu m st a n ce s
          The Mort gaged Prem ises are free of dam age and in good repair, and no not ice of
          condem nat ion has been given wit h respect t heret o, and no circum st ances exist involving t he
          Loa n D ocu m e n t s, t he M or t ga ge d Pr e m ise s or t he Borrow er ’s credit st anding t hat could:
          ( i) cause privat e inst it ut ional invest ors t o regard t he Loan as an unaccept able invest m ent , ( ii)
          cause t he Loan t o becom e delinquent , or ( iii) adversely affect t he Value or m arket abilit y of
          t he Mort gaged Prem ises or t he Loan. The Client warrant s t hat it neit her has act ual knowledge
          of t he presence of, nor reasonable grounds t o suspect t he pr esence of, any t oxic m at erials or
          ot her environm ent al hazards on, in or t hat could affect any of t he Mort gaged Prem ises. The
          Client warrant s com pliance w it h local, St at e or federal law or regulat ion designed t o prot ect
          t he healt h and safet y of t he occupant s of t he propert y.
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( R) Ca su a lt y I n su r a n ce
The im provem ent s upon t he M or t ga ge d Pr e m ise s are insured against loss by fir e and ot her
hazards as required by t his Client Guide, including flood insurance if required under t he
Nat ional Flood I nsurance Act of 1968, as am ended. The Se cu r it y I n st r u m e n t r equires t he
Borrower t o m aint ain such casualt y insurance at t he Borrower ’s expense, or on t he
Borrower ’s failure t o do so, aut horizes t he holder of t he Securit y I nst rum ent t o obt ain and
m aint ain such insurance at t he Borrower ’s expense and t o seek reim bursem ent from t he
Borrower. Each casualt y policy is t he insurer ’s valid and binding obligat ion, is in full force and
effect , and w ill be in full force and effect , t o GMAC- RFC’s benefit upon t he consum m at ion of
t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide. The Loan
t erm s per m it t he m aint enance of an escrow account t o pay t he Prem ium s for t he above
m ent ioned insurance, and t he Client has not waived t he requirem ent of such escrow account
unless perm it t ed by GMAC- RFC or requir ed by applicable law.

( S) Pr im a r y M or t ga ge I n su r a n ce
I f requir ed by t his Client Guide, prim ar y m ort gage insurance has been obt ained, t he
Prem ium has been paid, and t he m ort gage insurance coverage is in full force and effect
m eet ing t he requirem ent s of t his Client Guide.

( T) Un de r w r it in g; Appr a isa l; Appr a ise r
The Loan is of invest m ent qualit y, has been prudent ly originat ed and has been underwrit t en
in com pliance wit h all requirem ent s of t his Client Guide.
For each Loan for w hich an appraisal is required or obt ained under t his Client Guide, t he
appraisal was m ade by an appraiser who m eet s t he m inim um qualificat ions for appraisers as
specified in t his Client Guide. For each Loan, as of t he Fu n din g D a t e , t he m arket Value of
t he M or t ga ge d Pr e m ise s is at least equal t o t he appraised Value st at ed on t he Loan
appraisal, or if an Au t om a t e d V a lu a t ion M ode l ( AV M ) is perm it t ed, t he Value on t he AVM,
except t o t he ext ent t hat t he m arket Value of t he Mort gaged Prem ises is low er t han t he
appraised or AVM Value due t o t he effect of any t oxic m at erials or ot her environm ent al
hazards of which neit her t he appraiser nor t he Client has act ual knowledge or reasonable
grounds t o suspect .
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          ( U) En for ce a bilit y; En for ce m e n t Pr ov ision s
          Each Not e and Se cu r it y I n st r u m e n t const it ut es a legal, valid and binding obligat ion of t he
          Borrower enforceable in accordance wit h it s t erm s except as lim it ed by bankrupt cy,
          insolvency or ot her sim ilar laws affect ing generally t he enfor cem ent of credit or s’ right s.
          Each Securit y I nst rum ent cont ains cust om ary and enfor ceable provisions which render t he
          right s and rem edies of t he holder adequat e t o realize t he benefit s of t he securit y against t he
          M or t ga ge d Pr e m ise s, including: ( i) in t he case of a Securit y I nst rum ent designat ed as a
          deed of t rust , by t rust ee's sale, ( ii) by sum m ary foreclosure, if available under applicable
          law; and ( iii) ot herwise by foreclosure, and t here are no hom est ead or ot her exem pt ions or
          dower, court esy or ot her right s or int erest s available t o t he Bor rower or t he Bor rower ’s
          spouse, survivors or est at e or any ot her person or ent it y t hat would, or could, int erfere wit h
          such right t o sell at a t rust ee’s sale or t o foreclose. The Secur it y I nst rum ent and any rider s t o
          t he Securit y I nst rum ent m ust be signed by any person wit h an act ual or pot ent ial int erest in
          t he pr opert y. Tit le holders have an act ual int erest in t he propert y and m ust sign t he Securit y
          I nst rum ent and r iders. Non- Borrowing spouses who are not in t it le m ay have an act ual or
          pot ent ial int erest in t he propert y under St at e law and m ay be required t o sign t he Securit y
          I nst rum ent and rider in som e St at es in order for t he holder of t he Securit y I nst rum ent t o
          obt ain, prot ect and enforce it s lien. The Client will obt ain t he signat ure of t he non- Borrowing
          spouse on t he Securit y I nst rum ent and riders or ot her docum ent at ion, as allowed by law, if
          such signat ure is necessary t o prot ect t he int erest of t he holder of t he Securit y I nst rum ent .

          ( V ) H olde r - I n - D u e - Cou r se
          The Client is t he owner and holder- in- due- course of each Not e and is nam ed as m ort gagee/
          beneficiary or assignee under each Se cu r it y I n st r u m e n t , and all Loa n D ocum e n t s
          requiring execut ion have been appropriat ely execut ed, wit nessed or not arized by t he persons
          whose nam es appear as signat ories and wit nesses, or, as appropriat e, not aries who
          const it ut e t he valid and binding legal obligat ion of t he Borrower, enforceable in accordance
          wit h t heir respect ive t erm s. Not wit hst anding t he foregoing, wit h respect t o adj ust able- rat e
          m ort gage Loans ( ARMs) , t he Client repr esent s and warrant s t hat t here are no claim s t o t he
          Not e on t he part of any person or defenses of any part y t o t he Not e ot her t han t hose t hat
          validly could be raised against a holder- in- due- course.

          ( W ) Tr u st e e D e signa t e d
          Wit h respect t o each Se cu r it y I n st r u m e n t t hat is a deed of t rust , a t rust ee duly qualified
          under applicable law t o serve as such is properly nam ed, designat ed and serving.

          ( X ) N o Fe e s D ue Tr u st e e
          Except in connect ion wit h a t rust ee’s sale aft er default by t he Borrower, no fees or expenses
          are payable by t he Client or GMAC- RFC t o t he t rust ee under any Securit y I nst rum ent t hat is
          a deed of t rust .
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( Y) Ex e cut ion of D ocum e n t s
All agreem ent s, cont ract s, assignm ent s, endorsem ent s and issuances of checks or draft s,
report s, Loa n D ocu m e n t s or ot her papers relat ed t o a Loan t hat are required by t his Client
Guide t o be execut ed by t he Client have been proper ly execut ed by an officer on behalf of t he
Client pursuant t o a duly adopt ed Resolut ion of Board of Direct ors.

( Z) Le a se h olds
Where perm it t ed by t he applicable Loa n Pr ogr a m , each Mort gaged Prem ises involving a
Le a se h old est at e com plies wit h t he applicable Leasehold warrant ies set fort h in t his Client
Guide.
( AA) Con dom in iu m s; Pla n n e d Un it D e v e lopm e n t s ( PUD s)
Each M or t ga ge d Pr e m ise s t hat is a unit in a condom inium or PUD com plies wit h t he
applicable condom inium or PUD warrant ies set fort h in t his Client Guide.
( BB) Com plia n ce By Ot h e r s
When a person or ent it y: ( i) originat es a Loan on behalf of a Client , ( ii) originat es a Loan on
it s own behalf and sells it t o a Client , or ( iii) perform s any act for a Client which t he Client is
required t o perform under t his Client Guide, t he Client warrant s t hat such person or ent it y
has com plied wit h all requir em ent s of t his Client Guide wit h respect t o all such Loans and
act s.
( CC) Clie n t Con t r a ct W a r r a n t ie s
The represent at ions and warrant ies m ade at t he t im e of t he Client ’s execut ion of t he Client
Cont ract m ust rem ain t rue, correct and com plet e.
( D D ) Clie n t a n d Or igin a t or s
Each Jum bo A, Expanded Crit er ia or Paym ent Opt ion Loan was originat ed by ( i) a savings and
loan associat ion, savings bank, com m ercial bank, credit union, insurance com pany or sim ilar
banking inst it ut ion which is supervised by a federal or St at e aut horit y, or ( ii) a HUD approved
non- supervised or cor respondent m ort gagee.
I f t he Client sells Loans t o GMAC- RFC which are regist ered wit h M ERS or as t o which MERS is
t he m ort gagee on t he Se cu r it y I n st r u m e n t , t he Client is a m em ber of MERS, in good
st anding and current in paym ent of all fees and assessm ent s im posed by MERS.
( EE) N o I m pa ir m e n t of I n su r a n ce
No act ion, er ror, om ission, m isrepresent at ion, negligence, fraud or sim ilar occurrence in
respect of a Loan has t aken place on t he part of any person, including, wit hout lim it at ion, t he
Borrower, any appraiser, any builder or developer or any part y involved in t he originat ion of
t he Loan or in t he applicat ion of any insurance in relat ion t o such Loan t hat m ight result in a
denial, cont est ing, failure or im pairm ent of full and t im ely coverage under any insurance
policies requir ed t o be obt ained or any pool insurance policy covering such Loan.
( FF) Te m por a r y Buy dow ns
Where perm it t ed by t he applicable Loa n Pr ogr a m , each Te m por a r y Buy dow n Loan
delivered t o GMAC- RFC was ent ered int o pursuant t o a buydown agreem ent which com plies
wit h t he Te m por a r y Bu ydow n s Sect ion in Cha pt e r 3 C, Financing, of t his Client Guide.
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          ( GG) Pr im a r y M or t ga ge I n su r a n ce Ca n ce lla t ion
          The Client has disclosed in writ ing t o t he Borrower t he t erm s and condit ions t hat m ust be
          m et prior t o t he prim ary m ort gage insurance being eligible for cancellat ion. A copy of t his
          disclosure has been ret ained in t he Loan file as a perm anent record.
          ( H H ) N o D e ficie n cy I n Escr ow D e posit s or Pa ym e n t s
          The Loan has been serviced by t he Client and any pr edecessor Se r vice r in accordance wit h
          t he t erm s of t he m ort gage Not e and all applicable law. Wit h respect t o escrow deposit s and
          escrow paym ent s, if any, all such paym ent s are in t he possession of, or under t he cont rol of,
          t he Client , and t here exist s no deficiency in connect ion t herewit h for which cust om ary
          arrangem ent s for repaym ent t hereof have not been m ade. No escrow deposit s, escr ow
          paym ent s or ot her charges or paym ent s due t he Client have been capit alized under any
          m ort gage or relat ed m ort gage Not e.
          ( I I ) Loa n Se cu r it iza t ion
          The Client recognizes t hat it is GMAC- RFC’s int ent t o securit ize som e or all of t he Loans sold
          t o GMAC- RFC by t he Client . The Client agrees t o provide GMAC- RFC w it h all such inform at ion
          concerning t he Client generally and, if applicable, t he Client ’s servicing experience, as m ay
          be reasonably request ed by GMAC- RFC for inclusion in a prospect us or privat e placem ent
          m em orandum published in connect ion wit h such securit izat ion.
          I n addit ion, t he Client will cooperat e in a sim ilar m anner wit h GMAC- RFC in connect ion wit h
          any whole Loan sale or ot her disposit ion of any Loan sold t o GMAC- RFC by t he Client . The
          Client agrees t o indem nify and hold GMAC- RFC harm less from and against any loss, dam age,
          penalt y, fine, forfeit ure, court cost , reasonable at t orneys’ fees, j udgm ent , cost , fee, expense
          or liabilit y incurred by GMAC- RFC as a result of any m at erial m isst at em ent in or om ission
          fr om any infor m at ion provided by t he Client t o GMAC- RFC; or fr om any claim , dem and,
          defense or assert ion against or involving GMAC- RFC based on or grounded upon, or result ing
          fr om such m isst at em ent or om ission or a breach of any represent at ion, warrant y or
          obligat ion m ade by GMAC- RFC in reliance upon such m isst at em ent or om ission.
          The Client furt her agrees t o cooperat e fully wit h GMAC- RFC, rat ing agencies, at t or neys, bond
          insurers, purchasers of Loans or any ot her part ies t hat m ay be involved in t he sale or
          securit izat ion of any Loan, including, wit hout lim it at ion, all cooperat ion as m ay be necessary
          in order t o accom m odat e due diligence act ivit y.
          ( JJ) N on - Solicit a t ion
          The Client has not solicit ed or provided inform at ion t o anot her part y for t he purpose of
          solicit ing, and covenant s and agrees t hat it will not solicit or provide inform at ion t o anot her
          part y for t he purpose of solicit ing, t he refinance of any Loan. The t erm “ solicit ” as used
          herein shall m ean a direct request or offer t o refinance a servicing released Loan, and shall
          not include general solicit at ions, advert isem ent s or prom ot ions direct ed t o t he public at
          large.
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( KK) N o Fr a u d or M isr e pr e se n t a t ion
No fraud or m isrepr esent at ion by t he Borrow er or by t he Client , broker, correspondent ,
appr aiser or any independent cont ract or ret ained by t he Client , broker, corr espondent ,
appr aiser or any em ployee of any of t he foregoing occurred wit h respect t o or in connect ion
wit h t he originat ion or underwrit ing of any Loan and all inform at ion and docum ent s provided
t o GMAC- RFC in connect ion wit h t he Loan are com plet e and accurat e.
( LL) Ex clu sion a r y List
No part y involved in t he originat ion of a Loan ( e.g., originat or, broker, t it le com pany,
appraiser, et c.) was on t he Ex clu sion a r y List on t he dat e t he Loan was originat ed as
det erm ined by t he dat e of t he prom issory Not e for t hat part icular Loan.
( M M ) Ea r ly Pa ym e n t D e fa u lt
Neit her Client , nor any t hird part y act ing on behalf of Client , has m ade or will m ake a
scheduled paym ent on a Loan during t he 90- day period where t he Loan is subj ect t o
repurchase for Ea r ly Pa ym e n t D e fa u lt .

A203
Additional Client Representations, Warranties and Covenants for the Home Equity
Program
The Hom e Equit y Program adheres t o t he Client represent at ions, warrant ies and covenant s
st at ed below as well as t he represent at ions, warrant ies and covenant s cont ained in t his
Client Guide.
Unless t he Hom e Equit y Loan is a valid first lien on t he M or t ga ge d Pr e m ise s, t he following
represent at ion and warrant y applies:
       Valid Second Lien
       Each Se cu r it y I n st r u m e n t t ransferred t o GMAC- RFC const it ut es a valid lien on t he
       Mort gaged Prem ises which is subordinat ed only t o a lien of t he holder of a first
       m ort gage Loan, and is subj ect only t o t he m inor im pedim ent s described in t he Tit le
       I n su r a n ce Sect ion of t his Chapt er. No such im pedim ent shall adversely affect t he
       Value, use, enj oym ent or m arket abilit y of t he Mort gaged Prem ises.
The following addit ional represent at ions and warrant ies are m ade by t he Client t o GMAC- RFC
as of t he Pu r ch a se D a t e of each Hom e Equit y Loan:

( A) Lice n sin g
The Client and any agent s or correspondent s originat ing for t he Client have obt ained all
licenses and approvals required wit h respect t o t he originat ion of t he Hom e Equit y Loans,
including, t o t he ext ent applicable, licenses and appr ovals required for sm all Loans or sm all
advances and licenses and approvals requir ed t o charge t he m axim um int erest rat e allowable
under St at e law.

( B) N o Con t r a ct or or D e a le r Loa ns
No hom e im provem ent cont ract or or dealer was involved as a t hird part y originat or of a
Hom e Equit y Loan or received com pensat ion in any form from t he Client .
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A206
Integrity of Information
The Client is responsible for credit and propert y underw rit ing regardless of w het her t he
inform at ion was provided by t he Client , an ent it y relat ed t o t he Client or designat ed by t he
Client t o perform t he funct ion. This includes credit inform at ion, appraisals, or ot her
docum ent s/ inform at ion used in t he Loan's evaluat ion.
The Client should t ake all st eps necessary t o ensure t hat each Loan sold t o GMAC- RFC has
been prudent ly originat ed and underwrit t en, and t hat all inform at ion supplied by, on behalf
of, or concerning t he Borrower is t rue, accurat e and com plet e. The Client should ensure t hat
int erest ed part ies are sufficient ly independent from t he Loan t ransact ion and t hat adequat e
organizat ional cont r ols are in place t o ensur e t he independence, validit y and reliabilit y of t he
Loan inform at ion.
I n addit ion, t he Client should im plem ent prudent pract ices when relying on designat ed
agent s ( such as escrow com panies, t it le com panies, et c.) in order t o ensure t hat t hey com ply
wit h it s inst ruct ions and t hat t he int egr it y of t he Loan t ransact ion has been m aint ained.

A207
Third-Party Originators
When relying on t he act ions or services of t hird- part y originat ors, t he Client should est ablish
qualificat ion and eligibilit y st andards. The Client should consider t he funct ions being
perform ed by t he t hird- part y originat or in est ablishing t hese st andards. These st andards
should be review ed periodically t o ensur e ongoing eligibilit y by t he t hird- part y originat or.
The Client is encouraged t o include t he follow ing it em s in form ulat ing it s qualificat ion and
eligibilit y st andar ds and procedures:
    ( 1) Review personnel resum es and references of m anagem ent and Loan originat ion st aff
         ( Loan officers, processors, underwrit ers, closers, et c.)
    ( 2) Est ablish m inim um net wort h requirem ent s and evaluat e t he financial viabilit y of t he
         firm on an ongoing basis
    ( 3) Est ablish m inim um requirem ent s for errors and om issions insurance and fidelit y
         bond coverage and m onit or ongoing com pliance wit h t hese st andards
    ( 4) Docum ent t he relat ionship wit h a cont ract ual agreem ent t hat cont ains specific
         warrant ies relat ed t o each par t y’s responsibilit ies, as well as recourse right s in t he
         event of warrant y violat ions
    ( 5) Review t he per form ance of Loans originat ed by t hird part ies t o evaluat e t rends or
         pat t erns of D e lin qu e n cy
The Client should include a represent at ive, random sam ple of t hird- part y Loans in t he qualit y
cont rol program t hrough bot h pre- and post - closing qualit y cont rol audit s t o ensure t he
qualit y of Loan inform at ion.
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          A208
          Events of Default
          Any one or m ore of t he following event s const it ut e an Eve nt of D e fa u lt :
               ( 1) The Client has not com plied wit h one or m ore of t he requirem ent s ( including any
                    requirem ent out lined in Chapt er 2, Client Eligibilit y) t erm s or condit ions out lined in
                    t his Client Guide or one of t he disqualificat ion, suspension or inact ivat ion event s set
                    fort h in t he D isqu a lifica t ion Su spe n sion or I n a ct iv a t ion Sect ion has occurred or
                    occurs.
               ( 2) The Client has breached any agreem ent out lined or incorporat ed by reference in t he
                    Client Cont ract or any ot her agreem ent bet ween t he Client and GMAC- RFC.
               ( 3) The Client breaches any of t he represent at ions, warrant ies or covenant s set fort h in
                    t his Client Guide, fails t o perform it s obligat ions under t his Client Guide or t he
                    Program Docum ent s, m akes one or m ore m isleading represent at ions, warrant ies or
                    covenant s t o GMAC- RFC, or has failed t o provide GMAC- RFC wit h inform at ion in a
                    t im ely m anner, including inform at ion required under Regulat ion AB or any successor
                    regulat ion, t hat is t rue, com plet e and accurat e.
               ( 4) The Borr ower or any ot her person or ent it y involved in t he Loan t ransact ion or in it s
                    underwrit ing or docum ent at ion ( including any appraiser, broker, t hird- part y
                    originat or, credit report ing agency, or ot her pr ovider of underwrit ing inform at ion)
                    has m ade any false represent at ion and/ or has failed t o provide inform at ion t hat is
                    t r ue, com plet e and accurat e in connect ion w it h such t ransact ion, w het her or not t he
                    Client was a part y t o or had knowledge of such m isr epresent at ion or incorrect
                    inform at ion.
               ( 5) Occurrence of an Event of Se r vice r Default wit h respect t o any Loans serviced by
                    t he Client .
               ( 6) Term inat ion of servicing for cause is a basis for t he Client ’s im m ediat e
                    disqualificat ion or suspension. Act ion t aken by GMAC- RFC t o t erm inat e servicing
                    m ay be m erged wit h an act ion t o disqualify, suspend or inact ivat e t he Client .
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A209
Remedies of GMAC-RFC
( A) N on - Ex clu siv e , Cu m u la t ive Re m e die s
GMAC- RFC m ay exercise any r em edy out lined in t his Client Guide or as allowed by law or in
equit y. GMAC- RFC’s exercise of one or m ore rem edies in connect ion wit h a part icular Eve n t
of D e fa u lt will not prevent it from exercising:
    • One or m or e ot her rem edies in connect ion wit h t he sam e Event of Default
    • Any ot her right s which it m ay have at law or in equit y

( B) W a ive r of D e fa u lt s
GMAC- RFC m ay waive any default by Client in t he perform ance of Client ’s obligat ions
hereunder and it s consequences, but only by a writ t en waiver specifying t he nat ure and
t erm s of such waiver. No such waiver shall ext end t o any subsequent or ot her default or
im pair any right consequent t heret o, nor shall any delay by GMAC- RFC in exercising, or
failure t o exercise, any right arising from such default affect or im pair GMAC- RFC’s right s as
t o such default or any subsequent default .

( C) Su r v iva l of Re m e die s
GMAC- RFC’s rem edies for breach of t he represent at ions, warrant ies and covenant s shall
survive t he sale and delivery of t he Loan t o GMAC- RFC and funding of t he relat ed purchase
price by GMAC- RFC, and will cont inue in full force and effect for t he rem aining life of t he
Loans, not wit hst anding any t erm inat ion of t his Client Guide and t he relat ed Fu n din g
D ocu m e n t s, or any rest rict ive or qualified endorsem ent on any m ort gage Not e or
assignm ent of m ort gage or Loan approval or ot her exam inat ion of or failur e t o exam ine any
relat ed m ort gage Loan file by GMAC- RFC.

A210
Repurchase
( A) Re pu r ch a se Obliga t ion s
I f GMAC- RFC det erm ines t hat an Ev e n t of D e fa u lt has occurred wit h respect t o a specific
Loan, t he Client agrees t o r epurchase t he Loan and it s servicing ( if t he Loan was sold
servicing released) wit hin 30 days of receiving a repurchase let t er or ot her writ t en
not ificat ion from GMAC- RFC.
I f t he Client discovers an Event of Default , it should give GMAC- RFC prom pt writ t en not ice.
Such not ice should include a writ t en descript ion of t he Event of Default . Upon receipt of t his
not ice, GMAC- RFC will review t hese m at erials and any addit ional inform at ion or
docum ent at ion t hat t he Client believes m ay influence GMAC- RFC’s decision t o requir e
repurchase. I f GMAC- RFC decides t o require repurchase, t he Client shall repurchase t he Loan
and t he servicing ( if t he Loan was sold servicing released) wit hin 30 days aft er GMAC- RFC’s
decision is com m unicat ed t o Client in writ ing.
To expedit e t he wiring of funds t o GMAC- RFC, t he Client should com plet e t he servicing
t ransfer inst ruct ion form provided by GMAC- RFC. GMAC- RFC will send t he form t o t he Client
along wit h t he not ificat ion of repurchase.
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          GMAC- RFC is not required t o dem and repurchase wit hin any part icular period of t im e, and
          m ay elect not t o require im m ediat e repurchase. However, any delay in m aking t his dem and
          does not const it ut e a waiver by GMAC- RFC of any of it s right s or rem edies.
          Where GMAC- RFC det erm ines t hat repurchase of a Loan and/ or t he servicing is not
          appr opriat e, t he Client shall pay GMAC- RFC all losses, cost s and expenses incurred by GMAC-
          RFC and/ or t he Loan’s Se r vice r as a result of an Ev e n t of D e fa u lt . This includes all
          reasonable at t orneys’ fees and ot her cost s and expenses incurred in connect ion wit h
          enforcem ent effort s under t aken.
          Upon t he Client ’s sat isfact ion of it s repurchase obligat ion, GMAC- RFC will endorse t he Not e
          evidencing t he Loan in blank and w ill deliver it and ot her pert inent Loa n D ocu m e n t s t o t he
          Client . I f GMAC- RFC acquired t it le t o any of t he real propert y securing t he Loan pursuant t o a
          foreclosure sale and has not disposed of such propert y, it w ill t ransfer such propert y t o t he
          Client on a “ quit claim ” basis or, if required by St at e law, a “ warrant y deed” basis. However, if
          GMAC- RFC has disposed of t he real proper t y securing t he Loan, t he Loan Docum ent s will not
          be ret urned t o t he Client unless request ed.
          I f t he Client is also t he Se r vice r of a Loan repurchased by reason of t he occurrence of an
          Event of Default , GMAC- RFC will not reim burse t he Client for any principal, int erest or ot her
          advances m ade by t he Client wit h respect t o t hat Loan.
          I f, for any part icular Loan, Client has com plied wit h it s propert y valuat ion docum ent at ion
          requirem ent s ( as described under Specific Represent at ions, Warrant ies and Covenant s
          Concerning I ndividual Loans in t he Unde r w r it in g; Appr a isa l; Appr a ise r Sect ion) by
          providing a GMAC- RFC Qualified AVM in lieu of an appraisal, where t he Loa n Pr ogr a m t erm s
          perm it t he use of a Qu a lifie d AV M as t he sole docum ent at ion of pr opert y valuat ion
          underlying such Loan, and provided a Qualified AVM was obt ained by Client in good fait h
          direct ly from Qualified AVM Vendors ( See GMAC- RFC Ex h ibit 1 6 G0 5 , Aut om at ed Valuat ion
          Model ( AVM) Approved Vendors) and has been subm it t ed t o GMAC- RFC in it s original,
          unalt ered form as issued by t he Qualified AVM Vendor; or, alt ernat ively, if GMAC- RFC has
          waived an appraisal and indicat ed such waiver in it s Asset wise SM m essaging ( an Appr a isa l
          W a ive r ) , t hen, if an Eve n t of D e fa u lt relat ed t o such Loan ar ises solely out of t he validit y
          and accuracy of t he pr opert y valuat ion am ount st at ed in t he Qualified AVM, or ot herwise
          relat ed t o t he pr opert y valuat ion am ount wit h respect t o a loan where GMAC- RFC has
          grant ed an Appraisal Waiver, but provided t hat in all ot her aspect s t he Loan was eligible for
          purchase by GMAC- RFC at t he t im e it was subm it t ed for purchase by Client , GMAC- RFC will
          not exercise it s right t o dem and repurchase for such part icular Loan by reason of such
          part icular Event of Default . How ever, in t he case of eit her a Qu a lifie d AVM or an Appraisal
          Waiver, GMAC- RFC m ay cont inue t o exercise it s right t o dem and repurchase if GMAC- RFC
          reasonably believes t hat Client or any t hird part y or iginat or obt ained a Qualified AVM or
          allowed GMAC- RFC t o rely on an Appr a isa l W a ive r in bad fait h, such as by using a Qualified
          AVM where Client or t he t hird part y originat or had reason t o know t hat t he m ort gaged
          propert y was m at erially different t han t hat described in t he Qualified AVM or t hat t he
          descript ion in t he Qualified AVM should not be consider ed reliable at t he t im e t he Loan was
          sold t o GMAC- RFC, or where t he Client or t hird part y or iginat or has reason t o know t hat t he
          m ort gaged propert y was m at erially dam aged.
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( B) Re pu r ch a se Pr ice of Fir st M or t ga ge Pr ogr a m s
I n t he event t he Client is obligat ed t o repurchase a Loan t he Client m ust pay t o GMAC- RFC a
repur chase pr ice equal t o t he sum of:
    • The act ual principal balance of t he Loan at t he t im e of repurchase ( if t he Client sold t he
      Loan t o GMAC- RFC at a discount or a Prem ium , t he repurchase price above will be
      adj ust ed t o reflect t he act ual principal balance m inus t he discount percent age
      m ult iplied by t he act ual principal balance, or plus t he Prem ium percent age m ult iplied
      by t he act ual principal balance, as appr opriat e, including t hat price paid for Se r vicin g
      Righ t s) , plus
    • All accr ued and unpaid int erest on t he Loan t hrough t he last day of t he m ont h of t he
      dat e of repurchase; plus
    • All int erest , principal and ot her advances m ade t o invest ors and all out of pocket cost s
      and expenses of any kind incurred by GMAC- RFC and/ or t he prim ary Se r vice r in
      connect ion wit h t he Loan, including, but not lim it ed t o, advances for t axes or
      insurance, and repair, foreclosure and insurance cost s and reasonable at t orneys’ fees;
      plus
    • The am ount of t he Bu you t Fe e as calculat ed in t he Ex t e n sion a n d Bu you t Fe e s
      Sect ion of Chapt er 9A, Com m it m ent s; plus
    • I n t he event t hat GMAC- RFC or any of it s Affilia t e s is required t o repurchase t he Loan
      fr om any subsequent assignee, t hen any addit ional am ount as m ay be required t o
      m ake t he repurchase price t hat t he Client is obligat ed t o pay hereunder equal t o t he
      repurchase pr ice t hat GMAC- RFC or it s Affiliat e is required t o pay t o such subsequent
      assignee; m inus
    • The net am ount of any proceeds r ealized by t he owner of t he Loan upon t he final
      liquidat ion of t he Loan or t he M or t ga ge d Pr e m ise s t o an unrelat ed t hird part y.
The D e signa t e d Se r v ice r will ret urn t o t he Client any escrow funds, unapplied funds and
prepaid principal and int erest inst allm ent s.
GMAC- RFC m ay dem and t hat a Client repurchase, and Client m ust repurchase, a Loan aft er
foreclosure even if t he full am ount of it s out st anding debt was bid on by or on behalf of t he
Loan’s owner t o acquire t he M or t ga ge d Pr e m ise s at t he foreclosure sale. I n t he event t he
Client is obligat ed t o repurchase a Loan aft er foreclosure, t he repurchase price shall be
calculat ed using t he form ula above, however Sch e du le d Pr in cipa l Ba la n ce shall be
subst it ut ed for t he act ual principal balance.
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          ( C) Re pu r ch a se Pr ice of H om e Equ it y Pr ogr a m
          I n t he event t he Client is obligat ed t o repurchase a Hom e Equit y Loan, t he Client m ust , upon
          repurchase, service such Hom e Equit y Loan. The repurchase price for such Hom e Equit y Loan
          shall be equal t o t he sum of:
               • The unpaid pr incipal balance of t he Hom e Equit y Loan
               • All accr ued and unpaid int erest on t he Hom e Equit y Loan
               • The am ount of all fees and/ or purchase Prem ium paid, if any, t o t he Client by GMAC-
                 RFC for originat ion of t he Hom e Equit y Loan
               • All fees paid t o any Se r v ice r or sub- servicer of a Hom e Equit y Loan by reason of t he
                 t erm inat ion of t hat Servicer ’s or Sub- Servicer ’s right t o service t hat Hom e Equit y Loan
               • All cost s incurred or paid by GMAC- RFC or any Servicer in collect ing or enforcing t he
                 Hom e Equit y Loan, including, wit hout lim it at ion, int erest or ot her cost s paid t o bring or
                 m aint ain a prior lien current or up t o dat e, cost s t o insure or pay delinquent t axes,
                 at t orneys’ fees, court cost s, appraisal and t it le expenses and ot her sim ilar cost s or
                 expenses ( collect ively, “ Foreclosure Expenses” )
               • Any addit ional am ount GMAC- RFC or any of it s Affilia t e s is required t o pay t o
                 repurchase t he Hom e Equit y Loan from a subsequent assignee
          I n lieu of repurchasing a Hom e Equit y Loan t hat has not yet been foreclosed and accept ing
          t he servicing of such Hom e Equit y Loan, GMAC- RFC m ay in it s sole discret ion allow Client t o
          pay t o GMAC- RFC t he Est im at ed Loss ( as defined below) . Est im at ed Loss, as it relat es t o
          each Hom e Equit y Loan subj ect t o repurchase, shall equal t he product of:
          120% m ult iplied by t he result of:
               • Repurchase price as calculat ed above, plus
               • Accrued int erest on t he Hom e Equit y Loan t hrough t he dat e GMAC- RFC est im at es t hat
                 t he Hom e Equit y Loan will be fully liquidat ed ( which in t he case of a foreclosure, shall
                 m ean t he dat e t hat GMAC- RFC est im at es t hat t he M or t ga ge d Pr e m ise s will be sold t o
                 a t hird part y and which in any ot her case m eans t he dat e t hat GMAC- RFC est im at es
                 t hat all collect ion effort s on t he Hom e Equit y Loan will be abandoned) and est im at ed
                 foreclosure and ot her enforcem ent expenses for t he ent ire collect ion process, less
               • Am ount by which t he current m arket Value of t he Mort gaged Prem ises as det erm ined
                 by GMAC- RFC using valuat ion services provided by an independent t hir d part y exceeds
                 t he current out st anding am ount of indebt edness secured by t he Mort gaged Prem ises
                 t hat is senior t o t he Hom e Equit y Loan.

          ( D ) Re pu r ch a se Pr ice of a Se r vicin g Re le a se d Loa n
          I n t he event t he Client repurchases a Loan for which t he servicing has also been sold t o
          GMAC- RFC, t he Client will also be required t o repurchase t he servicing. I f t he repur chase of
          t he servicing of t he Loan is for any reason ot her t han a breach of t he D e lin qu e n cy Payoff/
          Liquidat ion warrant y cont ained in t he Servicing Released Cha pt e r 8 , t he Client m ust pay t o
          GMAC- RFC a repurchase price equal t o t he original Se r vicin g Re le a se d Pr e m iu m ( SRP)
          percent age m ult iplied by t he act ual unpaid principal balance at t he t im e of repurchase.
          I n no event however, will t he required repurchase Servicing Released Prem ium be gr eat er
          t han t he original Servicing Released Prem ium paid t o t he Client .
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The D e sign a t e d Se r vice r will ret urn t o t he Client any escrow funds, Te m por a r y Bu ydow n
funds, unapplied funds and prepaid pr incipal and int erest inst allm ent s. The Client will be
required t o reim burse t he Designat ed Servicer for any delinquent principal and int erest
advances, and any escrow advances and foreclosure expenses t hey have m ade and not
recovered on a repurchased Loan.

( E) Re pu r ch a se As a Re su lt of Con ve r sion
The Client ( or, if t he Client has t ransferred servicing of t he Loans, t he Se r vice r ) shall
repurchase a Loan which has convert ed from an ARM t o a fixed- rat e m ort gage. The Servicer
m ust subm it t he ARM Conversion Not ificat ion Report no less t han 15 days prior t o t he
conversion dat e.
I f t he Client or Servicer repurchases a convert ed Loan and subsequent ly resells t hat
convert ed Loan t o GMAC- RFC, all t he Client ’s represent at ions and warrant ies wit h respect t o
t hat Loan shall survive such repurchase and resale. I n addit ion, t he Client shall be subj ect t o
all right s and rem edies ( including repurchase) available t o GMAC- RFC as a result of any
m isrepresent at ion or breach of warrant y wit h respect t o t hat Loan pr ior t o conversion.
The Client shall also subm it t he m odificat ion agreem ent if request ed by GMAC- RFC or it s
assigns.
Aft er it s receipt of t he Loan funds, GMAC- RFC will endorse t he Not e t o t he par t y which
repurchased t he Loan. The Loan will t hen be assigned t o such part y, and all credit
docum ent at ion will be ret urned. Failure t o subm it t he ARM Conversion Not ificat ion Report in
a t im ely m anner m ay delay t he receipt of t he endorsed Not e and ot her Le ga l D ocu m e n t s.
The Se r v ice r shall subm it a Payoff/ Liquidat ion Report and wire t ransfer Loan funds t o t he
GMAC- RFC Loa n Accou n t in g D e pa r t m e n t no lat er t han t he last Bu sin e ss D a y prior t o t he
conversion dat e. The Servicer m ust rem it int erest for t he ent ire m ont h preceding t he
conversion dat e. The Client shall at t ach a copy of t he ARM Conversion Not ificat ion Report .
I f t he appropriat e am ount is not wired on t im e, GMAC- RFC will charge a lat e paym ent fee.
This fee will equal t he am ount due m ult iplied by t he “ Pr im e Ra t e ” plus 3% m ult iplied by t he
num ber of days overdue divided by 365. The t erm “ Prim e Rat e” shall m ean t he highest
quot ed Prim e Rat e print ed in The Wall St r eet Journal in it s regular colum n “ Money Rat es” on
t he first Bu sin e ss D a y of t he m ont h in which t he paym ent was due and not paid. I f t he
Prim e Rat e is not available, GMAC- RFC will det erm ine a com parable rat e.

( F) Ea r ly Pa ym e n t D e fa u lt
I f an Ea r ly Pa ym e n t D e fa u lt has occurred wit h r espect t o a specific Loan, GMAC- RFC m ay,
at it s sole discret ion require t he Client t o repurchase t he Loan. Client agrees t o repurchase
t he Loan at t he repurchase price, and according t o t he repurchase procedures and ot her
repurchase t erm s set out in t his Chapt er except t hat Client shall not have t he right t o appeal
GMAC- RFC's repurchase dem and. This policy applies t o all Loans seasoned less t han six ( 6)
m ont hs as of Fu n din g D a t e .
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          ( G) Su bst it u t ion
          I nst ead of requiring t he Client t o repurchase a Loan as provided above, GMAC- RFC, at it s
          sole discret ion, m ay allow t he Client t o subst it ut e anot her Loan sat isfact ory t o GMAC- RFC in
          place of t he original Loan, wit hin 10 days of not ificat ion by GMAC- RFC, unless ot herwise
          not ified. I f t he subst it ut ed Loan cont ains t erm s different from t hose of t he Loan t hat it is
          replacing, a purchase price adj ust m ent will be calculat ed by GMAC- RFC based on m arket
          changes and Loan charact erist ics. Every Loan subst it ut ed will be subj ect t o all agreem ent s,
          t erm s, condit ions, represent at ions and warrant ies in t his Client Guide as of t he Su bst it u t ion
          Date.
          I n t he event a Loan is eligible for purchase by GMAC- RFC but t he servicing is ineligible for
          purchase by GMAC- RFC, t he Loan will be purchased and t he sale of servicing denied. GMAC-
          RFC w ill not allow t he Client t o subst it ut e anot her servicing released Loan.

          ( H ) Cost of Tr a n sfe r Fe e s D ue t o Re pu r cha se
          The Client agrees t hat , if it is requir ed t o repurchase a Loan and t he relat ed Servicing, it will
          pay all docum ent ary st am p t axes, recording fees, t ransfer t axes and all ot her expenses
          payable in connect ion wit h t he repurchase and will indem nify and hold harm less GMAC- RFC
          and t he D e signa t e d Se r v ice r against all losses, cost s and expenses, including at t orney
          fees, result ing from such requir ed repurchases or t he breach giving rise heret o.

          ( I ) N ot ice a n d Appe a l
          The Client m ay appeal GMAC- RFC’s decision by providing any addit ional inform at ion or
          docum ent at ion it believes m ay affect GMAC- RFC’s det erm inat ion.
          Send all not ificat ions and appeals t o:
                    GMAC- RFC
                    One Meridian Crossings
                    Suit e 100
                    Minneapolis, MN 55423
                    At t ent ion: Repurchase Managem ent
          Such inform at ion and docum ent at ion m ust be received wit hin 30 days aft er t he Client ’s
          receipt of a repurchase let t er or sim ilar writ t en not ificat ion from GMAC- RFC. GMAC- RFC will
          review all appeals and advise t he Client in writ ing of t he appeal decision. GMAC- RFC will in it s
          sole discret ion det erm ine t he validit y of any appeal filed by t he Client . I f GMAC- RFC’s
          decision rem ains firm following an appeal, t he Client shall repurchase t he Loan and it s
          servicing ( if t he Loan was sold servicing released) wit hin 10 days of not ificat ion by GMAC-
          RFC, in writ ing, t hat t he appeal has been denied.
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              ( 17) The Client or Se r vice r ’s failure t o m aint ain a qualified Loan originat ion, servicing
                    and qualit y cont r ol st aff, an accept able ongoing qualit y cont rol program , adequat e
                    facilit ies and writ t en policies and procedures t o ensure:
                    • The invest m ent qualit y of Loans sold t o GMAC- RFC
                    • The adequacy of t he servicing of Loans purchased by GMAC- RFC OR
              ( 18) The failure of t he Client or t he Se r vice r t o m eet any t est as m ay be prescribed for
                    eligibilit y,
              ( 19) The det erm inat ion by GMAC- RFC t hat a Client has not delivered an adequat e volum e
                    of Loans t o GMAC- RFC.

          A212
          Indemnification
          The Client shall indem nify GMAC- RFC fr om all losses, dam ages, penalt ies, fines, forfeit ures,
          court cost s and reasonable at t orneys’ fees, j udgm ent s, and any ot her cost s, fees and
          expenses result ing from any Eve nt of D e fa u lt . This includes, wit hout lim it at ion, liabilit ies
          arising from ( i) any act or failure t o act , ( ii) any breach of warrant y, obligat ion or
          represent at ion cont ained in t he Client Cont ract , ( iii) any claim , dem and, defense or assert ion
          against or involving GMAC- RFC based on or result ing from such breach, ( iv) any breach of
          any represent at ion, warrant y or obligat ion m ade by GMAC- RFC in reliance upon any
          warrant y, obligat ion or represent at ion m ade by t he Client cont ained in t he Client Cont ract
          and ( v) any unt rue st at em ent of a m at erial fact , om ission t o st at e a m at erial fact , or false or
          m isleading inform at ion provided by t he Client in inform at ion required under Regulat ion AB or
          any successor regulat ion.
          I n addit ion, Client shall indem nify GMAC- RFC against any and all losses, dam ages, penalt ies,
          fines, forfeit ures, j udgm ent s, and any ot her cost s, fees and expenses ( including court cost s
          and reasonable at t orneys’ fees) incurred by GMAC- RFC in connect ion wit h any lit igat ion or
          governm ent al proceeding t hat alleges any violat ion of local, St at e or federal law by Client , or
          any of it s agent s, or any originat or or broker in connect ion wit h t he originat ion or servicing of
          a Loan. Wit h regard t o legal fees or ot her expenses incurr ed by or on behalf of GMAC- RFC in
          connect ion wit h any such lit igat ion or governm ent al proceeding, Client shall reim burse
          GMAC- RFC for such fees and expenses. Reim bursem ent shall be m ade direct ly t o GMAC- RFC
          wit hin t en days of receipt of a request for paym ent , which request shall include copies of t he
          relevant invoices. Except for not ices for reim bursem ent , GMAC- RFC is not required t o give
          Client not ice of any lit igat ion or governm ent al proceeding t hat m ay t rigger indem nificat ion
          obligat ions. Client shall inst ruct it s officers, direct ors and agent s ( including legal counsel) t o
          cooperat e wit h GMAC- RFC in connect ion wit h t he defense of any lit igat ion or governm ent al
          proceeding involving a Loan. GMAC- RFC has t he right t o cont rol any lit igat ion or
          governm ent al proceeding relat ed t o a Loan, including but not lim it ed t o choosing defense
          counsel and m aking set t lem ent decisions.
          The Client also shall indem nify GMAC- RFC and hold it harm less against all court cost s,
          at t orney’s fees and any ot her cost s, fees and expenses incurred by GMAC- RFC in enforcing
          t he Client Cont ract . The obligat ions of t he Client under t his Sect ion shall survive t he
          D e live r y D a t e , t he Fu n din g D a t e ( and each Su bst it u t ion D a t e , if applicable) and t he
          t erm inat ion of t he Client Cont ract and t he disqualificat ion, suspension or inact ivat ion of t he
          Client .
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                Clie n t Gu ide




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Representations,
 Warranties and
      Covenants

          A201
          Specific Representations, Warranties and Covenants Concerning Client
          (A) Due Organization; Good Standing; Licensing
          Client and, t o Client ’s knowledge, Client ’s Guarant or, if applicable, is and shall cont inue t o be
          duly organized, validly exist ing, and in good st anding under t he laws of t he Unit ed St at es or
          under t he laws of t he j urisdict ion in which it was incorporat ed or organized, as applicable,
          and has and shall cont inue t o m aint ain all licenses, regist rat ions, and cert ificat ions necessary
          t o carry on it s business as now being conduct ed, and is and will cont inue t o be licensed,
          qualified, and in good st anding in each St at e where a Mort gaged Propert y is locat ed if t he
          laws of such St at e requir e licensing or qualificat ion in order t o conduct business of t he t ype
          conduct ed by Client 1. Client is and will rem ain in com pliance w it h t he law s of any such St at e,
          and is and will rem ain in good st anding wit h federal aut horit ies, t o t he ext ent necessary t o
          ensure t he enforceabilit y of t he relat ed Loan. Client has disclosed t he final writ t en report s,
          act ions and/ or sanct ions of any and all reviews, invest igat ion, exam inat ions, audit s, act ions
          and/ or sanct ions t hat have been undert aken and/ or im posed, wit hin t w o years prior t o t he
          dat e of t he Client Cont ract , by any federal or St at e agency or inst rum ent alit y wit h respect t o
          eit her t he lending or r elat ed financial operat ions of Client , or t he abilit y of Client t o perform
          in accordance wit h t he Program Docum ent s t erm s. Each of t he represent at ions and
          warrant ies m ade by Client in it s Client Applicat ion is t rue, accurat e, and com plet e, and is
          deem ed t o be rem ade in it s ent iret y, as of t he dat e of t he Client Cont ract , and as of each
          Funding Date.
           1
               I n addit ion, if any Loan is secured by m ort gaged propert y locat ed in t he St at e of West Virginia, Client and t he
               originat or of t he Loan is licensed under t he West Virginia Mort gage Loan Act and Client and t he originat or of t he
               Loan held such license at t he t im e t he Loan was originat ed, unless ot herwise exem pt from licensing. Client and
               t he originat or of t he Loan m ust be licensed under t he West Virginia Mort gage Loan Act even if Client and t he
               originat or of t he Loan m akes or offers t o m ake or accept s or offers t o accept or purchases or services in a calendar
               year fewer t han t he num ber of de m inim us prim ary or subordinat e m ort gage Loans specified in t he definit ion of
               “ lender” in W. Va. Code Sect ion 31- 17- 1.

          (B) Authority
          Client has and will m aint ain t he full corporat e, part nership or lim it ed liabilit y com pany power
          and aut horit y t o execut e and deliver t he Program Docum ent s and t o perform t he t erm s of
          t his Client Guide. The execut ion, delivery, and perform ance of t he Program Docum ent s and
          t he perform ance of t he t erm s of t his Client Guide by Client , and t he consum m at ion of t he
          t ransact ions cont em plat ed, have been duly and validly aut horized. The Program Docum ent s
          and t his Client Guide evidence Client ’s legal valid, binding, and enforceable obligat ions. All
          requisit e corporat e, part nership or lim it ed liabilit y com pany act ion has been t aken by Client
          t o m ake t he Program Docum ent s and t he t erm s of t his Client Guide valid and binding upon
          Client and enforceable in accordance wit h t heir respect ive t erm s.

          (C) Ordinary Course of Business
          The consum m at ion of t he t ransact ions cont em plat ed by t he Program Docum ent s and t he
          Client Guide t erm s are in Client ’s ordinary course of business, and t he t ransfer, assignm ent ,
          and conveyance of t he Mort gage Not es and t he Mort gages by Client , pursuant t o t he Program
          Docum ent s and t he Client Guide t erm s are not subj ect t o t he bulk t ransfer law s or any
          sim ilar st at ut ory provisions in effect in any applicable j urisdict ion.
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                                                                                                     Representations,
                                                                                                     Warranties and
                                                                                                     Covenants
(D) No Conflicts
Neit her t he execut ion and delivery of t he Program Docum ent s, t he acquisit ion and/ or m aking
of t he Loans by Client , t he sale of t he Loans t o GMAC- RFC or t he t ransact ions cont em plat ed
t hereby or pursuant t o t his Client Guide, nor t he fulfillm ent of or com pliance wit h t he
Program Docum ent s t erm s and condit ions, will conflict wit h or result in a br each of any of t he
t erm s, condit ions, or provisions of Client 's art icles of incorporat ion, chart er, by- laws,
part nership agreem ent , or ot her organizat ional docum ent , or of any legal rest rict ion or
regulat ory direct ive or any agreem ent or inst r um ent t o which Client is now a part y or by
which it is bound, or const it ut e a default or result in an accelerat ion under any of t he
foregoing, or result in t he violat ion of any law, rule, regulat ion, order, j udgm ent , or decree t o
which Client , or any of it s propert y is subj ect , or im pair t he abilit y of GMAC- RFC t o realize on
any of t he Loans, or im pair t he Value of any of t he Loans.

(E) Ability to Perform
Client has t he abilit y t o perform each and every obligat ion of and/ or sat isfy each and ever y
requirem ent im posed on, Client pursuant t o t he Program Docum ent s and t his Client Guide,
and no offset , count erclaim , or defense exist s t o t he full perfor m ance by Client of t he
requirem ent s of Program Docum ent s and t his Client Guide.

(F) No Litigation Pending
There is no act ion, suit , proceeding, inquiry, review, audit , or invest igat ion pending or
t hreat ened against Client t hat , eit her in any one inst ance or in t he aggregat e, m ay r esult in
any m at erial adverse change in t he business, operat ions, financial condit ion, propert ies, or
asset s of Client , or in any m at erial liabilit y on t he part of Client , or which would draw int o
quest ion t he validit y or enforceabilit y of any of t he Program Docum ent s, t his Client Guide, or
t he Loans or of any act ion t aken or t o be t aken in connect ion wit h Client ’s obligat ions
cont em plat ed in any of t he Program Docum ent s or t his Client Guide, or which would be likely
t o im pair m at erially Client ’s abilit y t o perform under t he t erm s of t he Program Docum ent s or
t his Client Guide.

(G) No Consent Required
No consent , approval, aut horit y, or order of any court or governm ent al agency or body is
required for t he execut ion and perfor m ance by Client of, or com pliance by Client wit h, any of
t he Program Docum ent s or t his Client Guide, t he sale of any of t he Loans, or t he
consum m at ion of any of t he t ransact ions cont em plat ed by any of t he Purchase Docum ent s,
or, if required, such uncondit ional approval has been obt ained pr ior t o t he relat ed Funding
Date.

(H) No Untrue Information
Neit her t he Pr ogram Docum ent s, t he Client Applicat ion, t his Client Guide, nor any st at em ent ,
report , or ot her docum ent furnished or t o be furnished by Client pur suant t o t he Pr ogram
Docum ent s or t his Client Guide, cont ains any unt rue st at em ent of m at er ial fact or om it s t o
st at e a m at erial fact necessary t o m ake t he st at em ent s cont ained t herein not m isleading.
Client m eet s GMAC- RFC’s Eligibilit y St andards, and shall t ake all st eps necessary t o cont inue
t o m eet such Eligibilit y St andards.
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Representations,
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      Covenants
          (I) Securities Law
          The Client represent s t hat t he Loans ar e not “ securit ies” under any federal or St at e securit ies
          laws or any rules or regulat ions t hereunder and t hat t he t ransact ions cont em plat ed by t his
          Client Guide do not require regist rat ion under, and are not subj ect t o, any federal or St at e
          securit ies laws or any rules or regulat ions t hereunder.

          (J) No Accrued Liabilities
          Except as m ay be ot herwise disclosed by Client t o GMAC- RFC and acknowledged by GMAC-
          RFC in writ ing prior t o t he dat e of t he Client Cont ract , t here are no accrued liabilit ies of
          Client , wit h respect t o any of t he Loans, or circum st ances under which any such accrued
          liabilit ies will arise against GMAC- RFC, as successor t o Client ’s int erest s in and t o t he Loans,
          wit h respect t o any act ion or failure t o act by Client occurring on or prior t o t he Funding
          Date.

          (K) Origination, Servicing
          Client ’s originat ion and servicing of t he Loans have been legal, proper, pr udent , and
          cust om ary and have conform ed t o t he highest st andards of t he resident ial m ort gage
          originat ion and servicing business.

          (L) Compliance With Laws
          Client has com plied wit h, and has not violat ed any law, ordinance, requirem ent , regulat ion,
          rule, or order applicable t o it s business or proper t ies, t he violat ion of which m ight adversely
          affect t he operat ions or financial condit ions of Client , or t he abilit y of Client t o consum m at e
          t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide.

          (M)Compliance With Program Documents and Client Guide
          Client will com ply wit h all provisions of t his Client Guide and t he Pr ogram Docum ent s, and
          will pr om pt ly not ify GMAC- RFC of any occur rence, act , or om ission regarding Client , t he
          Loan, t he Mort gaged Propert y or t he Mort gagor of which Client has knowledge, which
          occurrence, act , or om ission m ay m at erially affect Client , t he Loan, t he Mort gaged Propert y,
          or t he Mort gagor.

          (N) No Defenses Against GMAC-RFC
          The Client has no j udgm ent , court order, claim , count erclaim , defense, right of set- off or
          sim ilar right against GMAC- RFC.
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    GMAC-RFC                                                                                        2A
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                                                                                                    Warranties and
                                                                                                    Covenants

A202
Specific Representations, Warranties and Covenants Concerning Individual Loans
For all Loans, t he Client represent s, warrant s and covenant s t o GMAC- RFC as follows:

(A) Loans Are Eligible; Accuracy of Information
Each of t he Loans delivered and sold t o GMAC- RFC m eet s t he applicable program t erm s and
crit eria set fort h in t his Client Guide. All inform at ion relat ing t o each Loan delivered and sold
t o GMAC- RFC is t rue, com plet e and accurat e and t here are no om issions of m at erial fact s. All
dat a provided by t he Client t o GMAC- RFC relat ing t o any Loan, w het her in elect ronic form at ,
or ot herwise, is t rue and com plet e and accurat ely reflect s t he inform at ion in t he relat ed Loan
file.

(B) Compliance With Warranties
The Client is in com pliance wit h, and has t aken all necessary act ion t o ensure t hat each Loan
is in com pliance wit h all represent at ions, warrant ies and requirem ent s cont ained in t his
Client Guide.

(C) Loan Provisions
The provisions of t he Loan have not been im paired, waived, alt ered or m odified in any
respect , unless appr oved in writ ing by GMAC- RFC. The issuer of any relat ed PMI Policy and
t he t it le insurer have approved t he subst ance of any such waiver, alt erat ion, or m odificat ion
t o t he ext ent required by t he respect ive policies. No Mort gagor has been r eleased, in whole
or in part .

(D) Documents
All Loan Documents, Funding Documents and Final Documents ar e genuine, have been
com plet ed, duly and properly execut ed, are in r ecordable form and delivered in t he for m and
m anner specified in t his Client Guide, and each Loan is t he Mort gagor ’s legal, valid and
binding obligat ion enforceable in accordance wit h it s t erm s. All originals and copies of such
docum ent s and all ot her docum ent s, m at erials, and ot her inform at ion required t o be
subm it t ed t o GMAC- RFC have been so subm it t ed, and are com plet e and accurat e. All Loan
Docum ent s, Funding Docum ent s, Final Docum ent s and all ot her docum ent s describing or
ot herwise relat ing t heret o are in com pliance wit h all applicable local and St at e laws,
regulat ions and orders.
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     Client Guide
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      Covenants
          (E) Ownership; Transfer
          The Client has good t it le t o and is t he sole owner of, each Loan delivered and sold t o GMAC-
          RFC. Except for t he securit y int erest of a warehouse lender, which securit y int erest Client has
          disclosed t o GMAC- RFC in writ ing, t he assignm ent of t he Loan by t he Client validly t ransfers
          such Loan t o GMAC- RFC free and clear of any pledge, lien or securit y int erest or ot her
          encum brance.
          For each Loan regist er ed wit h MERS, t he Client represent s t hat ( a) if t he Security
          Instrument relat ing t o such Loan ident ifies MERS as t he original m ort gagee of record, such
          Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o MERS solely as
          nom inee for t he Client and it s successor s and assigns and t hat such Securit y I nst rum ent has
          been properly execut ed, acknowledged, delivered and recorded in all places necessary t o
          perfect t he securit y int erest on t he Mortgaged Premises in favor of MERS, solely as
          nom inee for t he Client and it s successors and assigns; or ( b) if t he Loan is regist ered wit h
          MERS, and MERS is not t he original m ort gagee of recor d, an assignm ent t o MERS has been
          prepared, duly execut ed and recorded and t he chain of assignm ent s is com plet e and
          recorded from t he original m ort gagee t o MERS. Client furt her represent s t hat it has com plied
          wit h all rules and procedures of MERS for it s assignm ent of t he Securit y I nst rum ent t o GMAC-
          RFC, including, am ong ot her t hings, t hat t he Client has confirm ed t he t ransfer on MERS t o
          GMAC- RFC.

          (F) Disbursements; No Payoffs or Future Advancements
          Each Loan has been closed and fully disbursed, except as perm it t ed in t he Escrow Account
          for Postponed Improvements/Repairs Sect ion of t his Client Guide. There are no payoffs,
          assum pt ions or insurance claim s pending on any Loan or pert aining t o t he Mort gaged
          Prem ises and t he Borrower m ay not exercise any opt ion under any of t he Loan Documents
          t o borrow addit ional funds secured t hereby from t he Client or any ot her person or ent it y
          wit hout t he Not eholder ’s consent .
          Addit ionally, t he Client warrant s t hat t he Client has not m ade arrangem ent s wit h any
          Borrower for any paym ent forbearance or fut ure r efinancing w it h respect t o any Loan.

          (G) No Default
          There is no default , breach, violat ion or event of accelerat ion exist ing under any Not e or
          Security Instrument t ransferred t o GMAC- RFC, and no event exist s which, wit h not ice and
          t he expirat ion of any grace or cure period, w ould const it ut e a default , breach, violat ion or
          event of accelerat ion, and no such default , breach, violat ion or event of accelerat ion has
          been waived by t he Client or by any ot her ent it y involved in originat ing or servicing t he Loan.

          (H) No Defenses
          Except as provided in a buydown or subsidy agreem ent , if any, m eet ing t he requirem ent s set
          fort h in t his Client Guide, t he Borrower ( including any part y secondarily liable under t he
          Loan Documents) has no right of set- off, defense, count erclaim or right of rescission t o any
          Loan Docum ent .
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   GMAC-RFC                                                                                       2A
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                                                                                                  Client Guide
                                                                                                  Representations,
                                                                                                  Warranties and
                                                                                                  Covenants
(I) Compliance with Law
The sale and t ransfer of each Loan t o GMAC- RFC does not violat e any applicable St at e laws.
To t he ext ent t hat any applicable St at e law places any rest rict ions on t he t ransfer of any
Loan, t he Client has not ified GMAC- RFC in writ ing of t hat rest rict ion and any relat ed St at e
licensing or regist rat ion requirem ent s.
The Security Instrument has been properly execut ed, acknowledged, delivered and
recorded in all places necessary t o perfect t he securit y int erest in t he Mortgaged Premises
in favor of t he Client and it s successors and assigns. I f a Loan is regist ered wit h MERS, and
MERS is ident ified on t he Securit y I nst rum ent as t he original m ort gagee of record, Client
represent s t hat such Securit y I nst rum ent provides t hat t he Securit y I nst rum ent is given t o
MERS solely as nom inee for t he Client and it s successors and assigns. I f t he Loan is
regist ered wit h MERS, and MERS is not t he original m ort gagee of recor d, Client repr esent s
t hat an assignm ent t o MERS has been prepared, duly execut ed and recorded and t he chain of
assignm ent s is com plet e and recorded from t he original m ort gagee t o MERS and Client
furt her represent s t hat it has com plied wit h all rules and procedures of MERS for it s
assignm ent of t he Securit y I nst rum ent t o GMAC- RFC, including, am ong ot her t hings, t hat
Client has confirm ed t he t ransfer on MERS t o GMAC- RFC.
Each GMAC- RFC Loan Applicat ion ( Fannie Mae 1003/ Freddie Mac Form 65) was t aken from
t he Borrower and processed for each Loan, and each Loan has been originat ed, closed, and
t ransferred in com pliance wit h all applicable local, St at e and federal laws and regulat ions
including, but not lim it ed t o, t he Real Est at e Set t lem ent Procedures Act , t he Fair Credit
Report ing Act , t he Equal Credit Opport unit y Act , t he Trut h- in- Lending Act , t he Fair Housing
Act , and t he Nat ional Flood I nsurance Act . This warrant y is m ade by t he Client w it h respect
t o each GMAC- RFC Loan Applicat ion t aken and pr ocessed for each Loan and wit h r espect t o
each Loan m ade by t he Client or any ot her ent it y.

(J) Responsible Lending Representations, Warranties and Covenants
   (1) No Discontinued Loans
         No Loan is a “ Discont inued Loan”. Discont inued Loan m eans any of t he following,
         regardless of whet her t he originat or is required by law t o com ply wit h t he law or has
         grounds t o claim preem pt ion from all or par t of t he law.
         (a) HOEPA/Section 32
             A loan considered a “ m or t gage” under Sect ion 152 of t he Hom e Ownership and
             Equit y Prot ect ion Act of 1994, 15 U.S.C. Sect ion 1602 ( aa) and t he relat ed
             regulat ions and com m ent ary prom ulgat ed by t he Federal Reserve Board,
             including Sect ion 226.32 of Tit le 12 of t he Code of Federal Regulat ions, and t he
             official st aff com m ent ary t o t hose regulat ions.
         (b) Purchase Money Loans with High Points or Fees
             A “ purchase m oney” loan secured by t he consum er ’s principal dw elling t hat
             exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
             Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
             by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
             Federal Regulat ions. A “ purchase m oney” loan is a loan t hat is considered a
             “ resident ial m ort gage t ransact ion” under Sect ion 226.2( 24) of Tit le 12 of t he
             Code of Federal Regulat ions.
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                    (c) Home Equity Lines and 1st Lien Lines of Credit That Exceed the HOEPA
                        Triggers
                       An open- end line of credit secured by t he consum er ’s principal dwelling t hat
                       exceeds t he “ point s and fees” or APR t riggers of t he Hom e Ownership and Equit y
                       Prot ect ion Act of 1994 and t he relat ed regulat ions and com m ent ary prom ulgat ed
                       by t he Federal Reserve Board, including Sect ion 226.32 of Tit le 12 of t he Code of
                       Federal Regulat ions. “ Point s and fees” m ust be calculat ed in accordance wit h
                       Sect ion 226.32 of Tit le 12 of t he Code of Regulat ions and t he relat ed
                       com m ent ary prom ulgat ed by t he Federal Reserve Board. The “APR” is t he fully
                       indexed rat e or t he init ial rat e, whichever is great er, at t he t im e of
                       consum m at ion. The “ t ot al loan am ount ” is t he t ot al credit line available under
                       t he t erm s of t he loan, wit hout subt ract ing any am ount s for closing cost s.
                    (d) State and Local High Cost Loans
                       A loan considered a “ high- cost ,” covered, “ high- risk,” “ predat ory” or any ot her
                       sim ilar designat ion under any St at e or local law in effect at t he t im e of t he
                       closing of t he loan if t he law im poses great er rest rict ions or addit ional legal
                       liabilit y for resident ial m ort gage loans wit h high int erest rat es, point s and/ or
                       fees.
                    (e) Certain Georgia Home Loans
                       A “ hom e loan” under t he Georgia Fair Lending Act , Ga. Code Ann. Sect ion 7- 6A-
                       1 et . seq. t hat becam e effect ive on Oct ober 1, 2002 ( t he “Act ” ) , if t he
                       Com m it m ent was issued on or aft er February 1, 2003 and t he loan was closed
                       on or before March 7, 2003.
                    (f) Certain New Jersey Home Loans
                       A “ hom e loan” under t he New Jersey Hom e Ownership Securit y Act of 2002 ( t he
                       “Act ” ) , N.J.S.A. 46: 10B- 22 et seq. if t he loan is:
                          • A “ hom e loan” if t he propert y is a “ Manufactured Home” ;
                          • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                          • A “ hom e loan” t hat is an open- end line of credit ;
                          • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                            out t ransact ion;
                       Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                       t he loan is a cash- out refinance or a rat e/ t erm refinance.
                    (g) Certain New Mexico Home Loans
                       A “ hom e loan” under t he New Mexico Hom e loan Prot ect ion Act ( t he “Act ” ) , t hat
                       was closed on or aft er February 1, 2004, and on or before February 26, 2004, if
                       t he loan is:
                          • A “ hom e loan” if t he propert y is a “ Manufactured Home” ;
                          • A “ hom e loan” wit h proceeds int ended for hom e im provem ent purposes;
                          • A “ hom e loan” t hat is an open- end line of credit ;
                          • A closed- end “ hom e loan” secured by a first or second lien t hat is a cash-
                            out t ransact ion;
                       Follow st andard guidelines in t he GMAC- RFC Client Guide t o det erm ine w het her
                       t he loan is a cash- out refinance or a rat e/ t erm refinance.
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                                                                                                Covenants
   (2) Mandatory Arbitration Clause
         A Loan m ay not include a m andat ory arbit rat ion clause. Any arbit rat ion agreem ent
         signed by t he Borrower prior t o t he t im e of a disput e is prohibit ed.
   (3) Prohibited Terms and Practices on all Loans sold to GMAC-RFC
         A Loan m ay not violat e any of t he following pr ohibit ed t er m s and pract ices:
         ( a) Pre-paid insurance products. No Loan finances single prem ium credit life,
              credit disabilit y, credit unem ploym ent , or any ot her pre- paid life or healt h
              insurance, direct ly or indirect ly.
         ( b) Prepayment penalties. A Loan m ay not provide for a penalt y for paying all or
              part of t he principal before t he dat e on which t he principal is due except as set
              fort h in t his paragraph and ot herwise allowed by applicable federal, St at e, and
              local law.
                • The penalt y m ay be enforced for only t he first five years following
                  consum m at ion;
                • The penalt y does not exceed 6 m ont hs of int erest on t he am ount prepaid or
                  6% of t he am ount prepaid; and
                • The Prepayment penalt y does not becom e due upon default
         ( c) Reporting to credit bureaus. Client or it s Servicer m ust report t o a nat ionally
              recognized consum er credit report ing agency at least quart erly t he favorable
              and unfavorable paym ent hist ory inform at ion of Borrower on paym ent s due t o
              Client on a Loan for t he period during which Client holds or services t he Loan.
              This paragraph shall not pr event Client or it s Servicer from not report ing specific
              paym ent hist ory inform at ion in t he event of a resolved or unresolved disput e
              wit h Borrower and shall not apply t o Loans held or serviced by Client for less
              t han 90 days.
         ( d) Increased interest rate upon default. A Loan m ay not provide for an
              increase in t he int erest rat e aft er default .

(K) Title Insurance
A policy of t it le insurance, in t he form and am ount required by t his Client Guide, is effect ive
as of t he day t he Security Instrument is recorded, is valid and binding, is in conform ance
wit h all agency guidelines and rem ains in full force and effect , unless t he Mortgaged
Premises are locat ed in t he St at e of I owa and a Tit le Guarant y Cert ificat e issued by t he
I owa Tit le Guarant y Division of t he I owa Finance Aut horit y has been provided as described in
Tit le Guarant y Cert ificat e I n I owa below.

(L) Title Guaranty Certificate In Iowa
As t o each Loan secured by Mort gaged Prem ises locat ed in t he St at e of I owa, and if an
Am erican Land Tit le Associat ion ( ALTA) Loan policy of t it le insurance has not been provided,
a Tit le Guarant y Cert ificat e issued by t he I owa Tit le Guarant y Division of t he I owa Finance
Aut horit y, in t he form and am ount required by t his Client Guide, duly delivered and effect ive
as of t he closing of each such Loan, is valid and binding, and rem ains in full force and effect .
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          (M)Valid First Liens
          Each Security Instrument t ransferred t o GMAC- RFC, unless provided for ot herwise in a
          given Loan Program, const it ut es a valid first lien on t he Mortgaged Premises subj ect only
          t o t he m inor im pedim ent s described in t he Title Insurance Sect ion of t his Chapt er, and such
          im pedim ent s do not adversely affect t he Value, use, enj oym ent or m arket abilit y of t he
          Mort gaged Prem ises. Each Securit y I nst rum ent and all relat ed docum ent s ( including, wit hout
          lim it at ion, releases of prior Securit y I nst rum ent s, assum pt ion agreem ent s, assignm ent s,
          am endm ent s, powers of at t orney, and m odificat ion, ext ension and consolidat ion
          agreem ent s) t hat ar e required t o be recorded or filed under applicable law in order t o
          preserve in favor of GMAC- RFC t he validit y and enforceabilit y of t he Securit y I nst rum ent and
          t he liens cr eat ed t her eby, have been duly r ecorded in all appropriat e recording offices, and all
          associat ed recording fees or t axes m ust be paid.

          (N) No Encroachments By Adjoining Properties; Improvements
          No im provem ent s by adj oining pr opert ies encroach upon t he Mort gaged Prem ises in any
          respect so as t o affect t he Value or m arket abilit y of t he Mort gaged Prem ises. No
          im provem ent locat ed on or being part of t he Mort gaged Propert y is in violat ion of any
          applicable zoning law or regulat ion.

          (O) Survey
          All im provem ent s which were considered in det erm ining t he appraised Value of t he
          Mortgaged Premises lie wholly wit hin it s boundaries and t he building rest rict ion lines of t he
          Mort gaged Prem ises, or t he policy of t it le insurance insures against loss or dam age by reason
          of any violat ion, variat ion, encroachm ent or adverse circum st ance t hat eit her is disclosed or
          would have been disclosed by an accurat e survey.

          (P) No Liens
          There are no delinquent t ax or delinquent assessm ent liens against t he Mort gaged Prem ises,
          and t here are no m echanic’s liens or claim s for w ork, labor or m at erial or any ot her liens
          affect ing t he Mort gaged Prem ises, which are or m ay be a lien prior t o, or equal wit h, t he lien
          of t he Security Instrument assigned t o GMAC- RFC, except t hose liens t hat are insured
          against by t he policy of t it le insurance or Tit le Guarant y Cert ificat e issued by t he I owa Tit le
          Guarant y Division.

          (Q) No Adverse Circumstances
          The Mort gaged Prem ises are free of dam age and in good repair, and no not ice of
          condem nat ion has been given wit h respect t heret o, and no circum st ances exist involving t he
          Loan Documents, t he Mortgaged Premises or t he Borrow er ’s credit st anding t hat could:
          ( i) cause privat e inst it ut ional invest ors t o regard t he Loan as an unaccept able invest m ent , ( ii)
          cause t he Loan t o becom e delinquent , or ( iii) adversely affect t he Value or m arket abilit y of
          t he Mort gaged Prem ises or t he Loan. The Client warrant s t hat it neit her has act ual knowledge
          of t he presence of, nor reasonable grounds t o suspect t he pr esence of, any t oxic m at erials or
          ot her environm ent al hazards on, in or t hat could affect any of t he Mort gaged Prem ises. The
          Client warrant s com pliance w it h local, St at e or federal law or regulat ion designed t o prot ect
          t he healt h and safet y of t he occupant s of t he propert y.
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                                                                                                 Warranties and
                                                                                                 Covenants
(R) Casualty Insurance
The im provem ent s upon t he Mortgaged Premises are insured against loss by fir e and ot her
hazards as required by t his Client Guide, including flood insurance if required under t he
Nat ional Flood I nsurance Act of 1968, as am ended. The Security Instrument r equires t he
Borrower t o m aint ain such casualt y insurance at t he Borrower ’s expense, or on t he
Borrower ’s failure t o do so, aut horizes t he holder of t he Securit y I nst rum ent t o obt ain and
m aint ain such insurance at t he Borrower ’s expense and t o seek reim bursem ent from t he
Borrower. Each casualt y policy is t he insurer ’s valid and binding obligat ion, is in full force and
effect , and w ill be in full force and effect , t o GMAC- RFC’s benefit upon t he consum m at ion of
t he t ransact ions cont em plat ed by t he Pr ogram Docum ent s and t his Client Guide. The Loan
t erm s per m it t he m aint enance of an escrow account t o pay t he Prem ium s for t he above
m ent ioned insurance, and t he Client has not waived t he requirem ent of such escrow account
unless perm it t ed by GMAC- RFC or requir ed by applicable law.

(S) Primary Mortgage Insurance
I f requir ed by t his Client Guide, prim ar y m ort gage insurance has been obt ained, t he
Prem ium has been paid, and t he m ort gage insurance coverage is in full force and effect
m eet ing t he requirem ent s of t his Client Guide.

(T) Underwriting; Appraisal; Appraiser
The Loan is of invest m ent qualit y, has been prudent ly originat ed and has been underwrit t en
in com pliance wit h all requirem ent s of t his Client Guide.
For each Loan for w hich an appraisal is required or obt ained under t his Client Guide, t he
appraisal was m ade by an appraiser who m eet s t he m inim um qualificat ions for appraisers as
specified in t his Client Guide. For each Loan, as of t he Funding Date, t he m arket Value of
t he Mortgaged Premises is at least equal t o t he appraised Value st at ed on t he Loan
appraisal, or if a Qualified AVM is perm it t ed, t he Value on t he Qualified AVM, except t o t he
ext ent t hat t he m arket Value of t he Mor t gaged Prem ises is lower t han t he appraised or
Qualified AVM Value due t o t he effect of any t oxic m at erials or ot her environm ent al hazards
of which neit her t he appraiser nor t he Client has act ual knowledge or reasonable grounds t o
suspect .
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          (U) Enforceability; Enforcement Provisions
          Each Not e and Security Instrument const it ut es a legal, valid and binding obligat ion of t he
          Borrower enforceable in accordance wit h it s t erm s except as lim it ed by bankrupt cy,
          insolvency or ot her sim ilar laws affect ing generally t he enfor cem ent of credit or s’ right s.
          Each Securit y I nst rum ent cont ains cust om ary and enfor ceable provisions which render t he
          right s and rem edies of t he holder adequat e t o realize t he benefit s of t he securit y against t he
          Mortgaged Premises, including: ( i) in t he case of a Securit y I nst rum ent designat ed as a
          deed of t rust , by t rust ee's sale, ( ii) by sum m ary foreclosure, if available under applicable
          law; and ( iii) ot herwise by foreclosure, and t here are no hom est ead or ot her exem pt ions or
          dower, court esy or ot her right s or int erest s available t o t he Bor rower or t he Bor rower ’s
          spouse, survivors or est at e or any ot her person or ent it y t hat would, or could, int erfere wit h
          such right t o sell at a t rust ee’s sale or t o foreclose. The Secur it y I nst rum ent and any rider s t o
          t he Securit y I nst rum ent m ust be signed by any person wit h an act ual or pot ent ial int erest in
          t he pr opert y. Tit le holders have an act ual int erest in t he propert y and m ust sign t he Securit y
          I nst rum ent and r iders. Non- Borrowing spouses who are not in t it le m ay have an act ual or
          pot ent ial int erest in t he propert y under St at e law and m ay be required t o sign t he Securit y
          I nst rum ent and rider in som e St at es in order for t he holder of t he Securit y I nst rum ent t o
          obt ain, prot ect and enforce it s lien. The Client will obt ain t he signat ure of t he non- Borrowing
          spouse on t he Securit y I nst rum ent and riders or ot her docum ent at ion, as allowed by law, if
          such signat ure is necessary t o prot ect t he int erest of t he holder of t he Securit y I nst rum ent .

          (V) Holder-In-Due-Course
          The Client is t he owner and holder- in- due- course of each Not e and is nam ed as m ort gagee/
          beneficiary or assignee under each Security Instrument, and all Loan Documents
          requiring execut ion have been appropriat ely execut ed, wit nessed or not arized by t he persons
          whose nam es appear as signat ories and wit nesses, or, as appropriat e, not aries who
          const it ut e t he valid and binding legal obligat ion of t he Borrower, enforceable in accordance
          wit h t heir respect ive t erm s. Not wit hst anding t he foregoing, wit h respect t o adj ust able- rat e
          m ort gage Loans ( ARMs) , t he Client repr esent s and warrant s t hat t here are no claim s t o t he
          Not e on t he part of any person or defenses of any part y t o t he Not e ot her t han t hose t hat
          validly could be raised against a holder- in- due- course.

          (W)Trustee Designated
          Wit h respect t o each Security Instrument t hat is a deed of t rust , a t rust ee duly qualified
          under applicable law t o serve as such is properly nam ed, designat ed and serving.

          (X) No Fees Due Trustee
          Except in connect ion wit h a t rust ee’s sale aft er default by t he Borrower, no fees or expenses
          are payable by t he Client or GMAC- RFC t o t he t rust ee under any Securit y I nst rum ent t hat is
          a deed of t rust .
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                                                                                                    Covenants
(Y) Execution of Documents
All agreem ent s, cont ract s, assignm ent s, endorsem ent s and issuances of checks or draft s,
report s, Loan Documents or ot her papers relat ed t o a Loan t hat are required by t his Client
Guide t o be execut ed by t he Client have been proper ly execut ed by an officer on behalf of t he
Client pursuant t o a duly adopt ed Resolut ion of Board of Direct ors.

(Z) Leaseholds
Where perm it t ed by t he applicable Loan Program, each Mort gaged Prem ises involving a
Leasehold est at e com plies wit h t he applicable Leasehold warrant ies set fort h in t his Client
Guide.
(AA) Condominiums; Planned Unit Developments (PUDs)
Each Mortgaged Premises t hat is a unit in a condom inium or PUD com plies wit h t he
applicable condom inium or PUD warrant ies set fort h in t his Client Guide.
(BB) Compliance By Others
When a person or ent it y: ( i) originat es a Loan on behalf of a Client , ( ii) originat es a Loan on
it s own behalf and sells it t o a Client , or ( iii) perform s any act for a Client which t he Client is
required t o perform under t his Client Guide, t he Client warrant s t hat such person or ent it y
has com plied wit h all requir em ent s of t his Client Guide wit h respect t o all such Loans and
act s.
(CC) Client Contract Warranties
The represent at ions and warrant ies m ade at t he t im e of t he Client ’s execut ion of t he Client
Cont ract m ust rem ain t rue, correct and com plet e.
(DD) Client and Originators
Each Jum bo A, Expanded Crit er ia or Paym ent Opt ion Loan was originat ed by ( i) a savings and
loan associat ion, savings bank, com m ercial bank, credit union, insurance com pany or sim ilar
banking inst it ut ion which is supervised by a federal or St at e aut horit y, or ( ii) a HUD approved
non- supervised or cor respondent m ort gagee.
I f t he Client sells Loans t o GMAC- RFC which are regist ered wit h MERS or as t o which MERS is
t he m ort gagee on t he Security Instrument, t he Client is a m em ber of MERS, in good
st anding and current in paym ent of all fees and assessm ent s im posed by MERS.
(EE) No Impairment of Insurance
No act ion, er ror, om ission, m isrepresent at ion, negligence, fraud or sim ilar occurrence in
respect of a Loan has t aken place on t he part of any person, including, wit hout lim it at ion, t he
Borrower, any appraiser, any builder or developer or any part y involved in t he originat ion of
t he Loan or in t he applicat ion of any insurance in relat ion t o such Loan t hat m ight result in a
denial, cont est ing, failure or im pairm ent of full and t im ely coverage under any insurance
policies requir ed t o be obt ained or any pool insurance policy covering such Loan.
(FF)Temporary Buydowns
Where perm it t ed by t he applicable Loan Program, each Temporary Buydown Loan
delivered t o GMAC- RFC was ent ered int o pursuant t o a buydown agreem ent which com plies
wit h t he Temporary Buydowns Sect ion in Chapter 3C, Financing, of t his Client Guide.
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          (GG) Primary Mortgage Insurance Cancellation
          The Client has disclosed in writ ing t o t he Borrower t he t erm s and condit ions t hat m ust be
          m et prior t o t he prim ary m ort gage insurance being eligible for cancellat ion. A copy of t his
          disclosure has been ret ained in t he Loan file as a perm anent record.
          (HH) No Deficiency In Escrow Deposits or Payments
          The Loan has been serviced by t he Client and any pr edecessor Servicer in accordance wit h
          t he t erm s of t he m ort gage Not e and all applicable law. Wit h respect t o escrow deposit s and
          escrow paym ent s, if any, all such paym ent s are in t he possession of, or under t he cont rol of,
          t he Client , and t here exist s no deficiency in connect ion t herewit h for which cust om ary
          arrangem ent s for repaym ent t hereof have not been m ade. No escrow deposit s, escr ow
          paym ent s or ot her charges or paym ent s due t he Client have been capit alized under any
          m ort gage or relat ed m ort gage Not e.
          (II) Loan Securitization
          The Client recognizes t hat it is GMAC- RFC’s int ent t o securit ize som e or all of t he Loans sold
          t o GMAC- RFC by t he Client . The Client agrees t o provide GMAC- RFC w it h all such inform at ion
          concerning t he Client generally and, if applicable, t he Client ’s servicing experience, as m ay
          be reasonably request ed by GMAC- RFC for inclusion in a prospect us or privat e placem ent
          m em orandum published in connect ion wit h such securit izat ion.
          I n addit ion, t he Client will cooperat e in a sim ilar m anner wit h GMAC- RFC in connect ion wit h
          any whole Loan sale or ot her disposit ion of any Loan sold t o GMAC- RFC by t he Client . The
          Client agrees t o indem nify and hold GMAC- RFC harm less from and against any loss, dam age,
          penalt y, fine, forfeit ure, court cost , reasonable at t orneys’ fees, j udgm ent , cost , fee, expense
          or liabilit y incurred by GMAC- RFC as a result of any m at erial m isst at em ent in or om ission
          fr om any infor m at ion provided by t he Client t o GMAC- RFC; or fr om any claim , dem and,
          defense or assert ion against or involving GMAC- RFC based on or grounded upon, or result ing
          fr om such m isst at em ent or om ission or a breach of any represent at ion, warrant y or
          obligat ion m ade by GMAC- RFC in reliance upon such m isst at em ent or om ission.
          The Client furt her agrees t o cooperat e fully wit h GMAC- RFC, rat ing agencies, at t or neys, bond
          insurers, purchasers of Loans or any ot her part ies t hat m ay be involved in t he sale or
          securit izat ion of any Loan, including, wit hout lim it at ion, all cooperat ion as m ay be necessary
          in order t o accom m odat e due diligence act ivit y.
          (JJ) Non-Solicitation
          The Client has not solicit ed or provided inform at ion t o anot her part y for t he purpose of
          solicit ing, and covenant s and agrees t hat it will not solicit or provide inform at ion t o anot her
          part y for t he purpose of solicit ing, t he refinance of any Loan. The t erm “ solicit ” as used
          herein shall m ean a direct request or offer t o refinance a servicing released Loan, and shall
          not include general solicit at ions, advert isem ent s or prom ot ions direct ed t o t he public at
          large.
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                                                                                                   Covenants
(KK) No Fraud or Misrepresentation
No fraud or m isrepr esent at ion by t he Borrow er or by t he Client , broker, correspondent ,
appr aiser or any independent cont ract or ret ained by t he Client , broker, corr espondent ,
appr aiser or any em ployee of any of t he foregoing occurred wit h respect t o or in connect ion
wit h t he originat ion or underwrit ing of any Loan and all inform at ion and docum ent s provided
t o GMAC- RFC in connect ion wit h t he Loan are com plet e and accurat e.
(LL) Exclusionary List
No part y involved in t he originat ion of a Loan ( e.g., originat or, broker, t it le com pany,
appraiser, et c.) was on t he Exclusionary List on t he dat e t he Loan was originat ed as
det erm ined by t he dat e of t he prom issory Not e for t hat part icular Loan.
(MM)Early Payment Default
Neit her Client , nor any t hird part y act ing on behalf of Client , has m ade or will m ake a
scheduled paym ent on a Loan during t he 90- day period where t he Loan is subj ect t o
repurchase for Early Paym ent Default .

A203
Additional Client Representations, Warranties and Covenants for the Home Equity
Program
The Hom e Equit y Program adheres t o t he Client represent at ions, warrant ies and covenant s
st at ed below as well as t he represent at ions, warrant ies and covenant s cont ained in t his
Client Guide.
Unless t he Hom e Equit y Loan is a valid first lien on t he Mortgaged Premises, t he following
represent at ion and warrant y applies:
       Valid Second Lien
       Each Security Instrument t ransferred t o GMAC- RFC const it ut es a valid lien on t he
       Mort gaged Prem ises which is subordinat ed only t o a lien of t he holder of a first
       m ort gage Loan, and is subj ect only t o t he m inor im pedim ent s described in t he Title
       Insurance Sect ion of t his Chapt er. No such im pedim ent shall adversely affect t he
       Value, use, enj oym ent or m arket abilit y of t he Mort gaged Prem ises.
The following addit ional represent at ions and warrant ies are m ade by t he Client t o GMAC- RFC
as of t he Purchase Date of each Hom e Equit y Loan:

(A) Licensing
The Client and any agent s or correspondent s originat ing for t he Client have obt ained all
licenses and approvals required wit h respect t o t he originat ion of t he Hom e Equit y Loans,
including, t o t he ext ent applicable, licenses and appr ovals required for sm all Loans or sm all
advances and licenses and approvals requir ed t o charge t he m axim um int erest rat e allowable
under St at e law.

(B) No Contractor or Dealer Loans
No hom e im provem ent cont ract or or dealer was involved as a t hird part y originat or of a
Hom e Equit y Loan or received com pensat ion in any form from t he Client .
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A206
Integrity of Information
The Client is responsible for credit and propert y underw rit ing regardless of w het her t he
inform at ion was provided by t he Client , an ent it y relat ed t o t he Client or designat ed by t he
Client t o perform t he funct ion. This includes credit inform at ion, appraisals, or ot her
docum ent s/ inform at ion used in t he Loan's evaluat ion.
The Client should t ake all st eps necessary t o ensure t hat each Loan sold t o GMAC- RFC has
been prudent ly originat ed and underwrit t en, and t hat all inform at ion supplied by, on behalf
of, or concerning t he Borrower is t rue, accurat e and com plet e. The Client should ensure t hat
int erest ed part ies are sufficient ly independent from t he Loan t ransact ion and t hat adequat e
organizat ional cont r ols are in place t o ensur e t he independence, validit y and reliabilit y of t he
Loan inform at ion.
I n addit ion, t he Client should im plem ent prudent pract ices when relying on designat ed
agent s ( such as escrow com panies, t it le com panies, et c.) in order t o ensure t hat t hey com ply
wit h it s inst ruct ions and t hat t he int egr it y of t he Loan t ransact ion has been m aint ained.

A207
Third-Party Originators
When relying on t he act ions or services of t hird- part y originat ors, t he Client should est ablish
qualificat ion and eligibilit y st andards. The Client should consider t he funct ions being
perform ed by t he t hird- part y originat or in est ablishing t hese st andards. These st andards
should be review ed periodically t o ensur e ongoing eligibilit y by t he t hird- part y originat or.
The Client is encouraged t o include t he follow ing it em s in form ulat ing it s qualificat ion and
eligibilit y st andar ds and procedures:
    ( 1) Review personnel resum es and references of m anagem ent and Loan originat ion st aff
         ( Loan officers, processors, underwrit ers, closers, et c.)
    ( 2) Est ablish m inim um net wort h requirem ent s and evaluat e t he financial viabilit y of t he
         firm on an ongoing basis
    ( 3) Est ablish m inim um requirem ent s for errors and om issions insurance and fidelit y
         bond coverage and m onit or ongoing com pliance wit h t hese st andards
    ( 4) Docum ent t he relat ionship wit h a cont ract ual agreem ent t hat cont ains specific
         warrant ies relat ed t o each par t y’s responsibilit ies, as well as recourse right s in t he
         event of warrant y violat ions
    ( 5) Review t he per form ance of Loans originat ed by t hird part ies t o evaluat e t rends or
         pat t erns of Delinquency
The Client should include a represent at ive, random sam ple of t hird- part y Loans in t he qualit y
cont rol program t hrough bot h pre- and post - closing qualit y cont rol audit s t o ensure t he
qualit y of Loan inform at ion.
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          A208
          Events of Default
          Any one or m ore of t he following event s const it ut e an Event of Default:
               ( 1) The Client has not com plied wit h one or m ore of t he requirem ent s ( including any
                    requirem ent out lined in Chapt er 2, Client Eligibilit y) t erm s or condit ions out lined in
                    t his Client Guide or one of t he disqualificat ion, suspension or inact ivat ion event s set
                    fort h in t he Disqualification Suspension or Inactivation Sect ion has occurred or
                    occurs.
               ( 2) The Client has breached any agreem ent out lined or incorporat ed by reference in t he
                    Client Cont ract or any ot her agreem ent bet ween t he Client and GMAC- RFC.
               ( 3) The Client breaches any of t he represent at ions, warrant ies or covenant s set fort h in
                    t his Client Guide, fails t o perform it s obligat ions under t his Client Guide or t he
                    Program Docum ent s, m akes one or m ore m isleading represent at ions, warrant ies or
                    covenant s t o GMAC- RFC, or has failed t o provide GMAC- RFC wit h inform at ion in a
                    t im ely m anner, including inform at ion required under Regulat ion AB or any successor
                    regulat ion, t hat is t rue, com plet e and accurat e.
               ( 4) The Borr ower or any ot her person or ent it y involved in t he Loan t ransact ion or in it s
                    underwrit ing or docum ent at ion ( including any appraiser, broker, t hird- part y
                    originat or, credit report ing agency, or ot her pr ovider of underwrit ing inform at ion)
                    has m ade any false represent at ion and/ or has failed t o provide inform at ion t hat is
                    t r ue, com plet e and accurat e in connect ion w it h such t ransact ion, w het her or not t he
                    Client was a part y t o or had knowledge of such m isr epresent at ion or incorrect
                    inform at ion.
               ( 5) Occurrence of an Event of Servicer Default wit h respect t o any Loans serviced by
                    t he Client .
               ( 6) Term inat ion of servicing for cause is a basis for t he Client ’s im m ediat e
                    disqualificat ion or suspension. Act ion t aken by GMAC- RFC t o t erm inat e servicing
                    m ay be m erged wit h an act ion t o disqualify, suspend or inact ivat e t he Client .
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A209
Remedies of GMAC-RFC
(A) Non-Exclusive, Cumulative Remedies
GMAC- RFC m ay exercise any r em edy out lined in t his Client Guide or as allowed by law or in
equit y. GMAC- RFC’s exercise of one or m ore rem edies in connect ion wit h a part icular Event
of Default will not prevent it from exercising:
    • One or m or e ot her rem edies in connect ion wit h t he sam e Event of Default
    • Any ot her right s which it m ay have at law or in equit y

(B) Waiver of Defaults
GMAC- RFC m ay waive any default by Client in t he perform ance of Client ’s obligat ions
hereunder and it s consequences, but only by a writ t en waiver specifying t he nat ure and
t erm s of such waiver. No such waiver shall ext end t o any subsequent or ot her default or
im pair any right consequent t heret o, nor shall any delay by GMAC- RFC in exercising, or
failure t o exercise, any right arising from such default affect or im pair GMAC- RFC’s right s as
t o such default or any subsequent default .

(C) Survival of Remedies
GMAC- RFC’s rem edies for breach of t he represent at ions, warrant ies and covenant s shall
survive t he sale and delivery of t he Loan t o GMAC- RFC and funding of t he relat ed purchase
price by GMAC- RFC, and will cont inue in full force and effect for t he rem aining life of t he
Loans, not wit hst anding any t erm inat ion of t his Client Guide and t he relat ed Funding
Documents, or any rest rict ive or qualified endorsem ent on any m ort gage Not e or
assignm ent of m ort gage or Loan approval or ot her exam inat ion of or failur e t o exam ine any
relat ed m ort gage Loan file by GMAC- RFC.

A210
Repurchase
(A) Repurchase Obligations
I f GMAC- RFC det erm ines t hat an Event of Default has occurred wit h respect t o a specific
Loan, t he Client agrees t o r epurchase t he Loan and it s servicing ( if t he Loan was sold
servicing released) wit hin 30 days of receiving a repurchase let t er or ot her writ t en
not ificat ion from GMAC- RFC.
I f t he Client discovers an Event of Default , it should give GMAC- RFC prom pt writ t en not ice.
Such not ice should include a writ t en descript ion of t he Event of Default . Upon receipt of t his
not ice, GMAC- RFC will review t hese m at erials and any addit ional inform at ion or
docum ent at ion t hat t he Client believes m ay influence GMAC- RFC’s decision t o requir e
repurchase. I f GMAC- RFC decides t o require repurchase, t he Client shall repurchase t he Loan
and t he servicing ( if t he Loan was sold servicing released) wit hin 30 days aft er GMAC- RFC’s
decision is com m unicat ed t o Client in writ ing.
To expedit e t he wiring of funds t o GMAC- RFC, t he Client should com plet e t he servicing
t ransfer inst ruct ion form provided by GMAC- RFC. GMAC- RFC will send t he form t o t he Client
along wit h t he not ificat ion of repurchase.
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          GMAC- RFC is not required t o dem and repurchase wit hin any part icular period of t im e, and
          m ay elect not t o require im m ediat e repurchase. However, any delay in m aking t his dem and
          does not const it ut e a waiver by GMAC- RFC of any of it s right s or rem edies.
          Where GMAC- RFC det erm ines t hat repurchase of a Loan and/ or t he servicing is not
          appr opriat e, t he Client shall pay GMAC- RFC all losses, cost s and expenses incurred by GMAC-
          RFC and/ or t he Loan’s Servicer as a result of an Event of Default. This includes all
          reasonable at t orneys’ fees and ot her cost s and expenses incurred in connect ion wit h
          enforcem ent effort s under t aken.
          Upon t he Client ’s sat isfact ion of it s repurchase obligat ion, GMAC- RFC will endorse t he Not e
          evidencing t he Loan in blank and w ill deliver it and ot her pert inent Loan Documents t o t he
          Client . I f GMAC- RFC acquired t it le t o any of t he real propert y securing t he Loan pursuant t o a
          foreclosure sale and has not disposed of such propert y, it w ill t ransfer such propert y t o t he
          Client on a “ quit claim ” basis or, if required by St at e law, a “ warrant y deed” basis. However, if
          GMAC- RFC has disposed of t he real proper t y securing t he Loan, t he Loan Docum ent s will not
          be ret urned t o t he Client unless request ed.
          I f t he Client is also t he Servicer of a Loan repurchased by reason of t he occurrence of an
          Event of Default , GMAC- RFC will not reim burse t he Client for any principal, int erest or ot her
          advances m ade by t he Client wit h respect t o t hat Loan.
          I f, for any part icular Loan, Client has com plied wit h it s propert y valuat ion docum ent at ion
          requirem ent s ( as described under Specific Represent at ions, Warrant ies and Covenant s
          Concerning I ndividual Loans in t he Underwriting; Appraisal; Appraiser Sect ion) by
          providing a GMAC- RFC Qualified AVM in lieu of an appraisal, where t he Loan Program t erm s
          perm it t he use of a Qualified AVM as t he sole docum ent at ion of pr opert y valuat ion
          underlying such Loan, and provided a Qualified AVM was obt ained by Client in good fait h
          direct ly from Qualified AVM Vendors ( See GMAC- RFC Exhibit 16H05) and has been
          subm it t ed t o GMAC- RFC in it s original, unalt ered form as issued by t he Qualified AVM
          Vendor; or, alt ernat ively, if GMAC- RFC has waived an appraisal and indicat ed such waiver in
          it s Asset wise SM m essaging ( an Appraisal Waiver) , t hen, if an Event of Default relat ed t o
          such Loan arises solely out of t he validit y and accuracy of t he propert y valuat ion am ount
          st at ed in t he Qualified AVM, or ot her wise relat ed t o t he propert y valuat ion am ount wit h
          respect t o a loan where GMAC- RFC has grant ed an Appraisal Waiver, but pr ovided t hat in all
          ot her aspect s t he Loan was eligible for purchase by GMAC- RFC at t he t im e it was subm it t ed
          for purchase by Client , GMAC- RFC will not exercise it s right t o dem and repurchase for such
          part icular Loan by reason of such part icular Event of Default . However, in t he case of eit her a
          Qualified AVM or an Appraisal Waiver, GMAC- RFC m ay cont inue t o exercise it s right t o
          dem and repurchase if GMAC- RFC reasonably believes t hat Client or any t hir d part y originat or
          obt ained a Qualified AVM or allowed GMAC- RFC t o rely on an Appraisal Waiver in bad fait h,
          such as by using a Qualified AVM where Client or t he t hird part y originat or had reason t o
          know t hat t he m ort gaged pr opert y was m at erially different t han t hat described in t he
          Qualified AVM or t hat t he descript ion in t he Qualified AVM should not be considered reliable
          at t he t im e t he Loan was sold t o GMAC- RFC, or where t he Client or t hird part y originat or has
          reason t o know t hat t he m ort gaged propert y was m at erially dam aged.
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                                                                                                   Covenants
(B) Repurchase Price of First Mortgage Programs
I n t he event t he Client is obligat ed t o repurchase a Loan t he Client m ust pay t o GMAC- RFC a
repur chase pr ice equal t o t he sum of:
    • The act ual principal balance of t he Loan at t he t im e of repurchase ( if t he Client sold t he
      Loan t o GMAC- RFC at a discount or a Prem ium , t he repurchase price above will be
      adj ust ed t o reflect t he act ual principal balance m inus t he discount percent age
      m ult iplied by t he act ual principal balance, or plus t he Prem ium percent age m ult iplied
      by t he act ual principal balance, as appr opriat e, including t hat price paid for Servicing
      Rights) , plus
    • All accr ued and unpaid int erest on t he Loan t hrough t he last day of t he m ont h of t he
      dat e of repurchase; plus
    • All int erest , principal and ot her advances m ade t o invest ors and all out of pocket cost s
      and expenses of any kind incurred by GMAC- RFC and/ or t he prim ary Servicer in
      connect ion wit h t he Loan, including, but not lim it ed t o, advances for t axes or
      insurance, and repair, foreclosure and insurance cost s and reasonable at t orneys’ fees;
      plus
    • The am ount of t he Buyout Fee as calculat ed in t he Extension and Buyout Fees
      Sect ion of Chapt er 9A, Com m it m ent s; plus
    • I n t he event t hat GMAC- RFC or any of it s Affiliates is required t o repurchase t he Loan
      fr om any subsequent assignee, t hen any addit ional am ount as m ay be required t o
      m ake t he repurchase price t hat t he Client is obligat ed t o pay hereunder equal t o t he
      repurchase pr ice t hat GMAC- RFC or it s Affiliat e is required t o pay t o such subsequent
      assignee; m inus
    • The net am ount of any proceeds r ealized by t he owner of t he Loan upon t he final
      liquidat ion of t he Loan or t he Mortgaged Premises t o an unrelat ed t hird part y.
The Designated Servicer will ret urn t o t he Client any escrow funds, unapplied funds and
prepaid principal and int erest inst allm ent s.
GMAC- RFC m ay dem and t hat a Client repurchase, and Client m ust repurchase, a Loan aft er
foreclosure even if t he full am ount of it s out st anding debt was bid on by or on behalf of t he
Loan’s owner t o acquire t he Mortgaged Premises at t he foreclosure sale. I n t he event t he
Client is obligat ed t o repurchase a Loan aft er foreclosure, t he repurchase price shall be
calculat ed using t he form ula above, however Scheduled Principal Balance shall be
subst it ut ed for t he act ual principal balance.
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          (C) Repurchase Price of Home Equity Program
          I n t he event t he Client is obligat ed t o repurchase a Hom e Equit y Loan, t he Client m ust , upon
          repurchase, service such Hom e Equit y Loan. The repurchase price for such Hom e Equit y Loan
          shall be equal t o t he sum of:
               • The unpaid pr incipal balance of t he Hom e Equit y Loan
               • All accr ued and unpaid int erest on t he Hom e Equit y Loan
               • The am ount of all fees and/ or purchase Prem ium paid, if any, t o t he Client by GMAC-
                 RFC for originat ion of t he Hom e Equit y Loan
               • All fees paid t o any Servicer or sub- servicer of a Hom e Equit y Loan by reason of t he
                 t erm inat ion of t hat Servicer ’s or Sub- Servicer ’s right t o service t hat Hom e Equit y Loan
               • All cost s incurred or paid by GMAC- RFC or any Servicer in collect ing or enforcing t he
                 Hom e Equit y Loan, including, wit hout lim it at ion, int erest or ot her cost s paid t o bring or
                 m aint ain a prior lien current or up t o dat e, cost s t o insure or pay delinquent t axes,
                 at t orneys’ fees, court cost s, appraisal and t it le expenses and ot her sim ilar cost s or
                 expenses ( collect ively, “ Foreclosure Expenses” )
               • Any addit ional am ount GMAC- RFC or any of it s Affiliates is required t o pay t o
                 repurchase t he Hom e Equit y Loan from a subsequent assignee
          I n lieu of repurchasing a Hom e Equit y Loan t hat has not yet been foreclosed and accept ing
          t he servicing of such Hom e Equit y Loan, GMAC- RFC m ay in it s sole discret ion allow Client t o
          pay t o GMAC- RFC t he Est im at ed Loss ( as defined below) . Est im at ed Loss, as it relat es t o
          each Hom e Equit y Loan subj ect t o repurchase, shall equal t he product of:
          120% m ult iplied by t he result of:
               • Repurchase price as calculat ed above, plus
               • Accrued int erest on t he Hom e Equit y Loan t hrough t he dat e GMAC- RFC est im at es t hat
                 t he Hom e Equit y Loan will be fully liquidat ed ( which in t he case of a foreclosure, shall
                 m ean t he dat e t hat GMAC- RFC est im at es t hat t he Mortgaged Premises will be sold t o
                 a t hird part y and which in any ot her case m eans t he dat e t hat GMAC- RFC est im at es
                 t hat all collect ion effort s on t he Hom e Equit y Loan will be abandoned) and est im at ed
                 foreclosure and ot her enforcem ent expenses for t he ent ire collect ion process, less
               • Am ount by which t he current m arket Value of t he Mort gaged Prem ises as det erm ined
                 by GMAC- RFC using valuat ion services provided by an independent t hir d part y exceeds
                 t he current out st anding am ount of indebt edness secured by t he Mort gaged Prem ises
                 t hat is senior t o t he Hom e Equit y Loan.

          (D) Repurchase Price of a Servicing Released Loan
          I n t he event t he Client repurchases a Loan for which t he servicing has also been sold t o
          GMAC- RFC, t he Client will also be required t o repurchase t he servicing. I f t he repur chase of
          t he servicing of t he Loan is for any reason ot her t han a breach of t he Delinquency Payoff/
          Liquidat ion warrant y cont ained in t he Servicing Released Chapter 8, t he Client m ust pay t o
          GMAC- RFC a repurchase price equal t o t he original Servicing Released Premium (SRP)
          percent age m ult iplied by t he act ual unpaid principal balance at t he t im e of repurchase.
          I n no event however, will t he required repurchase Servicing Released Prem ium be gr eat er
          t han t he original Servicing Released Prem ium paid t o t he Client .
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                                                                                                Covenants
The Designated Servicer will ret urn t o t he Client any escrow funds, Temporary Buydown
funds, unapplied funds and prepaid pr incipal and int erest inst allm ent s. The Client will be
required t o reim burse t he Designat ed Servicer for any delinquent principal and int erest
advances, and any escrow advances and foreclosure expenses t hey have m ade and not
recovered on a repurchased Loan.

(E) Repurchase As a Result of Conversion
The Client ( or, if t he Client has t ransferred servicing of t he Loans, t he Servicer) shall
repurchase a Loan which has convert ed from an ARM t o a fixed- rat e m ort gage. The Servicer
m ust subm it t he ARM Conversion Not ificat ion Report no less t han 15 days prior t o t he
conversion dat e.
I f t he Client or Servicer repurchases a convert ed Loan and subsequent ly resells t hat
convert ed Loan t o GMAC- RFC, all t he Client ’s represent at ions and warrant ies wit h respect t o
t hat Loan shall survive such repurchase and resale. I n addit ion, t he Client shall be subj ect t o
all right s and rem edies ( including repurchase) available t o GMAC- RFC as a result of any
m isrepresent at ion or breach of warrant y wit h respect t o t hat Loan pr ior t o conversion.
The Client shall also subm it t he m odificat ion agreem ent if request ed by GMAC- RFC or it s
assigns.
Aft er it s receipt of t he Loan funds, GMAC- RFC will endorse t he Not e t o t he par t y which
repurchased t he Loan. The Loan will t hen be assigned t o such part y, and all credit
docum ent at ion will be ret urned. Failure t o subm it t he ARM Conversion Not ificat ion Report in
a t im ely m anner m ay delay t he receipt of t he endorsed Not e and ot her Legal Documents.
The Servicer shall subm it a Payoff/ Liquidat ion Report and wire t ransfer Loan funds t o t he
GMAC- RFC Loan Accounting Department no lat er t han t he last Business Day prior t o t he
conversion dat e. The Servicer m ust rem it int erest for t he ent ire m ont h preceding t he
conversion dat e. The Client shall at t ach a copy of t he ARM Conversion Not ificat ion Report .
I f t he appropriat e am ount is not wired on t im e, GMAC- RFC will charge a lat e paym ent fee.
This fee will equal t he am ount due m ult iplied by t he “ Prime Rate” plus 3% m ult iplied by t he
num ber of days overdue divided by 365. The t erm “ Prim e Rat e” shall m ean t he highest
quot ed Prim e Rat e print ed in The Wall St r eet Journal in it s regular colum n “ Money Rat es” on
t he first Business Day of t he m ont h in which t he paym ent was due and not paid. I f t he
Prim e Rat e is not available, GMAC- RFC will det erm ine a com parable rat e.

(F) Early Payment Default
I f an Early Payment Default has occurred wit h r espect t o a specific Loan, GMAC- RFC m ay,
at it s sole discret ion require t he Client t o repurchase t he Loan. Client agrees t o repurchase
t he Loan at t he repurchase price, and according t o t he repurchase procedures and ot her
repurchase t erm s set out in t his Chapt er except t hat Client shall not have t he right t o appeal
GMAC- RFC's repurchase dem and. This policy applies t o all Loans seasoned less t han six ( 6)
m ont hs as of Funding Date.
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          (G) Substitution
          I nst ead of requiring t he Client t o repurchase a Loan as provided above, GMAC- RFC, at it s
          sole discret ion, m ay allow t he Client t o subst it ut e anot her Loan sat isfact ory t o GMAC- RFC in
          place of t he original Loan, wit hin 10 days of not ificat ion by GMAC- RFC, unless ot herwise
          not ified. I f t he subst it ut ed Loan cont ains t erm s different from t hose of t he Loan t hat it is
          replacing, a purchase price adj ust m ent will be calculat ed by GMAC- RFC based on m arket
          changes and Loan charact erist ics. Every Loan subst it ut ed will be subj ect t o all agreem ent s,
          t erm s, condit ions, represent at ions and warrant ies in t his Client Guide as of t he Substitution
          Date.
          I n t he event a Loan is eligible for purchase by GMAC- RFC but t he servicing is ineligible for
          purchase by GMAC- RFC, t he Loan will be purchased and t he sale of servicing denied. GMAC-
          RFC w ill not allow t he Client t o subst it ut e anot her servicing released Loan.

          (H) Cost of Transfer Fees Due to Repurchase
          The Client agrees t hat , if it is requir ed t o repurchase a Loan and t he relat ed Servicing, it will
          pay all docum ent ary st am p t axes, recording fees, t ransfer t axes and all ot her expenses
          payable in connect ion wit h t he repurchase and will indem nify and hold harm less GMAC- RFC
          and t he Designated Servicer against all losses, cost s and expenses, including at t orney
          fees, result ing from such requir ed repurchases or t he breach giving rise heret o.

          (I) Notice and Appeal
          The Client m ay appeal GMAC- RFC’s decision by providing any addit ional inform at ion or
          docum ent at ion it believes m ay affect GMAC- RFC’s det erm inat ion.
          Send all not ificat ions and appeals t o:
                    GMAC- RFC
                    One Meridian Crossings
                    Suit e 100
                    Minneapolis, MN 55423
                    At t ent ion: Repurchase Managem ent
          Such inform at ion and docum ent at ion m ust be received wit hin 30 days aft er t he Client ’s
          receipt of a repurchase let t er or sim ilar writ t en not ificat ion from GMAC- RFC. GMAC- RFC will
          review all appeals and advise t he Client in writ ing of t he appeal decision. GMAC- RFC will in it s
          sole discret ion det erm ine t he validit y of any appeal filed by t he Client . I f GMAC- RFC’s
          decision rem ains firm following an appeal, t he Client shall repurchase t he Loan and it s
          servicing ( if t he Loan was sold servicing released) wit hin 10 days of not ificat ion by GMAC-
          RFC, in writ ing, t hat t he appeal has been denied.
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              ( 17) The Client or Servicer’s failure t o m aint ain a qualified Loan originat ion, servicing
                    and qualit y cont r ol st aff, an accept able ongoing qualit y cont rol program , adequat e
                    facilit ies and writ t en policies and procedures t o ensure:
                    • The invest m ent qualit y of Loans sold t o GMAC- RFC
                    • The adequacy of t he servicing of Loans purchased by GMAC- RFC OR
              ( 18) The failure of t he Client or t he Servicer t o m eet any t est as m ay be prescribed for
                    eligibilit y,
              ( 19) The det erm inat ion by GMAC- RFC t hat a Client has not delivered an adequat e volum e
                    of Loans t o GMAC- RFC.

          A212
          Indemnification
          The Client shall indem nify GMAC- RFC fr om all losses, dam ages, penalt ies, fines, forfeit ures,
          court cost s and reasonable at t orneys’ fees, j udgm ent s, and any ot her cost s, fees and
          expenses result ing from any Event of Default. This includes, wit hout lim it at ion, liabilit ies
          arising from ( i) any act or failure t o act , ( ii) any breach of warrant y, obligat ion or
          represent at ion cont ained in t he Client Cont ract , ( iii) any claim , dem and, defense or assert ion
          against or involving GMAC- RFC based on or result ing from such breach, ( iv) any breach of
          any represent at ion, warrant y or obligat ion m ade by GMAC- RFC in reliance upon any
          warrant y, obligat ion or represent at ion m ade by t he Client cont ained in t he Client Cont ract
          and ( v) any unt rue st at em ent of a m at erial fact , om ission t o st at e a m at erial fact , or false or
          m isleading inform at ion provided by t he Client in inform at ion required under Regulat ion AB or
          any successor regulat ion.
          I n addit ion, Client shall indem nify GMAC- RFC against any and all losses, dam ages, penalt ies,
          fines, forfeit ures, j udgm ent s, and any ot her cost s, fees and expenses ( including court cost s
          and reasonable at t orneys’ fees) incurred by GMAC- RFC in connect ion wit h any lit igat ion or
          governm ent al proceeding t hat alleges any violat ion of local, St at e or federal law by Client , or
          any of it s agent s, or any originat or or broker in connect ion wit h t he originat ion or servicing of
          a Loan. Wit h regard t o legal fees or ot her expenses incurr ed by or on behalf of GMAC- RFC in
          connect ion wit h any such lit igat ion or governm ent al proceeding, Client shall reim burse
          GMAC- RFC for such fees and expenses. Reim bursem ent shall be m ade direct ly t o GMAC- RFC
          wit hin t en days of receipt of a request for paym ent , which request shall include copies of t he
          relevant invoices. Except for not ices for reim bursem ent , GMAC- RFC is not required t o give
          Client not ice of any lit igat ion or governm ent al proceeding t hat m ay t rigger indem nificat ion
          obligat ions. Client shall inst ruct it s officers, direct ors and agent s ( including legal counsel) t o
          cooperat e wit h GMAC- RFC in connect ion wit h t he defense of any lit igat ion or governm ent al
          proceeding involving a Loan. GMAC- RFC has t he right t o cont rol any lit igat ion or
          governm ent al proceeding relat ed t o a Loan, including but not lim it ed t o choosing defense
          counsel and m aking set t lem ent decisions.
          The Client also shall indem nify GMAC- RFC and hold it harm less against all court cost s,
          at t orney’s fees and any ot her cost s, fees and expenses incurred by GMAC- RFC in enforcing
          t he Client Cont ract . The obligat ions of t he Client under t his Sect ion shall survive t he
          Delivery Date, t he Funding Date ( and each Substitution Date, if applicable) and t he
          t erm inat ion of t he Client Cont ract and t he disqualificat ion, suspension or inact ivat ion of t he
          Client .
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                   Exhibit C
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Home Loan Center, Inc. ‐ Loans Sold to RFC and Securitized
Loan ID No.               Securitization       Date of Acquisition         Original Balance
8404096                   2004‐HI1                               8/26/2003                  $28,374.32
8404226                   2004‐HS3                               7/18/2003                  $18,000.00
8404302                   2004‐HS1                               7/10/2003                  $45,834.45
8525728                   2005‐HI1                               9/30/2003                  $35,000.00
8568960                   2004‐HS1                               9/18/2003                  $73,764.25
8569062                   2004‐HS1                               9/23/2003                  $29,546.21
8569288                   2004‐HS1                               10/8/2003                  $77,421.10
8569442                   2004‐HS1                               10/3/2003                  $94,136.49
8624182                   2004‐HS1                              10/10/2003                  $37,000.05
8632462                   2004‐HS1                              10/15/2003                  $49,158.59
8639409                   2004‐HS1                                6/5/2003                   $4,000.00
8655728                   2004‐HS1                               10/8/2003                  $78,992.40
8655772                   2004‐HS1                              10/28/2003                  $49,447.38
8655926                   2004‐HS1                               10/8/2003                  $48,279.03
8657783                   2004‐HS2                               6/30/2003                  $16,871.28
8672964                   2004‐HS1                              10/10/2003                  $37,614.88
8673036                   2004‐HS1                              10/14/2003                  $13,551.26
8711860                   2004‐HS1                              10/22/2003                  $55,997.84
8730704                   2004‐HS1                              10/29/2003                  $67,089.44
8730956                   2004‐HS1                              10/30/2003                  $74,232.37
8730980                   2004‐HI1                               1/30/2004                  $68,529.82
8751947                   2004‐RS7                               6/19/2003                 $382,000.00
8761704                   2004‐HS1                               11/5/2003                  $78,128.81
8773632                   2004‐HS1                                1/6/2004                  $35,394.41
8778872                   2004‐HS1                              10/27/2003                  $54,603.11
8781502                   2004‐HS1                              11/13/2003                  $56,813.84
8781686                   2004‐HS1                              11/12/2003                  $91,084.88
8781802                   2004‐HS1                              12/23/2003                  $28,752.21
8782612                   2004‐QA3                               11/4/2003                 $300,000.00
8787786                   2004‐HS1                              12/15/2003                  $37,000.00
8788504                   2004‐HS1                              12/16/2003                  $49,470.15
8800518                   2004‐S3                               11/26/2003                 $288,000.00
8808824                   2004‐HS1                              12/31/2003                  $25,303.88
8817130                   2004‐HI1                              12/26/2003                  $49,926.64
8826572                   2004‐HS1                              12/15/2003                  $38,608.33
8826574                   2004‐HS1                              12/12/2003                  $57,657.29
8826660                   2004‐HS1                               1/22/2004                  $25,000.00
8837808                   2004‐HS1                               1/29/2004                  $28,999.07
8837814                   2004‐HS1                              12/16/2003                  $84,607.40
8837816                   2004‐HS1                               12/4/2003                  $94,249.37
8837836                   2004‐HS2                               12/3/2003                  $32,533.03
8837846                   2004‐HS1                               12/4/2003                  $48,400.00
8837880                   2004‐HS1                               12/4/2003                  $49,875.27
8837882                   2004‐HS1                              12/17/2003                  $28,476.18
8837904                   2004‐HS1                              12/29/2003                  $52,432.18
8856084                   2004‐HS1                              11/17/2003                  $72,502.93


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
8857770             2004‐HS1                           12/5/2003                  $40,000.00
8857892             2004‐HS1                           12/4/2003                  $39,994.99
8858076             2004‐HS1                          12/12/2003                  $39,800.00
8858114             2004‐HI1                          12/10/2003                  $31,853.60
8858132             2004‐HS1                          12/10/2003                  $42,000.00
8858136             2004‐HS1                          12/11/2003                  $74,614.86
8858176             2004‐HI1                          12/11/2003                  $29,880.18
8858186             2004‐HS1                          12/10/2003                  $29,169.61
8858188             2004‐HS1                          12/10/2003                  $62,404.18
8858266             2004‐HI1                          12/10/2003                  $29,976.57
8858280             2004‐HS2                          12/10/2003                  $33,588.89
8858284             2004‐HS1                          12/17/2003                  $66,402.32
8858304             2004‐HS1                          12/10/2003                  $35,938.71
8867250             2004‐S2                            12/1/2003                 $600,000.00
8868944             2004‐HI1                          12/31/2003                  $34,707.62
8874330             2004‐HS1                          12/22/2003                  $35,000.00
8874338             2004‐HS1                          12/12/2003                  $36,500.00
8874360             2004‐HS1                          12/12/2003                  $29,623.84
8874414             2004‐HS1                          12/15/2003                  $49,893.84
8874416             2004‐HS1                          12/15/2003                  $36,725.18
8874420             2004‐HS1                          12/16/2003                  $49,971.23
8874448             2004‐HS1                          12/15/2003                  $39,973.63
8874516             2004‐HI1                          12/19/2003                  $34,972.67
8874532             2004‐HS1                          12/15/2003                  $65,649.79
8874566             2004‐HS1                          12/19/2003                  $59,580.81
8874618             2004‐HS1                          12/15/2003                  $26,800.00
8874652             2004‐HI1                          12/17/2003                  $54,623.59
8874656             2004‐HS1                          12/16/2003                  $28,971.50
8886440             2004‐HS1                          12/15/2003                  $25,365.10
8886446             2004‐HS1                          12/15/2003                   $4,610.20
8886452             2004‐HS1                          12/15/2003                  $79,500.83
8886474             2004‐HS1                          12/15/2003                  $44,860.91
8886492             2004‐HS1                          12/15/2003                  $19,147.84
8889854             2004‐HS1                          12/19/2003                  $36,050.00
8890220             2004‐S1                           12/19/2003                 $460,000.00
8892610             2004‐HS1                          12/31/2003                  $35,236.92
8902366             2004‐QS3                           12/9/2003                 $232,000.00
8905810             2004‐QS3                           12/9/2003                 $117,000.00
8907414             2004‐QS3                          12/12/2003                 $130,000.00
8914634             2004‐HI1                          12/19/2003                  $29,895.42
8915968             2004‐S3                           12/18/2003                 $432,000.00
8922934             2004‐HS1                          12/12/2003                  $33,750.01
8923532             2004‐HS1                          12/18/2003                  $34,986.12
8923614             2004‐HS1                          12/18/2003                  $62,372.82
8929126             2004‐HS1                          12/12/2003                  $25,000.00
8933323             2004‐HS2                           4/20/2004                  $21,866.68
8933337             2004‐HS2                           4/27/2004                  $20,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
8933359             2004‐HI2                           4/29/2004                  $27,800.00
8933409             2004‐HS2                            5/3/2004                  $37,317.11
8933439             2004‐HS2                           4/28/2004                  $60,995.26
8933485             2004‐HS2                           4/20/2004                   $4,906.96
8934949             2004‐HS2                           4/22/2004                  $43,000.00
8934969             2004‐HS2                           4/20/2004                  $32,000.00
8937049             2004‐HS2                           4/28/2004                  $22,894.03
8937107             2004‐HS2                           4/27/2004                  $24,984.93
8937157             2004‐HS2                           4/22/2004                  $45,745.00
8937207             2004‐HS2                           4/26/2004                  $43,160.50
8937453             2004‐HI2                           4/27/2004                  $35,000.00
8937455             2004‐HS2                           4/27/2004                  $38,000.00
8937521             2004‐HS2                           4/28/2004                  $24,925.00
8937545             2004‐HS2                           4/27/2004                  $27,500.00
8937593             2004‐HS2                           4/27/2004                  $36,800.00
8937595             2004‐HI2                           4/27/2004                  $54,000.00
8937637             2004‐HS2                           4/27/2004                  $26,900.00
8940161             2004‐S5                            4/23/2004                 $245,000.00
8944624             2004‐HS1                          12/16/2003                  $74,826.54
8944634             2004‐HS1                          12/17/2003                  $43,875.00
8944648             2004‐HI1                          12/16/2003                  $49,667.07
8945042             2004‐HS2                          12/17/2003                  $22,444.38
8945092             2004‐HI1                          12/17/2003                  $37,741.05
8945120             2004‐HS1                          12/16/2003                  $21,252.52
8945136             2004‐HS1                            1/6/2004                  $91,305.78
8945224             2004‐HS1                          12/16/2003                   $4,631.63
8945264             2004‐HS1                          12/16/2003                  $46,122.88
8945300             2004‐HS1                          12/17/2003                  $43,300.90
8946053             2004‐HS2                           4/29/2004                  $11,011.84
8946339             2004‐HS2                           4/28/2004                  $92,921.67
8946484             2004‐QS1                          12/24/2003                 $186,400.00
8948000             2004‐HS1                          12/29/2003                  $32,831.37
8948022             2004‐HI1                            1/9/2004                  $44,966.42
8948024             2004‐HS1                          12/19/2003                  $50,000.00
8948026             2004‐HS1                          12/19/2003                  $48,717.43
8948252             2004‐HS2                          12/22/2003                  $24,238.81
8948254             2004‐HS1                          12/19/2003                  $59,997.95
8948258             2004‐HS1                          12/22/2003                  $20,000.00
8948260             2004‐HS1                          12/22/2003                  $40,000.00
8948264             2004‐HS1                          12/19/2003                  $27,755.74
8948266             2004‐HS2                          12/26/2003                  $47,174.03
8948270             2004‐HS1                          12/22/2003                  $28,291.23
8948274             2004‐HS1                          12/23/2003                  $24,900.00
8948276             2004‐HI1                          12/19/2003                  $48,476.39
8948278             2004‐HS1                          12/23/2003                  $28,250.00
8948280             2004‐HI1                          12/19/2003                  $29,937.79
8948284             2004‐HS1                          12/22/2003                  $29,900.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
8948286             2004‐HS1                          12/22/2003                  $49,980.13
8948290             2004‐HS1                          12/19/2003                  $52,843.52
8948294             2004‐HS1                          12/19/2003                  $23,810.05
8948400             2004‐HS1                          12/23/2003                  $14,989.93
8948442             2004‐HS1                          12/23/2003                  $25,594.98
8948444             2004‐HS1                          12/23/2003                  $29,950.00
8948448             2004‐HS1                          12/23/2003                  $34,800.00
8948482             2004‐HS1                          12/23/2003                  $24,585.86
8950216             2004‐HS1                          12/17/2003                  $24,935.00
8950348             2004‐HS1                          12/17/2003                  $61,023.36
8950530             2004‐HS1                          12/17/2003                  $69,800.00
8950682             2004‐HS1                          12/17/2003                  $37,273.97
8951838             2004‐HS1                          12/17/2003                  $34,855.27
8951882             2004‐HS1                          12/18/2003                  $29,815.06
8951984             2004‐HS2                          12/18/2003                  $74,576.21
8952188             2004‐HS1                          12/17/2003                  $42,000.00
8952611             2004‐HS2                            5/3/2004                  $18,000.00
8952615             2004‐HS2                           4/29/2004                  $48,600.00
8952619             2004‐HS2                           4/28/2004                  $37,000.00
8952668             2004‐HS1                            1/6/2004                  $19,676.49
8952678             2004‐HS1                          12/24/2003                  $31,839.95
8952690             2004‐HS1                          12/24/2003                  $27,243.03
8952694             2004‐HS1                          12/26/2003                  $75,000.00
8952708             2004‐HS1                          12/23/2003                  $59,786.00
8952800             2004‐HI1                          12/24/2003                  $34,857.29
8952870             2004‐HS2                          12/26/2003                  $71,996.45
8952904             2004‐HS1                          12/29/2003                  $28,000.00
8952932             2004‐HS1                          12/26/2003                  $39,808.85
8952942             2004‐HS1                          12/29/2003                  $21,975.00
8952948             2004‐HS1                            1/8/2004                  $36,029.94
8952952             2004‐HS1                          12/26/2003                  $29,417.13
8952970             2004‐HS1                          12/31/2003                 $100,000.00
8952977             2004‐HS2                           4/28/2004                  $59,800.00
8952979             2004‐HS2                           4/28/2004                  $33,574.89
8953073             2004‐HI2                           4/28/2004                  $30,931.82
8953128             2004‐HI1                            1/2/2004                  $33,188.24
8953146             2004‐HS1                          12/29/2003                  $34,500.00
8953149             2004‐HS2                           4/28/2004                  $40,483.70
8953176             2004‐HS1                          12/29/2003                  $49,800.20
8953200             2004‐HS1                          12/29/2003                  $34,951.29
8953216             2004‐HI1                            1/6/2004                  $49,906.83
8953228             2004‐HS1                          12/30/2003                  $42,000.00
8953338             2004‐HI1                          12/17/2003                  $34,864.82
8953440             2004‐HS1                          12/18/2003                  $46,364.89
8956076             2004‐HS1                          12/29/2003                  $23,633.81
8956132             2004‐HS1                          12/18/2003                  $38,697.51
8956160             2004‐HS1                          12/18/2003                  $23,462.01


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
8956228             2004‐HS1                          12/18/2003                  $34,800.00
8956276             2004‐HS1                          12/24/2003                  $29,350.25
8956306             2004‐HI1                            1/2/2004                  $49,947.96
8956308             2004‐HI1                          12/30/2003                  $40,326.20
8956390             2004‐HI1                            1/6/2004                  $49,968.75
8956392             2004‐HI1                            1/2/2004                  $49,905.71
8956420             2004‐HI1                            1/6/2004                  $36,981.57
8956472             2004‐HI1                            1/9/2004                  $31,441.44
8956482             2004‐HI1                            1/6/2004                  $59,969.45
8956522             2004‐HS1                          12/30/2003                  $28,987.96
8956532             2004‐HS1                            1/2/2004                  $74,800.00
8956544             2004‐HS1                            1/6/2004                  $24,990.00
8956554             2004‐HS1                            1/2/2004                  $56,453.88
8956556             2004‐HS1                            1/7/2004                  $29,931.68
8956564             2004‐HS1                            1/2/2004                  $30,000.00
8956568             2004‐HS1                            1/6/2004                  $55,177.53
8956570             2004‐HS1                            1/2/2004                  $24,942.08
8956572             2004‐HS1                            1/6/2004                  $32,872.05
8956574             2004‐HS1                            1/6/2004                  $47,842.19
8956582             2004‐HS1                            1/6/2004                  $22,897.76
8956592             2004‐HI1                            1/6/2004                  $49,970.94
8956600             2004‐HS1                            1/6/2004                  $24,300.00
8956616             2004‐HS1                            1/2/2004                  $45,000.00
8956622             2004‐HS1                            1/2/2004                  $62,701.95
8956634             2004‐HS1                            1/6/2004                  $15,688.36
8956638             2004‐HI1                            1/6/2004                  $34,934.78
8956640             2004‐HS1                            1/9/2004                  $40,100.00
8956644             2004‐HS1                            1/7/2004                  $24,890.00
8956658             2004‐HS1                            1/6/2004                  $18,748.18
8956708             2004‐HS1                            1/9/2004                  $27,480.00
8956740             2004‐HS1                            1/9/2004                  $30,683.54
8956752             2004‐HI1                            1/6/2004                  $34,987.01
8956754             2004‐HI1                            1/8/2004                  $48,975.06
8956758             2004‐HS1                            1/7/2004                  $18,878.12
8956760             2004‐HI1                            2/3/2004                  $49,903.43
8956766             2004‐HI1                            1/6/2004                  $34,985.77
8956774             2004‐HS1                            1/7/2004                  $58,800.00
8956792             2004‐HS1                            1/5/2004                  $39,778.17
8956798             2004‐HS1                            1/6/2004                  $37,912.44
8956994             2004‐HS2                           1/21/2004                  $25,289.27
8957046             2004‐HI1                            1/7/2004                  $34,982.57
8957050             2004‐HS1                            1/7/2004                  $39,988.77
8957062             2004‐HS1                            1/6/2004                  $12,931.53
8957070             2004‐HS1                            1/6/2004                  $46,831.78
8957072             2004‐HS1                            1/6/2004                  $26,999.34
8957100             2004‐HS1                            1/7/2004                  $38,600.00
8957156             2004‐HI1                            1/8/2004                  $31,986.69


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
8957158             2004‐HI1                           1/14/2004                  $49,936.25
8957160             2004‐HI1                            1/7/2004                  $45,913.25
8957168             2004‐HS1                            1/7/2004                  $39,621.64
8957172             2004‐HS1                            1/8/2004                  $30,662.73
8957176             2004‐HS1                            1/9/2004                  $57,000.00
8957184             2004‐HI1                            1/7/2004                  $49,968.97
8957238             2004‐HS1                            1/9/2004                  $36,588.19
8957258             2004‐HS1                            1/7/2004                  $39,226.30
8957334             2004‐HS1                           1/16/2004                  $62,000.00
8957394             2004‐HS1                            1/8/2004                  $28,000.00
8957398             2004‐HS1                           1/16/2004                  $56,600.00
8957406             2004‐HS1                            1/9/2004                  $32,998.66
8957476             2004‐HS1                            1/8/2004                  $34,944.93
8957686             2004‐HI2                          12/17/2003                  $34,930.49
8957971             2004‐HS2                           4/29/2004                  $31,773.52
8958141             2004‐HS2                            5/3/2004                  $20,100.00
8958227             2004‐HS2                            5/3/2004                  $30,000.00
8958232             2004‐HS2                          12/17/2003                  $20,000.00
8958235             2004‐HS2                           5/11/2004                  $88,700.00
8958237             2004‐HS2                            5/5/2004                  $25,000.00
8958243             2004‐HS2                           5/11/2004                  $80,000.00
8958247             2004‐HS2                            5/6/2004                  $21,800.00
8958248             2004‐HS1                          12/19/2003                 $101,734.74
8958258             2004‐HS1                           1/12/2004                  $30,000.00
8958266             2004‐HS1                          12/19/2003                  $34,800.00
8958295             2004‐HS2                            5/4/2004                  $34,000.00
8958305             2004‐HS2                            5/3/2004                  $60,000.00
8958405             2004‐HI2                            5/4/2004                  $45,000.00
8958407             2004‐HS2                            5/4/2004                  $15,000.00
8960923             2004‐S5                            5/10/2004                 $341,000.00
8963861             2004‐S5                             5/6/2004                 $391,000.00
8965591             2004‐HS2                            5/5/2004                  $25,000.00
8965601             2004‐HS2                           5/21/2004                  $47,000.00
8965777             2004‐HS2                            5/4/2004                  $43,000.00
8965853             2004‐HS2                            5/6/2004                  $63,500.00
8965859             2004‐HS2                            5/5/2004                  $49,500.00
8965861             2004‐HI2                            5/5/2004                  $25,000.00
8965863             2004‐HS2                            5/6/2004                  $49,000.00
8965947             2004‐HS2                            5/6/2004                  $30,000.00
8965955             2004‐HI2                            5/5/2004                  $49,892.57
8965957             2004‐HI2                            5/5/2004                  $35,000.00
8966831             2004‐S7                            5/13/2004                 $355,000.00
8969452             2004‐HS1                            1/8/2004                  $24,100.00
8969532             2004‐HS1                            1/8/2004                  $44,000.00
8969542             2004‐HI1                            1/8/2004                  $24,990.73
8969546             2004‐HS1                            1/9/2004                  $37,690.58
8969568             2004‐HS1                            1/9/2004                  $32,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
8969656             2004‐HS1                           1/13/2004                  $74,000.00
8969662             2004‐HS1                           1/12/2004                  $38,082.19
8969664             2004‐HS1                           1/12/2004                  $49,985.62
8969686             2004‐HS1                           1/13/2004                  $42,637.84
8969748             2004‐HS1                            2/2/2004                  $26,700.00
8969750             2004‐HS1                           1/13/2004                 $119,950.00
8969752             2004‐HS1                           1/13/2004                  $27,800.00
8969758             2004‐HS1                           1/13/2004                  $48,900.00
8969760             2004‐HS1                           1/12/2004                  $29,700.00
8969800             2004‐HS1                           1/12/2004                  $75,000.00
8969820             2004‐HS1                           1/13/2004                  $75,100.00
8969828             2004‐HS1                            1/9/2004                  $43,782.68
8969860             2004‐HI1                            1/9/2004                  $43,415.98
8969862             2004‐HS1                           1/20/2004                  $49,500.00
8969868             2004‐HS1                           1/13/2004                  $20,700.00
8969874             2004‐HS1                           1/12/2004                  $30,500.00
8969988             2004‐HS1                           1/13/2004                  $24,700.00
8970178             2004‐HS1                          12/22/2003                  $34,784.94
8973376             2004‐QS3                            1/6/2004                 $246,000.00
8975472             2004‐HS1                          12/24/2003                  $44,973.97
8977209             2004‐HS2                            5/7/2004                  $21,000.00
8977263             2004‐HS2                           5/11/2004                  $57,000.00
8977275             2004‐HS2                           5/10/2004                  $35,000.00
8977421             2004‐HS2                            5/6/2004                  $41,000.00
8977541             2004‐HS2                            5/6/2004                  $76,500.00
8977543             2004‐HS2                            5/6/2004                  $23,000.00
8977619             2004‐QS6                            5/7/2004                 $165,000.00
8977699             2004‐HS2                            5/6/2004                  $22,000.00
8977799             2004‐QS9                           5/14/2004                 $135,000.00
8977877             2004‐SA1                            5/6/2004                 $457,500.00
8979382             2004‐HS1                          12/26/2003                  $25,864.11
8979440             2004‐HS1                          12/26/2003                  $44,864.85
8981336             2004‐HS1                            1/2/2004                  $30,000.00
8981408             2004‐HI1                          12/30/2003                  $49,961.67
8982561             2004‐S6                            5/17/2004                 $385,000.00
8982607             2004‐S6                            5/13/2004                 $230,000.00
8982834             2004‐HS1                           1/13/2004                  $48,946.66
8982858             2004‐HS1                           1/13/2004                  $34,418.05
8982868             2004‐HS1                           1/13/2004                  $30,000.00
8982870             2004‐HS1                           1/15/2004                  $14,500.00
8982882             2004‐HS1                           1/13/2004                  $35,000.00
8983030             2004‐HI1                           1/30/2004                  $34,926.55
8983078             2004‐HI1                           1/15/2004                  $34,986.40
8983080             2004‐HI1                           1/15/2004                  $29,977.61
8983136             2004‐HS1                           1/15/2004                  $24,749.32
8983398             2004‐HI1                           1/16/2004                  $29,500.00
8983400             2004‐HS1                           1/21/2004                  $55,600.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
8983798             2004‐HI1                           1/21/2004                  $33,872.63
8984550             2004‐QS3                            1/8/2004                 $112,250.00
8985108             2004‐HS1                          12/30/2003                  $15,000.00
8985124             2004‐HS1                          12/31/2003                  $22,500.00
8985184             2004‐HS2                          12/31/2003                  $21,077.82
8985194             2004‐HS1                          12/29/2003                  $22,500.00
8985204             2004‐HS1                          12/30/2003                  $52,701.61
8985250             2004‐HS1                           1/14/2004                  $25,000.00
8985574             2004‐HI1                          12/31/2003                  $28,889.81
8985612             2004‐HS1                          12/30/2003                  $39,500.00
8985624             2004‐HI1                          12/30/2003                  $74,823.17
8985640             2004‐RZ1                            1/6/2004                 $235,000.00
8985688             2004‐HS1                          12/30/2003                  $94,000.00
8985770             2004‐HS1                          12/30/2003                  $49,669.00
8985776             2004‐HS1                          12/31/2003                  $51,270.32
8985786             2004‐HS1                          12/29/2003                  $18,100.00
8985788             2004‐HS1                          12/30/2003                  $32,727.34
8985808             2004‐HS1                           1/29/2004                  $34,000.00
8985810             2004‐HS1                            1/6/2004                  $37,800.00
8986902             2004‐QS3                           1/13/2004                 $300,000.00
8993803             2004‐SA1                           5/18/2004                 $343,500.00
8997483             2004‐HS2                           5/13/2004                  $30,000.00
9003258             2004‐QS1                            1/9/2004                 $153,000.00
9006852             2004‐HI1                           1/27/2004                  $44,906.67
9011488             2004‐HS1                           1/13/2004                  $24,963.70
9011570             2004‐HS1                           1/12/2004                  $24,800.00
9011666             2004‐HS1                           1/12/2004                  $38,983.34
9012811             2004‐S6                            5/27/2004                 $500,000.00
9013022             2004‐HI1                           1/27/2004                  $31,927.11
9013128             2004‐HS1                           1/27/2004                  $49,848.50
9013231             2004‐HS2                           5/21/2004                  $36,800.00
9013243             2004‐HS2                           5/21/2004                  $61,900.00
9013351             2004‐HS2                           5/28/2004                  $56,400.00
9013368             2004‐HI1                           1/27/2004                  $34,985.77
9013729             2004‐HS2                           5/24/2004                  $20,000.00
9013737             2004‐HS2                           5/24/2004                  $60,650.00
9013743             2004‐HI2                           5/24/2004                  $50,000.00
9013947             2004‐HI2                           5/24/2004                  $32,500.00
9013953             2004‐HI2                           5/25/2004                  $60,000.00
9014061             2004‐HS3                           6/23/2004                  $63,000.00
9014063             2004‐HS2                           5/25/2004                  $27,100.00
9014163             2004‐HS2                           5/26/2004                  $26,850.00
9014498             2004‐QS2                           1/21/2004                 $127,000.00
9014967             2004‐HI2                           5/28/2004                  $50,000.00
9014977             2004‐HS3                            7/2/2004                  $72,700.00
9015053             2004‐HS3                            7/1/2004                  $47,000.00
9015077             2004‐HS2                            6/3/2004                  $17,500.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9015366             2004‐QS3                           1/27/2004                 $128,000.00
9017650             2004‐HS1                           1/13/2004                  $26,500.00
9018087             2004‐HI2                           5/19/2004                  $15,800.00
9018395             2004‐HS2                           5/19/2004                  $40,000.00
9018707             2004‐HS2                           5/20/2004                  $26,700.00
9022147             2004‐HS3                           7/12/2004                  $25,500.00
9022149             2004‐HS3                            7/2/2004                  $75,000.00
9022165             2004‐HS3                            7/8/2004                  $38,500.00
9022187             2004‐HS2                            6/4/2004                  $19,500.00
9022349             2004‐HS3                           6/18/2004                  $96,000.00
9022381             2004‐HS3                            6/3/2004                  $35,000.00
9022549             2004‐HS2                            6/8/2004                  $29,500.00
9022599             2004‐HS2                            6/8/2004                  $25,000.00
9022641             2004‐HS3                           7/19/2004                  $36,000.00
9024624             2004‐HI1                           1/28/2004                  $59,000.00
9024630             2004‐HS1                           1/28/2004                  $63,804.58
9024640             2004‐HI1                           1/29/2004                  $49,974.42
9024642             2004‐HS1                           1/28/2004                  $45,000.00
9024926             2004‐HS1                           2/10/2004                  $39,654.17
9024930             2004‐HI1                            2/3/2004                  $35,000.00
9025004             2004‐HS1                           1/30/2004                  $50,000.00
9025152             2004‐HI1                           2/10/2004                  $48,000.00
9025164             2004‐HI1                            2/9/2004                  $49,901.10
9025170             2004‐HS1                            2/3/2004                  $25,000.00
9026359             2004‐HS2                           5/21/2004                  $45,000.00
9029838             2004‐HI1                           1/16/2004                  $50,000.00
9031219             2004‐HS2                            6/8/2004                  $37,000.00
9031239             2004‐HS2                            6/4/2004                  $10,000.00
9031255             2004‐HS2                            6/8/2004                  $74,800.00
9031437             2004‐HS2                           6/10/2004                  $56,000.00
9031605             2004‐HS3                           6/25/2004                  $27,500.00
9031627             2004‐HS3                           6/25/2004                  $30,000.00
9031631             2004‐HS3                           7/12/2004                  $33,500.00
9031633             2004‐HS3                           6/25/2004                  $55,000.00
9031635             2004‐HS3                           6/30/2004                  $25,800.00
9031637             2004‐HS3                           6/25/2004                  $41,000.00
9031641             2004‐HS3                           6/30/2004                  $28,500.00
9031651             2004‐HS3                           6/17/2004                  $20,000.00
9031657             2004‐HS3                            7/8/2004                  $68,000.00
9031663             2004‐HS3                           6/30/2004                  $54,000.00
9031713             2004‐HS2                            6/4/2004                  $26,600.00
9031803             2004‐HS3                           6/29/2004                  $35,000.00
9032902             2004‐HI1                            2/4/2004                  $49,973.97
9033210             2004‐HS1                           2/11/2004                 $111,000.00
9033212             2004‐HS1                            2/4/2004                  $45,000.00
9033214             2004‐HI1                            2/4/2004                  $34,881.88
9033232             2004‐HS1                            2/4/2004                  $42,859.06


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9033248             2004‐HI1                            2/5/2004                  $32,902.50
9033252             2004‐HS1                            2/4/2004                  $38,581.82
9033340             2004‐HI1                            2/5/2004                  $28,289.97
9033452             2004‐HS1                            2/9/2004                  $42,000.00
9033478             2004‐HS1                            2/9/2004                  $36,700.00
9033983             2004‐HS2                           5/25/2004                  $70,000.00
9034179             2004‐HS2                           5/25/2004                  $35,000.00
9034191             2004‐HS2                            6/3/2004                  $40,500.00
9034209             2004‐HS2                           5/25/2004                  $22,500.00
9037673             2004‐HI2                           5/26/2004                  $32,000.00
9038235             2004‐HS2                           5/28/2004                  $32,250.00
9038365             2004‐HS2                           5/26/2004                  $44,000.00
9038559             2004‐HS2                           5/27/2004                  $60,000.00
9038567             2004‐HS2                            6/3/2004                  $12,500.00
9038603             2004‐HS3                           6/23/2004                  $15,500.00
9038685             2004‐HS3                           6/18/2004                  $75,000.00
9038803             2004‐QS8                            6/3/2004                  $99,900.00
9039875             2004‐HS3                           6/25/2004                  $28,000.00
9039891             2004‐HS3                           6/25/2004                  $30,000.00
9039893             2004‐HS3                           6/16/2004                  $29,000.00
9040031             2004‐HS2                            6/8/2004                  $65,000.00
9040061             2004‐HI2                           6/10/2004                  $35,000.00
9040221             2004‐HS2                           6/10/2004                  $10,000.00
9040225             2004‐HI2                           6/10/2004                  $60,000.00
9040229             2004‐HI2                           6/14/2004                  $25,000.00
9040765             2004‐HI2                           5/26/2004                  $50,000.00
9041406             2004‐QS2                           1/30/2004                  $54,000.00
9043837             2004‐HS2                            6/3/2004                  $42,000.00
9045081             2004‐HS3                           6/15/2004                  $28,750.00
9045083             2004‐HI3                           6/24/2004                  $25,000.00
9045089             2004‐HS3                           6/15/2004                  $21,000.00
9045101             2004‐HI3                           6/16/2004                  $31,200.00
9045219             2004‐HS3                           6/25/2004                 $124,300.00
9045389             2004‐HI3                           6/17/2004                  $30,000.00
9045579             2004‐HS3                           6/15/2004                  $16,500.00
9045600             2004‐HS1                            2/9/2004                  $32,500.00
9045629             2004‐HS3                           6/30/2004                  $75,000.00
9045636             2004‐HI1                            2/9/2004                  $50,000.00
9045663             2004‐HI3                           6/16/2004                  $68,000.00
9045716             2004‐HI1                           2/10/2004                  $50,000.00
9045724             2004‐HS1                           2/11/2004                  $25,000.00
9045726             2004‐HS1                           2/11/2004                  $48,000.00
9045728             2004‐HS1                           2/11/2004                  $36,700.00
9045730             2004‐HS1                           2/11/2004                  $11,200.00
9045734             2004‐HS1                           2/11/2004                  $20,000.00
9045742             2004‐HS1                           2/12/2004                  $28,000.00
9045754             2004‐HS1                           2/11/2004                  $15,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9045756             2004‐HS1                           2/11/2004                  $32,300.00
9045760             2004‐HS1                           2/11/2004                  $30,000.00
9045768             2004‐HS1                           2/11/2004                  $50,000.00
9045850             2004‐HS1                           2/11/2004                  $74,000.00
9045854             2004‐HS1                           2/12/2004                  $75,000.00
9045884             2004‐HS1                           2/11/2004                  $24,950.00
9045918             2004‐HS1                           2/12/2004                  $19,000.00
9052730             2004‐S1                             2/2/2004                 $355,000.00
9053292             2004‐S3                             2/3/2004                 $366,000.00
9056736             2004‐HI1                           2/11/2004                  $35,000.00
9057280             2004‐HS1                           2/12/2004                  $25,000.00
9057284             2004‐HI1                           2/18/2004                  $49,903.43
9057733             2004‐HS3                           6/15/2004                  $43,200.00
9057757             2004‐HI3                           6/16/2004                  $50,000.00
9065963             2004‐HS3                           6/30/2004                  $29,400.00
9066021             2004‐HI3                           6/25/2004                  $49,500.00
9066051             2004‐HI3                           7/21/2004                  $50,000.00
9066111             2004‐HS3                           6/22/2004                  $33,000.00
9066123             2004‐HI3                           6/22/2004                  $25,000.00
9068949             2004‐HS3                           6/29/2004                  $30,000.00
9070185             2004‐SA1                            6/9/2004                 $400,000.00
9071755             2004‐QS10                          6/11/2004                 $615,000.00
9072023             2004‐SA1                            6/9/2004                 $449,900.00
9072092             2004‐HS1                           2/13/2004                  $50,000.00
9072094             2004‐HS1                           2/13/2004                  $54,000.00
9072098             2004‐HS1                            3/9/2004                  $50,000.00
9072102             2004‐HS1                           2/17/2004                  $52,000.00
9072120             2004‐HS1                           2/17/2004                  $43,200.00
9072124             2004‐HS1                           2/17/2004                  $31,500.00
9072126             2004‐HS1                           2/17/2004                  $14,500.00
9072128             2004‐HS1                           2/13/2004                  $60,000.00
9072130             2004‐HS1                           2/17/2004                  $69,000.00
9072132             2004‐HS1                           2/13/2004                  $35,800.00
9072140             2004‐HS1                           2/17/2004                  $34,300.00
9072142             2004‐HS1                           2/17/2004                  $40,000.00
9072144             2004‐HS1                           2/13/2004                  $26,000.00
9072150             2004‐HS1                           2/17/2004                  $45,000.00
9072154             2004‐HS1                           2/13/2004                  $49,500.00
9072156             2004‐HI1                           2/17/2004                  $36,100.00
9072160             2004‐HS1                           2/17/2004                  $25,000.00
9072162             2004‐HS1                           2/18/2004                  $27,000.00
9072168             2004‐HS1                           2/17/2004                  $10,000.00
9072172             2004‐HS1                           2/13/2004                  $52,000.00
9072176             2004‐HS1                           2/17/2004                  $40,000.00
9072180             2004‐HS1                           2/17/2004                  $50,000.00
9072284             2004‐HS1                           2/24/2004                  $25,000.00
9072310             2004‐HI1                           2/23/2004                  $39,927.23


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9072342             2004‐HS1                           2/18/2004                  $25,000.00
9072346             2004‐HS1                           2/19/2004                  $34,000.00
9072352             2004‐HS1                           2/18/2004                  $79,000.00
9072376             2004‐HS1                           2/18/2004                  $43,000.00
9072386             2004‐HS1                           2/17/2004                  $30,500.00
9072398             2004‐HS1                           2/20/2004                  $10,000.00
9072416             2004‐HS1                           2/18/2004                  $40,000.00
9072418             2004‐HS1                            3/5/2004                  $24,000.00
9072420             2004‐HS1                           2/18/2004                  $26,000.00
9072422             2004‐HS1                           2/19/2004                  $27,500.00
9072454             2004‐HS1                           2/20/2004                  $38,500.00
9072460             2004‐HS1                           2/18/2004                  $25,000.00
9072478             2004‐HS1                           2/20/2004                  $30,000.00
9072482             2004‐HS1                           2/17/2004                  $25,000.00
9072486             2004‐HS1                           2/24/2004                  $35,000.00
9072558             2004‐HS1                           2/18/2004                  $52,000.00
9072568             2004‐HS1                           2/18/2004                  $19,750.00
9072586             2004‐HS1                           2/19/2004                  $15,000.00
9072610             2004‐HS1                           2/19/2004                  $60,000.00
9072614             2004‐HS1                           2/19/2004                  $20,000.00
9072618             2004‐HS1                           2/19/2004                  $30,000.00
9072638             2004‐HS1                           2/19/2004                  $92,000.00
9072640             2004‐HS1                           2/25/2004                  $25,000.00
9072642             2004‐HS1                           2/19/2004                  $47,000.00
9072650             2004‐HS1                           2/18/2004                  $56,000.00
9072654             2004‐HS1                           2/18/2004                  $25,000.00
9072658             2004‐HS1                           2/18/2004                  $45,000.00
9073913             2004‐HS3                           6/25/2004                  $46,000.00
9073983             2004‐HS3                           6/22/2004                  $46,300.00
9074005             2004‐HS3                           6/29/2004                  $58,000.00
9074007             2004‐HI3                           6/22/2004                  $50,000.00
9074143             2004‐HS3                           6/22/2004                  $34,000.00
9074779             2004‐HS2                           6/10/2004                  $30,000.00
9074805             2004‐HI3                           6/15/2004                  $28,500.00
9074815             2004‐HS3                           6/29/2004                  $53,000.00
9074827             2004‐HI2                           6/10/2004                  $51,500.00
9074837             2004‐HI3                           6/16/2004                  $50,000.00
9074841             2004‐HS2                           6/10/2004                  $12,000.00
9074887             2004‐HS2                           6/10/2004                  $53,000.00
9074911             2004‐HI3                           6/15/2004                  $35,000.00
9075013             2004‐HI3                           8/26/2004                  $35,000.00
9080028             2004‐S3                            2/10/2004                 $316,500.00
9080267             2004‐HS3                           6/23/2004                  $35,000.00
9080273             2004‐HI3                           6/22/2004                  $32,000.00
9080279             2004‐HI3                           6/29/2004                  $60,000.00
9080483             2004‐HS3                           6/23/2004                  $18,400.00
9080485             2004‐HS3                           6/22/2004                  $30,750.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9080673             2004‐HS3                            7/2/2004                  $24,000.00
9081966             2004‐HS1                           2/18/2004                  $53,500.00
9081982             2004‐HS1                           2/18/2004                 $120,000.00
9081990             2004‐HS2                           3/16/2004                  $37,599.67
9082158             2004‐HS2                           3/11/2004                  $41,000.00
9085492             2004‐S3                            2/17/2004                 $392,300.00
9087837             2004‐HI3                           6/23/2004                  $42,000.00
9087843             2004‐HS3                            7/1/2004                  $29,000.00
9087847             2004‐HS3                           7/13/2004                  $17,000.00
9087851             2004‐HI3                           6/23/2004                  $29,000.00
9088287             2004‐HS3                           6/25/2004                  $43,000.00
9088289             2004‐HS3                           7/19/2004                  $75,000.00
9090022             2004‐HI1                           2/12/2004                  $35,000.00
9090030             2004‐HS1                           2/11/2004                  $33,500.00
9091170             2004‐HS1                           2/11/2004                  $40,000.00
9092030             2004‐HI1                            3/1/2004                  $35,000.00
9092036             2004‐HI1                           2/24/2004                  $43,800.00
9092260             2004‐HS1                           2/24/2004                  $30,500.00
9092492             2004‐HI1                           2/25/2004                  $50,000.00
9092578             2004‐QS5                           3/29/2004                  $75,200.00
9094235             2004‐HS3                           6/25/2004                  $15,400.00
9094249             2004‐HS3                           6/25/2004                  $20,550.00
9094253             2004‐HS3                            8/3/2004                  $42,700.00
9094255             2004‐HS3                           6/24/2004                  $29,000.00
9094359             2004‐HS3                            7/2/2004                 $150,000.00
9094481             2004‐HS3                           7/19/2004                  $59,000.00
9094501             2004‐HS3                           6/25/2004                  $82,500.00
9098090             2004‐HS1                           2/26/2004                  $57,400.00
9098116             2004‐HS1                           2/25/2004                  $40,000.00
9098118             2004‐HS1                           2/25/2004                  $34,000.00
9098124             2004‐HS1                           2/25/2004                  $35,000.00
9098126             2004‐HS1                           2/25/2004                  $50,000.00
9098130             2004‐HS1                           2/26/2004                  $39,000.00
9098134             2004‐HS1                           2/25/2004                  $75,000.00
9098136             2004‐HS1                           2/25/2004                  $20,000.00
9098140             2004‐HS1                           2/25/2004                  $45,800.00
9098142             2004‐HS2                           3/12/2004                  $32,923.59
9098144             2004‐HS1                           2/25/2004                  $45,400.00
9098146             2004‐HS1                           2/25/2004                  $29,000.00
9098148             2004‐HS1                           2/26/2004                  $37,000.00
9098150             2004‐HS1                           3/10/2004                  $46,500.00
9098154             2004‐HS2                           2/25/2004                  $49,358.39
9098156             2004‐HS1                           2/25/2004                  $18,000.00
9098158             2004‐HS1                           2/25/2004                  $48,000.00
9098168             2004‐HS1                           2/25/2004                  $60,000.00
9098222             2004‐HS1                           2/25/2004                  $64,000.00
9098288             2004‐HS1                           2/26/2004                  $35,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9098300             2004‐HS1                           2/25/2004                 $100,000.00
9098434             2004‐HS1                           2/26/2004                  $40,000.00
9098442             2004‐HS2                           2/26/2004                  $70,000.00
9098466             2004‐HS1                           2/26/2004                  $95,000.00
9098470             2004‐HS1                           2/26/2004                  $17,300.00
9098478             2004‐HS1                           2/26/2004                  $30,000.00
9098496             2004‐HS1                           2/26/2004                  $35,000.00
9098506             2004‐HS1                           2/26/2004                  $29,350.00
9098584             2004‐HI1                           2/27/2004                  $40,000.00
9098592             2004‐HI1                           2/27/2004                  $60,000.00
9098596             2004‐HS1                            3/1/2004                  $45,000.00
9104189             2004‐HS3                           7/20/2004                  $25,000.00
9104207             2004‐HS3                            8/4/2004                  $25,000.00
9104479             2004‐HS3                           6/30/2004                  $18,500.00
9104487             2004‐HI3                           6/30/2004                  $35,000.00
9104497             2004‐HS3                           6/30/2004                  $30,000.00
9104561             2004‐HI3                            7/8/2004                  $70,000.00
9104693             2004‐HS3                           7/19/2004                  $95,000.00
9110032             2004‐HS1                           2/27/2004                  $50,000.00
9110034             2004‐HS1                            3/1/2004                  $29,100.00
9110038             2004‐HS1                           2/27/2004                  $16,590.00
9110160             2004‐HS1                            3/1/2004                  $25,000.00
9110170             2004‐HS1                            3/2/2004                  $34,000.00
9110172             2004‐HS1                            3/1/2004                  $32,500.00
9110202             2004‐HS1                            3/5/2004                  $45,000.00
9110318             2004‐HI1                            3/3/2004                  $65,000.00
9110322             2004‐HI1                            3/4/2004                  $60,000.00
9110427             2004‐HS3                           6/30/2004                  $32,300.00
9110471             2004‐HS3                           6/30/2004                  $40,200.00
9110479             2004‐HS3                            7/2/2004                  $27,000.00
9110741             2004‐HS3                           7/14/2004                  $76,000.00
9113843             2004‐HS3                            7/2/2004                  $82,000.00
9113887             2004‐HS3                            7/2/2004                  $56,700.00
9113967             2004‐HS3                           7/14/2004                  $36,600.00
9113977             2004‐HS3                            7/2/2004                  $24,000.00
9113981             2004‐HI3                            7/2/2004                  $75,000.00
9113993             2004‐HS3                            7/2/2004                  $33,000.00
9114133             2004‐HS3                           7/19/2004                  $35,500.00
9114185             2004‐HS3                            7/9/2004                  $52,500.00
9114187             2004‐HS3                           7/16/2004                  $80,000.00
9114269             2004‐HS3                           7/30/2004                  $51,000.00
9114279             2004‐HS3                            7/9/2004                  $33,300.00
9114315             2004‐HS3                           7/12/2004                  $35,000.00
9114341             2004‐HS3                            7/9/2004                  $61,000.00
9114343             2004‐HI3                           7/12/2004                  $74,000.00
9116818             2004‐HI2                            3/9/2004                  $24,962.83
9117492             2004‐QS3                           2/27/2004                 $240,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9118162             2004‐HS1                            3/4/2004                  $65,000.00
9118220             2004‐HS2                            3/3/2004                  $28,091.84
9118222             2004‐HS1                            3/4/2004                  $47,000.00
9118240             2004‐HS1                            3/4/2004                  $40,000.00
9118246             2004‐HS1                            3/4/2004                  $25,600.00
9118250             2004‐HS2                           3/24/2004                  $45,500.00
9118264             2004‐HS1                            3/4/2004                  $25,050.00
9118324             2004‐HS1                            3/4/2004                  $27,500.00
9118336             2004‐HS1                            3/4/2004                  $34,100.00
9118354             2004‐HS1                            3/3/2004                  $69,000.00
9118366             2004‐HS1                            3/5/2004                  $50,000.00
9118374             2004‐HS1                            3/4/2004                  $56,000.00
9118382             2004‐HS1                            3/4/2004                  $20,000.00
9118386             2004‐HS1                            3/4/2004                  $50,000.00
9118418             2004‐HS1                            3/4/2004                  $63,600.00
9118426             2004‐HS1                            3/4/2004                  $13,000.00
9118460             2004‐HS1                            3/4/2004                  $48,000.00
9123176             2004‐QS4                            3/4/2004                 $129,200.00
9125081             2004‐HS3                            7/9/2004                  $30,000.00
9125387             2004‐HI3                            7/9/2004                  $39,300.00
9125391             2004‐HI3                           7/16/2004                  $30,000.00
9125395             2004‐HS3                            7/9/2004                  $18,700.00
9125663             2004‐HI3                           7/12/2004                  $50,000.00
9129660             2004‐HS1                            3/8/2004                  $36,000.00
9129674             2004‐HS1                            3/8/2004                  $25,000.00
9129676             2004‐HS1                            3/8/2004                  $53,300.00
9129678             2004‐HS1                            3/5/2004                  $25,000.00
9129702             2004‐HS1                            3/8/2004                  $37,500.00
9129742             2004‐HS1                            3/5/2004                  $33,000.00
9129746             2004‐HS2                           3/10/2004                  $29,500.00
9129752             2004‐HS1                            3/5/2004                  $20,000.00
9129760             2004‐HI2                           3/10/2004                  $34,862.48
9129762             2004‐HS1                            3/9/2004                  $32,400.00
9129846             2004‐HI2                           3/11/2004                  $59,728.65
9129854             2004‐HI2                           3/22/2004                  $34,972.30
9129858             2004‐HS1                            3/8/2004                  $43,000.00
9129928             2004‐HS1                           3/10/2004                  $19,000.00
9129930             2004‐HS1                           3/10/2004                  $10,000.00
9129934             2004‐HS1                            3/9/2004                  $50,000.00
9129936             2004‐HS1                            3/9/2004                  $15,000.00
9129952             2004‐HS1                           3/10/2004                  $45,000.00
9129956             2004‐HS2                           3/11/2004                  $22,200.00
9129970             2004‐HS1                            3/9/2004                  $38,000.00
9129976             2004‐HS2                           3/11/2004                  $56,918.55
9129978             2004‐HS1                            3/8/2004                  $30,000.00
9129986             2004‐HS2                           3/11/2004                  $27,916.69
9129990             2004‐HS1                            3/8/2004                  $43,600.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9129994             2004‐HS2                           3/12/2004                  $14,533.61
9129996             2004‐HS1                            3/8/2004                  $25,000.00
9129998             2004‐HS1                           3/10/2004                  $11,000.00
9130042             2004‐HS1                            3/9/2004                  $31,000.00
9130044             2004‐HS2                           3/11/2004                  $49,417.98
9130046             2004‐HS2                           3/11/2004                  $76,600.00
9130096             2004‐HS2                           3/11/2004                  $19,942.47
9130100             2004‐HS1                            3/9/2004                  $20,600.00
9130104             2004‐HS2                           3/12/2004                  $39,237.03
9130106             2004‐HS1                           3/10/2004                  $35,000.00
9130108             2004‐HS1                           3/10/2004                  $88,000.00
9130116             2004‐HS2                           3/15/2004                  $36,985.51
9130136             2004‐HS1                            3/9/2004                  $52,500.00
9130178             2004‐HS1                            3/8/2004                  $60,500.00
9130186             2004‐HS1                            3/8/2004                  $15,000.00
9130200             2004‐HS1                            3/9/2004                 $150,000.00
9131153             2004‐HS3                           7/12/2004                  $60,000.00
9131155             2004‐HS3                           7/12/2004                  $99,000.00
9131179             2004‐HI3                           7/16/2004                  $56,000.00
9131305             2004‐HI3                           7/22/2004                  $38,000.00
9131333             2004‐HS3                           7/12/2004                  $21,000.00
9131403             2004‐HI3                           7/12/2004                  $48,000.00
9131413             2004‐HI3                           7/14/2004                  $60,000.00
9133238             2004‐S2                             3/3/2004                 $386,000.00
9133282             2004‐S3                            3/12/2004                 $464,000.00
9137598             2004‐HS1                            3/1/2004                  $20,000.00
9137816             2004‐HS2                           3/16/2004                  $10,000.00
9137844             2004‐HI2                           3/10/2004                  $59,695.74
9137874             2004‐HS2                           3/12/2004                  $19,197.23
9137876             2004‐HS2                           3/11/2004                  $14,944.38
9137884             2004‐HS2                           3/12/2004                  $34,919.70
9137910             2004‐HS2                           3/11/2004                  $10,000.00
9137928             2004‐HS2                           3/11/2004                 $100,290.44
9137934             2004‐HS2                           3/11/2004                  $35,000.00
9137958             2004‐HS2                           3/11/2004                  $22,252.36
9137960             2004‐HS2                           3/11/2004                  $26,082.22
9137964             2004‐HS2                           3/11/2004                  $24,077.57
9138090             2004‐HI2                           3/11/2004                  $22,598.15
9138092             2004‐HS2                           3/11/2004                  $51,900.00
9138106             2004‐HS2                           3/11/2004                  $10,950.00
9138110             2004‐HS2                           3/11/2004                  $59,500.00
9138504             2004‐HS1                           2/26/2004                  $90,000.00
9139797             2004‐HS3                            7/1/2004                  $29,700.00
9140841             2004‐HS3                           6/30/2004                  $43,000.00
9140851             2004‐HS3                            7/8/2004                  $90,000.00
9140969             2004‐HS3                            7/1/2004                  $61,500.00
9141203             2004‐HS3                           7/21/2004                  $30,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9141257             2004‐HS3                            7/1/2004                  $63,800.00
9141329             2004‐HS3                           7/16/2004                  $29,200.00
9142869             2004‐HI3                           7/19/2004                  $35,000.00
9142879             2004‐HI3                           7/14/2004                  $32,400.00
9144472             2004‐HS2                           3/11/2004                  $17,599.63
9144474             2004‐HS2                           3/11/2004                  $27,393.70
9144524             2004‐HS2                           3/11/2004                  $49,400.00
9144568             2004‐HS2                           3/12/2004                  $39,500.00
9144578             2004‐HS2                           3/15/2004                  $11,469.81
9144592             2004‐HS2                           3/12/2004                  $49,343.81
9144594             2004‐HS2                           3/15/2004                  $27,564.44
9144606             2004‐HS2                           3/11/2004                  $74,000.00
9144714             2004‐HS2                           3/12/2004                  $35,000.00
9144728             2004‐HS2                           3/17/2004                  $39,488.30
9144766             2004‐HS2                           3/15/2004                  $52,476.21
9144916             2004‐HS2                           3/16/2004                  $55,000.00
9144924             2004‐HS2                           3/15/2004                  $23,957.20
9147136             2004‐QS4                            3/5/2004                 $164,000.00
9149919             2004‐RZ3                           7/13/2004                  $71,300.00
9150043             2004‐QS13                           7/9/2004                 $208,000.00
9150303             2004‐HS3                            7/8/2004                  $10,000.00
9150361             2004‐HI3                            7/8/2004                  $60,000.00
9150389             2004‐HI3                            7/8/2004                  $50,000.00
9150441             2004‐HS3                            7/8/2004                  $35,000.00
9153014             2004‐HS1                            3/4/2004                  $30,000.00
9153048             2004‐HS1                            3/4/2004                  $55,000.00
9153054             2004‐HS1                            3/3/2004                  $34,000.00
9153060             2004‐HS1                            3/3/2004                  $65,850.00
9154844             2004‐HS2                           3/15/2004                  $26,480.42
9154964             2004‐HS2                           3/16/2004                  $33,969.86
9154972             2004‐HI2                           3/19/2004                  $42,397.46
9155012             2004‐HS2                           3/17/2004                  $14,835.00
9155020             2004‐HS2                           3/16/2004                  $15,800.00
9155044             2004‐HS2                           3/16/2004                  $62,500.00
9155078             2004‐HS2                           3/17/2004                  $39,764.22
9155084             2004‐HS2                           3/16/2004                  $68,714.35
9155096             2004‐HS2                           3/17/2004                  $74,341.78
9155102             2004‐HS2                           3/16/2004                  $29,971.42
9156864             2004‐QS5                           3/15/2004                 $516,300.00
9156944             2004‐HS1                            3/5/2004                  $48,500.00
9156964             2004‐HS1                            3/5/2004                  $40,000.00
9156992             2004‐HS1                            3/5/2004                  $55,500.00
9157058             2004‐HI2                           3/10/2004                  $34,972.67
9157226             2004‐HI2                            3/8/2004                  $34,787.04
9159010             2004‐HI2                            3/5/2004                  $45,065.68
9159046             2004‐HI2                           3/10/2004                  $74,809.49
9159088             2004‐HS1                           3/10/2004                  $27,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9160719             2004‐HS3                           7/12/2004                  $35,000.00
9163074             2004‐HS1                           3/10/2004                  $34,100.00
9166338             2004‐HS2                           3/19/2004                  $21,892.17
9166356             2004‐HS2                           3/17/2004                  $25,098.51
9166372             2004‐HS2                           3/17/2004                  $19,785.42
9166510             2004‐HS2                           3/22/2004                  $69,966.85
9166516             2004‐HS2                           3/22/2004                  $10,888.47
9166538             2004‐HS2                           3/23/2004                  $23,699.34
9166562             2004‐HS2                           3/22/2004                  $37,000.00
9166570             2004‐HS2                           3/22/2004                  $15,550.54
9166582             2004‐HS2                           3/22/2004                  $11,957.19
9166626             2004‐HS2                           3/22/2004                  $16,500.00
9166628             2004‐HS2                           3/23/2004                  $34,900.00
9166702             2004‐HS2                           3/22/2004                  $51,050.00
9166892             2004‐HS2                           3/23/2004                  $23,980.72
9166898             2004‐HS2                           3/23/2004                  $17,841.07
9166900             2004‐HS2                           3/23/2004                  $20,000.00
9166904             2004‐HS2                           3/23/2004                  $28,000.00
9171356             2004‐S2                            3/16/2004                 $341,250.00
9171612             2004‐HS2                           3/30/2004                  $29,750.00
9171614             2004‐HS2                           3/23/2004                  $49,500.00
9171636             2004‐HS2                           3/23/2004                  $25,000.00
9171638             2004‐HS2                           3/23/2004                  $17,499.71
9171644             2004‐HS2                           3/25/2004                  $48,500.00
9171742             2004‐HS2                           3/23/2004                  $17,294.24
9171864             2004‐HS2                           4/23/2004                  $19,990.00
9171926             2004‐HS2                           3/23/2004                  $26,504.69
9172016             2004‐HS2                           3/25/2004                 $145,000.00
9172028             2004‐HS2                           3/25/2004                  $14,464.56
9172034             2004‐HI2                           3/30/2004                  $59,776.31
9172036             2004‐HS2                           3/24/2004                  $89,800.00
9172104             2004‐HS2                           3/24/2004                  $24,809.59
9172110             2004‐HS2                           3/26/2004                  $35,736.06
9174053             2004‐HS3                            8/4/2004                  $35,000.00
9178119             2004‐HS3                           7/16/2004                  $27,700.00
9178185             2004‐HS3                           7/16/2004                  $82,000.00
9178241             2004‐HI3                           7/22/2004                  $46,000.00
9180188             2004‐HS2                           3/25/2004                  $31,300.00
9180192             2004‐HS2                           3/26/2004                  $29,887.77
9180194             2004‐HS2                           3/25/2004                  $47,463.55
9180208             2004‐HS2                           3/26/2004                  $14,800.00
9180218             2004‐HS2                           3/24/2004                  $22,950.05
9180508             2004‐HS2                           3/26/2004                  $19,923.01
9180546             2004‐HS2                           3/26/2004                  $47,250.00
9181132             2004‐HS2                           3/15/2004                  $26,349.73
9181266             2004‐HS2                           3/15/2004                  $29,988.77
9181453             2004‐HS3                           8/20/2004                  $30,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9181509             2004‐HS3                           7/21/2004                  $40,000.00
9181561             2004‐HS3                           7/23/2004                  $34,800.00
9181563             2004‐HS3                           8/13/2004                 $100,000.00
9181567             2004‐HS3                           7/21/2004                  $34,200.00
9181765             2004‐HS3                           7/23/2004                  $57,000.00
9181813             2004‐HS3                           7/23/2004                  $45,750.00
9181933             2004‐HS3                           7/27/2004                  $15,000.00
9182111             2004‐HS3                           7/28/2004                  $68,000.00
9182751             2004‐HS3                            8/4/2004                  $10,000.00
9182937             2004‐HS3                           7/30/2004                  $36,000.00
9182941             2004‐HS3                           7/30/2004                  $24,750.00
9183229             2004‐HI3                           8/17/2004                  $34,000.00
9183321             2004‐HI3                            8/6/2004                  $50,000.00
9183349             2004‐HS3                            8/6/2004                  $30,000.00
9183377             2004‐HI3                            8/3/2004                  $45,000.00
9183429             2004‐HI3                           8/24/2004                  $31,000.00
9183431             2004‐HS3                            8/6/2004                  $60,000.00
9183471             2004‐HS3                            8/6/2004                  $98,000.00
9183523             2004‐HS3                           8/11/2004                  $75,000.00
9187460             2004‐RZ2                           3/17/2004                 $135,000.00
9187486             2004‐QS5                           3/23/2004                 $274,400.00
9188650             2004‐HS2                           3/29/2004                  $45,086.80
9188652             2004‐HS2                           3/26/2004                  $74,965.04
9188660             2004‐HI2                           3/26/2004                  $29,867.44
9188722             2004‐HS2                           3/30/2004                  $58,000.00
9188806             2004‐HS2                           3/29/2004                  $27,495.40
9189018             2004‐HS2                           3/30/2004                  $64,671.49
9194894             2004‐HI2                           3/23/2004                  $49,897.51
9195261             2004‐HI3                           7/20/2004                  $32,000.00
9195277             2004‐HI3                           7/20/2004                  $50,000.00
9197830             2004‐HS2                           3/31/2004                  $34,831.64
9197994             2004‐HS3                           3/31/2004                  $20,000.00
9198234             2004‐HS2                            4/1/2004                  $36,969.48
9198252             2004‐HS2                            4/1/2004                  $27,660.78
9198404             2004‐HS2                            4/7/2004                  $30,000.00
9199736             2004‐QS5                           3/26/2004                  $71,000.00
9201829             2004‐HI3                            8/6/2004                  $35,000.00
9201839             2004‐HS3                           8/11/2004                  $75,100.00
9201843             2004‐HI3                           8/27/2004                  $27,500.00
9201905             2004‐HI3                            8/6/2004                  $35,000.00
9202383             2004‐HI3                           8/13/2004                  $32,700.00
9202385             2004‐HS3                            8/5/2004                  $19,000.00
9202530             2004‐HS2                            4/2/2004                  $19,939.00
9202536             2004‐HS2                            4/6/2004                  $10,000.00
9202540             2004‐HS2                            4/2/2004                  $24,878.08
9202560             2004‐HS2                            4/2/2004                  $70,000.00
9202578             2004‐HS2                            4/7/2004                  $20,550.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9202586             2004‐HS2                            4/9/2004                  $10,000.00
9202590             2004‐HS2                            4/7/2004                  $26,881.81
9202600             2004‐HS2                            4/7/2004                  $82,796.00
9202622             2004‐HS2                            4/5/2004                  $47,131.38
9202644             2004‐HS2                            4/5/2004                  $32,500.00
9202674             2004‐HS2                            4/7/2004                  $33,203.42
9202680             2004‐HS2                            4/7/2004                  $39,948.36
9202704             2004‐HS2                            4/5/2004                  $43,700.00
9202832             2004‐HS2                            4/9/2004                  $40,622.05
9202906             2004‐HS2                            4/6/2004                  $50,000.00
9203030             2004‐HI2                            4/7/2004                  $53,363.14
9203032             2004‐HS2                            4/7/2004                  $43,500.00
9203036             2004‐HS2                            4/9/2004                  $35,000.00
9203038             2004‐HS2                            4/7/2004                  $46,481.39
9203040             2004‐HS2                            4/7/2004                  $34,300.00
9203066             2004‐HS2                            4/7/2004                  $13,200.00
9208434             2004‐HS2                            4/7/2004                  $40,650.00
9208480             2004‐HS2                            4/7/2004                  $42,618.36
9208482             2004‐HS2                            4/7/2004                  $28,206.06
9208616             2004‐HS2                            4/6/2004                  $69,000.00
9208652             2004‐HI2                            4/7/2004                  $26,500.00
9208742             2004‐HI2                            4/9/2004                  $34,968.68
9208760             2004‐HS2                            4/8/2004                  $66,865.95
9208804             2004‐HI2                            4/9/2004                  $49,903.43
9208812             2004‐HS2                            4/8/2004                  $25,866.50
9208836             2004‐HI2                            4/8/2004                  $17,985.45
9208866             2004‐HS2                            4/9/2004                 $100,000.00
9208868             2004‐HI2                            4/9/2004                  $61,719.60
9208870             2004‐HS2                            4/9/2004                  $61,957.97
9208880             2004‐HS2                            4/9/2004                  $23,000.00
9208934             2004‐HS2                            4/8/2004                  $30,000.00
9208938             2004‐HI2                            4/8/2004                  $23,988.57
9208952             2004‐HS2                            4/9/2004                  $39,008.74
9209000             2004‐HS2                            4/8/2004                  $70,000.00
9221179             2004‐HS3                           8/10/2004                 $100,000.00
9221189             2004‐HS3                           8/10/2004                  $35,000.00
9221205             2004‐HS3                            8/6/2004                  $93,200.00
9221211             2004‐HS3                           8/13/2004                  $75,000.00
9221247             2004‐HS3                            8/6/2004                  $75,000.00
9221315             2004‐HI3                            8/6/2004                  $43,000.00
9221333             2004‐HS3                           8/11/2004                  $70,000.00
9221427             2004‐HS3                           8/10/2004                  $30,900.00
9221571             2004‐HS3                           8/10/2004                  $34,000.00
9221579             2004‐HS3                           8/12/2004                  $51,750.00
9221593             2004‐HS3                           8/11/2004                  $15,000.00
9221601             2004‐HS3                           8/10/2004                 $110,000.00
9221719             2004‐HS3                           8/12/2004                  $36,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9221725             2004‐HS3                           8/16/2004                  $45,000.00
9221727             2004‐HS3                           8/12/2004                  $60,000.00
9221940             2004‐HS2                            4/8/2004                  $26,100.00
9221944             2004‐HS2                            4/8/2004                  $15,688.96
9221946             2004‐HS2                           4/16/2004                  $24,999.59
9221948             2004‐HS2                           4/12/2004                  $69,678.36
9221950             2004‐HS2                           4/12/2004                   $9,023.84
9221954             2004‐HI2                           4/12/2004                  $19,980.86
9221956             2004‐HS2                            4/8/2004                  $13,870.60
9221958             2004‐HS2                           4/12/2004                  $47,867.33
9221988             2004‐HS2                           4/13/2004                  $96,300.00
9221998             2004‐HS2                            4/9/2004                  $46,621.14
9222152             2004‐HS2                           4/13/2004                  $50,000.00
9222154             2004‐HS2                           4/22/2004                  $35,888.77
9222156             2004‐HS2                           4/13/2004                  $71,000.00
9222158             2004‐HS2                           4/13/2004                  $50,000.00
9222314             2004‐HS2                           4/13/2004                  $44,661.78
9228130             2004‐S5                             4/9/2004                 $345,950.00
9228214             2004‐S6                             4/7/2004                 $417,000.00
9228941             2004‐HS3                            8/2/2004                  $10,000.00
9230091             2004‐HS3                           7/29/2004                  $15,000.00
9231217             2004‐QS12                           8/6/2004                 $136,000.00
9232090             2004‐HS2                           4/14/2004                 $108,777.73
9232304             2004‐HS2                           4/13/2004                  $39,000.00
9232584             2004‐HS2                           4/15/2004                  $24,849.32
9232588             2004‐HS2                           4/14/2004                  $69,000.00
9232592             2004‐HS2                           4/15/2004                  $86,377.99
9234865             2004‐HI3                           8/12/2004                  $30,000.00
9234867             2004‐HS3                           8/12/2004                 $100,000.00
9234899             2004‐HI3                           8/12/2004                  $47,000.00
9235301             2004‐HS3                           8/12/2004                  $27,600.00
9236445             2004‐HS3                           7/29/2004                  $21,500.00
9243368             2004‐HS2                            4/5/2004                  $65,311.56
9245846             2004‐S4                            4/15/2004                 $367,500.00
9248498             2004‐HS2                           4/15/2004                  $49,868.12
9250539             2004‐HS3                           8/20/2004                  $60,900.00
9250545             2004‐HS3                           8/20/2004                  $36,000.00
9250563             2004‐HI3                           8/25/2004                  $49,500.00
9253138             2004‐S4                            4/14/2004                 $297,000.00
9256558             2004‐HS2                           4/20/2004                  $63,620.99
9256564             2004‐HS2                           4/20/2004                  $75,000.00
9256574             2004‐HI2                           4/20/2004                  $39,775.83
9256648             2004‐HI2                           4/19/2004                  $49,902.27
9256722             2004‐HS2                           4/23/2004                  $25,000.00
9256746             2004‐HS2                           4/27/2004                  $68,000.00
9256798             2004‐HS2                            5/7/2004                  $17,400.00
9256800             2004‐HI2                           5/10/2004                  $36,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9256804             2004‐HI2                           5/28/2004                  $35,000.00
9256810             2004‐HI2                           5/14/2004                  $75,000.00
9256856             2004‐HS2                           5/11/2004                  $74,156.25
9256860             2004‐HI2                           5/13/2004                  $49,981.02
9256862             2004‐HS2                           5/11/2004                  $23,000.00
9256864             2004‐HI2                           5/13/2004                  $59,868.04
9256866             2004‐HS2                           5/18/2004                  $23,036.39
9256878             2004‐HS2                           5/13/2004                  $34,000.00
9256880             2004‐HS2                           5/11/2004                  $32,000.00
9256912             2004‐HS2                           5/25/2004                  $75,000.00
9256916             2004‐HS2                           5/13/2004                  $66,300.00
9262932             2004‐S4                            4/16/2004                 $455,000.00
9264390             2004‐HS2                           5/13/2004                  $40,500.00
9264430             2004‐HS2                           5/19/2004                  $68,000.00
9264482             2004‐HS2                           5/11/2004                  $28,000.00
9264536             2004‐HS3                           6/14/2004                  $71,000.00
9264538             2004‐HS2                           5/14/2004                  $28,700.00
9264574             2004‐HI2                           5/18/2004                  $61,000.00
9264588             2004‐HS2                           5/11/2004                  $42,000.00
9264612             2004‐HS2                           5/11/2004                  $30,000.00
9264618             2004‐HS2                           5/11/2004                  $93,000.00
9264642             2004‐HS2                           5/18/2004                  $41,500.00
9264696             2004‐HS2                           5/19/2004                  $45,750.00
9264740             2004‐HS2                            6/4/2004                  $10,962.17
9264958             2004‐HS2                           5/13/2004                  $56,800.00
9264972             2004‐HS2                           5/13/2004                  $39,500.00
9272762             2004‐HI2                           5/17/2004                  $33,000.00
9272852             2004‐HS2                           5/18/2004                  $23,000.00
9272856             2004‐HS3                            8/3/2004                  $39,000.00
9274566             2004‐S5                            4/27/2004                 $375,000.00
9274606             2004‐SA1                           4/27/2004                 $336,000.00
9281582             2004‐HS2                           4/23/2004                  $73,500.00
9281592             2004‐HI2                           5/18/2004                  $34,928.26
9281608             2004‐HI2                           5/19/2004                  $16,488.59
9281614             2004‐HS2                           5/18/2004                  $75,000.00
9281620             2004‐HS2                           5/24/2004                  $58,300.00
9281706             2004‐HS2                           5/21/2004                  $25,000.00
9281772             2004‐HS2                           5/19/2004                  $54,000.00
9281784             2004‐HI2                           5/18/2004                  $44,909.92
9281786             2004‐HI2                           5/18/2004                  $27,000.00
9281794             2004‐HS2                           6/10/2004                  $39,600.00
9282096             2004‐HS2                           5/28/2004                  $22,500.00
9282102             2004‐HS2                           5/19/2004                  $36,000.00
9282172             2004‐HS2                           5/19/2004                  $20,000.00
9282184             2004‐HS2                           5/19/2004                  $30,000.00
9282188             2004‐HS2                           4/15/2004                  $49,690.41
9438927             2004‐HS3                           8/27/2004                  $69,500.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9438989             2004‐HS3                           8/26/2004                  $54,500.00
9439027             2004‐HI3                           8/25/2004                  $49,000.00
9439385             2004‐HS3                           8/26/2004                  $31,200.00
9439391             2005‐HI1                           9/17/2004                  $35,000.00
9439395             2004‐HS3                           8/27/2004                  $34,000.00
9439415             2004‐HI3                           8/27/2004                  $25,000.00
9446159             2004‐HS3                           8/12/2004                  $20,500.00
9446631             2004‐HI3                           8/12/2004                  $60,000.00
9447733             2004‐HS3                           8/26/2004                  $26,000.00
9447881             2004‐HS3                           8/27/2004                  $40,000.00
9450827             2004‐HI3                           8/13/2004                  $50,000.00
9450839             2004‐HI3                           8/27/2004                  $75,000.00
9450965             2004‐HS3                           8/23/2004                  $35,800.00
9454919             2004‐HS3                           8/24/2004                 $120,350.00
9457257             2005‐HI1                            9/3/2004                  $35,000.00
9457265             2005‐HI1                           9/15/2004                  $35,500.00
9457267             2004‐HS3                            9/3/2004                  $35,800.00
9457287             2004‐HS3                            9/8/2004                  $97,000.00
9457481             2005‐HI1                           9/29/2004                  $30,000.00
9457493             2004‐HS3                            9/7/2004                  $43,500.00
9457521             2005‐HI1                            9/7/2004                  $67,500.00
9457579             2004‐HS3                            9/7/2004                  $38,000.00
9457619             2004‐HS3                            9/7/2004                  $51,700.00
9457697             2004‐HS3                           9/14/2004                  $25,000.00
9461329             2004‐HI3                           8/20/2004                  $28,300.00
9463791             2004‐HS3                           8/25/2004                  $20,000.00
9465969             2004‐HS3                            9/9/2004                  $25,000.00
9466017             2004‐HS3                            9/3/2004                  $32,800.00
9466131             2004‐HS3                           9/10/2004                  $40,900.00
9468153             2004‐HI3                           8/27/2004                  $38,500.00
9474579             2004‐HI3                           8/27/2004                  $60,000.00
9474585             2005‐HI1                           9/22/2004                  $35,000.00
9474617             2004‐HS3                           8/27/2004                  $95,000.00
9474647             2004‐HS3                           8/26/2004                  $48,600.00
9495925             2004‐HS3                           8/30/2004                  $25,000.00
9495937             2004‐HS3                           9/14/2004                  $17,500.00
9509353             2004‐HS3                           9/10/2004                  $61,600.00
9509813             2005‐HI1                           9/14/2004                  $35,000.00
9509945             2005‐HI1                           9/10/2004                  $50,000.00
9509965             2004‐HI3                           9/13/2004                  $45,000.00
9509969             2005‐HI1                           9/10/2004                  $35,000.00
9510203             2005‐HI1                           9/15/2004                  $35,000.00
9510205             2005‐HI1                           9/23/2004                  $50,000.00
9510223             2005‐HI1                          10/12/2004                  $33,900.00
9510363             2005‐HI1                           9/15/2004                  $40,000.00
9512723             2005‐HI1                           9/23/2004                  $60,000.00
9513249             2005‐HI1                           9/22/2004                  $50,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9521873             2005‐HI1                           9/23/2004                  $60,000.00
9527407             2004‐HS3                           9/10/2004                  $33,000.00
9527415             2004‐HS3                           9/14/2004                  $28,000.00
9529979             2004‐HS3                            9/8/2004                  $55,000.00
9531029             2004‐HS3                           9/14/2004                  $75,000.00
9540967             2005‐HI1                           9/30/2004                  $75,000.00
9541063             2005‐HI1                           9/24/2004                  $42,700.00
9541147             2005‐HI1                           9/29/2004                  $30,800.00
9551589             2005‐HI1                           9/29/2004                  $27,000.00
9551591             2005‐HI1                          10/19/2004                  $50,000.00
9559773             2005‐HI1                           9/30/2004                  $35,000.00
9559797             2005‐HI1                           9/30/2004                  $60,000.00
9559801             2005‐HI1                           10/7/2004                  $54,800.00
9559909             2005‐HI1                           10/1/2004                  $60,000.00
9559911             2005‐HI1                           11/1/2004                  $32,500.00
9559919             2005‐HI1                          10/12/2004                  $20,000.00
9560411             2005‐HI1                          10/12/2004                  $35,000.00
9571627             2005‐HI1                           10/7/2004                  $39,800.00
9571735             2005‐HI1                          10/14/2004                  $42,500.00
9571737             2005‐HI1                          10/12/2004                  $43,500.00
9571741             2005‐HI1                           11/9/2004                  $25,000.00
9572221             2005‐HI1                           10/7/2004                  $75,000.00
9582509             2005‐HI1                          10/14/2004                  $27,000.00
9582529             2005‐HI1                          10/14/2004                  $39,000.00
9585945             2005‐QA1                           10/7/2004                 $370,000.00
9587169             2005‐HI1                          10/29/2004                  $50,000.00
9594413             2005‐HI1                          10/27/2004                  $35,000.00
9594415             2006‐HSA4                          11/9/2004                  $25,000.00
9594659             2005‐HI1                          11/10/2004                  $46,000.00
9603815             2004‐RZ4                          10/29/2004                  $85,000.00
9611947             2005‐HI1                          10/29/2004                  $48,500.00
9611953             2005‐HI1                           11/9/2004                  $50,000.00
9616285             2005‐HI1                           11/1/2004                  $48,000.00
9616335             2005‐HI1                           11/3/2004                  $50,000.00
9617915             2004‐QS16                         10/29/2004                 $130,500.00
9623947             2005‐HI1                           11/9/2004                  $52,500.00
9630777             2005‐HI1                          11/10/2004                  $35,000.00
9631001             2005‐HI1                           12/9/2004                  $60,000.00
9631133             2005‐HI1                          11/15/2004                  $35,600.00
9631145             2005‐HI1                          11/22/2004                  $35,100.00
9639891             2005‐HI1                          11/19/2004                  $38,000.00
9640197             2005‐HI1                          11/15/2004                  $46,500.00
9645203             2005‐HI1                          11/10/2004                  $38,700.00
9647543             2005‐HI1                          11/17/2004                  $39,900.00
9648195             2005‐HI1                          11/22/2004                  $67,800.00
9648647             2005‐HI1                          11/29/2004                  $39,000.00
9658315             2005‐HI1                           12/2/2004                  $35,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9661507             2004‐S9                           11/29/2004                 $210,000.00
9662739             2005‐HI1                           12/2/2004                  $60,000.00
9662975             2004‐S9                           11/24/2004                 $551,350.00
9669043             2005‐QS1                          12/10/2004                 $110,400.00
9672861             2005‐HI1                          11/23/2004                  $35,000.00
9678837             2005‐HI1                          12/10/2004                  $51,000.00
9678855             2005‐HS1                          12/10/2004                  $68,000.00
9678859             2005‐HI1                          12/10/2004                  $47,000.00
9678879             2005‐HI1                          12/10/2004                  $35,000.00
9678919             2005‐HI1                          12/13/2004                  $33,200.00
9679241             2005‐HS2                          12/13/2004                  $40,000.00
9679261             2005‐HI1                          12/13/2004                  $35,000.00
9693625             2005‐HI1                           12/1/2004                  $60,000.00
9705757             2005‐HI1                          12/22/2004                  $33,000.00
9705761             2005‐HI1                          12/22/2004                  $35,000.00
9710675             2005‐HI1                          12/30/2004                  $66,700.00
9721313             2005‐HI1                          12/20/2004                  $52,000.00
9721993             2005‐QS3                          12/31/2004                  $89,000.00
9722933             2005‐HI1                          12/28/2004                  $35,000.00
9724097             2005‐HI1                          12/30/2004                  $34,400.00
9724103             2005‐HI1                          12/22/2004                  $50,400.00
9724107             2005‐HI1                          12/22/2004                  $35,000.00
9725155             2005‐HI1                          12/30/2004                  $30,000.00
9748533             2005‐HI2                           1/26/2005                  $59,876.88
9748911             2005‐HI2                            2/8/2005                  $64,676.86
9751039             2005‐QS3                           1/31/2005                 $200,000.00
9751041             2005‐QS3                           1/12/2005                 $103,000.00
9755267             2005‐S1                            1/14/2005                 $393,000.00
9756407             2005‐HI2                            2/4/2005                  $48,903.74
9765061             2005‐S1                             2/1/2005                 $388,000.00
9766279             2005‐HI2                           1/21/2005                  $24,840.03
9770801             2005‐HI2                           2/11/2005                  $34,933.64
9780337             2005‐S2                             2/1/2005                 $380,000.00
9780479             2005‐HI2                           2/17/2005                  $39,224.33
9780763             2005‐HI2                           2/23/2005                  $49,808.62
9784579             2005‐QA5                           3/15/2005                 $340,000.00
9785645             2005‐HI2                           3/30/2005                  $59,755.73
9785651             2005‐HI2                           2/24/2005                  $49,805.86
9789105             2005‐QA2                           2/11/2005                 $240,000.00
9790629             2005‐QA2                           2/11/2005                 $232,000.00
9802013             2005‐HI2                           3/16/2005                  $39,837.54
9802953             2005‐QA3                           2/18/2005                 $464,000.00
9803913             2005‐QA5                           2/18/2005                 $362,879.01
9813083             2005‐QA5                           2/28/2005                 $255,000.00
9814305             2005‐QA4                            3/2/2005                 $259,000.00
9819209             2005‐QS4                           3/11/2005                 $104,000.00
9821395             2005‐QA3                           3/11/2005                 $360,014.97


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9828131             2005‐QS8                           3/21/2005                 $309,000.00
9829331             2005‐QA5                           3/16/2005                 $256,700.00
9830553             2005‐HI2                            4/8/2005                  $41,916.92
9830563             2005‐HI2                           4/11/2005                  $59,723.71
9830567             2005‐HI2                           4/11/2005                  $59,767.02
9830637             2005‐HS1                           4/11/2005                  $35,000.00
9830971             2005‐QS5                           3/15/2005                  $99,600.00
9835525             2005‐QA5                           3/21/2005                 $320,000.00
9836525             2005‐HI2                           4/26/2005                  $35,131.50
9836527             2005‐HI2                           4/26/2005                  $74,951.37
9836531             2005‐HI2                           4/14/2005                  $59,732.39
9836807             2005‐HI2                           4/18/2005                  $71,000.00
9842299             2005‐HI2                           4/25/2005                  $49,973.96
9842397             2005‐HI2                           4/27/2005                  $49,894.79
9856685             2005‐HS1                           5/10/2005                 $100,000.00
9856835             2005‐HI2                           5/16/2005                  $50,000.00
9863605             2005‐HS1                            4/1/2005                  $10,000.00
9870497             2005‐HS1                           5/13/2005                  $50,000.00
9870613             2005‐HI2                           5/18/2005                  $50,000.00
9870619             2005‐HI2                           5/24/2005                  $49,912.28
9870621             2005‐HI2                           5/18/2005                  $53,200.00
9870631             2005‐HI2                           5/18/2005                  $50,000.00
9871013             2005‐HS1                           7/19/2005                  $52,000.00
9878221             2005‐HI2                           4/18/2005                  $64,872.30
9878289             2005‐HI2                           4/26/2005                  $59,452.75
9879365             2005‐QA6                           4/20/2005                 $118,400.00
9884197             2005‐HI2                            6/1/2005                  $40,000.00
9884267             2005‐HS1                           5/31/2005                  $60,900.00
9884285             2005‐HS1                           5/31/2005                  $35,000.00
9884423             2005‐HI2                            6/2/2005                  $60,000.00
9884489             2005‐HS1                            6/3/2005                  $24,500.00
9884505             2005‐HI3                           6/17/2005                  $49,617.49
9896519             2005‐HS1                            6/8/2005                  $58,000.00
9896537             2005‐HI2                            6/8/2005                  $60,000.00
9896567             2005‐HI3                            6/8/2005                  $59,452.42
9896605             2005‐HI3                           6/15/2005                  $32,634.85
9896713             2005‐HS1                           6/20/2005                  $55,000.00
9896715             2005‐HS1                           6/20/2005                  $21,000.00
9896827             2005‐HS1                           6/21/2005                  $26,600.00
9896835             2005‐HS1                           6/21/2005                  $25,800.00
9896855             2005‐HI3                           6/20/2005                  $49,641.59
9896925             2005‐HS1                           6/22/2005                  $27,400.00
9896927             2005‐HS1                           7/19/2005                  $40,000.00
9896949             2005‐HS1                           7/19/2005                  $32,000.00
9909799             2005‐HS1                           6/13/2005                  $38,000.00
9910665             2005‐HS1                           6/20/2005                  $16,400.00
9912663             2005‐QA7                           5/23/2005                 $264,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9914089             2005‐HS1                           6/21/2005                  $25,200.00
9914093             2005‐HS1                           6/21/2005                  $15,000.00
9914139             2005‐HS1                           6/22/2005                  $21,000.00
9914551             2005‐HS1                           7/25/2005                  $10,500.00
9915313             2005‐HI2                           5/10/2005                  $50,000.00
9916643             2007‐HSA1                          5/10/2005                  $14,700.00
9919819             2005‐QS7                           5/20/2005                 $161,500.00
9926323             2005‐HI2                           5/23/2005                  $46,700.00
9929117             2005‐HS1                            7/6/2005                  $15,000.00
9929123             2005‐HI3                           6/30/2005                  $49,821.31
9929129             2005‐HS1                           6/29/2005                 $100,000.00
9929281             2005‐HI3                           6/29/2005                  $59,618.55
9929287             2005‐HS1                           6/27/2005                  $10,000.00
9929307             2005‐HS1                           6/29/2005                  $70,000.00
9929409             2005‐HI3                           7/14/2005                  $55,763.83
9929415             2005‐HS1                           7/13/2005                  $21,000.00
9929425             2005‐HS1                            7/7/2005                  $23,800.00
9929437             2005‐HS2                           7/20/2005                  $13,800.00
9929509             2005‐HS1                            7/6/2005                  $15,000.00
9929511             2005‐HS1                           7/11/2005                  $15,000.00
9929515             2005‐HS1                           7/19/2005                  $34,000.00
9929545             2005‐HS1                           7/13/2005                  $35,000.00
9929551             2005‐HS1                            8/4/2005                  $34,000.00
9929569             2005‐HS1                           7/11/2005                  $16,500.00
9929697             2005‐HS1                           7/15/2005                  $20,000.00
9942679             2005‐HS1                           5/26/2005                  $22,500.00
9942751             2005‐HS1                           6/10/2005                  $38,000.00
9944765             2005‐HS1                            6/1/2005                  $10,000.00
9945557             2005‐HS1                           7/14/2005                  $31,950.00
9945561             2006‐HI1                            8/5/2005                  $34,513.77
9945563             2005‐HS1                           7/15/2005                  $38,000.00
9945575             2005‐HS1                           7/15/2005                  $35,000.00
9945583             2005‐HS1                           7/14/2005                  $71,500.00
9945591             2005‐HS1                           7/14/2005                  $20,000.00
9945619             2005‐HS1                           7/18/2005                  $26,900.00
9945621             2005‐HS1                           7/18/2005                  $19,000.00
9945625             2005‐HS1                           7/13/2005                  $30,000.00
9945641             2005‐HS1                            8/4/2005                  $27,400.00
9945645             2005‐HS1                           7/13/2005                  $25,000.00
9945649             2005‐HS1                           7/29/2005                  $24,000.00
9945665             2005‐HS1                           7/14/2005                  $33,975.00
9945669             2005‐HI3                           7/20/2005                  $34,973.87
9945671             2005‐HS1                            8/4/2005                  $60,000.00
9945783             2005‐HS1                           7/29/2005                  $23,700.00
9945805             2005‐HS1                           7/19/2005                  $37,500.00
9945885             2005‐HS1                           7/21/2005                  $32,500.00
9945891             2005‐HS1                           7/27/2005                  $50,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9945913             2005‐HS1                           7/21/2005                  $15,000.00
9945969             2005‐HS1                           7/20/2005                  $22,000.00
9949775             2005‐HS1                            6/2/2005                  $16,500.00
9949815             2005‐HS1                           6/20/2005                  $10,000.00
9959659             2005‐HI2                           6/10/2005                  $60,000.00
9961251             2005‐HS1                            6/6/2005                  $19,200.00
9964939             2005‐HS1                            6/8/2005                  $39,000.00
9964941             2005‐HS1                            6/9/2005                  $34,400.00
9965097             2005‐HS1                            6/8/2005                  $38,600.00
9965099             2005‐HS1                           6/14/2005                  $63,000.00
9965105             2005‐HS1                           6/14/2005                  $42,500.00
9965783             2005‐HS1                            6/9/2005                 $100,000.00
9967231             2005‐HS1                           7/21/2005                  $32,250.00
9967233             2005‐HS1                           7/21/2005                  $35,000.00
9967245             2005‐HI3                           7/26/2005                  $59,928.56
9967265             2005‐HS1                           7/26/2005                  $21,800.00
9967267             2005‐HS1                            8/1/2005                  $24,750.00
9967269             2005‐HS1                           7/19/2005                  $12,600.00
9967275             2005‐HS1                           7/21/2005                  $15,000.00
9967287             2005‐HS1                           7/21/2005                  $30,000.00
9967323             2005‐HI3                           8/17/2005                  $49,710.72
9967361             2005‐HS1                           7/21/2005                  $20,000.00
9967363             2005‐HS1                           7/21/2005                  $20,000.00
9967413             2005‐HS1                           7/22/2005                  $24,000.00
9967435             2005‐HS1                           7/22/2005                  $19,300.00
9967465             2005‐HS1                           7/26/2005                  $20,000.00
9967503             2005‐HS1                           7/26/2005                  $69,800.00
9967605             2005‐HS1                            8/3/2005                  $40,000.00
9967607             2005‐HS1                           7/27/2005                  $30,000.00
9967651             2005‐HS1                           7/26/2005                  $30,400.00
9967667             2005‐HS1                           7/26/2005                  $77,000.00
9967669             2005‐HS1                           7/27/2005                  $32,600.00
9967673             2005‐HS1                           7/26/2005                  $20,800.00
9967679             2005‐HS1                           7/26/2005                  $26,500.00
9967715             2005‐HS1                           7/28/2005                  $23,000.00
9967785             2005‐HS1                           7/29/2005                  $35,500.00
9967807             2005‐HI3                           7/29/2005                  $24,490.69
9967817             2005‐HS1                           7/29/2005                  $14,500.00
9967913             2005‐HI3                           7/28/2005                  $30,452.66
9967915             2005‐HI3                            8/2/2005                  $25,984.38
9968127             2005‐HS1                           7/29/2005                  $23,500.00
9968199             2005‐HS1                            8/3/2005                  $30,000.00
9968201             2005‐HS1                            8/3/2005                  $15,000.00
9968203             2005‐HS1                            8/8/2005                  $21,000.00
9968207             2005‐HS1                            8/3/2005                  $10,000.00
9968211             2005‐HS2                            9/6/2005                  $20,000.00
9968217             2005‐HS1                            8/2/2005                  $39,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9968273             2005‐HI3                           9/15/2005                  $49,965.56
9968299             2005‐HS1                            8/9/2005                  $20,750.00
9968305             2005‐HS1                           8/12/2005                  $22,500.00
9969437             2005‐HS1                           6/10/2005                  $74,000.00
9969503             2005‐HS1                           6/10/2005                  $16,000.00
9973107             2005‐HS1                           6/14/2005                  $21,000.00
9975201             2005‐HI3                            7/1/2005                  $59,928.66
9975211             2005‐HS1                           6/15/2005                  $15,700.00
9977211             2005‐HS1                           6/16/2005                  $59,000.00
9978055             2005‐HS1                           6/16/2005                  $10,000.00
9978557             2005‐HS1                           7/13/2005                  $16,350.00
9979353             2005‐HS1                           6/16/2005                  $23,000.00
9984095             2005‐HS1                           6/24/2005                  $21,250.00
9984195             2005‐HI3                           6/23/2005                  $59,746.95
9985665             2005‐HS1                           6/27/2005                  $47,200.00
9987173             2005‐HS1                           6/23/2005                  $19,100.00
9987553             2005‐HS1                           6/24/2005                  $55,000.00
9988149             2005‐HS1                           6/28/2005                  $33,700.00
9992199             2005‐HS1                           6/29/2005                  $33,700.00
9992963             2005‐HS1                           6/29/2005                  $43,700.00
9992983             2005‐HS1                           6/29/2005                  $25,000.00
9994685             2005‐HS1                            7/1/2005                  $45,000.00
9994723             2005‐HS1                           7/18/2005                  $32,500.00
9998253             2005‐HI3                            8/5/2005                  $72,059.39
9998273             2005‐HS1                           8/10/2005                  $29,000.00
9998279             2005‐HS1                            8/9/2005                  $27,500.00
9998315             2005‐HI3                           8/10/2005                  $49,882.10
9998449             2005‐HS1                           8/16/2005                  $30,000.00
9998457             2005‐HS1                           8/16/2005                  $30,000.00
9998495             2005‐HS1                            9/2/2005                  $33,750.00
9998503             2005‐HS1                           8/16/2005                  $22,900.00
9998531             2005‐HS1                           8/16/2005                  $29,000.00
9998599             2005‐HS1                           8/22/2005                  $26,500.00
9998631             2006‐HSA4                          8/24/2005                  $75,000.00
9998669             2005‐HS1                           8/15/2005                  $40,000.00
9998695             2005‐HI3                           8/15/2005                  $49,899.91
9998709             2005‐HS1                           8/16/2005                  $28,900.00
9998721             2005‐HS1                           8/19/2005                  $23,300.00
9998741             2005‐HS1                           8/16/2005                  $36,700.00
9998771             2005‐HS1                           8/15/2005                  $38,700.00
9998973             2005‐HS1                            9/9/2005                  $58,000.00
9999015             2005‐HS1                           8/24/2005                  $27,000.00
9999045             2005‐HS1                           8/18/2005                  $45,000.00
9999065             2005‐HS1                           8/22/2005                  $28,500.00
9999163             2005‐HS1                           8/24/2005                  $71,500.00
9999221             2005‐HS1                           8/24/2005                  $19,500.00
9999295             2005‐HS1                           8/25/2005                  $20,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
9999333             2005‐HS1                           8/26/2005                  $20,000.00
9999351             2005‐HS1                           8/31/2005                  $46,000.00
9999369             2005‐HS1                           8/26/2005                  $57,000.00
10001299            2005‐QA9                           7/19/2005                 $108,000.00
10001363            2005‐HS1                           7/12/2005                  $16,000.00
10002711            2005‐HS1                           7/11/2005                  $25,000.00
10004423            2005‐HS1                           7/13/2005                  $20,500.00
10004431            2005‐HS1                           7/12/2005                  $15,750.00
10004505            2005‐HS1                           7/12/2005                  $52,800.00
10004515            2005‐HS1                           7/13/2005                  $20,000.00
10004519            2005‐HI3                           7/14/2005                  $57,758.26
10004533            2005‐HS1                           7/12/2005                  $91,500.00
10004549            2005‐HS1                           7/14/2005                  $20,000.00
10004575            2005‐HS1                           7/13/2005                  $20,250.00
10004577            2005‐HS1                           7/15/2005                  $40,000.00
10004647            2005‐HS1                           7/15/2005                  $30,500.00
10004965            2005‐HS1                           7/13/2005                  $43,100.00
10005051            2005‐HS1                           7/13/2005                  $15,000.00
10005065            2005‐HS1                           7/14/2005                  $31,400.00
10005701            2005‐HS1                           7/13/2005                  $12,500.00
10005705            2005‐HS1                           7/14/2005                  $22,000.00
10009533            2005‐HS1                           7/13/2005                  $22,000.00
10009955            2005‐SA4                           7/18/2005                 $438,550.00
10012187            2005‐HS1                            8/2/2005                  $31,500.00
10018679            2005‐HS1                           7/18/2005                  $38,000.00
10018685            2005‐HS1                           7/21/2005                  $45,400.00
10018805            2005‐HS1                           7/21/2005                  $40,000.00
10018817            2005‐HS1                           7/28/2005                  $20,000.00
10018899            2005‐HS1                           7/25/2005                  $28,000.00
10018913            2005‐HS1                           7/19/2005                  $20,000.00
10018933            2005‐HS1                           7/18/2005                  $81,000.00
10018935            2005‐HS1                           7/25/2005                  $27,900.00
10020759            2005‐HS1                           7/18/2005                  $30,000.00
10021421            2005‐HS1                           7/18/2005                  $23,900.00
10023843            2005‐SA4                           7/28/2005                 $183,600.00
10027175            2005‐HS1                           7/19/2005                  $99,000.00
10029647            2005‐HS1                           7/22/2005                  $26,600.00
10029661            2005‐HS1                            8/4/2005                 $112,000.00
10035239            2005‐HI3                           8/26/2005                  $43,983.30
10035243            2005‐HS2                           9/22/2005                  $30,000.00
10035251            2005‐HS2                           8/29/2005                  $75,000.00
10035377            2005‐HS1                            9/1/2005                  $28,000.00
10035409            2005‐HS1                           8/31/2005                  $34,100.00
10035411            2005‐HI3                            9/1/2005                  $53,975.35
10035417            2005‐HS1                            9/1/2005                  $32,800.00
10035483            2005‐HS1                            9/7/2005                  $45,800.00
10035501            2005‐HI3                            9/2/2005                  $21,952.17


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10035535            2005‐HI3                           9/21/2005                  $30,488.15
10035573            2005‐HS1                            9/7/2005                  $25,000.00
10035597            2005‐HS2                            9/6/2005                  $45,000.00
10035599            2005‐HS1                            9/9/2005                  $49,500.00
10035603            2005‐HS1                            9/7/2005                  $31,000.00
10035613            2005‐HS1                            9/7/2005                  $25,200.00
10035617            2005‐HI3                            9/8/2005                  $54,874.74
10035773            2005‐HS1                            9/8/2005                  $20,000.00
10035775            2005‐HS1                            9/8/2005                  $40,000.00
10035999            2005‐HS1                           7/22/2005                  $18,000.00
10047781            2005‐HS1                            8/8/2005                  $18,000.00
10047829            2005‐HS1                           7/27/2005                  $14,990.00
10047839            2005‐HS1                           7/28/2005                  $71,200.00
10055623            2005‐HS1                            9/9/2005                  $29,250.00
10055627            2005‐HS1                            9/9/2005                  $10,700.00
10055827            2005‐HSA1                          9/16/2005                  $95,900.00
10055897            2005‐HS2                           9/15/2005                  $15,000.00
10062611            2005‐HS1                            8/8/2005                  $79,100.00
10064339            2005‐HS2                          10/21/2005                  $65,000.00
10064633            2005‐HS1                            8/8/2005                  $10,000.00
10067265            2005‐HS1                           8/12/2005                  $75,000.00
10067371            2005‐HI3                           8/15/2005                  $29,935.54
10067383            2005‐HI3                           8/12/2005                  $44,421.07
10067389            2005‐HS1                           8/15/2005                  $44,700.00
10067417            2005‐HS1                           8/18/2005                  $66,000.00
10070237            2005‐QA10                          8/11/2005                 $116,000.00
10071299            2005‐HS1                           8/17/2005                  $61,000.00
10071691            2005‐HS1                           8/17/2005                  $20,000.00
10071713            2005‐HS1                           8/16/2005                  $24,000.00
10071845            2006‐HSA1                          8/17/2005                  $22,000.00
10071851            2005‐HS1                           8/17/2005                  $10,000.00
10074445            2005‐HS2                          11/14/2005                  $30,000.00
10074543            2005‐HSA1                         10/20/2005                  $25,700.00
10074699            2005‐HS2                           10/3/2005                  $43,500.00
10074731            2005‐HS2                           10/3/2005                  $27,000.00
10074735            2005‐HS2                           10/5/2005                  $26,000.00
10074737            2005‐HS2                           10/3/2005                  $21,000.00
10074739            2005‐HS2                           10/7/2005                  $35,000.00
10074745            2005‐HS2                          10/13/2005                  $48,000.00
10074749            2006‐HI1                           11/2/2005                  $74,802.00
10074751            2005‐HI3                          10/17/2005                  $40,980.03
10074753            2005‐HSA1                         10/11/2005                  $25,000.00
10074773            2005‐HS2                           10/4/2005                 $150,000.00
10074791            2005‐HS2                          10/11/2005                  $60,000.00
10074845            2005‐HS2                          10/11/2005                  $54,500.00
10074935            2005‐HSA1                         11/14/2005                  $60,000.00
10074943            2005‐HS2                          10/17/2005                  $17,200.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10074947            2005‐HS2                           10/7/2005                  $44,600.00
10074949            2005‐HS2                          10/20/2005                  $30,000.00
10076733            2005‐HS1                           8/16/2005                  $34,400.00
10080845            2005‐HS1                           8/17/2005                  $47,950.00
10080913            2005‐HS1                           8/17/2005                  $80,000.00
10083489            2005‐HS2                          10/13/2005                 $100,000.00
10083495            2005‐HI3                          10/13/2005                  $50,000.00
10090647            2005‐HS1                           8/31/2005                  $16,000.00
10091309            2005‐HS1                           8/22/2005                  $58,500.00
10096059            2005‐HS1                           8/25/2005                  $28,000.00
10096129            2005‐HS1                           8/24/2005                  $46,000.00
10096415            2005‐HS1                           8/24/2005                  $28,000.00
10099633            2005‐HS1                           8/31/2005                  $49,000.00
10100441            2005‐HS1                           8/25/2005                  $25,000.00
10100647            2005‐HS1                           8/25/2005                  $13,600.00
10100677            2005‐HS1                           8/24/2005                  $33,000.00
10110853            2005‐HS1                           8/25/2005                  $56,000.00
10110943            2005‐HI3                           8/24/2005                  $34,933.19
10111927            2005‐HI3                           8/31/2005                  $25,000.00
10111933            2005‐HS1                           8/26/2005                  $20,325.00
10111941            2005‐HS1                           8/26/2005                  $13,700.00
10114439            2005‐HS2                           9/29/2005                 $100,000.00
10114451            2005‐HS2                            9/9/2005                  $60,000.00
10114469            2005‐HS1                            9/1/2005                  $49,600.00
10114501            2005‐HS2                           9/28/2005                  $50,000.00
10122161            2005‐HS2                          10/11/2005                  $30,000.00
10122267            2005‐HS2                            9/2/2005                  $39,200.00
10124013            2005‐SA5                           9/23/2005                 $160,000.00
10124017            2005‐HS2                           9/19/2005                  $50,000.00
10128913            2005‐HS2                           9/15/2005                  $12,000.00
10131227            2006‐QA5                           9/13/2005                 $107,200.00
10131463            2005‐HS2                            9/6/2005                  $36,000.00
10131555            2005‐HS2                            9/6/2005                  $70,000.00
10132929            2005‐HS2                            9/7/2005                  $50,000.00
10132961            2005‐HS2                           9/16/2005                  $15,300.00
10133175            2005‐HI3                           9/19/2005                  $26,945.31
10134977            2005‐HS2                            9/7/2005                  $59,000.00
10135055            2005‐HS2                           9/30/2005                  $53,200.00
10138591            2005‐HS2                           9/22/2005                  $40,600.00
10138613            2005‐HS2                           9/13/2005                  $28,050.00
10139407            2005‐HS2                           9/13/2005                  $14,000.00
10139787            2005‐HS2                           9/22/2005                  $67,000.00
10139811            2005‐HS2                           9/13/2005                  $30,700.00
10141907            2005‐HS2                           9/14/2005                  $70,000.00
10143263            2005‐HS2                           10/6/2005                  $38,000.00
10148549            2005‐HS2                           10/3/2005                  $50,000.00
10149249            2005‐HS2                           9/20/2005                  $74,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10152095            2005‐HS2                           9/27/2005                  $26,000.00
10159435            2005‐HS2                           9/23/2005                  $24,500.00
10159697            2005‐HS2                           9/23/2005                  $30,000.00
10159931            2005‐HI3                           9/23/2005                  $70,000.00
10160189            2005‐HS2                           9/30/2005                  $15,000.00
10160223            2005‐HS2                          10/26/2005                  $17,400.00
10162793            2005‐SA5                          10/19/2005                 $150,000.00
10162831            2005‐HS2                          10/26/2005                  $70,000.00
10162859            2005‐HS2                           9/27/2005                  $47,500.00
10163105            2005‐HS2                           9/27/2005                  $48,800.00
10164321            2005‐HSA1                         10/13/2005                  $40,000.00
10164335            2005‐HS2                           9/28/2005                  $61,300.00
10164397            2005‐HS2                           9/29/2005                  $24,500.00
10164725            2005‐S8                           10/19/2005                 $378,000.00
10171631            2005‐HS2                           9/29/2005                  $39,400.00
10176467            2005‐HS2                           10/6/2005                  $50,000.00
10184585            2005‐HS2                           10/7/2005                  $38,200.00
10184633            2005‐HS2                          10/11/2005                  $27,700.00
10184701            2005‐HS2                          10/13/2005                  $20,000.00
10184837            2005‐HSA1                         10/19/2005                  $51,000.00
10184863            2005‐HS2                          10/11/2005                  $64,500.00
10184939            2005‐HS2                          10/11/2005                  $12,600.00
10185355            2005‐QS15                         10/11/2005                 $336,300.00
10187687            2005‐HI3                          10/12/2005                  $75,000.00
10190063            2005‐HSA1                         10/12/2005                  $75,000.00
10190071            2005‐QA13                          11/3/2005                 $390,400.00
10190305            2005‐HS2                          10/12/2005                  $70,000.00
10192827            2005‐HS2                          10/11/2005                  $15,000.00
10192831            2005‐HS2                          10/12/2005                  $22,980.00
10192841            2006‐HI1                          11/18/2005                  $34,228.03
10192847            2005‐HS2                          10/17/2005                  $23,000.00
10192851            2005‐HS2                          10/17/2005                  $30,000.00
10194597            2005‐HS2                          10/13/2005                  $75,000.00
10196153            2005‐HI3                          10/12/2005                  $47,400.00
10196343            2005‐HS2                          10/13/2005                  $13,000.00
10196751            2005‐HS2                          10/19/2005                  $22,200.00
10196805            2006‐HSA1                         11/28/2005                  $71,000.00
10196839            2006‐HI1                           12/1/2005                  $48,020.27
10196929            2006‐HI1                          10/19/2005                  $41,528.34
10197661            2005‐HS2                          10/12/2005                  $15,000.00
10197701            2005‐HS2                           11/2/2005                  $54,000.00
10197803            2005‐HS2                          10/28/2005                  $31,800.00
10197819            2005‐HS2                          10/19/2005                  $29,200.00
10198153            2005‐HSA1                         10/13/2005                  $22,500.00
10198189            2006‐HI1                          11/15/2005                  $59,524.04
10199591            2005‐HS2                          10/19/2005                  $14,000.00
10199597            2005‐HS2                           11/4/2005                  $47,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10201485            2005‐HS2                           11/9/2005                  $10,000.00
10201487            2005‐HS2                          10/17/2005                  $26,000.00
10201537            2006‐HI1                          11/21/2005                  $50,864.15
10202935            2005‐HS2                          10/26/2005                  $75,000.00
10202937            2005‐HS2                          10/26/2005                  $35,000.00
10202939            2005‐HS2                          10/21/2005                  $32,700.00
10202941            2005‐HS2                          10/26/2005                  $31,100.00
10203913            2005‐HS2                          10/26/2005                  $23,085.00
10204325            2005‐HS2                          10/20/2005                  $70,000.00
10205233            2005‐HSA1                          11/2/2005                  $75,000.00
10205235            2005‐HS2                          10/21/2005                  $41,000.00
10205515            2006‐HSA4                         10/21/2005                  $60,000.00
10207467            2005‐HSA1                         10/24/2005                  $48,000.00
10207469            2005‐HS2                          10/27/2005                  $20,000.00
10207471            2006‐HI1                          10/26/2005                  $41,942.01
10208243            2005‐HS2                          10/24/2005                  $28,000.00
10208935            2005‐HS2                          10/26/2005                  $68,000.00
10209211            2005‐HS2                          10/27/2005                  $23,200.00
10209215            2005‐HS2                          10/26/2005                  $10,000.00
10209229            2005‐HS2                          11/14/2005                  $20,000.00
10209231            2005‐HS2                           11/3/2005                  $43,500.00
10209807            2005‐HS2                          10/21/2005                 $150,000.00
10210341            2005‐HS2                          10/24/2005                  $47,000.00
10210507            2006‐HSA2                          12/2/2005                  $49,618.87
10210603            2005‐HS2                          10/27/2005                 $100,000.00
10210609            2005‐HSA1                         10/24/2005                 $100,000.00
10211635            2005‐HSA1                         10/27/2005                  $75,000.00
10211699            2005‐HS2                          10/28/2005                  $34,800.00
10211703            2005‐HS2                          10/26/2005                  $14,650.00
10211751            2005‐HS2                          10/27/2005                  $27,000.00
10212031            2005‐HSA1                         10/25/2005                  $86,000.00
10212045            2005‐HS2                           11/3/2005                  $15,000.00
10212267            2005‐HS2                          10/26/2005                  $52,400.00
10213507            2005‐HS2                          10/27/2005                  $30,000.00
10213513            2005‐HSA1                         10/28/2005                  $20,000.00
10214623            2005‐HSA1                         10/28/2005                  $64,100.00
10214703            2005‐HSA1                         10/27/2005                  $55,000.00
10214851            2005‐HS2                          10/31/2005                  $21,600.00
10215027            2005‐HS2                          10/27/2005                 $100,000.00
10215107            2005‐HS2                          10/31/2005                  $54,700.00
10215109            2005‐HS2                           11/1/2005                  $12,100.00
10215129            2005‐HS2                          10/27/2005                  $28,000.00
10215185            2005‐HSA1                         10/28/2005                  $69,000.00
10216031            2005‐HS2                          10/28/2005                  $13,000.00
10216045            2005‐HS2                           11/9/2005                  $25,300.00
10216049            2005‐HS2                           11/1/2005                  $12,050.00
10216101            2005‐HS2                          11/14/2005                  $44,800.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10216163            2005‐HS2                           11/1/2005                  $15,000.00
10216327            2005‐HS2                          10/28/2005                  $55,000.00
10218509            2005‐HS2                           11/1/2005                  $16,050.00
10221209            2005‐HS2                           11/1/2005                  $15,500.00
10221215            2005‐HS2                           11/2/2005                  $50,000.00
10221219            2006‐HI1                           11/3/2005                  $74,846.95
10221227            2005‐HS2                           11/4/2005                  $66,100.00
10222561            2005‐HS2                          11/14/2005                  $37,800.00
10222743            2005‐HS2                           11/8/2005                  $41,800.00
10223401            2005‐HSA1                          11/2/2005                  $27,800.00
10223439            2005‐HS2                           11/2/2005                  $75,000.00
10224441            2005‐HS2                           11/2/2005                  $28,000.00
10224687            2006‐HSA1                         11/30/2005                  $20,000.00
10225321            2005‐HSA1                          11/3/2005                  $62,000.00
10225427            2005‐HS2                           11/9/2005                  $50,000.00
10226791            2005‐HS2                           11/4/2005                  $18,250.00
10226793            2006‐HI1                          11/18/2005                  $27,337.46
10228763            2005‐S9                           11/14/2005                 $353,000.00
10231049            2005‐HS2                           11/4/2005                  $75,000.00
10231055            2005‐HS2                          11/14/2005                  $60,000.00
10233199            2006‐HSA4                         11/22/2005                  $45,700.00
10233401            2005‐HS2                          11/14/2005                  $19,500.00
10233503            2005‐S9                           11/17/2005                 $370,000.00
10233509            2006‐HI1                           11/4/2005                  $54,656.06
10233541            2006‐HI1                          11/15/2005                  $56,896.13
10233723            2005‐HS2                           11/9/2005                  $65,000.00
10233753            2005‐HS2                           11/9/2005                  $60,900.00
10238381            2005‐HS2                          11/15/2005                  $69,500.00
10238741            2005‐HS2                          11/16/2005                  $33,000.00
10238749            2005‐HS2                          11/15/2005                  $35,000.00
10238757            2005‐HS2                          11/15/2005                  $20,000.00
10247265            2005‐HS2                          11/15/2005                  $25,000.00
10248227            2005‐HS2                          11/17/2005                  $47,925.00
10248229            2005‐HS2                          11/15/2005                  $47,000.00
10248231            2006‐HSA1                          12/5/2005                  $30,600.00
10248633            2005‐HS2                          11/15/2005                  $24,000.00
10248637            2005‐HS2                          11/15/2005                  $18,900.00
10248793            2005‐HS2                          11/15/2005                  $14,000.00
10248893            2005‐HS2                          11/15/2005                  $19,950.00
10248907            2005‐HSA1                         11/18/2005                  $50,000.00
10248913            2005‐HSA1                         11/18/2005                  $78,900.00
10250375            2005‐HSA1                         11/15/2005                 $100,000.00
10250377            2005‐HS2                          11/15/2005                  $10,800.00
10250399            2005‐HSA1                         11/15/2005                  $61,300.00
10250455            2005‐HSA1                         11/15/2005                  $26,200.00
10250489            2005‐HS2                          11/15/2005                  $21,800.00
10253281            2005‐HS2                          11/16/2005                  $30,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10254699            2005‐HS2                          11/17/2005                  $35,000.00
10254701            2005‐HS2                          11/17/2005                  $64,000.00
10254711            2006‐HSA1                         11/21/2005                  $21,400.00
10254713            2006‐HI1                          11/21/2005                  $35,676.03
10254725            2006‐HSA1                         11/21/2005                  $65,000.00
10254963            2005‐HSA1                         11/17/2005                  $40,000.00
10254989            2005‐HSA1                         11/18/2005                  $26,500.00
10257003            2005‐HS2                          11/17/2005                  $44,000.00
10257009            2006‐HSA1                         11/21/2005                  $22,900.00
10257065            2005‐HSA1                         11/23/2005                  $55,000.00
10257891            2005‐HSA1                         11/17/2005                  $49,000.00
10257963            2005‐HSA1                         11/29/2005                  $50,000.00
10261029            2006‐HSA1                         11/22/2005                  $58,000.00
10261031            2006‐HI1                          12/12/2005                  $59,697.37
10263127            2006‐HSA1                          12/7/2005                  $26,200.00
10263179            2005‐HSA1                         11/28/2005                  $32,000.00
10263425            2006‐HI1                          11/23/2005                  $31,860.45
10263447            2006‐HI1                          11/28/2005                  $34,763.69
10263449            2006‐HI1                          11/28/2005                  $39,922.89
10263915            2006‐HSA1                         11/30/2005                  $20,000.00
10264011            2006‐HI1                          12/28/2005                  $34,877.58
10264019            2006‐HI1                          11/30/2005                  $49,785.14
10264931            2006‐HI1                          11/30/2005                  $39,963.71
10265005            2006‐HSA1                         11/21/2005                  $34,500.00
10265417            2006‐HI2                           12/1/2005                  $28,000.00
10265451            2006‐HI2                           12/1/2005                  $65,000.00
10265539            2006‐HSA2                         11/23/2005                  $47,500.00
10269347            2005‐HSA1                         11/28/2005                  $73,600.00
10271861            2005‐HSA1                         11/29/2005                  $60,000.00
10271869            2006‐HSA5                          12/2/2005                  $62,900.00
10274969            2005‐HSA1                         11/30/2005                  $33,100.00
10274995            2006‐HSA2                           1/9/2006                  $46,666.55
10275017            2005‐HSA1                         11/30/2005                  $37,600.00
10278023            2006‐HSA2                          12/5/2005                  $29,950.00
10278085            2006‐HSA2                         12/15/2005                  $29,997.67
10279669            2006‐HSA2                         11/30/2005                  $39,800.00
10279709            2005‐HSA1                          12/1/2005                  $52,000.00
10282157            2006‐HI1                           12/7/2005                  $61,942.99
10283085            2006‐HSA1                         12/13/2005                  $22,200.00
10283109            2006‐HI1                          12/23/2005                  $44,763.38
10283241            2005‐QO5                          12/12/2005                 $320,000.00
10283251            2006‐HSA2                         12/27/2005                  $54,999.91
10283267            2006‐HI1                           12/5/2005                  $41,679.91
10283313            2006‐HSA1                          12/5/2005                  $10,000.00
10283377            2005‐QO5                           12/9/2005                 $284,800.00
10283397            2006‐QO1                          12/15/2005                 $163,350.00
10285815            2006‐HSA2                          12/9/2005                  $43,089.76


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10288323            2006‐HSA2                         12/30/2005                  $49,952.05
10288367            2006‐HSA1                         12/15/2005                  $42,500.00
10288379            2006‐HI1                           1/17/2006                  $74,499.44
10288741            2006‐HSA1                         12/22/2005                  $34,000.00
10291595            2005‐QO5                          12/15/2005                 $355,000.00
10293237            2006‐HSA1                         12/12/2005                  $46,500.00
10293247            2006‐HSA1                         12/13/2005                  $22,500.00
10293269            2006‐HI2                           2/24/2006                  $30,000.00
10293281            2006‐HI1                          12/15/2005                  $61,461.97
10293647            2006‐HSA2                         12/12/2005                  $29,972.88
10293651            2006‐HSA2                         12/12/2005                  $13,329.00
10295777            2006‐HI1                          12/16/2005                  $41,816.11
10297353            2006‐HI1                          12/20/2005                  $32,881.87
10297513            2006‐HSA1                         12/19/2005                  $10,000.00
10298251            2006‐HSA1                         12/13/2005                  $44,000.00
10298267            2006‐HI1                           1/25/2006                  $59,761.43
10303613            2006‐HSA2                         12/30/2005                  $26,850.00
10304655            2006‐HSA1                         12/16/2005                  $31,500.00
10304685            2006‐HSA1                         12/21/2005                  $52,200.00
10307205            2006‐QS3                          12/28/2005                 $140,000.00
10307375            2006‐HSA1                         12/21/2005                  $24,000.00
10307407            2006‐HSA1                         12/22/2005                  $15,000.00
10308573            2006‐HSA1                         12/19/2005                  $31,000.00
10310999            2006‐HSA1                         12/23/2005                  $19,000.00
10311051            2006‐HI1                          12/19/2005                  $40,909.52
10311093            2006‐HSA1                         12/21/2005                  $90,000.00
10312855            2006‐HSA2                         12/30/2005                  $30,000.00
10312885            2006‐HSA3                          2/27/2006                  $43,200.00
10314747            2006‐HI1                          12/22/2005                  $29,770.60
10314787            2006‐HSA1                         12/21/2005                  $20,000.00
10314791            2006‐HI1                          12/21/2005                  $49,976.04
10314799            2006‐HSA2                          1/18/2006                  $70,000.00
10315311            2006‐QO1                          12/30/2005                 $180,000.00
10317297            2006‐HSA2                         12/21/2005                  $35,605.21
10318323            2006‐HSA2                         12/28/2005                  $49,800.00
10318413            2006‐HSA2                           1/9/2006                  $31,737.34
10318433            2006‐HSA1                         12/28/2005                  $54,000.00
10320687            2006‐HSA2                         12/30/2005                  $74,927.23
10324749            2006‐HI1                          12/30/2005                  $66,384.46
10324985            2006‐HSA1                         12/30/2005                  $24,750.00
10327555            2006‐HI1                           1/10/2006                  $65,872.52
10330113            2006‐HSA2                          1/20/2006                  $24,942.40
10333297            2006‐HSA2                          1/11/2006                  $53,000.00
10336219            2006‐HSA2                           1/6/2006                  $49,858.68
10336915            2006‐HI2                           2/10/2006                  $75,000.00
10347123            2006‐HSA4                          2/15/2006                  $75,000.00
10349675            2006‐HI1                           1/13/2006                  $34,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10349691            2006‐HI2                           2/24/2006                  $50,000.00
10353051            2006‐HI1                           1/23/2006                  $45,223.18
10353387            2006‐S1                            1/20/2006                 $450,000.00
10357593            2006‐HI2                           2/28/2006                  $47,000.00
10357635            2006‐HI2                           2/10/2006                  $50,000.00
10357689            2006‐HI2                           2/24/2006                  $63,000.00
10357697            2006‐HI1                           1/25/2006                  $34,939.92
10365921            2006‐HSA4                          2/15/2006                  $30,000.00
10366723            2006‐HI1                           1/25/2006                  $34,940.64
10366865            2006‐SA2                            3/6/2006                 $425,000.00
10372167            2006‐HI2                           2/13/2006                  $44,800.00
10372189            2006‐HI2                           2/15/2006                  $30,000.00
10372355            2006‐HSA4                           3/8/2006                 $100,000.00
10377143            2006‐HI2                            3/6/2006                  $60,000.00
10382771            2006‐HI2                           2/10/2006                  $35,000.00
10382779            2006‐HI1                           1/26/2006                  $70,000.00
10387115            2006‐S3                            2/28/2006                 $560,000.00
10387733            2006‐HSA3                          2/28/2006                  $19,300.00
10388993            2006‐HI2                           2/22/2006                  $46,700.00
10389007            2006‐HI2                           2/10/2006                  $57,000.00
10389015            2006‐HI2                            2/7/2006                  $50,000.00
10390923            2006‐HI2                           2/10/2006                  $50,000.00
10391627            2006‐HSA4                          2/15/2006                  $76,000.00
10393567            2006‐QO3                            3/6/2006                 $198,000.00
10393581            2006‐HI2                           2/17/2006                  $30,000.00
10397201            2006‐HI2                           3/30/2006                  $60,000.00
10397253            2006‐HI2                            2/7/2006                  $35,000.00
10398071            2006‐HSA4                          2/10/2006                  $10,000.00
10398175            2006‐S3                            2/24/2006                 $499,000.00
10400585            2006‐HI2                            2/8/2006                  $60,000.00
10400589            2006‐HI2                            2/8/2006                  $74,000.00
10400591            2006‐HI2                            2/8/2006                  $31,400.00
10400593            2006‐HI2                            2/8/2006                  $33,200.00
10400781            2006‐S2                             2/6/2006                 $207,000.00
10400921            2006‐QO2                            2/6/2006                 $340,800.00
10401079            2006‐HI2                           2/15/2006                  $43,500.00
10401125            2006‐HI2                           2/28/2006                  $63,700.00
10401161            2006‐HI2                           2/15/2006                  $69,900.00
10410403            2006‐HI2                           2/15/2006                  $40,000.00
10410433            2006‐HI2                           2/10/2006                  $58,500.00
10411875            2006‐QO2                            2/7/2006                 $149,500.00
10411877            2006‐HI2                           2/15/2006                  $45,000.00
10411937            2006‐HI2                           2/27/2006                  $44,400.00
10412049            2006‐HI2                           2/15/2006                  $60,000.00
10412065            2006‐HI2                           2/10/2006                  $35,000.00
10412109            2006‐HI2                           2/10/2006                  $45,000.00
10416001            2006‐HI2                           2/15/2006                  $36,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10417995            2006‐HI2                           2/15/2006                  $51,500.00
10418011            2006‐HI2                           2/10/2006                  $60,000.00
10418041            2006‐HI2                           2/10/2006                  $60,000.00
10418101            2006‐HI2                           2/10/2006                  $75,000.00
10418253            2006‐HI2                           2/10/2006                  $69,000.00
10421065            2006‐HI2                           3/30/2006                  $25,000.00
10421221            2006‐HI2                            4/4/2006                  $60,000.00
10424625            2006‐HSA3                           3/6/2006                  $28,500.00
10431455            2006‐SA2                           3/10/2006                 $418,400.00
10433733            2006‐HI2                           2/13/2006                  $34,400.00
10433781            2006‐HI2                           2/13/2006                  $60,000.00
10433825            2006‐HI2                           2/13/2006                  $50,000.00
10433871            2006‐HI2                            3/1/2006                  $35,000.00
10434639            2006‐HI2                           2/23/2006                  $70,000.00
10436221            2006‐HI2                           2/23/2006                  $44,000.00
10436375            2006‐HI2                           2/23/2006                  $68,000.00
10436899            2006‐HI2                           2/17/2006                  $60,000.00
10438419            2006‐QS3                            3/9/2006                 $171,500.00
10438525            2006‐HI2                           2/23/2006                  $75,000.00
10438541            2006‐HI2                           2/23/2006                  $60,000.00
10438545            2006‐HI2                           2/23/2006                  $65,000.00
10440799            2006‐HSA4                          2/27/2006                  $24,900.00
10440973            2006‐S3                            2/28/2006                 $438,000.00
10441043            2006‐HSA4                           3/3/2006                  $35,000.00
10441245            2006‐HI2                           2/28/2006                  $34,800.00
10441509            2006‐HI2                           3/24/2006                  $30,000.00
10442025            2006‐HSA3                          2/27/2006                  $60,000.00
10442037            2006‐HSA4                          2/27/2006                  $33,000.00
10442049            2006‐HSA3                          2/27/2006                  $30,000.00
10442283            2006‐HI2                           2/28/2006                  $36,500.00
10443219            2006‐QS3                            3/3/2006                 $118,000.00
10446403            2006‐HSA3                           3/8/2006                  $90,000.00
10446421            2006‐HSA3                           3/8/2006                  $80,000.00
10448193            2006‐QO4                           3/17/2006                 $313,400.00
10448669            2006‐HI2                           2/28/2006                  $59,000.00
10448841            2006‐HI2                            3/6/2006                  $35,000.00
10448885            2006‐HI2                           2/28/2006                  $50,000.00
10450105            2006‐HSA3                           3/1/2006                  $59,800.00
10450137            2006‐HSA3                          2/28/2006                  $35,100.00
10450161            2006‐HI2                           3/17/2006                  $56,000.00
10450489            2006‐HI2                           3/17/2006                  $62,000.00
10450507            2006‐HI2                            3/6/2006                  $30,000.00
10450539            2006‐HI2                            3/1/2006                  $52,000.00
10450545            2006‐HI2                            4/5/2006                  $50,000.00
10455341            2006‐HSA4                           3/2/2006                  $44,000.00
10455555            2006‐HI2                            3/6/2006                  $30,000.00
10459227            2006‐HI2                            3/6/2006                  $60,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10459233            2006‐HI2                            3/3/2006                  $43,400.00
10459237            2006‐HI2                            3/8/2006                  $40,000.00
10459239            2006‐HI2                            3/7/2006                  $53,000.00
10459241            2006‐HI2                            3/7/2006                  $52,900.00
10459243            2006‐HI2                            3/9/2006                  $22,800.00
10459253            2006‐HI2                            3/8/2006                  $31,900.00
10459261            2006‐HI2                            3/9/2006                  $60,000.00
10459267            2006‐HI2                            4/4/2006                  $55,900.00
10459269            2006‐HSA3                          4/14/2006                 $185,000.00
10459271            2006‐HI2                           3/10/2006                  $50,100.00
10459285            2006‐HSA3                          3/13/2006                  $42,700.00
10459289            2006‐HI2                            3/7/2006                  $65,500.00
10459325            2006‐QS5                           3/17/2006                 $161,000.00
10459329            2006‐HI2                            3/6/2006                  $53,000.00
10459341            2006‐S4                            3/21/2006                 $333,000.00
10459343            2006‐HSA3                          3/30/2006                 $105,000.00
10459381            2006‐HSA3                          3/13/2006                  $65,000.00
10459385            2006‐HSA3                          3/29/2006                  $34,100.00
10459397            2006‐HSA3                           3/6/2006                  $56,000.00
10459401            2006‐HSA3                          3/13/2006                  $75,000.00
10459419            2006‐HSA4                           3/6/2006                  $65,000.00
10459511            2006‐QS13                          3/24/2006                 $168,000.00
10459559            2006‐HI2                            3/6/2006                  $67,000.00
10460429            2006‐HI2                            3/8/2006                  $40,000.00
10460437            2006‐HI2                           3/10/2006                  $39,200.00
10460441            2006‐HI2                           3/17/2006                  $71,000.00
10461433            2006‐HSA3                           4/4/2006                  $43,500.00
10461527            2006‐HSA4                          3/30/2006                  $97,000.00
10468189            2006‐HI2                           3/23/2006                  $75,000.00
10469585            2006‐HSA3                          3/13/2006                  $38,700.00
10470177            2006‐HSA3                          3/13/2006                  $77,000.00
10471299            2006‐HI2                           3/24/2006                  $47,500.00
10471359            2006‐HSA4                          3/13/2006                  $55,500.00
10473411            2006‐HI2                           3/29/2006                  $75,000.00
10473495            2006‐HI2                           3/24/2006                  $57,000.00
10473531            2006‐HI2                           3/29/2006                  $25,000.00
10474195            2006‐HSA3                          3/24/2006                  $93,000.00
10474215            2006‐HI2                           3/20/2006                  $58,750.00
10474447            2006‐S4                            3/17/2006                 $250,000.00
10476507            2006‐HSA4                           5/2/2006                 $147,000.00
10478169            2006‐SA2                           3/30/2006                 $320,000.00
10478415            2006‐HI2                           3/24/2006                  $48,300.00
10478423            2006‐HI2                           3/29/2006                  $35,000.00
10478497            2006‐HSA3                          3/17/2006                  $60,000.00
10478505            2006‐HSA3                          3/22/2006                  $48,000.00
10478511            2006‐HI2                           3/21/2006                  $50,000.00
10478515            2006‐HSA3                          3/30/2006                 $200,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10485305            2006‐HSA4                          3/24/2006                 $100,000.00
10485561            2006‐HI2                           3/24/2006                  $50,000.00
10487371            2006‐SA2                           3/30/2006                 $121,500.00
10487403            2006‐S4                            3/30/2006                 $559,000.00
10488499            2006‐HSA3                          3/23/2006                 $100,000.00
10488501            2006‐HSA4                          3/17/2006                  $73,000.00
10488511            2006‐HSA4                          3/22/2006                  $52,000.00
10488519            2006‐HSA4                          3/20/2006                  $99,500.00
10488523            2006‐HSA3                          3/21/2006                  $59,300.00
10488563            2006‐HSA3                          3/21/2006                  $50,000.00
10488577            2006‐HSA3                          3/17/2006                  $45,000.00
10488579            2006‐HI2                           3/17/2006                  $15,000.00
10488581            2006‐HI2                           3/17/2006                  $60,000.00
10488587            2006‐HI2                            4/6/2006                  $25,800.00
10488591            2006‐HI2                           3/22/2006                  $64,000.00
10488613            2006‐HI2                           3/17/2006                  $75,000.00
10488627            2006‐HI2                           3/17/2006                  $72,000.00
10488647            2006‐HI2                           4/11/2006                  $55,000.00
10488919            2006‐HI2                            4/6/2006                  $40,000.00
10489197            2006‐HI2                            4/5/2006                  $50,000.00
10489589            2006‐HI2                           3/17/2006                  $63,000.00
10490385            2006‐HSA3                          3/17/2006                  $75,000.00
10493127            2006‐HI2                           3/17/2006                  $60,700.00
10493139            2006‐HI2                           3/29/2006                  $30,000.00
10493823            2006‐HI2                           3/17/2006                  $40,000.00
10494565            2006‐HSA3                          3/23/2006                  $75,000.00
10494701            2006‐HSA3                          3/23/2006                  $37,500.00
10494763            2006‐QA3                           3/30/2006                 $135,000.00
10497375            2006‐QS4                           3/30/2006                 $199,600.00
10498713            2006‐HI2                           3/30/2006                  $50,000.00
10498751            2006‐HI2                           3/20/2006                  $50,000.00
10498951            2006‐QO5                           4/28/2006                 $461,150.00
10499765            2006‐HSA4                          3/24/2006                  $45,400.00
10499983            2006‐HI2                            4/4/2006                  $20,000.00
10499987            2006‐HI2                           3/24/2006                  $69,900.00
10499993            2006‐HI2                            4/5/2006                  $46,800.00
10501553            2006‐HSA3                          3/30/2006                  $50,000.00
10501555            2006‐HSA3                          3/30/2006                  $47,500.00
10501575            2006‐HSA4                          3/30/2006                  $87,500.00
10501587            2006‐HSA3                          3/30/2006                  $62,000.00
10501605            2006‐HSA3                          3/30/2006                  $59,800.00
10501629            2006‐HSA3                          3/30/2006                  $32,500.00
10501655            2006‐HSA4                          3/30/2006                  $74,500.00
10501663            2006‐HSA4                          3/30/2006                  $51,500.00
10501823            2006‐HSA3                          3/30/2006                  $78,000.00
10501825            2006‐HSA3                          3/30/2006                  $47,000.00
10501827            2006‐HSA4                          3/30/2006                  $70,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10501829            2006‐HSA3                          3/30/2006                  $40,000.00
10501831            2006‐HSA4                          3/30/2006                  $70,000.00
10501833            2006‐HSA3                          3/30/2006                  $60,600.00
10501835            2006‐HSA3                          3/30/2006                  $30,500.00
10501837            2006‐HSA4                          3/30/2006                  $52,000.00
10502541            2006‐HSA3                          3/30/2006                  $84,500.00
10502545            2006‐HSA3                          3/30/2006                  $76,000.00
10502589            2006‐HSA3                          3/23/2006                  $57,700.00
10502601            2006‐HSA3                          3/24/2006                  $33,000.00
10502611            2006‐HSA4                          3/30/2006                  $56,000.00
10502619            2006‐HSA3                          3/30/2006                  $65,000.00
10502625            2006‐HSA3                          3/30/2006                  $92,000.00
10502633            2006‐HSA3                          3/30/2006                  $62,600.00
10502639            2006‐HSA4                          3/30/2006                  $59,000.00
10502655            2006‐HSA3                          3/30/2006                  $41,000.00
10502803            2006‐HSA3                          3/30/2006                 $110,500.00
10502969            2006‐HSA3                          3/30/2006                  $76,300.00
10503089            2006‐HSA3                          3/30/2006                  $40,000.00
10503107            2006‐HSA3                          3/30/2006                  $50,000.00
10503137            2006‐HSA4                          3/30/2006                  $53,000.00
10503185            2006‐HSA3                          3/30/2006                  $95,000.00
10503199            2006‐HSA3                          3/30/2006                  $37,000.00
10503207            2006‐HI2                           3/23/2006                  $43,000.00
10503519            2006‐HSA4                          3/30/2006                  $55,000.00
10503775            2006‐HSA3                          3/23/2006                  $40,000.00
10505367            2006‐HI2                            4/5/2006                  $60,000.00
10505615            2006‐HSA3                          3/30/2006                  $65,000.00
10505625            2006‐HSA4                          3/30/2006                 $100,000.00
10505635            2006‐HSA3                          3/30/2006                  $58,900.00
10505647            2006‐HSA3                          3/30/2006                  $43,800.00
10506551            2006‐HSA3                          3/30/2006                  $95,000.00
10506573            2006‐HSA3                          3/30/2006                 $160,000.00
10506583            2006‐HSA3                          3/30/2006                  $69,000.00
10506591            2006‐HSA3                          3/30/2006                  $75,000.00
10506597            2006‐HSA4                          3/30/2006                  $56,000.00
10507467            2006‐HI2                            4/4/2006                  $44,000.00
10509039            2006‐HI2                           3/30/2006                  $64,000.00
10509043            2006‐HI2                            4/4/2006                  $60,000.00
10509045            2006‐HI2                           3/29/2006                  $69,500.00
10510465            2006‐QS4                            4/6/2006                 $238,000.00
10510467            2006‐HSA3                          3/30/2006                  $75,000.00
10510477            2006‐HSA4                           4/4/2006                  $88,900.00
10510491            2006‐HSA3                           4/4/2006                  $65,000.00
10510797            2006‐HSA3                          3/30/2006                  $48,000.00
10510835            2006‐HI2                           3/29/2006                  $45,000.00
10511873            2006‐HSA3                          3/30/2006                  $39,600.00
10513557            2006‐HI2                            4/4/2006                  $30,200.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10513717            2006‐QS6                           4/14/2006                 $272,000.00
10513779            2006‐HSA3                           4/4/2006                  $34,300.00
10513861            2006‐HI2                            4/4/2006                  $40,000.00
10513959            2006‐HSA3                           4/4/2006                  $19,200.00
10514159            2006‐HSA3                           4/4/2006                 $110,000.00
10515705            2006‐QS4                            4/6/2006                 $132,000.00
10516147            2006‐SA2                           4/11/2006                 $184,800.00
10516417            2006‐HI2                           3/29/2006                  $45,500.00
10516983            2006‐HI2                           3/30/2006                  $30,800.00
10517807            2006‐HSA3                          3/30/2006                  $50,000.00
10518457            2006‐HI2                            4/6/2006                  $50,000.00
10518513            2006‐HSA4                          4/20/2006                  $52,500.00
10518517            2006‐HSA4                          3/27/2006                  $60,000.00
10519715            2006‐QS4                           4/11/2006                 $181,600.00
10520105            2006‐HI2                            4/6/2006                  $25,000.00
10520127            2006‐HI2                            4/6/2006                  $54,000.00
10520181            2006‐HI2                            4/4/2006                  $49,400.00
10521697            2006‐HI2                            4/4/2006                  $36,000.00
10521943            2006‐HI2                            4/5/2006                  $45,000.00
10522071            2006‐QO5                           4/13/2006                 $432,000.00
10522115            2006‐HI2                            4/4/2006                  $70,000.00
10522159            2006‐HI2                           4/14/2006                  $50,000.00
10522209            2006‐QS4                            4/6/2006                 $169,100.00
10524887            2006‐HI2                            4/5/2006                  $50,000.00
10525553            2006‐HI2                            4/5/2006                  $40,000.00
10526335            2006‐QS4                           4/11/2006                 $168,000.00
10526455            2006‐HI2                            4/4/2006                  $41,800.00
10526517            2006‐HI2                           4/11/2006                  $43,000.00
10527421            2006‐HSA3                          4/18/2006                  $80,000.00
10527501            2006‐HI2                            4/5/2006                  $68,000.00
10528663            2006‐QS6                            5/3/2006                  $98,000.00
10528891            2006‐HI2                            4/5/2006                  $75,000.00
10528907            2006‐HI2                            4/4/2006                  $57,800.00
10529255            2006‐SA2                           4/11/2006                 $563,600.00
10529369            2006‐HI2                            4/6/2006                  $60,200.00
10529695            2006‐HSA4                           4/7/2006                  $39,000.00
10529697            2006‐HSA3                          4/21/2006                 $150,000.00
10533757            2006‐HSA3                           4/7/2006                  $50,000.00
10535019            2006‐HI2                            4/6/2006                  $35,500.00
10535119            2006‐HI2                            4/6/2006                  $50,000.00
10535171            2006‐HI2                            4/6/2006                  $58,900.00
10535365            2006‐HI2                           4/17/2006                  $75,000.00
10538813            2006‐QS4                           4/11/2006                 $430,000.00
10539329            2006‐HSA3                           4/7/2006                  $16,700.00
10539393            2006‐HSA3                          4/11/2006                  $25,500.00
10539907            2006‐HSA4                           4/7/2006                  $43,000.00
10540151            2006‐HI2                           4/11/2006                  $50,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10542669            2006‐HSA3                          4/18/2006                  $45,000.00
10542845            2006‐QA5                           4/19/2006                 $136,000.00
10543613            2006‐HI2                           4/11/2006                  $45,000.00
10543809            2006‐HI2                           4/14/2006                  $35,000.00
10545627            2006‐HSA3                          4/14/2006                  $34,000.00
10546061            2006‐HSA3                          4/14/2006                  $30,000.00
10546083            2006‐HI2                           4/14/2006                  $52,000.00
10546093            2006‐HI2                           4/14/2006                  $50,000.00
10546119            2006‐HI2                           4/18/2006                  $75,000.00
10546137            2006‐HI2                           4/19/2006                  $54,000.00
10546157            2006‐HI2                           4/28/2006                  $33,000.00
10546171            2006‐HI2                           4/18/2006                  $60,000.00
10546209            2006‐HSA3                          4/14/2006                 $100,000.00
10548097            2006‐HI2                           4/20/2006                  $38,000.00
10548113            2006‐HI2                           4/14/2006                  $35,000.00
10548241            2006‐HI2                           4/21/2006                  $38,500.00
10548485            2006‐S10                           4/19/2006                 $651,300.00
10548619            2006‐HI2                           4/14/2006                  $42,000.00
10548663            2006‐HSA4                          4/20/2006                 $100,000.00
10548679            2006‐HSA4                          4/19/2006                  $89,000.00
10551359            2006‐QS4                           4/17/2006                 $116,250.00
10551363            2006‐HI2                           4/19/2006                  $40,000.00
10551693            2006‐HI2                           4/17/2006                  $75,000.00
10555605            2006‐HI2                           4/20/2006                  $30,000.00
10555713            2006‐QS5                           4/28/2006                 $116,000.00
10555751            2006‐QS4                           4/14/2006                 $240,000.00
10555935            2006‐HI2                           4/19/2006                  $75,000.00
10556253            2006‐HI2                           4/19/2006                  $33,500.00
10556267            2006‐HI2                           4/20/2006                  $42,000.00
10559217            2006‐HI2                           4/21/2006                  $48,000.00
10559321            2006‐HI2                           4/28/2006                  $30,000.00
10562539            2007‐HSA1                          6/26/2006                 $150,000.00
10562633            2006‐SA2                           4/26/2006                 $271,200.00
10564087            2006‐HSA3                          4/24/2006                  $48,500.00
10564155            2006‐HSA3                          4/24/2006                 $100,000.00
10564275            2006‐HSA3                          4/24/2006                  $17,000.00
10564407            2006‐HSA3                          4/24/2006                  $56,000.00
10564457            2006‐HSA3                          4/24/2006                  $64,500.00
10564459            2006‐HSA3                          4/24/2006                  $52,000.00
10564543            2006‐HSA5                          4/24/2006                  $32,000.00
10564711            2006‐HSA4                          4/24/2006                  $48,600.00
10564873            2006‐HSA3                          4/24/2006                  $50,000.00
10564883            2006‐HSA3                          4/24/2006                  $27,500.00
10564901            2006‐HSA4                          4/24/2006                  $45,000.00
10564903            2006‐HSA4                          4/24/2006                 $100,000.00
10564917            2006‐HSA3                          4/24/2006                  $90,000.00
10564935            2006‐HSA3                          4/24/2006                  $38,700.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10564983            2006‐HSA3                          4/24/2006                 $100,000.00
10565003            2006‐HSA3                          4/24/2006                  $32,200.00
10565051            2006‐HSA3                          4/24/2006                 $125,000.00
10565061            2006‐HSA4                          4/24/2006                  $55,000.00
10565073            2006‐HSA3                          4/24/2006                  $50,000.00
10566933            2006‐HSA4                          4/24/2006                 $100,000.00
10566941            2006‐HSA3                          4/24/2006                  $30,900.00
10566945            2006‐HSA3                          4/24/2006                  $36,300.00
10566947            2006‐HSA3                          4/24/2006                  $50,000.00
10566949            2006‐HSA4                          4/24/2006                  $27,000.00
10566951            2006‐HSA4                          4/24/2006                 $200,000.00
10566959            2006‐HSA4                          4/24/2006                  $78,000.00
10566961            2006‐HSA3                          4/24/2006                 $150,000.00
10566967            2006‐HSA4                          4/24/2006                  $48,000.00
10566971            2006‐HSA3                          4/24/2006                  $58,800.00
10566973            2006‐HSA3                          4/24/2006                  $77,000.00
10566975            2006‐HSA3                          4/24/2006                  $25,000.00
10566977            2006‐HSA3                          4/24/2006                  $65,000.00
10566979            2006‐HSA3                          4/24/2006                  $38,100.00
10566981            2006‐HSA4                          4/24/2006                  $66,000.00
10566987            2006‐HSA3                          4/24/2006                  $60,000.00
10566989            2006‐HSA3                          4/24/2006                  $30,000.00
10566995            2006‐HSA3                          4/24/2006                  $30,000.00
10567009            2006‐HSA3                          4/24/2006                  $35,000.00
10567021            2006‐HSA4                          4/24/2006                  $26,000.00
10567029            2006‐HSA3                          4/24/2006                  $30,000.00
10567041            2006‐HSA3                          4/24/2006                  $25,500.00
10567043            2006‐HSA4                          4/24/2006                  $15,000.00
10567045            2006‐HSA3                          4/24/2006                  $80,000.00
10567047            2006‐HSA4                          4/24/2006                  $50,000.00
10567051            2006‐HSA4                          4/24/2006                  $49,000.00
10567055            2006‐HSA3                          4/24/2006                  $55,000.00
10567057            2006‐HSA3                          4/24/2006                 $130,000.00
10567059            2006‐HSA3                          4/24/2006                  $90,000.00
10567061            2006‐HSA3                          4/24/2006                  $64,000.00
10567095            2006‐HSA3                          4/24/2006                  $94,000.00
10567101            2006‐HSA4                          4/24/2006                  $30,000.00
10567103            2006‐HSA4                          4/24/2006                  $90,000.00
10567765            2006‐HSA4                          4/24/2006                  $78,600.00
10568343            2006‐HSA4                          4/24/2006                  $30,000.00
10568373            2006‐HSA3                          4/24/2006                  $75,000.00
10568385            2006‐HSA4                          4/24/2006                  $65,000.00
10568391            2006‐HSA3                          4/24/2006                  $52,000.00
10568395            2006‐HSA4                          4/24/2006                  $92,000.00
10568417            2006‐HSA3                          4/24/2006                  $60,000.00
10568419            2006‐HSA4                          4/24/2006                 $135,000.00
10568421            2006‐HSA4                          4/24/2006                  $30,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10568441            2006‐HSA3                          4/24/2006                 $180,000.00
10568443            2006‐HSA3                          4/24/2006                  $30,000.00
10568455            2006‐HSA4                          4/24/2006                  $40,000.00
10568459            2006‐HSA4                          4/24/2006                  $54,000.00
10568465            2006‐HSA3                          4/24/2006                  $40,000.00
10568471            2006‐HSA3                          4/24/2006                  $68,000.00
10568485            2006‐HSA3                          4/24/2006                  $30,000.00
10568489            2006‐HSA3                          4/24/2006                  $54,000.00
10568493            2006‐HSA3                          4/24/2006                  $83,800.00
10568501            2006‐HSA3                          4/24/2006                 $100,000.00
10568503            2006‐HI2                           4/25/2006                  $68,000.00
10568509            2006‐HSA4                          4/24/2006                  $24,000.00
10568515            2006‐HSA4                          4/24/2006                  $30,000.00
10568525            2006‐HSA3                          4/24/2006                  $58,000.00
10568541            2006‐HSA3                          4/24/2006                  $10,000.00
10568563            2006‐HSA3                          4/24/2006                  $32,000.00
10568649            2006‐HSA4                          4/24/2006                  $94,000.00
10568679            2006‐HSA3                          4/24/2006                  $29,500.00
10568711            2006‐HI2                           4/21/2006                  $60,000.00
10568737            2006‐HI2                           4/25/2006                  $42,000.00
10569719            2006‐HSA3                          4/24/2006                  $30,000.00
10569729            2006‐HI2                           4/20/2006                  $30,000.00
10570643            2006‐HSA4                          4/20/2006                  $47,000.00
10570693            2006‐HI2                           4/17/2006                  $50,000.00
10571255            2006‐HSA3                          4/24/2006                  $30,000.00
10571341            2006‐HSA3                          4/24/2006                  $26,000.00
10573335            2006‐HSA3                          4/25/2006                 $109,000.00
10573479            2006‐HSA4                          4/20/2006                  $42,500.00
10573579            2006‐HSA4                          4/28/2006                  $45,000.00
10573743            2006‐HI2                           4/21/2006                  $46,000.00
10573865            2006‐HI2                           4/28/2006                  $33,300.00
10573891            2006‐HI2                           4/21/2006                  $75,000.00
10573923            2006‐HI2                           4/28/2006                  $22,000.00
10574075            2006‐HI2                           4/25/2006                  $51,500.00
10576573            2006‐QS13                           5/9/2006                 $108,500.00
10576671            2006‐HI2                           4/26/2006                  $45,900.00
10576711            2006‐HSA4                          4/26/2006                  $30,000.00
10577391            2006‐HI2                           4/26/2006                  $30,000.00
10580987            2006‐HI2                           4/26/2006                  $50,000.00
10580997            2006‐HSA4                          4/24/2006                  $30,000.00
10581085            2006‐HI2                           4/27/2006                  $47,700.00
10581091            2006‐HI2                           4/28/2006                  $50,000.00
10581139            2006‐HI2                           4/27/2006                  $45,400.00
10581161            2006‐HSA4                          4/28/2006                  $19,000.00
10581247            2006‐HSA4                          4/27/2006                 $100,000.00
10581365            2006‐HSA4                           5/9/2006                  $50,000.00
10581451            2006‐HSA4                          4/28/2006                  $42,500.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10581913            2006‐HSA4                          4/26/2006                  $35,000.00
10581927            2006‐HSA3                          4/25/2006                  $65,000.00
10581935            2006‐HSA4                          4/26/2006                  $48,000.00
10583049            2006‐HI2                           4/26/2006                  $53,000.00
10583431            2006‐QS5                            5/3/2006                 $200,000.00
10583435            2006‐QS5                           4/27/2006                 $111,650.97
10583919            2006‐HI2                           4/27/2006                  $30,000.00
10583923            2006‐HI2                           4/27/2006                  $25,800.00
10583935            2006‐HI2                           4/26/2006                  $52,000.00
10583981            2006‐HI2                           4/26/2006                  $58,800.00
10585117            2006‐HI2                           4/27/2006                  $63,000.00
10585181            2006‐HSA4                          4/27/2006                  $60,000.00
10590557            2006‐HSA4                           5/2/2006                  $70,000.00
10590595            2006‐HSA4                          5/11/2006                  $97,500.00
10590607            2006‐HSA4                           5/2/2006                  $54,100.00
10590643            2006‐HSA4                           5/2/2006                  $47,800.00
10590975            2006‐HSA4                          4/27/2006                  $50,000.00
10591061            2006‐S5                            4/27/2006                 $600,000.00
10591187            2006‐HI2                           4/28/2006                  $48,100.00
10596497            2006‐HI2                           4/28/2006                  $38,000.00
10596609            2006‐HI3                            5/3/2006                  $40,809.84
10597455            2006‐QS6                           5/16/2006                 $152,800.00
10597633            2006‐QO6                            5/3/2006                 $575,000.00
10598969            2006‐QS6                            5/2/2006                 $114,400.00
10599227            2006‐SA2                            5/2/2006                 $465,000.00
10599383            2006‐QS6                           5/11/2006                 $160,000.00
10601057            2006‐HI3                           5/11/2006                  $46,512.54
10601289            2006‐QS6                            5/3/2006                 $130,400.00
10601687            2006‐QA6                            5/5/2006                 $127,200.00
10603079            2006‐QS8                            5/4/2006                 $212,000.00
10603581            2006‐QA6                            6/2/2006                 $132,400.00
10604219            2006‐HI3                            5/4/2006                  $74,915.75
10606455            2006‐QS5                            5/9/2006                 $100,000.00
10612277            2006‐HI3                           5/11/2006                  $15,391.76
10612601            2006‐HSA4                          5/26/2006                  $68,000.00
10612661            2006‐QO6                           5/12/2006                 $252,000.00
10612769            2006‐HI3                           5/11/2006                  $59,881.25
10612771            2006‐HSA4                          5/26/2006                  $25,000.00
10612863            2006‐HSA4                          5/26/2006                  $14,500.00
10612871            2006‐HSA4                          5/26/2006                  $25,500.00
10614433            2006‐QO6                           5/12/2006                 $200,000.00
10614449            2006‐QS13                          5/17/2006                 $145,600.00
10614451            2006‐KS8                            7/7/2006                 $136,000.00
10614459            2006‐QS5                           5/11/2006                 $161,000.00
10614727            2006‐QO6                           5/12/2006                 $211,000.00
10614749            2006‐QO6                            6/2/2006                 $157,500.00
10614771            2006‐QO6                           5/12/2006                 $113,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10614779            2006‐QS6                           5/12/2006                 $105,000.00
10615057            2006‐QO6                           5/17/2006                 $240,000.00
10615063            2006‐QO6                           5/12/2006                 $560,000.00
10615071            2006‐QO6                           5/11/2006                 $280,000.00
10615085            2006‐QO6                           5/24/2006                 $330,000.00
10615103            2006‐QO6                           5/12/2006                  $76,500.00
10615109            2006‐SA2                           5/16/2006                 $208,000.00
10615123            2006‐QO6                           5/12/2006                 $430,000.00
10615239            2006‐QO6                            6/9/2006                 $215,200.00
10615299            2006‐QO6                           5/12/2006                 $105,000.00
10615751            2006‐HSA4                           5/9/2006                  $24,000.00
10616891            2006‐QO5                           5/12/2006                 $407,500.00
10617875            2006‐QO6                           5/17/2006                 $260,000.00
10619593            2006‐QO6                           5/26/2006                 $263,200.00
10624857            2006‐QO6                           5/17/2006                 $200,000.00
10624979            2006‐QO6                           5/15/2006                 $328,000.00
10625005            2006‐SA2                           5/12/2006                 $554,475.23
10625127            2006‐QO6                           5/15/2006                 $204,000.00
10625147            2006‐QO7                           5/18/2006                 $511,500.00
10625155            2006‐QO6                           5/15/2006                 $256,000.00
10628165            2006‐HI3                            6/1/2006                  $31,941.64
10629701            2006‐QO6                           5/15/2006                 $278,200.00
10632301            2006‐QO6                           5/18/2006                 $576,000.00
10632411            2006‐QO6                           5/18/2006                 $400,000.00
10632521            2006‐QO6                           5/23/2006                 $184,000.00
10633827            2006‐QO6                           5/19/2006                 $488,000.00
10634101            2006‐QO6                           5/26/2006                 $184,000.00
10634167            2006‐QO6                            6/8/2006                 $544,000.00
10634663            2006‐HSA4                          5/26/2006                  $55,000.00
10634871            2006‐HSA5                          6/26/2006                  $58,000.00
10635813            2006‐QO6                           5/26/2006                 $120,000.00
10636295            2006‐QO6                           5/23/2006                 $164,700.00
10636329            2006‐QO6                           5/23/2006                 $224,000.00
10636331            2006‐QO6                            6/6/2006                 $390,500.00
10636377            2006‐QO6                           5/23/2006                 $123,200.00
10636387            2006‐QO6                           5/23/2006                 $166,000.00
10636425            2006‐HSA4                          5/26/2006                  $75,000.00
10636433            2006‐HSA4                          5/26/2006                 $100,000.00
10636455            2006‐HSA4                          5/26/2006                  $50,000.00
10636485            2006‐HSA4                          5/26/2006                 $100,000.00
10636505            2006‐HSA4                          5/26/2006                 $100,000.00
10636527            2006‐HSA4                          5/26/2006                  $99,500.00
10636537            2006‐HSA4                          5/26/2006                  $55,000.00
10636549            2006‐HSA4                          5/26/2006                 $100,000.00
10636561            2006‐HSA4                          5/26/2006                  $60,000.00
10636573            2006‐HSA4                          5/26/2006                  $50,000.00
10636581            2006‐HSA4                          5/26/2006                 $100,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10636593            2006‐HSA4                          5/26/2006                  $84,000.00
10636613            2006‐HSA4                          5/26/2006                  $50,000.00
10636615            2006‐HSA4                          5/26/2006                  $25,000.00
10636635            2006‐HSA4                          5/26/2006                  $43,000.00
10636643            2006‐HSA4                          5/26/2006                  $90,000.00
10636671            2006‐HSA4                          5/26/2006                  $65,500.00
10636701            2006‐HSA4                          5/26/2006                  $75,000.00
10636707            2006‐HSA4                          5/26/2006                  $92,500.00
10636711            2006‐HSA4                          5/26/2006                  $45,000.00
10636721            2006‐HSA4                          5/26/2006                 $150,000.00
10636735            2006‐HSA4                          5/26/2006                  $75,500.00
10636759            2006‐HSA4                          5/26/2006                 $100,000.00
10636761            2006‐HSA4                          5/26/2006                  $76,000.00
10636771            2006‐HSA4                          5/26/2006                  $19,900.00
10636783            2006‐HSA4                          5/26/2006                  $50,000.00
10636821            2006‐HSA4                          5/26/2006                  $40,800.00
10636827            2006‐HSA4                          5/26/2006                  $75,000.00
10636833            2006‐HSA4                          5/26/2006                  $67,000.00
10636837            2006‐HSA4                          5/26/2006                 $167,000.00
10636893            2006‐HSA4                          5/26/2006                  $94,200.00
10636933            2006‐HSA4                          5/26/2006                  $85,000.00
10636935            2006‐HSA4                          5/26/2006                 $100,000.00
10636945            2006‐HSA4                          5/26/2006                  $46,500.00
10636959            2006‐HSA4                          5/26/2006                  $89,000.00
10636963            2006‐HSA4                          5/26/2006                  $23,000.00
10636975            2006‐HSA4                          5/26/2006                  $69,000.00
10636981            2006‐HSA4                          5/26/2006                  $79,000.00
10636997            2006‐HSA4                          5/26/2006                  $86,000.00
10637017            2006‐HSA4                          5/26/2006                  $78,400.00
10637027            2006‐HSA4                          5/26/2006                 $150,000.00
10637865            2006‐HSA4                          5/26/2006                  $25,000.00
10637867            2006‐HSA4                          5/26/2006                  $58,300.00
10637869            2006‐HSA4                          5/26/2006                  $26,500.00
10637871            2006‐HSA4                          5/26/2006                 $125,000.00
10637873            2006‐HSA4                          5/26/2006                 $175,000.00
10638213            2006‐HSA4                          5/26/2006                  $34,500.00
10638215            2006‐HSA4                          5/26/2006                 $143,000.00
10638221            2006‐HSA4                          5/26/2006                  $73,000.00
10638225            2006‐HSA4                          5/26/2006                  $46,800.00
10638235            2006‐HSA4                          5/26/2006                 $184,000.00
10638243            2006‐HSA4                          5/26/2006                  $60,000.00
10638245            2006‐HSA4                          5/26/2006                  $51,000.00
10638259            2006‐HSA4                          5/26/2006                  $66,600.00
10638271            2006‐HSA4                          5/26/2006                  $70,000.00
10638273            2006‐HSA4                          5/26/2006                 $100,000.00
10638283            2006‐HSA4                          5/26/2006                  $50,000.00
10638291            2006‐HSA4                          5/26/2006                 $100,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10638383            2006‐S5                            5/23/2006                 $503,000.00
10638393            2006‐QO6                           5/26/2006                 $150,000.00
10638421            2006‐QO6                           5/19/2006                 $145,000.00
10638425            2006‐QO6                           5/24/2006                 $240,000.00
10638447            2006‐QO6                           5/24/2006                 $199,000.00
10638457            2006‐QO6                           5/24/2006                 $180,000.00
10638731            2006‐QO6                           5/25/2006                 $300,000.00
10638907            2006‐HI4                            6/1/2006                  $59,500.00
10642017            2006‐QO6                           5/25/2006                 $293,500.00
10642037            2006‐QO6                           5/26/2006                 $148,500.00
10642059            2006‐QO6                           5/25/2006                 $289,600.00
10642095            2006‐QO6                           5/24/2006                 $415,000.00
10644141            2006‐QO6                           5/24/2006                 $156,000.00
10644169            2006‐QO6                           5/26/2006                 $172,000.00
10646243            2006‐QO6                            6/6/2006                 $464,000.00
10646407            2006‐QO6                           5/31/2006                 $392,000.00
10646449            2006‐QO6                           5/31/2006                 $189,600.00
10646675            2006‐S5                             6/9/2006                 $555,000.00
10646881            2006‐QO6                            6/6/2006                 $338,400.00
10647045            2006‐HI3                            6/8/2006                  $44,083.50
10647055            2006‐QS6                           5/26/2006                 $140,000.00
10648089            2006‐QS7                            6/6/2006                 $236,000.00
10648215            2006‐QO6                            6/6/2006                 $228,000.00
10648537            2006‐QS6                           5/31/2006                 $154,000.00
10650991            2006‐HSA5                          6/29/2006                  $75,000.00
10651469            2006‐HI3                           5/31/2006                  $37,500.00
10653805            2006‐HI3                           5/31/2006                  $59,889.26
10653879            2006‐HI4                            6/1/2006                  $30,000.00
10655403            2006‐HI3                            6/8/2006                  $32,100.00
10655445            2006‐QO6                            6/6/2006                 $545,000.00
10655457            2006‐HI3                            6/5/2006                  $28,293.11
10656377            2006‐S5                             6/6/2006                 $470,000.00
10657401            2006‐QO6                            6/6/2006                 $556,000.00
10659821            2006‐QS6                           6/13/2006                 $195,000.00
10659991            2006‐SA3                           6/22/2006                 $700,000.00
10663437            2006‐HI4                           7/14/2006                  $30,000.00
10663769            2006‐HSA5                          6/23/2006                  $70,000.00
10665533            2006‐S5                             6/9/2006                 $176,000.00
10665807            2006‐QS8                            6/9/2006                 $232,000.00
10666353            2006‐HI4                           6/30/2006                  $30,000.00
10669689            2006‐S5                             6/8/2006                 $570,000.00
10669719            2006‐QS6                            6/8/2006                 $216,800.00
10669765            2006‐QO6                           6/14/2006                  $81,000.00
10670269            2006‐HI3                            6/8/2006                  $24,950.54
10674467            2006‐HI3                           6/15/2006                  $46,600.00
10674523            2006‐QO6                           6/16/2006                 $280,000.00
10675679            2006‐QO8                           6/15/2006                 $176,700.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10676043            2006‐QO6                            6/9/2006                 $275,000.00
10678887            2006‐QO6                            6/9/2006                 $301,500.00
10679821            2006‐QO8                           6/28/2006                 $450,000.00
10687913            2006‐QA6                           6/23/2006                 $238,000.00
10689125            2006‐QO6                           6/13/2006                 $264,000.00
10691227            2006‐QO6                           6/15/2006                 $340,000.00
10691293            2006‐QO8                           6/28/2006                 $168,000.00
10691387            2006‐HSA5                          6/14/2006                  $55,300.00
10691969            2006‐QS6                            6/9/2006                 $284,411.07
10693947            2006‐QS6                           6/13/2006                 $160,000.00
10694177            2006‐HSA5                          6/26/2006                  $27,250.00
10694209            2006‐HSA5                          6/26/2006                  $39,200.00
10694605            2006‐HSA5                          6/26/2006                 $100,000.00
10695207            2006‐HSA5                          6/26/2006                 $100,000.00
10695277            2006‐HSA5                          6/26/2006                  $30,000.00
10695337            2006‐HSA5                          6/26/2006                  $40,800.00
10695383            2006‐HSA5                          6/26/2006                  $18,600.00
10697049            2006‐HSA5                          6/26/2006                  $47,000.00
10697095            2006‐HSA5                          6/26/2006                  $39,000.00
10697097            2006‐HSA5                          6/26/2006                  $65,000.00
10697099            2006‐HSA5                          6/26/2006                  $53,000.00
10697101            2006‐HSA5                          6/26/2006                  $53,500.00
10697109            2006‐HSA5                          6/26/2006                  $31,000.00
10697111            2006‐HSA5                          6/26/2006                  $86,000.00
10697121            2006‐HSA5                          6/26/2006                  $45,000.00
10697125            2006‐HSA5                          6/26/2006                  $42,000.00
10699143            2006‐HSA5                          6/23/2006                  $31,200.00
10699165            2006‐HSA5                          6/23/2006                  $60,000.00
10699185            2006‐HSA5                          6/23/2006                  $71,400.00
10699191            2006‐HSA5                          6/23/2006                  $69,800.00
10699253            2006‐HSA5                          6/23/2006                  $43,500.00
10699265            2006‐HSA5                          6/23/2006                 $241,000.00
10699337            2006‐HSA5                          6/23/2006                  $28,600.00
10699343            2006‐HSA5                          6/23/2006                  $39,400.00
10699345            2006‐HSA5                          6/23/2006                 $150,000.00
10699373            2006‐HSA5                          6/23/2006                  $52,000.00
10699377            2006‐QS6                           6/16/2006                 $167,000.00
10699379            2006‐QO6                           6/16/2006                 $200,000.00
10699409            2006‐S5                            6/15/2006                 $496,000.00
10699443            2006‐QS8                           6/21/2006                 $166,400.00
10700185            2006‐QA6                           6/14/2006                 $230,000.00
10702289            2006‐HI3                           6/16/2006                  $41,922.67
10705669            2006‐QS6                           6/14/2006                 $167,250.00
10705689            2006‐QA6                           6/15/2006                 $102,300.00
10707895            2006‐HSA5                          6/26/2006                  $42,500.00
10707909            2006‐HSA5                          6/26/2006                  $48,600.00
10707913            2006‐HSA5                          6/26/2006                 $100,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10707929            2006‐HSA5                          6/26/2006                  $75,000.00
10707943            2006‐HSA5                          6/26/2006                  $21,700.00
10707951            2006‐HSA5                          6/26/2006                  $19,000.00
10707965            2006‐HSA5                          6/26/2006                  $25,000.00
10707971            2006‐HSA5                          6/26/2006                  $42,000.00
10707975            2006‐HSA5                          6/26/2006                  $15,800.00
10707979            2006‐HSA5                          6/26/2006                  $66,000.00
10707981            2006‐HSA5                          6/26/2006                 $165,000.00
10707995            2006‐HSA5                          6/26/2006                  $30,000.00
10707997            2006‐HSA5                          6/26/2006                  $75,000.00
10707999            2006‐HSA5                          6/26/2006                  $40,000.00
10708009            2006‐HSA5                          6/26/2006                  $41,700.00
10708013            2006‐HSA5                          6/26/2006                  $30,000.00
10708023            2006‐HSA5                          6/26/2006                  $50,000.00
10708029            2006‐HSA5                          6/26/2006                  $17,000.00
10708043            2006‐HSA5                          6/26/2006                 $100,000.00
10708083            2006‐HSA5                          6/26/2006                  $25,000.00
10708111            2006‐HSA5                          6/26/2006                  $25,700.00
10708141            2006‐HSA5                          6/26/2006                  $32,000.00
10708325            2006‐HSA5                          6/26/2006                  $75,000.00
10708363            2006‐HSA5                          6/26/2006                  $30,000.00
10708375            2006‐HSA5                          6/26/2006                 $134,000.00
10709729            2006‐HSA5                          6/26/2006                  $28,000.00
10709769            2006‐HSA5                          6/26/2006                  $30,000.00
10709807            2006‐HSA5                          6/26/2006                  $64,700.00
10709883            2006‐HSA5                          6/26/2006                  $85,000.00
10709923            2006‐HSA5                          6/26/2006                  $65,000.00
10709963            2007‐HSA1                          6/26/2006                  $76,200.00
10709967            2006‐HSA5                          6/26/2006                  $72,000.00
10709969            2006‐HSA5                          6/26/2006                  $95,200.00
10711771            2006‐HSA5                          6/26/2006                 $175,000.00
10711785            2006‐QS9                           6/29/2006                 $147,000.00
10713253            2006‐S6                            6/28/2006                 $475,000.00
10713305            2006‐HSA5                          6/26/2006                  $44,250.00
10713365            2006‐HSA5                          6/26/2006                  $48,500.00
10713483            2006‐HSA5                          6/26/2006                  $25,000.00
10713509            2006‐HSA5                          6/26/2006                 $100,000.00
10713555            2006‐HSA5                          6/26/2006                  $35,000.00
10713603            2006‐HSA5                          6/26/2006                  $30,500.00
10713619            2006‐HSA5                          6/26/2006                  $31,000.00
10713645            2006‐HSA5                          6/26/2006                  $56,000.00
10713819            2006‐HSA5                          6/26/2006                 $140,000.00
10713955            2006‐HSA5                          6/26/2006                  $16,500.00
10714011            2006‐HSA5                          6/26/2006                  $75,000.00
10714051            2006‐HSA5                          6/26/2006                  $90,900.00
10714053            2006‐HSA5                          6/26/2006                  $40,000.00
10714055            2006‐HSA5                          6/26/2006                 $143,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10714061            2006‐HSA5                          6/26/2006                  $16,000.00
10714083            2006‐HSA5                          6/26/2006                  $30,000.00
10714089            2006‐HSA5                          6/26/2006                 $100,000.00
10714103            2006‐HSA5                          6/26/2006                 $150,000.00
10714123            2006‐HSA5                          6/26/2006                  $58,000.00
10714129            2006‐HSA5                          6/26/2006                 $150,000.00
10714135            2006‐HSA5                          6/26/2006                 $136,500.00
10714141            2006‐HSA5                          6/26/2006                 $200,000.00
10714147            2006‐HSA5                          6/26/2006                  $10,000.00
10714165            2006‐HSA5                          6/26/2006                  $80,000.00
10714167            2006‐HSA5                          6/26/2006                  $10,000.00
10714173            2006‐HSA5                          6/26/2006                  $30,000.00
10714181            2006‐HSA5                          6/26/2006                  $30,000.00
10714203            2006‐HSA5                          6/26/2006                 $100,000.00
10714205            2006‐HSA5                          6/26/2006                 $104,500.00
10714243            2006‐HSA5                          6/26/2006                  $93,750.00
10714249            2006‐HSA5                          6/26/2006                  $30,000.00
10714251            2006‐HSA5                          6/26/2006                  $36,500.00
10714263            2006‐HSA5                          6/26/2006                  $16,000.00
10714289            2006‐HSA5                          6/26/2006                  $50,000.00
10714305            2006‐HSA5                          6/26/2006                  $20,000.00
10714335            2006‐HSA5                          6/26/2006                  $21,000.00
10714337            2006‐HSA5                          6/26/2006                  $33,250.00
10714369            2006‐HSA5                          6/26/2006                  $41,700.00
10714371            2006‐HSA5                          6/26/2006                  $70,000.00
10714375            2006‐HSA5                          6/26/2006                  $85,900.00
10714445            2006‐HSA5                          6/26/2006                  $22,000.00
10714447            2006‐HSA5                          6/26/2006                  $33,900.00
10714451            2006‐HSA5                          6/26/2006                  $85,000.00
10714453            2006‐HSA5                          6/26/2006                  $87,200.00
10714465            2006‐HSA5                          6/26/2006                  $42,000.00
10714491            2006‐HSA5                          6/26/2006                  $75,000.00
10714523            2006‐HSA5                          6/26/2006                  $28,000.00
10714527            2006‐HSA5                          6/26/2006                  $28,000.00
10714533            2006‐HSA5                          6/26/2006                  $50,000.00
10714563            2006‐HSA5                          6/26/2006                  $50,000.00
10714571            2006‐HSA5                          6/26/2006                  $52,500.00
10714573            2006‐HSA5                          6/26/2006                 $150,000.00
10714591            2006‐HSA5                          6/26/2006                  $25,100.00
10714599            2006‐HSA5                          6/26/2006                  $78,000.00
10714601            2006‐HSA5                          6/26/2006                  $25,500.00
10714607            2006‐HSA5                          6/26/2006                  $12,550.00
10714609            2006‐HSA5                          6/26/2006                  $30,000.00
10714613            2006‐HSA5                          6/26/2006                  $31,000.00
10714617            2006‐HSA5                          6/26/2006                  $23,000.00
10714619            2006‐HSA5                          6/26/2006                  $48,500.00
10714627            2006‐HSA5                          6/26/2006                  $47,400.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10714629            2006‐HSA5                          6/26/2006                  $68,000.00
10714635            2006‐HSA5                          6/26/2006                  $40,500.00
10714639            2006‐HSA5                          6/26/2006                  $57,000.00
10717151            2006‐QO7                           6/21/2006                 $250,000.00
10717291            2006‐HI3                           6/27/2006                  $46,900.00
10717947            2006‐QO7                           6/23/2006                 $200,000.00
10720333            2006‐HSA5                          6/29/2006                 $137,000.00
10720413            2006‐QO9                           7/10/2006                 $276,000.00
10720633            2006‐SA3                           6/23/2006                 $475,000.00
10720729            2006‐QO7                           6/23/2006                 $117,000.00
10720783            2006‐QA6                           6/22/2006                 $358,648.26
10723227            2006‐QO8                           6/28/2006                 $517,000.00
10723285            2006‐QA6                           6/23/2006                 $147,200.00
10723313            2006‐HI3                           6/27/2006                  $46,000.00
10727019            2006‐QO8                           6/27/2006                 $255,000.00
10727121            2006‐SA3                           6/23/2006                 $455,000.00
10727173            2006‐QO7                           6/23/2006                 $240,000.00
10728041            2006‐QO7                           6/28/2006                 $300,000.00
10730859            2006‐HI3                           6/27/2006                  $57,600.00
10730925            2006‐QO7                           6/27/2006                 $256,600.00
10730929            2006‐S6                            6/23/2006                 $417,000.00
10731189            2006‐QO7                           7/11/2006                 $201,500.00
10731531            2006‐QO7                           6/28/2006                 $148,000.00
10732813            2006‐HSA5                          7/17/2006                 $100,000.00
10733319            2006‐HSA5                          7/18/2006                  $58,000.00
10733349            2006‐HSA5                          7/17/2006                 $150,000.00
10733361            2006‐HSA5                          7/25/2006                  $38,000.00
10733595            2006‐HSA5                          6/27/2006                  $55,000.00
10734077            2006‐HSA5                          6/29/2006                  $90,000.00
10734081            2006‐HSA5                          7/17/2006                 $160,000.00
10734085            2006‐HSA5                          6/29/2006                  $14,000.00
10734089            2006‐HSA5                          6/29/2006                  $50,000.00
10734091            2006‐HSA5                          7/17/2006                  $15,000.00
10734103            2006‐QO7                           6/28/2006                 $245,000.00
10734123            2006‐HSA5                          6/29/2006                  $44,000.00
10734131            2006‐HSA5                          6/29/2006                  $57,400.00
10734135            2006‐HSA5                          6/29/2006                  $50,500.00
10734155            2006‐HSA5                          7/17/2006                  $30,000.00
10734159            2006‐HSA5                          7/17/2006                  $17,500.00
10734161            2006‐HSA5                          6/29/2006                 $125,000.00
10734183            2006‐HSA5                          6/30/2006                  $33,000.00
10734191            2006‐HSA5                          6/29/2006                  $50,000.00
10734229            2006‐HSA5                          7/17/2006                 $150,000.00
10734235            2006‐HSA5                          7/17/2006                  $30,000.00
10734241            2006‐HSA5                          7/25/2006                 $240,000.00
10734255            2006‐HSA5                          7/17/2006                 $200,000.00
10734271            2006‐HSA5                          6/29/2006                  $32,700.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10734277            2006‐HSA5                          7/17/2006                  $30,000.00
10734285            2006‐HSA5                          6/29/2006                  $52,800.00
10734291            2006‐HSA5                          7/17/2006                  $14,000.00
10734293            2006‐HSA5                          7/18/2006                  $21,500.00
10734553            2006‐HSA5                          7/18/2006                 $180,000.00
10734561            2006‐HSA5                          6/29/2006                  $23,800.00
10734567            2006‐HSA5                          6/29/2006                  $30,000.00
10734587            2006‐HSA5                          6/29/2006                  $98,400.00
10734603            2006‐HSA5                          7/17/2006                  $21,000.00
10734789            2006‐HSA5                          7/18/2006                  $99,000.00
10734793            2006‐HSA5                          6/29/2006                  $65,000.00
10736269            2006‐QO7                           6/28/2006                 $440,000.00
10736375            2006‐QO9                           6/28/2006                 $240,000.00
10737061            2006‐HSA5                          7/17/2006                 $115,000.00
10737763            2006‐QO7                            7/5/2006                 $540,000.00
10737981            2006‐S6                            6/30/2006                 $500,000.00
10738011            2006‐S7                            6/29/2006                 $290,000.00
10738699            2006‐QS9                           6/27/2006                 $120,000.00
10738731            2006‐HI4                           6/30/2006                  $45,000.00
10738749            2006‐QO7                            7/5/2006                 $229,000.00
10741497            2006‐QS9                           6/28/2006                 $108,000.00
10741587            2006‐S6                            6/29/2006                 $498,000.00
10741675            2006‐QO7                           6/28/2006                 $432,250.00
10741793            2006‐QO9                           7/19/2006                 $650,000.00
10741891            2006‐S6                            6/29/2006                 $606,000.00
10743003            2006‐QO7                           6/29/2006                 $234,000.00
10743323            2006‐S6                             7/7/2006                 $576,000.00
10746845            2006‐S6                            6/30/2006                 $650,000.00
10749275            2006‐QO7                           8/23/2006                 $344,000.00
10749279            2006‐QO8                            7/5/2006                 $498,000.00
10749319            2006‐S6                             7/5/2006                 $180,000.00
10749495            2006‐QS8                           7/18/2006                 $129,600.00
10752019            2006‐HI4                            7/5/2006                  $50,000.00
10755319            2006‐S6                            7/13/2006                 $430,000.00
10755343            2006‐S6                            7/11/2006                 $541,000.00
10755359            2006‐QS13                           7/5/2006                 $242,400.00
10755389            2006‐HI4                           7/13/2006                  $35,000.00
10755539            2006‐QS10                           8/3/2006                 $227,154.36
10756001            2006‐S6                             7/7/2006                 $450,000.00
10759415            2006‐HI4                           7/11/2006                  $50,000.00
10759519            2006‐QO7                            7/6/2006                 $174,100.00
10759673            2006‐QS8                           7/10/2006                 $136,800.00
10759675            2006‐S6                            7/12/2006                 $450,000.00
10759703            2006‐QS8                           7/17/2006                 $300,000.00
10761817            2006‐QO8                           7/11/2006                 $371,000.00
10761919            2006‐HI4                           7/14/2006                  $40,000.00
10761949            2006‐HSA5                          7/17/2006                  $99,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10761971            2006‐HI4                           7/10/2006                  $30,000.00
10762245            2006‐HSA5                          7/10/2006                 $100,000.00
10762383            2006‐S6                            7/13/2006                 $562,000.00
10765935            2006‐S6                            7/12/2006                 $280,000.00
10766225            2006‐QO8                           7/11/2006                 $240,400.00
10766227            2006‐QO9                           7/10/2006                 $149,400.00
10766391            2006‐QO7                           7/12/2006                 $260,000.00
10766403            2006‐QS9                           7/13/2006                 $134,000.00
10766451            2006‐S6                            7/11/2006                 $477,000.00
10766471            2006‐S6                            7/12/2006                 $425,600.00
10766689            2006‐HI4                           7/19/2006                  $75,000.00
10766733            2006‐HI4                           8/14/2006                  $57,500.00
10766741            2006‐HI4                           7/13/2006                  $47,100.00
10767887            2006‐HI4                           7/26/2006                  $30,000.00
10767919            2006‐QS8                           7/14/2006                 $128,000.00
10767945            2006‐QO7                           7/12/2006                 $176,400.00
10767947            2006‐HI4                           7/13/2006                  $60,000.00
10768013            2006‐QO7                           7/20/2006                 $196,200.00
10768185            2006‐HI4                           7/13/2006                  $75,000.00
10768205            2006‐HI4                           7/26/2006                  $30,000.00
10768213            2006‐HI4                           7/14/2006                  $26,500.00
10768221            2006‐HI4                           7/18/2006                  $30,000.00
10768233            2006‐QO7                           7/13/2006                 $250,000.00
10768247            2006‐HI4                           7/17/2006                  $30,000.00
10768265            2006‐HI4                           7/13/2006                  $35,000.00
10768271            2006‐QO7                           7/25/2006                 $250,000.00
10768291            2006‐HI4                           7/11/2006                  $50,000.00
10768309            2006‐QO7                           7/25/2006                 $258,000.00
10768325            2006‐QS9                           7/12/2006                  $84,000.00
10768403            2006‐QO7                           7/14/2006                 $179,500.00
10768423            2006‐QO7                           7/12/2006                 $335,000.00
10770047            2006‐HI4                           7/13/2006                  $30,000.00
10770419            2006‐S6                            7/14/2006                 $522,400.00
10770439            2006‐S6                            7/18/2006                 $638,500.00
10770669            2006‐QS11                          7/28/2006                 $226,471.07
10774609            2006‐HI4                           7/13/2006                  $75,000.00
10774743            2006‐S6                            7/12/2006                 $525,000.00
10776541            2006‐HI4                           7/17/2006                  $40,000.00
10776649            2006‐HI4                           7/26/2006                  $60,000.00
10776731            2006‐S6                            7/14/2006                 $529,000.00
10776803            2006‐S6                            7/17/2006                 $485,000.00
10776823            2006‐QS10                          7/25/2006                  $96,800.00
10776825            2006‐S6                            7/17/2006                 $150,000.00
10776835            2006‐S7                            7/14/2006                 $122,000.00
10777079            2006‐QS8                           7/17/2006                 $252,000.00
10780923            2006‐HI4                           7/18/2006                  $27,000.00
10781183            2006‐HI4                           7/17/2006                  $70,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10781299            2006‐QO7                           7/25/2006                 $237,000.00
10781331            2006‐QO7                           7/28/2006                 $215,000.00
10781367            2006‐QO7                           7/28/2006                 $432,000.00
10781385            2006‐QO7                           8/11/2006                 $460,000.00
10781431            2006‐S6                            7/18/2006                 $500,000.00
10783097            2006‐S6                            7/18/2006                 $525,500.00
10783121            2006‐HI4                           7/18/2006                  $38,300.00
10783125            2006‐S6                            7/19/2006                 $290,000.00
10783175            2006‐S7                            7/28/2006                 $559,200.00
10787987            2006‐HSA5                          7/19/2006                 $135,000.00
10788091            2006‐S7                            7/21/2006                 $452,000.00
10788257            2006‐HI4                           7/19/2006                  $45,000.00
10788527            2006‐QO7                           7/25/2006                 $114,600.00
10790609            2006‐HI4                           7/25/2006                  $74,700.00
10790639            2006‐HI4                           7/26/2006                  $30,000.00
10790865            2006‐HI4                           7/20/2006                  $50,000.00
10791401            2006‐S7                             8/1/2006                 $427,000.00
10791539            2006‐QS10                          7/20/2006                 $129,200.00
10791655            2006‐QO7                           7/27/2006                 $231,000.00
10794545            2006‐HI4                           7/31/2006                  $30,000.00
10794613            2006‐HI4                           7/28/2006                  $50,000.00
10794669            2006‐HI4                           7/25/2006                  $66,000.00
10794725            2006‐HI4                           7/26/2006                  $40,000.00
10794763            2006‐QO7                            8/2/2006                 $240,000.00
10794845            2006‐HSA5                          7/28/2006                  $47,200.00
10794881            2006‐QS11                           8/2/2006                 $106,000.00
10795081            2006‐HI4                           7/28/2006                  $56,200.00
10795125            2006‐HSA5                          7/28/2006                  $60,000.00
10795155            2006‐HSA5                          7/28/2006                  $25,000.00
10795183            2006‐HSA5                          7/28/2006                 $130,000.00
10795227            2006‐HSA5                          7/28/2006                 $100,000.00
10795263            2006‐HSA5                          7/24/2006                  $30,000.00
10795265            2006‐HSA5                          7/28/2006                  $47,900.00
10795269            2006‐HSA5                          7/26/2006                  $27,400.00
10795287            2006‐HSA5                          7/24/2006                  $62,800.00
10795313            2006‐HI4                           7/31/2006                  $75,000.00
10795473            2006‐HSA5                          7/26/2006                  $21,500.00
10795903            2006‐HSA5                          7/26/2006                  $38,700.00
10795925            2006‐HSA5                           8/4/2006                  $42,000.00
10795931            2006‐HSA5                          7/26/2006                 $126,000.00
10795957            2006‐HSA5                          7/25/2006                  $35,600.00
10795991            2006‐HSA5                          7/24/2006                  $41,800.00
10796033            2006‐HSA5                          7/27/2006                  $78,400.00
10796035            2006‐HSA5                          7/26/2006                 $168,400.00
10796043            2006‐HSA5                          7/26/2006                  $44,000.00
10796045            2006‐HSA5                          7/28/2006                  $58,000.00
10796049            2006‐HSA5                          7/26/2006                 $150,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10796057            2006‐HSA5                          7/27/2006                  $75,000.00
10796059            2006‐HSA5                          7/26/2006                 $120,000.00
10796061            2006‐HSA5                          7/28/2006                 $157,000.00
10796071            2006‐HSA5                          7/25/2006                  $18,500.00
10796079            2006‐HSA5                          7/28/2006                  $83,000.00
10796081            2006‐HSA5                          7/24/2006                 $199,600.00
10796089            2006‐HSA5                          7/26/2006                  $49,000.00
10796099            2006‐HSA5                          7/25/2006                  $70,000.00
10796109            2006‐HSA5                          7/26/2006                 $125,000.00
10796117            2006‐HSA5                           8/1/2006                  $20,000.00
10796121            2006‐HSA5                          7/26/2006                  $62,600.00
10796123            2006‐HSA5                          7/28/2006                 $100,000.00
10796127            2006‐HSA5                           8/1/2006                 $150,000.00
10796131            2006‐HSA5                           8/1/2006                  $83,000.00
10796135            2006‐HSA5                          7/26/2006                  $71,000.00
10796137            2006‐HSA5                          7/25/2006                  $70,000.00
10796139            2006‐HSA5                          7/24/2006                 $100,000.00
10796143            2006‐HSA5                          7/25/2006                  $93,000.00
10796151            2006‐HSA5                          7/27/2006                  $43,000.00
10796153            2006‐HSA5                          7/26/2006                  $48,000.00
10796155            2006‐HSA5                           8/8/2006                 $100,000.00
10796157            2006‐HSA5                           8/1/2006                 $100,000.00
10796161            2006‐HSA5                           8/1/2006                  $36,500.00
10796163            2006‐HSA5                          7/25/2006                  $33,000.00
10796167            2006‐HSA5                          7/25/2006                  $49,000.00
10796173            2006‐HSA5                          7/26/2006                  $44,000.00
10797469            2006‐HSA5                           8/1/2006                 $200,000.00
10797471            2006‐HSA5                          7/25/2006                  $30,700.00
10797477            2006‐HSA5                           8/1/2006                  $36,500.00
10797481            2006‐HSA5                           8/8/2006                  $20,000.00
10797485            2006‐HSA5                           8/1/2006                 $141,000.00
10797503            2006‐HSA5                          7/24/2006                 $100,000.00
10797519            2006‐HSA5                          7/28/2006                  $27,000.00
10797533            2006‐HSA5                          7/24/2006                  $39,000.00
10797539            2006‐HSA5                          7/26/2006                  $30,000.00
10797577            2006‐HSA5                          7/28/2006                  $52,500.00
10797579            2006‐HSA5                          7/26/2006                  $50,000.00
10797611            2006‐HSA5                          7/28/2006                  $41,000.00
10797621            2006‐HSA5                          7/28/2006                 $111,900.00
10797677            2006‐HSA5                           8/1/2006                  $35,000.00
10797735            2006‐HSA5                           8/1/2006                 $100,000.00
10797751            2006‐HSA5                           8/1/2006                  $68,500.00
10797775            2006‐QO7                           7/25/2006                 $275,000.00
10797797            2006‐HSA5                           8/8/2006                  $55,000.00
10797837            2006‐QO7                           7/25/2006                 $525,000.00
10798011            2006‐S7                            7/25/2006                 $600,000.00
10798039            2006‐HI4                           7/31/2006                  $40,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10798063            2006‐HI4                           7/26/2006                  $35,000.00
10798189            2006‐HI4                           7/25/2006                  $33,000.00
10798215            2006‐HI4                           7/27/2006                  $35,000.00
10800841            2006‐HI4                           7/31/2006                  $60,000.00
10800869            2006‐HSA5                          7/31/2006                  $36,200.00
10800877            2006‐HI4                            8/7/2006                  $24,000.00
10800917            2006‐HSA5                           8/2/2006                  $75,400.00
10800921            2006‐HSA5                           8/1/2006                  $60,000.00
10800927            2006‐HSA5                          7/28/2006                  $37,800.00
10800929            2006‐HI4                            8/1/2006                  $61,100.00
10800937            2006‐HSA5                           8/2/2006                  $18,000.00
10800943            2006‐HSA5                          7/28/2006                  $62,000.00
10800945            2006‐QO7                            8/3/2006                 $325,000.00
10800953            2006‐HI4                           7/28/2006                  $75,000.00
10800959            2006‐HSA5                           8/2/2006                  $80,000.00
10801009            2006‐HSA5                           8/2/2006                  $22,000.00
10801017            2006‐HSA5                           8/2/2006                  $50,400.00
10801021            2006‐HSA5                           8/1/2006                 $100,000.00
10801029            2006‐HSA5                          7/31/2006                  $23,000.00
10801031            2006‐HSA5                           8/2/2006                  $39,100.00
10801053            2006‐HSA5                          7/31/2006                  $22,500.00
10801057            2006‐HSA5                          7/28/2006                 $163,000.00
10801061            2006‐HSA5                          7/31/2006                  $53,000.00
10801067            2006‐HSA5                           8/1/2006                  $40,000.00
10801079            2006‐HSA5                          7/28/2006                 $119,000.00
10801101            2006‐HSA5                           8/2/2006                 $186,500.00
10801111            2006‐HSA5                          7/31/2006                  $97,300.00
10801137            2006‐HSA5                          8/25/2006                  $54,000.00
10801649            2006‐QS11                          7/28/2006                 $108,800.00
10805295            2006‐QO8                           9/18/2006                 $391,500.00
10805309            2006‐QO7                            8/1/2006                 $350,000.00
10805335            2006‐SA4                            8/3/2006                 $425,000.00
10805359            2006‐HI4                           7/28/2006                  $50,000.00
10805383            2006‐HI4                           7/28/2006                  $50,000.00
10805425            2006‐HI4                           8/23/2006                  $43,000.00
10805429            2006‐HI4                           7/28/2006                  $75,000.00
10807097            2006‐QO7                            8/1/2006                 $242,500.00
10809043            2006‐HI4                            8/2/2006                  $30,000.00
10809065            2006‐HI4                           7/28/2006                  $40,000.00
10809083            2006‐HI4                           8/14/2006                  $38,000.00
10809221            2006‐QO7                           8/18/2006                 $400,000.00
10809229            2006‐QO7                            8/1/2006                 $159,000.00
10809313            2006‐QO7                            8/9/2006                 $315,000.00
10809505            2006‐S7                            7/31/2006                 $510,000.00
10809509            2006‐QS10                          7/28/2006                 $200,000.00
10812883            2006‐QO9                           7/28/2006                 $517,500.00
10812929            2006‐QS10                          7/31/2006                 $135,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10813235            2006‐QO8                           8/17/2006                 $204,000.00
10815371            2006‐SA3                           7/31/2006                 $600,000.00
10815439            2006‐QO7                            8/1/2006                 $160,800.00
10815587            2006‐QO7                            8/3/2006                 $168,000.00
10815917            2006‐HI4                            8/1/2006                  $25,100.00
10815933            2006‐HI4                            8/2/2006                  $25,100.00
10815959            2006‐HI4                            8/8/2006                  $11,300.00
10815969            2006‐HI4                            8/2/2006                  $53,000.00
10816011            2006‐QO7                            8/1/2006                 $303,000.00
10816015            2006‐HI4                            8/2/2006                  $30,000.00
10816057            2006‐HI4                            8/2/2006                  $70,300.00
10816059            2006‐HI4                            8/2/2006                  $31,000.00
10816063            2006‐QO7                           8/28/2006                 $316,000.00
10818079            2006‐HI4                            8/7/2006                  $38,500.00
10818099            2006‐QO7                            8/2/2006                 $252,000.00
10818115            2006‐HI4                            8/7/2006                  $21,500.00
10818143            2006‐QO7                            8/1/2006                 $588,000.00
10818145            2006‐HI4                            8/7/2006                  $40,500.00
10818169            2006‐QS11                           8/1/2006                 $100,000.00
10819937            2006‐HI4                            8/7/2006                  $35,000.00
10819939            2006‐HI4                            8/7/2006                  $50,000.00
10820003            2006‐HI4                            8/7/2006                  $30,000.00
10820023            2006‐HI4                            8/7/2006                  $60,000.00
10822365            2006‐HI4                            8/7/2006                  $30,000.00
10822947            2006‐HI4                            8/7/2006                  $25,000.00
10822969            2006‐HI4                            8/7/2006                  $39,200.00
10823273            2006‐QO7                           8/31/2006                 $575,000.00
10823301            2006‐QO7                            8/1/2006                 $260,000.00
10823347            2006‐QO7                            8/4/2006                 $380,000.00
10828041            2006‐HSA5                          8/11/2006                  $55,000.00
10828049            2006‐HSA5                           8/8/2006                  $75,000.00
10828053            2006‐HSA5                          8/10/2006                 $115,000.00
10828069            2006‐HSA5                          8/10/2006                 $155,000.00
10828073            2006‐HSA5                           8/4/2006                 $119,600.00
10828075            2006‐HSA5                           8/4/2006                 $141,000.00
10828087            2006‐HSA5                          8/10/2006                  $80,900.00
10828091            2006‐HSA5                           8/9/2006                  $50,000.00
10828093            2006‐HSA5                           8/7/2006                 $107,000.00
10828097            2006‐HSA5                          8/10/2006                  $35,000.00
10828111            2006‐HSA5                           8/8/2006                  $44,000.00
10828121            2006‐HSA5                           8/7/2006                  $65,000.00
10828123            2006‐HSA5                           8/7/2006                 $140,000.00
10828129            2006‐HSA5                           8/7/2006                  $30,000.00
10828135            2006‐HSA5                          8/28/2006                  $25,000.00
10828147            2006‐HSA5                           8/9/2006                  $15,400.00
10828183            2006‐HSA5                           8/2/2006                  $30,000.00
10828185            2006‐HSA5                          8/28/2006                  $95,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10828189            2006‐HSA5                           8/7/2006                  $32,000.00
10828201            2006‐HSA5                           8/7/2006                  $39,000.00
10828203            2006‐HSA5                           8/7/2006                 $109,000.00
10828209            2006‐HSA5                           8/9/2006                  $46,900.00
10828213            2006‐HSA5                           8/8/2006                  $50,000.00
10828223            2006‐HSA5                           8/9/2006                 $103,800.00
10828229            2006‐HSA5                           8/7/2006                 $138,550.00
10828239            2006‐QS11                           8/2/2006                 $416,000.00
10828243            2006‐HSA5                          8/10/2006                  $72,900.00
10828299            2006‐HSA5                           8/4/2006                  $45,000.00
10828301            2006‐HSA5                           8/7/2006                  $58,000.00
10828309            2006‐HSA5                          8/10/2006                  $47,000.00
10828315            2006‐HSA5                           8/7/2006                  $19,900.00
10828319            2006‐HSA5                           8/7/2006                 $100,000.00
10828325            2006‐HSA5                           8/8/2006                  $99,000.00
10828327            2006‐HSA5                           8/7/2006                 $128,000.00
10828329            2006‐HSA5                           8/7/2006                  $73,500.00
10828331            2006‐HSA5                           8/7/2006                  $10,000.00
10828333            2006‐HSA5                           8/9/2006                 $100,000.00
10828339            2006‐HSA5                           8/7/2006                  $70,600.00
10828345            2006‐HSA5                           8/8/2006                  $98,400.00
10828347            2006‐HSA5                          8/10/2006                  $44,500.00
10828361            2006‐QO7                            8/3/2006                 $405,000.00
10828363            2006‐HSA5                           8/7/2006                  $78,500.00
10828731            2006‐HI4                            8/8/2006                  $30,000.00
10828809            2006‐HSA5                           8/7/2006                  $90,000.00
10828927            2006‐HSA5                           8/9/2006                  $25,500.00
10828993            2006‐QO7                           8/11/2006                 $145,000.00
10828999            2006‐HSA5                           8/7/2006                  $85,000.00
10829005            2006‐HSA5                           8/7/2006                  $38,000.00
10829015            2006‐HSA5                          8/11/2006                  $18,000.00
10829037            2007‐HSA1                           8/2/2006                  $80,000.00
10829045            2006‐S7                             8/9/2006                 $580,000.00
10829143            2006‐HSA5                           8/7/2006                  $30,000.00
10829151            2006‐HSA5                           8/7/2006                  $30,000.00
10829171            2006‐HSA5                           8/8/2006                  $66,000.00
10829177            2006‐QO7                           8/10/2006                 $357,000.00
10829181            2006‐S9                             8/2/2006                 $575,000.00
10829211            2006‐HSA5                           8/7/2006                  $98,000.00
10829235            2006‐HSA5                           8/8/2006                  $30,000.00
10829277            2006‐HSA5                           8/7/2006                  $38,500.00
10829395            2006‐HSA5                           8/7/2006                  $67,000.00
10829423            2006‐HSA5                          8/10/2006                  $37,900.00
10829425            2006‐HSA5                           8/7/2006                  $40,000.00
10829447            2006‐HSA5                           8/7/2006                  $39,500.00
10829473            2006‐HSA5                          8/10/2006                  $30,000.00
10829537            2006‐HSA5                          8/10/2006                  $93,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10829545            2006‐HSA5                          8/10/2006                  $51,600.00
10829553            2006‐HSA5                           8/7/2006                  $55,000.00
10829569            2006‐HSA5                           8/7/2006                  $59,500.00
10829581            2006‐HSA5                           8/8/2006                  $83,800.00
10829593            2006‐HSA5                           8/7/2006                  $46,000.00
10829615            2006‐HSA5                          8/10/2006                  $54,600.00
10829619            2006‐HSA5                           8/7/2006                  $27,600.00
10829623            2006‐HSA5                           8/7/2006                  $35,000.00
10829631            2006‐HSA5                           8/8/2006                  $78,100.00
10829651            2007‐HSA1                           8/9/2006                 $130,600.00
10829665            2006‐HSA5                           8/8/2006                  $16,600.00
10829667            2006‐HSA5                          8/10/2006                  $93,800.00
10829691            2006‐HSA5                           8/7/2006                  $64,800.00
10829699            2006‐HSA5                          8/10/2006                  $33,900.00
10829707            2006‐HSA5                          8/10/2006                  $66,000.00
10829723            2006‐HSA5                           8/7/2006                 $140,000.00
10830975            2006‐HSA5                          8/10/2006                  $60,000.00
10830983            2006‐HI4                           8/10/2006                  $50,000.00
10831003            2006‐HSA5                          8/10/2006                  $21,900.00
10831041            2006‐HSA5                          8/10/2006                 $100,000.00
10831045            2006‐HSA5                           8/8/2006                  $17,500.00
10831063            2006‐QO7                            8/4/2006                 $256,000.00
10831081            2006‐HSA5                          8/10/2006                  $50,000.00
10831617            2006‐HSA5                          8/15/2006                  $52,400.00
10831635            2006‐QO7                            8/9/2006                 $119,000.00
10831637            2006‐HSA5                          8/16/2006                  $50,000.00
10831665            2006‐HSA5                          8/10/2006                 $115,000.00
10831741            2006‐HSA5                          8/10/2006                 $189,800.00
10831743            2006‐HSA5                          8/10/2006                  $30,000.00
10831755            2006‐HSA5                          8/10/2006                 $117,500.00
10831757            2006‐QO7                           8/10/2006                 $182,000.00
10831791            2006‐HSA5                          8/10/2006                  $77,000.00
10831801            2006‐HI4                           8/10/2006                  $45,000.00
10831805            2006‐QO7                            8/8/2006                 $356,000.00
10831835            2006‐HSA5                           8/9/2006                  $50,000.00
10831847            2006‐HSA5                          8/10/2006                 $145,000.00
10831859            2006‐HSA5                           8/8/2006                 $170,000.00
10831863            2006‐HSA5                           8/8/2006                  $25,000.00
10832059            2006‐HI4                           8/10/2006                  $50,000.00
10832151            2006‐HSA5                           8/9/2006                  $50,100.00
10832171            2006‐HI4                            8/9/2006                  $15,000.00
10832179            2006‐HI4                           8/10/2006                  $30,000.00
10832407            2006‐QO7                            8/4/2006                 $160,000.00
10832609            2006‐QO7                            8/4/2006                 $113,400.00
10836395            2006‐QS11                           8/9/2006                 $159,200.00
10836989            2006‐QS11                           8/8/2006                 $155,900.00
10837027            2006‐QO7                            8/8/2006                 $120,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10837059            2006‐SA3                           8/18/2006                 $260,000.00
10837541            2006‐HI4                           8/11/2006                  $35,000.00
10837543            2006‐HI4                           8/10/2006                  $25,000.00
10837553            2006‐HI4                           8/17/2006                  $42,000.00
10837555            2006‐HI4                            8/9/2006                  $50,000.00
10837557            2006‐HI4                            8/4/2006                  $32,500.00
10837567            2006‐HI4                            8/9/2006                  $30,000.00
10840069            2006‐HI4                            8/4/2006                  $30,000.00
10840815            2006‐QO7                           8/18/2006                 $400,000.00
10840841            2006‐QS10                           8/9/2006                 $170,000.00
10840857            2006‐QO7                            8/9/2006                 $270,000.00
10840871            2006‐QO7                            8/9/2006                 $355,000.00
10840923            2006‐QO7                            8/9/2006                 $395,250.00
10841009            2006‐QS11                           8/8/2006                 $333,600.00
10841043            2006‐S7                             8/9/2006                 $500,000.00
10841065            2006‐QO7                            8/8/2006                 $222,000.00
10841067            2006‐S7                             8/8/2006                 $493,000.00
10841221            2006‐HI4                           8/11/2006                  $71,000.00
10842131            2006‐HI4                           8/14/2006                  $48,000.00
10842139            2006‐HI4                           8/15/2006                  $38,200.00
10842155            2006‐HI4                           8/11/2006                  $50,000.00
10843533            2006‐QO7                           8/10/2006                 $361,000.00
10843535            2006‐QO7                           8/11/2006                 $541,000.00
10843555            2006‐QO7                            8/9/2006                 $152,000.00
10843559            2006‐QO7                           8/10/2006                 $118,000.00
10843593            2006‐QO7                           8/15/2006                 $300,000.00
10843603            2006‐QO8                           8/18/2006                 $440,000.00
10843625            2006‐QO7                            8/9/2006                 $360,000.00
10843649            2006‐HI4                           8/15/2006                  $29,500.00
10843727            2006‐QO7                           8/14/2006                 $158,400.00
10843737            2006‐HI4                           8/11/2006                  $37,000.00
10843753            2006‐HI4                           8/11/2006                  $54,300.00
10843791            2006‐HI4                           8/14/2006                  $35,500.00
10843813            2006‐HI4                           8/11/2006                  $40,000.00
10843831            2006‐HI4                           8/11/2006                  $36,200.00
10844109            2006‐HI4                           8/11/2006                  $45,000.00
10847365            2006‐QO7                           8/10/2006                 $194,000.00
10847401            2006‐S9                            8/25/2006                 $432,200.00
10847491            2006‐QO7                           8/10/2006                 $198,400.00
10847523            2006‐QO7                           8/17/2006                 $210,400.00
10847553            2006‐QO7                           8/11/2006                 $291,700.00
10847591            2006‐QO7                           8/14/2006                 $271,000.00
10847633            2006‐QO7                           8/14/2006                 $225,000.00
10847647            2006‐QO7                           8/10/2006                 $325,600.00
10847673            2006‐QO7                           8/10/2006                 $148,000.00
10847707            2006‐QO7                           8/11/2006                 $200,000.00
10847907            2006‐QO7                           8/18/2006                 $192,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10847937            2006‐QO7                           8/10/2006                 $210,000.00
10847993            2006‐QO7                           8/10/2006                 $256,500.00
10848989            2006‐QA7                           8/11/2006                 $224,200.00
10849277            2006‐SA4                           8/11/2006                 $152,000.00
10849603            2006‐HI4                           8/11/2006                  $40,000.00
10849643            2006‐HI4                           8/14/2006                  $45,000.00
10849661            2006‐HI4                           8/11/2006                  $30,000.00
10849671            2006‐HI4                           8/14/2006                  $42,000.00
10849681            2006‐HI4                           8/31/2006                  $45,000.00
10850329            2006‐HSA5                          8/11/2006                  $23,000.00
10850623            2006‐S7                            8/14/2006                 $417,100.00
10850801            2006‐QO7                           8/11/2006                 $335,250.00
10850857            2006‐QO7                           8/11/2006                 $280,000.00
10851165            2006‐QS12                          8/11/2006                 $120,800.00
10851205            2006‐QS10                          8/17/2006                 $125,932.97
10851221            2006‐S7                            8/15/2006                 $420,000.00
10851239            2006‐QS10                          8/17/2006                 $700,000.00
10852059            2006‐HI4                           8/11/2006                  $30,000.00
10852081            2006‐HI4                           8/14/2006                  $54,700.00
10852487            2006‐HI4                           8/15/2006                  $34,500.00
10852581            2006‐HI4                           8/11/2006                  $42,000.00
10855025            2007‐QO1                           8/15/2006                 $126,400.00
10855061            2006‐QO7                           8/18/2006                 $333,000.00
10855139            2006‐QO7                           8/14/2006                 $396,000.00
10855411            2006‐HI4                           8/15/2006                  $50,000.00
10855435            2006‐HI4                           8/15/2006                  $51,700.00
10857405            2006‐HI4                           8/16/2006                  $50,000.00
10857499            2006‐S8                            8/25/2006                 $186,000.00
10857683            2006‐HI4                           8/22/2006                  $75,000.00
10858559            2006‐HI4                           8/22/2006                  $32,000.00
10862579            2006‐HI4                           8/17/2006                  $75,000.00
10862599            2006‐HI4                           8/18/2006                  $34,500.00
10862609            2006‐QS10                          8/17/2006                 $275,400.33
10862653            2006‐QO8                           8/17/2006                 $225,500.00
10863079            2006‐QO7                           8/18/2006                 $163,000.00
10863601            2006‐HSA5                          8/23/2006                 $150,000.00
10866763            2006‐S8                            8/23/2006                 $491,200.00
10866773            2006‐HI4                           8/18/2006                  $37,200.00
10867461            2006‐S9                            8/25/2006                 $190,443.18
10867735            2006‐QS12                          8/18/2006                 $138,300.00
10868041            2006‐QO7                           8/18/2006                 $257,000.00
10868077            2006‐QO7                           8/17/2006                 $325,600.00
10868101            2006‐QO8                           8/18/2006                 $288,800.00
10868271            2006‐QO7                           8/18/2006                 $210,000.00
10869301            2006‐HI4                           8/23/2006                  $17,000.00
10869315            2006‐QO9                           8/18/2006                 $153,000.00
10871539            2006‐HI4                           8/21/2006                  $26,800.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10871613            2006‐HI4                           8/18/2006                  $24,400.00
10871947            2006‐S9                            8/23/2006                 $460,000.00
10871959            2006‐S8                            8/23/2006                 $492,000.00
10873563            2006‐HI4                            9/1/2006                  $33,000.00
10873569            2006‐HI4                           8/22/2006                  $42,200.00
10873579            2006‐HI4                           8/22/2006                  $29,900.00
10873681            2006‐HI4                           8/21/2006                  $30,000.00
10873691            2006‐QO7                           8/24/2006                 $220,000.00
10873751            2006‐QO7                           8/18/2006                 $203,000.00
10873813            2006‐HI4                           8/21/2006                  $39,000.00
10873829            2006‐HI4                            9/1/2006                  $45,000.00
10874197            2006‐HI4                           8/21/2006                  $60,000.00
10874217            2006‐QO7                           8/23/2006                 $358,000.00
10874253            2006‐HI4                           8/22/2006                  $40,000.00
10874259            2006‐QO7                           8/23/2006                 $500,000.00
10874895            2006‐HI4                           8/21/2006                  $43,000.00
10874913            2006‐QO7                           8/23/2006                 $161,800.00
10875201            2006‐QS12                          8/24/2006                 $167,000.00
10875231            2006‐QO8                           8/21/2006                 $300,000.00
10875251            2006‐QO7                           8/24/2006                 $133,500.00
10875261            2006‐QO7                           9/11/2006                 $315,000.00
10875563            2006‐QO7                           8/21/2006                 $284,000.00
10875585            2006‐QO7                           8/22/2006                 $216,000.00
10875601            2006‐QS14                          8/24/2006                 $152,000.00
10875603            2006‐S8                            8/24/2006                 $185,000.00
10876887            2006‐QO7                           8/24/2006                 $206,250.00
10876915            2006‐HI4                           8/31/2006                  $56,000.00
10878915            2006‐HI4                           8/24/2006                  $50,000.00
10879051            2006‐QO7                           8/28/2006                 $248,000.00
10879075            2006‐QO7                           8/24/2006                 $292,000.00
10879351            2006‐QO7                           8/31/2006                 $473,600.00
10881295            2006‐S9                             9/5/2006                 $263,900.00
10881305            2007‐HSA1                          8/29/2006                  $53,700.00
10881425            2006‐HSA5                          8/29/2006                 $100,000.00
10881427            2006‐QS12                          8/24/2006                  $96,000.00
10881429            2006‐QO7                           8/25/2006                 $160,000.00
10881449            2006‐HSA5                          8/30/2006                 $100,000.00
10881527            2006‐HSA5                          8/30/2006                  $75,000.00
10881545            2007‐HSA1                          8/29/2006                  $56,600.00
10881567            2006‐HSA5                          8/30/2006                  $55,000.00
10881581            2007‐HSA1                          8/29/2006                 $119,300.00
10881591            2007‐HSA1                          8/24/2006                  $52,000.00
10881609            2006‐HI4                           8/24/2006                  $42,000.00
10881621            2006‐HI4                           8/24/2006                  $75,000.00
10882119            2006‐HSA5                          8/30/2006                  $14,300.00
10882125            2007‐HSA1                          8/28/2006                  $66,000.00
10882127            2006‐HSA5                          8/30/2006                  $69,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10882161            2006‐HSA5                          8/30/2006                  $69,500.00
10882193            2006‐HSA5                          8/30/2006                  $79,000.00
10882203            2007‐HSA1                          8/30/2006                  $50,000.00
10882251            2007‐HSA1                          8/30/2006                  $55,800.00
10882265            2006‐HI4                           8/30/2006                  $46,500.00
10882275            2007‐HSA1                          9/13/2006                 $100,000.00
10882451            2007‐HSA1                          9/11/2006                  $11,000.00
10882483            2007‐HSA1                          8/31/2006                 $184,000.00
10882513            2006‐HSA5                          8/30/2006                  $27,500.00
10882533            2006‐QO7                           8/24/2006                 $270,000.00
10882605            2007‐HSA1                           9/1/2006                  $27,400.00
10882643            2006‐HSA5                          8/28/2006                  $44,000.00
10884009            2006‐HI4                           8/30/2006                  $35,000.00
10884013            2006‐QO7                           8/28/2006                 $351,000.00
10884037            2006‐HI4                           8/29/2006                  $75,000.00
10884047            2006‐HSA5                          8/30/2006                  $69,400.00
10884051            2006‐QO7                           8/28/2006                 $432,000.00
10884055            2006‐QO7                           8/28/2006                 $505,000.00
10884057            2006‐HI4                           8/30/2006                  $60,000.00
10884069            2007‐HSA1                          8/30/2006                  $68,000.00
10884079            2006‐HI4                           8/25/2006                  $75,000.00
10884471            2006‐HI4                           8/28/2006                  $47,000.00
10884473            2007‐HSA1                          8/30/2006                  $57,300.00
10884475            2006‐HSA5                          8/30/2006                  $73,000.00
10884483            2006‐HI4                           8/25/2006                  $30,000.00
10884493            2006‐HI4                            9/1/2006                  $30,000.00
10884499            2006‐HSA5                          8/30/2006                 $100,000.00
10884549            2006‐HSA5                          8/30/2006                  $60,000.00
10884565            2006‐HI5                           9/11/2006                  $40,400.00
10884573            2006‐HSA5                          8/28/2006                 $120,000.00
10884631            2006‐S9                            8/30/2006                 $501,300.00
10884683            2006‐S9                             9/1/2006                 $525,000.00
10886483            2006‐S9                            8/25/2006                 $508,000.00
10887229            2006‐S9                            8/25/2006                 $150,000.00
10889481            2006‐HI4                           8/31/2006                  $45,000.00
10889485            2006‐HI4                           8/31/2006                  $30,000.00
10889487            2006‐S10                            9/1/2006                 $568,800.00
10889489            2006‐HI4                           8/31/2006                  $63,800.00
10889497            2006‐HI4                            9/5/2006                  $50,000.00
10889503            2006‐HI4                           8/31/2006                  $57,400.00
10889505            2006‐HI4                            9/5/2006                  $40,000.00
10889511            2006‐HI4                           8/30/2006                  $62,600.00
10889519            2006‐HI4                           8/31/2006                  $47,400.00
10889527            2006‐HI4                           8/30/2006                  $58,600.00
10889535            2006‐HI4                           8/31/2006                  $50,000.00
10889537            2006‐HI4                           8/31/2006                  $39,600.00
10889539            2006‐HI4                           8/31/2006                  $30,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10889545            2006‐HI4                           8/31/2006                  $35,000.00
10889557            2006‐HI4                           8/30/2006                  $50,000.00
10889563            2006‐HI4                           8/30/2006                  $53,000.00
10889629            2006‐HI4                           8/30/2006                  $33,000.00
10889727            2007‐HSA2                          8/31/2006                  $40,000.00
10889773            2006‐HI4                           8/30/2006                  $25,000.00
10889849            2006‐S10                           8/31/2006                 $164,000.00
10890059            2006‐QS12                          8/31/2006                 $112,000.00
10892971            2006‐HI4                           8/31/2006                  $45,600.00
10892975            2006‐HI5                           9/25/2006                  $52,000.00
10892993            2006‐QO7                           8/29/2006                 $170,000.00
10893013            2006‐QO7                           8/29/2006                 $508,000.00
10896009            2007‐HSA1                          8/31/2006                  $50,000.00
10896123            2006‐S9                            8/31/2006                 $556,000.00
10896181            2006‐S9                            8/31/2006                 $430,500.00
10896363            2006‐QO8                           8/31/2006                 $266,000.00
10900835            2006‐HI4                           8/31/2006                  $67,000.00
10900855            2006‐HI4                           8/31/2006                  $25,000.00
10900969            2006‐S9                             9/1/2006                 $493,000.00
10905077            2006‐HI5                          10/10/2006                  $35,000.00
10906215            2006‐HI4                            9/5/2006                  $46,500.00
10906225            2006‐HI4                           8/31/2006                  $35,000.00
10906235            2006‐HI4                           8/31/2006                  $30,400.00
10906271            2006‐HI4                           8/31/2006                  $30,000.00
10906281            2006‐HI4                           8/31/2006                  $65,000.00
10906297            2006‐HI4                           8/31/2006                  $25,000.00
10906321            2006‐QO7                            9/1/2006                 $320,000.00
10906385            2006‐QS14                           9/5/2006                 $392,000.00
10906395            2006‐QS14                           9/8/2006                 $164,000.00
10906453            2006‐QO7                            9/1/2006                 $446,250.00
10908417            2006‐HI4                            9/1/2006                  $60,000.00
10908427            2006‐HI4                            9/1/2006                  $33,000.00
10908445            2006‐HI4                            9/5/2006                  $39,000.00
10908537            2006‐HI5                           9/11/2006                  $22,000.00
10908673            2006‐QO7                            9/5/2006                 $234,400.00
10908753            2006‐S9                             9/7/2006                 $447,200.00
10908813            2006‐QO8                           10/2/2006                 $273,000.00
10909097            2006‐QO9                           9/11/2006                 $203,000.00
10909439            2006‐S10                           9/12/2006                 $436,000.00
10909459            2006‐S10                            9/7/2006                 $535,000.00
10909623            2006‐QO9                            9/8/2006                 $241,200.00
10912135            2006‐HI4                            9/5/2006                  $73,500.00
10912137            2006‐HI4                            9/5/2006                  $49,000.00
10912177            2006‐HI4                            9/5/2006                  $50,000.00
10912223            2006‐QO8                           9/19/2006                 $224,000.00
10913229            2006‐QO8                           9/19/2006                 $268,000.00
10917623            2006‐HI4                            9/7/2006                  $43,100.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10917627            2006‐HI4                            9/7/2006                  $35,000.00
10917691            2006‐HI5                           9/20/2006                  $30,000.00
10917717            2006‐HI4                            9/7/2006                  $30,000.00
10917789            2006‐HI4                            9/7/2006                  $30,000.00
10917841            2006‐HI4                            9/7/2006                  $56,000.00
10917863            2006‐QO8                            9/7/2006                 $320,000.00
10917905            2006‐S8                             9/8/2006                 $417,000.00
10918029            2006‐S8                             9/8/2006                 $450,000.00
10918069            2006‐QO7                           9/12/2006                 $191,000.00
10918101            2006‐S8                            9/14/2006                 $431,510.38
10921385            2007‐HSA1                          9/21/2006                 $100,000.00
10922933            2006‐QS18                          9/13/2006                 $232,800.00
10922951            2006‐S9                             9/8/2006                 $227,000.00
10923031            2006‐QS12                          9/12/2006                 $147,200.00
10923045            2006‐QS14                          9/12/2006                 $220,000.00
10923057            2006‐HI4                            9/8/2006                  $60,000.00
10923065            2006‐S8                             9/8/2006                 $442,500.00
10923081            2006‐HI5                           9/11/2006                  $34,000.00
10923091            2006‐S8                             9/8/2006                 $486,000.00
10923095            2006‐HI5                           9/18/2006                  $60,000.00
10923127            2006‐HI4                            9/8/2006                  $50,000.00
10923141            2006‐S8                             9/8/2006                 $484,000.00
10923151            2006‐HI4                            9/8/2006                  $42,000.00
10923503            2006‐S9                             9/8/2006                 $484,000.00
10923663            2006‐S10                           9/27/2006                 $440,000.00
10926057            2006‐QO7                           9/11/2006                 $448,000.00
10926073            2006‐QS12                          9/11/2006                 $535,000.00
10926127            2006‐HI4                            9/8/2006                  $25,000.00
10926167            2006‐HI5                           9/25/2006                  $39,700.00
10926169            2006‐HI4                            9/8/2006                  $50,000.00
10926175            2006‐QS15                          9/27/2006                 $122,400.00
10926181            2006‐HI5                           9/12/2006                  $51,100.00
10926185            2006‐QO7                           9/11/2006                 $179,000.00
10926659            2006‐QO8                           9/12/2006                 $316,000.00
10927349            2006‐QO8                           9/18/2006                 $179,000.00
10927355            2006‐HI4                            9/8/2006                  $30,000.00
10927377            2006‐HI4                            9/8/2006                  $30,000.00
10927569            2006‐QO8                           9/14/2006                 $241,800.00
10928063            2006‐S10                           9/27/2006                 $625,000.00
10928081            2006‐QS12                          9/11/2006                 $124,000.00
10928307            2006‐S9                            9/11/2006                 $296,000.00
10928333            2006‐QO8                           9/13/2006                 $159,000.00
10930633            2006‐HI5                           9/28/2006                  $75,000.00
10930733            2006‐QO8                           9/12/2006                 $325,000.00
10930751            2006‐QS12                          9/12/2006                 $191,200.00
10930755            2006‐HI5                           9/11/2006                  $35,000.00
10930769            2006‐QO8                           9/15/2006                 $452,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10930777            2006‐QO8                           9/21/2006                 $518,000.00
10930783            2006‐QS14                          9/28/2006                 $125,687.86
10930807            2006‐S8                            9/20/2006                 $570,000.00
10930825            2006‐HI5                           9/11/2006                  $45,000.00
10930841            2006‐QO8                           9/12/2006                 $257,600.00
10931005            2006‐QO8                           9/21/2006                 $292,000.00
10931035            2006‐HI5                           9/11/2006                  $60,000.00
10931069            2006‐S10                           9/13/2006                 $432,000.00
10931093            2006‐HI5                           9/12/2006                  $60,000.00
10931097            2006‐HI5                           9/11/2006                  $27,000.00
10931145            2006‐QO7                           9/13/2006                 $280,000.00
10933817            2006‐HI5                           9/13/2006                  $61,000.00
10933843            2006‐HI5                           9/13/2006                  $75,000.00
10933923            2006‐HI5                           9/12/2006                  $29,700.00
10934209            2006‐HI5                           9/12/2006                  $60,000.00
10934251            2006‐QO8                           10/6/2006                 $213,500.00
10934253            2007‐HSA1                          9/12/2006                  $80,000.00
10934307            2006‐HI5                           9/12/2006                  $35,000.00
10934333            2006‐QO7                           9/13/2006                 $334,000.00
10934359            2006‐S8                            9/18/2006                 $184,000.00
10934371            2006‐QO8                           9/19/2006                 $148,500.00
10936035            2007‐HSA1                          9/15/2006                  $30,000.00
10936047            2007‐HSA1                          9/15/2006                  $51,000.00
10936059            2007‐HSA1                          9/18/2006                  $60,000.00
10936061            2006‐QO8                           9/15/2006                 $164,500.00
10936075            2007‐HSA1                          9/13/2006                  $47,800.00
10936117            2007‐HSA1                          9/18/2006                  $30,000.00
10936135            2007‐HSA1                          9/13/2006                  $50,300.00
10936147            2007‐HSA1                          9/13/2006                  $33,000.00
10936249            2007‐HSA1                          9/19/2006                  $93,000.00
10936275            2006‐HI5                           9/18/2006                  $30,000.00
10936317            2006‐S8                            9/14/2006                 $439,000.00
10936319            2007‐HSA1                          9/14/2006                  $63,700.00
10938697            2007‐HSA1                         11/21/2006                  $32,000.00
10938725            2007‐HSA1                          9/15/2006                  $75,000.00
10938729            2007‐HSA1                          9/15/2006                  $40,000.00
10938775            2007‐HSA1                          9/15/2006                  $54,000.00
10938891            2007‐HSA1                          9/13/2006                 $100,000.00
10939131            2006‐S8                            9/15/2006                 $558,000.00
10943009            2007‐HSA1                          9/18/2006                  $33,600.00
10943049            2007‐HSA1                          9/18/2006                  $54,000.00
10943397            2007‐HSA1                          9/18/2006                  $25,000.00
10943415            2007‐HSA1                          9/18/2006                  $62,500.00
10943791            2007‐HSA1                          9/19/2006                  $40,900.00
10944559            2006‐HI5                           9/15/2006                  $30,000.00
10944571            2007‐HSA1                          9/15/2006                 $110,000.00
10944581            2006‐HI5                           9/15/2006                  $30,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10944613            2006‐HI5                           9/18/2006                  $31,200.00
10944633            2007‐HSA1                          9/15/2006                 $100,000.00
10944667            2007‐HSA1                          9/15/2006                 $150,000.00
10944681            2007‐HSA1                          9/15/2006                  $54,000.00
10944753            2007‐HSA1                          9/19/2006                  $78,000.00
10944883            2007‐HSA1                          9/15/2006                 $112,300.00
10944903            2007‐HSA1                          9/18/2006                  $10,000.00
10944909            2007‐HSA1                          9/15/2006                 $247,000.00
10944927            2007‐HSA1                          9/21/2006                 $140,500.00
10944941            2007‐HSA1                          9/15/2006                  $27,500.00
10945023            2006‐S8                            9/19/2006                 $180,000.00
10945027            2006‐QS13                          9/19/2006                 $550,000.00
10949471            2006‐HI5                           9/18/2006                  $44,100.00
10949915            2006‐QO8                           9/25/2006                 $142,500.00
10949917            2006‐HI5                           9/18/2006                  $75,000.00
10950043            2006‐SA4                           9/20/2006                 $750,000.00
10950091            2007‐HSA1                          9/20/2006                  $30,000.00
10950111            2006‐HI5                           9/27/2006                  $30,000.00
10950131            2006‐HI5                           9/19/2006                  $41,600.00
10950157            2006‐HI5                           9/18/2006                  $30,000.00
10950307            2006‐QO8                           9/19/2006                 $283,000.00
10953021            2006‐HI5                           9/19/2006                  $51,000.00
10953025            2006‐HI5                           9/19/2006                  $35,000.00
10953049            2006‐HI5                           9/19/2006                  $50,000.00
10953069            2006‐HI5                           9/20/2006                  $60,000.00
10953071            2006‐HI5                           9/21/2006                  $35,000.00
10953117            2006‐HI5                           9/25/2006                  $35,000.00
10953151            2006‐HI5                           9/20/2006                  $30,300.00
10954051            2006‐QO8                           9/21/2006                 $148,000.00
10954065            2006‐QO8                           9/21/2006                 $600,500.00
10956059            2006‐HI5                           9/20/2006                  $35,000.00
10956095            2006‐HI5                           9/29/2006                  $25,000.00
10956113            2007‐HSA1                          9/21/2006                  $26,700.00
10956169            2006‐HI5                           9/22/2006                  $65,500.00
10956199            2007‐HSA1                          9/19/2006                  $12,000.00
10956381            2006‐QO8                           9/25/2006                 $164,000.00
10956523            2006‐QO8                           9/21/2006                 $161,200.00
10956633            2006‐QO8                           9/20/2006                 $230,000.00
10956747            2006‐QS14                          9/21/2006                 $107,900.00
10956931            2006‐QO9                           9/20/2006                  $73,500.00
10956945            2006‐QO8                           9/20/2006                 $260,000.00
10959013            2006‐HI5                           9/22/2006                  $68,500.00
10959021            2006‐HI5                           9/20/2006                  $32,900.00
10959031            2006‐HI5                           9/22/2006                  $50,000.00
10959045            2006‐HI5                           9/22/2006                  $55,000.00
10959053            2006‐HI5                           9/22/2006                  $60,000.00
10959061            2006‐HI5                           9/22/2006                  $50,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10959063            2006‐HI5                           9/20/2006                  $71,000.00
10959147            2006‐HI5                           9/22/2006                  $37,100.00
10959149            2006‐QS14                          9/29/2006                 $259,200.00
10959257            2006‐HI5                           9/22/2006                  $35,000.00
10959325            2007‐HSA1                          9/22/2006                  $40,000.00
10959345            2007‐HSA1                          9/22/2006                  $40,000.00
10968293            2007‐HSA1                          9/22/2006                  $95,000.00
10968333            2007‐HSA1                          9/28/2006                  $57,000.00
10968385            2007‐HSA1                          10/2/2006                  $60,000.00
10968487            2007‐HSA1                          9/22/2006                  $43,300.00
10968543            2006‐HI5                           9/22/2006                  $51,600.00
10968647            2006‐HI5                           9/27/2006                  $35,000.00
10968649            2007‐HSA1                          9/29/2006                  $64,700.00
10968723            2007‐HSA1                          10/2/2006                  $53,000.00
10969855            2007‐HSA1                          9/22/2006                  $30,000.00
10969969            2007‐HSA2                          9/28/2006                 $110,000.00
10970089            2007‐HSA2                          9/27/2006                  $55,500.00
10970147            2006‐QO8                           9/22/2006                 $288,000.00
10970923            2006‐QO8                           9/21/2006                 $224,000.00
10976053            2006‐HI5                           9/25/2006                  $25,000.00
10976057            2006‐HI5                           9/28/2006                  $59,000.00
10976111            2006‐QO8                           9/22/2006                 $242,600.00
10976119            2006‐HI5                           9/27/2006                  $60,000.00
10976159            2006‐HI5                           9/28/2006                  $30,000.00
10976171            2006‐HI5                           9/28/2006                  $50,000.00
10976231            2006‐HI5                           9/25/2006                  $37,000.00
10976247            2007‐HSA1                          9/29/2006                  $77,000.00
10976279            2006‐HI5                           9/25/2006                  $32,000.00
10976281            2006‐HI5                           9/28/2006                  $21,300.00
10976405            2006‐HI5                           9/28/2006                  $27,000.00
10976451            2006‐HI5                           9/25/2006                  $28,800.00
10976491            2006‐HI5                           9/28/2006                  $59,500.00
10976493            2006‐HI5                           9/28/2006                  $26,000.00
10976517            2006‐HI5                           9/28/2006                  $20,000.00
10976593            2006‐HI5                           9/28/2006                  $75,000.00
10976869            2007‐QO1                           9/27/2006                 $253,500.00
10976947            2006‐QO8                           9/29/2006                 $137,000.00
10977381            2006‐QO8                           9/28/2006                 $205,600.00
10978119            2006‐HI5                           9/28/2006                  $40,000.00
10978795            2006‐HI5                           9/28/2006                  $29,100.00
10978829            2006‐QO8                           9/28/2006                 $142,250.00
10978831            2006‐HI5                           9/28/2006                  $30,000.00
10978845            2006‐S10                           9/28/2006                 $636,000.00
10978867            2006‐HI5                           9/28/2006                  $75,000.00
10978889            2006‐HI5                           9/28/2006                  $60,000.00
10978901            2007‐HSA1                          9/25/2006                  $65,000.00
10978963            2006‐HI5                           9/28/2006                  $30,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10978975            2006‐HI5                           9/28/2006                  $75,000.00
10978987            2006‐HI5                           9/28/2006                  $31,500.00
10979007            2006‐HI5                           9/28/2006                  $35,000.00
10981907            2006‐QO8                           9/28/2006                 $178,000.00
10981927            2007‐HSA1                          10/2/2006                  $48,900.00
10981931            2006‐HI5                           9/28/2006                  $25,000.00
10981955            2006‐HI5                           9/29/2006                  $33,500.00
10982013            2007‐HSA1                          9/29/2006                  $40,000.00
10982107            2006‐QA9                           9/28/2006                 $195,600.00
10982425            2006‐QO8                           9/28/2006                 $132,000.00
10982541            2006‐QO8                           9/28/2006                 $415,000.00
10982777            2006‐QO9                          10/12/2006                 $364,000.00
10982903            2006‐QO9                           9/29/2006                 $471,000.00
10984005            2006‐QA9                           9/28/2006                 $134,400.00
10984027            2007‐HSA1                          10/2/2006                  $30,000.00
10984037            2007‐HSA1                          9/29/2006                  $59,900.00
10984041            2007‐HSA1                          9/29/2006                  $92,500.00
10984059            2007‐HSA1                          9/29/2006                  $20,000.00
10984097            2007‐HSA1                          9/29/2006                  $75,000.00
10984155            2007‐HSA1                          9/29/2006                  $95,000.00
10984189            2006‐HI5                           9/29/2006                  $73,100.00
10984193            2007‐HSA1                          9/29/2006                 $200,000.00
10984203            2007‐HSA1                          9/29/2006                 $100,000.00
10984207            2007‐HSA1                          9/29/2006                  $45,000.00
10984211            2007‐HSA1                          9/29/2006                 $150,000.00
10984213            2007‐HSA1                          9/29/2006                  $34,000.00
10984215            2007‐HSA1                          9/29/2006                  $28,000.00
10984219            2007‐HSA1                          9/29/2006                 $100,000.00
10984227            2006‐HI5                           10/5/2006                  $23,400.00
10984229            2007‐HSA1                          9/29/2006                  $41,600.00
10984237            2006‐S10                           10/2/2006                 $264,000.00
10984245            2007‐HSA1                          9/29/2006                  $44,500.00
10984249            2007‐HSA1                          10/2/2006                  $55,000.00
10984253            2006‐HI5                           10/2/2006                  $45,500.00
10984271            2007‐HSA1                          9/29/2006                  $60,000.00
10984277            2007‐HSA1                          9/29/2006                  $55,000.00
10984281            2007‐HSA1                          9/29/2006                  $12,800.00
10984283            2007‐HSA1                          9/29/2006                  $43,000.00
10984289            2007‐HSA1                          9/29/2006                  $56,500.00
10984291            2006‐S10                           9/29/2006                 $461,000.00
10984293            2007‐HSA1                          9/29/2006                  $59,000.00
10984307            2007‐HSA1                          9/29/2006                 $100,000.00
10984311            2007‐HSA1                          9/29/2006                 $124,000.00
10984313            2007‐HSA1                          9/29/2006                  $41,500.00
10984315            2007‐HSA1                          10/2/2006                 $100,000.00
10984323            2006‐QS18                          9/28/2006                 $149,500.00
10984337            2007‐HSA1                          9/29/2006                  $65,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10984341            2007‐HSA1                          10/2/2006                  $44,400.00
10984347            2007‐HSA1                          9/29/2006                  $48,500.00
10984357            2007‐HSA1                          9/29/2006                  $75,000.00
10984359            2007‐HSA1                          9/29/2006                  $94,000.00
10984361            2007‐HSA1                          9/29/2006                  $18,000.00
10984369            2007‐HSA1                          9/29/2006                  $43,000.00
10984375            2007‐HSA1                          9/29/2006                 $200,000.00
10984381            2007‐HSA1                          9/29/2006                 $122,000.00
10984391            2007‐HSA1                          9/29/2006                 $100,000.00
10984393            2007‐HSA1                          9/29/2006                  $25,500.00
10984399            2007‐HSA1                          9/29/2006                  $48,000.00
10984403            2007‐HSA1                          9/29/2006                  $84,000.00
10984407            2007‐HSA1                          9/29/2006                  $40,000.00
10984413            2007‐HSA1                          9/29/2006                  $68,000.00
10984417            2006‐HI5                           9/29/2006                  $50,000.00
10984427            2007‐HSA1                          9/29/2006                  $65,000.00
10984429            2007‐HSA1                          9/29/2006                  $43,000.00
10984435            2007‐HSA1                          9/29/2006                  $67,000.00
10984439            2007‐HSA1                          9/29/2006                 $100,000.00
10984541            2006‐QO9                           10/6/2006                 $100,000.00
10984565            2006‐QO8                           9/29/2006                 $281,000.00
10984623            2006‐QO8                           10/3/2006                 $587,000.00
10984695            2007‐HSA1                          9/29/2006                  $99,500.00
10984713            2007‐HSA1                          10/5/2006                  $48,000.00
10984715            2007‐HSA1                          9/29/2006                  $46,000.00
10984725            2007‐HSA1                          9/29/2006                 $110,000.00
10984733            2007‐HSA1                          9/29/2006                  $40,000.00
10984739            2007‐HSA1                          9/29/2006                  $55,000.00
10984743            2007‐HSA1                          10/2/2006                 $195,000.00
10984745            2007‐HSA1                          9/29/2006                  $45,000.00
10984747            2007‐HSA1                          9/29/2006                  $39,000.00
10984749            2007‐HSA1                          9/29/2006                  $30,000.00
10984751            2007‐HSA1                          10/2/2006                  $59,000.00
10984753            2007‐HSA1                          9/29/2006                 $140,000.00
10984759            2007‐HSA1                          9/29/2006                  $72,000.00
10984761            2007‐HSA1                          10/4/2006                 $147,000.00
10984765            2007‐HSA1                          9/29/2006                  $57,000.00
10984771            2007‐HSA1                          9/29/2006                  $68,000.00
10984777            2007‐HSA1                          9/29/2006                  $81,000.00
10984779            2007‐HSA3                          10/2/2006                  $37,000.00
10984781            2007‐HSA1                          9/29/2006                  $40,000.00
10984783            2007‐HSA1                          9/29/2006                  $52,000.00
10984789            2007‐HSA1                          10/2/2006                  $28,200.00
10984791            2007‐HSA1                          9/29/2006                  $87,500.00
10984797            2007‐HSA1                          9/29/2006                  $30,000.00
10984801            2007‐HSA1                          10/6/2006                  $55,000.00
10984807            2007‐HSA1                          9/29/2006                  $62,700.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10984813            2007‐HSA1                          9/29/2006                  $20,000.00
10984817            2007‐HSA1                          9/29/2006                  $75,000.00
10984819            2007‐HSA1                          9/29/2006                  $25,700.00
10984853            2007‐HSA1                          9/29/2006                 $150,000.00
10984857            2007‐HSA1                          10/2/2006                  $95,000.00
10984865            2007‐HSA1                          9/29/2006                  $23,300.00
10984883            2007‐HSA1                          9/29/2006                 $185,000.00
10984891            2007‐HSA1                          10/2/2006                  $71,300.00
10984893            2007‐HSA1                          10/2/2006                  $55,000.00
10984895            2007‐HSA1                          9/29/2006                  $40,000.00
10984897            2007‐HSA1                          9/29/2006                 $150,000.00
10984899            2007‐HSA1                          9/29/2006                  $27,000.00
10984901            2007‐HSA1                          9/29/2006                  $78,600.00
10984909            2007‐HSA1                          9/29/2006                  $75,000.00
10984911            2007‐HSA1                          9/29/2006                  $80,000.00
10985997            2006‐QO9                           10/5/2006                 $177,500.00
10986003            2007‐SA1                           10/2/2006                 $132,000.00
10986035            2007‐HSA1                          10/2/2006                  $32,500.00
10986071            2007‐HSA1                          10/2/2006                  $30,000.00
10986115            2007‐HSA1                          10/2/2006                  $30,000.00
10988309            2006‐QO8                           9/29/2006                 $350,400.00
10989771            2006‐HI5                           9/29/2006                  $30,000.00
10989773            2007‐HSA2                         10/12/2006                  $39,000.00
10989775            2006‐HI5                           10/6/2006                  $27,000.00
10989801            2007‐HSA1                          10/2/2006                  $20,000.00
10989809            2007‐HSA1                         10/12/2006                  $40,000.00
10989839            2007‐HSA1                          10/2/2006                  $70,000.00
10989849            2006‐HI5                           10/2/2006                  $30,000.00
10989867            2006‐HI5                           9/29/2006                  $62,000.00
10989891            2006‐HI5                           10/2/2006                  $33,000.00
10989895            2006‐HI5                           10/2/2006                  $35,000.00
10989913            2006‐HI5                           10/2/2006                  $40,000.00
10989965            2006‐HI5                           10/2/2006                  $35,000.00
10990117            2006‐S10                           10/2/2006                 $700,500.00
10990145            2007‐HSA1                         10/19/2006                  $42,000.00
10990199            2006‐QO10                          11/9/2006                 $314,000.00
10992673            2006‐HI5                           10/2/2006                  $75,000.00
10992865            2007‐HSA1                          10/2/2006                  $32,500.00
10992935            2006‐HI5                           10/2/2006                  $64,200.00
10992991            2006‐HI5                           10/2/2006                  $29,900.00
10993489            2006‐QO8                           10/3/2006                 $154,400.00
10996271            2007‐HSA1                         10/13/2006                 $105,000.00
10999399            2006‐HI5                           10/3/2006                  $53,000.00
10999401            2006‐HI5                           10/4/2006                  $48,600.00
10999411            2007‐HSA1                          10/4/2006                  $65,000.00
10999413            2006‐QO8                          10/10/2006                 $235,000.00
10999425            2007‐HSA1                          10/4/2006                  $78,500.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
10999435            2007‐HSA1                          10/3/2006                  $30,000.00
10999453            2007‐HSA1                          10/4/2006                  $73,500.00
10999457            2006‐HI5                          10/10/2006                  $30,000.00
10999465            2006‐HI5                           10/4/2006                  $35,000.00
10999467            2007‐HSA1                          10/4/2006                  $93,000.00
10999469            2006‐QO8                          10/11/2006                 $131,500.00
10999477            2006‐HI5                           10/4/2006                  $35,000.00
10999479            2006‐QO8                          10/11/2006                 $184,000.00
10999485            2006‐HI5                           10/4/2006                  $42,500.00
10999495            2007‐HSA1                          10/4/2006                  $70,000.00
10999507            2007‐HSA1                          10/4/2006                  $84,600.00
10999555            2006‐QO8                           10/6/2006                 $182,500.00
10999615            2007‐HSA1                          10/3/2006                  $60,000.00
11000253            2007‐HSA1                          10/3/2006                  $75,000.00
11002757            2006‐S10                           10/5/2006                 $430,000.00
11002761            2006‐HI5                           10/4/2006                  $50,000.00
11002769            2006‐HI5                           10/6/2006                  $50,000.00
11002791            2006‐QO8                           10/5/2006                 $500,000.00
11002825            2007‐HSA1                          10/4/2006                  $23,800.00
11002827            2006‐HI5                           10/3/2006                  $30,000.00
11002837            2006‐HI5                          10/12/2006                  $32,500.00
11002839            2006‐HI5                           10/4/2006                  $49,500.00
11003025            2006‐QO10                         10/11/2006                 $213,000.00
11003053            2006‐S10                           10/5/2006                 $274,400.00
11003073            2006‐S10                          10/11/2006                 $432,000.00
11003109            2006‐QO8                          10/11/2006                 $166,000.00
11008913            2007‐HSA1                          10/6/2006                  $78,000.00
11008983            2006‐HI5                          10/12/2006                  $48,500.00
11008989            2006‐HI5                           10/6/2006                  $60,000.00
11008991            2007‐HSA1                         10/10/2006                  $25,000.00
11008997            2007‐HSA1                          10/6/2006                  $49,000.00
11009005            2007‐HSA1                          10/6/2006                  $60,000.00
11009019            2007‐HSA1                         10/10/2006                  $72,700.00
11009021            2007‐HSA1                          10/6/2006                  $30,300.00
11009025            2007‐HSA1                         10/10/2006                  $30,000.00
11009043            2006‐QO8                           10/6/2006                 $292,000.00
11009047            2007‐HSA1                         10/10/2006                  $29,900.00
11009051            2007‐HSA1                          10/6/2006                  $68,000.00
11009069            2007‐HSA1                          10/5/2006                  $61,300.00
11009071            2007‐HSA1                         10/10/2006                  $37,200.00
11009075            2007‐HSA1                          10/5/2006                  $64,000.00
11009077            2007‐HSA1                          10/6/2006                  $35,500.00
11009105            2007‐HSA1                         10/10/2006                  $70,000.00
11009111            2007‐HSA1                         10/10/2006                  $25,000.00
11009125            2007‐HSA1                         10/10/2006                  $95,000.00
11009127            2007‐HSA1                         10/10/2006                  $80,000.00
11009135            2006‐S10                           10/6/2006                 $500,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11009139            2007‐HSA1                          10/6/2006                  $87,500.00
11009153            2007‐HSA1                          10/6/2006                  $48,500.00
11009167            2007‐HSA1                         10/10/2006                  $50,000.00
11009171            2007‐HSA1                          10/5/2006                  $36,000.00
11009175            2007‐HSA1                          10/4/2006                 $100,000.00
11009181            2006‐HI5                           10/6/2006                  $30,000.00
11009183            2006‐HI5                           10/6/2006                  $30,000.00
11009187            2007‐HSA1                         10/10/2006                  $38,000.00
11009191            2007‐HSA1                         10/10/2006                 $127,000.00
11009201            2007‐HSA1                         10/10/2006                 $150,000.00
11009203            2007‐HSA1                          10/6/2006                  $35,000.00
11009215            2007‐HSA1                         10/10/2006                  $60,000.00
11009245            2007‐HSA1                          10/6/2006                  $50,000.00
11009285            2007‐HSA1                          10/6/2006                  $41,000.00
11009299            2007‐HSA1                         10/12/2006                  $38,000.00
11009631            2007‐HSA1                          10/5/2006                  $80,000.00
11009659            2006‐S10                           10/6/2006                 $649,900.00
11009677            2006‐QO9                          10/10/2006                 $245,700.00
11013341            2007‐HSA1                         10/11/2006                 $200,000.00
11013437            2007‐HSA1                         10/11/2006                  $30,000.00
11013457            2007‐HSA1                         10/11/2006                  $49,000.00
11013465            2007‐HSA1                         10/11/2006                  $95,000.00
11013481            2007‐HSA1                         10/10/2006                  $70,000.00
11013515            2007‐HSA1                         10/10/2006                  $40,000.00
11013543            2006‐QO8                           10/6/2006                 $389,000.00
11013553            2007‐HSA1                         10/10/2006                  $58,500.00
11013563            2007‐HSA1                         10/10/2006                  $90,000.00
11013565            2006‐QO8                           10/6/2006                 $268,000.00
11013583            2007‐HSA1                         10/10/2006                  $26,000.00
11013591            2007‐HSA1                         10/10/2006                  $70,600.00
11013603            2007‐HSA1                         10/11/2006                 $156,500.00
11013605            2007‐HSA1                         10/10/2006                 $181,000.00
11013609            2006‐HI5                          10/11/2006                  $31,000.00
11013633            2007‐HSA1                         10/11/2006                  $40,000.00
11013637            2006‐HI5                          10/12/2006                  $50,000.00
11013641            2007‐HSA1                         10/10/2006                  $95,000.00
11013649            2007‐HSA1                         10/10/2006                 $100,000.00
11013661            2006‐HI5                          10/12/2006                  $49,500.00
11013675            2006‐HI5                          10/10/2006                  $40,000.00
11013679            2007‐HSA1                         10/13/2006                  $20,000.00
11013693            2006‐HI5                          10/10/2006                  $25,000.00
11013715            2007‐HSA1                         10/10/2006                  $54,400.00
11013735            2007‐HSA1                         10/10/2006                  $55,000.00
11013739            2007‐HSA1                         10/10/2006                  $35,000.00
11013773            2007‐HSA1                         10/10/2006                  $70,000.00
11013793            2007‐HSA1                         10/10/2006                  $95,700.00
11013795            2007‐HSA1                         10/10/2006                  $81,200.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11013823            2007‐HSA1                         10/11/2006                  $77,000.00
11013827            2007‐HSA1                         10/11/2006                 $100,000.00
11013839            2007‐HSA1                         10/10/2006                  $46,500.00
11013845            2007‐HSA1                         10/10/2006                  $52,000.00
11013857            2006‐HI5                          10/10/2006                  $30,000.00
11013861            2007‐HSA1                         10/11/2006                  $30,000.00
11013937            2006‐QO8                           10/6/2006                 $175,000.00
11013957            2006‐HI5                          10/10/2006                  $40,000.00
11013979            2006‐QO9                          10/26/2006                 $235,900.00
11014109            2006‐S11                           10/6/2006                 $425,000.00
11021175            2007‐HSA1                         10/10/2006                  $81,500.00
11021189            2007‐HSA1                         10/11/2006                  $31,500.00
11021207            2007‐HSA2                         10/11/2006                  $33,000.00
11021211            2007‐HSA1                         10/12/2006                  $37,600.00
11021223            2007‐HSA1                         10/11/2006                 $100,000.00
11021225            2007‐HSA1                         10/11/2006                  $64,000.00
11021235            2007‐HSA1                         10/10/2006                 $126,000.00
11021243            2006‐HI5                          10/12/2006                  $28,100.00
11021249            2007‐HSA1                         10/11/2006                 $100,000.00
11021253            2006‐HI5                          10/11/2006                  $30,000.00
11021267            2007‐HSA1                         10/10/2006                 $100,000.00
11021279            2007‐HSA1                         10/18/2006                  $30,000.00
11021287            2006‐HI5                          10/12/2006                  $30,000.00
11021297            2006‐HI5                          10/11/2006                  $29,000.00
11021305            2006‐HI5                          10/12/2006                  $25,000.00
11021311            2007‐HSA1                         10/12/2006                  $49,000.00
11021319            2006‐HI5                          10/11/2006                  $27,100.00
11021327            2007‐HSA1                         10/12/2006                  $64,000.00
11021335            2006‐HI5                          10/12/2006                  $70,000.00
11021363            2007‐HSA1                         10/12/2006                  $33,000.00
11021379            2007‐QO2                          10/24/2006                 $369,600.00
11021381            2006‐HI5                           10/5/2006                  $42,000.00
11021393            2007‐HSA1                         10/12/2006                 $150,000.00
11021409            2006‐S10                          10/16/2006                 $212,000.00
11021415            2006‐HI5                          10/13/2006                  $58,000.00
11021427            2006‐QO8                          10/11/2006                 $100,000.00
11021435            2007‐HSA1                         10/10/2006                  $22,800.00
11022879            2007‐HSA1                          11/8/2006                  $29,000.00
11024691            2006‐HI5                          10/11/2006                  $35,000.00
11024701            2007‐HSA1                         10/11/2006                  $64,300.00
11024709            2006‐QO8                          10/10/2006                 $600,000.00
11024717            2007‐HSA1                         10/12/2006                  $55,000.00
11024731            2007‐HSA1                         10/11/2006                  $63,300.00
11024741            2007‐HSA1                         10/13/2006                  $60,000.00
11025013            2007‐HSA1                         10/13/2006                  $22,800.00
11025019            2007‐HSA1                         10/11/2006                  $45,300.00
11025025            2007‐HSA1                         10/11/2006                 $150,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11025027            2006‐S10                          10/12/2006                 $475,000.00
11025029            2007‐HSA1                         10/12/2006                 $105,000.00
11025039            2007‐HSA1                         10/12/2006                  $75,000.00
11025053            2007‐HSA1                         10/12/2006                  $25,000.00
11025057            2007‐HSA1                         10/12/2006                  $73,900.00
11025061            2007‐HSA1                         10/13/2006                  $40,000.00
11025069            2007‐HSA1                         10/13/2006                  $85,000.00
11025073            2007‐HSA1                         10/12/2006                  $30,000.00
11025079            2007‐HSA1                         10/12/2006                 $150,000.00
11025089            2007‐HSA1                         10/12/2006                  $40,000.00
11025095            2007‐HSA1                         10/12/2006                  $93,000.00
11025097            2007‐HSA1                         10/13/2006                  $50,000.00
11025099            2007‐HSA1                         10/12/2006                  $31,000.00
11025103            2007‐HSA1                         10/13/2006                  $39,800.00
11025111            2007‐HSA1                         10/17/2006                  $40,000.00
11025123            2007‐HSA1                         10/12/2006                  $17,250.00
11025125            2007‐HSA1                         10/13/2006                  $57,000.00
11025129            2007‐HSA1                         10/12/2006                  $56,000.00
11025131            2007‐HSA1                         10/16/2006                  $83,000.00
11025141            2007‐HSA1                         10/12/2006                  $32,100.00
11025145            2007‐HSA1                         10/12/2006                  $48,800.00
11025149            2007‐HSA1                         10/12/2006                  $92,000.00
11025167            2007‐HSA1                         10/12/2006                  $40,000.00
11025171            2007‐HSA1                         10/12/2006                  $55,500.00
11025175            2007‐HSA1                         10/20/2006                  $78,950.00
11025181            2007‐HSA1                         10/12/2006                  $45,000.00
11025239            2007‐HSA1                         10/12/2006                 $100,000.00
11025379            2007‐HSA1                         10/12/2006                 $105,000.00
11025389            2007‐HSA1                         10/12/2006                 $150,000.00
11025401            2006‐HI5                          10/11/2006                  $42,000.00
11025413            2007‐HSA1                         10/12/2006                  $80,000.00
11025419            2007‐HSA1                         10/12/2006                  $34,800.00
11025469            2007‐HSA1                         10/12/2006                  $45,000.00
11025503            2007‐HSA1                         10/13/2006                  $43,600.00
11025563            2007‐HSA1                         10/12/2006                 $100,000.00
11025605            2006‐QO9                          10/13/2006                 $430,000.00
11025633            2006‐QO9                          10/16/2006                 $155,000.00
11025859            2006‐S10                          10/12/2006                 $485,000.00
11028511            2006‐QS15                         10/12/2006                 $112,000.00
11028545            2007‐HSA1                         10/13/2006                  $18,000.00
11028553            2006‐HI5                          10/13/2006                  $38,000.00
11028555            2007‐HSA1                         10/13/2006                  $97,300.00
11028565            2007‐HSA1                         10/13/2006                  $35,300.00
11028581            2007‐HSA1                         10/13/2006                  $51,500.00
11028839            2007‐HSA1                         10/13/2006                  $60,000.00
11028949            2007‐HSA1                         10/13/2006                  $50,000.00
11029065            2007‐HSA1                         10/13/2006                  $40,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11029083            2007‐HSA1                         10/13/2006                  $31,500.00
11029195            2006‐HI5                          10/13/2006                  $16,200.00
11029583            2007‐HSA1                         10/13/2006                  $48,500.00
11030337            2007‐HSA1                         10/13/2006                  $44,000.00
11030353            2007‐HSA1                         10/13/2006                  $18,000.00
11030357            2007‐HSA1                         10/13/2006                  $18,600.00
11030361            2007‐HSA1                         10/17/2006                  $24,600.00
11030373            2007‐HSA1                         10/13/2006                  $61,800.00
11030381            2007‐HSA1                         10/13/2006                 $142,000.00
11030385            2007‐HSA1                         10/13/2006                  $49,000.00
11030387            2007‐HSA1                         10/13/2006                  $33,000.00
11030391            2007‐HSA1                         10/13/2006                  $57,900.00
11030405            2007‐HSA1                         10/13/2006                  $44,000.00
11030423            2007‐HSA1                         10/13/2006                  $35,000.00
11030425            2007‐HSA1                         10/13/2006                  $22,000.00
11030435            2007‐HSA1                         10/13/2006                  $60,000.00
11030445            2007‐HSA1                         10/13/2006                  $60,000.00
11030447            2007‐HSA1                         10/13/2006                  $60,000.00
11030469            2007‐HSA1                         10/13/2006                  $50,000.00
11030471            2007‐HSA1                         10/13/2006                  $27,000.00
11030517            2007‐HSA1                         10/13/2006                  $30,000.00
11030523            2006‐HI5                          10/13/2006                  $75,000.00
11030537            2007‐HSA1                         10/13/2006                  $44,000.00
11030559            2007‐HSA1                         10/13/2006                 $167,700.00
11030563            2006‐HI5                          10/13/2006                  $66,500.00
11030663            2007‐HSA1                         10/13/2006                  $45,000.00
11030699            2007‐HSA1                         10/13/2006                  $26,500.00
11030829            2007‐HSA1                         10/13/2006                  $90,000.00
11030881            2006‐S10                          10/12/2006                 $204,000.00
11030917            2006‐S10                          10/12/2006                 $650,000.00
11030947            2006‐QO9                          10/12/2006                 $300,000.00
11031045            2006‐QS15                         10/12/2006                 $166,400.00
11032743            2007‐HSA1                         10/16/2006                  $40,000.00
11032759            2007‐HSA1                         10/16/2006                  $66,000.00
11032779            2007‐HSA1                         10/19/2006                  $47,000.00
11032787            2007‐HSA1                         10/16/2006                  $26,500.00
11032805            2007‐HSA1                         10/18/2006                  $75,700.00
11032827            2007‐HSA1                         10/16/2006                 $200,000.00
11032855            2007‐HSA1                         10/17/2006                  $40,000.00
11032859            2007‐HSA1                         10/16/2006                  $50,300.00
11032861            2007‐HSA1                         10/16/2006                  $90,100.00
11032873            2006‐S10                          10/12/2006                 $420,000.00
11032885            2007‐HSA1                         10/16/2006                  $19,000.00
11032903            2007‐HSA1                         10/16/2006                 $141,700.00
11032909            2007‐HSA1                         10/16/2006                  $23,500.00
11032925            2006‐S10                          10/16/2006                 $600,000.00
11032929            2007‐HSA1                         10/16/2006                 $144,900.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11032933            2007‐HSA1                         10/16/2006                  $30,000.00
11032971            2006‐HI5                          10/16/2006                  $54,900.00
11033019            2007‐HSA1                         10/16/2006                  $23,000.00
11033123            2007‐HSA1                         10/17/2006                  $85,000.00
11033135            2007‐HSA1                         10/16/2006                  $30,400.00
11033147            2007‐HSA1                         10/16/2006                  $59,600.00
11033181            2007‐HSA1                         10/16/2006                  $19,000.00
11033317            2007‐HSA1                         10/16/2006                 $150,000.00
11033345            2007‐HSA1                         10/16/2006                  $51,000.00
11033413            2007‐HSA1                         10/16/2006                  $75,000.00
11033707            2007‐SP3                          10/25/2006                 $161,000.00
11033749            2006‐QO9                          10/16/2006                 $171,000.00
11035105            2006‐QS16                         10/20/2006                 $235,200.00
11035221            2006‐RZ5                          10/18/2006                 $242,000.00
11035241            2007‐HSA1                         10/16/2006                  $63,000.00
11035299            2007‐HSA1                         10/16/2006                  $16,500.00
11035323            2006‐QS15                         10/17/2006                 $198,000.00
11035327            2006‐QO10                          11/8/2006                 $326,400.00
11035333            2007‐HSA1                         10/16/2006                  $46,500.00
11035353            2006‐S12                          10/17/2006                 $305,000.00
11035373            2006‐QS15                         10/16/2006                 $181,800.00
11035375            2006‐HI5                          10/16/2006                  $25,000.00
11035387            2006‐QS16                         10/23/2006                 $148,800.00
11035401            2006‐QO9                          10/18/2006                 $167,000.00
11035513            2007‐HSA1                         10/16/2006                  $68,000.00
11035529            2007‐HSA1                         10/16/2006                  $67,000.00
11035539            2007‐HSA1                         10/16/2006                 $125,000.00
11035563            2007‐HSA1                         10/16/2006                  $47,000.00
11035579            2007‐HSA1                         10/16/2006                 $100,000.00
11035737            2006‐HI5                          10/16/2006                  $42,000.00
11035753            2007‐HSA1                         10/16/2006                  $89,500.00
11035787            2007‐HSA1                         10/16/2006                  $50,500.00
11035815            2007‐QA1                          10/16/2006                 $336,000.00
11038911            2007‐HSA1                          11/2/2006                  $45,000.00
11038993            2007‐HSA1                         10/17/2006                  $12,300.00
11039949            2007‐HSA1                         10/17/2006                  $22,900.00
11040039            2007‐HSA1                         10/17/2006                  $42,600.00
11040095            2007‐HSA1                         10/17/2006                  $36,000.00
11040109            2006‐S10                          10/17/2006                 $500,000.00
11040157            2006‐QO9                          10/19/2006                 $264,000.00
11042151            2007‐HSA2                          11/6/2006                  $97,000.00
11042155            2007‐HSA1                         11/16/2006                  $28,500.00
11042335            2006‐QO9                          10/18/2006                 $125,600.00
11044471            2007‐HSA1                         11/22/2006                  $50,000.00
11046829            2006‐HI5                          10/19/2006                  $75,000.00
11047299            2007‐HSA1                         10/18/2006                  $20,000.00
11047301            2007‐HSA1                         10/19/2006                  $30,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11047305            2007‐HSA1                         10/19/2006                  $26,000.00
11047307            2006‐HI5                          10/19/2006                  $35,000.00
11047311            2006‐HI5                          10/19/2006                  $60,000.00
11047323            2007‐HSA1                         10/19/2006                  $39,500.00
11047325            2007‐HSA1                         10/20/2006                  $12,500.00
11047351            2007‐HSA1                         10/19/2006                  $75,000.00
11047353            2007‐HSA1                         10/18/2006                  $38,000.00
11047365            2006‐HI5                          10/19/2006                  $30,000.00
11047373            2007‐HSA1                         10/19/2006                  $16,000.00
11047383            2007‐HSA1                         10/19/2006                  $73,000.00
11047385            2007‐HSA1                         10/18/2006                 $100,000.00
11047389            2007‐HSA1                         10/19/2006                  $45,700.00
11047391            2007‐HSA1                         10/18/2006                  $50,500.00
11047401            2007‐HSA1                         10/19/2006                  $82,500.00
11047405            2007‐HSA1                         10/19/2006                  $44,000.00
11047407            2007‐HSA1                         10/19/2006                  $79,000.00
11047415            2006‐HI5                          10/19/2006                  $50,000.00
11047417            2007‐HSA1                         10/18/2006                  $28,300.00
11047425            2007‐HSA1                         10/19/2006                  $46,600.00
11047657            2007‐HSA1                         10/19/2006                 $100,000.00
11047681            2006‐QO10                         11/20/2006                 $215,200.00
11047713            2007‐HSA1                         10/19/2006                  $79,000.00
11047765            2006‐QO9                          10/20/2006                 $244,800.00
11047955            2006‐QO9                          10/20/2006                 $426,300.00
11047975            2006‐QO9                          10/20/2006                 $260,800.00
11048445            2006‐S11                          10/23/2006                 $480,000.00
11048591            2006‐QO9                          10/23/2006                 $162,000.00
11048611            2006‐QO9                          10/20/2006                 $248,000.00
11049983            2007‐HSA1                         10/23/2006                  $30,000.00
11050011            2006‐HI5                          10/20/2006                  $42,650.00
11050017            2007‐HSA1                         10/23/2006                  $50,000.00
11050039            2007‐HSA1                         10/20/2006                 $100,000.00
11050051            2007‐HSA1                         10/20/2006                  $27,000.00
11050059            2007‐HSA1                         10/23/2006                  $80,000.00
11050071            2007‐HSA1                         10/20/2006                 $200,000.00
11050101            2006‐HI5                          10/19/2006                  $20,500.00
11050111            2006‐HI5                          10/23/2006                  $51,500.00
11050113            2007‐HSA1                         10/20/2006                  $26,000.00
11050133            2007‐HSA1                         10/23/2006                  $15,400.00
11050139            2007‐HSA1                         10/23/2006                  $53,000.00
11050141            2007‐HSA1                         10/19/2006                  $30,000.00
11050149            2007‐HSA1                         10/23/2006                 $100,000.00
11050163            2007‐HSA1                         10/23/2006                  $50,000.00
11050199            2007‐HSA1                         10/23/2006                  $40,000.00
11050265            2007‐HSA1                         10/20/2006                  $63,000.00
11050281            2006‐HI5                          10/20/2006                  $30,000.00
11050389            2006‐QO9                          10/23/2006                 $172,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11050393            2007‐HSA1                         10/23/2006                  $21,700.00
11050453            2007‐HSA1                         10/23/2006                  $55,000.00
11050459            2007‐HSA1                         10/23/2006                 $100,000.00
11050485            2007‐HSA1                         10/23/2006                  $49,000.00
11050493            2006‐HI5                          10/23/2006                  $25,000.00
11050499            2007‐HSA1                         10/23/2006                  $55,000.00
11050509            2007‐HSA1                         10/20/2006                 $150,000.00
11050521            2007‐HSA1                         10/23/2006                  $97,900.00
11050523            2007‐HSA1                         10/23/2006                  $55,000.00
11050531            2007‐HSA1                         10/23/2006                 $135,000.00
11050533            2006‐QO9                          10/20/2006                 $351,000.00
11050539            2007‐HSA1                         10/23/2006                  $15,700.00
11050561            2007‐HSA1                         10/20/2006                  $54,000.00
11050583            2007‐HSA1                         10/23/2006                  $30,000.00
11050593            2007‐HSA1                         10/20/2006                  $63,000.00
11050599            2007‐HSA1                         10/23/2006                 $100,000.00
11050607            2007‐HSA1                         10/20/2006                  $57,500.00
11050625            2007‐HSA1                         10/23/2006                  $91,500.00
11050629            2007‐HSA1                         10/23/2006                 $150,000.00
11050637            2007‐HSA1                         10/23/2006                 $100,000.00
11050649            2007‐HSA1                         10/23/2006                  $90,000.00
11050693            2007‐HSA1                         10/23/2006                  $76,600.00
11050701            2007‐HSA1                         10/19/2006                  $59,000.00
11050739            2007‐HSA1                         10/23/2006                  $70,000.00
11050751            2007‐HSA1                         10/23/2006                  $37,000.00
11050849            2007‐HSA1                         10/20/2006                 $100,000.00
11050879            2007‐HSA1                         10/23/2006                  $85,000.00
11050897            2007‐HSA1                         10/23/2006                  $50,000.00
11052683            2006‐S11                          10/23/2006                 $474,000.00
11053145            2007‐HSA1                         10/25/2006                  $11,300.00
11053147            2006‐S11                          10/20/2006                 $422,500.00
11053157            2007‐HSA1                         10/23/2006                  $50,000.00
11053173            2007‐HSA1                         10/23/2006                  $20,200.00
11053191            2006‐HI5                          10/23/2006                  $37,200.00
11053195            2006‐S11                          10/23/2006                 $556,000.00
11053197            2006‐HI5                          10/23/2006                  $42,200.00
11053199            2006‐S11                          10/25/2006                 $452,000.00
11053207            2006‐S11                          10/23/2006                 $150,400.00
11053223            2006‐S11                          10/20/2006                 $158,000.00
11053295            2006‐HI5                          10/20/2006                  $42,500.00
11053297            2007‐HSA1                         10/23/2006                  $20,500.00
11053325            2007‐HSA1                         10/23/2006                  $14,200.00
11055115            2006‐HI5                          10/25/2006                  $52,000.00
11055141            2006‐HI5                          10/25/2006                  $31,000.00
11055145            2007‐HSA1                         10/23/2006                  $52,500.00
11055171            2006‐HI5                          10/24/2006                  $75,000.00
11055175            2007‐HSA1                         10/25/2006                  $47,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11055189            2007‐HSA2                         10/23/2006                  $90,000.00
11055193            2007‐HSA1                         10/24/2006                  $53,000.00
11055195            2007‐HSA1                         10/24/2006                  $32,000.00
11055197            2007‐HSA1                         10/25/2006                  $66,700.00
11055207            2006‐QO9                          10/25/2006                 $200,000.00
11055209            2007‐HSA2                         10/25/2006                  $80,000.00
11055219            2007‐HSA1                         10/24/2006                  $32,800.00
11055225            2007‐HSA1                         10/24/2006                 $100,000.00
11055227            2006‐HI5                          10/23/2006                  $35,000.00
11055233            2007‐HSA1                         10/23/2006                  $50,000.00
11055235            2007‐HSA1                         10/23/2006                  $37,600.00
11055347            2006‐HI5                          10/23/2006                  $50,000.00
11055379            2006‐S11                          10/27/2006                 $152,000.00
11055381            2006‐HI5                          10/25/2006                  $30,000.00
11055383            2007‐HSA1                         10/24/2006                  $45,000.00
11055391            2007‐HSA1                         10/25/2006                  $90,000.00
11055425            2007‐HSA1                         10/24/2006                  $95,000.00
11055427            2006‐HI5                          10/23/2006                  $20,000.00
11055477            2006‐HI5                          10/23/2006                  $92,000.00
11055507            2007‐HSA1                         10/25/2006                 $100,000.00
11055531            2007‐HSA2                         10/24/2006                  $72,000.00
11055535            2007‐HSA1                         10/24/2006                  $13,300.00
11055539            2007‐HSA1                         10/24/2006                  $46,300.00
11055561            2006‐HI5                          10/24/2006                  $66,100.00
11055591            2007‐HSA1                         10/25/2006                 $100,000.00
11055641            2007‐HSA1                         10/25/2006                  $52,000.00
11055665            2006‐S11                          10/31/2006                 $540,800.00
11055681            2007‐HSA1                         10/25/2006                  $75,000.00
11058303            2007‐HSA1                         10/25/2006                  $42,000.00
11058309            2007‐HSA1                         10/24/2006                  $80,000.00
11058313            2007‐HSA1                         10/26/2006                 $100,000.00
11058323            2007‐HSA1                         10/25/2006                  $86,600.00
11058325            2006‐HI5                          10/25/2006                  $30,000.00
11058331            2007‐HSA1                         10/24/2006                  $62,800.00
11058335            2007‐HSA1                         10/24/2006                  $40,000.00
11058337            2006‐QS16                         10/27/2006                 $275,326.08
11058339            2007‐HSA1                         10/24/2006                 $150,000.00
11058341            2006‐HI5                          10/25/2006                  $40,400.00
11058343            2007‐HSA1                         10/25/2006                  $71,000.00
11058347            2006‐HI5                           11/7/2006                  $35,000.00
11058349            2007‐HSA1                         10/24/2006                  $72,000.00
11058357            2007‐HSA1                         10/25/2006                  $75,000.00
11058361            2007‐HSA1                         10/24/2006                  $53,700.00
11058367            2007‐HSA1                         10/24/2006                  $30,000.00
11058379            2006‐HI5                          10/25/2006                  $60,000.00
11058381            2006‐HI5                          10/25/2006                  $60,000.00
11058385            2007‐HSA2                         10/25/2006                  $80,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11058387            2006‐HI5                          10/25/2006                  $42,000.00
11058391            2007‐HSA2                         10/25/2006                  $61,000.00
11058393            2007‐HSA1                         10/24/2006                  $39,100.00
11058403            2006‐HI5                          10/25/2006                  $55,000.00
11058405            2007‐HSA1                         10/25/2006                  $65,000.00
11058409            2006‐HI5                          10/25/2006                  $29,700.00
11058429            2006‐HI5                          10/25/2006                  $37,000.00
11058435            2007‐HSA2                         10/25/2006                  $58,600.00
11058509            2007‐HSA1                         10/25/2006                  $94,500.00
11058551            2007‐HSA1                         10/24/2006                  $40,000.00
11061701            2006‐S11                          10/26/2006                 $550,000.00
11061703            2006‐HI5                          10/27/2006                  $81,000.00
11061705            2007‐HSA1                         10/26/2006                  $24,500.00
11061707            2007‐HSA1                         10/26/2006                 $163,000.00
11061709            2007‐HSA1                         10/25/2006                  $41,100.00
11061715            2007‐HSA1                         10/26/2006                  $30,000.00
11061719            2007‐HSA1                         10/26/2006                  $30,000.00
11061725            2007‐HSA1                         10/26/2006                  $28,000.00
11061739            2007‐HSA1                         10/25/2006                  $39,500.00
11061741            2006‐HI5                          10/30/2006                  $39,700.00
11061749            2007‐HSA1                         10/26/2006                  $46,500.00
11061751            2007‐HSA1                         10/26/2006                  $73,600.00
11061759            2006‐S11                          10/26/2006                 $675,000.00
11061773            2007‐HSA1                         10/26/2006                 $133,000.00
11061855            2007‐HSA1                         10/26/2006                  $36,000.00
11061857            2007‐HSA1                         10/26/2006                  $49,500.00
11061861            2006‐HI5                          10/25/2006                  $35,000.00
11061875            2006‐HI5                          10/26/2006                  $60,000.00
11061877            2006‐S11                          10/26/2006                 $670,000.00
11061883            2007‐HSA1                         10/25/2006                  $40,000.00
11061885            2007‐HSA1                         10/26/2006                  $18,000.00
11061887            2007‐HSA1                         10/26/2006                 $100,000.00
11061895            2007‐HSA1                         10/26/2006                 $100,000.00
11061897            2007‐HSA1                         10/26/2006                  $26,000.00
11061903            2007‐HSA1                         10/25/2006                  $30,300.00
11061907            2007‐HSA1                         10/27/2006                  $33,000.00
11061909            2007‐HSA1                         10/26/2006                  $46,600.00
11061911            2007‐HSA2                         10/25/2006                 $119,000.00
11061917            2007‐HSA1                         10/26/2006                  $26,000.00
11061927            2007‐HSA1                         10/26/2006                 $100,000.00
11061933            2007‐HSA1                         10/26/2006                  $74,400.00
11061937            2007‐HSA1                         10/25/2006                  $53,000.00
11061939            2006‐HI5                          10/26/2006                  $36,700.00
11061941            2007‐HSA1                         10/27/2006                  $80,000.00
11061945            2007‐HSA1                         10/26/2006                  $75,000.00
11061949            2007‐HSA1                         10/26/2006                  $72,000.00
11061955            2007‐HSA2                         10/25/2006                  $18,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11061959            2007‐HSA1                         10/26/2006                 $150,000.00
11061961            2007‐HSA1                         10/25/2006                  $18,400.00
11061969            2007‐HSA1                         10/26/2006                  $70,000.00
11062011            2007‐HSA1                         10/25/2006                  $50,000.00
11062015            2007‐HI1                          10/26/2006                  $20,000.00
11062017            2007‐HSA1                         10/26/2006                  $54,000.00
11062023            2006‐HI5                          10/26/2006                  $21,200.00
11062033            2007‐HSA1                         10/26/2006                 $100,000.00
11062039            2007‐HSA1                         10/26/2006                  $40,000.00
11062041            2007‐HSA1                         10/26/2006                  $55,000.00
11062049            2007‐HSA1                         10/26/2006                 $150,000.00
11062053            2006‐HI5                          10/26/2006                  $42,000.00
11062067            2007‐HSA1                         10/31/2006                  $45,000.00
11062093            2007‐HSA1                         10/31/2006                  $35,000.00
11062335            2007‐HSA1                         11/16/2006                  $41,100.00
11063705            2006‐QS16                         10/26/2006                 $122,866.53
11063707            2007‐HSA1                         10/30/2006                 $100,000.00
11063717            2007‐HSA1                         10/27/2006                  $50,000.00
11063725            2007‐HSA1                         10/30/2006                  $85,000.00
11063733            2007‐HSA1                         10/30/2006                  $31,000.00
11063741            2007‐HSA1                         10/30/2006                  $97,000.00
11063745            2007‐HSA1                         10/30/2006                  $20,700.00
11063747            2007‐HSA1                         10/30/2006                  $40,000.00
11063753            2007‐HSA2                         10/27/2006                 $146,000.00
11063763            2007‐HSA1                         10/30/2006                  $46,000.00
11063769            2007‐HSA1                         10/30/2006                  $78,000.00
11063771            2007‐HSA1                         10/30/2006                 $146,000.00
11063773            2007‐HSA1                         10/27/2006                 $200,000.00
11063775            2006‐HI5                          10/30/2006                  $35,000.00
11063781            2006‐S11                          10/27/2006                 $562,000.00
11063785            2007‐HSA1                         10/30/2006                  $29,000.00
11063793            2007‐HSA1                         10/30/2006                  $33,000.00
11063795            2006‐HI5                          10/27/2006                  $65,000.00
11063797            2007‐HSA1                         10/30/2006                  $26,000.00
11063805            2006‐QS16                         10/27/2006                 $156,800.00
11063807            2006‐HI5                          10/30/2006                  $13,500.00
11063827            2007‐HSA1                         10/27/2006                  $34,000.00
11063833            2007‐HI1                          10/27/2006                  $15,800.00
11063841            2007‐HSA1                         10/30/2006                  $31,100.00
11063851            2007‐HSA1                         10/30/2006                 $100,000.00
11063863            2007‐HSA1                         10/30/2006                  $19,000.00
11063891            2007‐HSA1                         10/30/2006                  $50,000.00
11063909            2006‐HI5                           11/2/2006                  $17,800.00
11063913            2006‐S11                          10/26/2006                 $570,000.00
11063927            2007‐HSA1                         10/30/2006                  $30,000.00
11063955            2007‐HSA1                          11/2/2006                 $100,000.00
11064035            2007‐HSA1                         10/31/2006                 $132,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11064045            2007‐HSA1                         10/27/2006                  $56,000.00
11064101            2006‐S11                          10/27/2006                 $140,000.00
11064123            2006‐S11                          10/27/2006                 $500,000.00
11064155            2006‐S11                          10/27/2006                 $505,700.00
11064371            2007‐HSA1                         10/30/2006                  $90,000.00
11066411            2006‐QO9                          10/30/2006                 $360,000.00
11066417            2007‐HSA2                         10/30/2006                  $26,000.00
11066433            2006‐QO10                         10/31/2006                 $179,200.00
11066447            2006‐QS16                         10/27/2006                  $79,600.00
11066451            2006‐HI5                          10/30/2006                 $136,000.00
11066481            2006‐HI5                          10/30/2006                  $75,000.00
11066529            2007‐HSA1                         10/31/2006                  $73,000.00
11066575            2007‐HSA1                          11/3/2006                  $20,700.00
11066591            2007‐HSA1                         10/31/2006                 $200,000.00
11066629            2007‐HSA1                         10/31/2006                  $76,500.00
11066655            2007‐HI1                          10/30/2006                  $30,000.00
11066671            2007‐HSA1                         10/31/2006                  $60,000.00
11066687            2006‐HI5                          10/30/2006                  $34,700.00
11066699            2007‐HSA1                         10/31/2006                  $13,700.00
11066701            2006‐HI5                          10/30/2006                  $64,000.00
11066707            2007‐HSA1                         10/30/2006                  $98,000.00
11066727            2007‐HSA1                         10/30/2006                  $40,000.00
11066739            2007‐HSA1                         10/30/2006                  $30,000.00
11066745            2006‐HI5                          10/30/2006                  $15,000.00
11066755            2007‐HSA1                         10/30/2006                  $30,000.00
11067123            2006‐HI5                          10/30/2006                  $17,000.00
11067171            2007‐HSA2                         10/30/2006                  $27,500.00
11069339            2006‐HI5                          10/31/2006                  $37,500.00
11069405            2006‐HI5                          10/31/2006                  $41,000.00
11069409            2007‐HSA2                         10/31/2006                  $85,000.00
11069447            2007‐HSA2                         10/31/2006                  $53,000.00
11069477            2007‐HSA2                         10/31/2006                  $94,700.00
11069503            2006‐HI5                          10/31/2006                  $30,000.00
11069849            2006‐QO10                         10/31/2006                 $112,500.00
11069861            2007‐HSA2                         10/31/2006                  $70,000.00
11069889            2007‐HSA1                         10/31/2006                 $100,000.00
11069919            2006‐HI5                           11/6/2006                  $40,000.00
11070459            2006‐QO9                           11/2/2006                 $369,000.00
11070493            2006‐QO9                          10/31/2006                 $465,600.00
11070531            2006‐S11                          10/31/2006                 $480,400.00
11070561            2006‐QO9                           11/3/2006                 $402,100.00
11070591            2006‐S12                          10/31/2006                 $490,000.00
11070595            2006‐S11                          10/30/2006                 $499,200.00
11074683            2006‐HI5                          10/31/2006                  $63,900.00
11074691            2006‐QO9                           11/2/2006                 $260,000.00
11074695            2007‐HSA1                         10/31/2006                  $33,700.00
11074703            2007‐HSA1                         10/31/2006                  $62,600.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11074711            2007‐HSA1                         10/31/2006                  $30,000.00
11074723            2006‐HI5                           11/6/2006                  $19,400.00
11074743            2007‐HSA1                         10/31/2006                 $100,000.00
11074747            2007‐HI1                          10/31/2006                  $30,000.00
11074771            2007‐HSA1                         10/31/2006                  $44,500.00
11074779            2006‐HI5                          10/31/2006                  $51,300.00
11075359            2007‐HI1                          10/31/2006                  $30,000.00
11076175            2007‐HSA1                         10/31/2006                 $100,000.00
11076179            2007‐HSA1                         10/31/2006                  $60,000.00
11076207            2006‐QO9                          10/31/2006                 $370,000.00
11076215            2007‐HSA1                         10/31/2006                  $60,000.00
11076723            2006‐S11                          10/31/2006                 $222,400.00
11076841            2007‐HSA2                         10/31/2006                 $150,000.00
11076877            2006‐HI5                          10/31/2006                  $35,000.00
11076911            2007‐HSA1                         10/31/2006                  $27,000.00
11077011            2007‐HI1                          10/31/2006                  $30,000.00
11077057            2006‐HI5                          10/31/2006                  $30,000.00
11077121            2007‐HSA1                         11/17/2006                 $121,100.00
11078373            2006‐HI5                           11/3/2006                  $72,000.00
11078375            2007‐HSA1                          11/3/2006                 $150,000.00
11078387            2006‐S12                           11/2/2006                 $455,000.00
11078389            2007‐HSA1                          11/2/2006                  $23,900.00
11078393            2006‐HI5                           11/2/2006                  $51,800.00
11078395            2006‐HI5                           11/3/2006                  $74,700.00
11078407            2007‐HSA1                          11/6/2006                 $100,000.00
11078493            2007‐HSA1                          11/2/2006                  $48,000.00
11078497            2006‐QS17                          11/3/2006                 $121,600.00
11078501            2007‐HSA1                          11/2/2006                  $34,000.00
11078541            2006‐HI5                           11/2/2006                  $54,000.00
11078543            2007‐HI1                           11/2/2006                  $30,000.00
11078553            2007‐HSA1                          11/2/2006                  $45,000.00
11078555            2006‐QS18                          11/3/2006                 $226,374.02
11078557            2007‐HSA1                          11/2/2006                  $34,000.00
11078569            2006‐HI5                           11/2/2006                  $55,500.00
11078573            2007‐HSA1                          11/2/2006                  $50,000.00
11078597            2007‐HSA1                          11/2/2006                 $102,500.00
11078601            2006‐HI5                           11/2/2006                  $75,000.00
11078605            2006‐HI5                           11/2/2006                  $35,000.00
11078607            2007‐HSA1                          11/2/2006                  $63,000.00
11078619            2007‐HSA1                          11/3/2006                  $62,000.00
11078623            2006‐HI5                           11/2/2006                  $29,500.00
11078631            2006‐HI5                           11/8/2006                  $35,000.00
11078655            2006‐HI5                           11/2/2006                  $62,000.00
11078885            2007‐HSA1                         11/16/2006                  $76,500.00
11080471            2006‐HI5                           11/6/2006                  $30,000.00
11080491            2006‐HI5                           11/3/2006                  $49,000.00
11080511            2007‐HSA1                          11/3/2006                  $47,250.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11080533            2007‐HSA1                          11/3/2006                  $14,000.00
11080557            2006‐HI5                           11/3/2006                  $55,000.00
11080561            2006‐HI5                           11/3/2006                  $15,700.00
11080575            2007‐HSA1                          11/3/2006                 $100,000.00
11080589            2006‐HI5                           11/3/2006                  $83,000.00
11080591            2007‐HI1                           11/3/2006                  $30,000.00
11080605            2007‐HSA1                          11/3/2006                 $100,000.00
11080643            2006‐HI5                           11/3/2006                  $26,300.00
11080651            2007‐HSA2                          11/3/2006                  $60,000.00
11080655            2007‐HSA1                          11/3/2006                  $36,000.00
11080671            2007‐HSA1                          11/3/2006                  $97,800.00
11080689            2007‐HSA1                          11/7/2006                  $35,200.00
11080699            2006‐HI5                           11/3/2006                 $145,500.00
11080721            2006‐S12                           11/8/2006                 $542,000.00
11080729            2007‐HSA1                          11/3/2006                  $56,000.00
11080769            2006‐QO10                          11/7/2006                 $459,200.00
11081195            2006‐QO10                          11/8/2006                 $172,000.00
11081213            2006‐S12                           11/8/2006                 $324,000.00
11082311            2007‐HSA1                          11/6/2006                  $40,000.00
11082315            2006‐HI5                           11/6/2006                  $42,000.00
11082319            2007‐HSA1                          11/6/2006                  $50,000.00
11082343            2007‐HSA1                          11/6/2006                  $80,000.00
11082345            2007‐HSA1                          11/6/2006                  $30,000.00
11082351            2006‐HI5                           11/3/2006                  $30,000.00
11082353            2006‐HI5                           11/7/2006                  $45,000.00
11082363            2006‐HI5                           11/6/2006                  $41,200.00
11082379            2007‐HSA1                          11/6/2006                  $28,100.00
11082491            2006‐HI5                           11/6/2006                  $36,000.00
11082493            2007‐HSA2                          11/3/2006                  $44,400.00
11082505            2007‐HSA2                          11/6/2006                  $35,000.00
11082527            2007‐HSA1                          11/6/2006                  $40,000.00
11082529            2007‐HI1                           11/6/2006                  $30,000.00
11082535            2006‐HI5                           11/6/2006                  $23,900.00
11082539            2006‐HI5                           11/6/2006                  $47,000.00
11082553            2007‐HSA1                          11/7/2006                  $27,000.00
11082573            2007‐HSA1                          11/6/2006                  $59,900.00
11082577            2007‐HSA1                          11/3/2006                  $55,000.00
11082583            2007‐HSA1                          11/6/2006                  $58,000.00
11082585            2007‐HSA2                          11/3/2006                  $61,000.00
11082587            2006‐HI5                           11/9/2006                  $35,000.00
11082593            2007‐HSA1                          11/6/2006                  $65,000.00
11082597            2007‐HSA1                          11/6/2006                  $49,000.00
11082823            2007‐HSA2                          11/3/2006                  $19,000.00
11082829            2007‐HSA1                          11/7/2006                 $100,000.00
11082837            2007‐HSA2                          11/6/2006                  $97,000.00
11082841            2007‐HSA1                          11/8/2006                  $50,000.00
11083203            2007‐HSA2                          11/6/2006                  $75,400.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11083237            2007‐HSA1                          11/7/2006                  $28,000.00
11083251            2007‐HSA1                         11/10/2006                 $103,000.00
11083303            2007‐HSA1                          11/6/2006                  $58,000.00
11083309            2007‐HSA1                          11/6/2006                  $92,000.00
11083349            2007‐HSA1                          11/6/2006                  $95,000.00
11083379            2007‐HSA1                          11/6/2006                 $150,000.00
11083413            2007‐HSA1                          11/6/2006                 $100,000.00
11083429            2007‐HSA1                          11/6/2006                  $50,000.00
11084831            2007‐HSA2                          11/8/2006                  $43,000.00
11084857            2007‐HSA1                          11/8/2006                 $100,000.00
11084859            2007‐HSA2                          11/8/2006                  $86,000.00
11084867            2006‐QO9                           11/7/2006                 $500,000.00
11084871            2006‐HI5                           11/8/2006                  $72,800.00
11084879            2006‐QO9                           11/9/2006                 $188,000.00
11084891            2007‐HSA2                          11/8/2006                  $12,850.00
11084899            2006‐HI5                           11/8/2006                  $33,500.00
11084907            2007‐HSA1                         11/10/2006                  $52,000.00
11084939            2007‐HSA1                          11/8/2006                  $20,000.00
11084965            2006‐S12                           11/8/2006                 $288,000.00
11084983            2006‐S12                           11/8/2006                 $500,000.00
11085001            2006‐S12                           11/6/2006                 $500,000.00
11085005            2007‐HSA1                          11/8/2006                  $53,800.00
11085559            2006‐S12                           11/9/2006                 $485,000.00
11088179            2006‐S12                           11/8/2006                 $627,600.00
11088181            2007‐HSA1                          11/9/2006                  $35,000.00
11088187            2006‐HI5                          11/13/2006                  $75,000.00
11088189            2007‐HSA1                         11/13/2006                 $290,000.00
11088205            2007‐HSA1                          11/8/2006                  $80,000.00
11088221            2007‐HSA1                          11/8/2006                  $29,700.00
11088231            2007‐HSA1                          11/8/2006                  $30,000.00
11088235            2007‐HSA1                         11/13/2006                 $100,000.00
11088239            2007‐HSA1                          11/8/2006                  $32,300.00
11088247            2006‐HI5                           11/9/2006                  $50,000.00
11088251            2006‐QO9                           11/9/2006                 $200,000.00
11088255            2007‐HSA1                          11/8/2006                  $28,500.00
11088259            2007‐HSA1                          11/8/2006                  $50,000.00
11088265            2007‐HSA1                         11/13/2006                  $75,000.00
11088273            2007‐HSA1                          11/8/2006                  $90,000.00
11088279            2007‐HSA1                          11/9/2006                  $34,500.00
11088283            2007‐HSA1                          11/8/2006                  $76,500.00
11088291            2007‐HSA1                          11/9/2006                  $40,000.00
11088293            2007‐HSA1                          11/8/2006                  $97,000.00
11088297            2006‐QO10                         11/13/2006                 $142,000.00
11088299            2007‐HSA2                          11/8/2006                 $133,000.00
11088301            2007‐HSA1                          11/9/2006                  $58,000.00
11088309            2007‐HSA1                          11/8/2006                  $75,000.00
11088323            2007‐HSA1                          11/8/2006                  $30,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11088325            2007‐HSA1                         11/13/2006                  $69,500.00
11088335            2007‐HSA1                          11/9/2006                  $30,000.00
11088347            2007‐HSA1                          11/8/2006                  $22,400.00
11088359            2006‐HI5                           11/8/2006                  $36,600.00
11088361            2007‐HSA1                         11/10/2006                  $62,000.00
11088371            2006‐QO9                           11/8/2006                 $131,000.00
11088389            2007‐HSA1                         11/13/2006                  $57,300.00
11088395            2006‐HI5                          11/10/2006                  $44,800.00
11088409            2007‐HSA1                          11/8/2006                  $39,200.00
11088461            2007‐HSA2                          11/8/2006                  $81,800.00
11088485            2007‐HSA1                          11/8/2006                 $100,000.00
11088489            2007‐HSA1                          11/9/2006                  $51,000.00
11088493            2007‐HSA1                         11/13/2006                  $91,000.00
11088495            2007‐HSA1                         11/15/2006                 $100,000.00
11088507            2007‐HSA1                          11/9/2006                  $44,500.00
11088509            2007‐HSA1                          11/8/2006                 $100,000.00
11088519            2007‐HSA1                         11/13/2006                  $78,100.00
11088545            2007‐HSA1                          11/8/2006                 $160,000.00
11088579            2007‐HSA1                          11/8/2006                 $100,000.00
11088599            2007‐HSA1                          11/8/2006                  $61,000.00
11088995            2007‐HSA1                          11/8/2006                  $32,200.00
11089249            2007‐HSA1                         11/10/2006                  $64,900.00
11089297            2007‐HSA1                         11/10/2006                 $142,000.00
11089313            2006‐HI5                          11/13/2006                  $50,000.00
11089405            2007‐HSA1                          11/8/2006                  $23,200.00
11089427            2007‐HSA1                         11/13/2006                  $43,000.00
11089487            2007‐HSA1                         11/13/2006                 $100,000.00
11089521            2007‐HSA1                          11/8/2006                  $58,000.00
11092761            2006‐QS16                          11/8/2006                 $152,000.00
11092765            2007‐QO2                           11/9/2006                 $182,400.00
11092779            2007‐HSA1                         11/10/2006                  $43,000.00
11092783            2007‐HSA1                         11/13/2006                 $100,000.00
11092787            2006‐HI5                          11/15/2006                  $58,000.00
11092795            2007‐HSA1                          11/9/2006                  $75,000.00
11092797            2007‐HSA1                         11/13/2006                  $62,000.00
11092807            2007‐HSA1                          11/9/2006                 $130,000.00
11092817            2007‐HSA1                         11/13/2006                  $65,000.00
11092821            2007‐HSA1                         11/13/2006                  $11,200.00
11092825            2007‐HSA1                         11/13/2006                  $60,000.00
11092833            2007‐HSA1                          11/9/2006                  $35,600.00
11092845            2007‐HSA1                         11/15/2006                  $36,200.00
11092869            2007‐HSA1                         11/15/2006                  $47,200.00
11092877            2007‐HSA1                         11/10/2006                  $87,000.00
11092883            2007‐HSA1                          11/8/2006                 $100,000.00
11092891            2007‐HSA1                         11/13/2006                  $50,000.00
11092917            2007‐HSA1                         11/10/2006                  $32,000.00
11092921            2006‐HI5                           11/9/2006                  $40,400.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11092929            2007‐HSA1                         11/10/2006                  $64,000.00
11092933            2006‐HI5                          11/13/2006                  $50,000.00
11092945            2007‐HSA1                         11/10/2006                  $74,700.00
11092953            2007‐HSA1                         11/13/2006                 $100,000.00
11092965            2007‐HSA1                          11/9/2006                 $150,000.00
11092967            2007‐HSA1                         11/10/2006                 $220,000.00
11092979            2007‐HSA1                         11/15/2006                 $100,000.00
11092991            2007‐HSA1                         11/13/2006                  $15,000.00
11092997            2007‐HSA1                         11/10/2006                  $61,000.00
11092999            2007‐HSA1                         11/10/2006                 $100,000.00
11093003            2007‐HSA1                          11/8/2006                  $80,000.00
11093011            2007‐HSA1                         11/10/2006                  $29,000.00
11093013            2007‐HSA1                         11/10/2006                  $40,500.00
11093029            2007‐HSA1                         11/13/2006                  $50,000.00
11093045            2007‐HSA1                         11/13/2006                  $52,000.00
11093051            2007‐HSA1                         11/13/2006                  $54,200.00
11093065            2007‐HSA1                          11/8/2006                  $38,200.00
11093067            2007‐HSA1                          11/8/2006                 $145,000.00
11093073            2007‐HSA1                         11/10/2006                  $54,000.00
11093083            2007‐HSA1                         11/13/2006                  $23,500.00
11093085            2007‐HSA3                         11/10/2006                  $32,800.00
11093103            2007‐HSA1                         11/10/2006                  $25,000.00
11093151            2006‐HI5                          11/10/2006                  $27,000.00
11093165            2006‐HI5                          11/13/2006                  $70,500.00
11093193            2007‐HSA1                         11/13/2006                  $61,000.00
11093211            2006‐HI5                           11/9/2006                  $45,000.00
11093773            2007‐HSA2                         11/10/2006                  $59,000.00
11098711            2007‐HSA2                         11/10/2006                  $82,000.00
11098731            2007‐HSA1                         11/13/2006                 $292,900.00
11098737            2007‐HSA1                         11/13/2006                 $122,700.00
11098741            2007‐HSA1                         11/17/2006                  $30,000.00
11098743            2006‐HI5                          11/16/2006                  $42,100.00
11098747            2007‐HSA1                         11/13/2006                  $50,000.00
11098753            2006‐HI5                          11/10/2006                  $35,000.00
11098763            2007‐HSA1                         11/15/2006                  $30,000.00
11098765            2007‐QO2                          11/10/2006                 $118,700.00
11098793            2006‐HI5                          11/13/2006                  $62,500.00
11098795            2007‐HSA1                          11/9/2006                  $60,000.00
11098799            2007‐HSA1                         11/10/2006                  $65,000.00
11098807            2006‐S12                          11/10/2006                 $588,900.00
11098811            2007‐HSA1                          11/9/2006                  $45,000.00
11098819            2007‐HSA1                         11/13/2006                  $30,000.00
11098827            2006‐QO9                          11/13/2006                 $401,500.00
11098829            2006‐HI5                          11/13/2006                  $27,500.00
11098843            2007‐HSA1                         11/13/2006                 $130,000.00
11098847            2007‐HSA1                         11/10/2006                  $41,500.00
11098851            2006‐QO9                          11/10/2006                 $200,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11098865            2007‐HSA1                         11/10/2006                  $86,600.00
11098889            2007‐HSA1                         11/15/2006                  $79,000.00
11098893            2007‐HSA1                         11/15/2006                 $141,500.00
11098895            2006‐HI5                          11/13/2006                  $75,000.00
11098899            2007‐HSA1                         11/13/2006                  $38,000.00
11098907            2007‐HSA1                         11/13/2006                  $36,500.00
11098909            2006‐HI5                          11/10/2006                  $50,000.00
11098935            2007‐HSA1                         11/15/2006                  $44,000.00
11098943            2007‐HSA1                         11/10/2006                 $150,000.00
11098957            2007‐HSA1                         11/15/2006                  $37,000.00
11098987            2007‐HSA1                         11/10/2006                 $100,000.00
11098991            2007‐HSA1                         11/13/2006                 $100,000.00
11099009            2007‐HSA1                         11/13/2006                  $30,000.00
11099019            2007‐HSA1                         11/15/2006                  $47,900.00
11099621            2007‐HSA2                         11/13/2006                  $51,400.00
11099645            2006‐HI5                          11/10/2006                  $50,000.00
11100229            2006‐QO10                         11/15/2006                 $408,000.00
11100285            2006‐S12                          11/15/2006                 $455,000.00
11101051            2007‐HSA1                         11/15/2006                  $50,000.00
11101729            2007‐HSA1                         11/15/2006                  $65,000.00
11101747            2007‐HSA1                         11/15/2006                  $68,850.00
11101763            2007‐HSA1                         11/15/2006                 $100,000.00
11101769            2006‐HI5                          11/15/2006                  $30,000.00
11101777            2006‐QO9                          11/13/2006                 $130,000.00
11101779            2007‐HSA1                         11/15/2006                  $40,000.00
11101785            2007‐HSA1                         11/17/2006                  $33,500.00
11101793            2007‐HSA1                         11/15/2006                  $27,000.00
11101795            2006‐HI5                          11/16/2006                  $64,500.00
11101807            2007‐HSA1                         11/15/2006                 $100,000.00
11101819            2007‐HSA1                         11/15/2006                  $40,000.00
11101823            2007‐HSA1                         11/15/2006                  $52,000.00
11101833            2007‐HSA1                         11/15/2006                  $35,000.00
11101837            2007‐HSA1                         11/15/2006                  $87,000.00
11101841            2007‐HSA1                         11/15/2006                  $80,000.00
11101849            2007‐HSA1                         11/16/2006                  $54,500.00
11101855            2007‐HSA1                         11/15/2006                 $100,000.00
11101857            2007‐HSA1                         11/15/2006                  $80,000.00
11101859            2007‐HSA1                         11/15/2006                  $18,100.00
11101877            2006‐HI5                          11/15/2006                  $32,500.00
11101887            2007‐HSA1                         11/15/2006                 $145,000.00
11101891            2007‐HSA1                         11/15/2006                  $63,200.00
11101897            2007‐HSA1                         11/15/2006                  $43,500.00
11101917            2007‐HSA1                         11/15/2006                 $100,000.00
11101925            2007‐HSA1                         11/15/2006                 $110,000.00
11101937            2007‐HSA1                         11/15/2006                  $30,000.00
11101941            2007‐HSA1                         11/15/2006                  $57,400.00
11101947            2007‐HSA1                         11/10/2006                  $80,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11101973            2007‐HSA1                         11/15/2006                  $45,800.00
11102033            2007‐HSA1                         11/15/2006                  $21,000.00
11102059            2007‐HSA1                         11/15/2006                  $39,400.00
11102113            2007‐HSA1                         11/15/2006                  $60,000.00
11102121            2007‐HSA1                         11/15/2006                  $73,000.00
11102133            2006‐QO10                         11/10/2006                 $437,500.00
11102171            2007‐HSA1                         11/15/2006                  $40,000.00
11102203            2007‐HSA1                         11/15/2006                  $99,000.00
11103149            2006‐S12                          11/13/2006                 $425,000.00
11106325            2007‐HSA1                         11/16/2006                 $100,000.00
11106449            2007‐HSA1                         11/16/2006                  $32,000.00
11106469            2007‐HSA1                         11/16/2006                  $49,200.00
11106497            2007‐HSA1                         11/16/2006                  $63,300.00
11106513            2006‐HI5                          11/20/2006                  $52,100.00
11106541            2007‐HSA1                         11/16/2006                  $50,000.00
11106559            2007‐HSA1                         11/16/2006                 $100,000.00
11106629            2007‐HSA1                         11/16/2006                  $50,000.00
11106633            2006‐QS18                         11/16/2006                 $170,000.00
11106653            2006‐S12                          11/17/2006                 $578,000.00
11106659            2007‐HSA1                         11/17/2006                  $40,000.00
11106747            2007‐HSA1                         12/19/2006                  $50,000.00
11107903            2006‐S12                           12/8/2006                 $448,000.00
11109417            2006‐HI5                          11/16/2006                  $50,000.00
11109429            2007‐HSA2                         11/16/2006                  $29,900.00
11109469            2007‐HSA2                         11/16/2006                  $24,000.00
11109491            2006‐S12                          11/16/2006                 $510,000.00
11109621            2006‐HI5                          11/20/2006                  $44,400.00
11109641            2007‐HSA1                         11/16/2006                  $32,000.00
11109699            2007‐HSA1                         11/20/2006                  $50,000.00
11109825            2006‐S11                          11/16/2006                 $500,000.00
11109827            2006‐HI5                          11/16/2006                  $35,400.00
11109857            2007‐HSA1                         11/16/2006                  $67,100.00
11109917            2007‐HSA2                         11/16/2006                 $146,200.00
11109919            2007‐HSA1                         11/16/2006                  $20,000.00
11111003            2007‐QS1                          11/17/2006                 $162,500.00
11111033            2006‐S12                          11/16/2006                 $472,000.00
11111059            2007‐QO1                          11/20/2006                  $93,600.00
11111283            2007‐HSA1                         11/16/2006                  $99,800.00
11112283            2006‐HI5                          11/16/2006                  $50,000.00
11112337            2007‐HSA1                         11/16/2006                 $100,000.00
11112343            2007‐HSA1                         11/16/2006                 $100,000.00
11112355            2007‐HSA1                         11/16/2006                  $49,500.00
11112357            2007‐HSA1                         11/16/2006                  $18,000.00
11112365            2007‐HSA1                         11/16/2006                  $50,000.00
11112369            2007‐HSA1                         11/16/2006                  $19,000.00
11112375            2007‐HSA1                         11/16/2006                 $100,000.00
11112379            2007‐HSA1                         11/16/2006                  $49,500.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11112391            2007‐HSA1                         11/16/2006                  $37,500.00
11112397            2007‐HSA1                         11/17/2006                  $26,400.00
11112403            2007‐HSA1                         11/16/2006                  $24,000.00
11112443            2007‐HSA1                         11/16/2006                  $25,000.00
11114201            2007‐HSA1                         11/27/2006                  $79,800.00
11114209            2006‐S12                          11/29/2006                 $445,500.00
11114379            2007‐HSA1                         11/21/2006                 $150,000.00
11114449            2007‐HSA1                         11/20/2006                  $35,200.00
11114455            2007‐HSA1                         11/20/2006                  $75,000.00
11114459            2007‐HSA1                         11/20/2006                  $67,000.00
11114471            2007‐HSA1                         11/20/2006                  $42,500.00
11114473            2007‐HSA1                         11/20/2006                  $30,000.00
11114491            2007‐HSA1                         11/20/2006                  $99,000.00
11114493            2007‐HSA1                          12/6/2006                 $100,000.00
11114495            2007‐HSA1                         11/16/2006                  $45,500.00
11114497            2007‐HSA1                         11/22/2006                  $50,000.00
11114547            2007‐HSA1                         11/17/2006                  $84,000.00
11114555            2007‐HSA1                         11/17/2006                  $30,000.00
11114567            2007‐HSA1                         11/17/2006                  $95,000.00
11114573            2007‐HSA1                         11/22/2006                  $50,000.00
11114579            2007‐HSA1                         11/20/2006                  $50,000.00
11114591            2007‐HSA1                         11/17/2006                 $135,000.00
11114605            2007‐HSA1                         11/16/2006                  $94,400.00
11114763            2007‐HSA1                         11/20/2006                  $63,900.00
11114849            2007‐HSA1                         11/17/2006                 $161,000.00
11114855            2007‐HSA1                         11/16/2006                  $40,000.00
11114883            2007‐HSA1                         11/20/2006                  $50,000.00
11114933            2007‐HSA1                         11/20/2006                  $30,000.00
11114935            2007‐HSA1                         11/17/2006                  $95,000.00
11115077            2007‐HSA1                         11/20/2006                  $40,000.00
11115093            2007‐HSA1                         11/20/2006                  $50,000.00
11115097            2006‐HI5                          11/22/2006                  $30,000.00
11115115            2007‐HSA1                         11/17/2006                 $119,800.00
11115119            2007‐HSA1                         11/30/2006                  $78,400.00
11115131            2007‐HSA1                         11/22/2006                  $47,500.00
11115135            2006‐HI5                          11/21/2006                  $63,500.00
11115143            2007‐HSA1                         11/16/2006                  $23,000.00
11115155            2007‐HSA1                         11/16/2006                  $30,000.00
11115163            2007‐HSA1                         11/21/2006                  $50,000.00
11115177            2007‐HSA1                         11/20/2006                  $50,000.00
11115179            2007‐HSA1                         11/17/2006                  $10,000.00
11115181            2007‐HSA1                         11/20/2006                  $56,000.00
11115193            2007‐HSA1                         11/17/2006                  $42,500.00
11115205            2006‐S12                          11/16/2006                 $438,500.00
11115217            2007‐HSA1                         11/17/2006                  $24,200.00
11115235            2007‐HSA1                         11/21/2006                  $55,000.00
11115241            2007‐HI1                          12/12/2006                  $30,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11115261            2007‐HSA1                         11/21/2006                  $46,000.00
11115263            2007‐HSA1                         11/21/2006                  $27,400.00
11115279            2006‐HI5                          11/20/2006                  $34,000.00
11115293            2007‐HSA1                         11/21/2006                 $100,000.00
11115303            2007‐HSA1                         11/17/2006                  $94,000.00
11115305            2007‐HSA1                         11/20/2006                  $57,000.00
11115315            2007‐HSA1                         11/17/2006                  $42,500.00
11115343            2007‐HSA1                         11/16/2006                  $84,000.00
11115351            2007‐HSA1                         11/16/2006                  $25,000.00
11115359            2007‐HSA2                         11/20/2006                 $244,000.00
11115365            2006‐HI5                          11/21/2006                  $55,000.00
11115383            2006‐HI5                          11/21/2006                  $52,600.00
11115395            2006‐HI5                          11/30/2006                  $31,000.00
11115511            2006‐HI5                          11/21/2006                  $44,500.00
11117199            2007‐HSA1                         11/21/2006                  $37,800.00
11117209            2006‐HI5                          11/21/2006                  $75,000.00
11117223            2006‐S12                          11/20/2006                 $538,000.00
11117237            2007‐HSA1                         11/21/2006                  $90,000.00
11117337            2007‐HSA1                         11/17/2006                 $245,000.00
11117353            2007‐HSA1                         11/21/2006                  $60,000.00
11117371            2007‐HSA1                         11/22/2006                  $20,000.00
11117395            2007‐HSA1                         11/22/2006                  $38,500.00
11117777            2007‐HSA1                         11/22/2006                  $40,000.00
11117785            2007‐HSA1                         11/21/2006                 $150,000.00
11117811            2007‐HSA1                         11/21/2006                  $62,300.00
11117867            2007‐HSA1                         11/21/2006                  $60,000.00
11117875            2006‐S12                          11/17/2006                 $535,000.00
11117885            2007‐HSA1                         11/22/2006                 $106,000.00
11117913            2007‐HSA1                         11/22/2006                  $40,000.00
11117927            2007‐HSA1                         11/21/2006                 $119,000.00
11119465            2007‐HSA1                         11/21/2006                  $69,000.00
11119481            2006‐S12                          11/22/2006                 $168,000.00
11119487            2007‐HSA1                         11/22/2006                  $55,000.00
11119669            2006‐QO10                         11/22/2006                 $241,000.00
11119709            2006‐HI5                          11/22/2006                  $58,400.00
11119717            2006‐S12                          11/27/2006                 $589,700.00
11119753            2007‐HSA1                         11/22/2006                  $50,000.00
11119767            2006‐HI5                          11/21/2006                  $51,900.00
11119811            2006‐HI5                          11/22/2006                  $16,500.00
11119815            2007‐HSA1                         11/30/2006                  $40,000.00
11119825            2007‐HSA1                         11/21/2006                  $60,000.00
11119839            2007‐HSA1                         11/21/2006                  $58,000.00
11119949            2007‐HSA1                         11/22/2006                  $61,800.00
11119961            2007‐HSA1                         11/22/2006                  $27,000.00
11120087            2006‐QO10                         11/21/2006                 $184,000.00
11120151            2007‐QO1                          11/22/2006                 $166,500.00
11120529            2007‐QO2                            1/4/2007                 $360,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11120531            2006‐QO10                         11/22/2006                 $104,000.00
11120549            2006‐QA11                         11/22/2006                 $166,500.00
11120557            2006‐S12                          11/22/2006                 $490,000.00
11122875            2006‐HI5                          11/27/2006                  $20,000.00
11122927            2007‐HSA1                         11/28/2006                 $100,000.00
11122945            2007‐HSA1                         11/22/2006                  $30,000.00
11122949            2006‐S12                          11/29/2006                 $484,600.00
11123437            2006‐S12                          11/27/2006                 $493,000.00
11123611            2007‐HSA1                         11/22/2006                  $30,000.00
11123625            2007‐HSA1                         11/22/2006                  $18,000.00
11123699            2006‐QO10                         11/29/2006                 $128,000.00
11126009            2007‐HSA1                         11/27/2006                  $59,000.00
11126419            2006‐HI5                          11/28/2006                  $35,000.00
11126423            2006‐QS18                          12/1/2006                 $240,000.00
11126431            2006‐S12                          11/27/2006                 $132,000.00
11126433            2007‐HSA1                         11/27/2006                  $29,400.00
11126457            2007‐HSA2                         11/22/2006                  $25,200.00
11126699            2006‐HI5                          11/27/2006                  $35,000.00
11128675            2006‐QO10                          12/8/2006                 $110,000.00
11128759            2007‐HSA1                         11/29/2006                  $45,000.00
11128805            2006‐HI5                          11/29/2006                  $30,000.00
11129411            2006‐HI5                          11/29/2006                  $22,000.00
11129447            2007‐HSA2                         11/28/2006                  $25,500.00
11129603            2007‐HSA1                         11/29/2006                 $106,800.00
11129635            2007‐HSA1                         11/28/2006                  $42,800.00
11129641            2006‐HI5                          11/28/2006                  $50,000.00
11129649            2007‐HI1                           12/8/2006                  $60,000.00
11129675            2006‐HI5                          11/28/2006                  $41,800.00
11129687            2007‐HSA2                         11/28/2006                  $20,000.00
11129697            2007‐HSA1                         11/29/2006                  $10,600.00
11129699            2006‐HI5                          11/30/2006                  $50,000.00
11130185            2007‐HSA2                         11/28/2006                  $28,000.00
11131785            2007‐HSA1                         11/30/2006                  $30,000.00
11131799            2006‐HI5                          11/29/2006                  $30,000.00
11131961            2006‐QO10                          12/8/2006                 $121,000.00
11133193            2007‐HSA1                         11/30/2006                  $60,600.00
11133227            2007‐HSA1                          12/1/2006                  $30,000.00
11133231            2007‐HSA1                          12/1/2006                  $25,000.00
11133255            2007‐HSA1                         11/29/2006                  $33,200.00
11133265            2007‐HSA1                         11/30/2006                  $73,900.00
11133291            2007‐HSA1                         11/30/2006                  $57,100.00
11133385            2007‐HSA1                         11/30/2006                  $40,000.00
11133389            2007‐HSA1                         11/30/2006                  $23,000.00
11133405            2007‐HSA1                         11/30/2006                  $35,000.00
11133411            2007‐HSA1                         11/30/2006                  $66,900.00
11133429            2007‐HSA1                         11/30/2006                  $33,000.00
11133447            2007‐HSA1                         11/30/2006                  $70,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11133451            2007‐HSA1                         11/30/2006                  $34,700.00
11133457            2007‐HSA1                         11/30/2006                  $25,000.00
11133471            2007‐HSA1                         11/30/2006                  $34,000.00
11133473            2007‐HSA1                         11/30/2006                  $44,250.00
11133491            2007‐HSA1                         11/30/2006                  $73,400.00
11133643            2007‐QO1                           12/1/2006                 $292,000.00
11133649            2007‐HSA1                         11/30/2006                  $33,000.00
11133653            2007‐HSA1                         11/30/2006                  $30,000.00
11133659            2007‐HSA1                         11/30/2006                  $98,000.00
11133673            2007‐HSA1                         11/30/2006                  $20,000.00
11133677            2007‐HSA1                         11/29/2006                  $50,000.00
11133685            2007‐HSA1                         11/30/2006                  $50,000.00
11133897            2007‐HSA1                         11/30/2006                  $34,000.00
11134285            2007‐HSA1                         11/30/2006                  $55,000.00
11134305            2007‐HSA1                         11/30/2006                  $75,300.00
11134323            2006‐HI5                          11/30/2006                  $30,000.00
11134327            2007‐HSA1                         11/30/2006                  $34,800.00
11134337            2007‐HSA1                         11/30/2006                  $37,200.00
11134359            2006‐HI5                          11/29/2006                  $30,000.00
11134373            2007‐HSA1                         11/30/2006                  $80,800.00
11134387            2007‐HSA1                         11/30/2006                  $64,500.00
11134391            2007‐HSA1                         11/30/2006                  $90,000.00
11134393            2006‐HI5                          11/29/2006                  $27,000.00
11134399            2006‐HI5                          11/30/2006                  $30,000.00
11134409            2006‐HI5                          11/30/2006                  $32,500.00
11134415            2007‐HSA1                         11/30/2006                  $44,400.00
11134417            2007‐HSA1                         11/30/2006                  $37,000.00
11134431            2006‐HI5                          11/30/2006                  $46,000.00
11134449            2007‐HSA1                         11/30/2006                  $10,000.00
11134451            2007‐HSA1                         11/30/2006                  $40,000.00
11134455            2007‐HSA1                         11/30/2006                  $90,000.00
11134463            2007‐HSA1                         11/30/2006                  $27,500.00
11134469            2007‐HSA1                         11/30/2006                 $150,000.00
11134473            2007‐HSA1                         11/29/2006                 $100,000.00
11134483            2007‐HSA1                          12/1/2006                  $70,000.00
11134489            2007‐HSA1                          12/6/2006                  $26,200.00
11134493            2007‐HSA1                         11/30/2006                  $65,000.00
11134495            2007‐HSA1                          12/6/2006                 $118,500.00
11134503            2007‐HSA1                          12/1/2006                  $88,000.00
11134505            2007‐HSA1                          12/1/2006                  $72,000.00
11134513            2007‐HSA1                          12/6/2006                  $90,000.00
11134517            2007‐HSA1                          12/6/2006                  $29,600.00
11134523            2007‐HSA1                         11/30/2006                 $100,000.00
11134525            2007‐HSA1                          12/1/2006                  $39,000.00
11134533            2007‐HSA1                         11/30/2006                  $25,100.00
11134535            2007‐HSA1                         11/30/2006                  $95,000.00
11134541            2007‐HSA1                          12/6/2006                  $52,600.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11134549            2007‐HSA1                          12/1/2006                 $192,000.00
11134559            2007‐HSA1                          12/6/2006                  $90,000.00
11134567            2007‐HSA1                          12/6/2006                  $47,300.00
11134569            2007‐HSA1                         11/29/2006                  $20,000.00
11134585            2007‐HSA1                          12/1/2006                  $40,000.00
11134593            2007‐HSA1                          12/6/2006                  $40,000.00
11134595            2007‐HSA1                          12/1/2006                  $30,000.00
11134657            2007‐HSA1                         11/30/2006                  $22,200.00
11134659            2007‐HSA1                          12/6/2006                  $55,000.00
11134669            2007‐HSA1                         11/30/2006                  $40,000.00
11134677            2007‐HSA1                          12/6/2006                  $50,000.00
11134679            2007‐HSA1                          12/6/2006                  $31,000.00
11134751            2007‐HSA1                          12/1/2006                 $166,000.00
11134757            2007‐HSA1                          12/6/2006                 $143,000.00
11134767            2007‐HSA1                          12/6/2006                  $57,000.00
11134893            2007‐HSA1                          12/8/2006                  $48,000.00
11135449            2007‐HSA1                          12/6/2006                 $215,000.00
11135453            2007‐HSA1                          12/6/2006                  $39,000.00
11135459            2007‐HSA1                         12/11/2006                  $50,000.00
11135465            2007‐HSA1                         12/11/2006                  $33,000.00
11136567            2007‐HSA1                          12/1/2006                  $14,400.00
11137455            2007‐HSA1                         12/12/2006                  $18,200.00
11137459            2007‐HSA1                          12/6/2006                  $26,300.00
11137469            2007‐HSA1                         12/12/2006                  $31,500.00
11138901            2007‐HSA1                          12/8/2006                  $21,900.00
11138915            2007‐HSA1                          12/8/2006                  $52,000.00
11138931            2007‐HSA1                          12/8/2006                  $75,000.00
11138961            2007‐HSA1                         12/11/2006                  $79,000.00
11139305            2007‐HSA1                          12/8/2006                  $25,000.00
11139581            2007‐HSA1                         12/12/2006                  $30,000.00
11139591            2007‐HSA1                          12/8/2006                  $60,000.00
11139607            2007‐HSA1                         12/12/2006                  $27,500.00
11140261            2006‐S12                           12/6/2006                 $446,250.00
11140315            2006‐S12                           12/6/2006                 $594,000.00
11140319            2007‐HSA1                         12/12/2006                  $40,000.00
11140331            2007‐HSA1                          12/8/2006                  $32,000.00
11140341            2007‐HSA1                         12/15/2006                 $161,000.00
11140409            2007‐HSA1                         12/12/2006                 $180,000.00
11140421            2007‐HI1                          12/12/2006                  $40,000.00
11140443            2007‐HSA1                         12/12/2006                  $28,000.00
11140451            2007‐HSA1                         12/11/2006                  $41,000.00
11140453            2007‐HSA1                         12/21/2006                  $44,000.00
11140467            2007‐HSA1                          12/8/2006                  $87,000.00
11140469            2007‐HSA1                         12/12/2006                 $100,000.00
11140479            2007‐HSA1                          12/8/2006                  $36,000.00
11140485            2007‐HSA1                         12/11/2006                  $17,000.00
11140493            2007‐HSA1                          12/8/2006                  $84,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11140497            2007‐HSA1                          12/8/2006                  $51,500.00
11140537            2007‐HSA1                         12/13/2006                  $64,800.00
11140539            2007‐HSA1                          12/8/2006                  $35,500.00
11140543            2007‐HSA1                         12/14/2006                  $74,500.00
11140557            2007‐HSA1                         12/12/2006                  $17,200.00
11142075            2007‐HSA1                          12/8/2006                  $25,000.00
11142077            2007‐HSA1                         12/12/2006                  $85,500.00
11142079            2007‐HSA1                         12/14/2006                 $150,000.00
11142083            2007‐HSA1                          12/8/2006                  $18,900.00
11142223            2007‐HSA1                          12/8/2006                  $50,000.00
11142227            2007‐HSA1                          12/6/2006                  $50,000.00
11142257            2007‐HSA1                          12/6/2006                  $68,000.00
11142259            2007‐HSA1                         12/12/2006                  $75,000.00
11142293            2007‐HSA1                          12/6/2006                 $120,000.00
11142309            2007‐HSA1                         12/11/2006                  $37,000.00
11142457            2007‐HSA1                         12/11/2006                  $82,600.00
11142461            2007‐QS1                          12/19/2006                 $126,000.00
11143249            2007‐HSA1                         12/12/2006                 $100,000.00
11144763            2006‐S12                           12/6/2006                 $448,000.00
11145755            2006‐S12                           12/8/2006                 $427,000.00
11146035            2006‐S12                           12/6/2006                 $444,000.00
11146179            2007‐HSA1                         12/18/2006                  $75,000.00
11146183            2006‐QS18                         12/12/2006                 $180,000.00
11146195            2007‐HSA1                          12/8/2006                  $34,500.00
11146197            2006‐QO10                          12/8/2006                  $87,000.00
11146211            2007‐HSA2                         12/12/2006                 $100,000.00
11146215            2006‐QO10                         12/18/2006                 $235,000.00
11146223            2007‐HSA1                         12/12/2006                  $75,000.00
11146247            2007‐HSA1                         12/29/2006                  $60,000.00
11146261            2007‐QO2                           1/23/2007                 $215,000.00
11146775            2006‐QO10                          12/8/2006                 $124,000.00
11146793            2007‐HSA1                         12/12/2006                  $65,000.00
11146795            2006‐S12                          12/12/2006                 $479,600.00
11147035            2007‐HSA1                         12/13/2006                  $15,000.00
11147049            2007‐HSA1                         12/29/2006                  $77,600.00
11147061            2007‐HSA1                          12/8/2006                  $29,500.00
11147085            2007‐HSA1                         12/14/2006                 $100,000.00
11147095            2007‐HSA1                         12/12/2006                  $71,600.00
11147097            2007‐HI1                          12/13/2006                  $32,000.00
11147157            2007‐HSA2                         12/19/2006                  $13,000.00
11147167            2007‐HSA1                         12/11/2006                  $64,800.00
11147201            2007‐HSA2                         12/21/2006                  $92,000.00
11147213            2007‐HSA2                         12/28/2006                  $36,900.00
11147219            2007‐HSA2                         12/12/2006                  $45,000.00
11147229            2007‐HSA2                          12/8/2006                  $83,000.00
11147237            2007‐HSA1                         12/12/2006                 $100,000.00
11148837            2006‐S12                          12/15/2006                 $500,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11148883            2007‐QO1                          12/18/2006                 $605,600.00
11148897            2007‐QS1                          12/18/2006                 $128,700.00
11151223            2007‐HSA1                         12/12/2006                  $28,600.00
11151689            2007‐HI1                          12/13/2006                  $40,500.00
11152953            2007‐HSA2                         12/13/2006                  $56,500.00
11153059            2006‐QS18                         12/12/2006                 $134,000.00
11153069            2006‐QO10                         12/12/2006                 $273,000.00
11153175            2007‐HSA1                         12/13/2006                  $22,000.00
11154697            2007‐S1                           12/15/2006                 $396,850.00
11154767            2007‐QA1                          12/13/2006                 $136,000.00
11154769            2007‐HSA1                          12/8/2006                 $100,000.00
11154773            2007‐QS1                          12/20/2006                 $159,000.00
11154777            2007‐HSA1                         12/13/2006                  $50,000.00
11154795            2006‐QO10                         12/13/2006                 $217,600.00
11154809            2007‐HSA1                         12/11/2006                  $58,900.00
11159285            2007‐HI1                          12/12/2006                  $50,000.00
11159383            2006‐S12                          12/12/2006                 $510,700.00
11162005            2007‐S2                           12/18/2006                 $438,245.87
11163477            2007‐QO1                          12/12/2006                 $171,750.00
11163499            2007‐S1                           12/19/2006                 $484,000.00
11163525            2006‐QO10                         12/18/2006                 $310,000.00
11163711            2007‐HI1                          12/12/2006                  $26,400.00
11163755            2007‐HI1                           12/8/2006                  $25,400.00
11163767            2007‐HI1                          12/12/2006                  $49,300.00
11163985            2006‐S12                           12/8/2006                 $491,000.00
11164033            2007‐HI1                          12/12/2006                  $30,000.00
11164151            2007‐QO1                          12/12/2006                 $280,000.00
11164169            2006‐QO10                         12/12/2006                 $148,800.00
11164177            2007‐QO2                          12/14/2006                 $320,000.00
11166351            2006‐QO10                         12/12/2006                 $106,400.00
11166369            2007‐HI1                          12/14/2006                  $49,500.00
11166375            2007‐HSA1                         12/14/2006                  $45,800.00
11166381            2007‐HSA1                         12/18/2006                  $13,300.00
11166941            2007‐HI1                          12/14/2006                  $41,000.00
11166961            2007‐HI1                          12/18/2006                  $25,000.00
11167091            2007‐HSA1                         12/15/2006                 $150,000.00
11167517            2007‐HSA1                         12/19/2006                  $28,000.00
11167527            2007‐HSA1                         12/13/2006                  $31,500.00
11167539            2007‐HSA1                         12/14/2006                  $85,000.00
11167567            2007‐HSA1                         12/14/2006                  $19,500.00
11167575            2007‐HSA1                         12/14/2006                  $45,900.00
11167577            2007‐HSA1                         12/13/2006                  $34,300.00
11167607            2007‐HSA1                         12/26/2006                  $75,000.00
11167623            2007‐HI1                          12/14/2006                  $70,000.00
11167629            2007‐S1                           12/18/2006                 $500,000.00
11167637            2007‐HSA1                         12/14/2006                 $197,600.00
11167649            2007‐HSA1                         12/14/2006                  $68,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11167653            2007‐HSA1                         12/14/2006                  $59,000.00
11167669            2006‐QO10                         12/18/2006                 $232,000.00
11167683            2007‐HI1                          12/14/2006                  $25,000.00
11167727            2006‐QS17                         12/18/2006                 $176,000.00
11167759            2007‐HI1                          12/13/2006                  $25,000.00
11167959            2007‐QO2                            1/4/2007                 $185,000.00
11168059            2007‐HSA2                         12/18/2006                  $42,600.00
11169757            2007‐HSA1                         12/19/2006                  $65,000.00
11169767            2007‐HSA1                         12/15/2006                  $54,000.00
11169769            2007‐HI1                          12/15/2006                  $73,000.00
11169777            2007‐HSA1                         12/15/2006                  $60,000.00
11169789            2007‐HSA1                         12/15/2006                  $60,500.00
11169795            2007‐HSA1                         12/14/2006                  $80,000.00
11169859            2007‐HSA1                         12/15/2006                  $71,000.00
11169861            2007‐HSA1                         12/14/2006                  $44,000.00
11169863            2007‐HI1                          12/11/2006                  $50,000.00
11169869            2007‐SA1                          12/15/2006                 $300,000.00
11169935            2007‐HSA1                         12/14/2006                  $15,050.00
11169945            2007‐HSA1                         12/15/2006                  $16,500.00
11169947            2007‐QO1                          12/13/2006                 $280,000.00
11169973            2007‐HSA1                         12/14/2006                  $80,000.00
11170005            2007‐HSA1                         12/14/2006                  $32,400.00
11170023            2007‐HSA1                         12/14/2006                  $73,000.00
11170115            2007‐HSA1                         12/14/2006                 $143,200.00
11170127            2007‐HSA1                         12/14/2006                 $100,000.00
11170147            2007‐HSA1                         12/14/2006                 $100,000.00
11170153            2007‐HSA1                         12/14/2006                  $69,000.00
11170163            2006‐QO10                         12/11/2006                 $484,000.00
11170165            2007‐HSA1                         12/14/2006                  $70,000.00
11170191            2007‐HI1                          12/14/2006                  $65,000.00
11170237            2007‐HSA1                         12/15/2006                  $62,000.00
11170255            2007‐HSA1                         12/15/2006                  $93,000.00
11170271            2007‐HSA1                         12/14/2006                  $40,000.00
11170275            2007‐HSA1                         12/15/2006                  $43,800.00
11170293            2007‐HSA1                         12/14/2006                 $100,000.00
11170299            2007‐HSA1                         12/14/2006                  $70,000.00
11170311            2007‐HSA1                         12/14/2006                  $78,000.00
11170319            2007‐HSA1                         12/14/2006                  $55,000.00
11170325            2007‐HSA1                         12/15/2006                 $100,000.00
11170343            2007‐HSA1                         12/14/2006                  $60,000.00
11170361            2007‐HSA1                         12/14/2006                  $59,100.00
11170367            2007‐HSA1                         12/14/2006                  $32,000.00
11170375            2007‐HSA1                         12/14/2006                 $100,000.00
11170381            2007‐HSA1                         12/14/2006                  $75,000.00
11170393            2007‐HSA1                         12/14/2006                  $64,000.00
11170397            2007‐HSA1                         12/14/2006                  $50,000.00
11170579            2007‐HSA1                         12/14/2006                  $48,800.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11170923            2007‐HSA1                         12/14/2006                  $75,700.00
11170925            2007‐HSA1                         12/14/2006                  $19,300.00
11170939            2007‐HSA1                         12/13/2006                  $52,000.00
11170941            2007‐HSA1                         12/14/2006                  $75,000.00
11170943            2007‐HSA1                         12/14/2006                 $100,000.00
11170959            2007‐HSA1                         12/14/2006                 $100,000.00
11171311            2007‐QO1                          12/14/2006                 $208,800.00
11171405            2007‐S1                           12/18/2006                 $596,000.00
11171449            2007‐HSA1                         12/14/2006                  $42,000.00
11171453            2007‐HSA1                         12/14/2006                 $100,000.00
11171455            2007‐HSA1                         12/15/2006                  $30,000.00
11171457            2007‐HSA1                         12/14/2006                  $52,000.00
11171485            2007‐HSA1                         12/15/2006                 $100,000.00
11171487            2007‐HSA1                         12/14/2006                  $57,250.00
11171499            2007‐HSA1                         12/15/2006                  $62,000.00
11171501            2007‐HSA1                         12/14/2006                 $190,000.00
11171515            2007‐HSA1                         12/14/2006                  $21,700.00
11171531            2007‐HSA1                         12/15/2006                  $68,500.00
11171533            2007‐HSA1                         12/14/2006                  $27,200.00
11171545            2007‐QO1                          12/19/2006                 $200,000.00
11171551            2007‐HSA1                         12/14/2006                  $90,000.00
11171553            2007‐HI1                          12/14/2006                  $75,000.00
11171557            2007‐HSA1                         12/15/2006                  $95,000.00
11171569            2007‐HSA1                         12/14/2006                  $81,000.00
11171571            2007‐HI1                          12/14/2006                  $39,100.00
11171575            2007‐QO1                          12/18/2006                 $208,400.00
11171591            2007‐HSA1                         12/15/2006                  $60,000.00
11171603            2007‐HSA1                         12/15/2006                 $167,000.00
11171621            2007‐HSA1                         12/15/2006                  $80,000.00
11171629            2007‐HSA1                         12/15/2006                  $32,000.00
11171643            2007‐HSA1                         12/15/2006                  $70,000.00
11173267            2006‐QO10                         12/14/2006                 $317,000.00
11173315            2007‐QS3                           2/12/2007                  $99,200.00
11173317            2007‐HSA1                         12/15/2006                 $104,100.00
11173327            2007‐QS2                          12/18/2006                 $208,000.00
11173553            2007‐HSA3                         12/15/2006                 $199,867.24
11173555            2006‐QO10                         12/18/2006                 $161,250.00
11173565            2007‐HSA1                         12/14/2006                 $100,000.00
11173567            2007‐HSA1                         12/15/2006                  $17,300.00
11173631            2007‐HSA1                         12/15/2006                  $66,000.00
11173639            2007‐HSA1                         12/15/2006                  $20,000.00
11173641            2007‐QO1                          12/21/2006                 $120,000.00
11173645            2007‐HSA1                         12/18/2006                  $40,000.00
11173653            2007‐HI1                          12/27/2006                  $32,000.00
11173667            2007‐HSA1                         12/15/2006                  $25,900.00
11173825            2007‐QO1                          12/26/2006                 $197,000.00
11173831            2007‐HSA1                         12/14/2006                 $100,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11173839            2007‐HSA1                         12/15/2006                 $134,000.00
11173873            2007‐HSA1                         12/18/2006                  $83,200.00
11173901            2007‐HI1                          12/14/2006                  $50,000.00
11173919            2007‐HI1                          12/14/2006                  $50,000.00
11174001            2007‐HSA1                         12/14/2006                 $100,000.00
11174019            2007‐HI1                          12/15/2006                  $75,000.00
11174021            2007‐HSA1                         12/14/2006                  $45,000.00
11174031            2007‐HSA1                         12/14/2006                  $64,000.00
11174037            2007‐HSA1                         12/14/2006                  $39,300.00
11174047            2007‐HSA1                         12/14/2006                  $29,900.00
11174407            2007‐HI1                          12/19/2006                  $32,200.00
11174923            2007‐HSA1                         12/15/2006                  $43,000.00
11175167            2007‐HSA1                         12/14/2006                  $18,000.00
11175619            2007‐HSA1                         12/14/2006                  $82,500.00
11175969            2007‐QO2                          12/18/2006                 $287,000.00
11175995            2007‐HSA1                         12/18/2006                  $64,800.00
11175997            2007‐HSA1                         12/18/2006                 $100,000.00
11176011            2006‐QO10                         12/14/2006                 $320,000.00
11177155            2007‐HSA1                         12/18/2006                 $112,600.00
11177181            2007‐QS4                          12/15/2006                 $225,000.00
11177183            2007‐HSA2                         12/15/2006                  $35,000.00
11177199            2007‐QS4                          12/15/2006                 $116,000.00
11179039            2007‐HSA2                         12/14/2006                  $40,000.00
11179043            2007‐HI1                          12/15/2006                  $50,000.00
11179079            2007‐HSA1                         12/19/2006                  $69,500.00
11179095            2007‐HSA1                         12/14/2006                  $59,000.00
11179099            2007‐HI1                          12/19/2006                  $67,400.00
11179119            2007‐HSA1                         12/14/2006                 $100,000.00
11179121            2007‐HSA1                         12/18/2006                  $15,000.00
11179127            2007‐HSA1                         12/14/2006                  $50,000.00
11179149            2007‐HSA1                         12/18/2006                 $105,000.00
11179171            2007‐HSA1                         12/14/2006                 $100,000.00
11179183            2007‐HSA1                         12/14/2006                  $80,000.00
11179185            2007‐HSA1                         12/14/2006                  $18,000.00
11179193            2007‐HSA1                         12/19/2006                  $35,000.00
11179205            2007‐HSA1                         12/18/2006                  $10,000.00
11179207            2007‐HSA1                         12/14/2006                  $65,000.00
11179213            2007‐HSA1                         12/14/2006                  $30,000.00
11179267            2007‐HSA1                         12/14/2006                 $100,000.00
11179411            2007‐HSA1                         12/14/2006                  $65,000.00
11179565            2007‐HSA1                         12/26/2006                  $86,000.00
11179625            2007‐HSA1                         12/20/2006                  $95,000.00
11179687            2007‐HSA1                         12/18/2006                  $25,000.00
11181011            2007‐S1                           12/18/2006                 $450,000.00
11181411            2007‐QS1                          12/21/2006                 $120,000.00
11181477            2007‐HI1                          12/18/2006                  $24,500.00
11181485            2007‐HSA1                         12/18/2006                  $81,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11181491            2007‐QO1                          12/18/2006                 $172,000.00
11181501            2007‐HSA1                         12/19/2006                  $40,900.00
11181505            2007‐QS1                          12/18/2006                 $225,000.00
11181513            2007‐HSA1                         12/19/2006                  $26,000.00
11181519            2007‐HSA1                         12/26/2006                  $63,500.00
11181521            2007‐QO2                          12/18/2006                 $163,200.00
11181545            2007‐HI1                          12/19/2006                  $59,900.00
11187703            2007‐HI1                          12/19/2006                  $35,000.00
11187725            2007‐HSA1                         12/19/2006                  $21,500.00
11187755            2007‐HSA1                         12/26/2006                  $17,700.00
11188755            2007‐S1                           12/18/2006                 $520,000.00
11188763            2006‐QO10                         12/18/2006                 $127,000.00
11188783            2007‐QS1                          12/20/2006                 $123,314.77
11188785            2007‐QO1                          12/19/2006                 $212,500.00
11189869            2007‐HSA1                         12/19/2006                  $64,000.00
11189893            2007‐HI1                          12/20/2006                  $50,000.00
11189923            2007‐HSA1                         12/19/2006                  $47,500.00
11189945            2007‐HSA1                         12/21/2006                  $75,000.00
11190071            2007‐HSA1                         12/21/2006                  $55,000.00
11190085            2007‐HSA1                         12/21/2006                  $30,000.00
11190279            2007‐HSA1                         12/21/2006                  $75,000.00
11190297            2007‐HSA1                         12/21/2006                  $18,500.00
11190307            2007‐HI1                          12/21/2006                  $50,000.00
11190423            2007‐HSA1                         12/21/2006                  $15,000.00
11192729            2007‐QO1                          12/20/2006                 $265,000.00
11192731            2007‐HSA1                         12/19/2006                  $36,500.00
11193601            2007‐HI1                          12/21/2006                  $75,000.00
11193605            2007‐S1                           12/19/2006                 $500,000.00
11194013            2007‐HI1                          12/21/2006                  $35,000.00
11194449            2007‐HI1                          12/26/2006                  $13,000.00
11194645            2007‐HI1                          12/21/2006                  $40,300.00
11196297            2007‐HSA1                         12/21/2006                  $75,000.00
11196319            2007‐HSA1                         12/21/2006                  $50,000.00
11196327            2007‐HSA1                         12/21/2006                 $145,950.00
11196347            2007‐HSA1                         12/21/2006                  $37,500.00
11196361            2007‐HSA1                         12/21/2006                  $45,000.00
11196365            2007‐HSA1                         12/21/2006                  $26,000.00
11196387            2007‐HSA1                         12/28/2006                  $44,900.00
11196405            2007‐HSA1                         12/28/2006                  $39,000.00
11196437            2007‐HSA1                         12/21/2006                  $58,000.00
11196465            2007‐HSA1                         12/21/2006                 $100,000.00
11196521            2007‐HSA1                         12/28/2006                  $46,000.00
11196541            2007‐HSA1                         12/21/2006                  $30,000.00
11196569            2007‐HSA1                         12/21/2006                  $42,000.00
11196589            2007‐HSA1                         12/21/2006                  $44,000.00
11196603            2007‐HSA1                         12/21/2006                  $17,000.00
11196639            2007‐HSA1                         12/21/2006                  $45,500.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11196665            2007‐HSA1                         12/29/2006                  $26,000.00
11196727            2007‐HSA1                         12/28/2006                  $67,500.00
11196757            2007‐HSA1                         12/29/2006                  $19,300.00
11196809            2007‐HSA1                         12/28/2006                  $80,000.00
11196895            2007‐HSA1                         12/28/2006                  $48,500.00
11196941            2007‐HSA1                         12/29/2006                  $58,300.00
11197325            2007‐SA1                          12/26/2006                 $135,200.00
11197403            2007‐QO1                          12/20/2006                 $187,500.00
11197495            2007‐HSA2                         12/29/2006                  $96,000.00
11197621            2007‐HSA1                         12/28/2006                 $100,000.00
11197625            2007‐QO1                          12/19/2006                 $231,000.00
11197627            2007‐HSA1                         12/28/2006                  $64,000.00
11197637            2007‐HSA1                         12/28/2006                 $139,000.00
11197639            2007‐HSA1                         12/29/2006                  $25,300.00
11197647            2007‐HSA1                         12/21/2006                 $150,000.00
11197697            2007‐HSA1                         12/29/2006                  $38,000.00
11197849            2007‐HSA1                         12/29/2006                  $56,900.00
11197851            2007‐HSA1                         12/28/2006                  $31,500.00
11197853            2007‐HSA1                         12/28/2006                  $25,000.00
11197855            2007‐HSA1                         12/28/2006                  $35,000.00
11197857            2007‐HSA1                         12/29/2006                 $100,000.00
11197859            2007‐HSA1                         12/28/2006                  $42,000.00
11197861            2007‐HSA1                         12/28/2006                  $60,000.00
11197863            2007‐HSA1                         12/29/2006                  $73,000.00
11197865            2007‐HSA1                         12/28/2006                  $42,000.00
11197867            2007‐HSA1                         12/27/2006                 $100,000.00
11197869            2007‐HSA1                         12/29/2006                  $40,000.00
11197871            2007‐HSA1                         12/28/2006                  $85,000.00
11197873            2007‐HSA1                         12/28/2006                 $110,000.00
11197875            2007‐HSA1                         12/29/2006                  $55,000.00
11197877            2007‐HSA1                         12/29/2006                  $29,000.00
11197879            2007‐HSA1                         12/27/2006                  $52,000.00
11197881            2007‐HSA1                         12/28/2006                  $33,200.00
11197883            2007‐HSA1                         12/29/2006                  $50,000.00
11197885            2007‐HSA1                         12/29/2006                  $40,500.00
11197887            2007‐HSA1                         12/27/2006                  $35,000.00
11197889            2007‐HSA1                         12/28/2006                  $80,000.00
11197891            2007‐HSA1                         12/28/2006                  $50,000.00
11197893            2007‐HSA1                           1/3/2007                  $60,000.00
11197895            2007‐HSA1                         12/29/2006                  $75,000.00
11197899            2007‐HSA1                         12/28/2006                  $78,500.00
11197901            2007‐HSA1                         12/29/2006                  $40,000.00
11197903            2007‐HI1                          12/26/2006                  $34,000.00
11197905            2007‐HSA1                         12/28/2006                  $39,400.00
11197907            2007‐HSA1                         12/29/2006                  $62,000.00
11197909            2007‐HSA1                         12/28/2006                  $31,300.00
11197911            2007‐HSA1                         12/28/2006                 $100,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11197913            2007‐HSA1                         12/28/2006                 $100,000.00
11197917            2007‐HSA1                         12/28/2006                  $25,000.00
11197919            2007‐HSA1                         12/28/2006                 $150,000.00
11197921            2007‐HSA1                         12/28/2006                 $100,000.00
11197923            2007‐HSA1                         12/29/2006                  $40,000.00
11198781            2007‐HSA1                         12/26/2006                  $39,000.00
11198865            2007‐HSA1                         12/28/2006                  $68,000.00
11199089            2007‐HSA1                         12/28/2006                  $45,000.00
11199105            2007‐HSA2                         12/28/2006                  $20,000.00
11199117            2007‐HSA1                         12/21/2006                  $48,500.00
11199155            2007‐HSA1                         12/28/2006                  $33,000.00
11199475            2007‐QO1                          12/21/2006                 $220,000.00
11199495            2007‐QS1                          12/21/2006                 $151,600.00
11199515            2007‐QS2                          12/21/2006                 $212,500.00
11199529            2007‐S1                           12/21/2006                 $451,200.00
11199723            2007‐QO1                          12/21/2006                 $151,000.00
11199737            2007‐S1                           12/21/2006                 $501,000.00
11199817            2007‐QS1                          12/21/2006                 $132,000.00
11199847            2007‐S2                           12/21/2006                 $473,700.00
11199869            2007‐QS1                          12/21/2006                 $249,000.00
11201107            2007‐QO1                          12/29/2006                 $191,000.00
11201291            2007‐HI1                          12/29/2006                  $53,100.00
11201305            2007‐QO1                          12/27/2006                 $172,000.00
11202225            2007‐QO1                          12/21/2006                 $332,000.00
11203981            2007‐HSA2                          1/16/2007                  $43,000.00
11203997            2007‐HSA2                         12/29/2006                  $30,000.00
11204001            2007‐HSA2                         12/29/2006                  $49,000.00
11204007            2007‐HI1                          12/29/2006                  $30,000.00
11204009            2007‐HSA2                           1/4/2007                  $57,700.00
11204015            2007‐HSA2                         12/29/2006                  $33,000.00
11204019            2007‐HSA2                         12/29/2006                  $40,000.00
11204021            2007‐HSA2                         12/28/2006                  $31,000.00
11204035            2007‐HI1                          12/28/2006                  $30,000.00
11204043            2007‐HSA2                         12/28/2006                  $32,000.00
11204047            2007‐HI1                          12/29/2006                  $30,000.00
11204055            2007‐HSA2                           1/3/2007                  $40,000.00
11204059            2007‐HI1                          12/29/2006                  $30,000.00
11204061            2007‐HSA2                         12/29/2006                  $60,000.00
11204063            2007‐HSA2                         12/29/2006                 $138,000.00
11204065            2007‐HSA2                         12/29/2006                  $83,000.00
11204069            2007‐HSA2                         12/29/2006                  $54,000.00
11204075            2007‐HSA2                           1/4/2007                  $50,050.00
11204081            2007‐HSA2                           1/2/2007                  $45,500.00
11204083            2007‐HSA2                           1/4/2007                  $25,350.00
11204097            2007‐HSA2                           1/2/2007                  $54,000.00
11204111            2007‐HSA2                         12/29/2006                  $38,600.00
11204135            2007‐HSA2                         12/28/2006                  $40,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11204141            2007‐HSA2                           1/2/2007                  $57,000.00
11204147            2007‐HSA2                         12/29/2006                  $48,000.00
11204149            2007‐HSA2                         12/28/2006                  $33,000.00
11204157            2007‐HSA1                         12/28/2006                  $38,000.00
11204159            2007‐HSA1                         12/28/2006                 $144,500.00
11204161            2007‐HSA1                         12/28/2006                 $100,000.00
11204163            2007‐HSA1                         12/29/2006                  $45,000.00
11204165            2007‐HSA1                         12/28/2006                  $50,000.00
11204177            2007‐HSA1                         12/28/2006                 $175,000.00
11204181            2007‐HSA1                          1/31/2007                  $85,400.00
11204185            2007‐HSA1                         12/28/2006                 $150,000.00
11204187            2007‐HSA1                         12/29/2006                  $38,000.00
11204191            2007‐HSA1                         12/29/2006                  $32,000.00
11204195            2007‐HSA1                         12/29/2006                  $83,000.00
11204197            2007‐HSA1                         12/28/2006                  $58,300.00
11204201            2007‐HSA1                         12/29/2006                  $27,000.00
11204203            2007‐HSA1                         12/28/2006                  $29,000.00
11204205            2007‐HSA1                         12/29/2006                  $98,000.00
11204207            2007‐HSA1                         12/28/2006                  $55,000.00
11204209            2007‐HSA1                         12/28/2006                  $37,000.00
11204211            2007‐HSA1                         12/28/2006                 $146,000.00
11204215            2007‐HSA1                         12/28/2006                  $68,000.00
11204219            2007‐HSA1                         12/28/2006                  $42,000.00
11204225            2007‐HSA1                         12/29/2006                  $20,000.00
11204227            2007‐HSA1                         12/28/2006                  $97,400.00
11204233            2007‐HSA1                         12/28/2006                  $89,000.00
11204237            2007‐HSA1                         12/28/2006                  $53,300.00
11204239            2007‐HSA1                         12/29/2006                 $142,000.00
11204241            2007‐HSA1                         12/29/2006                  $52,400.00
11204243            2007‐HSA1                         12/28/2006                  $45,000.00
11204245            2007‐HSA1                         12/29/2006                  $49,100.00
11204247            2007‐HSA1                         12/28/2006                 $150,000.00
11204249            2007‐HSA1                           1/2/2007                  $25,000.00
11204251            2007‐HSA1                         12/29/2006                  $63,400.00
11204257            2007‐HSA1                         12/29/2006                 $100,000.00
11204259            2007‐HSA1                         12/29/2006                 $130,000.00
11204263            2007‐HSA1                         12/28/2006                 $120,000.00
11204265            2007‐HSA1                         12/29/2006                  $50,000.00
11204267            2007‐HSA1                         12/28/2006                 $150,000.00
11204273            2007‐HSA1                           1/2/2007                  $40,000.00
11204277            2007‐HSA1                         12/28/2006                  $62,000.00
11204279            2007‐HSA1                         12/28/2006                  $12,800.00
11204281            2007‐HSA1                         12/28/2006                  $36,000.00
11204283            2007‐HSA1                         12/28/2006                  $72,800.00
11204285            2007‐HSA1                         12/28/2006                 $145,000.00
11204287            2007‐HSA1                         12/28/2006                  $60,500.00
11204289            2007‐HSA1                         12/28/2006                  $40,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11204293            2007‐HSA1                         12/28/2006                  $40,000.00
11204297            2007‐HSA1                         12/28/2006                  $99,000.00
11204299            2007‐HSA1                         12/28/2006                 $100,000.00
11204301            2007‐HSA1                         12/28/2006                  $27,700.00
11204309            2007‐HSA1                         12/29/2006                  $54,000.00
11204311            2007‐HSA1                           1/2/2007                  $70,000.00
11204315            2007‐HSA1                         12/29/2006                 $100,000.00
11204317            2007‐HSA1                         12/29/2006                  $44,700.00
11204319            2007‐HSA1                         12/29/2006                 $125,000.00
11204321            2007‐HSA1                         12/29/2006                  $73,500.00
11204323            2007‐HSA1                         12/28/2006                 $100,000.00
11204325            2007‐HSA1                         12/29/2006                  $80,000.00
11204333            2007‐HSA1                         12/28/2006                  $42,450.00
11204335            2007‐HSA1                         12/28/2006                  $35,200.00
11204341            2007‐HSA1                         12/28/2006                  $35,000.00
11204343            2007‐HSA1                         12/28/2006                 $150,000.00
11204345            2007‐HSA1                         12/28/2006                 $100,000.00
11204347            2007‐HSA1                         12/28/2006                  $48,200.00
11204351            2007‐HSA1                         12/28/2006                  $85,000.00
11204353            2007‐HSA1                         12/28/2006                  $85,000.00
11204355            2007‐HSA1                         12/29/2006                  $43,300.00
11204359            2007‐HSA1                         12/29/2006                  $53,300.00
11204361            2007‐HSA1                         12/29/2006                  $25,000.00
11204365            2007‐HSA1                           1/2/2007                  $30,000.00
11204369            2007‐HSA1                         12/28/2006                 $151,200.00
11204373            2007‐HSA1                         12/28/2006                  $75,000.00
11204375            2007‐HSA1                         12/28/2006                  $21,550.00
11204379            2007‐HSA1                         12/28/2006                 $100,000.00
11204383            2007‐HSA1                         12/28/2006                  $71,000.00
11204387            2007‐HSA1                         12/29/2006                  $90,000.00
11204391            2007‐HSA1                         12/29/2006                 $100,000.00
11204393            2007‐HSA1                         12/28/2006                  $30,000.00
11204395            2007‐HSA1                         12/28/2006                  $80,800.00
11204397            2007‐HSA1                         12/28/2006                  $19,100.00
11204403            2007‐HSA1                         12/28/2006                 $119,000.00
11204405            2007‐HSA1                         12/29/2006                  $17,000.00
11204407            2007‐HSA1                         12/28/2006                  $67,500.00
11204411            2007‐HSA1                         12/28/2006                  $84,600.00
11204415            2007‐HSA1                         12/28/2006                 $100,000.00
11204417            2007‐HSA1                         12/28/2006                  $32,000.00
11204421            2007‐HSA1                         12/29/2006                  $75,000.00
11204423            2007‐HSA1                         12/29/2006                  $42,000.00
11204425            2007‐HSA1                         12/28/2006                  $94,000.00
11204427            2007‐HSA1                         12/28/2006                  $39,300.00
11204429            2007‐HSA1                         12/28/2006                 $110,000.00
11204435            2007‐HSA1                         12/28/2006                  $71,000.00
11204437            2007‐HSA1                         12/28/2006                 $150,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11204439            2007‐HSA1                         12/28/2006                  $60,000.00
11204445            2007‐HSA1                         12/28/2006                  $42,300.00
11204449            2007‐HSA1                         12/28/2006                  $37,100.00
11204451            2007‐HSA1                         12/28/2006                  $20,000.00
11204455            2007‐HSA1                         12/28/2006                  $32,000.00
11204459            2007‐HSA1                         12/28/2006                  $21,500.00
11204461            2007‐HSA1                         12/29/2006                  $20,400.00
11204463            2007‐HSA1                         12/29/2006                  $25,200.00
11204465            2007‐HSA1                         12/28/2006                  $32,000.00
11204467            2007‐HSA1                         12/29/2006                  $63,100.00
11204471            2007‐HSA1                         12/29/2006                  $60,000.00
11204475            2007‐HSA1                         12/29/2006                  $59,700.00
11204477            2007‐HSA1                         12/29/2006                 $140,000.00
11204481            2007‐HSA1                         12/29/2006                 $100,000.00
11204483            2007‐HSA1                         12/29/2006                  $91,000.00
11204485            2007‐HSA1                         12/29/2006                 $100,000.00
11204487            2007‐HSA1                         12/29/2006                  $66,900.00
11204489            2007‐HSA1                         12/28/2006                  $55,000.00
11204491            2007‐HSA1                         12/29/2006                  $50,100.00
11204495            2007‐HSA1                           1/4/2007                  $85,500.00
11204499            2007‐HSA1                           1/3/2007                 $110,000.00
11204501            2007‐HSA1                           1/2/2007                  $54,900.00
11204503            2007‐HSA1                         12/29/2006                  $56,000.00
11204505            2007‐HSA1                           1/4/2007                 $126,300.00
11204509            2007‐HSA1                           1/2/2007                  $90,000.00
11204511            2007‐HSA1                         12/29/2006                  $41,000.00
11204513            2007‐HSA1                         12/28/2006                  $54,000.00
11204517            2007‐HSA1                         12/29/2006                  $33,500.00
11204519            2007‐HSA1                         12/28/2006                  $63,000.00
11204523            2007‐HSA1                         12/28/2006                  $91,000.00
11206895            2007‐HI1                          12/27/2006                  $33,000.00
11206897            2007‐HI1                          12/27/2006                  $46,000.00
11206901            2007‐HI1                          12/27/2006                  $40,000.00
11207105            2007‐S1                           12/29/2006                 $613,000.00
11207131            2007‐QO2                          12/29/2006                 $101,500.00
11207135            2007‐HI1                          12/27/2006                  $35,700.00
11207165            2007‐HI1                            1/4/2007                  $49,000.00
11207167            2007‐QO1                          12/28/2006                 $181,500.00
11207671            2007‐QO3                           2/28/2007                 $308,000.00
11210673            2007‐HI1                          12/29/2006                  $36,700.00
11210681            2007‐S1                           12/29/2006                 $441,000.00
11210683            2007‐HI1                            1/4/2007                  $27,000.00
11210691            2007‐QS1                          12/27/2006                 $394,567.82
11210751            2007‐HI1                          12/28/2006                  $55,000.00
11210755            2007‐HI1                          12/28/2006                  $48,500.00
11210765            2007‐QS2                          12/27/2006                 $150,000.00
11210771            2007‐HI1                          12/29/2006                  $44,800.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11210783            2007‐HI1                          12/29/2006                  $75,000.00
11210785            2007‐HI1                            1/4/2007                  $30,000.00
11210789            2007‐QS2                          12/29/2006                 $156,000.00
11210811            2007‐HI1                            1/4/2007                  $37,400.00
11210813            2007‐HI1                          12/29/2006                  $40,000.00
11210819            2007‐S1                           12/29/2006                 $364,000.00
11211135            2007‐HI1                          12/28/2006                  $35,000.00
11211139            2007‐QO1                          12/27/2006                 $520,000.00
11211163            2007‐QO1                          12/28/2006                 $512,000.00
11211171            2007‐S1                            1/11/2007                 $475,000.00
11211295            2007‐QO2                          12/27/2006                 $112,000.00
11211323            2007‐QO2                            1/4/2007                 $256,000.00
11211571            2007‐S1                           12/29/2006                 $816,700.00
11216521            2007‐QA3                           1/11/2007                 $112,800.00
11216545            2007‐HI1                          12/29/2006                  $40,000.00
11216933            2007‐S1                           12/28/2006                 $495,000.00
11216951            2007‐HI1                          12/28/2006                  $37,000.00
11216991            2007‐HI1                          12/29/2006                  $30,000.00
11217091            2007‐HI1                          12/29/2006                  $44,400.00
11217127            2007‐QO1                          12/29/2006                 $230,000.00
11219853            2007‐HSA2                          1/30/2007                  $40,000.00
11220841            2007‐QO1                          12/29/2006                 $168,000.00
11220853            2007‐HI1                          12/28/2006                  $42,500.00
11222345            2007‐HSA1                           1/8/2007                 $118,000.00
11222379            2007‐QS2                            1/3/2007                 $264,000.00
11223183            2007‐QO2                            1/4/2007                 $253,000.00
11223207            2007‐QO2                            1/4/2007                 $361,000.00
11223349            2007‐HSA1                          1/12/2007                  $17,800.00
11223399            2007‐HSA1                          1/16/2007                  $20,000.00
11223435            2007‐HSA1                          1/16/2007                 $210,000.00
11223437            2007‐HSA1                          1/16/2007                  $36,100.00
11223451            2007‐HSA1                          1/16/2007                  $35,000.00
11223459            2007‐HSA1                          1/16/2007                  $76,700.00
11223463            2007‐S1                             1/4/2007                 $440,000.00
11223491            2007‐HI1                            1/4/2007                  $51,000.00
11224671            2007‐S1                            1/12/2007                 $468,000.00
11224687            2007‐S1                             1/4/2007                 $441,900.00
11224689            2007‐S1                             1/3/2007                 $487,000.00
11224697            2007‐QO1                           1/12/2007                 $120,000.00
11224721            2007‐QO1                           1/11/2007                 $237,400.00
11224835            2007‐HSA2                          1/11/2007                  $48,000.00
11224847            2007‐HSA2                           1/3/2007                  $26,500.00
11224881            2007‐HI1                           1/11/2007                  $20,000.00
11224883            2007‐HI1                            1/5/2007                  $35,000.00
11224899            2007‐HI1                            1/4/2007                  $35,000.00
11224901            2007‐HSA1                          1/11/2007                  $60,000.00
11224905            2007‐HSA1                          1/11/2007                  $30,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11224907            2007‐HSA1                          1/17/2007                  $61,000.00
11224909            2007‐HSA1                          1/11/2007                  $75,000.00
11224911            2007‐HSA1                           1/3/2007                  $28,000.00
11224913            2007‐HSA1                          1/17/2007                  $46,800.00
11224917            2007‐HSA1                          1/11/2007                  $60,000.00
11224919            2007‐HSA1                           1/3/2007                  $80,000.00
11224921            2007‐HSA1                          1/11/2007                 $149,000.00
11225983            2007‐S1                             1/5/2007                 $487,500.00
11227731            2007‐HI1                            1/4/2007                  $35,000.00
11227763            2007‐QS1                            1/5/2007                 $122,400.00
11227767            2007‐HI1                           1/12/2007                  $32,000.00
11228081            2007‐HI1                            1/4/2007                  $32,000.00
11228129            2007‐HI1                           1/16/2007                  $35,000.00
11230215            2007‐QS1                           1/12/2007                 $142,400.00
11230225            2007‐QS1                            1/8/2007                 $265,000.00
11230299            2007‐HI1                           2/27/2007                  $44,000.00
11230743            2007‐QS3                           1/11/2007                 $114,400.00
11231177            2007‐HSA1                          1/12/2007                  $60,000.00
11231181            2007‐HSA1                          1/16/2007                 $200,000.00
11231183            2007‐HSA2                          1/16/2007                  $38,200.00
11231187            2007‐HSA2                          1/12/2007                  $18,500.00
11231189            2007‐HSA2                          1/18/2007                  $36,100.00
11231191            2007‐HSA1                          1/12/2007                 $100,000.00
11231193            2007‐HSA2                          1/16/2007                  $12,000.00
11231197            2007‐HSA1                          1/12/2007                  $40,000.00
11231199            2007‐HSA2                          1/16/2007                 $150,000.00
11231203            2007‐HSA2                          1/17/2007                  $96,100.00
11231207            2007‐HSA2                          1/19/2007                  $19,900.00
11231209            2007‐HSA2                          1/19/2007                  $26,900.00
11231213            2007‐HSA2                          1/12/2007                  $38,000.00
11231217            2007‐HSA2                          1/26/2007                 $117,100.00
11231221            2007‐HSA2                          1/16/2007                  $42,000.00
11231227            2007‐HSA2                          1/26/2007                  $19,300.00
11231231            2007‐HSA1                          1/16/2007                  $86,000.00
11231233            2007‐HSA1                          1/19/2007                 $150,000.00
11231235            2007‐HSA1                          1/12/2007                 $200,000.00
11231237            2007‐HSA1                          1/16/2007                  $45,000.00
11231239            2007‐HSA1                          1/19/2007                  $99,000.00
11231241            2007‐HSA1                          1/17/2007                  $67,000.00
11231243            2007‐HSA1                          1/16/2007                  $59,000.00
11231245            2007‐HSA1                          1/12/2007                 $130,000.00
11231247            2007‐HI1                           1/12/2007                  $49,200.00
11231249            2007‐HSA2                          1/16/2007                  $81,000.00
11231251            2007‐HSA2                          1/16/2007                 $150,000.00
11231253            2007‐HSA1                          1/17/2007                  $41,900.00
11231255            2007‐HSA1                          1/17/2007                 $132,000.00
11231257            2007‐HSA1                          1/12/2007                  $59,500.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11231259            2007‐HSA1                          1/16/2007                  $75,000.00
11231261            2007‐HSA1                          1/17/2007                  $60,000.00
11231263            2007‐HSA1                          1/17/2007                 $150,000.00
11231267            2007‐HSA1                          1/17/2007                  $22,400.00
11231269            2007‐HI1                           1/16/2007                  $20,000.00
11231271            2007‐HSA1                          1/17/2007                 $100,000.00
11231273            2007‐HSA1                          1/16/2007                  $49,000.00
11231275            2007‐HSA1                          1/16/2007                  $94,500.00
11231277            2007‐HSA1                          1/16/2007                 $100,000.00
11231279            2007‐HSA1                          1/17/2007                  $60,000.00
11231281            2007‐HSA1                          1/16/2007                 $125,000.00
11231283            2007‐HSA1                          1/17/2007                  $27,000.00
11231285            2007‐HSA1                          1/12/2007                  $12,000.00
11231287            2007‐HSA1                          1/16/2007                 $109,000.00
11231291            2007‐HSA2                          1/19/2007                  $20,000.00
11231295            2007‐HSA1                          1/16/2007                  $27,900.00
11231297            2007‐HSA1                          1/16/2007                 $165,000.00
11231299            2007‐HSA1                          1/16/2007                  $47,700.00
11231301            2007‐HSA1                          1/16/2007                  $49,200.00
11231303            2007‐HSA1                          1/22/2007                  $42,000.00
11231305            2007‐HSA1                          1/17/2007                  $40,000.00
11231309            2007‐HSA1                          1/17/2007                 $100,000.00
11231311            2007‐HSA1                          1/16/2007                  $98,100.00
11231313            2007‐HSA1                          1/16/2007                  $97,700.00
11231315            2007‐HSA1                          1/19/2007                  $30,000.00
11231321            2007‐HSA1                          1/16/2007                  $52,500.00
11231323            2007‐HSA1                          1/17/2007                 $150,000.00
11231327            2007‐HSA2                          1/12/2007                  $41,800.00
11231329            2007‐HI1                           1/16/2007                  $75,000.00
11231331            2007‐HI1                           1/12/2007                  $52,000.00
11231333            2007‐HSA2                          1/30/2007                  $40,000.00
11231335            2007‐HSA1                          1/12/2007                  $40,400.00
11231337            2007‐HSA2                          1/16/2007                  $21,500.00
11231339            2007‐HSA1                          1/16/2007                  $91,600.00
11231341            2007‐HSA2                          1/16/2007                  $72,000.00
11231343            2007‐HSA2                          1/11/2007                  $53,000.00
11231347            2007‐HSA2                           2/7/2007                  $92,000.00
11231349            2007‐HSA2                          1/16/2007                  $39,750.00
11231353            2007‐HSA1                           1/5/2007                 $100,000.00
11231355            2007‐HSA1                          1/23/2007                  $25,600.00
11231359            2007‐HSA1                           1/8/2007                  $64,000.00
11231361            2007‐HSA1                          1/19/2007                  $39,000.00
11231363            2007‐HSA1                           1/8/2007                  $68,000.00
11231365            2007‐HSA2                          1/12/2007                  $55,000.00
11231367            2007‐HSA1                          1/16/2007                 $100,000.00
11231369            2007‐HSA1                          1/23/2007                  $16,100.00
11231371            2007‐HSA1                          1/12/2007                  $58,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11231373            2007‐HSA1                          1/17/2007                 $100,000.00
11231375            2007‐HSA2                          1/19/2007                  $63,800.00
11231377            2007‐HSA1                          1/16/2007                 $150,000.00
11231379            2007‐HSA1                           1/8/2007                  $65,000.00
11231381            2007‐HSA1                          1/12/2007                  $43,000.00
11231383            2007‐HSA1                          1/17/2007                  $13,000.00
11231385            2007‐HSA2                          1/17/2007                  $60,000.00
11231387            2007‐HSA1                          1/16/2007                  $35,000.00
11231391            2007‐HSA1                          1/16/2007                  $38,500.00
11231393            2007‐HSA1                          1/16/2007                 $100,000.00
11231395            2007‐HSA1                          1/16/2007                  $12,600.00
11231397            2007‐HSA2                          1/16/2007                  $46,000.00
11231399            2007‐HSA1                          1/16/2007                  $11,800.00
11231401            2007‐HSA1                          1/16/2007                  $34,000.00
11231403            2007‐HSA1                          1/17/2007                  $80,000.00
11231405            2007‐HI1                           1/16/2007                  $30,000.00
11231407            2007‐HSA1                          1/17/2007                  $42,500.00
11231411            2007‐HSA2                          1/16/2007                  $30,000.00
11231413            2007‐HSA1                          1/16/2007                  $53,000.00
11231415            2007‐HSA1                          1/12/2007                 $100,000.00
11231419            2007‐HSA1                          1/17/2007                  $70,000.00
11231421            2007‐HSA1                          1/16/2007                  $28,000.00
11231423            2007‐HSA1                          1/16/2007                  $90,000.00
11231425            2007‐HSA1                          1/22/2007                  $70,000.00
11231427            2007‐HSA1                          1/12/2007                  $75,000.00
11231431            2007‐HSA1                          1/12/2007                  $80,000.00
11231433            2007‐HSA1                          1/16/2007                  $21,000.00
11231435            2007‐HSA1                          1/12/2007                  $70,800.00
11231437            2007‐HSA1                          1/26/2007                  $50,000.00
11231439            2007‐HSA1                          1/11/2007                  $23,000.00
11231441            2007‐HSA2                          1/12/2007                 $100,000.00
11231443            2007‐HSA1                          1/19/2007                  $18,700.00
11231445            2007‐HSA1                          1/19/2007                  $30,000.00
11231447            2007‐HSA1                          1/17/2007                  $19,500.00
11231449            2007‐HSA1                          1/16/2007                  $50,000.00
11231451            2007‐HSA1                          1/16/2007                  $35,000.00
11231453            2007‐HSA1                          1/16/2007                  $72,900.00
11231457            2007‐HSA1                          1/17/2007                  $38,500.00
11231459            2007‐HSA1                          1/16/2007                  $54,000.00
11231461            2007‐HSA1                          1/16/2007                  $25,000.00
11231465            2007‐HSA1                          1/17/2007                  $19,100.00
11231467            2007‐HSA1                          1/17/2007                  $40,500.00
11231469            2007‐HSA1                          1/17/2007                  $20,000.00
11231473            2007‐HSA2                          1/19/2007                  $50,000.00
11231475            2007‐HSA1                          1/17/2007                  $50,000.00
11231477            2007‐HSA1                          1/12/2007                 $100,000.00
11231479            2007‐HSA1                          1/18/2007                  $24,800.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11231481            2007‐HSA1                          1/18/2007                  $25,000.00
11231483            2007‐HSA1                          1/17/2007                  $64,000.00
11231485            2007‐HSA1                          1/17/2007                  $19,000.00
11231487            2007‐HSA1                          1/17/2007                  $53,500.00
11231489            2007‐HSA1                          1/17/2007                  $20,000.00
11231491            2007‐HSA1                          1/12/2007                  $25,000.00
11231493            2007‐HSA2                          1/16/2007                  $33,200.00
11231495            2007‐HSA1                          1/12/2007                  $75,000.00
11231497            2007‐HSA1                          1/16/2007                  $40,800.00
11231499            2007‐HSA1                          1/16/2007                 $225,000.00
11231501            2007‐HSA1                          1/16/2007                  $58,800.00
11231503            2007‐HSA1                          1/12/2007                  $37,000.00
11231505            2007‐HSA1                          1/16/2007                  $68,000.00
11231509            2007‐HSA1                          1/12/2007                  $25,000.00
11231511            2007‐HSA2                          1/16/2007                  $11,000.00
11231513            2007‐HSA1                          1/12/2007                  $40,000.00
11231515            2007‐HSA1                          1/16/2007                  $47,000.00
11231517            2007‐HSA2                          1/12/2007                  $20,000.00
11231521            2007‐HSA1                          1/18/2007                  $47,400.00
11231523            2007‐HSA1                          1/16/2007                 $100,000.00
11231527            2007‐HSA2                          1/16/2007                  $21,500.00
11231529            2007‐HSA1                          1/16/2007                  $53,000.00
11231531            2007‐HSA1                          1/16/2007                  $20,200.00
11231535            2007‐HSA1                          1/12/2007                  $34,000.00
11231537            2007‐HSA1                          1/12/2007                  $25,000.00
11231539            2007‐HSA1                          1/16/2007                  $40,000.00
11231541            2007‐HSA1                          1/17/2007                  $55,000.00
11231543            2007‐HSA1                          1/12/2007                 $126,000.00
11231545            2007‐HSA2                          1/12/2007                  $52,000.00
11231547            2007‐HSA1                          1/17/2007                 $100,000.00
11231549            2007‐HSA1                          1/19/2007                 $200,000.00
11231929            2007‐HSA2                          1/11/2007                  $27,000.00
11233455            2007‐QO1                            1/8/2007                 $172,900.00
11233701            2007‐HI1                            1/8/2007                  $21,100.00
11233723            2007‐QS3                            1/5/2007                 $152,000.00
11233747            2007‐HI1                            1/8/2007                  $37,500.00
11233797            2007‐HSA2                          1/12/2007                  $55,700.00
11233859            2007‐HI1                            1/8/2007                  $75,000.00
11235547            2007‐S1                             1/5/2007                 $424,800.00
11235565            2007‐S1                            1/11/2007                 $268,000.00
11235575            2007‐S2                             1/5/2007                 $539,000.00
11236923            2007‐HI1                           1/17/2007                  $30,000.00
11240751            2007‐HI1                           1/18/2007                  $35,600.00
11240773            2007‐HI1                           1/17/2007                  $40,000.00
11240777            2007‐S1                            1/12/2007                 $424,000.00
11240813            2007‐QS1                           1/16/2007                 $208,000.00
11240897            2007‐HI1                           1/17/2007                  $56,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11240963            2007‐HSA2                          1/11/2007                  $33,000.00
11240981            2007‐QA3                           1/12/2007                 $128,416.01
11241053            2007‐HSA2                          1/11/2007                  $35,000.00
11241095            2007‐HSA2                          1/11/2007                  $50,000.00
11241251            2007‐QS3                           1/31/2007                 $168,000.00
11241403            2007‐S3                            1/17/2007                 $454,000.00
11243325            2007‐QO1                           1/12/2007                 $215,000.00
11243339            2007‐S1                            1/12/2007                 $470,000.00
11244047            2007‐QO1                           1/16/2007                 $340,000.00
11244141            2007‐QO1                           1/12/2007                 $139,200.00
11244155            2007‐HI1                           1/16/2007                  $31,000.00
11244165            2007‐S1                            1/12/2007                 $600,000.00
11244175            2007‐HI1                           1/17/2007                  $60,000.00
11246251            2007‐QO2                           1/22/2007                 $171,000.00
11246293            2007‐QO1                           1/16/2007                 $287,000.00
11246295            2007‐QS4                           1/18/2007                 $132,000.00
11248535            2007‐HI1                           2/28/2007                  $60,000.00
11250557            2007‐HI1                           1/23/2007                  $30,000.00
11250595            2007‐HI1                           1/17/2007                  $45,000.00
11250781            2007‐HSA2                          1/17/2007                  $68,500.00
11251191            2007‐QO1                           1/16/2007                 $434,000.00
11251243            2007‐QS1                           1/17/2007                 $421,665.19
11253377            2007‐QO1                           1/16/2007                 $617,500.00
11254371            2007‐HSA1                          1/17/2007                 $100,000.00
11254443            2007‐HSA1                          1/17/2007                  $88,000.00
11254523            2007‐HSA1                          1/18/2007                  $55,000.00
11254525            2007‐HI1                           1/18/2007                  $22,000.00
11254539            2007‐HSA2                          1/19/2007                  $26,000.00
11254547            2007‐HSA2                          1/19/2007                  $18,500.00
11254579            2007‐S2                            1/23/2007                 $123,200.00
11254583            2007‐HSA1                          1/18/2007                  $70,800.00
11254607            2007‐HSA1                          1/18/2007                  $44,400.00
11254629            2007‐HSA1                          1/18/2007                  $22,300.00
11254683            2007‐HSA1                          1/17/2007                  $75,000.00
11254691            2007‐HI1                           1/19/2007                  $30,000.00
11254707            2007‐HSA1                          1/19/2007                  $59,000.00
11254715            2007‐HSA1                          1/18/2007                  $40,000.00
11254731            2007‐HSA1                          1/18/2007                  $62,000.00
11254741            2007‐HSA1                          1/17/2007                  $69,900.00
11254769            2007‐HSA1                          1/18/2007                  $54,000.00
11254771            2007‐HSA1                          1/18/2007                  $57,000.00
11254807            2007‐HSA1                          1/22/2007                  $80,000.00
11254813            2007‐HSA1                          1/18/2007                  $40,000.00
11254853            2007‐HSA2                          1/19/2007                  $15,000.00
11254857            2007‐HSA1                          1/18/2007                  $90,000.00
11254935            2007‐HSA1                          1/18/2007                  $40,850.00
11254947            2007‐HSA1                          1/18/2007                  $60,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11254949            2007‐HSA1                          1/18/2007                  $20,000.00
11254973            2007‐HSA1                          1/26/2007                 $100,000.00
11254979            2007‐HSA1                          1/18/2007                  $62,500.00
11254983            2007‐HSA1                          1/18/2007                  $62,800.00
11254985            2007‐HSA2                          1/18/2007                  $57,900.00
11254987            2007‐HSA1                          1/18/2007                 $100,000.00
11255003            2007‐HSA1                          1/18/2007                  $78,400.00
11255009            2007‐HSA1                          1/18/2007                  $16,500.00
11255013            2007‐HSA1                          1/19/2007                  $30,000.00
11255021            2007‐HSA1                          1/18/2007                  $47,100.00
11255023            2007‐HSA2                          1/17/2007                  $40,000.00
11255025            2007‐HSA1                          1/18/2007                  $87,000.00
11255053            2007‐HSA2                          1/17/2007                  $32,500.00
11255057            2007‐HSA2                          1/19/2007                  $30,000.00
11255063            2007‐HSA1                          1/19/2007                  $80,000.00
11255135            2007‐HSA1                          1/18/2007                 $100,000.00
11255139            2007‐HSA2                          1/18/2007                  $30,000.00
11255145            2007‐HSA1                          1/18/2007                 $150,000.00
11255149            2007‐HSA1                          1/18/2007                  $25,000.00
11255151            2007‐HSA1                          1/18/2007                  $60,000.00
11255167            2007‐HSA1                          1/19/2007                  $27,000.00
11255171            2007‐HSA1                          1/18/2007                  $72,000.00
11255213            2007‐HSA1                          1/17/2007                  $23,000.00
11255217            2007‐HSA1                          1/18/2007                 $100,000.00
11255219            2007‐HSA1                          1/17/2007                  $33,400.00
11255221            2007‐HSA1                          1/18/2007                  $20,000.00
11255223            2007‐HSA2                          1/17/2007                  $23,000.00
11255225            2007‐HSA1                          1/18/2007                 $150,000.00
11255607            2007‐HSA1                          1/19/2007                  $85,000.00
11255653            2007‐HSA1                          1/17/2007                  $75,000.00
11255803            2007‐HSA1                          1/18/2007                 $100,000.00
11255843            2007‐HSA1                          1/18/2007                 $126,000.00
11255853            2007‐HSA1                          1/18/2007                  $33,300.00
11255859            2007‐HSA1                          1/18/2007                  $89,400.00
11255863            2007‐HSA2                          1/18/2007                  $54,800.00
11255865            2007‐HI1                           1/18/2007                  $27,000.00
11255883            2007‐HSA1                          1/17/2007                 $108,000.00
11256115            2007‐HSA1                          1/18/2007                 $100,000.00
11256117            2007‐HSA2                          1/18/2007                  $36,800.00
11256119            2007‐HSA1                          1/18/2007                  $59,000.00
11256121            2007‐HSA2                          1/18/2007                  $39,500.00
11256123            2007‐HSA1                          1/18/2007                  $27,800.00
11256203            2007‐HSA1                          1/17/2007                 $225,000.00
11256205            2007‐HSA1                          1/17/2007                  $80,000.00
11256219            2007‐HSA1                          1/17/2007                  $44,000.00
11256223            2007‐HSA1                          1/18/2007                  $72,800.00
11256227            2007‐HSA2                          1/18/2007                  $40,800.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11256245            2007‐HSA1                          1/18/2007                 $107,000.00
11256247            2007‐HSA2                          1/17/2007                  $38,000.00
11256249            2007‐HSA1                          1/23/2007                  $43,000.00
11256253            2007‐HSA1                          1/18/2007                  $44,500.00
11256261            2007‐HSA1                          1/18/2007                  $25,000.00
11256263            2007‐HSA1                          1/26/2007                  $56,700.00
11256265            2007‐HSA1                          1/17/2007                  $69,800.00
11256297            2007‐HSA1                          1/19/2007                  $41,600.00
11256299            2007‐HSA1                          1/18/2007                  $20,000.00
11256301            2007‐HSA1                          1/18/2007                  $40,000.00
11256303            2007‐HSA1                          1/18/2007                  $18,000.00
11256305            2007‐HSA1                          1/19/2007                  $60,000.00
11256325            2007‐HSA1                          1/18/2007                 $170,000.00
11256331            2007‐HSA1                          1/18/2007                  $55,000.00
11256337            2007‐HSA2                          1/18/2007                  $61,100.00
11256339            2007‐HSA2                          1/19/2007                  $50,000.00
11256363            2007‐HSA1                          1/18/2007                 $122,100.00
11256365            2007‐HSA1                          1/18/2007                  $41,000.00
11256377            2007‐HSA1                          1/18/2007                  $43,600.00
11256381            2007‐HSA1                          1/18/2007                 $111,200.00
11256383            2007‐HSA1                          1/18/2007                 $145,500.00
11256403            2007‐HSA2                          1/19/2007                  $68,000.00
11256405            2007‐HSA1                          1/17/2007                  $36,000.00
11256407            2007‐HSA1                          1/18/2007                  $45,000.00
11256445            2007‐HSA1                          1/18/2007                  $35,000.00
11256453            2007‐HSA1                          1/19/2007                  $80,000.00
11257973            2007‐HSA1                          1/18/2007                  $50,000.00
11258005            2007‐HSA1                          1/26/2007                  $36,000.00
11258019            2007‐HI1                           1/26/2007                  $35,000.00
11258055            2007‐HSA1                          1/18/2007                 $100,000.00
11258065            2007‐HSA1                          1/19/2007                  $45,000.00
11258073            2007‐HI1                           1/23/2007                  $37,500.00
11258103            2007‐HSA1                          1/22/2007                 $100,000.00
11258105            2007‐HSA1                          1/22/2007                  $22,400.00
11258127            2007‐HSA1                          1/18/2007                  $40,000.00
11258143            2007‐HSA1                          1/18/2007                  $45,500.00
11258385            2007‐S1                            1/19/2007                 $450,000.00
11258495            2007‐HSA2                          1/18/2007                  $30,000.00
11258511            2007‐HSA1                          1/18/2007                 $100,000.00
11258535            2007‐HSA2                          1/18/2007                  $45,000.00
11258579            2007‐HSA1                          1/18/2007                  $20,000.00
11258581            2007‐HSA1                          1/18/2007                  $18,600.00
11258591            2007‐HSA1                          1/18/2007                  $90,000.00
11258605            2007‐HSA1                          1/18/2007                  $37,600.00
11258619            2007‐HSA1                          1/18/2007                  $25,800.00
11258621            2007‐HSA1                          1/18/2007                  $58,000.00
11258633            2007‐HSA1                          1/17/2007                 $100,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11259351            2007‐HSA2                          1/19/2007                  $40,000.00
11259363            2007‐HSA1                          1/18/2007                  $45,800.00
11259375            2007‐HSA1                          1/26/2007                  $40,000.00
11259377            2007‐HSA1                          1/18/2007                  $60,000.00
11259499            2007‐HSA1                          1/22/2007                  $12,900.00
11259505            2007‐HI1                           1/23/2007                  $60,000.00
11259537            2007‐HI1                           1/23/2007                  $35,000.00
11259645            2007‐HSA1                          1/19/2007                  $40,000.00
11260603            2007‐HI1                           1/30/2007                  $20,000.00
11261237            2007‐HI1                           1/23/2007                  $35,000.00
11261243            2007‐S1                            1/19/2007                 $220,000.00
11262019            2007‐HSA1                          1/22/2007                  $44,000.00
11262563            2007‐HI1                           1/26/2007                  $51,000.00
11262779            2007‐HSA1                          1/18/2007                  $23,000.00
11262809            2007‐HSA1                          1/19/2007                  $34,000.00
11262901            2007‐S2                            1/23/2007                 $460,000.00
11264739            2007‐HSA2                          1/19/2007                  $50,000.00
11264765            2007‐HSA2                          1/22/2007                 $113,300.00
11264817            2007‐HI1                           1/26/2007                  $43,300.00
11264825            2007‐HSA1                          1/26/2007                  $91,400.00
11264861            2007‐S3                             2/9/2007                 $511,200.00
11264867            2007‐HSA1                          1/19/2007                  $30,000.00
11265011            2007‐HSA1                          1/22/2007                  $30,000.00
11265059            2007‐HSA1                          1/19/2007                  $99,500.00
11265409            2007‐S1                            1/22/2007                 $290,400.00
11265453            2007‐HSA1                          1/19/2007                  $98,000.00
11265489            2007‐HSA1                          1/19/2007                 $149,000.00
11266733            2007‐QO2                           1/26/2007                 $184,000.00
11268245            2007‐S3                            1/30/2007                 $201,200.00
11268779            2007‐S2                            1/22/2007                 $587,000.00
11269065            2007‐S2                            1/23/2007                 $630,000.00
11271005            2007‐HSA2                          1/26/2007                  $17,000.00
11271043            2007‐S2                            1/30/2007                 $646,000.00
11271089            2007‐HSA2                          1/30/2007                  $31,000.00
11271093            2007‐HSA1                          1/30/2007                 $280,000.00
11271097            2007‐HSA1                          1/31/2007                  $24,200.00
11271123            2007‐SA2                           1/23/2007                 $432,000.00
11271143            2007‐HSA2                          1/30/2007                  $30,000.00
11271145            2007‐HI1                           1/29/2007                  $43,000.00
11271147            2007‐QO2                           1/30/2007                 $405,000.00
11271285            2007‐HSA2                          1/31/2007                  $25,000.00
11271325            2007‐HSA2                          1/31/2007                  $10,000.00
11271367            2007‐HSA2                           2/1/2007                  $97,600.00
11271539            2007‐HSA1                          1/31/2007                  $48,500.00
11271609            2007‐HSA1                          1/31/2007                  $68,000.00
11271695            2007‐HSA1                          1/31/2007                  $19,900.00
11271699            2007‐HSA1                          1/31/2007                  $92,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11271775            2007‐HSA1                          1/31/2007                 $125,000.00
11271783            2007‐HSA2                          1/29/2007                  $24,500.00
11271813            2007‐HSA2                           2/2/2007                  $37,000.00
11271815            2007‐HSA1                          1/31/2007                  $54,600.00
11271819            2007‐HSA1                          1/30/2007                  $27,500.00
11271847            2007‐HSA1                          1/31/2007                 $200,000.00
11271857            2007‐HSA1                          1/31/2007                  $96,000.00
11271865            2007‐HSA1                          1/31/2007                  $37,800.00
11271899            2007‐S2                             2/7/2007                 $600,000.00
11271923            2007‐HSA2                          1/31/2007                  $25,500.00
11271977            2007‐HSA2                          1/31/2007                  $11,600.00
11272021            2007‐HSA2                          1/29/2007                  $46,400.00
11272025            2007‐QO2                           1/26/2007                 $247,500.00
11272043            2007‐HSA1                          1/31/2007                  $73,000.00
11272049            2007‐HSA2                          1/31/2007                  $50,000.00
11272053            2007‐HSA1                          1/31/2007                  $80,000.00
11272083            2007‐HI1                           1/30/2007                  $52,000.00
11272163            2007‐HSA1                          1/30/2007                  $15,100.00
11272175            2007‐HSA1                          1/30/2007                 $200,000.00
11272195            2007‐HSA2                          1/31/2007                  $26,000.00
11272205            2007‐HSA2                          1/31/2007                  $40,000.00
11272219            2007‐HSA1                          1/31/2007                  $55,000.00
11272229            2007‐HSA2                          1/31/2007                  $23,500.00
11272263            2007‐HSA1                          1/31/2007                  $54,300.00
11272273            2007‐HSA2                          1/30/2007                  $31,500.00
11272739            2007‐HSA2                          1/30/2007                  $28,600.00
11272775            2007‐HSA2                           2/2/2007                  $17,300.00
11272781            2007‐HSA2                          1/30/2007                  $82,500.00
11273249            2007‐HSA1                          1/31/2007                  $80,000.00
11273287            2007‐HSA1                          1/31/2007                  $85,900.00
11273405            2007‐HSA1                          1/30/2007                  $70,000.00
11273447            2007‐HSA1                          1/31/2007                  $34,000.00
11273487            2007‐HSA1                          1/31/2007                  $87,000.00
11273491            2007‐HSA1                          1/31/2007                  $21,400.00
11273493            2007‐HSA1                          1/31/2007                  $82,000.00
11273523            2007‐HSA1                          1/30/2007                  $71,000.00
11273525            2007‐HSA1                          1/31/2007                  $54,000.00
11273527            2007‐HSA1                          1/30/2007                  $41,800.00
11273565            2007‐HSA1                          1/31/2007                  $23,700.00
11273605            2007‐HSA1                          1/31/2007                  $75,000.00
11273609            2007‐HSA1                          1/31/2007                  $30,000.00
11273613            2007‐HSA1                          1/31/2007                  $39,000.00
11273615            2007‐HSA1                          1/31/2007                 $100,000.00
11273617            2007‐HSA1                          1/31/2007                  $77,500.00
11273619            2007‐HSA1                          1/31/2007                  $44,000.00
11273621            2007‐HSA1                          1/31/2007                  $30,000.00
11273631            2007‐HSA1                          1/31/2007                  $97,600.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11273635            2007‐HSA1                          1/29/2007                  $15,000.00
11273641            2007‐HSA1                          1/31/2007                  $57,000.00
11273645            2007‐HSA1                          1/31/2007                 $100,000.00
11275609            2007‐S2                            1/30/2007                 $530,000.00
11276325            2007‐S2                            1/26/2007                 $537,000.00
11276499            2007‐HI1                           1/30/2007                  $75,000.00
11276515            2007‐HSA1                          1/30/2007                  $55,000.00
11276521            2007‐HI1                            2/7/2007                  $30,000.00
11276539            2007‐HSA2                          1/31/2007                  $40,000.00
11276567            2007‐HI1                           1/31/2007                  $50,000.00
11278093            2007‐HSA2                          1/29/2007                  $47,800.00
11278095            2007‐HSA2                          1/30/2007                  $63,750.00
11278131            2007‐HSA2                          1/30/2007                  $15,400.00
11278165            2007‐HSA2                          1/29/2007                  $26,000.00
11278167            2007‐HSA2                          1/29/2007                  $22,500.00
11278181            2007‐HSA2                           2/9/2007                  $48,000.00
11278191            2007‐QS6                           1/31/2007                 $134,800.00
11278209            2007‐QS5                           1/31/2007                 $415,000.00
11278257            2007‐S2                            1/30/2007                 $532,000.00
11278289            2007‐S5                            1/30/2007                 $128,000.00
11278379            2007‐S2                            1/31/2007                 $533,000.00
11278531            2007‐QS3                           1/30/2007                 $150,000.00
11278547            2007‐HSA1                          1/31/2007                  $71,500.00
11278899            2007‐HSA1                          1/29/2007                  $35,000.00
11278903            2007‐HSA2                          1/30/2007                  $40,000.00
11278935            2007‐HSA1                          1/30/2007                 $150,000.00
11278951            2007‐HSA1                          1/30/2007                 $100,000.00
11278957            2007‐HSA2                          1/31/2007                  $33,000.00
11278963            2007‐HSA1                          1/31/2007                 $100,000.00
11278965            2007‐HSA2                           2/1/2007                  $24,000.00
11278969            2007‐HSA1                          1/29/2007                  $20,000.00
11278977            2007‐HSA2                          1/31/2007                  $20,000.00
11278991            2007‐HSA1                          1/29/2007                  $24,000.00
11279007            2007‐HSA2                          1/31/2007                  $37,000.00
11279017            2007‐HSA1                          1/30/2007                  $56,000.00
11279019            2007‐HSA1                          1/29/2007                  $50,000.00
11279021            2007‐HSA1                          1/31/2007                 $100,000.00
11279043            2007‐HSA2                          1/31/2007                  $50,000.00
11279047            2007‐HSA1                          1/30/2007                  $72,000.00
11279057            2007‐HSA2                          1/30/2007                  $30,900.00
11279063            2007‐HSA2                           2/7/2007                  $45,000.00
11279067            2007‐HSA1                          1/29/2007                  $64,000.00
11279087            2007‐HSA1                          1/30/2007                  $40,000.00
11279093            2007‐HSA2                          1/30/2007                  $21,900.00
11279101            2007‐HI1                           1/31/2007                  $47,000.00
11279105            2007‐HSA1                          1/29/2007                  $41,500.00
11279127            2007‐HI1                           1/31/2007                  $42,800.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11279131            2007‐HSA1                          1/31/2007                  $23,100.00
11279133            2007‐HSA1                          1/30/2007                  $59,100.00
11279135            2007‐HSA2                          1/31/2007                  $43,000.00
11279137            2007‐HI1                           1/31/2007                  $40,000.00
11279139            2007‐HSA1                          1/29/2007                  $21,600.00
11279163            2007‐HSA2                           2/8/2007                  $47,800.00
11279171            2007‐HSA1                          1/29/2007                 $105,000.00
11279179            2007‐HSA2                          1/30/2007                  $30,000.00
11279209            2007‐HSA1                          1/29/2007                  $95,000.00
11279217            2007‐HSA1                          1/31/2007                 $100,000.00
11279219            2007‐HSA2                          1/30/2007                  $50,000.00
11279221            2007‐HSA2                          1/31/2007                  $30,000.00
11279283            2007‐HSA2                          1/30/2007                  $15,000.00
11279285            2007‐HSA1                          1/29/2007                  $33,500.00
11279287            2007‐HSA1                          1/31/2007                 $100,000.00
11279291            2007‐HSA2                          1/29/2007                 $150,000.00
11279293            2007‐HSA1                          1/30/2007                  $40,000.00
11279295            2007‐HSA1                          1/31/2007                  $20,000.00
11279323            2007‐HSA1                          1/31/2007                  $55,400.00
11279325            2007‐HSA1                          1/29/2007                  $69,300.00
11279327            2007‐HSA1                          1/30/2007                  $42,500.00
11279331            2007‐HSA1                          1/30/2007                  $44,800.00
11279333            2007‐HSA2                          1/29/2007                 $105,000.00
11279367            2007‐HSA1                          1/29/2007                  $14,000.00
11279371            2007‐HSA1                          1/29/2007                  $55,000.00
11279375            2007‐HSA1                          1/29/2007                  $34,500.00
11279407            2007‐HSA1                          1/31/2007                  $42,000.00
11279409            2007‐HSA1                          1/29/2007                 $104,000.00
11279413            2007‐HSA1                          1/31/2007                 $100,000.00
11279443            2007‐HSA2                          1/31/2007                  $27,800.00
11279451            2007‐HSA2                          1/29/2007                  $26,700.00
11279453            2007‐HSA1                          1/31/2007                  $60,000.00
11279455            2007‐HSA2                          1/29/2007                  $19,000.00
11279483            2007‐HSA1                          1/29/2007                 $100,000.00
11279489            2007‐HSA2                          1/31/2007                  $27,000.00
11279493            2007‐HSA2                          1/31/2007                  $28,000.00
11279497            2007‐HSA1                          1/31/2007                 $100,000.00
11279501            2007‐HSA2                          1/30/2007                  $46,500.00
11279503            2007‐HSA1                          1/29/2007                  $40,000.00
11279507            2007‐HSA1                          1/29/2007                  $80,000.00
11279511            2007‐HSA1                          1/31/2007                  $25,000.00
11279525            2007‐HSA2                           2/2/2007                  $25,000.00
11279527            2007‐HSA1                          1/29/2007                  $30,200.00
11279605            2007‐HSA1                          1/31/2007                  $53,000.00
11279643            2007‐HSA1                          1/31/2007                  $37,000.00
11279645            2007‐HSA1                          1/30/2007                  $19,500.00
11279683            2007‐HSA1                          1/29/2007                  $60,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11279723            2007‐HSA1                          1/31/2007                  $50,000.00
11279763            2007‐HSA2                          1/30/2007                  $25,000.00
11279765            2007‐HSA1                          1/29/2007                  $17,900.00
11279767            2007‐HSA1                          1/30/2007                 $200,000.00
11279771            2007‐HSA1                          1/31/2007                  $40,000.00
11279773            2007‐HSA2                          1/30/2007                  $15,000.00
11279775            2007‐HSA1                          1/31/2007                 $200,000.00
11279777            2007‐HSA1                          1/31/2007                 $150,000.00
11279779            2007‐HSA2                           2/9/2007                  $44,250.00
11279783            2007‐HSA1                          1/30/2007                  $25,000.00
11279787            2007‐HSA1                          1/29/2007                  $25,000.00
11279789            2007‐HSA1                          1/30/2007                  $60,000.00
11279793            2007‐HSA2                          1/29/2007                  $35,000.00
11279795            2007‐HSA1                          1/29/2007                  $37,000.00
11279799            2007‐HSA2                          1/30/2007                  $26,000.00
11279803            2007‐HSA1                          1/30/2007                  $43,000.00
11279805            2007‐HSA2                           2/1/2007                  $35,000.00
11279807            2007‐HSA1                          1/29/2007                  $14,000.00
11279891            2007‐HSA1                          1/30/2007                 $125,000.00
11280609            2007‐HSA2                          1/30/2007                  $25,000.00
11281571            2007‐HSA2                          2/20/2007                  $39,980.00
11281573            2007‐HSA1                          1/31/2007                  $59,000.00
11281659            2007‐HSA2                          1/29/2007                 $150,000.00
11281661            2007‐HSA1                          1/29/2007                  $30,000.00
11281697            2007‐HSA2                           2/1/2007                 $140,000.00
11281731            2007‐HSA1                          1/31/2007                  $34,800.00
11281735            2007‐HSA2                          1/30/2007                  $53,800.00
11281769            2007‐HSA1                          1/31/2007                 $100,000.00
11281811            2007‐HSA1                          1/30/2007                  $34,800.00
11281941            2007‐QS5                            2/7/2007                 $240,000.00
11282011            2007‐S2                             2/2/2007                 $479,000.00
11282027            2007‐HSA1                          1/31/2007                  $53,000.00
11282053            2007‐QS7                           1/31/2007                 $164,500.00
11282091            2007‐HSA1                          1/31/2007                  $25,000.00
11285369            2007‐HSA2                          1/31/2007                  $25,000.00
11285549            2007‐HSA1                          1/31/2007                 $100,000.00
11285577            2007‐HSA1                          1/29/2007                  $43,000.00
11285613            2007‐HSA1                          1/31/2007                 $100,000.00
11288705            2007‐S5                            1/31/2007                 $127,000.00
11289531            2007‐HI1                            2/2/2007                  $23,000.00
11291391            2007‐QS3                           1/30/2007                 $109,000.00
11291417            2007‐HI1                           1/31/2007                  $50,000.00
11291469            2007‐S2                            1/30/2007                 $434,500.00
11295283            2007‐HI1                            2/1/2007                  $50,000.00
11297009            2007‐QO2                           2/12/2007                 $144,000.00
11297019            2007‐QO2                            2/1/2007                 $169,200.00
11297053            2007‐HSA2                           2/5/2007                  $55,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11298701            2007‐HSA2                           2/1/2007                  $42,000.00
11298897            2007‐HI1                            2/8/2007                  $60,000.00
11299051            2007‐HI1                            2/1/2007                  $53,500.00
11299143            2007‐HSA2                           2/1/2007                  $40,000.00
11299403            2007‐HI1                            2/1/2007                  $67,500.00
11300129            2007‐HI1                            2/1/2007                  $44,700.00
11300181            2007‐HI1                            2/5/2007                  $55,000.00
11300341            2007‐HSA3                           2/1/2007                  $29,420.50
11301399            2007‐S2                             2/7/2007                 $485,000.00
11302137            2007‐HSA2                           2/5/2007                  $25,100.00
11302263            2007‐HSA2                           2/7/2007                  $35,000.00
11302389            2007‐HSA2                           2/9/2007                  $59,800.00
11302409            2007‐HSA3                           2/6/2007                  $10,000.00
11302413            2007‐HSA2                           2/6/2007                  $24,900.00
11302417            2007‐HSA2                           2/5/2007                  $49,900.00
11302423            2007‐HSA2                           2/6/2007                  $31,700.00
11302449            2007‐HSA2                           2/5/2007                  $20,000.00
11302463            2007‐HSA2                           2/5/2007                  $20,000.00
11302469            2007‐HSA2                           2/5/2007                  $45,000.00
11302489            2007‐HSA2                           2/6/2007                  $60,000.00
11302503            2007‐HSA2                           2/5/2007                  $57,000.00
11302531            2007‐HSA2                           2/6/2007                 $100,000.00
11302543            2007‐HSA3                           2/5/2007                 $233,000.00
11302549            2007‐HSA2                           2/6/2007                  $58,000.00
11302555            2007‐HSA2                           2/5/2007                  $71,000.00
11302651            2007‐HSA2                           2/6/2007                 $145,000.00
11302661            2007‐HSA2                           2/5/2007                  $44,000.00
11302693            2007‐HSA2                           2/5/2007                  $89,900.00
11304595            2007‐QO2                            2/6/2007                 $725,000.00
11304667            2007‐SA3                            2/6/2007                 $120,000.00
11304679            2007‐QS3                            2/6/2007                 $172,000.00
11305059            2007‐HI1                            2/6/2007                  $30,000.00
11305077            2007‐HSA2                           2/6/2007                  $18,000.00
11305085            2007‐S2                             2/6/2007                 $525,000.00
11305133            2007‐HSA2                           2/6/2007                  $92,800.00
11305145            2007‐HI1                            2/5/2007                  $30,000.00
11305149            2007‐HSA2                           2/5/2007                  $40,000.00
11305169            2007‐HSA2                           2/5/2007                  $51,000.00
11305171            2007‐HSA2                           2/5/2007                  $83,500.00
11305215            2007‐HSA2                          2/16/2007                  $60,000.00
11305251            2007‐HSA2                           2/5/2007                  $28,000.00
11305259            2007‐HI1                           2/13/2007                  $30,000.00
11305353            2007‐HSA2                           2/6/2007                  $21,000.00
11305453            2007‐HSA3                           2/5/2007                  $24,697.28
11305495            2007‐HI1                            2/6/2007                  $30,000.00
11305569            2007‐HI1                           2/12/2007                  $30,000.00
11307225            2007‐QO4                            2/7/2007                 $220,500.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11307249            2007‐S2                             2/7/2007                 $491,650.00
11307551            2007‐QA3                           2/22/2007                 $272,000.00
11307703            2007‐QO2                            2/8/2007                 $400,000.00
11308065            2007‐HSA2                           2/8/2007                  $23,500.00
11308091            2007‐HSA2                           2/8/2007                  $55,000.00
11308131            2007‐HI1                           2/14/2007                  $65,000.00
11308139            2007‐HSA3                           2/8/2007                  $87,000.00
11308169            2007‐HI1                           2/14/2007                  $36,900.00
11308175            2007‐HSA3                          2/12/2007                 $127,000.00
11308187            2007‐HSA2                           2/9/2007                  $24,000.00
11308227            2007‐HSA2                           2/7/2007                  $26,000.00
11308239            2007‐HSA2                           2/8/2007                  $42,500.00
11308251            2007‐HSA2                           2/7/2007                  $25,200.00
11308317            2007‐HSA2                           2/7/2007                  $35,000.00
11308321            2007‐HSA2                           2/9/2007                  $20,400.00
11308343            2007‐HSA2                           2/7/2007                  $34,700.00
11308359            2007‐HSA2                           2/8/2007                  $95,000.00
11308363            2007‐HI1                            2/7/2007                  $18,700.00
11308379            2007‐HSA2                           2/7/2007                  $32,700.00
11308385            2007‐HSA2                           2/9/2007                  $25,000.00
11308409            2007‐HI1                           2/12/2007                  $30,000.00
11308419            2007‐HSA2                           2/9/2007                  $52,000.00
11308427            2007‐HSA3                           2/9/2007                  $36,000.00
11308459            2007‐HI1                           2/20/2007                  $47,000.00
11308461            2007‐HSA2                           2/7/2007                  $30,000.00
11308575            2007‐HSA2                           2/9/2007                  $25,000.00
11310341            2007‐S2                             2/8/2007                 $437,000.00
11310703            2007‐S2                             2/8/2007                 $595,000.00
11310735            2007‐S5                             2/8/2007                 $268,000.00
11310861            2007‐QO5                           2/23/2007                  $80,100.00
11310869            2007‐HSA2                          2/20/2007                  $80,000.00
11311803            2007‐HSA2                           2/9/2007                 $115,000.00
11311937            2007‐HSA2                          2/12/2007                  $48,000.00
11311963            2007‐HSA3                          2/16/2007                  $43,916.45
11312017            2007‐HI1                           2/14/2007                  $41,000.00
11312055            2007‐HSA2                          2/12/2007                  $33,000.00
11312065            2007‐HI1                            2/8/2007                  $26,000.00
11312071            2007‐HSA2                           2/8/2007                  $28,000.00
11312101            2007‐HSA2                           2/9/2007                  $38,000.00
11312169            2007‐HSA2                          2/12/2007                  $27,600.00
11312187            2007‐HSA2                          2/12/2007                  $60,900.00
11314741            2007‐QO2                            2/9/2007                 $401,250.00
11315025            2007‐HSA2                          2/16/2007                  $39,200.00
11315033            2007‐QA3                           2/14/2007                 $175,000.00
11315049            2007‐HSA2                           2/9/2007                  $36,200.00
11315099            2007‐HSA3                          2/12/2007                  $40,000.00
11315201            2007‐HSA2                          2/16/2007                  $18,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11315225            2007‐HSA2                           2/9/2007                  $56,700.00
11315259            2007‐HI1                           2/14/2007                  $35,000.00
11315423            2007‐HSA2                           2/9/2007                  $40,000.00
11317703            2007‐SA2                           2/12/2007                 $510,000.00
11320229            2007‐S3                            2/16/2007                 $540,000.00
11320713            2007‐HI1                           2/14/2007                  $50,000.00
11322649            2007‐HSA2                          2/21/2007                  $10,000.00
11322653            2007‐HSA2                          2/20/2007                  $13,500.00
11322655            2007‐HSA2                          2/21/2007                  $21,900.00
11322657            2007‐HSA2                          2/22/2007                  $39,500.00
11322659            2007‐HSA2                          2/20/2007                  $52,000.00
11322661            2007‐HSA2                          2/21/2007                  $28,000.00
11322663            2007‐HSA2                          2/21/2007                  $42,000.00
11322665            2007‐HSA2                          2/21/2007                  $59,300.00
11322667            2007‐HSA2                          2/22/2007                  $18,000.00
11322671            2007‐HI1                           2/21/2007                  $25,000.00
11322673            2007‐HSA2                          2/22/2007                  $55,000.00
11322675            2007‐HSA2                          2/16/2007                  $18,200.00
11322677            2007‐HSA2                          2/22/2007                  $52,900.00
11322679            2007‐HSA2                          2/23/2007                  $11,500.00
11322681            2007‐HSA2                          2/20/2007                  $25,100.00
11322683            2007‐HSA2                          2/20/2007                  $25,000.00
11322685            2007‐HSA2                          2/15/2007                  $65,000.00
11322687            2007‐HSA2                          2/20/2007                  $30,000.00
11322691            2007‐HSA2                          2/20/2007                  $63,800.00
11322693            2007‐HSA2                          2/21/2007                  $19,000.00
11322695            2007‐HI1                           2/15/2007                  $32,000.00
11322697            2007‐HSA2                          2/20/2007                  $25,000.00
11322699            2007‐HSA2                          2/21/2007                  $30,000.00
11322701            2007‐HSA2                          2/20/2007                  $36,000.00
11322703            2007‐HSA2                          2/20/2007                  $35,000.00
11322705            2007‐HSA2                          2/20/2007                  $18,500.00
11322707            2007‐HSA2                          2/16/2007                  $44,000.00
11322709            2007‐HSA2                          2/20/2007                  $32,400.00
11322711            2007‐HSA2                          2/21/2007                  $30,000.00
11322713            2007‐HSA2                          2/15/2007                  $16,500.00
11322715            2007‐HSA2                          2/20/2007                  $35,000.00
11322719            2007‐HSA2                          2/20/2007                  $50,000.00
11322721            2007‐HI1                           2/22/2007                  $30,000.00
11322723            2007‐HSA2                          2/22/2007                  $36,600.00
11322725            2007‐HSA2                          2/20/2007                  $81,200.00
11322727            2007‐HSA2                          2/21/2007                  $24,500.00
11322729            2007‐HSA2                          2/21/2007                  $31,200.00
11322731            2007‐HSA2                          2/21/2007                 $150,000.00
11322733            2007‐HSA2                          2/20/2007                  $26,200.00
11322735            2007‐HSA2                          2/20/2007                  $60,000.00
11322737            2007‐HSA2                          2/20/2007                  $30,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11322739            2007‐HSA2                          2/20/2007                  $31,000.00
11322741            2007‐HSA2                          2/21/2007                  $40,000.00
11322743            2007‐HSA2                          2/23/2007                  $75,000.00
11322745            2007‐HSA2                          2/21/2007                  $25,100.00
11322747            2007‐HSA2                          2/20/2007                  $28,400.00
11322749            2007‐HSA2                          2/22/2007                  $38,000.00
11322751            2007‐HSA2                          2/21/2007                  $26,000.00
11322753            2007‐HSA2                          2/16/2007                  $47,000.00
11322755            2007‐HSA2                          2/21/2007                  $27,300.00
11322757            2007‐HSA2                          2/16/2007                  $31,800.00
11322759            2007‐HSA2                          2/22/2007                  $33,000.00
11322761            2007‐HSA2                          2/21/2007                  $31,700.00
11322763            2007‐HSA2                          2/20/2007                  $18,500.00
11322765            2007‐HI1                           2/20/2007                  $30,000.00
11322767            2007‐HSA2                          2/20/2007                  $30,000.00
11322769            2007‐HSA2                          2/20/2007                  $45,000.00
11322771            2007‐HSA2                          2/20/2007                  $45,000.00
11322773            2007‐HSA2                          2/20/2007                  $12,000.00
11322775            2007‐HSA2                          2/22/2007                  $26,000.00
11322777            2007‐HSA2                          2/22/2007                 $148,400.00
11322779            2007‐HSA2                          2/21/2007                  $54,400.00
11322781            2007‐HSA2                          2/20/2007                  $42,500.00
11322783            2007‐HSA2                          2/21/2007                  $63,000.00
11322785            2007‐HSA2                          2/21/2007                 $125,000.00
11322787            2007‐HSA2                          2/21/2007                  $29,400.00
11322789            2007‐HSA2                          2/20/2007                  $20,000.00
11322791            2007‐HSA2                          2/20/2007                  $43,000.00
11322793            2007‐HSA2                          2/20/2007                 $166,000.00
11322795            2007‐HSA2                          2/21/2007                  $45,000.00
11322797            2007‐HSA2                          2/21/2007                  $80,000.00
11322799            2007‐HSA2                          2/16/2007                  $54,200.00
11322801            2007‐HSA2                          2/22/2007                  $30,000.00
11322803            2007‐HSA2                          2/20/2007                  $46,500.00
11322805            2007‐HSA2                          2/21/2007                  $77,000.00
11322807            2007‐HSA2                          2/16/2007                  $50,000.00
11322809            2007‐HSA2                          2/21/2007                  $46,000.00
11322811            2007‐HSA2                          2/26/2007                  $34,000.00
11322813            2007‐HSA2                          2/26/2007                  $19,400.00
11322843            2007‐HSA3                          2/16/2007                  $62,456.94
11322877            2007‐HSA3                          2/20/2007                  $39,935.68
11322901            2007‐HSA3                          2/21/2007                  $28,347.15
11322919            2007‐HSA3                          2/21/2007                  $51,800.00
11322991            2007‐HSA3                          2/21/2007                  $35,000.00
11322995            2007‐HSA3                          2/20/2007                  $45,352.01
11323021            2007‐HSA3                          2/21/2007                  $15,000.00
11323037            2007‐HSA3                          2/20/2007                  $44,708.94
11323101            2007‐HSA3                          2/23/2007                  $41,219.93


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11323863            2007‐S2                            2/13/2007                 $590,000.00
11326697            2007‐QS3                           2/16/2007                 $108,000.00
11328751            2007‐HI1                           2/26/2007                  $50,000.00
11328973            2007‐HI1                           2/15/2007                  $50,000.00
11328989            2007‐HI1                           2/14/2007                  $50,000.00
11332171            2007‐QO4                            4/5/2007                 $308,000.00
11332411            2007‐HI1                           2/15/2007                  $13,200.00
11332431            2007‐S3                            2/21/2007                 $504,000.00
11332449            2007‐HI1                           2/15/2007                  $16,000.00
11335289            2007‐QO3                           2/16/2007                 $183,000.00
11335315            2007‐S3                            2/16/2007                 $446,650.97
11335419            2007‐HI1                           2/26/2007                  $32,700.00
11335489            2007‐HI1                           2/26/2007                  $40,000.00
11335877            2007‐HSA2                          2/22/2007                  $29,000.00
11338101            2007‐HSA2                          2/20/2007                  $43,000.00
11338129            2007‐HSA2                          2/20/2007                  $27,600.00
11338131            2007‐HSA2                          2/21/2007                  $34,200.00
11338145            2007‐HSA2                          2/22/2007                  $43,000.00
11338149            2007‐HSA2                          2/21/2007                 $136,500.00
11338173            2007‐HSA2                          2/22/2007                  $63,000.00
11338181            2007‐HSA2                          2/22/2007                 $122,000.00
11338185            2007‐HSA2                          2/21/2007                  $26,200.00
11338189            2007‐HSA2                          2/20/2007                  $37,000.00
11338193            2007‐HSA2                          2/21/2007                  $53,000.00
11338215            2007‐HSA2                          2/20/2007                  $28,800.00
11338223            2007‐HSA2                          2/20/2007                  $48,600.00
11338229            2007‐HSA2                          2/20/2007                  $74,700.00
11338255            2007‐HSA2                          2/22/2007                  $36,600.00
11338259            2007‐HSA2                          2/22/2007                  $38,000.00
11338283            2007‐HSA2                          2/20/2007                  $49,000.00
11338291            2007‐HSA2                          2/26/2007                  $55,000.00
11338305            2007‐HSA2                          2/21/2007                  $20,100.00
11338309            2007‐HSA2                          2/21/2007                 $124,500.00
11338311            2007‐HSA2                          2/23/2007                  $35,000.00
11338317            2007‐HSA2                          2/21/2007                  $20,000.00
11338323            2007‐HSA2                          2/20/2007                  $55,000.00
11338377            2007‐HSA2                          2/23/2007                  $32,500.00
11338379            2007‐HSA2                          2/21/2007                  $39,900.00
11338383            2007‐HSA2                          2/21/2007                  $26,200.00
11338411            2007‐HSA2                          2/20/2007                  $22,000.00
11338413            2007‐HSA2                          2/21/2007                  $30,600.00
11338423            2007‐HSA2                          2/21/2007                 $200,000.00
11338467            2007‐HSA2                          2/20/2007                  $30,000.00
11338853            2007‐HSA2                          2/21/2007                  $76,800.00
11338863            2007‐HSA2                          2/28/2007                  $50,000.00
11338911            2007‐HSA2                          2/22/2007                  $83,000.00
11338981            2007‐HSA2                          2/21/2007                  $45,400.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11339091            2007‐HSA2                          2/22/2007                  $39,000.00
11339137            2007‐HSA2                          2/21/2007                  $64,000.00
11339139            2007‐HSA2                          2/20/2007                  $25,500.00
11339179            2007‐HSA2                          2/20/2007                  $31,719.00
11339185            2007‐HSA2                          2/21/2007                  $26,650.00
11339187            2007‐HSA2                          2/20/2007                  $41,000.00
11339213            2007‐HSA2                          2/20/2007                  $24,000.00
11339249            2007‐HSA2                          2/20/2007                  $48,000.00
11339289            2007‐HSA2                          2/20/2007                  $44,000.00
11339331            2007‐HI1                           2/21/2007                  $30,000.00
11339337            2007‐HSA2                          2/20/2007                  $54,500.00
11339339            2007‐HSA3                          2/22/2007                  $19,997.33
11339369            2007‐HSA2                          2/20/2007                 $115,300.00
11339371            2007‐HSA2                          2/20/2007                  $35,000.00
11339413            2007‐HSA2                          2/21/2007                  $46,000.00
11339449            2007‐HI1                           2/20/2007                  $30,000.00
11339451            2007‐HSA2                          2/20/2007                  $55,000.00
11339493            2007‐HSA2                          2/22/2007                  $29,200.00
11339503            2007‐HSA2                          2/23/2007                  $40,000.00
11339505            2007‐HSA2                          2/21/2007                  $37,650.00
11339511            2007‐HSA2                          2/21/2007                  $58,500.00
11339515            2007‐HSA3                          2/22/2007                  $99,998.86
11339517            2007‐HSA2                          2/20/2007                  $88,600.00
11341331            2007‐HSA2                          2/23/2007                 $109,000.00
11341343            2007‐QO3                           2/22/2007                 $229,000.00
11341345            2007‐S3                            2/22/2007                 $476,000.00
11341379            2007‐HSA2                          2/21/2007                  $29,000.00
11341381            2007‐QO3                           2/22/2007                 $432,000.00
11341411            2007‐S3                            2/23/2007                 $453,200.00
11341519            2007‐HSA2                          2/20/2007                  $30,000.00
11341545            2007‐HSA2                          2/22/2007                  $27,000.00
11341551            2007‐HSA2                          2/22/2007                  $34,622.00
11341575            2007‐HSA2                          2/20/2007                  $56,000.00
11341581            2007‐HSA2                          2/21/2007                  $20,000.00
11341613            2007‐HSA2                          2/21/2007                  $65,000.00
11341649            2007‐HI1                           2/26/2007                  $35,000.00
11341691            2007‐HSA2                          2/20/2007                  $70,000.00
11341711            2007‐HSA3                          2/21/2007                  $26,994.64
11341713            2007‐HI1                           2/26/2007                  $40,000.00
11341721            2007‐HSA2                          2/20/2007                  $16,300.00
11341731            2007‐HSA2                          2/23/2007                  $35,200.00
11341871            2007‐HI1                           2/26/2007                  $20,000.00
11341873            2007‐HSA2                          2/21/2007                  $36,400.00
11341879            2007‐HSA2                          2/26/2007                  $50,000.00
11341889            2007‐HSA2                          2/21/2007                  $58,100.00
11341907            2007‐HI1                           2/26/2007                  $68,000.00
11341929            2007‐HSA2                          2/21/2007                  $30,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11341933            2007‐HSA2                          2/21/2007                  $29,000.00
11341945            2007‐HSA2                          2/22/2007                  $20,000.00
11341991            2007‐HSA2                          2/21/2007                  $18,300.00
11342027            2007‐HSA2                          2/20/2007                  $57,000.00
11342083            2007‐HSA2                          2/20/2007                  $61,000.00
11342301            2007‐HSA2                          2/21/2007                  $40,000.00
11345175            2007‐HI1                           2/27/2007                  $32,000.00
11345305            2007‐S3                            2/22/2007                 $454,000.00
11346899            2007‐S3                            2/23/2007                 $406,200.00
11347387            2007‐HI1                           2/26/2007                  $30,000.00
11347581            2007‐S3                            2/26/2007                 $312,000.00
11347621            2007‐QS4                           2/27/2007                 $129,600.00
11349023            2007‐HI1                           2/26/2007                  $29,300.00
11349111            2007‐HI1                           2/26/2007                  $39,900.00
11349193            2007‐S3                            2/27/2007                 $179,200.00
11351289            2007‐S3                            2/27/2007                 $450,000.00
11351351            2007‐HI1                           2/26/2007                  $60,000.00
11351385            2007‐HI1                           2/26/2007                  $30,350.00
11351413            2007‐QS6                           2/28/2007                 $121,400.00
11351419            2007‐HI1                           2/23/2007                  $47,000.00
11351467            2007‐HI1                           2/28/2007                  $27,000.00
11353337            2007‐S3                            2/28/2007                 $500,000.00
11358631            2007‐HI1                            3/1/2007                  $30,000.00
11358665            2007‐S3                            2/28/2007                 $292,000.00
11358783            2007‐S3                            2/28/2007                 $500,000.00
11361451            2007‐S3                            2/28/2007                 $300,000.00
11361489            2007‐S3                            2/28/2007                 $320,000.00
11361583            2007‐QA3                            3/1/2007                 $156,000.00
11362211            2007‐HI1                            3/1/2007                  $35,000.00
11362267            2007‐S3                             3/9/2007                 $552,000.00
11362297            2007‐QO3                           2/28/2007                 $197,000.00
11363855            2007‐S4                            3/29/2007                 $510,000.00
11365975            2007‐QO3                            3/1/2007                 $217,600.00
11368193            2007‐S3                             3/9/2007                 $445,000.00
11368399            2007‐HI1                            3/6/2007                  $30,000.00
11368409            2007‐HI1                            3/6/2007                  $30,000.00
11368435            2007‐HI1                            3/7/2007                  $15,000.00
11368439            2007‐HSA3                           3/6/2007                  $45,989.78
11368477            2007‐HI1                            3/6/2007                  $30,000.00
11368479            2007‐HI1                            3/6/2007                  $30,000.00
11368725            2007‐HSA3                           3/9/2007                  $50,000.00
11368831            2007‐HSA3                           3/7/2007                  $24,925.00
11368857            2007‐HSA3                           3/7/2007                  $47,099.35
11368869            2007‐HSA3                           3/7/2007                  $38,500.00
11368883            2007‐HSA3                           3/2/2007                  $35,000.00
11369109            2007‐S3                            3/15/2007                 $617,500.00
11369331            2007‐S3                             3/9/2007                 $455,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11371335            2007‐QO4                           3/15/2007                 $372,000.00
11371381            2007‐S3                             3/7/2007                 $396,000.00
11371463            2007‐S3                             3/9/2007                 $503,000.00
11380217            2007‐QO4                           3/12/2007                 $576,000.00
11380255            2007‐S3                            3/12/2007                 $500,000.00
11381225            2007‐HI1                            3/9/2007                  $70,000.00
11381307            2007‐HI1                            3/9/2007                  $50,000.00
11381347            2007‐HI1                            3/9/2007                  $12,700.00
11385999            2007‐S3                            3/13/2007                 $600,000.00
11386007            2007‐QO4                           3/13/2007                 $128,000.00
11389813            2007‐QO4                           3/14/2007                 $148,000.00
11389903            2007‐S3                            3/14/2007                 $460,000.00
11390219            2007‐QO4                           3/12/2007                 $163,000.00
11390339            2007‐QO4                           3/14/2007                 $100,000.00
11391897            2007‐QS9                           3/13/2007                 $154,400.00
11391899            2007‐S3                            3/14/2007                 $151,200.00
11392141            2007‐QO4                           4/13/2007                 $240,000.00
11394879            2007‐QO4                           3/29/2007                 $675,000.00
11395809            2007‐HSA3                          3/12/2007                  $32,293.08
11395881            2007‐HSA3                          3/13/2007                  $44,989.56
11395903            2007‐HSA3                          3/16/2007                 $135,000.00
11395919            2007‐HSA3                          3/16/2007                  $48,900.00
11395921            2007‐HSA3                          3/16/2007                 $149,999.04
11395923            2007‐HSA3                          3/15/2007                  $14,998.84
11395933            2007‐HSA3                          3/12/2007                  $40,000.00
11395945            2007‐HSA3                          3/12/2007                 $100,000.00
11395995            2007‐HSA3                          3/21/2007                 $100,000.00
11396025            2007‐HSA3                          3/16/2007                  $38,700.00
11396781            2007‐S3                            3/15/2007                 $312,000.00
11396819            2007‐QS4                           3/13/2007                 $119,000.00
11398779            2007‐S3                            3/14/2007                 $428,000.00
11399139            2007‐S3                            3/14/2007                 $632,000.00
11402051            2007‐S3                            3/16/2007                 $431,200.00
11404225            2007‐QO4                           3/19/2007                 $140,000.00
11404507            2007‐QO4                           3/19/2007                 $208,000.00
11404665            2007‐QO4                           3/21/2007                 $196,000.00
11406731            2007‐QO4                           3/21/2007                 $161,500.00
11406777            2007‐S4                            3/22/2007                 $224,000.00
11406781            2007‐QO4                           3/21/2007                 $261,600.00
11408171            2007‐HSA3                          3/19/2007                  $55,000.00
11409733            2007‐S4                            3/20/2007                 $456,000.00
11413111            2007‐QO4                           3/26/2007                 $210,000.00
11413179            2007‐S4                            3/29/2007                 $140,000.00
11415089            2007‐S4                            3/23/2007                 $180,000.00
11415183            2007‐S4                            3/28/2007                 $498,000.00
11415569            2007‐QO4                           3/26/2007                 $213,200.00
11418411            2007‐S4                            3/23/2007                 $160,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
11419733            2007‐S4                            3/29/2007                 $438,400.00
11419773            2007‐S4                            3/29/2007                 $450,000.00
11419813            2007‐QO4                           3/28/2007                 $230,500.00
11419817            2007‐S4                             4/2/2007                 $471,000.00
11419849            2007‐QO4                           3/30/2007                 $194,000.00
11422329            2007‐QO4                            4/2/2007                 $305,000.00
11428457            2007‐S4                            3/29/2007                 $480,700.00
11430333            2007‐S4                             4/2/2007                 $459,900.00
11430689            2007‐S5                             4/4/2007                 $479,500.00
11432529            2007‐S4                            4/12/2007                 $425,000.00
11432573            2007‐QO4                           4/12/2007                 $340,000.00
11435451            2007‐QS6                           4/10/2007                 $240,000.00
11435529            2007‐QO4                            4/2/2007                 $445,000.00
11437449            2007‐QO4                           4/10/2007                 $286,000.00
11437489            2007‐S5                             4/3/2007                 $513,000.00
11437529            2007‐QS7                            4/4/2007                 $160,000.00
11438027            2007‐S4                             4/6/2007                 $536,000.00
11440289            2007‐QO4                            4/5/2007                 $147,200.00
11440465            2007‐QS6                           4/10/2007                 $260,000.00
11441901            2007‐S4                            4/10/2007                 $673,000.00
11445037            2007‐S4                            4/10/2007                 $430,000.00
11446387            2007‐QO4                           4/12/2007                 $281,600.00
11446415            2007‐S4                            4/12/2007                 $468,750.00
11446691            2007‐S6                            4/16/2007                 $508,000.00
11448145            2007‐S4                            4/12/2007                 $554,000.00
11450979            2007‐S5                            4/17/2007                 $520,000.00
11452097            2007‐S6                            4/16/2007                 $539,100.00
15466289            2007‐S5                            4/24/2007                 $364,000.00
15467593            2007‐QO4                           4/19/2007                 $712,000.00
15467889            2007‐S5                            4/20/2007                 $288,000.00
15468089            2007‐S5                            4/27/2007                 $430,000.00
17469177            2007‐S5                            4/24/2007                 $551,200.00
17469495            2007‐S7                            4/30/2007                 $163,200.00
17469535            2007‐S5                            4/20/2007                 $484,500.00
17469811            2007‐S5                            4/24/2007                 $542,000.00
17471013            2007‐QO4                           4/26/2007                 $110,000.00
19025299            2007‐HSA3                          4/26/2007                  $52,800.00
19026851            2007‐QO4                            5/2/2007                 $250,000.00
19081415            2007‐SA3                           4/27/2007                 $440,000.00
19081493            2007‐QS7                           4/27/2007                 $192,200.00
19081769            2007‐QO4                           5/11/2007                 $275,000.00
19102659            2007‐HSA3                           5/2/2007                  $28,400.00
19103135            2007‐S5                             5/2/2007                 $424,000.00
19103169            2007‐SA3                            5/2/2007                 $600,000.00
19124213            2007‐QO4                            5/7/2007                 $232,000.00
19124425            2007‐QS8                            5/8/2007                 $132,000.00
19132457            2007‐QO4                           5/16/2007                 $133,000.00


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Loan ID No.         Securitization   Date of Acquisition         Original Balance
19146893            2007‐S5                             5/8/2007                 $320,000.00
19155049            2007‐S5                            5/15/2007                 $538,333.24
19155051            2007‐QO4                           5/16/2007                 $196,000.00
19155053            2007‐S5                            5/11/2007                 $553,000.00
19282009            2007‐SA3                           5/15/2007                 $459,000.00
19283055            2007‐S9                            6/22/2007                 $160,000.00
19316289            2007‐S6                            5/18/2007                 $525,000.00
19323091            2007‐S6                            5/22/2007                 $559,200.00
19342929            2007‐S7                            5/24/2007                 $440,000.00
19343009            2007‐S6                            5/23/2007                 $548,000.00
19343019            2007‐S6                            5/24/2007                 $512,000.00
19385929            2007‐QS10                           6/4/2007                 $208,182.56
19396129            2007‐S7                             6/5/2007                 $450,000.00
19396169            2007‐S7                             6/5/2007                 $424,000.00
19413969            2007‐S7                            6/14/2007                 $492,200.00
19421531            2007‐QO5                           6/28/2007                 $152,000.00
19421779            2007‐QO5                           7/18/2007                 $408,000.00
19434215            2007‐QO5                           6/29/2007                 $605,000.00
19434817            2007‐QO5                           7/25/2007                 $108,900.00
19434901            2007‐QO5                            7/9/2007                 $153,900.00
19439091            2007‐QS9                           6/14/2007                 $206,500.00
19439251            2007‐QS8                           6/14/2007                 $304,000.00
19439703            2007‐QS8                           6/14/2007                 $196,000.00
19469135            2007‐QA5                           6/18/2007                 $391,500.00
19477375            2007‐QA5                           6/21/2007                 $148,000.00
19484171            2007‐QS9                           6/21/2007                 $604,000.00
19502329            2007‐QS9                           6/26/2007                 $207,500.00
19502375            2007‐QO5                           6/28/2007                 $384,000.00
19508651            2007‐QO5                           6/28/2007                 $337,000.00
19508853            2007‐QO5                           6/28/2007                 $400,000.00
19508889            2007‐QO5                           7/10/2007                 $111,150.00
19508977            2007‐QO5                           6/29/2007                 $346,000.00
19509495            2007‐QO5                            7/3/2007                 $157,500.00
19523769            2007‐QO5                           6/28/2007                  $97,500.00
19523821            2007‐QO5                           6/29/2007                 $202,500.00
19540569            2007‐QO5                           6/29/2007                 $450,000.00
19540781            2007‐S7                             7/9/2007                 $384,000.00
19540813            2007‐S7                             7/5/2007                 $454,200.00
19561451            2007‐QO5                            7/6/2007                 $450,000.00
19586535            2007‐QO5                           7/16/2007                 $270,000.00
19588369            2007‐QO5                           7/13/2007                 $160,000.00
19598169            2007‐QO5                           7/13/2007                 $356,000.00
19598703            2007‐QO5                           7/13/2007                 $249,600.00
19630731            2007‐QO5                           7/26/2007                 $389,000.00
19630781            2007‐QO5                           7/20/2007                 $120,000.00
19635131            2007‐QO5                           7/25/2007                 $205,600.00
19645537            2007‐QO5                           7/26/2007                 $400,000.00


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Loan ID No.          Securitization   Date of Acquisition         Original Balance
19652939             2007‐QO5                           7/25/2007                 $255,000.00
19657937             2007‐QO5                           7/31/2007                 $182,000.00
19663291             2007‐QO5                            8/1/2007                  $79,253.68
19663419             2007‐QO5                            8/3/2007                 $158,350.00
19684015             2007‐QO5                            8/3/2007                 $236,000.00
19695861             2007‐QO5                            8/6/2007                 $228,800.00
19701655             2007‐QO5                            8/8/2007                 $368,000.00
19826773             2007‐QS11                          8/20/2007                 $170,000.00
19826809             2007‐QO5                           8/13/2007                 $378,000.00
19833057             2007‐QA5                           8/13/2007                 $428,000.00
19833773             2007‐QA5                           8/13/2007                 $588,000.00
999991111            2004‐HI3                           7/14/2004                  $25,000.00

TOTAL                                                                        $600,904,991.44




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